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                                                                   1   Richard M. Pachulski (CA Bar No. 90073)
                                                                       Jeffrey W. Dulberg (CA Bar No. 181200)
                                                                   2   Malhar S. Pagay (CA Bar No. 189289)
                                                                       PACHULSKI STANG ZIEHL & JONES LLP
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                                                                   6           mpagay@pszjlaw.com

                                                                   7   Attorneys for Debtor and Debtor in Possession

                                                                   8                                   UNITED STATES BANKRUPTCY COURT

                                                                   9                                    CENTRAL DISTRICT OF CALIFORNIA

                                                                  10                                              LOS ANGELES DIVISION

                                                                  11   In re:                                                  Case No. 2:19-bk-24804-VZ
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   YUETING JIA,1                                           Chapter 11
                                        LOS ANGELES, CALIFORNIA




                                                                  13                                                           FIRST INTERIM APPLICATION OF
                                           ATTORNEYS AT LAW




                                                                                                           Debtor.             PACHULSKI STANG ZIEHL & JONES LLP
                                                                  14                                                           FOR APPROVAL OF COMPENSATION AND
                                                                                                                               REIMBURSEMENT OF EXPENSES;
                                                                  15                                                           DECLARATION OF JEFFREY W. DULBERG
                                                                                                                               IN SUPPORT THEREOF
                                                                  16
                                                                                                                               Application Period:
                                                                  17                                                           October 14, 2019 through March 31, 2020

                                                                  18                                                           Hearing
                                                                                                                               Date:          May 7, 2020
                                                                  19                                                           Time:          1:30 p.m.
                                                                                                                               Place:         Courtroom 1368
                                                                  20                                                                          Roybal Federal Building
                                                                                                                                              255 E. Temple Street
                                                                  21                                                                          Los Angeles, California 90012
                                                                                                                               Judge:         Hon. Vincent P. Zurzolo
                                                                  22

                                                                  23

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                                                                         The last four digits of the Debtor’s federal tax identification number are 8972. The Debtor’s mailing
                                                                       address is 91 Marguerite Drive, Rancho Palos Verdes, CA 90275.

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P ACHULSKI S TANG Z IEHL & J ONES LLP




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                                        LOS ANGELES, CALIFORNIA




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                                                                   1                           SUMMARY COVER SHEET OF FEE APPLICATION

                                                                   2
                                                                       Name of applicant:                                                  Pachulski Stang Ziehl & Jones LLP
                                                                   3
                                                                       Name of client:                                                     Yueting Jia
                                                                   4
                                                                       Time period covered by this application:                            October 14, 2019 – March 31, 2020
                                                                   5
                                                                       Total compensation sought this period:                              $2,251,649.502
                                                                   6
                                                                       Total expenses sought this period:                                  $62,316.38
                                                                   7
                                                                       Petition date:                                                      October 14, 2019
                                                                   8
                                                                       Retention date:                                                     October 14, 2019
                                                                   9

                                                                  10   Date of order approving employment                                  February 25, 2020

                                                                  11   Total compensation approved by interim order to date N/A
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   Total expenses approved by interim order to date                    N/A
                                        LOS ANGELES, CALIFORNIA




                                                                  13   Total allowed compensation paid to date                             N/A
                                           ATTORNEYS AT LAW




                                                                  14   Total allowed expenses paid to date                                 N/A
                                                                  15       Blended rate in this application for all attorneys              $850.35 (after 10% discount)
                                                                  16       Blended rate in this application for all timekeepers            $792.90 (after 10% discount)
                                                                  17   Compensation sought in this application already
                                                                       paid pursuant to a monthly compensation order                       N/A
                                                                  18   but not yet allowed
                                                                       Expenses sought in this application already paid
                                                                  19   pursuant to a monthly compensation order but not                    N/A
                                                                       yet allowed
                                                                  20
                                                                           Number of professionals included in this application            11
                                                                  21   If applicable, number of professionals in this
                                                                       application not included in staffing plan approved                  N/A
                                                                  22   by client
                                                                       If applicable, difference between fees budgeted
                                                                  23                                                                       N/A
                                                                       and compensation sought for this period
                                                                       Number of professionals billing fewer than 15
                                                                  24                                                                       5
                                                                       hours to the case during this period
                                                                  25

                                                                  26   2
                                                                        The Firm’s fees total $2,526,470.00 based upon its standard hourly rates. Pursuant to the terms of the retention
                                                                       agreement with the Debtor, the Firm has implemented a 10% fee reduction, and deducted $22,173.50 representing a 50%
                                                                  27   write off in fees for travel originally billed at the standard rates. Accordingly, the Firm is only seeking approval of
                                                                       $2,251,649.50 in fees requested for the Application Period.
                                                                  28


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                                                                   1
                                                                       Name of applicant:                                      Pachulski Stang Ziehl & Jones LLP
                                                                   2   Are any rates higher than those approved or disclosed All amounts are within Budget. The
                                                                       at retention? If yes, calculate and disclose the total
                                                                   3                                                           Firm has reduced rates by 10% in
                                                                       compensation sought in this application using the
                                                                       rates originally disclosed in the retention application accordance with agreement at retention.
                                                                   4

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P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12
                                        LOS ANGELES, CALIFORNIA




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                                           ATTORNEYS AT LAW




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                                                                   1   TO THE HONORABLE VINCENT P. ZURZOLO, UNITED STATES BANKRUPTCY

                                                                   2   JUDGE, THE OFFICE OF THE UNITED STATES TRUSTEE, THE OFFICIAL

                                                                   3   COMMITTEE OF UNSECURED CREDITORS, PACIFIC TECHNOLOGY HOLDING

                                                                   4   LLC, AND PARTIES THAT HAVE FILED A REQUEST FOR SPECIAL NOTICE:

                                                                   5           Pachulski Stang Ziehl & Jones LLP (the “Firm” or “PSZJ”), general bankruptcy counsel to

                                                                   6   Yueting Jia (“YT” or the “Debtor”), hereby submits its First Interim Application for Approval of

                                                                   7   Compensation and Reimbursement of Expenses (the “Application”) for the period of October 14,

                                                                   8   2019 through March 31, 2020 (the “Application Period”), pursuant to sections 327 and 330 of the

                                                                   9   Bankruptcy Code.

                                                                  10                                                           I.

                                                                  11                                       INTRODUCTORY STATEMENT
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12           Local Bankruptcy Rule 2016-1(a)(1) sets forth certain requirements that a professional must
                                        LOS ANGELES, CALIFORNIA




                                                                  13   satisfy in order to obtain an award for fees and costs. Additional standards to be employed in the
                                           ATTORNEYS AT LAW




                                                                  14   review of fee applications are set forth in the United States Departments of Justice’s Guidelines for

                                                                  15   Reviewing Applications for Compensation and Reimbursement of Expenses filed under 11 U.S.C.

                                                                  16   § 330.3 Section 330(a)(3) directs the Court to consider “the nature, the extent, and the value” of the

                                                                  17   legal services provided when determining the amount of reasonable compensation to award. The

                                                                  18   Ninth Circuit’s primary method used to determine the reasonableness of fees is to calculate the

                                                                  19   lodestar. In re Charles Russell Buckridge, Jr., 367 B.R. 191, 201 (C.D. Cal. 2007). The lodestar is

                                                                  20   ascertained by multiplying the number of hours reasonably expended by a reasonable hourly rate.

                                                                  21   Law Offices of David A. Boone v. Derham-Burk (In re Eliapo), 468 F.3d 592, 598 (9th Cir. 2006).

                                                                  22   This Application complies with all statutory guidelines and Court-imposed requirements based upon

                                                                  23   the actual fees incurred.

                                                                  24

                                                                  25

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                                                                  27
                                                                       3
                                                                  28     The Compensation Guide is promulgated by the United States Department of Justice and can be found on the United
                                                                       States Department of Justice website at: http://www.justice.gov/ust/fee-guidelines.
                                                                                                                                3
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                                                                   1                                                             II.

                                                                   2                                         INTRODUCTORY STATEMENT

                                                                   3   A.      Local Rules and Guides

                                                                   4           Local Bankruptcy Rule 2016-1(a) sets forth certain requirements that a professional must

                                                                   5   satisfy in order to obtain an award for fees and costs. Additional standards to be employed in the

                                                                   6   review of fee applications are set forth in the United States Trustee’s Guidelines for Reviewing

                                                                   7   Applications for Compensation and Reimbursement of Expenses filed under 11 U.S.C. § 330 (the

                                                                   8   “Compensation Guide”).4 Section 330(a)(3) directs the Court to consider “the nature, the extent, and

                                                                   9   the value” of the legal services provided when determining the amount of reasonable compensation

                                                                  10   to award. The Ninth Circuit’s primary method used to determine the reasonableness of fees is to

                                                                  11   calculate the lodestar. In re Charles Russell Buckridge, Jr., 367 B.R. 191, 201 (C.D. Cal. 2007).
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   The lodestar is ascertained by multiplying the number of hours reasonably expended by a reasonable
                                        LOS ANGELES, CALIFORNIA




                                                                  13   hourly rate. Law Offices of David A. Boone v. Derham-Burk (In re Eliapo), 468 F.3d 592, 598 (9th
                                           ATTORNEYS AT LAW




                                                                  14   Cir. 2006). As set forth more fully herein, this Application complies with all statutory guidelines

                                                                  15   and Court-imposed requirements.

                                                                  16   B.      Dates of Filing of Chapter 11 Petition

                                                                  17           On October 14, 2019 (the “Petition Date”), the Debtor commenced his case under chapter 11

                                                                  18   of the Bankruptcy Code.

                                                                  19   C.      Orders Re Employment Entered (LBR 2016-1(a)(1)(B))

                                                                  20           On February 25, 2020, effective as of October 14, 2019, the Court entered an order

                                                                  21   approving employment of the Firm.

                                                                  22   D.      Statement from PSZ&J

                                                                  23           Pursuant to the Appendix B. Guidelines for Reviewing Applications for Compensation and

                                                                  24   Reimbursement of Expenses Filed Under United States Code by Attorneys in Larger Chapter 11

                                                                  25   Cases, the Firm responds to the following questions regarding the Application:

                                                                  26

                                                                  27
                                                                       4
                                                                  28    The Compensation Guide is promulgated by the United States Department of Justice and can be found on the United
                                                                       States Department of Justice website at: http://www.justice.gov/ust/eo/rules_regulations/guidelines/docs/feeguide.htm
                                                                                                                                  4
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                                                                   1   Question                                      Yes             No            Additional
                                                                                                                                                   Explanation or
                                                                   2                                                                               Clarification
                                                                       Did you agree to any variations from, or      X                             Upon its retention, the
                                                                   3   alternatives to, your standard or customary                                 Firm agreed to a 10%
                                                                       billing rates, fees or terms for services                                   reduction from standard
                                                                   4   pertaining to this engagement that were
                                                                       provided during the application period? If                                  rates
                                                                   5   so, please explain.
                                                                       If the fees sought in this fee application as                 X             N/A
                                                                   6   compared to the fees budgeted for the
                                                                       time period covered by this fee application
                                                                   7   are higher by 10% or more, did you
                                                                       discuss the reasons for the variation with
                                                                   8   the client?
                                                                       Have any of the professionals included in                     X
                                                                   9   this fee application varied their hourly rate
                                                                       based on the geographic location of the
                                                                  10   bankruptcy case?
                                                                       Does the fee application include time or      X
                                                                  11   fees related to reviewing or revising time
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                       records or preparing, reviewing, or
                                                                  12   revising invoices?
                                                                       Does this fee application include time or                     X
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                       fees for reviewing time records to redact
                                                                       any privileged or other confidential
                                                                  14   information? If so, please quantify by
                                                                       hours and fees.
                                                                  15   If the fee application includes any rate      X                             The billing rates and
                                                                       increases since retention in this Case:                                     material financial terms
                                                                  16        i. Did your client review and                                          for the postpetition
                                                                                approve those rate increases in                                    period remain the same
                                                                  17                                                                               as the prepetition period
                                                                                advance?
                                                                                                                                                   subject to an annual
                                                                  18        ii. Did your client agree when                                         economic adjustment.
                                                                                retaining the law firm to accept all                               The standard hourly
                                                                  19            future rate increases? If not, did                                 rates of PSZ&J are
                                                                                you inform your client that they                                   subject to periodic
                                                                  20            need not agree to modified rates or                                adjustment in
                                                                                terms in order to have you                                         accordance with the
                                                                  21                                                                               Firm’s practice.
                                                                                continue the representation,
                                                                  22            consistent with ABA Formal
                                                                                Ethics Opinion 11-458?
                                                                  23

                                                                  24   E.      Compensation and Expenses Sought (LBR 2016-1(a)(1)(C))

                                                                  25           This is the Firm’s First Interim Fee Application in this case. Prior to the filing of the Chapter

                                                                  26   11 case, PSZJ received payments from Pacific Technology Holding, LLC (“PTH”) on behalf of the

                                                                  27

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                                                                   1   Debtor, totaling $1 million,5 of which $441,778.24 was applied against prepetition fees and costs.

                                                                   2   The balance of funds in the amount of $558,221.76 was deposited into a segregated client trust

                                                                   3   account to be held as a retainer during the chapter 11 case.

                                                                   4           By way of this Application, the Firm seeks interim allowance of a total of $2,313,965.88 in

                                                                   5   fees and expenses and payment of $1,755,744.12 from estate funds in trust (net of the Firm’s

                                                                   6   retainer) as set forth below:

                                                                   7                     Fees Sought:              $2,251,649.506

                                                                   8                     Expenses Sought:              $62,316.38

                                                                   9                                Total:         $2,313,965.88

                                                                  10                     (Less Retainer):           ($558,221.76)

                                                                  11                     TOTAL DUE:                $1,755,744.12
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12                     Blended Hourly Rate for the Fee Period
                                        LOS ANGELES, CALIFORNIA




                                                                  13                                -- Including Paraprofessionals: $792.90
                                           ATTORNEYS AT LAW




                                                                  14                                -- Excluding Paraprofessionals: $850.35

                                                                  15   F.      Cash in the Estate (LBR 2016-1(a)(1)(A)(iii))

                                                                  16           As of April 16, 2020, the Estate holds $4,547,078.76 in cash on hand. Of these funds, PSZJ

                                                                  17   holds $3,250,000 in Trust, counsel for the Official Committee of Unsecured Creditors (the

                                                                  18   “Committee”) holds $1,250,000 in trust, and the Debtor holds $47,078.76, pursuant to the February

                                                                  19   2020 monthly operating report [Docket No. 463]. The Debtor anticipates receiving additional loan

                                                                  20   proceeds of $1,500,000 no later than April 30, 2020 and $500,000 no later than May 26, 2020.

                                                                  21

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                                                                       5
                                                                         The Debtor is a borrower under that certain Secured Promissory Note (as amended and restated) with PTH, pursuant to
                                                                  25   which, prior to the Petition Date, the Debtor caused certain proceeds of such loan to be paid directly to his insolvency
                                                                       professionals, including PSZ&J.
                                                                  26   6
                                                                        The Firm’s fees total $2,526,470.00 based upon its standard hourly rates. Pursuant to the terms of the retention
                                                                       agreement with the Debtor, the Firm has implemented a 10% fee reduction, and deducted $22,173.50 representing a 50%
                                                                  27   write off in fees for travel originally billed at the standard rates. Accordingly, the Firm is only seeking approval of
                                                                       $2,251,649.50 in fees requested for the Application Period.
                                                                  28

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                                                                   1                                                             III.

                                                                   2                         BACKGROUND AND PRESENT POSTURE OF THE CASE

                                                                   3              The Application Period covers the first five-and-a-half months of the case – an

                                                                   4   extraordinarily busy, and often challenging, time for the Debtor, the Firm and all major parties in

                                                                   5   interest in this case.

                                                                   6   A.         General Background

                                                                   7              On the Petition Date, the Debtor filed a voluntary petition for relief under chapter 11 of the

                                                                   8   Bankruptcy Code, in the United States Bankruptcy Court for the District of Delaware. The Debtor

                                                                   9   remains in possession of his property and manages his affairs as a debtor in possession. No trustee

                                                                  10   or examiner has been appointed in the chapter 11 case.

                                                                  11              On October 25, 2019, the Office of the United States Trustee (“OUST”) appointed the
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   Committee pursuant to section 1102(a)(1) of the Bankruptcy Code [Docket No. 45]. The Committee
                                        LOS ANGELES, CALIFORNIA




                                                                  13   consists of the following members: (i) Ping An Bank, Ltd. Beijing Branch; (ii) China Minsheng
                                           ATTORNEYS AT LAW




                                                                  14   Trust Co., Ltd; (iii) Shanghai Leyu Chuangye Investment Management Center LP; (iv) Jiangyin

                                                                  15   Hailan Investment Holding Co., Ltd; and (v) Shanghai Qichengyueming Investment Partnership

                                                                  16   Enterprise.

                                                                  17              On December 18, 2019, the Delaware Bankruptcy Court entered its order [Docket No. 178]

                                                                  18   transferring the case to the Central District of California.

                                                                  19   B.         Introduction to the Debtor7

                                                                  20              The Debtor, Yueting Jia, who is known as “YT,” is the founder of several technology

                                                                  21   companies. He is the founder, former Chief Executive Officer and current Chief Product and User

                                                                  22   Officer of Faraday Future (“Faraday”, “FF” or the “Company”), a technology company located in

                                                                  23   California focused on the development of a smart mobility ecosystem and electric vehicles.8

                                                                  24              The majority of YT’s debts stem from his personal guarantees for businesses that he operated

                                                                  25   in the People’s Republic of China (“PRC”). YT has estimated that $3.77 billion in claims have been

                                                                  26
                                                                       7
                                                                         Information regarding the Debtor’s personal and business affairs, as well as the circumstances leading to the
                                                                  27   commencement of this chapter 11 case, is set forth in the Debtor’s omnibus declaration filed in support of certain
                                                                       retention applications and incorporated by reference. [Docket Nos. 19 and 30].
                                                                  28   8
                                                                           https://www.ff.com/
                                                                                                                                   7
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                                                                   1   asserted against him which fall into four general categories: (i) unsecured claims based on loans

                                                                   2   taken out directly by YT; (ii) claims secured by his assets in the PRC; (iii) guarantees of unsecured

                                                                   3   loans to other entities; and (iv) guarantees of loans to other entities secured by such entities’ assets in

                                                                   4   the PRC. Approximately $3.1 billion of YT’s approximately $3.77 billion of putative claims are on

                                                                   5   account of guarantees.

                                                                   6           YT’s proposed reorganization is based on the principle of aligning the interests of his

                                                                   7   creditors with the future of Faraday, as he along with dozens of other employees work to bring the

                                                                   8   Company success. Given YT’s central role with Faraday, uncertainties relating to his financial

                                                                   9   condition have a negative impact on the Company’s ability to attract financing. Accordingly, it was

                                                                  10   imperative that the administration of his chapter 11 case proceed expeditiously and that he emerge

                                                                  11   from bankruptcy as soon as possible. Through his Plan, YT is proposing a creditor trust, backed by
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                                                                  12   all his interests in Faraday, to satisfy creditors. Although this case involves large debt amounts, a
                                        LOS ANGELES, CALIFORNIA




                                                                  13   complex capital structure and a sophisticated international creditor body, his path to confirming a
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                                                                  14   plan is relatively simple and is dependent entirely on his creditors and this Court: if creditors vote to

                                                                  15   accept the Plan and this Court determines that the Plan otherwise satisfies the requirements of the

                                                                  16   Bankruptcy Code, the Debtor can emerge from this restructuring process to focus on Faraday’s

                                                                  17   operational and financial success. YT’s intention is that all of his debts will be satisfied in full after

                                                                  18   an initial public offering of the Company, anticipated to take place in 2021.

                                                                  19   C.      Events Leading to the Commencement of this Chapter 11 Case

                                                                  20           YT founded LeEco, the first internet-based video streaming service in the PRC. As founder

                                                                  21   of LeEco (formerly LeTV), he built a global technology company and led its expansion to include

                                                                  22   LeshiZhiXin, Le Vision Pictures, Le Sports, LeMobile, LeTV, and other companies engaged in

                                                                  23   video streaming, cloud services, software development, consumer electronics and other business

                                                                  24   activities. He took LeTV to a successful initial public offering on the Growth Enterprise Market (or

                                                                  25   GEM) of the Shenzhen Stock Exchange in 2010 with a peak market capitalization of approximately

                                                                  26   $24 billion in 2015, and in 2014, Forbes China ranked him as the No. 1 CEO in the country. To meet

                                                                  27   the capital demands for such expansion, LeEco relied heavily on borrowing from commercial banks

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                                                                   1   and other financial institutions, in most cases backed by YT’s personal guarantees, as it was

                                                                   2   relatively difficult for a publicly-traded company to issue new shares in the PRC at the time.

                                                                   3           YT’s businesses, including LeEco, required substantial investment in research and

                                                                   4   development and business expansion and, as a consequence, never generated positive cash flows.

                                                                   5   He sold some of his businesses to an investor in early 2017 to generate cash and repay certain

                                                                   6   corporate debts. Afterward, as bank financing became increasingly difficult to obtain, in July 2017,

                                                                   7   one of YT’s lenders, China Merchant Bank, issued a letter to LeEco demanding payment of nearly

                                                                   8   RMB30 million in interest, although LeEco had already paid more than half of the borrowed

                                                                   9   amount. When LeEco did not make the payment by the date demanded, China Merchant Bank froze

                                                                  10   all of YT’s and LeEco’s assets in China. Media coverage of LeEco’s financial challenges negatively

                                                                  11   impacted discussions YT was having with other equity and debt investors, and creditors sued to
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                                                                  12   recover the unpaid balance of their loans. The stock price of LeTV dropped severely, which
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                                                                  13   significantly impacted the collateral value of YT’s LeTV shares. Since China Merchants Bank froze
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                                                                  14   all the assets and operating accounts of YT and LeECo group in China (which were worth, at the

                                                                  15   time, substantially greater than the default amount), which directly led to the cash crunch and

                                                                  16   collapse of LeEco group, YT has repaid over $3 billion worth of debts, with remaining frozen assets

                                                                  17   in the PRC that are yet to be disposed of and are estimated to be valued at approximately $1 billion.

                                                                  18           Certain of YT’s creditors received judgments against him and his business ventures and,

                                                                  19   prior to the commencement of the chapter 11 case, sought to recover upon those judgments. Three of

                                                                  20   these creditors were Shanghai Lan Cai Asset Management Co., Ltd. (“SLC”), Shanghai

                                                                  21   Qichengyueming Investment Partnership Enterprise (“SQ”), and Jinan Rui Si Le Enterprise

                                                                  22   Management Consulting Partnership. The Beijing Arbitration Commission issued an award in favor

                                                                  23   of SLC, which was subsequently confirmed by the United States District Court for the Central

                                                                  24   District of California. The District Court issued a writ of execution in SLC’s favor and issued a

                                                                  25   preliminary injunction restraining YT from taking any action to transfer, conceal, reduce, or

                                                                  26   encumber personal assets. YT appealed the District Court judgment to the United States Court of

                                                                  27   Appeals for the Ninth Circuit. In his appeal, YT argues that the District Court erroneously allowed

                                                                  28   SLC to proceed without joining a necessary party, and also incorrectly calculated interest on the

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                                                                   1   arbitral judgment. The appeal is currently stayed pursuant to an order entered on November 15, 2019

                                                                   2   by the United States Court of Appeals for the Ninth Circuit.

                                                                   3            SQ sought to enforce a foreign arbitral award issued by the China International Economic

                                                                   4   and Trade Arbitration Commission (CIETAC) against YT and Leview Holding Limited. In July

                                                                   5   2019, the District Court entered a consent judgment confirming the arbitral award entered in favor of

                                                                   6   SQ. SQ filed a motion to amend the consent judgment in 2019. The case is currently stayed,

                                                                   7   including the motion to amend, and the District Court has not yet issued a writ of execution.

                                                                   8           Jinan Rui Si Le commenced litigation in the Superior Court for the State of California for the

                                                                   9   County of Los Angeles to enforce a judgment entered against YT and various affiliated entities in

                                                                  10   the PRC by the Intermediate People’s Court of Jinan City, Shandong Province. The Superior Court

                                                                  11   has not entered judgment and the case was pending as of the filing of the chapter 11 case.
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                                                                  12           Also, in August 2019, both SQ and SLC separately obtained the entry of orders authorizing
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                                                                  13   the judgment debtor examinations of YT.
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                                                                  14   D.      Present Posture of the Case

                                                                  15           The Debtor has managed and continues to manage his affairs postpetition as a Debtor in

                                                                  16   Possession.

                                                                  17           The following events have occurred since the filing of the Debtor’s Chapter 11 case:

                                                                  18           1.       Employment of Debtor’s Professionals

                                                                  19           The Court has entered orders approving the employment of the following professionals:

                                                                  20   (a) Epiq Corporate Restructuring, LLC as Debtor’s claims and noticing agent [Docket No. 85];

                                                                  21   (b) Epiq Corporate Restructuring, LLC as Debtor’s administrative advisor [Docket No. 86];

                                                                  22   (c) Pachulski Stang Ziehl & Jones LLP as Debtor’s bankruptcy counsel [Docket No. 373];

                                                                  23   (d) O’Melveny & Myers LLP as Debtor’s special corporate, litigation, and international counsel

                                                                  24   [Docket 374]; (e) Robert Moon as Debtor’s foreign representative, pursuant to 11 U.S.C. § 1505

                                                                  25   [Docket No. 376]; and (f) PQBDN LLC as Debtor’s financial advisor [Docket No. 377].

                                                                  26           2.       Employment of Committee’s Professionals

                                                                  27           The Court has entered orders approving the employment of the following professionals:

                                                                  28   (a) Lowenstein Sandler LLP, as bankruptcy counsel [Docket No. 132]; (b) Alvarez & Marsal North

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                                                                   1   America, LLC, as financial advisor [Docket No. 133]; (c) Potter Anderson & Corroon LLP, as

                                                                   2   Delaware co-counsel [Docket No. 135]; and (d) Polsinelli LLP, as local bankruptcy counsel [Docket

                                                                   3   No. 306].

                                                                   4           3.       Extension of Deadline to Assume, Assume and Assign, or Reject Non-Residential

                                                                   5   Real Property Leases

                                                                   6           The Debtor filed a Motion for an Order Granting Extension to Assume, Assume and Assign,

                                                                   7   or Reject Nonresidential Real Property Leases to the Maximum Number of Days Authorized by 11

                                                                   8   U.S.C. § 365(D)(4)(B) (the “365(d)(4) Motion”) [Docket No. 322] seeking to extend the deadline to

                                                                   9   assume, assume and assign, or reject any unexpired non-residential real property leases for an

                                                                  10   additional ninety (90) days through and including May 11, 2020, or through the date of entry of an

                                                                  11   order confirming a plan, whichever is earlier. The Court entered an order approving the 365(d)(4)
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                                                                  12   Motion on February 28, 2020 [Docket No. 394].
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                                                                  13           4.       Claims Process and Bar Date
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                                                                  14           On October 17, 2019, YT filed his (i) Schedules identifying the assets and liabilities of his

                                                                  15   estate and (ii) Statement of Financial Affairs [Docket No. 28]. On November 13, 2019, the

                                                                  16   Bankruptcy Court entered an order [Docket No. 87] (the “Bar Date Order”) establishing the

                                                                  17   deadlines for the filing of proofs of claim in this chapter 11 case. These dates are as follows:

                                                                  18      the deadline for creditors (other than governmental units and certain other parties excused from

                                                                  19       filing proofs of claim under the Bar Date Order) to file proofs of claim against the Debtor was

                                                                  20       January 24, 2020, at 5:00 p.m. (ET) (the “General Bar Date”);

                                                                  21      the deadline for governmental units to file proofs of claim against the Debtor was April 13, 2020,

                                                                  22       at 5:00 p.m. (ET);

                                                                  23      a bar date for claims amended or supplemented by an amendment to the Schedules by the later of

                                                                  24       (a) the General Bar Date; and (b) the date that is twenty-one (21) days after the date that notice

                                                                  25       of the applicable amendment to the Schedules is served on the claimant; and

                                                                  26      a bar date for any claims arising from or relating to the rejection of executory contracts or

                                                                  27       unexpired leases, in accordance with section 365 of the Bankruptcy Code by the later of (a) the

                                                                  28       General Bar Date; (b) the date that is thirty (30) days after the entry of the order authorizing the

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                                                                   1       rejection of the executory contract or unexpired lease; and (c) any date that the Bankruptcy Court

                                                                   2       may fix in the applicable order approving such rejection.

                                                                   3       YT provided notice of the bar dates above as required by the Bar Date Order. Approximately 199

                                                                   4   proofs of claim were filed by the General Bar Date, asserting approximately $7.9 billion in claims

                                                                   5   against the Debtor.

                                                                   6           5.       Venue Transfer and Motion to Dismiss

                                                                   7           On November 13, 2019, SLC filed its Motion (I) to Dismiss the Debtor’s Chapter 11 Case

                                                                   8   or, Alternatively, (II) to Transfer Venue to the Central District of California [Docket No. 89],

                                                                   9   seeking to dismiss the Debtor’s chapter 11 case as a bad faith filing or in the alternative transfer

                                                                  10   venue of the chapter 11 case to the Central District of California. On December 18, 2019, Judge

                                                                  11   Karen B. Owens of the United States Bankruptcy Court for the District of Delaware transferred the
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                                                                  12   chapter 11 case to the United States Bankruptcy Court for the Central District of California based on
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                                                                  13   the interests of justice due to, among other things, that the Debtor resides in California and FF, on
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                                                                  14   which the success of this chapter 11 case depends, is located in California.

                                                                  15           On February 21, 2020, SLC filed the Motion to Dismiss the Debtor’s Chapter 11 Case by

                                                                  16   Creditor Shanghai Lan Cai Asset Management Co, Ltd. [Docket No. 358] (the “Motion to

                                                                  17   Dismiss”), which re-asserted the arguments made by SLC in its original motion to dismiss the

                                                                  18   chapter 11 case. On March 3, 2020, YT filed his Opposition to Motion to Dismiss the Debtor’s

                                                                  19   Chapter 11 Case by Creditor Shanghai Lan Cai Asset Management Co, Ltd. [Docket No. 412],

                                                                  20   where he vigorously objected to the Motion to Dismiss and argued in favor of moving forward with

                                                                  21   confirmation of the Plan as expeditiously as possible. On March 3, 2020, the Committee filed The

                                                                  22   Official Committee of Unsecured Creditors’ Opposition to the Motion to Dismiss the Debtor’s

                                                                  23   Chapter 11 Case Filed by Shanghai Lan Cai Asset Management Co. Ltd. [Docket No. 411]. On

                                                                  24   March 10, 2020, SLC filed Shanghai Lan Cai Asset Management Co, Ltd.’s Reply in Support of

                                                                  25   Motion to Dismiss Debtor’s Chapter 11 Case [Docket No. 432].

                                                                  26           On March 20, 2020, the Bankruptcy Court entered an order [Docket No. 483] denying the

                                                                  27   Motion to Dismiss based upon the findings of fact and conclusions of law as stated on the record at

                                                                  28   the hearing thereon.

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                                                                   1           6.       The UST’s Motion for Appointment of a Chapter 11 Trustee

                                                                   2           On December 17, 2019, the United States Trustee for the District of Delaware filed the

                                                                   3   United States Trustee’s Motion for an Order Directing the Appointment of a Chapter 11 Trustee

                                                                   4   [Docket No. 171] (the “Trustee Motion”). On January 16, 2020, the United States Trustee for the

                                                                   5   Central District of California withdrew the Trustee Motion without prejudice [Docket No. 216].

                                                                   6           7.       Mediation and Negotiation of the Consensual Plan

                                                                   7           Shortly after the appointment of the Committee, YT and the Committee began discussing the

                                                                   8   path to a consensual plan of reorganization. After the venue transfer, YT continued to negotiate with

                                                                   9   the Committee. Prior to the January 23, 2020 status conference, YT agreed to the Committee’s

                                                                  10   desired due diligence process and populated data rooms with documents responding to the

                                                                  11   Committee’s numerous requests. In connection with the Committee’s investigation, YT facilitated
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                                                                  12   interviews by counsel and financial advisors to the Committee. The interviewees included
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                                                                  13   management members of the FF Group. In addition, YT participated in a two-day confidential
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                                                                  14   deposition by the Committee and an individual member of the Committee, where he provided

                                                                  15   information regarding, among other things, his involvement in any alleged transactions that may be

                                                                  16   subject to an action under chapter 5 of the Bankruptcy Code. Lastly, YT’s advisors met on several

                                                                  17   occasions with the Committee’s advisors to discuss the various transactions in detail.

                                                                  18           On February 6, 2020, the Bankruptcy Court entered the Order (I) Requiring Parties to

                                                                  19   Participate in Mediation; and (II) Setting Further Status Conference [Docket No. 308]

                                                                  20   (the “Mediation Order”). In accordance with the Mediation Order, YT, the Committee, and other

                                                                  21   creditors including SLC and SQ mediated under the auspices of Judge Goldberg (ret.) during the

                                                                  22   week of February 3, 2020. At the conclusion of the mediation sessions, YT and the Committee

                                                                  23   reached an agreement on the material terms of the Plan. On February 27, 2020, the material agreed

                                                                  24   to terms of the Plan were memorialized in the executed Plan Term Sheet filed with the DIP Motion

                                                                  25   (as defined below).

                                                                  26           8.       DIP Financing

                                                                  27           Pacific Technology Holding LLC (“PTH”), an affiliate of the Debtor, was the only party

                                                                  28   willing to provide DIP financing to the Debtor under the circumstances of the chapter 11 case. The

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                                                                   1   Debtor and the Committee, on one hand, and PTH, on the other, participated in extensive

                                                                   2   negotiations of the DIP financing terms. On February 23, 2020, such negotiations culminated in an

                                                                   3   agreement on the terms of a secured $6.4 million debtor-in-possession promissory note (the “DIP

                                                                   4   Note”) to be funded by PTH.

                                                                   5           On February 27, 2020, YT filed the Motion for Order (A) Authorizing Debtor in Possession

                                                                   6   to (I) Obtain Post-petition Financing Pursuant to 11 U.S.C. §§ 105, 362, and 364, and (II) Granting

                                                                   7   Liens and Superpriority Claims to Post-petition Lender Pursuant to 11 U.S.C.§ 364; and

                                                                   8   (B) Modifying Automatic Stay Pursuant to 11 U.S.C. §§ 361, 362, and 364 [Docket No. 384]

                                                                   9   (the “DIP Motion”), seeking entry of an order authorizing YT to obtain DIP financing from PTH

                                                                  10   pursuant to the DIP Note in the maximum principal amount of $6.4 million. With the liquidity

                                                                  11   available from the DIP Note, YT is positioned to proceed with confirmation of the Plan and pay his
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                                                                  12   postpetition expenses, including administrative expense claims.
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                                                                  13           On March 5, 2020, SLC filed its Objection to Debtor’s Motion for Order (A) Authorizing
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                                                                  14   Debtor in Possession to (I) Obtain Post-petition Financing Pursuant to 11 U.S.C. §§ 105, 362, and

                                                                  15   364, and (II) Granting Liens and Superpriority Claims to Post-petition Lender Pursuant to 11

                                                                  16   U.S.C.§ 364; and (B) Modifying Automatic Stay Pursuant to 11 U.S.C. §§ 361, 362, and 364 [Docket

                                                                  17   No. 423]. On March 12, 2020, YT filed the Reply to Shanghai Lan Cai Asset Management Co,

                                                                  18   Ltd.’s Objection to Debtor’s Motion for Order (A) Authorizing Debtor in Possession to (I) Obtain

                                                                  19   Post-petition Financing Pursuant to 11 U.S.C. §§ 105, 362, and 364, and (II) Granting Liens and

                                                                  20   Superpriority Claims to Post-petition Lender Pursuant to 11 U.S.C.§ 364; and (B) Modifying

                                                                  21   Automatic Stay Pursuant to 11 U.S.C. §§ 361, 362, and 364 [Docket No. 452].

                                                                  22           On March 20, 2020, the Bankruptcy Court entered an order [Docket No. 484] granting the

                                                                  23   DIP Motion based upon the findings of fact and conclusions of law as stated on the record at the

                                                                  24   hearing to consider the DIP Motion.

                                                                  25           9.       Order Approving Adequacy of Fourth Amended Disclosure Statement and

                                                                  26   Setting Confirmation Hearing and Related Deadlines

                                                                  27           On March 2, 2020, the Debtor filed his Renewed Motion for An Order (I) Approving Third

                                                                  28   Amended Disclosure Statement (II) Approving Voting and Tabulation Procedures, (III) Setting

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                                                                   1   Confirmation Hearing and Related Deadlines, (IV) Waiving Certain Local Rules and Procedures,

                                                                   2   and (V) Granting Related Relief [Docket No. 401]. Following further negotiations with his creditors

                                                                   3   and the Committee, the Debtor filed his Fourth Amended Disclosure Statement With Respect to

                                                                   4   Debtor’s Third Amended Plan of Reorganization Under Chapter 11 of the Bankruptcy Code [Docket

                                                                   5   No. 465].

                                                                   6           On March 20, 2020, the Bankruptcy Court entered its Order (I) Granting Motion to Approve

                                                                   7   Adequacy of Fourth Amended Disclosure Statement, (II) Approving Voting and Tabulation

                                                                   8   Procedures, (III) Setting Confirmation Hearing and Related Deadlines, (IV) Waiving Certain Local

                                                                   9   Rules and Procedures, (V) Vacating Order to Show Cause and (VI) Granting Related Relief [Docket

                                                                  10   No. 485]. The hearing on Plan Confirmation is scheduled for May 21, 2020 at 9:30 a.m.

                                                                  11                                                    IV.
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                                                                  12                                NARRATIVE STATEMENT OF SERVICES
                                        LOS ANGELES, CALIFORNIA




                                                                  13                                   RENDERED AND TIME EXPENDED
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                                                                  14           Pursuant to the Compensation Guide and Local Bankruptcy Rule 2016-1(a)(1)(D), the Firm

                                                                  15   has classified all services performed for which compensation is sought for this period into one of

                                                                  16   various major categories. The Firm attempted to place the services performed in the category that

                                                                  17   best relates to the service provided. However, because certain services may relate to one or more

                                                                  18   categories, services pertaining to one category may in fact be included, without duplication, in

                                                                  19   another category. Invoices for the Application Period with time and expense detail are attached

                                                                  20   hereto as Exhibit G.

                                                                  21           Distinction Between Services Rendered by PSZJ and Services Rendered by O’Melveny &

                                                                  22   Myers LLP

                                                                  23           PSZJ and O’Melveny & Myers LLP (“OMM”), the Debtor’s corporate, litigation and

                                                                  24   international counsel have both rendered legal services to the Debtor under a clear division of labor.

                                                                  25           PSZJ serves as the Debtor’s general bankruptcy counsel and principally conducts the chapter

                                                                  26   11 case. PSZJ’s services include (i) providing legal advice with respect to the Debtor’s powers and

                                                                  27   duties as debtor in possession in the continued management of his property; (ii) preparing on behalf

                                                                  28   of the Debtor any necessary applications, motions, answers, orders, reports, and other legal papers;

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                                                                   1   and (iii) appearing in Court on behalf of the Debtor. See Application Pursuant to Section 327(a) of

                                                                   2   the Bankruptcy Code, Rule 2014 of the Federal Rules of Bankruptcy Procedure and Local Rule

                                                                   3   2014-1 for Authorization to Employ and Retain Pachulski Stang Ziehl & Jones LLP as Counsel for

                                                                   4   the Debtor and Debtor in Possession Nunc Pro Tunc to the Petition Date [Docket No. 18] ¶ 8.

                                                                   5   These services are distinct from OMM’s responsibilities, which are primarily corporate in nature and

                                                                   6   international in scope. OMM’s services are focused on implementing the complex corporate based

                                                                   7   transaction underlying the Debtor’s plan of reorganization (including the execution of the creditor

                                                                   8   trust transaction), facilitating diligence and analysis with respect to the Debtor’s complex ownership

                                                                   9   and financial structure of his U.S. assets and the Debtor’s pre-filing transactions, and addressing any

                                                                  10   prepetition litigation issues. In connection therewith, OMM is providing the Debtor with corporate,

                                                                  11   securities, tax, litigation, and international counsel that is distinct from the general bankruptcy
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                                                                  12   counsel that PSZJ is providing the Debtor.
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                                                                  13           Notwithstanding this division of labor, the two firms have naturally worked side-by-side to
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                                                                  14   achieve the Debtor’s goals in this case. On occasion, with respect to certain key areas, the firms’

                                                                  15   efforts have focused on the same activities to benefit this estate – principally with respect to the

                                                                  16   overall negotiation of the Plan. Due to the complex terms of the plan and the complications of an

                                                                  17   international creditor body, the firms necessarily combined their efforts to achieve the outcome

                                                                  18   achieved to date – the filed Plan has the support of the Committee and is scheduled for a

                                                                  19   confirmation hearing next month. However, while both firms “worked on the plan,” for example,

                                                                  20   both firms played unique roles in working with the Debtor, the Committee and others to negotiate

                                                                  21   terms while at the same time prepare the lengthy, detailed materials necessary in this case.

                                                                  22   A.      Services Performed and Time Expended During Application Period.

                                                                  23           1.       Asset Analysis and Recovery

                                                                  24           This category pertains to the identification and review of potential assets including causes of

                                                                  25   action and non-litigation recoveries.

                                                                  26           Among other tasks, the Firm collected and analyzed information regarding causes of action

                                                                  27   against the Wen entities, reviewed and analyzed pre-petition transfers, conferred with Debtor’s team

                                                                  28

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                                                                   1   and OMM regarding the Smart King articles and restructuring agreement, conferred with Debtor

                                                                   2   regarding Committee information requests, and reviewed valuation issues.

                                                                   3            During the Application Period, the Firm expended 67.90 hours in this category. The amount

                                                                   4   of fees attributable to this category is $57,862.50.

                                                                   5            2.       Asset Disposition

                                                                   6            Time spent in this category was minimal during the Application Period.

                                                                   7            During the Application Period, the Firm expended 0.20 hours in this category. The amount

                                                                   8   of fees attributable to this category is $79.00.

                                                                   9            3.       Bankruptcy Litigation9

                                                                  10            Time billed to this category pertains to the various litigation issues arising against or in

                                                                  11   connection with the Debtor. Included in this category are services related to numerous litigation
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                                                                  12   items that have arisen in connection with this Case.
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                                                                  13            Among other items, the Firm addressed issues and worked on pleadings in connection with
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                                                                  14   SLC’s Motions to Dismiss and to transfer venue and prepared for and attended hearings in

                                                                  15   connection with same; assisted OMM with respect to issues relating to stay litigation regarding

                                                                  16   lawsuits pending against the Debtor; worked on document production/discovery with the Debtor;

                                                                  17   prepared for and attended Committee and witness issues and conferred with the Debtor and OMM

                                                                  18   regarding same; conferred with the OUST and OMM regarding non-disclosure agreement terms;

                                                                  19   reviewed and analyzed contents of the data rooms populated by OMM; addressed issues with the

                                                                  20   OUST regarding additional compliance; prepared a removal extension motion and addressed issues

                                                                  21   regarding same; addressed issues regarding SLC’s second motion to dismiss the case; prepared for

                                                                  22   and attended the Debtor’s deposition, prepared for and attended court-ordered mediations; reviewed,

                                                                  23   analyzed and researched injunction issues; researched nondischargeability issues; worked on issues

                                                                  24   regarding the L. Shan litigation allegation; prepared stipulations and orders resolving SLC’s and

                                                                  25   SQ’s secured status, and addressed the Liu v. Jia adversary proceeding.

                                                                  26

                                                                  27   9
                                                                         In the interest of economy, included in this category is time billed to Stay Litigation, representing an additional 2.00
                                                                  28   hours expended, and $1,108.50 in fees incurred. A separate category for Stay Litigation is not reflected in the text of this
                                                                       fee application.
                                                                                                                                   17
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                                                                   1             During the Application Period, the Firm expended 839.60 hours in this category. The

                                                                   2   amount of fees attributable to this category is $764,980.00.

                                                                   3             4.     Case Administration

                                                                   4             Case administration pertains to coordination and compliance activities, including

                                                                   5   administrative functions; contact with the OUST, and general creditor inquiries, including requests

                                                                   6   for special notice, working on matters relating to service of documents, preparing critical dates

                                                                   7   memorandum, and maintaining general document control.

                                                                   8             The Firm prepared pro hac vice applications; prepared the creditor matrix; worked on critical

                                                                   9   dates memoranda, contact lists, agendas, and case task lists and disseminated same to interested

                                                                  10   parties; addressed media and press inquiries; addressed service issues; prepared for the Initial Debtor

                                                                  11   Interview; addressed Committee formation issues; conferred with the Debtor and OMM regarding
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                                                                  12   action items; revised and analyzed case timelines and budgets for professionals; met with the OUST
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                                                                  13   regarding compliance issues for the Central District of California; and worked on a Rule 2015.3
                                           ATTORNEYS AT LAW




                                                                  14   report.

                                                                  15             During the Application Period, the Firm expended 227.10 hours in this category. The

                                                                  16   amount of fees attributable to these two combined categories is $176,286.00.

                                                                  17             5.     Claims Analysis/Objections

                                                                  18             Claims administration/objections include services related to specific claim inquiries and

                                                                  19   analyses, and objections to, and allowance of, certain claims.

                                                                  20             The Firm reviewed scheduled and filed claims in connection with potential objections to such

                                                                  21   claims; addressed with the Debtor and OMM issues regarding the bar date; prepared the bar date

                                                                  22   motion, notice, and related pleadings (including coordinating the translation of pleadings into

                                                                  23   Mandarin for Chinese creditors); worked on a response to OUST concerns regarding the bar date and

                                                                  24   solicitation motion; conferred with the Debtor, OMM, and Robert Moon regarding creditor claims;

                                                                  25   worked on claim objections and prepared key avoidance action complaints; conferred with the

                                                                  26   claims agent regarding claim filings and website issues; drafted motions for summary judgment

                                                                  27   regarding key avoidance action complaints and worked on settlements regarding same; prepared

                                                                  28   stipulations and orders regarding SLC’s and SQ claims; conferred with OMM and the Debtor

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                                                                   1   regarding temporary allowance of certain claims for voting purposes, including OMM’s analysis of

                                                                   2   the supporting documentation attached to the filed proofs of claim; and researched exchange rate and

                                                                   3   claims issues.

                                                                   4           During the Application Period, the Firm expended 182.00 hours in this category. The

                                                                   5   amount of fees attributable to this category is $158,822.00.

                                                                   6           6.       Compensation of Professionals

                                                                   7           Time billed to this category relates to the Firm’s review and analysis of various applications

                                                                   8   for compensation of professionals employed in the Case and matters regarding insider compensation.

                                                                   9           The Firm worked on its first interim fee application, prepared the 45-day notice to

                                                                  10   professionals regarding the hearing on interim fee applications, and conferred with the Debtor’s

                                                                  11   other professionals regarding their fee applications.
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                                                                  12           During the Application Period, the Firm expended 15.30 hours in this category. The amount
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                                                                  13   of fees attributable to this category is $9,518.00.
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                                                                  14           7.       Employee Benefit/Pension

                                                                  15           Time spent during the Application Period for this category was minimal.

                                                                  16           During the Application Period, the Firm expensed 0.30 hours in this category. The amount

                                                                  17   of fees attributable to this category is $252.50.

                                                                  18           8.       Executory Contracts

                                                                  19           This billing category includes work performed in connection with the review and disposition

                                                                  20   of all executory contracts and unexpired leases.

                                                                  21           The Firm reviewed consulting agreements and prepared a motion to extend the deadline for

                                                                  22   the Debtor to assume or reject non-residential real property leases.

                                                                  23           During the Application Period, the Firm expended 15.00 hours in this category. The amount

                                                                  24   of fees attributable to this category is $10,017.50.

                                                                  25           9.       Financial Filings

                                                                  26           The services performed in this category relate primarily to the services rendered by the Firm

                                                                  27   with respect to the preparation of the Debtor’s Schedules and Statement of Financial Affairs, and

                                                                  28   amendments thereto, as well as compliance with OUST requirements.

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                                                                   1           The Firm prepared the Debtor’s Schedules and Statement of Financial Affairs, as well as

                                                                   2   amendments thereto, assisted in the preparation of the Debtor’s monthly operating reports for

                                                                   3   October – December 2019, and January – February 2020, attended to additional OUST and

                                                                   4   Committee requests (including 7-day package items), and conferred with Debtor representatives

                                                                   5   regarding OUST quarterly fee requirements.

                                                                   6           During the Application Period, the Firm expended 212.50 hours in this category. The

                                                                   7   amount of fees attributable to this category is $140,259.50.

                                                                   8           10.      Financing

                                                                   9           This category pertains generally to banking matters and issues arising under section 364 of

                                                                  10   the Bankruptcy Code.

                                                                  11           During the Application Period, the Firm reviewed banking issues and worked on a banking
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                                                                  12   motion; drafted the DIP motion, assisted OMM with preparation of the DIP Note and term sheet and
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                                                                  13   conferred with the client team, OMM, the Committee and counsel for PTH regarding same; prepared
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                                                                  14   a reply to SLC’s objection to the DIP motion, prepared for and attending the hearing on DIP motion,

                                                                  15   and addressed issues regarding PTH’s possible default and a revised loan schedule.

                                                                  16           During the Application Period, the Firm expended 204.20 hours in this category. The

                                                                  17   amount of fees attributable to this category is $185,883.50.

                                                                  18           11.      General Creditors Committee

                                                                  19           Time billed to this category generally relates to issues involving the Committee.

                                                                  20           The Firm reviewed the Committee’s appointment and its members, fielded calls from

                                                                  21   numerous potential professionals regarding Committee appointment, participated on numerous

                                                                  22   Committee calls, reviewed and responded to Committee requests in conjunction with OMM,

                                                                  23   prepared for and participated in creditor and Committee meetings and interviews, attended to

                                                                  24   document production matters, conferred with Robert Moon regarding budget issues, addressed

                                                                  25   individual creditor inquiries.

                                                                  26           During the Application Period, the Firm expended 124.40 hours in this category. The

                                                                  27   amount of fees attributable to this category is $116,739.50.

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                                                                   1           12.      Hearing

                                                                   2           Time spent in this category includes preparation for and attending the status conference

                                                                   3   hearing.

                                                                   4           During the Application Period, the Firm expended 4.40 hours in this category. The amount

                                                                   5   of fees attributable to this category is $6,358.00.

                                                                   6           13.      Litigation/Non-Bankruptcy

                                                                   7           Time billed to this category includes analyzing non-bankruptcy litigation issues.

                                                                   8           During the Application Period, the Firm prepared notices of stay regarding SLC and Bank of

                                                                   9   America and addressed subpoena issues; conferred with OMM regarding non-bankruptcy related

                                                                  10   litigation matters including Hans, Jinan Rui, O’Film, and Vizio litigations; conferred with OMM and

                                                                  11   the Committee regarding Plan voting deadline and creditor meetings; addressed mediation issues;
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                                                                  12   reviewed case law regarding nondischargeability issues; and reviewed and revised a motion to
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                                                                  13   dismiss the Liu complaint.
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                                                                  14           During the Application Period, the Firm expended 19.60 hours in this category. The amount

                                                                  15   of fees attributable to this category is $16,175.50.

                                                                  16           14.      Meeting of Creditors

                                                                  17           Time billed to this category relates to the section 341(a) meeting of creditors.

                                                                  18           The Firm addressed committee formation and media issues; revised the draft 341a Notice of

                                                                  19   Commencement of Case and conferred with the OUST regarding the same, prepared for and

                                                                  20   attended a creditor “open house,” prepared for and attended the IDI and 341a meeting of creditors

                                                                  21   and conferred with the Debtor, OMM and Committee counsel regarding the same; conferred with

                                                                  22   Chongqing counsel; and assisted with 341a transcript corrections.

                                                                  23            During the Application Period, the Firm expended 185.70 hours in this category. The

                                                                  24   amount of fees attributable to this category is $171,402.50.

                                                                  25           15.      Plan and Disclosure Statement

                                                                  26           This category of activity for the Firm is devoted to services performed in connection with the

                                                                  27   Debtor’s Plan and Disclosure Statement, which consisted of participating in Plan related negotiations

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                                                                   1   with the Committee and other creditors, supporting OMM as the lead preparer of the Plan and

                                                                   2   Disclosure Statement, and attending to various evidentiary issues in connection with the same.

                                                                   3           Among numerous tasks in this category, the Firm attended mediation sessions; reviewed

                                                                   4   liquidation analyses and tracked claims regarding same; prepared the Debtor’s declaration in support

                                                                   5   of the disclosure statement; worked on issues regarding the plan and disclosure statement approval;

                                                                   6   researched Ninth Circuit and Central District of California law; reviewed and revised the plan,

                                                                   7   disclosure statement and amendments thereto, and solicitation and amended solicitation motions and

                                                                   8   amendments thereto; reviewed and responded to objections to the solicitation motion; responded to

                                                                   9   creditor inquiries regarding the disclosure statement, prepared for and attended hearings on

                                                                  10   disclosure statement approval; conferred with OMM regarding the Court’s objections to the

                                                                  11   disclosure statement; conferred with Epiq regarding solicitation package materials and service
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                                                                  12   regarding the same; worked on the plan confirmation timeline with OMM and the Debtor team;
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                                                                  13   addressed issues regarding translation of solicitation materials; addressed issues regarding balloting
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                                                                  14   and plan voting, including dissemination of termination of voting to creditors served with ballots and

                                                                  15   temporary disallowance of certain claims for voting purposes; conferred with OMM and the Debtor

                                                                  16   team regarding the chapter 11 status report, reviewed the Committee support letter and conferred

                                                                  17   with the Debtor’s team regarding Committee support for the plan.

                                                                  18           During the Application Period, the Firm expended 560.80 hours in this category. The

                                                                  19   amount of fees attributable to this category is $538,768.00.

                                                                  20           16.      Retention of Professionals/Other Professionals

                                                                  21           Time billed to this matter relates to the preparation of retention applications for PSZJ and

                                                                  22   other Debtor professionals, and the review of the retention applications of others.

                                                                  23           Among many tasks, the Firm prepared its application and related pleadings to be retained as

                                                                  24   the Debtor’s bankruptcy counsel; reviewed and revised Epiq’s applications; prepared the Debtor’s

                                                                  25   omnibus declaration in support of retention applications; met with and prepared a retention

                                                                  26   application for the Debtor’s financial advisor; responded to SLC’s inquiries regarding PSZJ and

                                                                  27   OMM retention; reviewed and revised OMM’s retention application; assisted with the preparation

                                                                  28   of a motion and declaration to employ a foreign representative; prepared replies to objections to

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                                                                   1   PSZJ and Moon retention applications; reviewed the replies to OMM retention and foreign

                                                                   2   representative applications prepared by OMM; addressed issues regarding transfer of venue;

                                                                   3   prepared supplements to the PSZJ and PQBDN retention applications; reviewed the supplement to

                                                                   4   the OMM retention application; prepared an amended application and related pleadings to retain a

                                                                   5   financial advisor; prepared a notice of hearing regarding retention applications; drafted a

                                                                   6   supplemental declaration of in support of PSZJ’s retention; conferred with Epiq regarding service of

                                                                   7   retention applications; prepared for and attended a hearing on retention applications; reviewed

                                                                   8   materials regarding retention of divorce counsel and BVI counsel; and reviewed the Wang-Ekvall

                                                                   9   retention application as special counsel to the Debtor.

                                                                  10           During the Application Period, the Firm expended 150.10 hours in this category. The

                                                                  11   amount of fees attributable to this category is $121,211.50.
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                                                                  12           17.      Travel
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                                                                  13           This category includes time spent traveling to and from hearings and other meetings. Travel
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                                                                  14   time is billed at half the regular rate.

                                                                  15           During the Application Period, the Firm expended 58.60 hours in this category. The amount

                                                                  16   of fees attributable to this category is $29,681.00.

                                                                  17   B.      Detailed Listing of all Time Spent by the Professional on the Matters for Which

                                                                  18           Compensation is Sought (Local Bankruptcy Rule 2016-1(a)(1)(E)

                                                                  19           Exhibit “E” contains a summary, by category, of the Firm’s services and expenses in this

                                                                  20   Chapter 11 case that were incurred during the Fee Period. Such summary includes the time spent,

                                                                  21   rate and billing attributable to each person who performed compensable services for the Debtor. As

                                                                  22   noted in such exhibit the Firm has combined some categories with minor amounts of time.

                                                                  23   Exhibit “G” contains the Firm’s detailed time records during this period.

                                                                  24   C.      List of Expenses by Category (Local Bankruptcy Rule 2016-1(a)(1)(F)).

                                                                  25           The costs incurred are summarized in Exhibit “E” attached hereto, which provides a

                                                                  26   monthly breakdown during the Fee Period. The Firm has not charged the Debtor for any outgoing

                                                                  27   faxes. The Firm has charged for unusual expenses, such as travel, court costs and special messenger

                                                                  28

                                                                                                                          23
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                                                                   1   services, including Federal Express. The Firm has written off all charges for secretarial overtime

                                                                   2   and working meals. Exhibit “G” contains the Firm’s detailed expense records during this period.

                                                                   3   D.      Hourly Rates (Local Bankruptcy Rule 2016-1(a)(1)(G)).

                                                                   4           The hourly rates of all professionals and paraprofessionals rendering services in this case are

                                                                   5   set forth on Exhibit “E” attached hereto.

                                                                   6   E.      Description of Professional Education and Experience (Local Bankruptcy Rule

                                                                   7           2016-1(a)(1)(H)).

                                                                   8           Exhibit “F” includes a description of the professional education and biographies of the

                                                                   9   professionals employed by the Firm who rendered services in this case. The Firm has no

                                                                  10   understanding, agreement, or arrangement of any kind to divide with or pay to anyone any of the

                                                                  11   fees to be awarded in these proceedings, except to be shared among members of the Firm.
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                                                                  12   F.      Notice of Application and Hearing (Local Bankruptcy Rule 2016-1(a)(2)).
                                        LOS ANGELES, CALIFORNIA




                                                                  13           Notice of the submission of this Application and the hearing thereon has been provided to the
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                                                                  14   Office of the United States Trustee, the Debtor, PTH, the Committee, the Professionals, all parties

                                                                  15   requesting special notice and other interested parties in accordance with the Local Bankruptcy Rules.

                                                                  16   Complete copies of the Application will be promptly furnished to any other party upon specific

                                                                  17   request. Therefore, notice should be deemed adequate under the circumstances and in accordance

                                                                  18   with Federal Bankruptcy Rules 2002(a)(6) and 2002(c)(2).

                                                                  19   G.      Compliance with United States Trustee Guidelines for Large Cases.

                                                                  20           Attorneys retained pursuant to sections 327 or 1103 of the Bankruptcy Code must comply

                                                                  21   with certain requirements of the United States Trustee’s Guidelines for Reviewing Applications for

                                                                  22   Compensation and Reimbursement of Expenses Filed under 11 U.S.C. §330 by Attorneys in Larger

                                                                  23   Chapter 11 Cases (the “Revised UST Guidelines”). In accordance the Revised UST Guidelines, the

                                                                  24   Firm attaches the following exhibits filled out with data to the extent relevant to this case:

                                                                  25   Exhibit “A”, Customary and Comparable Compensation Disclosures with Fee Applications;

                                                                  26   Exhibit “B”, Summary of Timekeepers Included in this Fee Application, Exhibit “C”, Staffing Plan;

                                                                  27   Exhibit “D-1”, Summary of Compensation Requested by Project Category; and Exhibit “D-2”,

                                                                  28   Summary of Expense Reimbursement Requested by Category.

                                                                                                                          24
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                                                                   1                                                     V.

                                                                   2                            THE FEES AND EXPENSES REQUESTED SHOULD

                                                                   3                                BE AWARDED BASED UPON APPLICABLE LAW

                                                                   4           The fees and expenses requested by this Application are an appropriate award for the Firm’s

                                                                   5   services in acting as counsel to the Debtor.

                                                                   6   A.      Factors in Evaluating Requests for Compensation

                                                                   7           Pursuant to section 330 of the Bankruptcy Code, the Court may award to a professional

                                                                   8   person, reasonable compensation for actual, necessary services rendered, and reimbursement for

                                                                   9   actual, necessary expenses incurred. As set forth above, the fees for which the Firm requests

                                                                  10   compensation and the costs incurred for which the Firm requests reimbursement are for actual and

                                                                  11   necessary services rendered and costs incurred.
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                                                                  12           The professional services rendered by the Firm have required an expenditure of substantial
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                                                                  13   time and effort. During the Application period 2,867.70 hours have been recorded by members of
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                                                                  14   the Firm and more time was actually expended but either was not recorded or was written off. The

                                                                  15   Firm’s blended hourly rate in this Case for the Application period including paraprofessionals is

                                                                  16   $792.90 (accounting for the agreed upon 10% fee discount).

                                                                  17           Moreover, time and labor devoted is only one of many pertinent factors in determining an

                                                                  18   award of fees and costs. Based on the skills brought to bear in this case by the Firm and the results

                                                                  19   obtained and in light of the accepted lodestar approach, the Firm submits that the compensation

                                                                  20   requested herein is reasonable and appropriate.

                                                                  21   B.      The Lodestar Award Should be Calculated by Multiplying a Reasonable Hourly Rate

                                                                  22           by the Hours Expended.

                                                                  23           In determining the amount of allowable fees under 11 U.S.C. § 330(a), courts are to be

                                                                  24   guided by the same “general principles” as are to be applied in determining awards under the federal

                                                                  25   fee-shifting statutes, with “some accommodation to the peculiarities of bankruptcy matters.” In re

                                                                  26   Manoa Finance Co., Inc., 853 F.2d 687, 691 (9th Cir. 1988); see Meronk v. Arter & Hadden, LLP

                                                                  27   (In re Meronk), 249 B.R. 208, 213 (BAP 9th Cir. 2000) (reiterating that Manoa Finance is the

                                                                  28

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                                                                   1   controlling authority and characterizing the factor test10 identified in Johnson v. Georgia Highway

                                                                   2   Express, Inc. 488 F.2d 714 (5th Cir. 1974) and Kerr v. Screen Extras Guild, Inc. 526 F. 2d 67, 70

                                                                   3   (9th Cir. 1975), cert. denied, 425 U.S. 951 (1976) as an “obsolete laundry list” now subsumed within

                                                                   4   more refined analyses)

                                                                   5             The United States Supreme Court has evaluated the lodestar approach and endorses its usage.

                                                                   6   In Hensley v. Eckerhart, 461 U.S. 424 (1983), a civil rights case, the Court held that while the

                                                                   7   Johnson factors might be considered in setting fees, the lodestar amount subsumed many of those

                                                                   8   factors. Hensley, 461 U.S. at 434, n. 9.11 The following year, another civil rights case, Blum vs.

                                                                   9   Stenson, 465 U.S. 886 (1984) provided the so-called lodestar calculation:

                                                                  10                       The initial estimate of a reasonable attorney’s fee is properly
                                                                                           calculated by multiplying the number of hours reasonably expended on
                                                                  11                       the litigation times a reasonable hourly rate . . . . Adjustments to that
                                                                                           fee then may be made as necessary in the particular case.
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                                                                  12   Blum at 888.
                                        LOS ANGELES, CALIFORNIA




                                                                  13             Then in 1986, the Supreme Court more explicitly indicated that the factors relevant to
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                                                                  14   determining fees should be applied using the lodestar approach, rather than an ad hoc approach.

                                                                  15   While holding that the attorney’s fee provision of the Clean Air Act, 42 U.S.C. § 7401 et seq.,

                                                                  16   should be interpreted like that of the Civil Rights Act, the Court expressly rejected the ad hoc

                                                                  17   application of the factors set forth in Johnson and thus Kerr, stating that, “the lodestar figure

                                                                  18   includes most, if not all, of the relevant factors constituting a ‘reasonable’ attorney’s fee . . . ”

                                                                  19   Pennsylvania v. Del. Valley Citizens’ Council for Clean Air, 478 U.S. 546, 563-66 (1986); See also

                                                                  20   Blanchard v. Bergeron, 489 U.S. 87, 94 (1989) (“we have said repeatedly that the initial estimate of

                                                                  21   a reasonable attorney’s fee is properly calculated by multiplying the number of hours reasonably

                                                                  22   expended on the litigation times a reasonable hourly rate.”)

                                                                  23
                                                                       10
                                                                          The original twelve Johnson/Kerr factors were: (1) time and labor required; (2) novelty and difficulty of the questions involved;
                                                                  24   (3) skill requisite to perform the legal services properly; (4) the preclusion of other employment by the attorney due to acceptance of
                                                                       the case; (5) the customary fee; (6) whether the fee is fixed or contingent; (7) time limitations imposed by the client or the
                                                                       circumstances; (8) amount involved and results obtained; (9) experience, reputation, and ability of the attorneys; (10) the
                                                                  25   “undesirability” of the case; (11) nature and length of the professional relationship with client; and (12) awards in similar cases.
                                                                       11
                                                                  26     For discussion of the Johnson/Kerr subsumed factors: See Morales v. City of San Rafael, 96 F.3d 359, 364 n.9 (9th Cir.
                                                                       1996) (“among the subsumed factors…are: (1) the novelty and complexity of the issues, (2) the special skill and
                                                                  27   experience of counsel, (3) the quality of representation, and (4) the results obtained”); Davis v. City & County of San
                                                                       Francisco, 976 F.2d 1536, 1549 (9th Cir. 1992), vacated in part on other grounds, 984 F.2d 345 (9th Cir. 1993) (Court
                                                                  28   extending City of Burlington v. Dague, 505 U.S. 557, 567 (1992) held the sixth factor “whether the fee is fixed or
                                                                       contingent, may not be considered in the lodestar calculation.”).
                                                                                                                                          26
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                                                                   1           While the lodestar approach is the chief basis for determining fee awards under the federal

                                                                   2   fee-shifting statutes and Bankruptcy Code, some of the Johnson/Kerr factors, previously applied in

                                                                   3   an ad hoc fashion, can still apply in calculating the appropriate hourly rate to use under the lodestar

                                                                   4   approach. Buckridge at 202 (“a court is permitted to adjust the lodestar up or down using a multiplier

                                                                   5   based on the criteria listed in § 330 and its consideration of the Kerr factors not subsumed within the

                                                                   6   initial calculations of the lodestar”); Dang v. Cross, 422 F.3d 800, 812 (9th Cir. 2005) (court may

                                                                   7   “adjust the lodestar amount after considering other factors that bear on the reasonableness of the

                                                                   8   fee”); Unsecured Creditors’ Comm. V. Puget Sound Plywood, Inc., 924 F.2d 955, 960 (9th Cir. 1991)

                                                                   9   (“Although Manoa suggests that starting with the lodestar is customary, it does not mandate such an

                                                                  10   approach in all cases…[f]ee shifting cases are persuasive, but due to the uniqueness of bankruptcy

                                                                  11   proceedings, they are not controlling”).
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                                                                  12           Attached hereto as Exhibit “G” are copies of the Firm’s time reports and records kept in the
                                        LOS ANGELES, CALIFORNIA




                                                                  13   regular course of business reflecting the services rendered and the expenses incurred by the Firm
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                                                                  14   during the Fee Period. The Firm’s time reports are initially handwritten or recorded via computer by

                                                                  15   the attorney or paralegal performing the described services. The time reports are organized on a

                                                                  16   daily basis. The Firm is sensitive to issues of “lumping,” and unless time was spent in one time

                                                                  17   frame on a variety of different matters for a particular client, separate time entries are set forth in the

                                                                  18   time reports. The Firm’s charges for its professional services are based upon the time, nature, extent

                                                                  19   and value of such services and the cost of comparable services in the Southern California region,

                                                                  20   other than in a case under the Bankruptcy Code.

                                                                  21           It is clear that the Debtor has achieved significant results so far in this case. This is due in

                                                                  22   significant part to the Firm’s role as counsel to the Debtor to achieve the best possible results under

                                                                  23   the circumstances.

                                                                  24                                                      VI.

                                                                  25                                               CONCLUSION

                                                                  26           This is the Firm’s first request for interim compensation. Neither the Firm, nor any partners

                                                                  27   or associates of the Firm, has any agreement or any understanding of any kind or nature to divide,

                                                                  28

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                                                                   1   pay over, or share any portion of the fees to be awarded the Firm with any other person or attorney,

                                                                   2   except among partners and employees of the Firm.

                                                                   3            The Firm believes that the services rendered for which compensation is sought in this

                                                                   4   Application have been beneficial to the Estate, that the costs incurred have been necessary and

                                                                   5   proper, and that the sums requested for the services rendered and the costs incurred are fair and

                                                                   6   reasonable.

                                                                   7            WHEREFORE, Pachulski Stang Ziehl & Jones LLP respectfully requests that this Court

                                                                   8   enter an order (a) approving on an interim basis, fees and expenses incurred for the Application

                                                                   9   Period consisting of $2,251,649.50 in fees (which amount reflects a 10% reduction plus an

                                                                  10   additional write-off of $22,173.50, representing a 50% reduction in fees for travel originally billed at

                                                                  11   100% ) and $62,316.38 in expenses advanced, for a total award of $2,313,965.88 and (b) authorizing
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   payment to the Firm from the Estate of the net amount due to the Firm, after application of funds
                                        LOS ANGELES, CALIFORNIA




                                                                  13   held in trust, the amount of $1,755,744.12.
                                           ATTORNEYS AT LAW




                                                                  14
                                                                       Dated:     April 16, 2020                     PACHULSKI STANG ZIEHL & JONES LLP
                                                                  15

                                                                  16                                                 By        /s/ Malhar S. Pagay
                                                                                                                               Richard M. Pachulski
                                                                  17                                                           Jeffrey W. Dulberg
                                                                                                                               Malhar S. Pagay
                                                                  18
                                                                                                                               Counsel for Debtor and Debtor in
                                                                  19                                                           Possession
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                                                                   1                                DECLARATION OF JEFFREY W. DULBERG

                                                                   2           I, Jeffrey W. Dulberg, declare as follows:

                                                                   3           1.       I am an attorney at law duly authorized to practice in the State of California and

                                                                   4   before this court. I am a partner in the law firm of Pachulski Stang Ziehl & Jones LLP, general

                                                                   5   bankruptcy counsel for the Debtor.

                                                                   6           2.       I have personal knowledge of the facts set forth in the foregoing Application and, if

                                                                   7   called upon as a witness, I could and would competently testify as to all of the matters stated therein.

                                                                   8           3.       I have personally reviewed the information contained in the Application, and believe

                                                                   9   its contents to be true and correct to the best of my knowledge, information and belief.

                                                                  10           4.       The Firm customarily charges $0.20 per page for photocopying expenses and printing

                                                                  11   of scanned materials. The Firm’s photocopying machines automatically record the number of copies
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   made when the person that is doing the copying enters the client’s account number into a device
                                        LOS ANGELES, CALIFORNIA




                                                                  13   attached to the photocopier. The Firm summarizes each client’s photocopying charges on a daily
                                           ATTORNEYS AT LAW




                                                                  14   basis. Whenever feasible, the Firm sends large copying projects to an outside copy service that

                                                                  15   charges a reduced rate for photocopying.

                                                                  16           5.       Regarding providers of on-line legal research (e.g., LEXIS and WESTLAW), the

                                                                  17   Firm charges the standard usage rates these providers charge for computerized legal research. The

                                                                  18   Firm bills its clients the actual cash charged by such services, with no premium. Any volume

                                                                  19   discount received by the Firm is passed on to the client.

                                                                  20           6.       The Firm does not charge for local or long distance calls placed by attorneys from

                                                                  21   their offices. The Firm only bills its clients for the actual costs charged the Firm by teleconferencing

                                                                  22   services in the event that a multiple party teleconference is initiated through the Firm.

                                                                  23           7.       The Firm believes the foregoing rates are the market rates that the majority of law

                                                                  24   firms charge clients for such services. In addition, the Firm believes that such charges are in

                                                                  25   accordance with the American Bar Association’s (“ABA”) guidelines, as set forth in the ABA’s

                                                                  26   Statement of Principles, dated January 12, 1995, regarding billing for disbursements and other

                                                                  27   charges.

                                                                  28

                                                                                                                            29
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                                                                   1           8.       I have personally reviewed the bills in this matter, and the bills represent true and

                                                                   2   correct charges to the best of my knowledge, information and belief.

                                                                   3           9.       I have reviewed the requirements of Local Bankruptcy Rule 2016-1(K) and believe

                                                                   4   the Application complies with this rule.

                                                                   5           I declare under penalty of perjury under the laws of the State of California and the United

                                                                   6   States of America that the foregoing is true and correct.

                                                                   7           Executed this 16th day of April, 2020, at Los Angeles, California.

                                                                   8

                                                                   9

                                                                  10                                                        Jeffrey W. Dulberg
                                                                  11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12
                                        LOS ANGELES, CALIFORNIA




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                                           ATTORNEYS AT LAW




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                           EXHIBIT A
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                                                                                   EXHIBIT A

                                      CUSTOMARY AND COMPARABLE COMPENSATION DISCLOSURES WITH FEE APPLICATIONS

                                                (See Guidelines C.3. for definitions of terms used in this Exhibit.)


                                                                                                                     BLENDED HOURLY RATE
                                     CATEGORY OF TIMEKEEPER
                       (using categories already maintained by the firm)                          BILLED OR COLLECTED                               BILLED

                                                                                           Firm or offices for preceding year,              In this fee application
                                                                                                  excluding bankruptcy*

                         Sr./Equity Partner/Shareholder                                                   $1,012.18                                            $1,064.08

                         Of Counsel                                                                        $832.12                                               $837.72
                         Associates                                                                        $615.00                                               $575.00
                         Law Library Director                                                              $450.00                                               $443.20
                         Paralegal                                                                         $391.00                                               $416.53

                         Case Management Assistants                                                        $325.00                                               $325.00

                         All timekeepers aggregated                                                        $604.22                                               $610.25

* Represents approximate blended hourly rate. Non-estate work for PSZ&J represents a de minimis amount of the Firm’s revenues as the Firm’s engagements are primarily on
behalf of debtors, official committees, and other estate-billed constituencies. For the fiscal year ending 2018, non-estate work represented approximately 2-3% of the Firm’s
revenues. In 2019, non-estate work represented approximately 4-5% of the Firm’s revenues, and in 2020, it is expected that non-estate work will represent approximately 4-5% of
the Firm’s revenues.
**Represents an estimate for the aggregate blended hourly rate for all timekeepers on non-estate work.



Case Name:                 Yueting Jia
Case Number:               2:19‐bk‐24804‐VZ
Applicant's Name:          Pachulski Stang Ziehl & Jones LLP
Date of Application:       4/16/20
Interim or Final:          Interim
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                              EXHIBIT B
              Summary of Timekeepers Included in this Fee Application
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         NAME               TITLE OR      DEPARTMENT,   DATE OF FIRST     FEES BILLED          HOURS         HOURLY RATE BILLED   NUMBER OF
                            POSITION       GROUP OR      ADMISSION1                            BILLED                                RATE
                                            SECTION                                                                               INCREASES
                                                                        IN THIS APPLICATION     IN THIS       IN THIS              SINCE CASE
                                                                                              APPLICATION   APPLICATION            INCEPTION
Richard M. Pachulski    Partner           Bankruptcy     1983              $331,338.50         229.30       $1445.00                   1
Richard M. Pachulski    Partner           Bankruptcy     1983              $254,608.50         189.30       $1345.00                   1
Steven J. Kahn          Of Counsel        Bankruptcy     1977                $2,050.00           2.00       $1025.00                   0
Kenneth H. Brown        Partner           Bankruptcy     1981                $1,293.50           1.30       $995.00                    0
James E. O’Neill        Partner           Bankruptcy     1985               $37,647.50          40.70       $925.00                    1
James E. O’Neill        Partner           Bankruptcy     1985              $165,127.50         184.50       $895.00                    1
Victoria A. Newmark     Of Counsel        Bankruptcy     1996                $2,312.50           2.50       $925.00                    0
Jeffrey W. Dulberg      Partner           Bankruptcy     1995              $300,272.50         335.50       $895.00                    1
Jeffrey W. Dulberg      Partner           Bankruptcy     1995              $185,980.00         218.80       $850.00                    1
Jonathan J. Kim         Of Counsel        Bankruptcy     1996               $44,370.00          52.20       $850.00                    0
Malhar S. Pagay         Of Counsel        Bankruptcy     1994              $549,762.50         628.30       $875.00                    1
Malhar S. Pagay         Of Counsel        Bankruptcy     1994              $438,157.50         531.10       $825.00                    1
Malhar S. Pagay         Of Counsel        Bankruptcy     1994               $7,507.50           18.20       $412.50                    1
Gail S. Greenwood       Of Counsel        Bankruptcy     1994               $1,155.00            1.40       $825.00                    0
Tavi C. Flanagan        Of Counsel        Bankruptcy     1994              $31,175.00           43.00       $725.00                    1
Tavi C. Flanagan        Of Counsel        Bankruptcy     1994              $25,784.50           37.10       $695.00                    1
Steven W. Golden        Associate         Bankruptcy     2014               $3,220.00            5.60       $575.00                    0
Leslie A. Forrester     Paralegal         Bankruptcy     N/A                $6,750.00           15.00       $450.00                    1
Leslie A. Forrester     Paralegal         Bankruptcy     N/A                $2,380.00            5.60       $425.00                    1
Beth D. Dassa           Paralegal         Bankruptcy     N/A               $98,260.00          231.20       $425.00                    1
Beth D. Dassa           Paralegal         Bankruptcy     N/A               $23,068.00           58.40       $395.00                    1
Patricia J. Jeffries    Paralegal         Bankruptcy     N/A                 $170.00             0.40       $425.00                    1
Patricia J. Jeffries    Paralegal         Bankruptcy     N/A                $3,318.00            8.40       $395.00                    1
Patricia E. Cuniff      Paralegal         Bankruptcy     N/A                $9,559.00           24.20       $395.00                    0
Karen S. Neil           Legal Assistant   Bankruptcy     N/A                 $260.00             0.80       $325.00                    0
Charles J. Bouzoukis    Legal Assistant   Bankruptcy     N/A                 $585.00             1.80       $325.00                    0
Beatrice M. Koveleski   Legal Assistant   Bankruptcy     N/A                 $357.50             1.10       $325.00                    0
Grand Total                                                             $2,526,470.00           2,867.70
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                             EXHIBIT C
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                                           EXHIBIT C
                                        STAFFING PLAN


This case was commenced before the United States Bankruptcy Court for the District of
Delaware. Prevailing rules in that District do not require submission of a staffing plan. However,
the Firm is within its budget with the Debtor as agreed to at the outset of this case.
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                           EXHIBIT D-1
             Summary of Compensation Requested by Project Category
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                                             HOURS            FEES     HOURS          FEES
            PROJECT CATEGORY
                                           BUDGETED1        BUDGETED    BILLED      SOUGHT
Asset Analysis/Recovery                                                   67.90       $57,862.50
Asset Disposition                                                           0.20          $79.00
Bankruptcy Litigation                                                    837.60      $763,871.50
Case Administration                                                      227.10      $176,286.00
Claims Administration/Objections                                         182.00      $158,822.00
Compensation of Professionals                                             15.30        $9,518.00
/Others/Fee Applications
Employee Benefits/Pension                                                 0.30         $252.50
Executory Contracts                                                      15.00       $10,017.50
Financial Filings                                                       212.50      $140,259.50
Financing                                                               204.20      $185,883.50
General Creditors Committee                                             124.40      $116,739.50
Hearing                                                                   4.40        $6,358.00
Litigation (Non Bankruptcy)                                              19.60       $16,175.50
Meeting of Creditors                                                    185.70      $171,402.50
Plan & Disclosure Statement/Plan                                        560.80      $538,768.00
Implementation
Retention of Professionals/Others                                        150.10      $121,211.50
Stay Litigation                                                            2.00        $1,108.50
Travel                                                                    58.60       $51,854.50
Total                                                                  2,867.70    $2,526,470.00




Case Name:              Yueting Jia
Case Number:            2:19‐bk‐24804‐VZ
Applicant's Name:       Pachulski Stang Ziehl & Jones LLP
Date of Application:    4/16/20
Interim or Final:       Interim




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    If applicable.
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                           EXHIBIT D-2
            Summary of Expense Reimbursement Requested by Category
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                                            EXHIBIT D -2
         SUMMARY OF EXPENSE REIMBURSEMENT REQUESTED BY CATEGORY
                    (See Guidelines C.8. for project category information.)

                          Expense Category                       Total Expenses
           Airfare                                                     $10,285.89
           Attorney Service                                             $7,700.00
           Auto Travel Expense                                          $5,766.72
           Bloomberg                                                      $432.00
           Business Meals                                               $6,171.35
           Conference Call                                                $684.48
           Courtlink                                                      $466.76
           Delivery/Courier                                             $1,230.92
           Federal Express                                                $595.89
           Fax Transmittal                                                 $25.25
           Filing Fee                                                   $2,204.00
           Guest Parking                                                  $224.00
           Hotel Expense                                                $1,233.00
           Lexis/Nexis                                                  $2,256.85
           Legal Vision/Messenger                                       $2,429.30
           Outside Services                                             $6,980.00
           Pacer‐ Court Research                                        $2,436.90
           Postage                                                        $379.17
           Reproduction Expense                                         $3,401.40
           Reproduction/Scan Copy                                       $4,918.80
           Transcript                                                   $2,159.25
           Travel Expense                                                 $334.45
           Totals                                                      $62,316.38




Case Name:                  Yueting Jia
Case Number:                2:19‐bk‐24804‐VZ
Applicant's Name:           Pachulski Stang Ziehl & Jones LLP
Date of Application:        4/16/20
Interim or Final:           Interim
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                               EXHIBIT E
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                             SUMMARY OF SERVICE AND EXPENSES OF
                              PACHULSKI STANG ZIEHL & JONES LLP
                                  IN RESPECT TO YUETING JIA




     I. SERVICES

     Attorney / Paralegal* / Clerk**             Rate      Hours            Total

     October 14, 2019 - March 31, 2019


              ASSET DISPOSITION

              Dassa, Beth D.                      395       0.20 $          79.00

                             SUB TOTAL                      0.20 $          79.00

              ASSET ANALYSIS

              Pachulski, Richard M.              1345       0.70   $       941.50
              Dulberg, Jeffrey W.                 895       0.80   $       716.00
              Pagay, Malhar S.                    875       2.40   $     2,100.00
              Pagay, Malhar S.                    825      11.80   $     9,735.00
              Kim, Jonathan J.                    850      52.20   $    44,370.00

                             SUB TOTAL                     67.90 $      57,862.50

              BANKRUPTCY LITIGATION

              Pachulski, Richard M.              1445      62.30   $    90,023.50
              Pachulski, Richard M.              1345      61.90   $    83,255.50
              Kahn, Steven J.                    1025       2.00   $     2,050.00
              O'Neill James E.                    925      18.10   $    16,742.50
              O'Neill James E.                    895      68.90   $    61,665.50
              Dulberg, Jeffrey W.                 895     107.30   $    96,033.50
              Dulberg, Jeffrey W.                 850      82.70   $    70,295.00
              Pagay, Malhar S.                    875     234.20   $   204,925.00
              Pagay, Malhar S.                    825     108.90   $    89,842.50
              Flanagan, Tavi C.                   725       4.40   $     3,190.00
              Flanagan, Tavi C.                   695      30.90   $    21,475.50
              Golden, Steven W.                   575       5.60   $     3,220.00
              Forrester, Leslie A.                450       4.60   $     2,070.00
              Forrester, Leslie A.                425       5.60   $     2,380.00
              Dassa, Beth D.                      425      28.40   $    12,070.00
              Dassa, Beth D.                      395       6.50   $     2,567.50
              Cuniff, Patricia E.                 395       4.90   $     1,935.50
              Bouzoukis, Charles J.               325       0.40   $       130.00

                             SUB TOTAL                    837.60 $     763,871.50
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                         PACHULSKI STANG ZIEHL & JONES LLP
                             IN RESPECT TO YUETING JIA




           CASE ADMINISTRATION

           Pachulski, Richard M.             1445       6.50   $     9,392.50
           Pachulski, Richard M.             1345       1.20   $     1,614.00
           O'Neill James E.                   895      14.20   $    12,709.00
           Dulberg, Jeffrey W.                895      27.90   $    24,970.50
           Dulberg, Jeffrey W.                850      26.30   $    22,355.00
           Pagay, Malhar S.                   875      26.80   $    23,450.00
           Pagay, Malhar S.                   825      70.80   $    58,410.00
           Flanagan, Tavi C.                  695       6.20   $     4,309.00
           Dassa, Beth D.                     425      22.10   $     9,392.50
           Dassa, Beth D.                     395       4.90   $     1,935.50
           Jeffries, Patricia J.              395       0.70   $       276.50
           Cuniff, Patricia E.                395      16.20   $     6,399.00
           Koveleski, Beatrice M.             325       1.10   $       357.50
           Neil, Karen S.                     325       0.80   $       260.00
           Bouzoukis, Charles J.              325       1.40   $       455.00

                         SUB TOTAL                    227.10 $     176,286.00

           CLAIMS ADMINISTRATION/OBJECTION

           Pachulski, Richard M.             1445      12.90   $    18,640.50
           Pachulski, Richard M.             1345       1.10   $     1,479.50
           Brown, Kenneth H.                  995       1.30   $     1,293.50
           O'Neill James E.                   925       1.30   $     1,202.50
           O'Neill James E.                   895      16.50   $    14,767.50
           Dulberg, Jeffrey W.                895      21.10   $    18,884.50
           Dulberg, Jeffrey W.                850       5.00   $     4,250.00
           Pagay, Malhar S.                   875      64.20   $    56,175.00
           Pagay, Malhar S.                   825      26.70   $    22,027.50
           Greenwood, Gail S.                 825       1.40   $     1,155.00
           Flanagan, Tavi C.                  725      20.00   $    14,500.00
           Forrester, Leslie A.               450       0.80   $       360.00
           Dassa, Beth D.                     425       8.50   $     3,612.50
           Dassa, Beth D.                     395       1.20   $       474.00

                         SUB TOTAL                    182.00 $     158,822.00

           COMPENSATION OF PROFESSIONALS

           Dulberg, Jeffrey W.                895       3.80   $     3,401.00
           Dulberg, Jeffrey W.                850       0.70   $       595.00
           Pagay, Malhar S.                   875       2.10   $     1,837.50
           Pagay, Malhar S.                   825       0.20   $       165.00
           Dassa, Beth D.                     425       5.40   $     2,295.00
           Dassa, Beth D.                     395       3.10   $     1,224.50

                         SUB TOTAL                     15.30 $       9,518.00
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                        SUMMARY OF SERVICE AND EXPENSES OF
                         PACHULSKI STANG ZIEHL & JONES LLP
                             IN RESPECT TO YUETING JIA




           EMPLOYEE BENEFITS/PENSION

           Dulberg, Jeffrey W.                850       0.20 $        170.00
           Pagay, Malhar S.                   825       0.10 $         82.50

                         SUB TOTAL                      0.30 $        252.50

           EXECUTORY CONTRACTS

           O'Neill, James E.                  925       1.60   $     1,480.00
           Dulberg, Jeffrey W.                895       0.50   $       447.50
           Dulberg, Jeffrey W.                850       0.10   $        85.00
           Pagay, Malhar S.                   875       4.10   $     3,587.50
           Pagay, Malhar S.                   825       1.80   $     1,485.00
           Dassa, Beth D.                     425       6.90   $     2,932.50

                         SUB TOTAL                     15.00 $      10,017.50

           FINANCIAL FILINGS

           Pachulski, Richard M.             1345       1.50   $     2,017.50
           O'Neill James E.                   895      16.00   $    14,320.00
           Dulberg, Jeffrey W.                895       0.30   $       268.50
           Dulberg, Jeffrey W.                850      12.20   $    10,370.00
           Pagay, Malhar S.                   875      25.20   $    22,050.00
           Pagay, Malhar S.                   825      64.20   $    52,965.00
           Dassa, Beth D.                     425      49.40   $    20,995.00
           Dassa, Beth D.                     395      36.70   $    14,496.50
           Jeffries, Patricia J.              425       0.40   $       170.00
           Jeffries, Patricia J.              395       6.30   $     2,488.50
           Cuniff, Patricia E.                395       0.30   $       118.50

                         SUB TOTAL                    212.50 $     140,259.50

           FINANCING

           Pachulski, Richard M.             1445      28.60   $    41,327.00
           Pachulski, Richard M.             1345       2.70   $     3,631.50
           O'Neill James E.                   925       1.60   $     1,480.00
           O'Neill James E.                   895       1.00   $       895.00
           Dulberg, Jeffrey W.                895      83.60   $    74,822.00
           Dulberg, Jeffrey W.                850      31.10   $    26,435.00
           Pagay, Malhar S.                   875      11.60   $    10,150.00
           Pagay, Malhar S.                   825      17.60   $    14,520.00
           Newmark, Victoria A.               925       2.50   $     2,312.50
           Forrester, Leslie A.               450       7.80   $     3,510.00
           Dassa, Beth D.                     425      14.70   $     6,247.50
           Jeffries, Patricia J.              395       1.40   $       553.00

                         SUB TOTAL                    204.20 $     185,883.50
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                         PACHULSKI STANG ZIEHL & JONES LLP
                             IN RESPECT TO YUETING JIA




           GENERAL CREDITORS' COMMITTEE

           Pachulski, Richard M.            1345      21.20   $    28,514.00
           O'Neill James E.                  895       1.70   $     1,521.50
           Dulberg, Jeffrey W.               895      32.20   $    28,819.00
           Dulberg, Jeffrey W.               850      26.70   $    22,695.00
           Pagay, Malhar S.                  875       0.90   $       787.50
           Pagay, Malhar S.                  825      41.70   $    34,402.50

                         SUB TOTAL                   124.40 $     116,739.50

           HEARING

           Pachulski, Richard M.            1445       4.40 $       6,358.00


                         SUB TOTAL                   473.50 $     432,521.00

           LITIGATION/NON-BANKRUPTCY

           Pachulski, Richard M.            1345       2.30   $     3,093.50
           Dulberg, Jeffrey W.               895       3.00   $     2,685.00
           Dulberg, Jeffrey W.               850       1.50   $     1,275.00
           Pagay, Malhar S.                  875       4.50   $     3,937.50
           Pagay, Malhar S.                  825       4.30   $     3,547.50
           Dassa, Beth D.                    425       1.90   $       807.50
           Dassa, Beth D.                    395       2.10   $       829.50

                         SUB TOTAL                    19.60 $      16,175.50


           MEETING OF CREDITORS

           Pachulski, Richard M.            1445       1.10   $     1,589.50
           Pachulski, Richard M.            1345      27.10   $    36,449.50
           O'Neill James E.                  925       0.60   $       555.00
           O'Neill James E.                  895      33.10   $    29,624.50
           Dulberg, Jeffrey W.               895       1.20   $     1,074.00
           Dulberg, Jeffrey W.               850      16.80   $    14,280.00
           Pagay, Malhar S.                  875      14.10   $    12,337.50
           Pagay, Malhar S.                  825      91.30   $    75,322.50
           Dassa, Beth D.                    425       0.40   $       170.00

                         SUB TOTAL                   185.70 $     171,402.50
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                         PACHULSKI STANG ZIEHL & JONES LLP
                             IN RESPECT TO YUETING JIA




           PLAN AND DISCLOSURE STATEMENT

           Pachulski, Richard M.             1445     108.10   $   156,204.50
           Pachulski, Richard M.             1345      46.70   $    62,811.50
           O'Neill James E.                   925       2.00   $     1,850.00
           O'Neill James E.                   895      13.30   $    11,903.50
           Dulberg, Jeffrey W.                895      48.10   $    43,049.50
           Dulberg, Jeffrey W.                850       5.10   $     4,335.00
           Pagay, Malhar S.                   875     202.50   $   177,187.50
           Pagay, Malhar S.                   825      46.20   $    38,115.00
           Flanagan, Tavi C.                  725      18.60   $    13,485.00
           Forrester, Leslie A.               450       0.50   $       225.00
           Dassa, Beth D.                     425      69.00   $    29,325.00
           Dassa, Beth D.                     395       0.70   $       276.50

                         SUB TOTAL                    560.80 $     538,768.00

           RETENTION OF PROFESSIONALS

           Pachulski, Richard M.             1445       5.40   $     7,803.00
           Pachulski, Richard M.             1345       1.80   $     2,421.00
           O'Neill James E.                   925      15.50   $    14,337.50
           O'Neill James E.                   895      14.30   $    12,798.50
           Dulberg, Jeffrey W.                895       5.70   $     5,101.50
           Dulberg, Jeffrey W.                850       7.50   $     6,375.00
           Pagay, Malhar S.                   875      35.70   $    31,237.50
           Pagay, Malhar S.                   825      20.80   $    17,160.00
           Forrester, Leslie A.               450       1.30   $       585.00
           Dassa, Beth D.                     425      24.50   $    10,412.50
           Dassa, Beth D.                     395       1.50   $       592.50
           Cuniff, Patricia E.                395       2.80   $     1,106.00

                         SUB TOTAL                    136.80 $     109,930.00


           RETENTION OF PROFESSIONALS/OTHERS

           O'Neill James E.                   895       5.50   $     4,922.50
           Dulberg, Jeffrey W.                850       0.40   $       340.00
           Pagay, Malhar S.                   825       7.20   $     5,940.00
           Dassa, Beth D.                     395       0.20   $        79.00

                         SUB TOTAL                     13.30 $      11,281.50
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           STAY LITIGATION

           Dulberg, Jeffrey W.                850          0.70 $          595.00
           Dassa, Beth D.                     395          1.30 $          513.50

                         SUB TOTAL                         2.00 $         1,108.50

           TRAVEL

           Pachulski, Richard M.             1345         21.10   $     28,379.50
           Dulberg, Jeffrey W.                850          1.80   $      1,530.00
           Pagay, Malhar S.                   825         17.50   $     14,437.50
           Pagay, Malhar S.                   412         18.20   $      7,507.50

                         SUB TOTAL                        58.60 $       51,854.50


                         TOTAL SERVICES                           $   2,526,470.00


           EXPENSES

           Airfare                                  $ 10,285.89
           Attorney Service                         $ 7,700.00
           Auto Travel Expense                      $ 5,766.72
           Bloomberg                                $    432.00
           Business Meals                           $ 6,171.35
           Conference Call                          $    684.48
           Courtlink                                $    466.76
           Delivery/Courier                         $ 1,230.92
           Fax Transmittal                          $     25.25
           Federal Express                          $    595.89
           Filing Fee                               $ 2,204.00
           Guest Parking                            $    224.00
           Hotel Expense                            $ 1,233.00
           Lexis-Nexis/Legal Research               $ 2,256.85
           Legal Vision/Messenger                   $ 2,429.30
           Outside Services                         $ 6,980.00
           Pacer - Court Research                   $ 2,436.90
           Postage                                  $    379.17
           Reproduction Expense                     $ 3,401.40
           Reproduction/Scan Copy                   $ 4,918.80
           Transcript                               $ 2,159.25
           Travel Expense                           $    334.45

                         TOTAL EXPENSES              62,316.38


                         TOTAL SERVICES AND EXPENSES              $   2,588,786.38
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In re
                        Yueting Jia              CURRENT APPLICATION
                                                 Fees Requested                                2,526,470.00
                                                 Expenses Requested                               62,316.38
                                      Debtor

FEE APPLICATION                       October 14, 2019 - March 31, 2020
ATTORNEYS
                                                    Year                       Hours          Total for
                                                   Admitted         Rate       Billed        Application
Richard M. Pachulski                                        1983   $1,445.00     229.3       $331,338.50
Richard M. Pachulski                                        1983   $1,345.00     189.3       $254,608.50
Steven J. Kahn                                              1977   $1,025.00         2        $2,050.00
Kenneth H. Brown                                            1981     $995.00       1.3        $1,293.50
James E. O’Neill                                            1985     $925.00      40.7        $37,647.50
James E. O’Neill                                            1985     $895.00     184.5       $165,127.50
Victoria A. Newmark                                         1996     $925.00       2.5        $2,312.50
Jeffrey W. Dulberg                                          1995     $895.00     335.5       $300,272.50
Jeffrey W. Dulberg                                          1995     $850.00     218.8       $185,980.00
Jonathan J. Kim                                             1996     $850.00      52.2        $44,370.00
Malhar S. Pagay                                             1994     $875.00     628.3       $549,762.50
Malhar S. Pagay                                             1994     $825.00     531.1       $438,157.50
Malhar S. Pagay                                             1994     $412.50      18.2             $7,507.50
Gail S. Greenwood                                           1994     $825.00       1.4             $1,155.00
Tavi C. Flanagan                                            1994     $725.00        43           $31,175.00
Tavi C. Flanagan                                            1994     $695.00      37.1           $25,784.50

PARAPROFESSIONALS*/CLERK**
                                                                               Current
                                                    Year                       Hours          Total for
                                                   Admitted         Rate        Billed       Application
Leslie A. Forrester                                   N/A           $450.00        15             $6,750.00
Leslie A. Forrester                                   N/A           $425.00        5.6            $2,380.00
Beth D. Dassa                                         N/A           $425.00      231.2           $98,260.00
Beth D. Dassa                                         N/A           $395.00       58.4           $23,068.00
Patricia J. Jeffries                                  N/A           $425.00        0.4             $170.00
Patricia J. Jeffries                                  N/A           $395.00        8.4            $3,318.00
Patricia E. Cuniff                                    N/A           $395.00       24.2            $9,559.00
Karen S. Neil                                         N/A           $325.00        0.8             $260.00
Charles J. Bouzoukis                                  N/A           $325.00        1.8             $585.00
Beatrice M. Koveleski                                 N/A           $325.00        1.1             $357.50


                                                             TOTAL HOURS                 $         2,867.70

                                               TOTAL FEES REQUESTED                      $    2,526,470.00

                                              BLENDED HOURLY RATE                        $881.10
                                      INCLUDING PARAPROFESSIONALS

                                              BLENDED HOURLY RATE                        $944.84
                                      EXCLUDING PARAPROFESSIONALS
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                                          IN RESPECT TO YUETING JIA




                 2019                      October               November               December      TOTAL

   Asset Analysis                     $           1,601.50 $        53,445.00 $          - $                55,046.50
   Asset Disposition                  $              79.00 $                -  $         - $                    79.00
   Bankruptcy Litigation              $          21,947.50 $       112,625.50 $ 202,194.00 $               336,767.00
   Case Administration                $          45,152.50 $        29,641.00 $ 34,287.00 $                109,080.50
   Claims Administration              $          14,250.50 $        22,156.50 $   6,591.50 $                42,998.50
   Compensation of Professionals      $                -     $          1,230.50    $       754.00 $           1,984.50
   Employee Benefits/Pension          $                -     $                -     $       252.50 $            252.50
   Executory Contracts                $                -     $          1,485.00    $        85.00 $           1,570.00
   General Creditors' Committee       $          10,782.50   $      69,548.00       $     6,802.50 $          87,133.00
   Financial Filings                  $          72,218.00   $      11,055.00       $ 13,503.00 $           96,776.00
   Financing                          $           2,277.50   $      16,457.50       $ 27,299.50 $           46,034.50
   Litigation (Non Bankruptcy)        $           2,197.00   $       4,650.00       $   1,898.50 $           8,745.50
   Meeting of Creditors               $          28,798.50   $      28,229.50       $ 98,648.50 $          155,676.50
   Plan & Disclosure Statement        $         111,622.00   $     173,855.00       $ 135,849.50 $         421,326.50
   Retention of Professionals         $           5,264.50   $      22,869.50       $ 12,319.00 $           40,453.00
   Retention of Professionals/Other   $          11,281.50   $             -        $         -  $          11,281.50

   Stay Litigation                    $           1,108.50   $                -     $           -  $           1,108.50
   Travel                             $           7,507.50   $          1,530.00    $    42,817.00 $          51,854.50

    TOTAL                             $         336,088.50   $     548,778.00       $ 583,301.50 $        1,468,168.00




                 2020
                                      January                February               March             TOTAL

   Asset Analysis                     $              87.50   $             803.50   $      1,925.00   $       2,816.00
   Bankruptcy Litigation              $         234,795.00   $          63,461.50   $    128,848.00   $     427,104.50
   Case Administration                $          46,525.00   $           7,879.50   $     12,801.00   $      67,205.50
   Claims Administration              $          29,414.50   $           9,042.00   $     77,367.00   $     115,823.50
   Compensation of Professionals      $           2,566.00   $           1,660.00   $      3,307.50   $       7,533.50

   Executory Contracts                $                 -    $           8,447.50   $            -    $        8,447.50

   Financial Filings                  $          11,988.50   $          16,590.00   $     14,905.00   $      43,483.50
   Financing                          $          20,639.50   $          69,525.00   $     49,684.50   $     139,849.00
   General Creditors' Committee       $          27,637.50   $           1,969.00   $             -   $      29,606.50
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                                       IN RESPECT TO YUETING JIA




   Hearing                        $        6,358.00   $           -    $           -   $       6,358.00
   Litigation (Non Bankruptcy)    $        4,924.00   $            -   $    2,506.00   $       7,430.00
   Meeting of Creditors           $        5,922.50   $     9,714.00   $       89.50   $      15,726.00
   Plan & Disclosure Statement    $       18,217.00   $    77,937.00   $   21,287.50   $     117,441.50
   Retention of Professionals     $        7,530.00   $    54,920.50   $    7,026.50   $      69,477.00

    TOTAL                         $     416,605.00    $   321,949.50   $ 319,747.50 $      1,058,302.00
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                        2019           October      November     December      TOTAL
          Airfare                      $       -    $      -     $ 10,285.89   $ 10,285.89
          Auto Travel Expense          $ 1,083.26   $ 1,552.48   $ 2,799.18    $ 5,434.92
          Bloomberg                    $    30.00   $      -     $     60.00   $     90.00
          Business Meals               $    92.71   $      -     $ 1,062.80    $ 1,155.51
          Conference Call              $   115.78   $   108.59   $    347.65   $    572.02
          Courtlink                    $     2.70   $    45.71   $    169.02   $    217.43
          Delivery/Courier             $   349.80   $    68.20   $    812.92   $ 1,230.92
          Fax Transmittal              $       -    $    25.25   $       -     $     25.25
          Federal Express              $       -    $    28.15   $    338.18   $    366.33
          Filing Fee                   $ 1,742.00   $      -     $       -     $ 1,742.00
          Hotel Expense                $   634.60   $      -     $    598.40   $ 1,233.00
          Lexis/Nexis                  $       -    $   522.24   $    970.87   $ 1,493.11
          Legal Vision/Messenger       $    62.03   $      -     $     66.40   $    128.43
          Pacer - Court Research       $   232.80   $   331.50   $    480.30   $ 1,044.60
         Reproduction Expense          $   313.80   $   459.60   $ 1,021.60    $ 1,795.00
         Reproduction/Scan Copy        $   535.80   $   278.50   $ 1,280.60    $ 2,094.90
         Transcript                    $       -    $      -     $ 1,782.00    $ 1,782.00
         Travel Expense                $       -    $      -     $    174.95   $    174.95

         TOTAL                         $ 5,195.28   $ 3,420.22   $ 22,250.76   $ 30,866.26


                       2020            January      February     March         TOTAL
         Airfare                       $       -    $      -     $      -      $      -
         Attorney Service              $ 7,700.00   $      -     $      -      $ 7,700.00
         Auto Travel Expense           $   309.26   $    22.54   $      -      $   331.80
         Bloomberg                     $   240.00   $      -     $   102.00    $   342.00
         Business Meals                $ 4,956.03   $    59.81   $      -      $ 5,015.84
         Conference Call               $    91.80   $    20.66   $      -      $   112.46
         Courtlink                     $   216.44   $    27.02   $     5.87    $   249.33
         Federal Express               $   157.05   $    10.18   $    62.33    $   229.56
         Filing Fee                    $   400.00   $      -     $    62.00    $   462.00
         Guest Parking                 $   224.00   $      -     $      -      $   224.00
         Lexis/Nexis                   $   141.98   $   267.32   $   354.44    $   763.74
         Legal Vision/Messenger        $   903.37   $   682.50   $   715.00    $ 2,300.87
         Outside Services              $       -    $ 6,980.00   $      -      $ 6,980.00
         Pacer - Court Research        $   628.80   $   374.60   $   388.90    $ 1,392.30
         Postage                       $   284.22   $    84.00   $    10.95    $   379.17
         Reproduction Expense          $   876.40   $   219.40   $   510.60    $ 1,606.40
         Reproduction/Scan Copy        $ 1,183.00   $   390.60   $ 1,250.30    $ 2,823.90
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         Transcript                $      -      $      -     $   377.25   $    377.25
         Travel Expense            $   115.50    $    44.00   $      -     $    159.50

         TOTAL                     $ 18,427.85   $ 9,182.63   $ 3,839.64   $ 31,450.12
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                           EXHIBIT F
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10100 Santa Monica Blvd.
13th Floor                     Richard M. Pachulski
Los Angeles, CA 90067-4003
                               Tel: 310.277.6910    |   rpachulski@pszjlaw.com



EDUCATION                      Mr. Pachulski is widely regarded as one of the preeminent corporate
University of California at
                               restructuring attorneys in America. He has been named an “Attorney of the
Los Angeles (B.A., summa       Year” by American Lawyer Media’s Recorder, and has been lead counsel on
cum laude, 1976)               several deals that have been recognized as “Deal of the Year” by The M&A
                               Advisor, Turnaround & Workouts and Global M&A Network. During 2019, in
Stanford University (J.D.
                               addition to working on several out-of-court workouts, Mr. Pachulski served
1979)
                               as creditors' committee counsel in the successful chapter 11 reorganization
Phi Beta Kappa; Pi Gamma       of Woodbridge Group of Companies, a $1.2 billion fraud/Ponzi scheme also
Mu                             involving hundreds of millions of dollars of very high-end residential real
                               estate; as debtor's counsel in White Eagle Asset Portfolio, owner of over
BAR AND COURT                  $2.5 billion in face amount of life-insurance policies; and as debtor's counsel
ADMISSIONS
                               in Fuse LLC, a leading multicultural media company owning two cable
1979, California               networks. During the first few months of 2020, in addition to working on
                               certain out-of-court workouts, Mr. Pachulski has principally worked on the
CLERKSHIPS                     chapter 11 case of Yueting Jia, an individual seeking to restructure
Judicial extern, Robert M.     approximately $4 billion of debt who historically has been referred to as the
Takasugi (C.D. Cal. 1978-79)   "Steve Jobs of China."
                               Over Mr. Pachulski's career, a sampling of his roles as lead debtor counsel
                               include the corporate restructurings of American Suzuki Motor Corporation,
                               Solyndra LLC, and Mesa Airlines. Additionally, Mr. Pachulski also recently
                               was lead bankruptcy counsel to Lehman Brothers in a matter involving over
                               $2 billion due to Lehman Brothers.

                               For the past four decades, Mr. Pachulski has represented debtors and
                               creditors' committees in both out-of-court workouts and in-court
                               proceedings. In addition, he has extensive experience in business
                               reorganizations, as well as debtor/creditor litigation across numerous
                               industries. During the 1980s, he was a well-known chapter 7 and chapter 11
                               trustee. His work over this time span led to inclusion in the American
                               College of Bankruptcy, an honorary association of the nation’s most
                               esteemed bankruptcy and insolvency professionals.




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                      Richard M. Pachulski (Cont.)



                      Other career highlights include representation of the debtors in MagnaChip
                      Semiconductor, Breed Technologies, Sizzler International, Covad
                      Communications and Peregrine Systems; representation of the Circuit City
                      creditors’ committee and, thereafter, the Circuit City liquidating trustee;
                      representation of the ad hoc bondholders' committee in Adelphia
                      Corporation; and lead counsel in the restructuring of the debts of
                      internationally acclaimed singer-songwriter Toni Braxton. In total, he has
                      assisted in tens of billions of dollars in restructurings during his career.

                      Several national publications and organizations frequently recognize Mr.
                      Pachulski for his work in the restructuring and turnaround field. For
                      example, Chambers USA repeatedly ranks him as a top-tier national
                      bankruptcy/restructuring attorney; Best Lawyers in America has listed him
                      among the nation’s top bankruptcy attorneys every year since 1995; K&R
                      Restructuring Register and Turnaround & Workouts listed him as one of
                      America's top restructuring professionals; California Law Business listed
                      him as one of “California's 100 Most Influential Attorneys;” and Los Angeles
                      Business Journal listed him as one of fifteen top banking & finance
                      “turnaround artists.” He also holds an “AV Preeminent Peer Rating,”
                      Martindale-Hubbell's highest recognition for ethical standards and legal
                      ability. In 2016, he was named to Thomson Reuters’ “Top 10: 2016 Southern
                      California Super Lawyers” list and in 2018 was listed by Who's Who Legal
                      among "Thought Leaders - Restructuring & Insolvency."

                      Mr. Pachulski is a graduate of UCLA, and received his J.D. from Stanford
                      University. He is admitted to practice in California, and is resident in our Los
                      Angeles office.


                      Representations
                      Chapter 11 debtors in White Eagle Asset Portfolio; Fuse LLC; American
                      Suzuki Motor Corporation; Highway Technolgies; Peregrine Systems; Breed
                      Technologies; Solyndra; Covad Communications Group, Commonwealth
                      Equity Trust; Sizzler International; Toni Braxton; Mesa Air Group; MagnaChip
                      Semiconductor
                      Creditors' committees in Woodbridge Group of Companies; Circuit City; First
                      Executive Corporation; Northpoint Communications

                      Ad hoc bondholders' committee in Adelphia Communications

                      Lehman Brothers in Palmdale Hills Property

                      Trustees in Triad America Corporation and Ezri Namvar


                      Professional Affiliations
                      Fellow, American College of Bankruptcy

                      Member, Financial Lawyers Conference Board of Governors (1989-92)


                      Publications


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                      Richard M. Pachulski (Cont.)



                      Coauthor, "Chapter 11 - The Bank of Last Resort," 45 Business Lawyer 261
                      (1989)
                      Coauthor, "Plan Wars - The Use of Chapter 11 to Coax Continued Financing
                      From a Reluctant Lender," 738 PLI/Comm. 7 (1996)




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10100 Santa Monica Blvd.
13th Floor                    Steven J. Kahn
Los Angeles, CA 90067-4003
                              Tel: 310.277.6910   |    skahn@pszjlaw.com



EDUCATION                     Mr. Kahn specializes in civil and commercial litigation in the bankruptcy,
University of California at
                              federal, and state courts. He has had substantial experience representing
Los Angeles (B.A., cum        debtors, bankruptcy trustees, creditors, and creditors' committees in all
laude, 1973).                 aspects of civil litigation, including the prosecution and defense of claims
                              relating to fraud, preferential transfer, fraudulent conveyance, and other
University of California at
                              complex claims across a broad range of industries. Mr. Kahn is a graduate
Los Angeles (J.D. 1977).
                              of the UCLA, where he also received his J.D. He holds an AV Preeminent
BAR AND COURT
                              Peer Rating, Martindale-Hubbell's highest recognition for ethical standards
ADMISSIONS                    and legal ability. He was also listed in the 2018 and 2019 editions of Best
                              Lawyers in America for his work in Litigation - Bankruptcy. Mr. Kahn is
1977, California.             admitted to practice in California and a resident in our Los Angeles office.


                              Professional Affiliations
                              Judge pro tem, Los Angeles Municipal Court, 1984-1987.

                              Member, Los Angeles County Bar Association Prejudgment Remedies
                              Executive Committee (1984-85).


                              Publications
                              Coauthor, "Contractual Revisions to Medical Malpractice Liability," 49 Law &
                              Contemporary Problems 253 (1986).




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150 California Street
15th Floor                       Kenneth H. Brown
San Francisco, CA
94111-4500                       Tel: 415.263.7000    |   kbrown@pszjlaw.com



EDUCATION                        Mr. Brown has extensive experience in bankruptcy and commercial
University of California at
                                 litigation. He has represented and advised debtors, unsecured creditors,
Santa Barbara (B.A., with        secured creditors, insurers, creditors’ committees, and trustees in large
high honors, 1977)               complex chapter 11 and chapter 15 cases and in related litigation in both
                                 state and federal court. Mr. Brown leads the firm’s litigation team in
Hastings College of Law,
                                 representations of the sex-abuse survivor committees in the chapter 11
University of California (J.D.
1981)
                                 bankruptcy cases involving the Roman Catholic Church. These matters
                                 involve the intersection of the First Amendment and the Religious Freedom
BAR AND COURT                    Restoration Act (“RFRA”) with Bankruptcy Code and focus on recovering
ADMISSIONS                       assets transferred by the debtor prior to filing bankruptcy as part of asset
                                 protection scheme to protect the assets from the claims of the victims of sex
1981, California
                                 abuse. The representations also require expertise in identifying, analyzing,
                                 and prosecuting claims against the management of the debtor for allowing
                                 or facilitating the sexual misconduct and abuse. Mr. Brown led the team that
                                 obtained a judgment in one of these cases worth in excess of $100 million.
                                 Mr. Brown also specializes in defending employers in WARN Act class-
                                 action litigation and advising them on the intersection of the WARN Act and
                                 bankruptcy. Mr. Brown also has extensive experience representing
                                 professional firms and their principals in dissolutions and bankruptcies.

                                 He is a graduate of U.C. Santa Barbara and received his J.D. at Hastings
                                 College of the Law, where he was articles editor for the Hastings Law
                                 Journal. Mr. Brown is a former director of the Bay Area Bankruptcy Forum, a
                                 former member of the State Bar of California Business Law Section
                                 Subcommittee on Debtor/Creditor Relations and Bankruptcy, and frequently
                                 serves as a mediator for the Bankruptcy Dispute Resolution Program for the
                                 Northern District of California and the San Francisco Bar Association. He
                                 holds an AV Preeminent Peer Rating, Martindale-Hubbell's highest
                                 recognition for ethical standards and legal ability. He was listed in the 2018
                                 and 2019 editions of Best Lawyers in America for his work in Bankruptcy
                                 and Creditor Debtor Rights / Insolvency and Reorganization Law and
                                 Litigation - Bankruptcy. Mr. Brown is admitted to practice in California and is
                                 a resident in our San Francisco office.



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                      Kenneth H. Brown (Cont.)



                      Representations
                      Law firm bankruptcies: Brobeck, Phleger & Harrison; Heller Ehrman, Landels
                      Ripley & Diamond

                      Creditors' committees in Boy Scouts of America; TK Holdings Inc. (Takata
                      Americas); The Weinstein Company ; USA Gymnastics

                      Committees in Catholic church bankruptcies: Christian Brothers Institute;
                      Archdiocese of Santa Fe; Archdiocese of Milwaukee; Catholic Diocese of
                      Fairbanks; Catholic Diocese of Wilmington; Diocese of Great Falls; Roman
                      Catholic Diocese of Rochester; Roman Catholic Diocese of San Diego

                      Cross-border case: Katsumi Iida


                      Professional Affiliations
                      Director, Bay Area Bankruptcy Forum (2001-)

                      Mediator, San Francisco Bar Association, Early Settlement Program
                      (1997-2003)

                      Bankruptcy Dispute Resolution Program, United States Bankruptcy Court for
                      the Northern District of California (1994-)

                      Member, State Bar of California Business Law Section Debtor/Creditor
                      Committee (1999-2002)


                      Programs and Lectures
                      Lecturer, American Bankruptcy Institute; Association of Insolvency &
                      Restructuring Advisors; Bar Association of San Francisco; Santa Clara
                      County Bar Association


                      Publications
                      The Estate's Potential Claims Against Management for Failure to Prevent
                      Sexual Misconduct
                      356 American Bankruptcy Trustee Journal 30 (No. 3 Summer 2019),
                      September 2019
                      Stranger in Paradise? The Role of a Foreign Bankruptcy Trustee in Chapter
                      15
                      27 ABI Journal No. 3 at 26 (April 2008), April 2008
                      "Discovery in Debt Collection Actions," in Debt Collection Practice in
                      California (2d ed. 2000)
                      "Tenants in Distress: Pitfalls and Opportunities for the Retail Landlord,"
                      Shopping Center Business (1998).
                      "Law Firm Break-Ups and Bankruptcies," 3 Legal Malpractice Report (No. 2
                      1992)




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                      Co-author, "Dissolutions of Professional Firms Under State Law," in program
                      materials for the Third Annual Northwest Bankruptcy Institute (1989)




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919 North Market Street
17th Floor                    James E. O'Neill
Wilmington, DE 19801
                              Tel: 302.778.6407    |   joneill@pszjlaw.com



EDUCATION                     Mr. O'Neill has extensive experience in all aspects of bankruptcy work,
Georgetown University (B.S.
                              including representation of debtors, unsecured creditors, and creditors'
1982)                         committees in chapter 11 cases. Mr. O'Neill served on the panel of chapter 7
                              trustees for the districts of Delaware, New Jersey, and the Eastern District of
Villanova University (J.D.    Pennsylvania. Mr. O'Neill is a former member of the board of directors of
1985)
                              the Consumer Bankruptcy Assistance Project, a nationally recognized
                              nonprofit organization that provides pro bono legal services. He also
BAR AND COURT
ADMISSIONS
                              assisted in the development of an alternative dispute resolution system for
                              the Bankruptcy Court in the Eastern District of Pennsylvania. Mr. O'Neill is a
1985, Pennsylvania            graduate of Georgetown University and received his J.D. from Villanova
2001, Delaware                University Law School. He is admitted to practice in Pennsylvania and
                              Delaware, and is a resident in our Delaware office.


                              Representations
                              Creditors' committees: Flying J; Magna Entertainment

                              Chapter 11 debtors with asbestos mass tort issues: Federal-Mogul Global;
                              W.R. Grace; Flintkote




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10100 Santa Monica Blvd.
13th Floor                    Victoria A. Newmark
Los Angeles, CA 90067-4003
                              Tel: 310.277.6910    |   vnewmark@pszjlaw.com



EDUCATION                     Ms. Newmark has extensive experience as a bankruptcy lawyer, including
University of California at
                              representation of debtors, creditors, and equity holders in chapter 11
Berkeley (B.A. 1991, with     reorganization cases. She has also represented buyers and sellers in
honors)                       acquisitions and sales of distressed assets, and borrowers and lenders in
                              loan originations and out-of-court work-outs.
Yale Law School (J.D. 1995)
                              Ms. Newmark is a graduate of UC Berkeley and received her J.D. from Yale
BAR AND COURT                 Law School, where she was an editor of the Yale Law Journal and managing
ADMISSIONS                    editor of the Yale Journal of International Law. She co-authored an article on
1996, California              trade vendor rights legislation under the Bankruptcy Abuse Prevention and
                              Consumer Protection Act of 2005. She previously taught legal writing as an
                              adjunct instructor at Cal State, Los Angeles.

                              She has also been recognized annually ever year from 2004 to 2010 as a
                              Southern California Rising Star in the Law & Politics Media Inc. survey
                              published in Los Angeles Magazine and the Southern California edition of
                              Super Lawyers. Ms. Newmark is admitted to practice in California and is a
                              resident of our Los Angeles office.


                              Representations
                              Represented a subprime mortgage loan originator and servicer, the nation's
                              second largest at the time of its chapter 11 filing, as debtor's counsel

                              Represented the purchaser of a midsize nutritional supplements
                              distributorship in contested bankruptcy auction proceedings

                              Represented a publicly held ISP and global online media content company
                              and its affiliates as debtors' counsel in their chapter 11 cases

                              Represented the seed investor and acquirer of a California specialty retail
                              business pursuant to section 363 of the Bankruptcy Code




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                      Victoria A. Newmark (Cont.)



                      Publications
                      First Day Motions (3d ed.)
                      A Guide to the Critical First Days of a Bankruptcy Case
                      American Bankruptcy Institute, June 2012
                      Coauthor, "Tradeoffs," The Deal (May 23, 2005)




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10100 Santa Monica Blvd.
13th Floor                      Jeffrey W. Dulberg
Los Angeles, CA 90067-4003
                                Tel: 310.277.6910    |   jdulberg@pszjlaw.com



EDUCATION                       Mr. Dulberg has substantial experience representing debtors, creditors,
Swarthmore College (B.A.
                                trustees, asset purchasers, and creditors’ committees in insolvency matters
1991)                           throughout the country. He has served as lead counsel for clients in a wide
                                range of industries such as retail, technology, food services, new media, and
University of California, Los   real estate, among others. Mr. Dulberg has played a key role in several
Angeles (J.D. 1995)
                                chapter 11 matters that have been awarded accolades such as “Chapter 11
Moot Court Honors Program       Reorganization of the Year” by the M&A Advisor, and “Turnaround of the
                                Year” and “Transaction of the Year, Mid-Size Company” by the Turnaround
BAR AND COURT                   Management Association. In addition, Mr. Dulberg maintains an active
ADMISSIONS                      practice representing specialty lenders in a variety of settings.
1995, California
                                He has handled numerous out-of-court and commercial matters, including a
                                wide variety of sales and appeals before the Bankruptcy Appellate Panel of
                                the Ninth Circuit. Mr. Dulberg lectures frequently on chapter 11 issues and
                                he has spoken nationwide regarding these matters.

                                Mr. Dulberg is a graduate of Swarthmore College (with honors) and received
                                his J.D. from UCLA, where he was a teaching assistant with the Department
                                of Political Science. On several occasions, most recently for 2019, Mr.
                                Dulberg was named a "Super Lawyer" in the field of Bankruptcy & Creditor/
                                Debtor Rights in a peer survey conducted by Law & Politics and the
                                publishers of Los Angeles magazine, an honor bestowed on only 5% of
                                Southern California attorneys. He was also listed in the 2018 and 2019
                                editions of Best Lawyers in America for Bankruptcy and Creditor Debtor
                                Rights / Insolvency and Reorganization Law and Litigation - Bankruptcy. He
                                is admitted to practice in California and is resident in our Los Angeles office.


                                Representations
                                Chapter 11 debtors: Yueting Jia; JRV Group USA; The Walking Company;
                                Channel Technologies; Z Gallerie; Select Staffing; Ultura (LA) Inc.; Meridian
                                Sports Clubs dba Bodies in Motion; Contessa Foods; The Parent Company;
                                Barbeques Galore; People's Choice Home Loan; Cache Inc.; Prime



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                      Jeffrey W. Dulberg (Cont.)



                      Measurement Products; Olympia Group; RFB Cellular; Trend Technologies;
                      Track 'n Trail



                      Creditors' committees: Open Road Films; KSL Media; Freedom
                      Communications (II); Western Convenience Stores; Hot Dog on a Stick; No
                      Fear; B&B Bachrach, Inc. dba Bachrach Men’s Clothing, Select Snacks/Jay's
                      Foods; Pike Nursery; Sega GameWorks; Mercury Plastics; Custom Food
                      Products (trade committee);



                      Secured lenders in Nasty Gal; Meruelo Maddux Properties



                      Creditors/landlord representations: Genesis Capital; Second Generation;
                      Sylmark Group; Mid-Valley Properties


                      Professional Affiliations
                      Board of directors, Los Angeles Bankruptcy Forum

                      Member, Turnaround Management Association


                      Programs and Lectures
                      NACM/West Coast Apparel & Footwear Credit Association, American
                      Bankruptcy Institute, Turnaround Management Association, Valley Credit
                      Professionals, Credit Managers Association, Los Angeles Bankruptcy Forum,
                      Commercial Real Estate Women, International Women's Insolvency &
                      Restructuring Confederation (IWIRC), Crew Network




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10100 Santa Monica Blvd.
13th Floor                     Jonathan J. Kim
Los Angeles, CA 90067-4003
                               Tel: 310.277.6910    |   jkim@pszjlaw.com



EDUCATION                      Mr. Kim has represented both debtors and creditors on a wide range of
Duke University (A.B., magna
                               issues in chapter 11 cases, bankruptcy litigation, and federal court appeals,
cum laude, 1992)               with substantial experience in plan, corporate/transactional, and litigation
                               matters. He is a graduate of Duke University and received his J.D. from
Harvard University Law         Harvard. He is a member of the Financial Lawyers Conference. Mr. Kim is
School (J.D., cum laude,
                               admitted to practice in California, and is a resident in our Los Angeles office.
1995)

BAR AND COURT                  Representations
ADMISSIONS
1995, California               Chapter 11 debtors: Woodside Homes; Ownit Mortgage Solutions; Murray
                               Inc.; Peregrine Systems


                               Publications
                               Navigating the Retail Apocalypse
                               262 New York Law Journal No. 59, September 23, 2019
                               High Court Bankruptcy IP Case May Spur Rejection Litigation
                               Law360, May 22, 2019
                               The Enforceability of a Make-Whole Provision in Bankruptcy: It Says What It
                               Says
                               Journal of Corporate Renewal
                               May 9, 2017
                               Navigating Corporate Bankruptcy in the Electronic Age
                               Bankruptcy Law 360, January 15, 2015
                               Potential Risks and Lessons for Debtor-Licensors in Chapter 15 Cases Based
                               on Recent Fourth Circuit Decision
                               International Bar Association: Insolvency and Restructuring International,
                               September 2014
                               Authored or coauthored program materials for: “The Great Debate” (ABI




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                      Jonathan J. Kim (Cont.)



                      Annual Bankruptcy Battleground West Conference, March 2011); "Trends
                      and Issues in Commercial Real Estate Lending Covenants and
                      Documentation” (California Bankruptcy Forum 2011); “The Mootness
                      Doctrine as Applied to Bankruptcy Sales” (August 2009); “Retail Debtor
                      Cases – Recent Issues” (Bloomberg Bankruptcy Law Seminar, May 2008);
                      “Report From the Front: Creditors Committees After BAPCPA” (ABI Mid-
                      Atlantic Conference 2006)




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10100 Santa Monica Blvd.
13th Floor                    Malhar S. Pagay
Los Angeles, CA 90067-4003
                              Tel: 310.277.6910   |    mpagay@pszjlaw.com



EDUCATION                     Mr. Pagay is a business lawyer whose practice focuses on the development
Yale University (B.A. 1989)
                              and implementation of strategic alternatives for and against distressed
                              businesses. He has substantial experience representing chapter 11 debtors,
University of Southern        trustees, unsecured creditors, creditors' committees, and other parties in the
California (J.D. 1994)        contexts of bankruptcy cases, adversary proceedings, commercial litigation,
                              mediations, domestic and international business transactions, business
BAR AND COURT
                              reorganizations, and out-of-court corporate restructurings of debt. He has
ADMISSIONS
                              broad industry experience, including healthcare and life sciences, real
1997, California              estate, technology, retail, manufacturing, transportation, sports, and
                              entertainment. Recent representations include advising a creditors'
CLERKSHIPS                    committee in connection with a successful hospital reorganization; assisting
Law clerk, Judge Erithe A.    physician groups in resolving disputes with their care network and affiliated
Smith (Bankr. C.D. Cal.       hospital, respectively; counseling a company in connection with the multiple
1994-96)                      sales of resort and industrial properties throughout the United States; and
                              completing the sale through section 363 of the United States Bankruptcy
                              Code of a $100 million Class A commercial office property over the
                              objections of co-owners. He has served as principal counsel to China Export
                              & Credit Insurance Corporation (SINOSURE) and its Chinese policyholders
                              and clients in complex United States insolvency matters. Mr. Pagay is a
                              member of the firm's Healthcare Restructuring Group. He has lectured both
                              in the United States and internationally regarding a variety of legal issues,
                              including cross-border transactions and insolvencies. He was named among
                              "Southern California Super Lawyers: Rising Stars" in 2005, 2006, and 2007,
                              and a "Super Lawyer" in the field of Bankruptcy & Creditor/Debtor Rights
                              every year since 2009 in a peer survey conducted by Law & Politics and the
                              publishers of Los Angeles magazine, an honor bestowed on only 5% of
                              Southern California attorneys. Mr. Pagay holds an AV Preeminent Peer
                              Rating (Martindale-Hubbell's highest recognition for ethical standards and
                              legal ability). He has been listed among The Best Lawyers in America in the
                              practice areas of Bankruptcy and Creditor Debtor Rights/Insolvency and
                              Reorganization Law and Litigation – Bankruptcy in the publication's 2018
                              and 2019 editions. Mr. Pagay is a graduate of Yale University and received
                              his J.D. from the University of Southern California.



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                      Representations
                      Asset acquirers: Fuji Photo Film USA; Genmar Holdings; Homestore.com

                      Creditors: China Export & Credit Insurance Corporation (SINOSURE); Wynn
                      Las Vegas LLC; FUJIFILM Diosynth Biotechnologies; FUJIFILM Medical
                      Systems USA

                      Financial institutions: Bank of Tokyo-Mitsubishi UFJ, Ltd. (Hong Kong)

                      Asset seller: DSL Transportation Services and subsidiaries.

                      Out-of-court restructurings/wind-downs: Bridge Pharmaceuticals;
                      Handspring; the Mobile Solutions

                      Chapter 11 debtors: AgriBioTech; Alert Cellular; Blue Earth; Covad
                      Communications; Gordian Medical, dba American Medical Technologies;
                      AgriBioTech; Alert Cellular; Mike Tyson; Monaco Coach; Murray; Peregrine
                      Systems; Sweet Factory Group

                      Creditors' committees: Adamson Apparel; Currie Technologies; General
                      Cinema Theatres; Hawaii Medical Center; Ignite Restaurant Group; Pacifica
                      Hospital of the Valley; Persik Productions

                      Physician groups: Consultant for Pathology & Laboratory Medicine and
                      Wilshire Oncology Medical Group

                      Patient care ombudsman: Upland Surgical Institute

                      Chapter 11 trustee: Ezri Namvar and Namco Capital Group (special litigation
                      counsel)

                      Postconfirmation matters: BCBG Max Azria Global Holdings


                      Professional Affiliations
                      Lawyer Delegate, Ninth Circuit Judicial Council (2018-)
                      Chair, American Bar Association Business Law Section Health Care
                      Committee Restructuring Subcommittee of the Health Law and Life Sciences
                      Committee (2017-)

                      Co-chair, American Bar Association Section of International Law Insolvency
                      Interest Group (2018-)

                      Member, American Law Institute-American Bar Association Commercial Law
                      Advisory Panel (2009)

                      Member, American Health Lawyers Association

                      Chair (2006-07), Executive Committee (2003-), Beverly Hills Bar Association
                      Bankruptcy Section

                      Member, Board of Governors, Beverly Hills Bar Association (2008-2010)




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                      First Vice-Chair (2011-2012), Treasurer (2010-2011), Executive Committee
                      Member (2008-2013), Los Angeles County Bar Association International Law
                      Section

                      Member, Los Angeles County Bar Association Healthcare Law Section

                      Member, State Bar of California International Law Section Executive
                      Committee (2010-2013)

                      Member, State Bar of California Business Law Section Insolvency Law
                      Committee (2004-2007)

                      Member, American Bar Association Section of International Law & Practice,
                      China Law Section (2005-)

                      Member, American Bar Association Conference of Minority Partners in
                      Majority Corporate Law Firms (2003-)

                      Member, California Society for Healthcare Attorneys

                      Member, INSOL International

                      Member, The Inter-Pacific Bar Association

                      Member, Turnaround Management Association

                      Member, South Asian Bar Association of Southern California

                      Certified Commercial Arbitrator, Institute for Conflict Management LLC

                      Member, Health Care Restructuring Subcommittee of the American Bar
                      Association Business Law Section Health Law and Life Sciences Committee

                      Member, American Bar Association Health Law Section


                      Programs and Lectures
                      "Current Trends and Issues in Chapter 11 Cases," Conference of Chief
                      Bankruptcy Judges of the Ninth Circuit (2019); "Restructuring Healthcare
                      Entities in Bankruptcy: Unique Challenges and Benefits of Chapter 11,"
                      Navigating Medicare, Medicaid, HIPAA, Overpayment Liability and More
                      (Strafford 2017); "Cross-Border Update," American Bankruptcy Institute
                      Cross-Border Insolvency Program (2017); "A General Overview of Legal and
                      Security Issues Arising From Employee Telecommuting," National Golf
                      Hardware Credit Exchange Conference (2017); "Restructuring the Healthcare
                      Provider: Successfully Navigating the Reorganization Process," ABA Health
                      Law Section Washington Summit (2016); "Cross-Border Insolvency
                      Proceedings," Canadian Bar Association National Insolvency Conference
                      (2016); "China's New Normal: How Far, How Deep, and What Type of
                      Impact?" AIRA Restructuring & Plan of Reorganization Conference (2015);
                      "Outbound Activity: Chinese Participation in Western Restructurings and
                      Insolvencies," ABI/NYU School of Law (2015); "U.S. Bankruptcies—Risks for
                      Chinese Exporters,” China Export & Credit Insurance Corporation and Sun
                      Yat-sen University School of Business International Transactions Risk Forum
                      (2015); "Help! My Producer (or Software Licensee or Actor) Just Went



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                      Malhar S. Pagay (Cont.)



                      Bankrupt—Now What?" Beverly Hills Bar Association, Bankruptcy Law,
                      Intellectual Property, Internet and New Media Sections (2012); “Setoff and
                      Recoupment in Bankruptcy” and “Nuts and Bolts—Current Litigation
                      Issues,” Bankruptcy and Collections From a Government Perspective
                      Seminar, National Association of Attorneys General (NAAG), National
                      Attorney General’s Training Institute (NAGTRI), States’ Association of
                      Bankruptcy Attorneys (SABA) (2011); "Impact of Corporate Restructurings
                      and Financial Distress on International Trade," International Association of
                      Young Lawyers (AIJA) International Trade & Transport Symposium (2011); "
                      PRC Insolvency Law: The New PRC Bankruptcy Law, NPLS and Out-of-Court
                      Workouts," American Bankruptcy Institute Third Annual Hawaii Bankruptcy
                      Workshop (2010); "2010 - A Year of Economic Transition in China and the
                      United States: Risks and Opportunities for Chinese Companies," Asian Legal
                      Business In-House Summit (Beijing, China) (2009); "Recent Developments in
                      Cross-Border Transactions," INSOL International Association of
                      Restructuring, Insolvency & Bankruptcy Professionals North American
                      Regional Seminar (2008); "Dealing With a Failed International Construction
                      Project: A Case Study," Inter-Pacific Bar Association (IPBA) 18th Annual
                      Conference (2008); "Economic Overview and Outlook - Downturn in the US
                      to Burst the Bubble in China" (2008); "China as Top Creditor - The Evolving
                      Opportunities for Chinese Companies to Invest Abroad" (2007), Association
                      of Insolvency & Restructuring Advisors (AIRA) Restructuring and Investing
                      Conference (Shanghai, China); "Bankruptcy/Insolvency - The Effects on
                      Entertainment Industry Contracts," Black Entertainment and Sports Lawyers
                      Association (BESLA) 27th Annual Conference (Cancun, Mexico) (2007); "
                      Issues 2006: America's Best Lawyers" American Airlines/Forbes.com and
                      SkyRadioNetwork.com (discussing impact of Bankruptcy Code amendments
                      on business) (2006); Professor, Beijing Foreign Studies University School of
                      Law (2012-2013)


                      Publications
                      Sunbeam Products Inc. v. Chicago American Manufacturing LLC: New Hope
                      for Licensees of Intellectual Property?
                      2012 INSOL International News Update (Oct. No. 10)
                      Author, "Section 105(a) of the Bankruptcy Code," 2007 Annual Survey of
                      Bankruptcy Law 473 (West 2007); 2006 Annual Survey of Bankruptcy Law
                      415 (West 2006); 2005 Annual Survey of Bankruptcy Law 689 (West 2005)
                      Author, "Improving The Odds of Repayment In Bankruptcy," 51 Practical
                      Lawyer 45 (August 2005)
                      Author, "Section 105(a) of the Bankruptcy Code in 2002-2003 -- Two Years of
                      Continued Development," 2004 Annual Survey of Bankruptcy Law 645 (West
                      2004)




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150 California Street
15th Floor                   Gail S. Greenwood
San Francisco, CA
94111-4500                   Tel: 415.263.7000    |   ggreenwood@pszjlaw.com



EDUCATION                    Ms. Greenwood specializes in bankruptcy-related litigation. She has over
Amherst College (B.A.,
                             eighteen years' experience in civil litigation and bankruptcy, including
magna cum laude, 1988)       representation of chapter 11 trustees, debtors, creditors, and creditors'
                             committees in significant business bankruptcies. Ms. Greenwood has won
University of California     summary judgments in the prosecution of multimillion-dollar breach-of-
School of Law, Los Angeles
                             fiduciary-duty claims and defense of multimillion-dollar preference and
(J.D. 1993).
                             fraudulent-transfer claims. She has also successfully prosecuted state-court
BAR AND COURT
                             fraud and alter-ego claims against a series of ever-changing private entities.
ADMISSIONS                   Ms. Greenwood is a magna cum laude graduate of Amherst College and
California, 1994             received her J.D. from UCLA School of Law, where she was editor of the
                             Environmental Law Journal. She is listed in the 2019 edition of Best Lawyers
                             in America for her work in Bankruptcy and Creditor Debtor Rights /
                             Insolvency and Reorganization Law. She is admitted to practice in California
                             and is a resident of our San Francisco office.


                             Representations
                             Creditors' committees and liquidating trustees: Liberty Asset Management,
                             Rdio Inc., Fox & Hound/Champps, ERG Intermediate Holdings, The Billing
                             Resource, Clement and Ann Marie Carinalli, Humboldt Creamery, At Home

                             Chapter 11 debtors: SFX Entertainment, NewZoom Inc., Heller Ehrman LLP


                             Professional Affiliations
                             Member, Bar Association of San Francisco Commercial Law & Bankruptcy
                             Committee (2008-)

                             Member, International Women's Insolvency & Restructuring Confederation
                             (IWIRC) (Membership Chair, 2019; Events co-chair, 2018; Secretary, 2016-17)




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650 Town Center Drive
Suite 1500                    Tavi C. Flanagan
Costa Mesa, CA 92626
                              Tel: 310.277.6910



EDUCATION                     Tavi C. Flanagan focuses her practice in the areas of bankruptcy, insolvency,
University of California at
                              reorganization, and business litigation. Ms. Flanagan represents debtors,
Irvine (B.A. 1989)            trustees, and creditors’ committees in connection with bankruptcy cases,
                              adversary proceedings, and related commercial litigation.
University of Southern
California (J.D. 1993)        Ms. Flanagan has played principal roles in connection with numerous large
                              chapter 11 reorganization cases, and she has worked with clients to
BAR AND COURT
                              negotiate and implement plans of reorganization, to restructure their
ADMISSIONS
                              financial affairs, to maximize the value obtained through bankruptcy sales of
1993, California              business assets, and to emerge from the bankruptcy process as viable
                              enterprises.
CLERKSHIPS
                              Ms. Flanagan received her undergraduate degree from the University of
Law clerk, John E. Ryan
(Bankr. C.D. 1993-94)
                              California at Irvine, where she graduated with honors, and her J.D. from the
                              University of Southern California, where she was senior editor of the
                              Southern California Interdisciplinary Law Journal and Major Tax Planning
                              Journal. Ms. Flanagan served as law clerk to the Honorable John E. Ryan,
                              bankruptcy judge for the Central District of California. She is admitted to
                              practice in California.




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780 Third Avenue
34th Floor
New York, NY 10017-2024

919 North Market Street
17th Floor
Wilmington, DE 19801             Steven W. Golden
                                 Tel: 302.652.4100    |   sgolden@pszjlaw.com



EDUCATION                        Steven Golden represents debtors, secured creditors, unsecured creditors,
Emory University (B.A. 2009)
                                 and committees in corporate bankruptcy proceedings. He received his B.A.
                                 from Emory University, his J.D. from Georgia State University College of
Georgia State University         Law, and his LL.M. from St. John's University School of Law. Mr. Golden
College of Law (J.D. 2014)       served as a judicial intern for the Honorable Margaret H. Murphy,
St. John's University School     Bankruptcy Court for the Northern District of Georgia, and is admitted to
of Law (American Bankruptcy      practice in New York, Maryland and Texas.
Institute Scholar, LL.M. 2015)

BAR AND COURT                    Representations
ADMISSIONS
                                 Chapter 11 debtors: Higland Capital (D. Del/N.D. Tex.), Tri-Valley Learning
2015 Maryland                    Corp. (N.D. Cal.)
2015 New York
                                 Postconfirmation trustees: International Shipholding (S.D.N.Y.), Adeptus (N.
2016 Texas                       D. Tex.)
Not admitted to practice in
                                 Creditors' committees: Rancher's Legacy Meat (D. Minn.), uBiome (D. Del.),
Delaware
                                 Payless Shoes (E.D. Mo. 2019), ShopKo (D. Neb.), Ditech Holding (S.D.N.Y.),
CLERKSHIPS                       Frank Theatres (D.N.J.), Gymboree (E.D. Va. 2019), USA Gymnastics (S.D.
                                 Ind.), Archdiocese of Santa Fe (D.N.M.), Cafe Holdings Corp. (Fatz Cafe) (D.S.
Judicial intern, Judge           C.), Erin Energy (S.D. Tex.), Haggen Holdings (D. Del), Diocese of Great Falls-
Margaret H. Murphy (Bankr.       Billings (D. Mont.), Luca International (S.D. Tex), International Shipholding
N.D. Ga. 2013)
                                 (S.D.N.Y.), Last Call Guarantor (Fox & Hound) (D. Del.), CarrierWeb (N.D.
                                 Ga.), Hampshire Group (D. Del.), Big Apple Circus (S.D.N.Y.), Payless Shoes
                                 (E.D. Mo. 2017), BCBG Max Azria (S.D.N.Y.), Ignite Restaurant Group (S.D.
                                 Tex.), Cobalt International Energy (S.D. Tex.), Bon-Ton Stores (D. Del.), The
                                 Weinstein Company (D. Del.), HVI Cat Canyon (N.D. Tex., transferred from S.
                                 D.N.Y.), Barneys New York (S.D.N.Y.), Perkins & Marie Callender's (D. Del.),
                                 Art Van Furniture (D. Del.), CraftWorks (D. Del.), Diocese of Buffalo (W.D.N.
                                 Y.), Fairway Market (S.D.N.Y.), Granite City Food and Brewing (D. Minn.)




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                      Steven W. Golden (Cont.)



                      Chapter 7 trustees: uBiome (D. Del.), Heritage Homes (D. Del.)

                      Crossborder representation: Argent Energy (S.D. Tex.)

                      Creditors in: Black Elk (S.D. Tex.) (counsel to five large unsecured creditors
                      and predecessors-in-title to the debtor), Seadrill (S.D. Tex.), PG&E (N.D. Cal.)

                      Appeals: Baker Botts v ASARCO LLC (of counsel to law professor
                      consortium); Bank of America v. Caulkett (of counsel to law professor
                      consortium), Czyzewski v. Jevic Holding Corp. (counsel to respondent
                      creditors' committee)


                      Professional Affiliations
                      Turnaround Management Association

                      Association of Insolvency & Restructuring Advisors


                      Publications
                      Sections 327 Through 330
                      Recent Developments in the Law of Employment and Compensation of
                      Bankruptcy Professionals
                      2019 Norton Annual Survey of Bankruptcy Law, October 2019
                      Sections 327 Through 330
                      Recent Developments in the Law of Employment and Compensation of
                      Bankruptcy Professionals
                      2018 Norton Annual Survey of Bankruptcy Law 547, December 2018
                      The Delaware of Asia
                      Singapore Establishes Itself as a New Restructuring Center
                      American Bankruptcy Institute Journal (Aug. 2017), 2017
                      The Role of Insolvency Practitioners in the United States
                      Presented to the INSOL International Seoul One-Day Seminar, February
                      2017
                      Headed Through the Boomerang Tube: Professional Compensation After
                      ASARCO
                      2016 Norton Survey of Bankruptcy Law 220
                      “In Art We Trust: The Intersection of Trust and Bankruptcy Law in Detroit,”
                      48 Texas Tech Law Review 313 (Spring 2016)
                      “The End of Fees for Fees: The Supreme Court Speaks in ASARCO,” 24
                      Norton Journal of Bankruptcy Law & Practice 634 (December 2015)
                      “A Lease by Any Other Name: Section 365 and Oil and Gas Leases,” 13 ABI
                      Young and New Members Committee Newsletter (June 2015)
                      “Let’s Keep This Between Us: Protecting PII in Bankruptcy Sales,” ABI
                      Business Reorganization Committee Newsletter (February 2015)
                      “Absolutely Absolute? The Extension of 203 N. LaSalle to Insiders,” 11 ABI
                      Unsecured Trade Creditors Committee Newsletter (June 2013)



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                      Coauthor, "Stripping Down and Stripping Off in Chapter 11 and Chapter 13:
                      Does Caulkett Change the Calculus?" 26 Norton Journal of Bankruptcy Law
                      & Practice art. 4 (No. 2 April 2017)
                      Coauthor with Robert J. Feinstein, "2016 Second Circuit Review," Norton
                      Bankruptcy Law Adviser (No. 2 February 2017); "2017 Second Circuit
                      Review," Norton Bankruptcy Law Adviser (No. 3 March 2018); "2018 Second
                      Circuit Review," Norton Bankruptcy Law Adviser (No. 3 March 2019)
                      Coauthor, "Recent Developments in Section 327-330: Employment and
                      Compensation of Bankruptcy Professionals," 2016 Norton Annual Survey of
                      Bankruptcy Law 14 (2016).
                      Coauthor, “Rule 3002.Fun: Does the Rule Need Negative Notice,” Vol. 32 ABI
                      Journal 36 (July 2013)
                      Coeditor, Bankruptcy Claims Handbook,” American Bar Association
                      Business Bankruptcy Committee (2013)




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                           EXHIBIT G
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                              Pachulski Stang Ziehl & Jones LLP
                                         10100 Santa Monica Blvd.
                                                13th Floor
                                          Los Angeles, CA 90067
                                                                    October 31, 2019
Jia Yueting                                                         Invoice 123506
Faraday Future                                                      Client   46353
18455 S. Figueroa Street                                            Matter   00002
Gardena, CA 90248
                                                                             JWD

RE: Post Petition

 _______________________________________________________________________________________

          STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 10/31/2019
                 FEES                                               $201,832.00
                 EXPENSES                                               $578.90
                 TOTAL CURRENT CHARGES                              $202,410.90

                 TOTAL BALANCE DUE                                  $202,410.90
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  Summary of Services by Professional
  ID        Name                               Title               Rate       Hours               Amount

 BDD        Dassa, Beth D.                     Paralegal          395.00      41.30         $16,313.50

 BMK        Koveleski, Beatrice M.             Case Man. Asst.    325.00       0.60              $195.00

                                                                               1.80              $585.00
 CJB        Bouzoukis, Charles J.              Case Man. Asst.    325.00
                                                                              56.00         $50,120.00
 JEO        O'Neill, James E.                  Partner            895.00
                                                                              44.10         $37,485.00
 JWD        Dulberg, Jeffrey W.                Partner            850.00
            Neil, Karen S.                                                     0.60              $195.00
 KSN                                           Case Man. Asst.    325.00
 MSP        Pagay, Malhar S.                   Counsel            412.50      18.20             $7,507.50

 MSP        Pagay, Malhar S.                   Counsel            825.00     101.30         $83,572.50

 PJJ        Jeffries, Patricia J.              Paralegal          395.00       7.00             $2,765.00

 RMP        Pachulski, Richard M.              Partner           1345.00       2.30             $3,093.50

                                                                            273.20          $201,832.00
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  Summary of Services by Task Code
  Task Code         Description                                              Hours                        Amount

 AA                 Asset Analysis/Recovery[B120]                             0.80                        $660.00

 AD                 Asset Disposition [B130]                                  0.20                         $79.00

 BL                 Bankruptcy Litigation [L430]                             15.00                      $12,098.00

 CA                 Case Administration [B110]                               53.30                      $42,015.00

 CO                 Claims Admin/Objections[B310]                            16.40                      $13,712.50

 FF                 Financial Filings [B110]                                103.30                      $69,435.50

 FN                 Financing [B230]                                          0.90                        $747.50

 GC                 General Creditors Comm. [B150]                            2.40                       $2,040.00

 LN                 Litigation (Non-Bankruptcy)                               2.00                       $1,220.00

 MC                 Meeting of Creditors [B150]                              26.70                      $23,397.00

 PD                 Plan & Disclosure Stmt. [B320]                           14.50                      $13,474.00

 RP                 Retention of Prof. [B160]                                 4.20                       $3,056.00

 RPO                Ret. of Prof./Other                                      13.30                      $11,281.50

 SL                 Stay Litigation [B140]                                    2.00                       $1,108.50

 TR                 Travel                                                   18.20                       $7,507.50

                                                                                 273.20             $201,832.00
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  Summary of Expenses
  Description                                                                                  Amount
Auto Travel Expense [E109]                                                                $20.50
Bloomberg                                                                                 $30.00
CourtLink                                                                                  $2.70
Pacer - Court Research                                                                    $54.80
Reproduction Expense [E101]                                                               $93.40
Reproduction/ Scan Copy                                                                  $377.50

                                                                                               $578.90
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                                                                                        Hours           Rate       Amount

  Asset Analysis/Recovery[B120]
 10/23/2019   MSP     AA        Review and analysis of potential claims against Wen      0.80        825.00        $660.00
                                entities; email exchange with W. Pao, et al. re: same
                                (.10)

                                                                                         0.80                      $660.00

  Asset Disposition [B130]
 10/18/2019   BDD     AD        Address issues re 2019 Creditor Trust Non-Binding        0.20        395.00           $79.00
                                Term Sheet

                                                                                         0.20                         $79.00

  Bankruptcy Litigation [L430]
 10/17/2019   MSP     BL        Email exchanges with Richard M. Pachulski, Jeffrey       1.00        825.00        $825.00
                                W. Dulberg, James E. O'Neill, Beth D. Dassa, S.
                                Uhland, W. Pao, et al. re: SLC response to chapter
                                11 filing (.80); review and comment on draft press
                                response to same (.20)
 10/17/2019   MSP     BL        Email exchange with Richard M. Pachulski, Jeffrey        0.60        825.00        $495.00
                                W. Dulberg, W. Pao, J. Wang, et al. re: Statement in
                                reply to SLC response to chapter 11 filing
 10/17/2019   JWD     BL        Call with OMM team and notes re same                     1.00        850.00        $850.00
 10/17/2019   JWD     BL        Work on client responses to various inquiries            0.70        850.00        $595.00
 10/17/2019   JWD     BL        Review SLC response and emails re same                   0.20        850.00        $170.00
 10/17/2019   JWD     BL        Work on responses to client inquiries re case process    0.50        850.00        $425.00
                                and timing
 10/17/2019   JEO     BL        Review creditor response - Shanghai Lan Cai Asset        0.40        895.00        $358.00
                                Management Co, Ltd.'s Preliminary Response to the
                                Debtor's Chapter 11 Filing
 10/17/2019   BDD     BL        Email S. Uhland, M. Zhang, RK, and D. Perez re           0.10        395.00           $39.50
                                response to ch. 11 filing
 10/17/2019   BDD     BL        Email J. Dulberg re response to ch. 11 filing            0.10        395.00           $39.50
                                (Shanhai Lan Cai Asset Mgt)
 10/18/2019   MSP     BL        Email exchange with S. Uhland, J. Wang, et al. re:       0.10        825.00           $82.50
                                Reply to SLC response to chapter 11 filing
 10/18/2019   MSP     BL        Email exchange with M. Zhang, S. Uhland, Richard         0.10        825.00           $82.50
                                M. Pachulski, Jeffrey W. Dulberg, et al. re:
                                Statement re: SLC response to filing
 10/18/2019   JEO     BL        Review and finalize Notice of Filing of Chinese          0.50        895.00        $447.50
                                Translation of 2019 Creditor Trust
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                                                                                        Hours           Rate         Amount
 10/18/2019   CJB     BL        Prepare schedules and statements binders.                0.40        325.00          $130.00
 10/21/2019   JWD     BL        Review and respond to James E. O'Neill emails            0.20        850.00          $170.00
                                regarding motion and notices.
 10/21/2019   BDD     BL        Prepare Notice of Stay letter re Hans SJ Hospitality     0.30        395.00          $118.50
                                v. YT and email J. Dulberg and M. Pagay re same
 10/21/2019   BDD     BL        Prepare Notice of Stay re Hans SJ Hospitality v. YT      0.60        395.00          $237.00
                                and email J. Dulberg and M. Pagay re same
 10/21/2019   BDD     BL        Email J. Dulberg and M. Pagay re notices of stay         0.10        395.00           $39.50
                                filed by OMM
 10/22/2019   JWD     BL        Attend call re SLC issues and emails re same             0.40        850.00          $340.00
 10/23/2019   JWD     BL        Review draft of SLC response                             0.60        850.00          $510.00
 10/24/2019   JEO     BL        Work on letter to UST re SLC entities                    0.80        895.00          $716.00
 10/28/2019   JWD     BL        Review response to United States trustee and filing      0.50        850.00          $425.00
                                regarding SLC
 10/28/2019   JEO     BL        Emails with PSZJ and OMM teams re pending                0.60        895.00          $537.00
                                matters
 10/29/2019   MSP     BL        Email exchange with M. Zhang, James E. O'Neill, et       1.10        825.00          $907.50
                                al. re: Committee request for documents; address
                                compilation of same
 10/29/2019   JWD     BL        Review and respond to emails re SLC reponse              0.20        850.00          $170.00
 10/29/2019   JWD     BL        Review SLC pleading and emails re same                   0.50        850.00          $425.00
 10/30/2019   JWD     BL        Review SLC filings and emails re same                    0.30        850.00          $255.00
 10/30/2019   JWD     BL        Call with J ONeill re SLC objection                      0.10        850.00           $85.00
 10/30/2019   JWD     BL        Review new client inquiries and draft response re        0.60        850.00          $510.00
                                same
 10/30/2019   JEO     BL        Review email from SLC requesting extension               0.20        895.00          $179.00
 10/30/2019   JEO     BL        Conversations with SLC's Delaware counsel re             0.60        895.00          $537.00
                                continuance
 10/30/2019   JEO     BL        Participate on call with client team                     0.50        895.00          $447.50
 10/31/2019   MSP     BL        Review pleading reply to SLC response to chapter         0.50        825.00          $412.50
                                11 filing; email exchange with T. Li, et al. re: same
                                (.10)
 10/31/2019   JEO     BL        Review and provide comments on agenda for 11/5           0.60        895.00          $537.00
                                hearing

                                                                                        15.00                      $12,098.00
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                                                                                        Hours           Rate        Amount

  Case Administration [B110]
 10/14/2019   PJJ     CA        Prepare supplemental matrix.                             0.50        395.00         $197.50
 10/14/2019   MSP     CA        Email exchange with James O'Neill, Jeffrey W.            0.10        825.00           $82.50
                                Dulberg, et al. re: judge assignment
 10/14/2019   MSP     CA        Email exchange with James E. O'Neill, et al. re: Pro     0.10        825.00           $82.50
                                hac vice applications
 10/14/2019   MSP     CA        Email exchange with James E. O'Neill, S. Uhland,         0.10        825.00           $82.50
                                D. Perez et al. re: Press inquiries re: case
 10/14/2019   BDD     CA        Email M. Pagay and J. Dulberg re case filing             0.10        395.00           $39.50
 10/14/2019   JEO     CA        Finalize pro hac vice applications                       0.60        895.00         $537.00
 10/15/2019   JEO     CA        Review issues re translation of documents for court      0.40        895.00         $358.00
                                and certified translators
 10/15/2019   PJJ     CA        Update matrix supplement.                                0.20        395.00           $79.00
 10/15/2019   BMK     CA        Prepare daily memo narrative and coordinate client       0.10        325.00           $32.50
                                distribution.
 10/15/2019   MSP     CA        Email exchange with James E. O'Neill, Patricia           0.10        825.00           $82.50
                                Jeffries, et al. re: Creditor matrix updates
 10/16/2019   MSP     CA        Email exchange with James E. O'Neill, Richard M.         0.20        825.00         $165.00
                                Pachulski, et al. re: Scheduling of initial debtor
                                interview and 341(a) meeting
 10/16/2019   JWD     CA        Call with Malhar S. Pagay and OMM regarding              0.30        850.00         $255.00
                                various matters
 10/16/2019   BMK     CA        Prepare daily memo narrative and coordinate client       0.10        325.00           $32.50
                                distribution.
 10/17/2019   JEO     CA        Review draft of critical dates memo                      0.40        895.00         $358.00
 10/17/2019   JEO     CA        Call with counsel team to discuss scheduling and         1.00        895.00         $895.00
                                logistics for case
 10/17/2019   MSP     CA        Email exchange with R. Jia, et al. re:                   0.10        825.00           $82.50
                                Correspondence re: opening DIP accounts
 10/17/2019   MSP     CA        Address client questions re: chapter 11 process,         2.80        825.00        $2,310.00
                                responsibilities during weeks after case filing, plan
                                status, etc.; email exchange with S. Uhland, Jeffrey
                                W. Dulberg, R. Jia, M. Zhang, et al. re: same (.10)
 10/17/2019   JWD     CA        Emails re mega case issues with team                     0.10        850.00           $85.00
 10/17/2019   JWD     CA        Respond to emails re foreign service issues              0.10        850.00           $85.00
 10/17/2019   JWD     CA        Work on revision to release re WSJ story                 0.30        850.00         $255.00
 10/17/2019   JWD     CA        Additional work on press release and emails with         0.60        850.00         $510.00
                                press re same
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                                                                                        Hours           Rate        Amount
 10/17/2019   JWD     CA        Call with M Zhang re press release and emails re         0.20        850.00         $170.00
                                same
 10/17/2019   BDD     CA        Call with Kate at Epiq and email J. O'Neill re           0.20        395.00           $79.00
                                service parties
 10/17/2019   BDD     CA        Email J. O'Neill re service of pleadings filed on        0.10        395.00           $39.50
                                10/16
 10/18/2019   MSP     CA        Telephone calls (4) with M. Zhang re: Creditor           0.40        825.00         $330.00
                                questions re: bankruptcy filing
 10/18/2019   MSP     CA        Review response to US Trustee questions; email           0.80        825.00         $660.00
                                exchange with Jeffrey W. Dulberg, et al. re: same
                                (.10)
 10/18/2019   MSP     CA        Email exchange with X. Ma, et al. re: Wells Fargo        0.10        825.00           $82.50
                                DIP accounts, correspondence re: same
 10/18/2019   MSP     CA        Email exchange with James E. O'Neill, et al. re:         0.30        825.00         $247.50
                                Initial debtor interview
 10/18/2019   JWD     CA        Review and respond to client emails re press release,    0.30        850.00         $255.00
                                WSJ story and related issues
 10/18/2019   BDD     CA        Email M. Pagay re 341 notice                             0.10        395.00           $39.50
 10/18/2019   JEO     CA        Email follow up to RK and Luetian re IDI                 0.30        895.00         $268.50
                                documents.
 10/18/2019   BDD     CA        Email L. Sun re additions to creditor matrix             0.10        395.00           $39.50
 10/18/2019   BDD     CA        Email Epiq team re updates to creditor matrix            0.10        395.00           $39.50
 10/19/2019   MSP     CA        Telephone call with Jeffrey W. Dulberg re:               0.10        825.00           $82.50
                                Outstanding action items
 10/20/2019   MSP     CA        Email exchange with M. Zhang, James E. O'Neill,          0.20        825.00         $165.00
                                Jeffrey W. Dulberg, et al. re: DIP accounts, use of
                                cash in the ordinary course
 10/20/2019   JEO     CA        Initial review of IDI documents and email with           0.90        895.00         $805.50
                                client re same
 10/21/2019   MSP     CA        Telephone calls (3) with R. Jia re: Initial Debtor       0.20        825.00         $165.00
                                Interview documents
 10/21/2019   MSP     CA        Email exchange with S. Uhland, M. Zhang et al. re:       0.20        825.00         $165.00
                                Initial debtor interview preparation
 10/21/2019   MSP     CA        Email exchange with James E. O'Neill, et al. re:         0.10        825.00           $82.50
                                Rule 2015.3 reports
 10/21/2019   MSP     CA        Review materials re: initial debtor interview,           1.60        825.00        $1,320.00
                                reporting; email exchange with M. Zhang, James E.
                                O'Neill, R. Jia, et al. re: same (.10)
 10/21/2019   KSN     CA        Maintain document control.                               0.10        325.00           $32.50
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                                                                                        Hours           Rate        Amount
 10/21/2019   BDD     CA        Email M. Pagay re Notice of case filing                  0.10        395.00           $39.50
 10/21/2019   BMK     CA        Prepare daily memo narrative and coordinate client       0.10        325.00           $32.50
                                distribution.
 10/21/2019   JWD     CA        Work on response to client inquiry regarding update.     0.50        850.00         $425.00
 10/21/2019   JEO     CA        Review and compile materials for initial debtor          3.00        895.00        $2,685.00
                                interview (2.0); emails with client representative RK
                                re IDI documents and translations needed (1.)
 10/22/2019   MSP     CA        Telephone conference with S. Uhland, et al. re:          0.70        825.00         $577.50
                                Statement re: SLC response to chapter 11 filing
 10/22/2019   MSP     CA        Attention to initial debtor interview preparation,       2.90        825.00        $2,392.50
                                reporting and logistics; email exchange with Jeffrey
                                W. Dulberg, James E. O'Neill, S. Uhland, et al. re:
                                same (.30)
 10/22/2019   MSP     CA        Email exchange with James E. O'Neill et al. re: tax      0.10        825.00           $82.50
                                advice
 10/22/2019   MSP     CA        Review and update work-in-process/action items           1.70        825.00        $1,402.50
                                task list; email exchange with S. Uhland, Richard M.
                                Pachulski, Jeffrey W. Dulberg, James E. O'Neill,
                                Beth D. Dassa, et al. (.10)
 10/22/2019   JWD     CA        Work on case checklist                                   0.20        850.00         $170.00
 10/22/2019   BDD     CA        Update WIP list and emails J. Dulberg and M. Pagay       0.30        395.00         $118.50
                                re same
 10/22/2019   BMK     CA        Prepare daily memo narrative and coordinate client       0.10        325.00           $32.50
                                distribution.
 10/22/2019   JEO     CA        Review and compile additional documents for initial      2.00        895.00        $1,790.00
                                debtor interview
 10/23/2019   MSP     CA        Telephone calls (2) with James E. O'Neill re:            0.30        825.00         $247.50
                                Preparation for initial debtor interview
 10/23/2019   MSP     CA        Telephone conferences (2: 1.30 and 1.60) with Y.         3.50        825.00        $2,887.50
                                Jia, Richard M. Pachulski, S. Uhland, Jeffrey W.
                                Dulberg, James E. O'Neill, M. Zhang et al. re:
                                Preparation for initial debtor interview, questions
                                from US Trustee, letter received from counsel for
                                SLC re: continuance of creditor formation meeting;
                                review documents re: initial debtor interview
                                preparation
 10/23/2019   MSP     CA        Telephone calls (3: .40) with M. Zhang, Richard M.       0.90        825.00         $742.50
                                Pachulski (1: .10) and R. Jia (3: .40) re: Initial
                                debtor interview and committee formation meeting
                                issues
 10/23/2019   MSP     CA        Email exchange with James E. O'Neill, et al. re:         0.10        825.00           $82.50
                                Meeting with US Trustee before initial debtor
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                                                                                            Hours           Rate        Amount
                                interview
 10/23/2019   MSP     CA        Email exchange with S. Uhland, Richard M.                    0.10        825.00           $82.50
                                Pachulski, et al. re: Initial debtor interview
 10/23/2019   MSP     CA        Email exchange with D. Xu, James E. O'Neill, et al.          0.10        825.00           $82.50
                                re: SLC letter to US Trustee re: continuing creditor
                                formation meeting
 10/23/2019   MSP     CA        Email exchange with James E. O'Neill, Jeffrey W.             0.10        825.00           $82.50
                                Dulberg, R. Jia, Richard M. Pachulski, S. Uhland, et
                                al. re: Initial debtor interview preparation
 10/23/2019   MSP     CA        Email exchange with R. Jia, et al. re: SLC efforts to        0.10        825.00           $82.50
                                disrupt creditor formation meeting and case in
                                general
 10/23/2019   BDD     CA        Further revisions to WIP and email M. Pagay re               0.20        395.00           $79.00
                                same
 10/23/2019   BDD     CA        Email M. Pagay re revised WIP                                0.10        395.00           $39.50
 10/24/2019   CJB     CA        Prepare IDI binders.                                         0.30        325.00           $97.50
 10/24/2019   CJB     CA        Prepare IDI binders.                                         0.30        325.00           $97.50
 10/24/2019   MSP     CA        Telephone call with James E. O'Neill re: Logistics           0.30        825.00         $247.50
                                for initial debtor interview and creditor formation
                                meeting
 10/24/2019   MSP     CA        Email exchange with Richard M. Pachulski, James              0.10        825.00           $82.50
                                E. O'Neill, et al. re: Initial debtor interview logistics
 10/24/2019   JWD     CA        Review and respond to emails re UST issues                   0.20        850.00         $170.00
 10/24/2019   JWD     CA        Review and respond to emails re UST issues                   0.20        850.00         $170.00
 10/24/2019   BDD     CA        Email J. O'Neill re WIP                                      0.10        395.00           $39.50
 10/25/2019   MSP     CA        Telephone calls with James E. O'Neill and M. Zhang           0.20        825.00         $165.00
                                re: Creditor formation meeting logistical issues
 10/25/2019   MSP     CA        Attend initial debtor interview and committee                5.00        825.00        $4,125.00
                                formation meeting; office meeting with client re:
                                same (2.40)
 10/25/2019   BMK     CA        Prepare daily memo narrative and coordinate client           0.10        325.00           $32.50
                                distribution.
 10/26/2019   MSP     CA        Telephone call with S. He re: questions re: case             0.10        825.00           $82.50
                                website FAQs
 10/26/2019   MSP     CA        Telephone conference with Committee counsel,                 0.70        825.00         $577.50
                                Richard M. Pachulski, S. Uhland, et al. re: Status of
                                case, next steps
 10/26/2019   MSP     CA        Email exchange with J. Prol, James E. O'Neill,               0.20        825.00         $165.00
                                Richard M. Pachulski, S. Uhland, et al. re:
                                Introducing case to Committee counsel, etc.
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                                                                                         Hours           Rate        Amount
 10/27/2019   MSP     CA        Email exchange with A. Behlmann, et al. re:               0.10        825.00           $82.50
                                Informal request for documents
 10/27/2019   MSP     CA        Email exchange with K. Adonis, et al. re: BVI             0.30        825.00         $247.50
                                counsel access to case information
 10/28/2019   JWD     CA        Work on task list and WIP, review new filings             0.80        850.00         $680.00
 10/28/2019   JEO     CA        Emails with counsel team re next steps                    0.40        895.00         $358.00
 10/28/2019   MSP     CA        Address outstanding issues re: Initial Operating          2.70        825.00        $2,227.50
                                Report; email exchange with R. Jia, M. Zhang, JEO,
                                et al. re: same (.10)
 10/28/2019   KSN     CA        Maintain document control.                                0.30        325.00           $97.50
 10/29/2019   JWD     CA        Review updated WIP and emails re same                     0.30        850.00         $255.00
 10/29/2019   MSP     CA        Email exchange with James E. O'Neill, et al. re:          0.10        825.00           $82.50
                                Revisions to work-in-process/action items list
 10/29/2019   MSP     CA        Email exchange with Beth D. Dassa, et al. re:             0.10        825.00           $82.50
                                Updated action items list
 10/29/2019   JWD     CA        Attend client and OMM call re various topics (1.2);       1.40        850.00        $1,190.00
                                call with J ONeill re follow up and emails with team
                                re same (.2)
 10/29/2019   BDD     CA        Review/edit WIP and email J. O'Neill re same              0.20        395.00           $79.00
 10/29/2019   BDD     CA        Email J. O'Neill re conflicts check                       0.10        395.00           $39.50
 10/29/2019   BDD     CA        Email J. Dulberg and M. Pagay re updated WIP and          0.10        395.00           $39.50
                                critical dates memos
 10/29/2019   BDD     CA        Email M. Pagay re revisions to WIP                        0.10        395.00           $39.50
 10/30/2019   JEO     CA        Call with counsel team re open issues                     0.50        895.00         $447.50
 10/30/2019   CJB     CA        Prepare hearing binders for hearing on 11/5/19.           0.80        325.00         $260.00
 10/30/2019   MSP     CA        Revise work-in-process/task list per co-counsel           0.50        825.00         $412.50
                                comments
 10/30/2019   MSP     CA        All hands call re: action items, work in process, etc.    1.20        825.00         $990.00
 10/30/2019   MSP     CA        Telephone call with Committee counsel, Richard M.         0.40        825.00         $330.00
                                Pachulski, S. Uhland, et al. re: initial requests for
                                information, potential in-person meeting, etc.
 10/30/2019   JWD     CA        Review D Perez email re WIP list                          0.10        850.00           $85.00
 10/30/2019   JWD     CA        Attend client update call                                 1.20        850.00        $1,020.00
 10/30/2019   JWD     CA        Review and revise critical dates and emails re same.      0.20        850.00         $170.00
 10/30/2019   BMK     CA        Prepared daily memo narrative and coordinated             0.10        325.00           $32.50
                                client distribution.
 10/31/2019   MSP     CA        Review responses to client questions and comment          0.30        825.00         $247.50
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                                                                                       Hours           Rate         Amount
                                on same; email exchange with T. Li, et al. re: same
                                (.10)
 10/31/2019   JWD     CA        Work on status report and emails re same                0.30        850.00          $255.00
 10/31/2019   KSN     CA        Maintain document control.                              0.20        325.00           $65.00
 10/31/2019   BDD     CA        Work on initial report to Trustee and confer with M.    0.80        395.00          $316.00
                                Pagay, J. O'neill and N. Brown re same

                                                                                       53.30                      $42,015.00

  Claims Admin/Objections[B310]
 10/18/2019   MSP     CO        Email exchange with S. Persichilli, D. Perez, et al.    0.10        825.00           $82.50
                                re: Publication of bar date notice
 10/18/2019   MSP     CO        Address open bar date motion issues and review          2.90        825.00        $2,392.50
                                notice; email exchange with D. Perez, James E.
                                O'Neill, Beth D. Dassa, et al. re: same (.20)
 10/18/2019   MSP     CO        Incorporate comments and finalize bar date motion       1.10        825.00          $907.50
                                and related pleadings; email exchange with James E.
                                O'Neill, D. Perez, et al. re: same (.10)
 10/18/2019   JEO     CO        Review and comment on draft of bar date motion          0.40        895.00          $358.00
 10/18/2019   BDD     CO        Email J. O'Neill re bar date motion                     0.10        395.00           $39.50
 10/18/2019   BDD     CO        Email Epiq team re proofs of claim                      0.10        395.00           $39.50
 10/18/2019   BDD     CO        Prepare proof of claim template and emails M.           0.40        395.00          $158.00
                                DesJardien re same
 10/18/2019   BDD     CO        Email J. O'Neill re proof of claim template             0.10        395.00           $39.50
 10/18/2019   BDD     CO        Email J. Dulberg, M. Pagay and J. O'Neill re bar        0.10        395.00           $39.50
                                date motion
 10/18/2019   BDD     CO        Revisions to bar date motion and email J. Dulberg,      0.10        395.00           $39.50
                                M. Pagay and J. O'Neill re same
 10/19/2019   JWD     CO        Review and revise bar date motion                       0.20        850.00          $170.00
 10/19/2019   JWD     CO        Emails re bar date                                      0.10        850.00           $85.00
 10/19/2019   JEO     CO        Finalize Bar Date Motion. Update to include             3.00        895.00        $2,685.00
                                revisions from all parties.
 10/20/2019   JEO     CO        Finalize and file bar date motion                       1.00        895.00          $895.00
 10/21/2019   JEO     CO        Emails to team re bar date and scheduling motion        0.80        895.00          $716.00
                                and review UST comments to same
 10/21/2019   JWD     CO        Work on response to D. Buchbinder email questions.      0.80        850.00          $680.00
 10/21/2019   JEO     CO        Review service issues with bar date motion              0.60        895.00          $537.00
 10/22/2019   JWD     CO        Review UST comments to motions and emails with          0.20        850.00          $170.00
                                team regarding same
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                                                                                      Hours           Rate         Amount
 10/22/2019   JEO     CO        Review comments from UST on Bar Date and DS            0.50        895.00          $447.50
                                scheduling motion
 10/23/2019   BDD     CO        Email R. Mori re claims filed by SQ Investment         0.10        395.00           $39.50
                                Partnership
 10/24/2019   JWD     CO        Work on informal response to UST concerns re Bar       0.70        850.00          $595.00
                                Date and Solicitation motion
 10/24/2019   JWD     CO        Work on informal response to UST concerns re Bar       0.70        850.00          $595.00
                                Date and Solicitation motion
 10/24/2019   JEO     CO        Work on email response to UST D. Buchbinder's          0.70        895.00          $626.50
                                comments on bar date motion and DS Scheduling
                                Motion
 10/24/2019   JWD     CO        Emails re claims bar date                              0.20        850.00          $170.00
 10/24/2019   JWD     CO        Emails re claims bar date                              0.20        850.00          $170.00
 10/27/2019   MSP     CO        Email exchange with S. He, D. Perez re: FAQs re:       0.10        825.00           $82.50
                                Claims matters
 10/28/2019   JEO     CO        Email to UST Dave Buchbinder re extension of           0.30        895.00          $268.50
                                deadline to respond to Bar Date and DS scheduling
                                Motion
 10/28/2019   MSP     CO        Email exchange with S. He, D. Perez re: FAQs re:       0.10        825.00           $82.50
                                Claims matters
 10/30/2019   JEO     CO        Email to Dave Buchbinder re status of bar date and     0.20        895.00          $179.00
                                motion for combined hearing
 10/30/2019   MSP     CO        Email exchange with A. Behlmann, et al. re:            0.10        825.00           $82.50
                                Committee comments on bar date motion
 10/30/2019   JWD     CO        Review Epiq email re bar date publication              0.10        850.00           $85.00
 10/30/2019   JWD     CO        Review Committee correspondence re bar date            0.20        850.00          $170.00
 10/31/2019   JWD     CO        Draft and review email re publication options          0.10        850.00           $85.00

                                                                                      16.40                      $13,712.50

  Financial Filings [B110]
 10/14/2019   MSP     FF        Email exchange with Patricia Jeffries, et al. re:      0.10        825.00           $82.50
                                Updated versions of schedules/SOFA
 10/14/2019   MSP     FF        Meeting (including travel to/from) with S. Uhland,    10.80        825.00        $8,910.00
                                R. Jia, M. Zhang, L. Sun, et al. re: Revisions to
                                schedules, discussion of budget and review of draft
                                statement of financial affairs, bank account
                                information
 10/14/2019   MSP     FF        Email exchange with James E. O'Neill re: General       0.10        825.00           $82.50
                                schedule notes
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                                                                                        Hours           Rate        Amount
 10/14/2019   PJJ     FF        Review and revise schedules and SOFAs                    4.50        395.00        $1,777.50
 10/14/2019   JEO     FF        Emails with PSZJ team re status of schedules and         0.80        895.00         $716.00
                                SOFAs
 10/15/2019   MSP     FF        Meeting (including travel to/from) with client team,    11.40        825.00        $9,405.00
                                S. Uhland et al. re: detailed review of schedules and
                                SOFA; review and revise same
 10/15/2019   MSP     FF        Review and revise schedules, SOFA and                    2.90        825.00        $2,392.50
                                attachments thereto per client comments; Telephone
                                conferences with L. Sun and Beth D. Dassa re:
                                same
 10/15/2019   MSP     FF        Email exchange with S. Uhland, et al. re: Final          0.10        825.00           $82.50
                                review of schedules
 10/15/2019   PJJ     FF        Update schedules and SOFAs.                              1.50        395.00         $592.50
 10/15/2019   JEO     FF        Emails and call with PSZJ team re status of              0.80        895.00         $716.00
                                schedules and SOFA
 10/15/2019   BDD     FF        Continue working on revisions to Schedules/SOFAs;       12.20        395.00        $4,819.00
                                multiple calls with/emails to M. Pagay and L. Sun re
                                same
 10/16/2019   MSP     FF        Telephone conference with S. Uhland, Jeffrey W.          6.60        825.00        $5,445.00
                                Dulberg re: status of schedules, timing, compliance
                                issues, etc. (.40); telephone conference with S.
                                Uhland, D. Perez, et al. re: OMM comments on
                                schedules (.80); review, revise multiple versions of,
                                and finalize schedules and SOFA
 10/16/2019   PJJ     FF        Emails regarding schedules and SOFAs                     0.30        395.00         $118.50
 10/16/2019   JWD     FF        Review and revise SOFA                                   0.70        850.00         $595.00
 10/16/2019   JWD     FF        Work on schedules                                        0.60        850.00         $510.00
 10/16/2019   JWD     FF        Review schedules                                         0.50        850.00         $425.00
 10/16/2019   JWD     FF        Review update to schedules                               0.20        850.00         $170.00
 10/16/2019   JWD     FF        Work on issues related to schedules and upcoming         1.50        850.00        $1,275.00
                                Debtor issues
 10/16/2019   BDD     FF        Continue working on Schedules/SOFAs; multiple           13.10        395.00        $5,174.50
                                calls with/emails to M. Pagay and L. Sun re same
 10/17/2019   MSP     FF        Telephone call with Jeffrey W. Dulberg re: Status        0.20        825.00         $165.00
                                of schedules/SOFA preparation and case status
 10/17/2019   BDD     FF        Email K. Mailloux at Epiq re Schedules/SOFAs             0.10        395.00           $39.50
 10/17/2019   MSP     FF        Telephone call with S. He re: translation of             0.60        825.00         $495.00
                                schedules/SOFA and other interpretation/translation
                                issues
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                                                                                        Hours           Rate        Amount
 10/17/2019   MSP     FF        Telephone calls with L. Sun and (5) R. Jia re:           0.60        825.00         $495.00
                                questions regarding schedules/SOFAs preparation
 10/17/2019   MSP     FF        Telephone calls (16) with Beth D. Dassa re: Status       0.80        825.00         $660.00
                                of schedules/SOFAs preparation
 10/17/2019   MSP     FF        Analysis re: affirmative claims held by estate; email    0.80        825.00         $660.00
                                exchange with L. Sun, R. Jia, et al. re: same (.10)
 10/17/2019   MSP     FF        Email exchange with S. Uhland, M. Zhang, R. Jia,         0.60        825.00         $495.00
                                L. Sun et al. re: Additional SOFAs disclosure
 10/17/2019   MSP     FF        Review, approve final client and co-counsel              4.60        825.00        $3,795.00
                                revisions to, and finalize schedules, SOFAs and
                                translator declaration; email exchanges with S.
                                Uhland, M. Zhang, R. Jia, S. He, Jeffrey W.
                                Dulberg, Beth D. Dassa, et al. re: same (.50)
 10/17/2019   JWD     FF        Work on response to UST inquiries                        1.30        850.00        $1,105.00
 10/17/2019   JWD     FF        Email to client team re UST inquiry                      0.10        850.00           $85.00
 10/17/2019   JWD     FF        Emails re schedules prep                                 0.20        850.00         $170.00
 10/17/2019   JWD     FF        Review filed schedules and statement and emails re       0.30        850.00         $255.00
                                same
 10/17/2019   JEO     FF        Finalize and file Schedules of Assets and Liabilities    3.00        895.00        $2,685.00
                                and Statement of Financial Affairs
 10/17/2019   BDD     FF        Email J. Dulberg and M. Pagay re Debtor's interest       0.10        395.00           $39.50
                                in FF Global Partners and West Coast LLC
 10/17/2019   BDD     FF        Email P. Jeffries re Schedule B                          0.10        395.00           $39.50
 10/17/2019   BDD     FF        Email J. O'Neill re translator declaration ISO           0.10        395.00           $39.50
                                Schedules/SOFAs
 10/17/2019   BDD     FF        Continue updating Schedules/SOFAs and confer             6.10        395.00        $2,409.50
                                with M. Pagay, OMM team and N. DeLeon re same
 10/18/2019   MSP     FF        Telephone call with James E. O'Neill re: Status of       0.20        825.00         $165.00
                                schedules/SOFA filing
 10/18/2019   MSP     FF        Telephone calls (2) with S. He re: Status of             0.20        825.00         $165.00
                                translation declaration for Schedules/SOFAs
 10/18/2019   JWD     FF        Work on response to D Buchbinder                         1.70        850.00        $1,445.00
 10/18/2019   JWD     FF        Further work on response to D Buchbinder inquiries       1.00        850.00         $850.00
                                and prepare response
 10/18/2019   JWD     FF        Work on UST response                                     0.70        850.00         $595.00
 10/18/2019   JWD     FF        Call with M Zhang re further follow up re trustee        0.30        850.00         $255.00
                                response
 10/19/2019   JWD     FF        Review and respond to emails re DIP issues for UST       0.10        850.00           $85.00
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                                                                                         Hours            Rate         Amount
 10/21/2019   JWD     FF        Response to James E. O'Neill email regarding               0.10        850.00           $85.00
                                documents produced for U.S. Trustee.
 10/22/2019   BDD     FF        Email Epiq team re Schedules/SOFAs                         0.10        395.00           $39.50
 10/22/2019   BDD     FF        Email M. Pagay re source data for Schedules                0.10        395.00           $39.50
 10/22/2019   BDD     FF        Email K. Mailloux re source data for Schedules            0.10         395.00           $39.50
 10/23/2019   JWD     FF        Review J ONeill email re UST meeting and emails            0.10        850.00           $85.00
                                re responses to motion inquiries
 10/24/2019   JWD     FF        Review and respond to emails re UST requests               0.10        850.00           $85.00
 10/24/2019   JWD     FF        Work on letter to Buchbinder re case status inquiries      0.60        850.00          $510.00
 10/24/2019   JWD     FF        Review and respond to emails re UST requests               0.10        850.00           $85.00
 10/24/2019   JWD     FF        Work on letter to Buchbinder re case status inquiries      0.60        850.00          $510.00
 10/28/2019   JEO     FF        Emails with Malhar Pagay re Initial Operating              0.50        895.00          $447.50
                                Report
 10/29/2019   MSP     FF        Telephone call with James E. O'Neill re: Revised           0.40        825.00          $330.00
                                cash flow projections
 10/29/2019   MSP     FF        Telephone conference with R. Jia, James E. O'Neill,        0.60        825.00          $495.00
                                et al. re: Initial report preparation
 10/29/2019   MSP     FF        Address preparation of initial report; email               0.90        825.00          $742.50
                                exchanges with James E. O'Neill, R. Jia, M. Zhang,
                                et al. re: same (.20)
 10/30/2019   MSP     FF        Finalize information for and draft cash flow re:           1.60        825.00        $1,320.00
                                initial report; email exchange with S. Persichilli, et
                                al. re: same (.10)
 10/31/2019   MSP     FF        Email exchange with James E. O'Neill, D. Perez, et         1.60        825.00        $1,320.00
                                al. re: Revised cash flow for initial report and
                                finalize same
 10/31/2019   MSP     FF        Review compiled initial report package and finalize        1.90        825.00        $1,567.50
                                same for filing; email exchange with Beth D. Dassa,
                                et al. re: same (.20)
 10/31/2019   JEO     FF        Review of materials for initial operating report (.4)      0.80        895.00          $716.00
                                and emails with PSZJ team re same (.4)
 10/31/2019   JEO     FF        Review of final initial operating report and prepare       0.60        895.00          $537.00
                                for filing and service

                                                                                         103.30                      $69,435.50

  Financing [B230]
 10/20/2019   JWD     FN        Review and respond to client inquiry re expenses           0.20        850.00          $170.00
 10/22/2019   MSP     FN        Email exchange with X. Ma, et al. re: Opening of           0.10        825.00           $82.50
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                                                                                        Hours           Rate        Amount
                                DIP accounts
 10/23/2019   MSP     FN        Email exchange with S. Uhland, Richard M.                0.60        825.00         $495.00
                                Pachulski, Jeffrey W. Dulberg, et al. re: Terms of
                                DIP financing

                                                                                         0.90                       $747.50

  General Creditors Comm. [B150]
 10/25/2019   JWD     GC        Review notice of appointment                             0.10        850.00           $85.00
 10/25/2019   JWD     GC        Call with financial advisor candidate to committee       0.20        850.00         $170.00
 10/25/2019   JWD     GC        Respond to various emails regarding Committee            0.30        850.00         $255.00
                                issues
 10/26/2019   JWD     GC        Call with Committee counsel                              0.60        850.00         $510.00
 10/26/2019   JWD     GC        Call with R Pachulski re various issue for               0.30        850.00         $255.00
                                Committee
 10/26/2019   JWD     GC        Follow up emails with client re meeting                  0.20        850.00         $170.00
 10/28/2019   JWD     GC        Calls from multiple potential professionals regarding    0.40        850.00         $340.00
                                committee
 10/29/2019   JWD     GC        Review issues re confi with Committee and email          0.10        850.00           $85.00
                                with J. ONeill re same
 10/30/2019   JWD     GC        Review materials delivered to Committee and              0.20        850.00         $170.00
                                expanded org chart

                                                                                         2.40                      $2,040.00

  Litigation (Non-Bankruptcy)
 10/15/2019   BDD     LN        Email J. Dulberg and M. Pagay re Notices of Stay         0.10        395.00           $39.50
 10/15/2019   BDD     LN        Begin working on Notices of Stay                         0.20        395.00           $79.00
 10/15/2019   BDD     LN        Email M. Pagay re litigation against Debtor              0.10        395.00           $39.50
 10/18/2019   MSP     LN        Address notice of stay issues in pending litigation;     0.40        825.00         $330.00
                                email exchange with James E. O'Neill, Jeffrey W.
                                Dulberg, D. Perez, et al. re: same (.10)
 10/18/2019   BDD     LN        Email J. Dulberg re notices of stay                      0.10        395.00           $39.50
 10/21/2019   MSP     LN        Email exchange with Beth D. Dassa, Jeffrey W.            0.20        825.00         $165.00
                                Dulberg, M. Zhang, et al. re: Notices of stay, China
                                litigation
 10/21/2019   BDD     LN        Emails TJ Li and D. Perez re YT litigation               0.20        395.00           $79.00
 10/21/2019   BDD     LN        Confer with and email J. Dulberg re notices of stay      0.10        395.00           $39.50
 10/21/2019   BDD     LN        Email M. Pagay re resolution of Kansas actions v.        0.10        395.00           $39.50
                                YT
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                                                                                         Hours           Rate        Amount

 10/21/2019   BDD     LN        Email TJ Li re litigation                                 0.10        395.00           $39.50
 10/22/2019   MSP     LN        Email exchange with Jeffrey W. Dulberg, D. Perez,         0.40        825.00         $330.00
                                M. Zhang, et al. re: Notices of stay, BVI matter, etc.

                                                                                          2.00                      $1,220.00

  Meeting of Creditors [B150]
 10/16/2019   JWD     MC        Emails regarding schedules, formation and IDI             0.30        850.00         $255.00
 10/16/2019   JWD     MC        Call with J O?Neill regarding formation                   0.10        850.00           $85.00
 10/16/2019   JWD     MC        Call with M Zhang regarding schedule                      0.10        850.00           $85.00
 10/16/2019   JWD     MC        Work on formation, UST inquiries                          0.70        850.00         $595.00
 10/17/2019   JWD     MC        Work on press release                                     0.70        850.00         $595.00
 10/17/2019   JWD     MC        Review email from Force Ten and email with OMM            0.10        850.00           $85.00
                                re same
 10/18/2019   JEO     MC        Review Notice to Counsel Regarding Scheduling of          0.30        895.00         $268.50
                                341 Meeting
 10/18/2019   JEO     MC        Emails with Dave Buchbinder re formation meeting          0.40        895.00         $358.00
                                and meeting of creditors
 10/21/2019   JWD     MC        Review and respond to emails regarding IDI and            0.20        850.00         $170.00
                                formation
 10/22/2019   JWD     MC        Work on issues for IDI and formation                      0.30        850.00         $255.00
 10/22/2019   JWD     MC        Call with potential counsel interested in pitch           0.20        850.00         $170.00
 10/22/2019   JWD     MC        Review and respond to questions from client               0.60        850.00         $510.00
                                regarding various UST issues
 10/22/2019   JWD     MC        Call with client team regarding IDI and formation         0.70        850.00         $595.00
                                prepration
 10/22/2019   JWD     MC        Review and respond to various client inquiries            0.30        850.00         $255.00
                                regarding preparation
 10/22/2019   JEO     MC        Updated memo for client re questions for Initial          0.80        895.00         $716.00
                                Debtor Interview
 10/23/2019   JWD     MC        Review SLC letter to Buchbinder                           0.10        850.00           $85.00
 10/23/2019   JWD     MC        Attend call with client team re IDI and formation         1.30        850.00        $1,105.00
                                prep
 10/23/2019   JWD     MC        Attend second call with client re IDI prep                1.50        850.00        $1,275.00
 10/23/2019   JWD     MC        Work on issues for formation meeting and creditor         0.30        850.00         $255.00
                                interest
 10/23/2019   JEO     MC        Call with clients and OMM to prepare for initial          1.00        895.00         $895.00
                                debtor interview and formation meeting
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                                                                                         Hours           Rate        Amount
 10/23/2019   JEO     MC        Follow up email to client group in preparation for        0.50        895.00         $447.50
                                initial debtor interview
 10/23/2019   JEO     MC        Review letter from SLC group to UST requesting            0.60        895.00         $537.00
                                adjournment of formation meeting
 10/23/2019   JEO     MC        Review IDI documents and send link to OMM team            0.50        895.00         $447.50
                                re IDI documents
 10/24/2019   JWD     MC        Work on issues relating to UST comment and prep           0.70        850.00         $595.00
                                for IDI and MC
 10/24/2019   JWD     MC        Review pleadings                                          0.30        850.00         $255.00
 10/24/2019   JWD     MC        Work on issues relating to UST comment and prep           0.70        850.00         $595.00
                                for IDI and MC
 10/24/2019   JWD     MC        Review pleadings                                          0.30        850.00         $255.00
 10/24/2019   JWD     MC        Emails re formation meeting and creditor requests         0.10        850.00           $85.00
 10/24/2019   JWD     MC        Work on issues re creditor interest in formation          0.40        850.00         $340.00
 10/24/2019   JWD     MC        Calls with M Zhang re formation meeting                   0.20        850.00         $170.00
 10/24/2019   JWD     MC        Emails re formation meeting and creditor requests         0.10        850.00           $85.00
 10/24/2019   JWD     MC        Work on issues re creditor interest in formation          0.40        850.00         $340.00
 10/24/2019   JWD     MC        Calls with M Zhang re formation meeting                   0.20        850.00         $170.00
 10/24/2019   JEO     MC        Meeting with Special Counsel S. Uhland, D. Perez          2.00        895.00        $1,790.00
                                and T Li prepare to prepare for initial debtor
                                interview and formation meeting
 10/24/2019   JEO     MC        Call with UST D. Buchbinder in preparation for            0.40        895.00         $358.00
                                Initial Debtor Interview and Formation Meeting
 10/24/2019   JEO     MC        Calls and emails with PSZJ and OMM teams in               1.50        895.00        $1,342.50
                                preparation for initial debtor interview and
                                formation meeting
 10/25/2019   JWD     MC        Work on Committee formation meeting coordination          0.20        850.00         $170.00
 10/25/2019   JEO     MC        Prepare for and attend Initial Debtor Interview and       4.00        895.00        $3,580.00
                                Formation Meeting
 10/25/2019   JEO     MC        Follow up meeting with client after IDI and               1.00        895.00         $895.00
                                formation meeting
 10/25/2019   JEO     MC        Review and respond to emails re committee                 0.80        895.00         $716.00
                                formation
 10/26/2019   JEO     MC        Emails with proposed committee counsel and                0.80        895.00         $716.00
                                debtor's professionals re setting up initial call with
                                committee.
 10/26/2019   JEO     MC        Initial call with proposed counsel to the committee       1.00        895.00         $895.00
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                                                                                         26.70                     $23,397.00

  Plan & Disclosure Stmt. [B320]
 10/14/2019   MSP     PD        Email exchange with S. Kjontvedt, et al. re: Status      0.10        825.00           $82.50
                                of plan packages
 10/14/2019   MSP     PD        Email exchange with M. Zhang, S. Uhland, et al. re:      0.10        825.00           $82.50
                                Creditor inquiries re: plan
 10/14/2019   RMP     PD        Review summary of client's disclosure statement          0.70      1345.00           $941.50
                                points to discuss with creditors and telephone
                                conferences re same.
 10/14/2019   RMP     PD        Review filing issues, solicitation and various           1.60      1345.00         $2,152.00
                                telephone conferences re same and e-mails re same.
 10/15/2019   MSP     PD        Email exchange with T. Li, et al. re: Ballot             0.10        825.00           $82.50
                                translation
 10/15/2019   JEO     PD        Review plan and disclosure statement                     0.50        895.00          $447.50
 10/18/2019   MSP     PD        Email exchange with James E. O'Neill, et al. re:         0.10        825.00           $82.50
                                Disclosure statement hearing
 10/18/2019   MSP     PD        Address Chinese translation of plan term sheet;          0.30        825.00          $247.50
                                email exchange with M. Zhang, James E. O'Neill, et
                                al. re: same (.10)
 10/18/2019   MSP     PD        Review solicitation motion; email exchange with S.       0.70        825.00          $577.50
                                Uhland, D. Perez, M. Zhang, Jeffrey W. Dulberg, et
                                al. re: same (.20)
 10/18/2019   JWD     PD        Review scheduling motion and emails re same and          0.50        850.00          $425.00
                                respond to Epiq re same
 10/18/2019   JEO     PD        Emails with team re solicitation motion                  0.60        895.00          $537.00
 10/19/2019   MSP     PD        Attention to open issues re: finalizing and filing       2.90        825.00        $2,392.50
                                Solicitation and Bar Date Motions; email exchange
                                with S. Kjontvedt, James E. O'Neill, J. Sullivan, D.
                                Perez, C. Murray,
 10/19/2019   JEO     PD        Finalize Solicitation Motion                             2.50        895.00        $2,237.50
 10/20/2019   JEO     PD        Finalize and file DS scheduling motion                   1.00        895.00          $895.00
 10/21/2019   JWD     PD        Call with creditor counsel re FF inquiry                 0.20        850.00          $170.00
 10/21/2019   JWD     PD        Emails regarding Force 10 request for FF                 0.30        850.00          $255.00
                                information and follow-up regarding same.
 10/21/2019   JEO     PD        Review service issues with Disclosure Statement          0.60        895.00          $537.00
                                Scheduling motion
 10/22/2019   MSP     PD        Email exchange with Richard M. Pachulski, S.             0.10        825.00           $82.50
                                Uhland, et al. re: Translation of disclosure statement
 10/22/2019   JWD     PD        Work on issues regarding translation of disclosure       0.30        850.00          $255.00
                                statement and proper handling with creditors
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                                                                                         Hours           Rate         Amount
 10/24/2019   MSP     PD        Telephone call with L. Sun re: Discrepancy between        0.10        825.00           $82.50
                                ballot and claim amount
 10/24/2019   MSP     PD        Email exchange with D. Perez, Jeffrey W. Dulberg,         0.40        825.00          $330.00
                                T. Li, et al. re: Proposed response to US Trustee re:
                                solicitation motion (.10); review multiple versions of
                                same
 10/28/2019   MSP     PD        Email exchange with James E. O'Neill, Jeffrey W.          0.10        825.00           $82.50
                                Dulberg, et al. re: Extensions of time to respond to
                                solicitation motion, etc.
 10/29/2019   BDD     PD        Email N. Brown re Shanghai Lan Cai Asset                  0.10        395.00           $39.50
                                Management Co's objection to Disclosure Statement
                                and Prepetition Solicitation Procedures Motion
 10/29/2019   BDD     PD        Email J. Dulberg and M. Pagay re Shanghai Lan Cai         0.10        395.00           $39.50
                                Asset Management Co's objection to Disclosure
                                Statement and Prepetition Solicitation Procedures
                                Motion
 10/30/2019   MSP     PD        Telephone call with M. Zhang re: Plan confirmation        0.30        825.00          $247.50
                                schedule, treatment of guarantee extensions, etc.
 10/31/2019   JWD     PD        Review and respond to T Li emails re client plan          0.20        850.00          $170.00
                                inquiry

                                                                                         14.50                      $13,474.00

  Retention of Prof. [B160]
 10/15/2019   MSP     RP        Email exchange with Jeffrey W. Dulberg, James E.          0.10        825.00           $82.50
                                O'Neill re: PSZJ employment application
 10/15/2019   BDD     RP        Email M. Pagay re PSZJ retention application              0.10        395.00           $39.50
 10/16/2019   JEO     RP        Review and finalize Application/Motion to                 1.00        895.00          $895.00
                                Employ/Retain Pachulski Stang Ziehl & Jones LLP
                                as Counsel for the Debtors
 10/17/2019   JWD     RP        Emails re response to UST re comments                     0.10        850.00           $85.00
 10/17/2019   BDD     RP        Prepare additional disclosure re large case guidelines    0.90        395.00          $355.50
                                and client declaration (.80); email M. Pagay and J.
                                O'Neill re same (.10)
 10/17/2019   BDD     RP        Email P. Cuniff re PSZJ retention application             0.10        395.00           $39.50
 10/17/2019   BDD     RP        Revisions to PSZJ retention order and email J.            0.20        395.00           $79.00
                                O'Neill re same
 10/21/2019   JWD     RP        Work on preparation of Firm retention issues.             0.30        850.00          $255.00
 10/22/2019   MSP     RP        Telephone calls (2) with James E. O'Neill re: Filing      0.40        825.00          $330.00
                                of retention applications, preparation for Initial
                                Debtor Interview
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 10/24/2019   JEO     RP        Review and update PSZJ retention documents              0.40        895.00          $358.00
 10/25/2019   JEO     RP        Review and finalize supplemental declarations           0.60        895.00          $537.00
                                required for PSZJ retention application

                                                                                        4.20                       $3,056.00

  Ret. of Prof./Other
 10/14/2019   JEO     RPO       Drafting/revisions on Epiq Retention Applications       2.00        895.00        $1,790.00
                                (156 and 327)
 10/15/2019   BDD     RPO       Revisions to Debtor omnibus declaration re retention    0.20        395.00           $79.00
                                applications
 10/16/2019   MSP     RPO       Review, revise and finalize employment                  6.60        825.00        $5,445.00
                                applications, omnibus supporting declaration,
                                translator declaration
 10/16/2019   JEO     RPO       Review and finalize Omnibus Declaration in              0.80        895.00          $716.00
                                Support of various applications
 10/16/2019   JEO     RPO       Review and file Application to Appoint                  0.60        895.00          $537.00
                                Claims/Noticing Agent
 10/16/2019   JEO     RPO       Review and finalize Application/Motion to               1.00        895.00          $895.00
                                Employ/Retain Epiq Corporate Restructuring, LLC
                                as Administrative Advisor for the Debtor,
 10/17/2019   MSP     RPO       Email exchange with James E. O'Neill, Jeffrey W.        0.20        825.00          $165.00
                                Dulberg, Beth D. Dassa re: Mega-case requirements
                                for employment applications, preparation of
                                necessary pleadings re: same
 10/21/2019   JWD     RPO       Call with Malhar Pagay re PR firm                       0.20        850.00          $170.00
 10/22/2019   MSP     RPO       Telephone call with S. He re: Translation of            0.30        825.00          $247.50
                                retention applications and submission of declaration
 10/24/2019   MSP     RPO       Email exchange with James E. O'Neill, et al. re:        0.10        825.00           $82.50
                                Additional declaration needed to satisfy mega-case
                                requirements
 10/24/2019   JEO     RPO       Email to special counsel OMM re retention               0.40        895.00          $358.00
                                application
 10/25/2019   JEO     RPO       Review status of Epiq 156 and 327 retention             0.70        895.00          $626.50
                                applications and finalize notices for same.
 10/30/2019   JWD     RPO       Review Committee email re FA appointment and            0.10        850.00           $85.00
                                follow up re same
 10/31/2019   JWD     RPO       Emails re Committee FA retention                        0.10        850.00           $85.00

                                                                                       13.30                      $11,281.50
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  Stay Litigation [B140]
 10/21/2019   JWD     SL        Emails regarding changes to stay letter and related       0.20        850.00         $170.00
                                issues.
 10/22/2019   BDD     SL        Email J. Dulberg and M. Pagay re notices of stay          0.10        395.00           $39.50
 10/24/2019   BDD     SL        Email M. Pagay re SJ Hospitality notice of stay           0.10        395.00           $39.50
 10/25/2019   JWD     SL        Review and revise Han stay letter.                        0.30        850.00         $255.00
 10/25/2019   BDD     SL        Email M. Pagay re notice of stay re Han litigation        0.10        395.00           $39.50
 10/25/2019   BDD     SL        Email D. Perez re stay letter (re Han litigation)         0.10        395.00           $39.50
 10/25/2019   BDD     SL        Email J. Dulberg Han stay letter                          0.10        395.00           $39.50
 10/25/2019   BDD     SL        Email J. Dulberg re notice of stay (re Han litigation)    0.10        395.00           $39.50
 10/25/2019   BDD     SL        Email D. Perez re stay letter (re Han litigation)         0.10        395.00           $39.50
 10/28/2019   JWD     SL        Review notice of stay and email regarding same            0.10        850.00           $85.00
 10/28/2019   BDD     SL        Email D. Perez re Hans SJ Hospitality v. YT stay          0.10        395.00           $39.50
                                letter
 10/28/2019   BDD     SL        Email J. Dulberg re Han's SJ Hospitality v YT stay        0.10        395.00           $39.50
                                letter
 10/28/2019   BDD     SL        Email D. Perez re Han's SJ Hospitality v. YT stay         0.10        395.00           $39.50
                                letter
 10/28/2019   BDD     SL        Email N. DeLeon re stay letter (Han's SJ Hospitality      0.10        395.00           $39.50
                                v. YT)
 10/28/2019   BDD     SL        Email J. Dulberg and M. Pagay re Han's stay letter        0.10        395.00           $39.50
 10/28/2019   BDD     SL        Email N. Goodell re Han's stay letter                     0.10        395.00           $39.50
 10/29/2019   JWD     SL        Review response from counsel re automatic stay and        0.10        850.00           $85.00
                                alter ego claims and emails re follow up

                                                                                          2.00                      $1,108.50

  Travel
 10/24/2019   MSP     TR        Travel to Delaware for initial debtor interview and       9.00        412.50        $3,712.50
                                committee formation meeting (Billed at 1/2 rate)
 10/25/2019   MSP     TR        Return travel after attendance at initial debtor          9.20        412.50        $3,795.00
                                interview and committee formation meeting (Billed
                                at 1/2 rate)

                                                                                         18.20                      $7,507.50

  TOTAL SERVICES FOR THIS MATTER:                                                                               $201,832.00
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 Expenses

 10/14/2019   RE        ( 9 @0.20 PER PG)                                        1.80


 10/14/2019   RE        ( 2 @0.20 PER PG)                                        0.40


 10/14/2019   RE        ( 4 @0.20 PER PG)                                        0.80


 10/14/2019   RE2       SCAN/COPY ( 6 @0.10 PER PG)                              0.60


 10/14/2019   RE2       SCAN/COPY ( 510 @0.10 PER PG)                          51.00


 10/14/2019   RE2       SCAN/COPY ( 48 @0.10 PER PG)                             4.80


 10/14/2019   RE2       SCAN/COPY ( 6 @0.10 PER PG)                              0.60


 10/14/2019   RE2       SCAN/COPY ( 132 @0.10 PER PG)                          13.20


 10/14/2019   RE2       SCAN/COPY ( 9 @0.10 PER PG)                              0.90


 10/14/2019   RE2       SCAN/COPY ( 9 @0.10 PER PG)                              0.90


 10/15/2019   RE        ( 1 @0.20 PER PG)                                        0.20


 10/15/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                              0.40


 10/15/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                              0.40


 10/16/2019   RE        ( 17 @0.20 PER PG)                                       3.40


 10/16/2019   RE        ( 14 @0.20 PER PG)                                       2.80


 10/16/2019   RE2       SCAN/COPY ( 82 @0.10 PER PG)                             8.20


 10/16/2019   RE2       SCAN/COPY ( 24 @0.10 PER PG)                             2.40
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 10/16/2019   RE2       SCAN/COPY ( 16 @0.10 PER PG)                              1.60


 10/16/2019   RE2       SCAN/COPY ( 15 @0.10 PER PG)                              1.50


 10/16/2019   RE2       SCAN/COPY ( 24 @0.10 PER PG)                              2.40


 10/16/2019   RE2       SCAN/COPY ( 52 @0.10 PER PG)                              5.20


 10/16/2019   RE2       SCAN/COPY ( 24 @0.10 PER PG)                              2.40


 10/16/2019   RE2       SCAN/COPY ( 8 @0.10 PER PG)                               0.80


 10/16/2019   RE2       SCAN/COPY ( 6 @0.10 PER PG)                               0.60


 10/16/2019   RE2       SCAN/COPY ( 6 @0.10 PER PG)                               0.60


 10/16/2019   RE2       SCAN/COPY ( 6 @0.10 PER PG)                               0.60


 10/17/2019   RE2       SCAN/COPY ( 12 @0.10 PER PG)                              1.20


 10/17/2019   RE2       SCAN/COPY ( 81 @0.10 PER PG)                              8.10


 10/17/2019   RE2       SCAN/COPY ( 16 @0.10 PER PG)                              1.60


 10/17/2019   RE2       SCAN/COPY ( 24 @0.10 PER PG)                              2.40


 10/18/2019   BB        46353.00002 Bloomberg Charges for 10-18-19              30.00


 10/21/2019   CL        46353.00002 CourtLink charges for 10-21-19                2.70


 10/21/2019   RE        ( 56 @0.20 PER PG)                                      11.20


 10/21/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                               0.40


 10/21/2019   RE2       SCAN/COPY ( 1 @0.10 PER PG)                               0.10
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 10/21/2019   RE2       SCAN/COPY ( 6 @0.10 PER PG)                              0.60


 10/21/2019   RE2       SCAN/COPY ( 3 @0.10 PER PG)                              0.30


 10/21/2019   RE2       SCAN/COPY ( 3 @0.10 PER PG)                              0.30


 10/21/2019   RE2       SCAN/COPY ( 2 @0.10 PER PG)                              0.20


 10/21/2019   RE2       SCAN/COPY ( 6 @0.10 PER PG)                              0.60


 10/21/2019   RE2       SCAN/COPY ( 2 @0.10 PER PG)                              0.20


 10/21/2019   RE2       SCAN/COPY ( 7 @0.10 PER PG)                              0.70


 10/21/2019   RE2       SCAN/COPY ( 7 @0.10 PER PG)                              0.70


 10/21/2019   RE2       SCAN/COPY ( 6 @0.10 PER PG)                              0.60


 10/21/2019   RE2       SCAN/COPY ( 3 @0.10 PER PG)                              0.30


 10/21/2019   RE2       SCAN/COPY ( 1 @0.10 PER PG)                              0.10


 10/21/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                              0.40


 10/21/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                              0.40


 10/21/2019   RE2       SCAN/COPY ( 2 @0.10 PER PG)                              0.20


 10/21/2019   RE2       SCAN/COPY ( 7 @0.10 PER PG)                              0.70


 10/21/2019   RE2       SCAN/COPY ( 7 @0.10 PER PG)                              0.70


 10/21/2019   RE2       SCAN/COPY ( 1 @0.10 PER PG)                              0.10


 10/21/2019   RE2       SCAN/COPY ( 3 @0.10 PER PG)                              0.30
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 10/21/2019   RE2       SCAN/COPY ( 3 @0.10 PER PG)                              0.30


 10/21/2019   RE2       SCAN/COPY ( 1 @0.10 PER PG)                              0.10


 10/21/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                              0.40


 10/21/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                              0.40


 10/21/2019   RE2       SCAN/COPY ( 2 @0.10 PER PG)                              0.20


 10/21/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                              0.40


 10/21/2019   RE2       SCAN/COPY ( 6 @0.10 PER PG)                              0.60


 10/21/2019   RE2       SCAN/COPY ( 6 @0.10 PER PG)                              0.60


 10/21/2019   RE2       SCAN/COPY ( 3 @0.10 PER PG)                              0.30


 10/21/2019   RE2       SCAN/COPY ( 3 @0.10 PER PG)                              0.30


 10/21/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                              0.40


 10/21/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                              0.40


 10/21/2019   RE2       SCAN/COPY ( 2 @0.10 PER PG)                              0.20


 10/21/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                              0.40


 10/22/2019   RE        ( 5 @0.20 PER PG)                                        1.00


 10/22/2019   RE2       SCAN/COPY ( 6 @0.10 PER PG)                              0.60


 10/22/2019   RE2       SCAN/COPY ( 3 @0.10 PER PG)                              0.30


 10/22/2019   RE2       SCAN/COPY ( 16 @0.10 PER PG)                             1.60
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 10/22/2019   RE2       SCAN/COPY ( 3 @0.10 PER PG)                              0.30


 10/22/2019   RE2       SCAN/COPY ( 6 @0.10 PER PG)                              0.60


 10/22/2019   RE2       SCAN/COPY ( 10 @0.10 PER PG)                             1.00


 10/24/2019   RE        ( 1 @0.20 PER PG)                                        0.20


 10/24/2019   RE2       SCAN/COPY ( 6 @0.10 PER PG)                              0.60


 10/24/2019   RE2       SCAN/COPY ( 7 @0.10 PER PG)                              0.70


 10/24/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                              0.40


 10/24/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                              0.40


 10/24/2019   RE2       SCAN/COPY ( 2 @0.10 PER PG)                              0.20


 10/24/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                              0.40


 10/24/2019   RE2       SCAN/COPY ( 6 @0.10 PER PG)                              0.60


 10/24/2019   RE2       SCAN/COPY ( 3 @0.10 PER PG)                              0.30


 10/24/2019   RE2       SCAN/COPY ( 788 @0.10 PER PG)                          78.80


 10/24/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                              0.40


 10/24/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                              0.40


 10/24/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                              0.40


 10/24/2019   RE2       SCAN/COPY ( 2 @0.10 PER PG)                              0.20


 10/24/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                              0.40
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 10/24/2019   RE2       SCAN/COPY ( 6 @0.10 PER PG)                              0.60


 10/24/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                              0.40


 10/24/2019   RE2       SCAN/COPY ( 2 @0.10 PER PG)                              0.20


 10/24/2019   RE2       SCAN/COPY ( 7 @0.10 PER PG)                              0.70


 10/24/2019   RE2       SCAN/COPY ( 6 @0.10 PER PG)                              0.60


 10/24/2019   RE2       SCAN/COPY ( 7 @0.10 PER PG)                              0.70


 10/24/2019   RE2       SCAN/COPY ( 7 @0.10 PER PG)                              0.70


 10/24/2019   RE2       SCAN/COPY ( 3 @0.10 PER PG)                              0.30


 10/24/2019   RE2       SCAN/COPY ( 3 @0.10 PER PG)                              0.30


 10/24/2019   RE2       SCAN/COPY ( 3 @0.10 PER PG)                              0.30


 10/24/2019   RE2       SCAN/COPY ( 3 @0.10 PER PG)                              0.30


 10/24/2019   RE2       SCAN/COPY ( 987 @0.10 PER PG)                          98.70


 10/24/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                              0.40


 10/24/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                              0.40


 10/24/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                              0.40


 10/24/2019   RE2       SCAN/COPY ( 2 @0.10 PER PG)                              0.20


 10/24/2019   RE2       SCAN/COPY ( 3 @0.10 PER PG)                              0.30


 10/24/2019   RE2       SCAN/COPY ( 3 @0.10 PER PG)                              0.30
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 10/25/2019   RE2       SCAN/COPY ( 386 @0.10 PER PG)                                 38.60


 10/25/2019   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                     0.60


 10/30/2019   RE        ( 2 @0.20 PER PG)                                               0.40


 10/30/2019   RE        ( 38 @0.20 PER PG)                                              7.60


 10/30/2019   RE        ( 132 @0.20 PER PG)                                           26.40


 10/30/2019   RE        ( 186 @0.20 PER PG)                                           37.20


 10/30/2019   RE2       SCAN/COPY ( 24 @0.10 PER PG)                                    2.40


 10/30/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                     0.40


 10/30/2019   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                     0.60


 10/30/2019   RE2       SCAN/COPY ( 34 @0.10 PER PG)                                    3.40


 10/30/2019   RE2       SCAN/COPY ( 32 @0.10 PER PG)                                    3.20


 10/30/2019   RE2       SCAN/COPY ( 20 @0.10 PER PG)                                    2.00


 10/30/2019   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                    1.20


 10/30/2019   RE2       SCAN/COPY ( 28 @0.10 PER PG)                                    2.80


 10/30/2019   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                    1.20


 10/30/2019   RE2       SCAN/COPY ( 14 @0.10 PER PG)                                    1.40


 10/31/2019   AT        Auto Travel Expense [E109] Uber Transportation Services,      20.50
                        NHB


 10/31/2019   PAC       Pacer - Court Research                                        54.80
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   Total Expenses for this Matter                                          $578.90
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                                                REMITTANCE ADVICE

                                    Please inlcude this Remittance with your payment

For current services rendered through:        10/31/2019

Total Fees                                                                                           $201,832.00

Total Expenses                                                                                               578.90

Total Due on Current Invoice                                                                         $202,410.90

  Outstanding Balance from prior invoices as of        10/31/2019          (May not include recent payments)

A/R Bill Number           Invoice Date               Fees Billed        Expenses Billed              Balance Due



             Total Amount Due on Current and Prior Invoices:                                          $202,410.90
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                              Pachulski Stang Ziehl & Jones LLP
                                         10100 Santa Monica Blvd.
                                                13th Floor
                                          Los Angeles, CA 90067
                                                                    October 31, 2019
Jia Yueting                                                         Invoice 123983
Faraday Future                                                      Client   46353
18455 S. Figueroa Street                                            Matter   00002
Gardena, CA 90248
                                                                             JWD

RE: Post Petition

 _______________________________________________________________________________________

          STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 10/31/2019
                 FEES                                                $40,851.50
                 EXPENSES                                             $4,502.29
                 TOTAL CURRENT CHARGES                               $45,353.79

                 BALANCE FORWARD                                    $202,410.90
                 TOTAL BALANCE DUE                                  $247,764.69
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  Summary of Services by Professional
  ID        Name                               Title               Rate       Hours               Amount

 BMK        Koveleski, Beatrice M.             Case Man. Asst.    325.00       0.50              $162.50

 JWD        Dulberg, Jeffrey W.                Partner            850.00       5.00             $4,250.00

            Neil, Karen S.                                                     0.20               $65.00
 KSN                                           Case Man. Asst.    325.00
                                                                               7.30             $2,883.50
 PEC        Cuniff, Patricia E.                Paralegal          395.00
                                                                              24.90         $33,490.50
 RMP        Pachulski, Richard M.              Partner           1345.00
                                                                             37.90              $40,851.50
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  Summary of Services by Task Code
  Task Code         Description                                           Hours                        Amount

 AA                 Asset Analysis/Recovery[B120]                         0.70                         $941.50

 BL                 Bankruptcy Litigation [L430]                          8.10                       $9,849.50

 CA                 Case Administration [B110]                            6.80                       $3,137.50

 CO                 Claims Admin/Objections[B310]                         0.40                         $538.00

 FF                 Financial Filings [B110]                              2.40                       $2,782.50

 FN                 Financing [B230]                                      1.80                       $1,530.00

 GC                 General Creditors Comm. [B150]                        6.50                       $8,742.50

 LN                 Litigation (Non-Bankruptcy)                           0.80                         $977.00

 MC                 Meeting of Creditors [B150]                           4.20                       $5,401.50

 PD                 Plan & Disclosure Stmt. [B320]                        3.60                       $4,743.00

 RP                 Retention of Prof. [B160]                             2.60                       $2,208.50

                                                                                  37.90              $40,851.50
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  Summary of Expenses
  Description                                                                                    Amount
Advita Atty Mess Service                                                                   $9.00
Auto Travel Expense [E109]                                                             $1,062.76
Conference Call [E105]                                                                    $94.40
Delivery/Courier Service                                                                 $349.80
Filing Fee [E112]                                                                      $1,742.00
Hotel Expense [E110]                                                                     $634.60
Legal Vision Atty Mess Service                                                            $53.03

Pacer - Court Research                                                                   $178.00
Reproduction Expense [E101]                                                              $220.40
Reproduction/ Scan Copy                                                                  $158.30

                                                                                               $4,502.29
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                                                                                        Hours           Rate        Amount

  Asset Analysis/Recovery[B120]
 10/15/2019   RMP     AA        Review transfers and review e-mails re same.             0.70      1345.00          $941.50

                                                                                         0.70                       $941.50

  Bankruptcy Litigation [L430]
 10/15/2019   RMP     BL        Telephone conferences with M. Pagay and J. O'Neill       0.60      1345.00          $807.00
                                re next steps.
 10/16/2019   PEC     BL        Review and revise initial critical dates memo            0.40        395.00         $158.00
 10/17/2019   RMP     BL        Review SLC response to filing and conferences re         0.80      1345.00         $1,076.00
                                same.
 10/17/2019   RMP     BL        Additional conference call re SLC and press issues.      0.70      1345.00          $941.50
 10/21/2019   RMP     BL        Review Buchbinder Q & A's and conference with J.         0.40      1345.00          $538.00
                                Dulberg re same.
 10/21/2019   RMP     BL        Various telephone conferences re plan and IDI            1.20      1345.00         $1,614.00
                                meeting and SLC response.
 10/22/2019   RMP     BL        Prepare for and participate on team calls re SLC         1.30      1345.00         $1,748.50
                                issues.
 10/23/2019   RMP     BL        Review SLC response and e-mails re same.                 0.30      1345.00          $403.50
 10/28/2019   RMP     BL        Review and respond re SLC response and e-mails re        0.40      1345.00          $538.00
                                same.
 10/29/2019   RMP     BL        Deal with SLC issues and various telephone               0.90      1345.00         $1,210.50
                                conferences re same.
 10/30/2019   PEC     BL        Draft Notice of Agenda for 11/5/19 Hearing               0.40        395.00         $158.00
 10/31/2019   PEC     BL        Revise and review 11/5/19 Agenda to cancel hearing       0.30        395.00         $118.50
 10/31/2019   RMP     BL        Review and respond to e-mails re SLC.                    0.40      1345.00          $538.00

                                                                                         8.10                      $9,849.50

  Case Administration [B110]
 10/14/2019   JWD     CA        Review and respond to emails re critical dates, press    0.30        850.00         $255.00
                                inquiries and pro hac applications
 10/14/2019   BMK     CA        Prepare daily memo narrative and coordinated client      0.10        325.00           $32.50
                                distribution.
 10/15/2019   PEC     CA        Draft initial critical dates memorandum                  0.60        395.00         $237.00
 10/15/2019   JWD     CA        Call with M Pagay re various issues for upcoming         0.30        850.00         $255.00
                                filings
 10/15/2019   JWD     CA        Review and revise translation cert and emails re         0.30        850.00         $255.00
                                same
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                                                                                      Hours           Rate       Amount

 10/15/2019   JWD     CA        Calls with M Zhang re upcoming issues                  0.20        850.00        $170.00
 10/16/2019   PEC     CA        Review daily correspondence and pleadings and          0.20        395.00           $79.00
                                forward to the appropriate parties
 10/17/2019   PEC     CA        Review daily correspondence and pleadings and          0.10        395.00           $39.50
                                forward to the appropriate parties
 10/17/2019   PEC     CA        Search Court Forms for a sample Notice of Chapter      0.70        395.00        $276.50
                                11 Bankruptcy Case Form (.3); Download form and
                                complete (.3); Circulate to attorneys (.1)
 10/17/2019   KSN     CA        Maintain document control.                             0.20        325.00           $65.00
 10/17/2019   BMK     CA        Prepare daily memo narrative and coordinated client    0.10        325.00           $32.50
                                distribution.
 10/18/2019   PEC     CA        Update critical dates memo                             0.30        395.00        $118.50
 10/18/2019   PEC     CA        Review and revise 2002 Service List                    0.40        395.00        $158.00
 10/18/2019   BMK     CA        Prepare daily memo narrative and coordinated client    0.10        325.00           $32.50
                                distribution.
 10/21/2019   PEC     CA        Update critical dates memo                             0.10        395.00           $39.50
 10/21/2019   PEC     CA        Review daily correspondence and pleadings and          0.10        395.00           $39.50
                                forward to the appropriate parties
 10/22/2019   PEC     CA        Update critical dates memo                             0.10        395.00           $39.50
 10/22/2019   PEC     CA        Review daily correspondence and pleadings and          0.10        395.00           $39.50
                                forward to the appropriate parties
 10/23/2019   PEC     CA        Update critical dates memo                             0.10        395.00           $39.50
 10/23/2019   PEC     CA        Review daily correspondence and pleadings and          0.10        395.00           $39.50
                                forward to the appropriate parties
 10/24/2019   PEC     CA        Update critical dates memo                             0.10        395.00           $39.50
 10/24/2019   PEC     CA        Review daily correspondence and pleadings and          0.10        395.00           $39.50
                                forward to the appropriate parties
 10/24/2019   PEC     CA        Prepare IDI Binder (.4); Draft Index regarding same    0.70        395.00        $276.50
                                (.3)
 10/24/2019   BMK     CA        Prepare daily memo narrative and coordinated client    0.10        325.00           $32.50
                                distribution.
 10/25/2019   PEC     CA        Update critical dates memo                             0.30        395.00        $118.50
 10/25/2019   PEC     CA        Review daily correspondence and pleadings and          0.10        395.00           $39.50
                                forward to the appropriate parties
 10/28/2019   PEC     CA        Update critical dates memo                             0.10        395.00           $39.50
 10/28/2019   PEC     CA        Review daily correspondence and pleadings and          0.10        395.00           $39.50
                                forward to the appropriate parties
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                                                                                      Hours           Rate        Amount
 10/28/2019   BMK     CA        Prepare daily memo narrative and coordinated client    0.10        325.00           $32.50
                                distribution.
 10/29/2019   PEC     CA        Update critical dates memo                             0.10        395.00           $39.50
 10/29/2019   PEC     CA        Review daily correspondence and pleadings and          0.10        395.00           $39.50
                                forward to the appropriate parties
 10/30/2019   PEC     CA        Update critical dates memo                             0.10        395.00           $39.50
 10/30/2019   PEC     CA        Review daily correspondence and pleadings and          0.10        395.00           $39.50
                                forward to the appropriate parties
 10/31/2019   PEC     CA        Update critical dates memo                             0.10        395.00           $39.50
 10/31/2019   PEC     CA        Review daily correspondence and pleadings and          0.10        395.00           $39.50
                                forward to the appropriate parties

                                                                                       6.80                      $3,137.50

  Claims Admin/Objections[B310]
 10/30/2019   RMP     CO        Deal with bar date issues and telephone conferences    0.40      1345.00          $538.00
                                re same.

                                                                                       0.40                       $538.00

  Financial Filings [B110]
 10/14/2019   JWD     FF        Review and respond to emails re schedules              0.10        850.00           $85.00
 10/15/2019   JWD     FF        Work on schedules and statements                       0.80        850.00         $680.00
 10/16/2019   RMP     FF        Review statements and SOFAs and telephone              0.70      1345.00          $941.50
                                conference with M. Pagay re same.
 10/18/2019   RMP     FF        Various telephone conferences and e-mails re 10/25     0.80      1345.00         $1,076.00
                                IDI.

                                                                                       2.40                      $2,782.50

  Financing [B230]
 10/15/2019   JWD     FN        Review banking issues and WF correspondence (.2);      0.30        850.00         $255.00
                                emails re same with client (.1)
 10/15/2019   JWD     FN        Work on banking motion                                 1.50        850.00        $1,275.00

                                                                                       1.80                      $1,530.00

  General Creditors Comm. [B150]
 10/22/2019   RMP     GC        Various team telephone conferences re IDI meeting.     0.80      1345.00         $1,076.00
 10/23/2019   RMP     GC        Various telephone conferences re IDI meeting.          1.40      1345.00         $1,883.00
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                                                                                       Hours           Rate        Amount
 10/25/2019   RMP     GC        Various telephone conferences and e-mails re            1.10      1345.00         $1,479.50
                                Committee issues.
 10/26/2019   RMP     GC        Prepare for and participate on creditor committee       1.30      1345.00         $1,748.50
                                call and follow-up calls.
 10/29/2019   RMP     GC        Deal with Committee issues and telephone                0.80      1345.00         $1,076.00
                                conferences with counsel re same.
 10/30/2019   RMP     GC        Prepare for and participate on Committee call and       1.10      1345.00         $1,479.50
                                telephone conferences with J. Dulberg and M. Pagay
                                re same.

                                                                                        6.50                      $8,742.50

  Litigation (Non-Bankruptcy)
 10/15/2019   JWD     LN        Emails re notices of stay                               0.20        850.00         $170.00
 10/18/2019   RMP     LN        Review SLC press issues.                                0.60      1345.00          $807.00

                                                                                        0.80                       $977.00

  Meeting of Creditors [B150]
 10/16/2019   RMP     MC        Various e-mails and telephone conferences re IDI        0.70      1345.00          $941.50
                                and 341 issues.
 10/16/2019   RMP     MC        Review UST issues and questions and telephone           0.40      1345.00          $538.00
                                conference with J. O'Neill re same.
 10/16/2019   JWD     MC        Review materials from UST and emails with client        0.50        850.00         $425.00
                                regarding same
 10/17/2019   RMP     MC        Review responses to questions re 10/25 meeting and      0.30      1345.00          $403.50
                                comment re same.
 10/24/2019   RMP     MC        Review letter to UST and telephone conferences re       0.60      1345.00          $807.00
                                same.
 10/24/2019   RMP     MC        Various telephone conferences re IDI.                   0.80      1345.00         $1,076.00
 10/25/2019   RMP     MC        Various telephone conferences and e-mails re IDI        0.90      1345.00         $1,210.50
                                and formation meeting.

                                                                                        4.20                      $5,401.50

  Plan & Disclosure Stmt. [B320]
 10/14/2019   JWD     PD        Review and respond to various emails re solicitation    0.20        850.00         $170.00
 10/15/2019   RMP     PD        Review plan and disclosure statement issues.            0.60      1345.00          $807.00
 10/18/2019   RMP     PD        Review and respond to e-mails re scheduling             0.60      1345.00          $807.00
                                motion.
 10/22/2019   RMP     PD        Deal with bar date and scheduling issues.               0.60      1345.00          $807.00
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                                                                                       Hours           Rate        Amount
 10/30/2019   RMP     PD        Prepare for and participate on team call re next        0.80      1345.00         $1,076.00
                                steps.
 10/31/2019   RMP     PD        Review and comment on responses to client's             0.40      1345.00          $538.00
                                questions.
 10/31/2019   RMP     PD        Review and respond to e-mails re FF Global.             0.40      1345.00          $538.00

                                                                                        3.60                      $4,743.00

  Retention of Prof. [B160]
 10/14/2019   JWD     RP        Respond to emails re next filings and retention apps    0.20        850.00         $170.00
 10/15/2019   JWD     RP        Emails re changes to PSZJ app                           0.10        850.00           $85.00
 10/25/2019   PEC     RP        Draft Notice of Application to Employ Epiq as           0.40        395.00         $158.00
                                Noticing Agent and Certificate of Service
 10/25/2019   PEC     RP        Draft Notice of Application to Employ Epiq as           0.40        395.00         $158.00
                                Administrative Agent and Certificate of Service
 10/25/2019   PEC     RP        Draft Notice of Application to Employ PSZ&J and         0.40        395.00         $158.00
                                Certificate of Service
 10/31/2019   RMP     RP        Prepare for and participate in meeting with R.          1.10      1345.00         $1,479.50
                                Moon.

                                                                                        2.60                      $2,208.50

  TOTAL SERVICES FOR THIS MATTER:                                                                             $40,851.50
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 Expenses

 10/14/2019   AT        Auto Travel Expense [E109] Mileage 20.8 miles (x2       24.13
                        @$0.58) MSP


 10/14/2019   HT        Hotel Expense [E110] Hotel DuPont, 1 night JEO         299.20


 10/14/2019   RE        ( 255 @0.20 PER PG)                                     51.00


 10/14/2019   RE2       SCAN/COPY ( 169 @0.10 PER PG)                           16.90


 10/14/2019   RE2       SCAN/COPY ( 34 @0.10 PER PG)                              3.40


 10/14/2019   RE2       SCAN/COPY ( 28 @0.10 PER PG)                              2.80


 10/14/2019   RE2       SCAN/COPY ( 15 @0.10 PER PG)                              1.50


 10/14/2019   RE2       SCAN/COPY ( 29 @0.10 PER PG)                              2.90


 10/14/2019   RE2       SCAN/COPY ( 34 @0.10 PER PG)                              3.40


 10/15/2019   AT        Auto Travel Expense [E109] Mileage 20.8 miles (x2       24.13
                        @$0.58) MSP


 10/15/2019   FF        Filing Fee [E112] USBC, District of Delaware, LDJ     1,717.00


 10/15/2019   FF        Filing Fee [E112] USBC, District of Delaware, LDJ       25.00


 10/16/2019   RE2       SCAN/COPY ( 24 @0.10 PER PG)                              2.40


 10/16/2019   RE2       SCAN/COPY ( 24 @0.10 PER PG)                              2.40


 10/16/2019   RE2       SCAN/COPY ( 16 @0.10 PER PG)                              1.60


 10/16/2019   RE2       SCAN/COPY ( 12 @0.10 PER PG)                              1.20
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 10/16/2019   RE2       SCAN/COPY ( 127 @0.10 PER PG)                              12.70


 10/17/2019   CC        Conference Call [E105] AT&T Conference Call, JWD           11.22


 10/17/2019   LV        Legal Vision Atty/Mess. Service- Inv. 50490, B. Dassa      53.03


 10/17/2019   RE        ( 171 @0.20 PER PG)                                        34.20


 10/17/2019   RE2       SCAN/COPY ( 15 @0.10 PER PG)                                 1.50


 10/18/2019   DC        46353.00001 Advita Charges for 10-18-19                      7.50


 10/18/2019   RE        ( 381 @0.20 PER PG)                                        76.20


 10/18/2019   RE        ( 12 @0.20 PER PG)                                           2.40


 10/18/2019   RE        ( 3 @0.20 PER PG)                                            0.60


 10/18/2019   RE        ( 2 @0.20 PER PG)                                            0.40


 10/18/2019   RE        ( 1 @0.20 PER PG)                                            0.20


 10/18/2019   RE        ( 262 @0.20 PER PG)                                        52.40


 10/18/2019   RE2       SCAN/COPY ( 126 @0.10 PER PG)                              12.60


 10/18/2019   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                  0.80


 10/18/2019   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                 1.20


 10/18/2019   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                  0.80


 10/18/2019   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                  0.80


 10/18/2019   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                  0.20
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 10/18/2019   RE2       SCAN/COPY ( 32 @0.10 PER PG)                                   3.20


 10/21/2019   RE2       SCAN/COPY ( 15 @0.10 PER PG)                                   1.50


 10/22/2019   CC        Conference Call [E105] AT&T Conference Call, RMP             16.90


 10/23/2019   CC        Conference Call [E105] AT&T Conference Call, MSP             18.97


 10/23/2019   CC        Conference Call [E105] AT&T Conference Call, MSP             23.33


 10/24/2019   AT        Auto Travel Expense [E109] KLS Worldwide Transportation     138.25
                        Services, Inv. 09173591090, From Residence to LAX, MSP


 10/24/2019   HT        Hotel Expense [E110] Hotel DuPont, 1 night, MSP             335.40


 10/24/2019   RE        ( 7 @0.20 PER PG)                                              1.40


 10/24/2019   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                    0.60


 10/24/2019   RE2       SCAN/COPY ( 15 @0.10 PER PG)                                   1.50


 10/24/2019   RE2       SCAN/COPY ( 16 @0.10 PER PG)                                   1.60


 10/24/2019   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                   1.20


 10/24/2019   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                    0.60


 10/24/2019   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                    0.80


 10/24/2019   RE2       SCAN/COPY ( 14 @0.10 PER PG)                                   1.40


 10/24/2019   RE2       SCAN/COPY ( 17 @0.10 PER PG)                                   1.70


 10/25/2019   AM        Advita Atty/Mess. Service - Overime, T. Robinson               9.00


 10/25/2019   AT        Auto Travel Expense [E109] DND Transportation Services,     368.00
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                        from PSZJ DE to Airport, LDJ


 10/25/2019   AT        Auto Travel Expense [E109] KLS Worldwide Transportation      190.50
                        Services, Inv. 09173591090, From PHL to Hotel DuPont,
                        MSP


 10/25/2019   AT        Auto Travel Expense [E109] KLS Worldwide Transportation      159.50
                        Services, Inv. 09173591090, From PSZ&J DE office to PHL,
                        MSP


 10/25/2019   AT        Auto Travel Expense [E109] KLS Worldwide Transportation      158.25
                        Services, Inv. 09173591090, From LAX to Residence, MSP


 10/25/2019   DC        46353.00001 Advita Charges for 10-25-19                       97.30


 10/25/2019   DC        46353.00001 Advita Charges for 10-25-19                      245.00


 10/25/2019   RE        ( 1 @0.20 PER PG)                                               0.20


 10/25/2019   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                     0.10


 10/25/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                     0.40


 10/25/2019   RE2       SCAN/COPY ( 193 @0.10 PER PG)                                 19.30


 10/25/2019   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                    1.20


 10/25/2019   RE2       SCAN/COPY ( 14 @0.10 PER PG)                                    1.40


 10/25/2019   RE2       SCAN/COPY ( 15 @0.10 PER PG)                                    1.50


 10/25/2019   RE2       SCAN/COPY ( 14 @0.10 PER PG)                                    1.40


 10/25/2019   RE2       SCAN/COPY ( 15 @0.10 PER PG)                                    1.50


 10/28/2019   RE        ( 2 @0.20 PER PG)                                               0.40


 10/28/2019   RE        ( 4 @0.20 PER PG)                                               0.80
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 10/28/2019   RE        ( 1 @0.20 PER PG)                                         0.20


 10/28/2019   RE2       SCAN/COPY ( 172 @0.10 PER PG)                            17.20


 10/28/2019   RE2       SCAN/COPY ( 106 @0.10 PER PG)                            10.60


 10/28/2019   RE2       SCAN/COPY ( 96 @0.10 PER PG)                              9.60


 10/28/2019   RE2       SCAN/COPY ( 6 @0.10 PER PG)                               0.60


 10/28/2019   RE2       SCAN/COPY ( 8 @0.10 PER PG)                               0.80


 10/28/2019   RE2       SCAN/COPY ( 52 @0.10 PER PG)                              5.20


 10/28/2019   RE2       SCAN/COPY ( 18 @0.10 PER PG)                              1.80


 10/28/2019   RE2       SCAN/COPY ( 12 @0.10 PER PG)                              1.20


 10/29/2019   CC        Conference Call [E105] AT&T Conference Call, MSP          0.22


 10/29/2019   CC        Conference Call [E105] AT&T Conference Call, JEO          6.78


 10/30/2019   CC        Conference Call [E105] AT&T Conference Call, MSP         16.98


 10/30/2019   RE2       SCAN/COPY ( 13 @0.10 PER PG)                              1.30


 10/31/2019   PAC       Pacer - Court Research                                  178.00

   Total Expenses for this Matter                                          $4,502.29
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                                                REMITTANCE ADVICE

                                    Please inlcude this Remittance with your payment

For current services rendered through:        10/31/2019

Total Fees                                                                                             $40,851.50

Total Expenses                                                                                           4,502.29

Total Due on Current Invoice                                                                           $45,353.79

  Outstanding Balance from prior invoices as of        10/31/2019          (May not include recent payments)

A/R Bill Number           Invoice Date               Fees Billed        Expenses Billed              Balance Due
 123506                  10/31/2019                $201,832.00             $578.90                   $202,410.90

             Total Amount Due on Current and Prior Invoices:                                          $247,764.69
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                                         10100 Santa Monica Blvd.
                                                13th Floor
                                          Los Angeles, CA 90067
                                                                    November 30, 2019
Jia Yueting                                                         Invoice 123984
Faraday Future                                                      Client  46353
18455 S. Figueroa Street                                            Matter  00002
Gardena, CA 90248
                                                                            JWD

RE: Post Petition

 _______________________________________________________________________________________

          STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 11/30/2019
                 FEES                                               $452,860.00
                 EXPENSES                                             $1,867.74
                 TOTAL CURRENT CHARGES                              $454,727.74

                 BALANCE FORWARD                                    $247,764.69
                 TOTAL BALANCE DUE                                  $702,492.43
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  Summary of Services by Professional
  ID        Name                              Title               Rate       Hours              Amount

 BDD        Dassa, Beth D.                    Paralegal          395.00       6.90         $2,725.50

                                                                             62.60        $56,027.00
 JEO        O'Neill, James E.                 Partner            895.00
 JJK                                                                         52.20        $44,370.00
            Kim, Jonathan J.                  Counsel            850.00
                                                                             76.10        $64,685.00
 JWD        Dulberg, Jeffrey W.               Partner            850.00
 LAF        Forrester, Leslie A.              Other              425.00       1.30          $552.50

 MSP        Pagay, Malhar S.                  Counsel            825.00     204.20       $168,465.00

 PEC        Cuniff, Patricia E.               Paralegal          395.00      16.90         $6,675.50

 PJJ        Jeffries, Patricia J.             Paralegal          395.00       1.20          $474.00

 RMP        Pachulski, Richard M.             Partner           1345.00      64.30        $86,483.50

 SWG        Golden, Steven W.                 Associate          575.00       5.60         $3,220.00

 TCF        Flanagan, Tavi C.                 Counsel            695.00      27.60        $19,182.00

                                                                           518.90         $452,860.00
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  Summary of Services by Task Code
  Task Code         Description                                           Hours                       Amount

 AA                 Asset Analysis/Recovery[B120]                         63.20                  $53,445.00

 BL                 Bankruptcy Litigation [L430]                         133.60                 $112,625.50

 CA                 Case Administration [B110]                            42.70                  $29,641.00

 CO                 Claims Admin/Objections[B310]                         26.20                  $22,156.50

 CP                 Compensation Prof. [B160]                              3.00                   $1,230.50

 EC                 Executory Contracts [B185]                             1.80                   $1,485.00

 FF                 Financial Filings [B110]                              13.40                  $11,055.00

 FN                 Financing [B230]                                      19.40                  $16,457.50

 GC                 General Creditors Comm. [B150]                        74.30                  $69,548.00

 LN                 Litigation (Non-Bankruptcy)                            5.50                   $4,650.00

 MC                 Meeting of Creditors [B150]                           33.30                  $28,229.50

 PD                 Plan & Disclosure Stmt. [B320]                        73.20                  $77,937.00

 RP                 Retention of Prof. [B160]                             27.50                  $22,869.50

 TR                 Travel                                                 1.80                   $1,530.00

                                                                              518.90            $452,860.00
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  Summary of Expenses
  Description                                                                                   Amount
Conference Call [E105]                                                                  $108.59
CourtLink                                                                                $45.71
Delivery/Courier Service                                                                 $68.20
Federal Express [E108]                                                                   $28.15
Fax Transmittal [E104]                                                                   $25.25
Lexis/Nexis- Legal Research [E                                                          $522.24
Pacer - Court Research                                                                  $331.50

Reproduction Expense [E101]                                                             $459.60
Reproduction/ Scan Copy                                                                 $278.50

                                                                                            $1,867.74
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                                                                                       Hours          Rate         Amount

  Asset Analysis/Recovery[B120]
 11/01/2019   MSP     AA        Telephone conference with L. Han, D. Perez, et al.      0.70       825.00          $577.50
                                re: FF Global Partnership issues.
 11/01/2019   MSP     AA        Email exchange with Richard M. Pachulski, et al. re:    0.10       825.00           $82.50
                                call to discuss FF Global Partnership program
                                issues.
 11/01/2019   MSP     AA        Email exchanges with Richard M. Pachulski, S.           3.10       825.00      $2,557.50
                                Uhland, Jeffrey W. Dulberg, L. Han, et al. re: FF
                                Global Partnership program (.20); review
                                memorandum and certain documents re: same
                                (2.90).
 11/01/2019   MSP     AA        Address investigation of claims against SLC and         2.20       825.00      $1,815.00
                                affiliates and draft description of claims (2.10);
                                email exchange with T. Li, et al. re: same (.10).
 11/07/2019   MSP     AA        Email exchange with Richard M. Pachulski, L. Han        0.30       825.00          $247.50
                                re: review of FF Global Partnership; review draft
                                summary of same.
 11/11/2019   JJK     AA        Emails Pagay on potential claims re partnership         0.10       850.00           $85.00
                                program analysis.
 11/11/2019   MSP     AA        Email exchange with M. Zhang, et al. re: defunct        0.50       825.00          $412.50
                                nominee arrangements (.10); review same.
 11/12/2019   JJK     AA        Emails Pagay on partnership transactions analysis       0.40       850.00          $340.00
                                and review war room documents on same.
 11/12/2019   JJK     AA        Review documents / research re: partnership             4.40       850.00      $3,740.00
                                program causes of action analysis.
 11/12/2019   JJK     AA        Review documents / research re: partnership             4.00       850.00      $3,400.00
                                program causes of action analysis.
 11/12/2019   MSP     AA        Email exchange with Jonathan Kim re: review of FF       0.10       825.00           $82.50
                                Global Partnership.
 11/13/2019   JJK     AA        Review documents / research re: partnership             5.40       850.00      $4,590.00
                                program causes of action analysis.
 11/13/2019   JJK     AA        Review documents / research re: partnership             4.00       850.00      $3,400.00
                                program causes of action analysis.
 11/13/2019   MSP     AA        Review and analysis of additional documentation for     2.00       825.00      $1,650.00
                                FF Global Partnership transaction review; email
                                exchange with T. Li, et al. re: same (.10).
 11/13/2019   MSP     AA        Email exchange with JJK, M. Zhang, et al. re:           0.10       825.00           $82.50
                                review of FF Global Partnership transactions.
 11/14/2019   JJK     AA        Review documents / research re: partnership             5.50       850.00      $4,675.00
                                program causes of action analysis.
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                                                                                       Hours          Rate         Amount
 11/14/2019   JJK     AA        Review documents / research re: partnership             5.40       850.00      $4,590.00
                                program causes of action analysis.
 11/15/2019   JJK     AA        Review documents / research re: partnership             5.90       850.00      $5,015.00
                                program causes of action analysis.
 11/15/2019   MSP     AA        Email exchange with Jonathan Kim re: review of FF       0.10       825.00           $82.50
                                Global Partnership documents.
 11/18/2019   JJK     AA        Review documents / research re: partnership             3.00       850.00      $2,550.00
                                program causes of action analysis and memo on
                                same.
 11/18/2019   JJK     AA        Review documents / research re: partnership             4.50       850.00      $3,825.00
                                program causes of action analysis and memo on
                                same.
 11/18/2019   MSP     AA        Review and analyze Jonathan Kim memorandum re:          0.90       825.00          $742.50
                                FFP Global Partnership transaction; email exchange
                                with Jonathan Kim re: status of documents
                                reviewed and same.
 11/19/2019   JJK     AA        Review documents / research re: partnership             0.50       850.00          $425.00
                                program causes of action analysis.
 11/19/2019   JJK     AA        Review documents / research re: partnership             1.70       850.00      $1,445.00
                                program causes of action analysis.
 11/19/2019   JJK     AA        Review documents / research re: causes of action        4.40       850.00      $3,740.00
                                analysis.
 11/20/2019   JJK     AA        Review documents / research re: partnership             3.00       850.00      $2,550.00
                                program causes of action analysis.
 11/23/2019   MSP     AA        Telephone conference with M. Zhang, J. Wang, J.         0.90       825.00          $742.50
                                Johnson, P. Coustar, Richard M. Pachulski, S.
                                Uhland, et al. re: Smart King articles and
                                restructuring agreement; email exchange with J.
                                Wang, et al. re: same (.10).

                                                                                       63.20                  $53,445.00

  Bankruptcy Litigation [L430]
 11/01/2019   MSP     BL        Telephone conference with T. Li, M. Zhang et al. re:    0.50       825.00          $412.50
                                SLC response to chapter 11 filing.
 11/01/2019   MSP     BL        Email exchange with Richard M. Pachulski, Jeffrey       0.30       825.00          $247.50
                                W. Dulberg, JO, D. Perez, T. Li, et al. re: response
                                to SLC pleading, SLC correspondence to U.S.
                                Trustee re: Committee formation.
 11/01/2019   MSP     BL        Review and revise draft of response to SLC              1.20       825.00          $990.00
                                statement re: chapter 11 case; email exchange with
                                James O?Neill, T. Li, et al.
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                                                                                       Hours          Rate         Amount
 11/01/2019   PEC     BL        Revise and review Notice of Agenda for 11/5/19          0.60       395.00          $237.00
                                Hearing (.3); Prepare for filing and service (.3)
 11/01/2019   RMP     BL        Prepare for and participate on conference call re       0.90      1345.00      $1,210.50
                                SLC pleading and follow-up calls re same.
 11/01/2019   JWD     BL        Emails re SLC response                                  0.10       850.00           $85.00
 11/01/2019   JWD     BL        Call with OMM re FF Global and review emails re         0.90       850.00          $765.00
                                same
 11/01/2019   JEO     BL        Review and finalize YT's Statement in Response to       0.80       895.00          $716.00
                                SLC Objection to Chapter 11 Filing
 11/01/2019   JEO     BL        Email to court re December hearing dates                0.20       895.00          $179.00
 11/01/2019   JEO     BL        Email to counsel team re hearing dates                  0.20       895.00          $179.00
 11/04/2019   JWD     BL        Review and respond to emails from counsel for           0.20       850.00          $170.00
                                creditor regarding extension and emails with special
                                counsel regarding same
 11/04/2019   JWD     BL        Review emails regarding state issue and respond to      0.20       850.00          $170.00
                                S Uhland regarding same
 11/04/2019   JWD     BL        Email to YT counsel D Martinez                          0.10       850.00           $85.00
 11/04/2019   JWD     BL        Call with D. Martinez and calls with B Dassa            0.30       850.00          $255.00
                                regarding stay motion
 11/04/2019   JWD     BL        Work on state court motion for stay implementation      1.60       850.00      $1,360.00
                                and follow up calls regarding same
 11/04/2019   JEO     BL        Emails with counsel team re call form IRS               0.30       895.00          $268.50
 11/04/2019   BDD     BL        Work on Motion re implementation of automatic           0.80       395.00          $316.00
                                stay re O'Film and confer with J. Dulberg re same
 11/05/2019   MSP     BL        Email exchange with A. Behlmann, et al. re:             0.20       825.00          $165.00
                                committee?s first request for production; review
                                same.
 11/05/2019   RMP     BL        Deal with SLC and relief from stay issues.              0.60      1345.00          $807.00
 11/05/2019   JWD     BL        Further work on SLC letter                              0.20       850.00          $170.00
 11/05/2019   JWD     BL        Review and revise SLC letter and various emails         0.30       850.00          $255.00
                                regarding same
 11/05/2019   JEO     BL        Review WIP report and update                            0.40       895.00          $358.00
 11/06/2019   JWD     BL        Review and respond to client team emails regarding      0.40       850.00          $340.00
                                same
 11/06/2019   JWD     BL        Review and respond to W. Pao emails regarding stay      0.60       850.00          $510.00
                                issues
 11/06/2019   JEO     BL        Calls and emails with PSZJ team re timing and           0.40       895.00          $358.00
                                issues
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                                                                                       Hours          Rate         Amount
 11/06/2019   JEO     BL        Finalize status report re termination of voting         2.50       895.00      $2,237.50
                                deadline
 11/07/2019   MSP     BL        Address logistics and process for complying with        2.90       825.00      $2,392.50
                                Committee document request, including especially
                                Faraday Future sensitive documents and analyze
                                same; email exchange with Richard M. Pachulski,
                                D. Perez, W. Pao, D. Tully, et al. re: same (.10).
 11/07/2019   MSP     BL        Review draft of motion to enforce the automatic         0.80       825.00          $660.00
                                stay; email exchange with James O'Neill and Jeffrey
                                W. Dulberg re: same (.10).
 11/07/2019   PEC     BL        Draft Notice of Agenda for 11/15/19 Hearing             0.80       395.00          $316.00
 11/07/2019   RMP     BL        Deal with BofA production issues and e-mails re         0.70      1345.00          $941.50
                                same.
 11/07/2019   JWD     BL        Emails regarding SLC ongoing stay violations            0.20       850.00          $170.00
 11/07/2019   JWD     BL        Call with C. Deng regarding SLC subpoena                0.10       850.00           $85.00
 11/07/2019   JWD     BL        Work on correspondence to Bank of America               1.50       850.00      $1,275.00
 11/07/2019   JWD     BL        Work on stay implement motion                           1.30       850.00      $1,105.00
 11/07/2019   JWD     BL        Calls with J ONeill and M Zhang regarding B of A        0.20       850.00          $170.00
                                issues
 11/07/2019   JWD     BL        Review Kobre Kim response emails and draft              0.70       850.00          $595.00
                                response to them regarding stay violations
 11/07/2019   JWD     BL        Review and revise draft motion                          0.40       850.00          $340.00
 11/07/2019   JEO     BL        Emails re SLC's subpoena to Bank of America             3.00       895.00      $2,685.00
                                (.9);drafting motion to enforce automatic stay (2.1)
 11/07/2019   JEO     BL        Email to Dave Buchbinder re status report               0.30       895.00          $268.50
 11/07/2019   JEO     BL        Continued work on motion to Enforce Automatic           0.90       895.00          $805.50
                                stay
 11/08/2019   MSP     BL        Address response to Committee document request          4.10       825.00      $3,382.50
                                including review of Faraday and Ocean View
                                documents compiled to date; email exchange with
                                W. Pao, D. Tully, L. Han, Y. Zhong, et al. re: same
                                (.10).
 11/08/2019   PEC     BL        Revise and review Notice of Agenda for 11/15/19         0.30       395.00          $118.50
                                Hearing
 11/08/2019   JWD     BL        Review and revise debtor letter to creditors            0.20       850.00          $170.00
 11/08/2019   JWD     BL        Work on SLC stay issue and calls with J ONeill and      0.50       850.00          $425.00
                                R Pachulski re same
 11/08/2019   JWD     BL        Draft email to SLC counsel re stay issue                0.20       850.00          $170.00
 11/08/2019   JWD     BL        Further work on SLC stay issues                         0.70       850.00          $595.00
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                                                                                       Hours          Rate         Amount
 11/08/2019   JWD     BL        Call with SLC counsel re third party stay issues        0.40       850.00          $340.00
 11/08/2019   JWD     BL        Call with R Pachulski re SLC call                       0.10       850.00           $85.00
 11/08/2019   JWD     BL        Follow up emails with client team and OMM re stay       0.20       850.00          $170.00
                                issue
 11/08/2019   JWD     BL        Further emails and call with OMM team re stay           0.40       850.00          $340.00
                                enforcement issues
 11/08/2019   JEO     BL        Continued work on issues related to Subpoena            3.00       895.00      $2,685.00
                                issued by SLC
 11/08/2019   JEO     BL        Email with Dave Buchbinder re withdrawal of             0.20       895.00          $179.00
                                Motion for Combined Hearing
 11/08/2019   JEO     BL        Email and call with JC Finizio re withdrawal of         0.20       895.00          $179.00
                                Motion for Combined Hearing
 11/08/2019   JEO     BL        Email with Kobre Kim firm re withdrawal of Motion       0.20       895.00          $179.00
                                for combined hearing
 11/08/2019   JEO     BL        Review Initial Debtor Interview Documents and           0.40       895.00          $358.00
                                forward to Malhar Pagay
 11/08/2019   JEO     BL        Emails with Jeff Dulberg re case status                 0.60       895.00          $537.00
 11/09/2019   JEO     BL        Review emails re open issues and case progress          0.60       895.00          $537.00
 11/10/2019   JEO     BL        Review emails from counsel team re open issues          0.80       895.00          $716.00
 11/11/2019   MSP     BL        Attend meeting with client, Richard M. Pachulski, S.    7.10       825.00      $5,857.50
                                Uhland, M. Zhang, R. Jia, C. Deng, et al. re:
                                Committee and creditor in-person meetings,
                                responding to Committee discovery, potential
                                amendment of disclosure statement, etc.; telephone
                                call with James O?Neill re: same (.30).
 11/11/2019   MSP     BL        Address pending matters for hearing, including          0.90       825.00          $742.50
                                employment application, bar date motion, etc.; email
                                exchange with Richard M. Pachulski et al. re: same.
 11/11/2019   RMP     BL        Review SLC/BofA status and review and respond to        0.40      1345.00          $538.00
                                e-mails re same.
 11/11/2019   JEO     BL        Review critical dates and draft agenda for 11/11        0.50       895.00          $447.50
                                meeting with clients
 11/11/2019   JEO     BL        Email with counsel team re 11/15 hearing                0.40       895.00          $358.00
 11/11/2019   JEO     BL        Review case deadlines                                   0.80       895.00          $716.00
 11/12/2019   PEC     BL        Revise and review Notice of Agenda for 11/15/19         0.40       395.00          $158.00
                                Hearing
 11/12/2019   RMP     BL        Prepare for and participate on counsel call and         1.20      1345.00      $1,614.00
                                review retention issues.
 11/12/2019   JWD     BL        Review SLC response email regarding motion to           0.20       850.00          $170.00
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                                                                                     Hours          Rate         Amount
                                dismiss and transfer venue and call with Jamie O?
                                Neill regarding same
 11/12/2019   JWD     BL        Emails with team regarding new SLC issues             0.20       850.00          $170.00
 11/12/2019   JWD     BL        Follow up emails regarding SLC issues                 0.30       850.00          $255.00
 11/12/2019   JWD     BL        Work on SLC discovery stay issues                     0.80       850.00          $680.00
 11/12/2019   JEO     BL        Emails with Kobre Kim re SLC information requests     0.70       895.00          $626.50
 11/12/2019   JEO     BL        Emails with co-counsel re YLC subpoena issues         1.60       895.00      $1,432.00
 11/13/2019   MSP     BL        Address Committee production issues including         3.10       825.00      $2,557.50
                                access to all documents provided to U.S. Trustee;
                                email exchange with A. Behlmann re: data room
                                access for same (.10).
 11/13/2019   MSP     BL        Review and analysis of SLC motion to                  0.80       825.00          $660.00
                                dismiss/transfer venue.
 11/13/2019   PEC     BL        Revise and review Notice of Agenda for 11/15/19       0.40       395.00          $158.00
                                Hearing
 11/13/2019   PEC     BL        Prepare Notice of Agenda for 11/15/19 Hearing for     0.30       395.00          $118.50
                                filing and service
 11/13/2019   PEC     BL        Review Hearing Binders for 11/15/19 Hearing           0.30       395.00          $118.50
 11/13/2019   PEC     BL        Draft Amended Notice of Agenda canceling              0.30       395.00          $118.50
                                11/15/19 Hearing
 11/13/2019   PEC     BL        Prepare Amended Notice of Agenda canceling            0.20       395.00           $79.00
                                11/15/19 Hearing for filing and service
 11/13/2019   PEC     BL        Prepare Certification of Counsel Regarding Revised    0.20       395.00           $79.00
                                Order Approving Bar Date Motion for filing and
                                service
 11/13/2019   RMP     BL        Telephone conference with Committee counsel re        1.20      1345.00      $1,614.00
                                status and follow-ups with team re same.
 11/13/2019   RMP     BL        Deal with BofA issues.                                0.30      1345.00          $403.50
 11/13/2019   RMP     BL        Begin review of SLC motion to dismiss.                0.60      1345.00          $807.00
 11/13/2019   JWD     BL        Review entered bar date and retention orders          0.20       850.00          $170.00
 11/13/2019   JWD     BL        Review motion to dismiss and draft notes for same,    1.20       850.00      $1,020.00
                                review case law regarding same
 11/13/2019   JWD     BL        Work on motion to quash subpoena and various          0.40       850.00          $340.00
                                emails regarding same
 11/13/2019   JWD     BL        Call with Steven Golden regarding motion to quash     0.20       850.00          $170.00
 11/13/2019   JWD     BL        Calls with J O'Neill and Will Pao regarding stay      0.20       850.00          $170.00
                                violations
 11/13/2019   JEO     BL        Finalize hearing agenda for 11/15 hearing             0.50       895.00          $447.50
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                                                                                        Hours          Rate         Amount
 11/13/2019   JEO     BL        Calls and emails regarding SLC subpoenas                 0.50       895.00          $447.50
 11/13/2019   JEO     BL        Review Motion to Dismiss Case filed by Shanghai          0.70       895.00          $626.50
                                Lan Cai Asset Management Co, Ltd
 11/13/2019   JEO     BL        Email with Dorsey re questions on 11/15 hearing          0.20       895.00          $179.00
 11/13/2019   JEO     BL        follow up call with Dorsey re status of 11/15 hearing    0.30       895.00          $268.50
 11/14/2019   MSP     BL        Office meeting with Richard M. Pachulski, Jeffrey        0.30       825.00          $247.50
                                W. Dulberg re: Motion to Dismiss.
 11/14/2019   MSP     BL        Telephone conference with S. Uhland, Jeffrey W.          1.20       825.00          $990.00
                                Dulberg, et al. re: Motion to Dismiss, Disclosure
                                Statement, Plan issues, bar date filings on 11/15.
 11/14/2019   MSP     BL        Address initial issues raised by SLC motion to           1.50       825.00      $1,237.50
                                dismiss or transfer venue; email exchange with
                                Jeffrey W. Dulberg, James O?Neill et al. re: same
                                (.10).
 11/14/2019   MSP     BL        Email exchange with W. Pao, et al. re: status of         0.10       825.00           $82.50
                                SLC subpoena, Bank of America, etc.
 11/14/2019   MSP     BL        Email exchange with R. Jia, D. Perez re: additional      1.80       825.00      $1,485.00
                                documents for Committee production; address
                                uploading and review of same.
 11/14/2019   RMP     BL        Prepare for and participate on team call re motion to    1.40      1345.00      $1,883.00
                                dismiss and continue analysis of motion.
 11/14/2019   JWD     BL        Meeting with PSZJ team regarding dismissal motion        0.50       850.00          $425.00
 11/14/2019   JWD     BL        Call to discuss motion to dismiss, review exhibits       1.30       850.00      $1,105.00
 11/14/2019   JWD     BL        Calls with S Golden regarding stay motion                0.30       850.00          $255.00
 11/14/2019   JWD     BL        Review and revise stay motion                            0.70       850.00          $595.00
 11/14/2019   JEO     BL        Review YLC Motion to Dismiss and email with              0.60       895.00          $537.00
                                PSZJ team re same
 11/14/2019   JEO     BL        Continued work on issues related to SLC Subpoena         0.70       895.00          $626.50
 11/14/2019   LAF     BL        Legal research re: Quashing a document subpoena.         1.30       425.00          $552.50
 11/14/2019   BDD     BL        Call with J. Dulberg re Shanghai Lan Cai Asset Mgt       0.10       395.00           $39.50
                                Co stay letter and email S. Golden re same
 11/14/2019   SWG     BL        Draft and edit motion to enforce stay and for            5.60       575.00      $3,220.00
                                protective order
 11/15/2019   JWD     BL        Review email to SLC and email to Will Pao                0.20       850.00          $170.00
                                regarding same
 11/15/2019   JWD     BL        Calls with J ONeill and W Pao regarding BoA              0.30       850.00          $255.00
                                production and follow up emails regarding same
 11/15/2019   JWD     BL        Work on SLC stay issue                                   0.70       850.00          $595.00
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                                                                                       Hours          Rate         Amount
 11/15/2019   JEO     BL        Emails re SLC Subpoena issue                            0.40       895.00          $358.00
 11/17/2019   MSP     BL        Email exchange with Richard M. Pachulski, et al. re:    0.10       825.00           $82.50
                                SLC motion to dismiss.
 11/18/2019   MSP     BL        Telephone call with James O?Neill re: SLC Motion        0.10       825.00           $82.50
                                to Dismiss.
 11/18/2019   MSP     BL        Telephone call with Richard M. Pachulski, S.            0.50       825.00          $412.50
                                Uhland, et al. re: SLC Motion to Dismiss.
 11/18/2019   MSP     BL        All hands call re: SLC Motion to Dismiss, etc.          0.80       825.00          $660.00
 11/18/2019   MSP     BL        Draft statement re: SLC motion to dismiss; email        0.60       825.00          $495.00
                                exchange with S. Uhland, et al. re: same (.10).
 11/18/2019   RMP     BL        Prepare for and participate on conference call with     2.20      1345.00      $2,959.00
                                professionals re SLC motion and then with client
                                team and outline issues thereafter.
 11/18/2019   RMP     BL        Review partnership program memo and conference          0.60      1345.00          $807.00
                                with J. Kim re same.
 11/18/2019   JWD     BL        Call with OMM and PSZJ team re dismissal motion         0.50       850.00          $425.00
 11/18/2019   JWD     BL        Call with client team re dismissal motion and other     0.80       850.00          $680.00
                                case issues
 11/18/2019   JWD     BL        Review and revise SLC statement                         0.20       850.00          $170.00
 11/18/2019   JEO     BL        Revisions and final edits on Motion for PRotective      1.00       895.00          $895.00
                                Order related to SLC Subpoena.
 11/18/2019   JEO     BL        Call to Bank of America re Motion for Protective        0.40       895.00          $358.00
                                Order and receive update from Bank
 11/18/2019   JEO     BL        Emails to counsel team re Bank of America will stop     0.40       895.00          $358.00
                                production in response to subpoenas
 11/18/2019   JEO     BL        Call with counsel group re pending matters              0.60       895.00          $537.00
 11/18/2019   JEO     BL        Call with clients re pending matters                    0.50       895.00          $447.50
 11/20/2019   MSP     BL        Telephone calls (3: .10; .30; .10) with M. Zhang, R.    0.50       825.00          $412.50
                                Jia re: Case action items, DIP financing, etc.
 11/20/2019   JWD     BL        Call with client re Committee update                    0.50       850.00          $425.00
 11/20/2019   JEO     BL        Call with counsel team after committee call             0.50       895.00          $447.50
 11/22/2019   MSP     BL        Email exchange with A. Behlmann, et al. re:             0.10       825.00           $82.50
                                Committee comments on Faraday NDA.
 11/24/2019   MSP     BL        Email exchange with S. Uhland, et al. re: latest        0.10       825.00           $82.50
                                version of Committee-Debtor NDA.
 11/25/2019   JWD     BL        Work on response to motion to dismiss and transfer      1.70       850.00      $1,445.00
                                venue
 11/26/2019   MSP     BL        Revise Committee-Debtor NDA; email exchange             0.60       825.00          $495.00
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                                                                                        Hours           Rate         Amount
                                with A. Behlmann, et al. re: same (.10).
 11/26/2019   RMP     BL        Various telephone conferences and e-mails re next         1.80      1345.00      $2,421.00
                                steps after meetings.
 11/26/2019   JWD     BL        Work on opposition response                               1.50       850.00      $1,275.00
 11/26/2019   TCF     BL        Various communications regarding motion to                0.20       695.00          $139.00
                                transfer venue / dismiss case.
 11/26/2019   TCF     BL        Review and analysis of documents and pleadings            2.00       695.00      $1,390.00
                                regarding motion to dismiss case / transfer venue.
 11/26/2019   TCF     BL        Various communications with team regarding                0.40       695.00          $278.00
                                motion to dismiss case / transfer venue.
 11/27/2019   MSP     BL        Email exchange with D. Perez, et al. re: NDA.             0.10       825.00           $82.50
 11/27/2019   RMP     BL        Review e-mails from Committee counsel and                 0.40      1345.00          $538.00
                                analyze discovery requests.
 11/27/2019   JWD     BL        Work on response to SLC re PTH issues                     1.30       850.00      $1,105.00
 11/27/2019   JWD     BL        Work on dismissal opp                                     0.80       850.00          $680.00
 11/27/2019   JEO     BL        Research precedent on dismissal motion and forward        1.10       895.00          $984.50
                                briefing to Tavi Flanagan
 11/27/2019   JEO     BL        Emails with committee and with counsel for SLC re         0.50       895.00          $447.50
                                extension of time to respond to dismissal motion.
 11/29/2019   JWD     BL        Work on response to motion to dismiss                     2.00       850.00      $1,700.00
 11/29/2019   JEO     BL        Review emails re 341 prep                                 0.60       895.00          $537.00
 11/29/2019   TCF     BL        Research and analysis regarding motion to dismiss         4.80       695.00      $3,336.00
                                chapter 11 case and transfer venue.
 11/29/2019   TCF     BL        Continued research and analysis regarding motion to       3.40       695.00      $2,363.00
                                dismiss chapter 11 case and transfer venue; drafting
                                legal arguments in opposition to motion.
 11/30/2019   JWD     BL        Work on SLC response issues and calls re same             0.50       850.00          $425.00
 11/30/2019   TCF     BL        Research and analysis regarding motion to dismiss         6.40       695.00      $4,448.00
                                chapter 11 case and transfer venue; drafting of legal
                                arguments in opposition to motion.
 11/30/2019   TCF     BL        Continued research and drafting of legal arguments        4.20       695.00      $2,919.00
                                in opposition to motion to dismiss chapter 11 case
                                and transfer venue.

                                                                                        133.60                 $112,625.50

  Case Administration [B110]
 11/01/2019   MSP     CA        Email exchange with S. Uhland, R. Jia, T. Li, et al.      0.10       825.00           $82.50
                                re: Committee and creditor meetings.
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                                                                                        Hours          Rate         Amount
 11/01/2019   PEC     CA        Update critical dates memo                               0.30       395.00          $118.50
 11/01/2019   PEC     CA        Review daily correspondence and pleadings and            0.10       395.00           $39.50
                                forward to the appropriate parties
 11/01/2019   PEC     CA        Create Epiq Service Labels                               0.10       395.00           $39.50
 11/01/2019   JWD     CA        Work on scheduling and issues for call re FF issues      0.40       850.00          $340.00
                                with OMM
 11/02/2019   MSP     CA        Email exchange with A. Behlmann, et al. re:              0.10       825.00           $82.50
                                confirmation of Committee meetings at Faraday.
 11/03/2019   MSP     CA        Email exchange with M. Zhang, S. Uhland, T. Li, et       0.80       825.00          $660.00
                                al. re: case and plan timeline, creditor letter and
                                meeting, ordinary course payments, etc.
 11/03/2019   JWD     CA        Review and revise timetable for client                   0.10       850.00           $85.00
 11/04/2019   MSP     CA        Email exchange with James O?Neill, M. Zhang, et          0.10       825.00           $82.50
                                al. re: Chapter 11 status report.
 11/04/2019   MSP     CA        Revise and finalize draft of chapter 11 status report    2.90       825.00      $2,392.50
                                (2.80); email exchange with S. Uhland, D. Perez et
                                al. re: same (.10).
 11/04/2019   MSP     CA        Review and revise case work-in-process and action        1.20       825.00          $990.00
                                items tracking (1.10); email exchange with JO et al.
                                re: same (.10).
 11/04/2019   PEC     CA        Draft Certification of Counsel and proposed Order        0.40       395.00          $158.00
                                Scheduling Omnibus Hearing Dates (.2); Prepare for
                                filing and service (.2)
 11/04/2019   PEC     CA        Update critical dates memo                               0.10       395.00           $39.50
 11/04/2019   PEC     CA        Review daily correspondence and pleadings and            0.10       395.00           $39.50
                                forward to the appropriate parties
 11/04/2019   RMP     CA        Review draft status report and telephone conferences     0.60      1345.00          $807.00
                                re next steps.
 11/04/2019   JWD     CA        Work on case calendar revisions for client               0.20       850.00          $170.00
 11/04/2019   JWD     CA        Review and revise status report                          0.20       850.00          $170.00
 11/04/2019   JEO     CA        Draft Status Report                                      2.90       895.00      $2,595.50
 11/05/2019   MSP     CA        Telephone calls (3) M. Zhang re: Initial Debtor          0.70       825.00          $577.50
                                Interview logistics, other case issues.
 11/05/2019   MSP     CA        Telephone call with Richard M. Pachulski, S.             0.90       825.00          $742.50
                                Uhland, et al. re: pending action items, tasks.
 11/05/2019   MSP     CA        All hands call re: work-in-process, open case issues,    1.00       825.00          $825.00
                                etc.
 11/05/2019   MSP     CA        Revise case work-in-process and action items (.70);      0.80       825.00          $660.00
                                email exchange with James O?Neill, M. Zhang, et
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                                                                                        Hours          Rate         Amount
                                al. re: same (.10).
 11/05/2019   MSP     CA        Revise chapter 11 status report per comments (2.0);      2.10       825.00      $1,732.50
                                email exchange with S. Uhland, D. Perez, Jeffrey W.
                                Dulberg, M. Zhang, et al. re: same (.10).
 11/05/2019   PEC     CA        Review daily correspondence and pleadings and            0.10       395.00           $39.50
                                forward to the appropriate parties
 11/05/2019   PEC     CA        Update critical dates memo                               0.30       395.00          $118.50
 11/05/2019   JWD     CA        Status call with OMM team                                0.80       850.00          $680.00
 11/05/2019   JWD     CA        Call with client team and O?Melveny team                 1.10       850.00          $935.00
                                regarding updates
 11/06/2019   PEC     CA        Review daily correspondence and pleadings and            0.10       395.00           $39.50
                                forward to the appropriate parties
 11/06/2019   PEC     CA        Update critical dates memo                               0.10       395.00           $39.50
 11/06/2019   JWD     CA        Review and revise new status report                      0.20       850.00          $170.00
 11/06/2019   BDD     CA        Email J. Dulberg re ch. 11 petition                      0.10       395.00           $39.50
 11/07/2019   MSP     CA        Email exchange with R. Jia re: status of open case       0.10       825.00           $82.50
                                items on client list.
 11/07/2019   PEC     CA        Draft Certification of Counsel and proposed Order        0.40       395.00          $158.00
                                Scheduling Omnibus Hearing Dates (.2); Prepare for
                                filing and service (.2)
 11/07/2019   PEC     CA        Draft Notice of Withdrawal of Motion for Combined        0.20       395.00           $79.00
                                Hearing on Disclosure Statement and PLan
 11/07/2019   PEC     CA        Review daily correspondence and pleadings and            0.10       395.00           $39.50
                                forward to the appropriate parties
 11/07/2019   PEC     CA        Update critical dates memo                               0.30       395.00          $118.50
 11/07/2019   BDD     CA        Email J. Dulberg re conflict parties                     0.10       395.00           $39.50
 11/07/2019   BDD     CA        Email G. Brandt re conflicts                             0.10       395.00           $39.50
 11/08/2019   MSP     CA        Email exchange with D. Perez, et al. re: case            0.10       825.00           $82.50
                                website update.
 11/08/2019   PEC     CA        Review daily correspondence and pleadings and            0.10       395.00           $39.50
                                forward to the appropriate parties
 11/08/2019   PEC     CA        Update critical dates memo                               0.30       395.00          $118.50
 11/08/2019   PEC     CA        Draft Notice of Withdrawal of Motion for Combined        0.20       395.00           $79.00
                                Disclosure Statement Hearing (.1); Prepare for filing
                                (.1)
 11/10/2019   MSP     CA        Email exchange with M. Zhang, S. Uhland, T. Li, et       1.40       825.00      $1,155.00
                                al. re: agenda for client meeting.
 11/10/2019   JWD     CA        Work on issues for agenda for client meeting             0.20       850.00          $170.00
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                                                                                        Hours          Rate         Amount
 11/11/2019   PEC     CA        Review daily correspondence and pleadings and            0.10       395.00           $39.50
                                forward to the appropriate parties
 11/11/2019   PEC     CA        Update critical dates memo                               0.30       395.00          $118.50
 11/12/2019   PEC     CA        Update critical dates memo                               0.30       395.00          $118.50
 11/12/2019   PEC     CA        Review daily correspondence and pleadings and            0.10       395.00           $39.50
                                forward to the appropriate parties
 11/12/2019   PEC     CA        Draft Certificate of Counsel Regarding Debtor's Bar      0.40       395.00          $158.00
                                Date Motion (.2); Prepare for filing and service (.2)
 11/12/2019   JWD     CA        Review status report for hearing                         0.10       850.00           $85.00
 11/13/2019   MSP     CA        Telephone call with James O?Neill re: immediate          0.10       825.00           $82.50
                                case administrative matters.
 11/13/2019   PEC     CA        Update critical dates memo                               0.30       395.00          $118.50
 11/13/2019   PEC     CA        Review daily correspondence and pleadings and            0.10       395.00           $39.50
                                forward to the appropriate parties
 11/13/2019   BDD     CA        Update contact list and email PSZJ team re same          0.80       395.00          $316.00
 11/13/2019   BDD     CA        Email J. Dulberg re updated contact parties              0.10       395.00           $39.50
 11/13/2019   BDD     CA        Revisions to contact list per J. Dulberg and M.          0.20       395.00           $79.00
                                Pagay comments
 11/14/2019   MSP     CA        Revise work-in-process and action items for client       1.10       825.00          $907.50
                                and professional teams; email exchange with
                                Richard M. Pachulski, et al. re: same (.10).
 11/14/2019   PEC     CA        Update critical dates memo                               0.30       395.00          $118.50
 11/14/2019   PEC     CA        Review daily correspondence and pleadings and            0.10       395.00           $39.50
                                forward to the appropriate parties
 11/14/2019   PEC     CA        Draft Initial Critical Dates Memo                        2.10       395.00          $829.50
 11/15/2019   PEC     CA        Review daily correspondence and pleadings and            0.10       395.00           $39.50
                                forward to the appropriate parties
 11/15/2019   PEC     CA        Update critical dates memo                               0.30       395.00          $118.50
 11/18/2019   PEC     CA        Update critical dates memo                               0.50       395.00          $197.50
 11/18/2019   PEC     CA        Review daily correspondence and pleadings and            0.10       395.00           $39.50
                                forward to the appropriate parties
 11/19/2019   PEC     CA        Review daily correspondence and pleadings and            0.10       395.00           $39.50
                                forward to the appropriate parties
 11/19/2019   PEC     CA        Update critical dates memo                               0.30       395.00          $118.50
 11/20/2019   PEC     CA        Review daily correspondence and pleadings and            0.10       395.00           $39.50
                                forward to the appropriate parties
 11/20/2019   PEC     CA        Update critical dates memo                               0.30       395.00          $118.50
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                                                                                        Hours          Rate         Amount
 11/21/2019   PEC     CA        Review daily correspondence and pleadings and            0.10       395.00           $39.50
                                forward to the appropriate parties
 11/21/2019   PEC     CA        Update critical dates memo                               0.30       395.00          $118.50
 11/22/2019   PEC     CA        Review daily correspondence and pleadings and            0.10       395.00           $39.50
                                forward to the appropriate parties
 11/22/2019   PEC     CA        Update critical dates memo                               0.30       395.00          $118.50
 11/25/2019   PEC     CA        Review daily correspondence and pleadings and            0.10       395.00           $39.50
                                forward to the appropriate parties
 11/25/2019   PEC     CA        Update critical dates memo                               0.30       395.00          $118.50
 11/25/2019   JWD     CA        Review email from PBGC counsel re inquiry and            0.10       850.00           $85.00
                                emails re same
 11/26/2019   MSP     CA        Email exchange with T. Li, et al. re: Faraday            0.10       825.00           $82.50
                                documents to data room.
 11/26/2019   MSP     CA        Update client and professionals action items.            0.90       825.00          $742.50
 11/26/2019   PEC     CA        Review daily correspondence and pleadings and            0.10       395.00           $39.50
                                forward to the appropriate parties
 11/26/2019   PEC     CA        Update critical dates memo                               0.30       395.00          $118.50
 11/26/2019   JWD     CA        Work on client meeting agenda                            0.20       850.00          $170.00
 11/27/2019   MSP     CA        All hands call re: work-in-process, open action          1.00       825.00          $825.00
                                items, etc.
 11/27/2019   PEC     CA        Review daily correspondence and pleadings and            0.10       395.00           $39.50
                                forward to the appropriate parties
 11/27/2019   PEC     CA        Update critical dates memo                               0.30       395.00          $118.50
 11/27/2019   JWD     CA        Review case agenda list and emails re same               0.20       850.00          $170.00
 11/27/2019   JWD     CA        Call with client team re case agenda items               1.10       850.00          $935.00
 11/27/2019   TCF     CA        Review and research and analysis regarding motion        6.20       695.00      $4,309.00
                                to dismiss chapter 11 case and transfer venue.

                                                                                        42.70                  $29,641.00

  Claims Admin/Objections[B310]
 11/04/2019   MSP     CO        Email exchange with W. Pao, et al. re: potential tax     0.10       825.00           $82.50
                                claims.
 11/05/2019   MSP     CO        Telephone conference with S. Persichilli, D. Perez et    0.50       825.00          $412.50
                                al. re: bar date noticing.
 11/05/2019   MSP     CO        Email exchange with D Perez, et al. re: committee        0.10       825.00           $82.50
                                questions re: bar date motion.
 11/11/2019   MSP     CO        Email exchange with A. Behlmann, et al. re:              0.10       825.00           $82.50
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                                                                                      Hours          Rate         Amount
                                extension of time to respond to bar date motion.
 11/11/2019   JWD     CO        Review and revise claims bar date order and work       0.70       850.00          $595.00
                                with team to complete details re China issues
 11/11/2019   JWD     CO        Review Committee correspondence and bar date           0.20       850.00          $170.00
                                issues
 11/11/2019   JEO     CO        Review and revise par date order and related notice    0.90       895.00          $805.50
 11/11/2019   JEO     CO        Further revisions on bar date order                    0.50       895.00          $447.50
 11/12/2019   MSP     CO        Review changes to proposed bar date order and          1.90       825.00      $1,567.50
                                address Committee comments re: creditor body and
                                bar date order modifications; email exchange with
                                James O?Neill, et al. re: same (.10).
 11/12/2019   JEO     CO        Work on proof of claim and bar date materials          1.90       895.00      $1,700.50
 11/12/2019   JEO     CO        Email to UST Dave Buchbinder re bar date issues        0.40       895.00          $358.00
                                and revised order
 11/12/2019   JEO     CO        Work on bar date notice for Chinese summary            0.40       895.00          $358.00
 11/13/2019   MSP     CO        Address bar date matters in response to Committee      2.10       825.00      $1,732.50
                                requests; email exchange with D. Perez, M. Zhang,
                                et al. re: same (.20).
 11/13/2019   JWD     CO        Respond to D. Perez email regarding bar date           0.10       850.00           $85.00
                                service
 11/13/2019   JEO     CO        Finalize and file revised bar date order under         0.80       895.00          $716.00
                                certification of counsel.
 11/13/2019   JEO     CO        Email to committee re bar date materials               0.20       895.00          $179.00
 11/14/2019   MSP     CO        Email exchange with C. Murray, et al. re: Bar date     1.10       825.00          $907.50
                                summary, publication notice, website update, etc.
                                (.20); address Committee position and issues re:
                                cost of their suggestions.
 11/15/2019   MSP     CO        Address bar date notice summary requested by           1.90       825.00      $1,567.50
                                Committee and review and revise same; email
                                exchange with Jeffrey W. Dulberg, S. Uhland, et al.
                                re: same (.10).
 11/15/2019   MSP     CO        Review and address issues re: bar date notice,         3.80       825.00      $3,135.00
                                summary, disclosure statement summary, disclosure
                                statement and related documents for filing and
                                service; email exchange with James O?Neill, C.
                                Murray, L. Sun, et al. re: same (.20).
 11/15/2019   JWD     CO        Review bar date                                        0.30       850.00          $255.00
 11/15/2019   JEO     CO        Finalize Bar Date Notice                               1.00       895.00          $895.00
 11/17/2019   MSP     CO        Email exchange with D. Perez, et al. re: Committee     0.10       825.00           $82.50
                                position re: publication and dissemination of bar
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                                                                                      Hours          Rate         Amount
                                date notice.
 11/17/2019   MSP     CO        Email exchange with S. He, D. Perez et al. re:         0.20       825.00          $165.00
                                translation of bar date summary.
 11/18/2019   MSP     CO        Address bar date notice issues raised by Committee;    2.90       825.00      $2,392.50
                                email exchanges with A. Behlmann, James O?Neill,
                                et al. re: same (.10).
 11/18/2019   JEO     CO        Research status of publication of bar date             0.40       895.00          $358.00
 11/18/2019   JEO     CO        Circulate Chinese Bar Date Summary to the              0.40       895.00          $358.00
                                Committee and receive comments
 11/19/2019   JWD     CO        Review and respond to emails re claims bar             0.20       850.00          $170.00
 11/19/2019   JEO     CO        Review bar date publication costs                      0.30       895.00          $268.50
 11/20/2019   MSP     CO        Address bar date notice issues in response to          1.80       825.00      $1,485.00
                                Committee comments; email exchange with James
                                O?Neill, et al. re: same (.10).
 11/27/2019   MSP     CO        Address bar date issues; email exchange with James     0.90       825.00          $742.50
                                O?Neill, et al. re: same (.10).

                                                                                      26.20                  $22,156.50

  Compensation Prof. [B160]
 11/13/2019   BDD     CP        Review and edit invoices in advance of future fee      1.80       395.00          $711.00
                                application
 11/14/2019   BDD     CP        Confer with R. Pachulski, J. Dulberg and accounting    1.10       395.00          $434.50
                                re invoices re future fee applications and continue
                                reviewing/editing invoices re same
 11/20/2019   JWD     CP        Work on issue re Epiq payment                          0.10       850.00           $85.00

                                                                                       3.00                   $1,230.50

  Executory Contracts [B185]
 11/23/2019   MSP     EC        Review consulting agreements; email exchange with      1.80       825.00      $1,485.00
                                M. Zhang, J. Zhang, C. Deng, et al. re: same.

                                                                                       1.80                   $1,485.00

  Financial Filings [B110]
 11/01/2019   PEC     FF        Prepare Initial Operating Report for filing and        0.30       395.00          $118.50
                                service
 11/04/2019   MSP     FF        Review U.S. Trustee follow-up questions re: Initial    0.80       825.00          $660.00
                                Operating Report; email exchange with James
                                O'Neill, Jeffrey W. Dulberg, et al. re: same.
 11/04/2019   JWD     FF        Emails regarding UST compliance                        0.20       850.00          $170.00
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 11/04/2019   JEO     FF        Review materials for initial debtor interview           0.70       895.00          $626.50
 11/05/2019   BDD     FF        Review scheduled claim of Chongqing Strategic           0.10       395.00           $39.50
                                Emerging Industry Leeco Cloud Special Equity
                                Investment Fund and email J. Dulberg re same
 11/06/2019   MSP     FF        Email exchange with M. Zhang, J. Wang, R. Jia, L.       0.20       825.00          $165.00
                                Han, et al. re: need to prepare FRBP 2015.3 reports,
                                call to discuss.
 11/07/2019   MSP     FF        Telephone conference with R. Jia, M. Zhang, L.          0.70       825.00          $577.50
                                Han, James O?Neill, D. Perez re: FRBP 2015.3
                                reports, response to Committee discovery, etc.
 11/07/2019   MSP     FF        Email exchange with R. Jia, et al. re: sample FRBP      0.10       825.00           $82.50
                                2015.3 report.
 11/07/2019   MSP     FF        Email exchange with James O?Neill re: documents         0.10       825.00           $82.50
                                submitted to the US Trustee.
 11/07/2019   JEO     FF        Email to RK to follow up on question from UST on        0.30       895.00          $268.50
                                initial operating report
 11/07/2019   JEO     FF        Call with clients re 2015.3 reporting                   0.50       895.00          $447.50
 11/12/2019   MSP     FF        Analysis of possible schedule amendments; email         2.50       825.00      $2,062.50
                                exchange with S. Uhland, et al. re: same (.10).
 11/15/2019   MSP     FF        Email exchange with James O?Neill re: additional        0.10       825.00           $82.50
                                sample FRBP 2015.3 reports.
 11/16/2019   MSP     FF        Email exchange with L. Sun, et al. re: correction to    0.10       825.00           $82.50
                                schedule asset amount.
 11/18/2019   BDD     FF        Confer with M. Pagay re amended schedules               0.10       395.00           $39.50
 11/20/2019   JEO     FF        Review and revise draft MOR                             1.10       895.00          $984.50
 11/24/2019   MSP     FF        Email exchange with R. Jia, et al. re: reminder re:     0.10       825.00           $82.50
                                FRBP 2015.3 reports.
 11/26/2019   MSP     FF        Email exchange with James O'Neill, et al. re: US        0.10       825.00           $82.50
                                Trustee requests for further information.
 11/26/2019   MSP     FF        Address US Trustee and Committee document               4.80       825.00      $3,960.00
                                request issues; email exchange with J. Wang, M.
                                Zhang, et al. re: same (.10).
 11/27/2019   MSP     FF        Email exchange with R. Jia, et al. re: draft monthly    0.10       825.00           $82.50
                                operating report.
 11/27/2019   JEO     FF        Review MOR materials and email to RK re same            0.40       895.00          $358.00

                                                                                       13.40                  $11,055.00

  Financing [B230]
 11/04/2019   MSP     FN        Email exchange with D. Perez, et al. re: proposed       0.10       825.00           $82.50
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                                                                                       Hours          Rate         Amount
                                DIP term sheet.
 11/05/2019   JWD     FN        Review new DIP term sheet and notes regarding           0.40       850.00          $340.00
                                same
 11/06/2019   JWD     FN        Work on DIP financing pleadings                         2.00       850.00      $1,700.00
 11/07/2019   PJJ     FN        Draft DIP motion.                                       1.20       395.00          $474.00
 11/07/2019   JWD     FN        Work on DIP financing pleadings                         0.80       850.00          $680.00
 11/11/2019   MSP     FN        Email exchange with A. Behlmann, et al. re: DIP         0.10       825.00           $82.50
                                term sheet, etc.
 11/11/2019   JWD     FN        Work on DIP pleadings                                   1.50       850.00      $1,275.00
 11/13/2019   RMP     FN        Review term sheet re DIP and telephone conference       0.60      1345.00          $807.00
                                with S. Uhland and conference with J. Dulberg re
                                same.
 11/15/2019   MSP     FN        Email exchange with A. Behlmann, et al. re:             0.10       825.00           $82.50
                                Committee markup of DIP term sheet.
 11/15/2019   JWD     FN        Review Dip term sheet mark up                           0.80       850.00          $680.00
 11/18/2019   JWD     FN        Review DIP issues                                       0.70       850.00          $595.00
 11/19/2019   MSP     FN        Address DIP issues raised by Committee, etc.; email     2.60       825.00      $2,145.00
                                exchange with A. Behlmann, S. Uhland, Richard M.
                                Pachulski, Jeffrey W. Dulberg, et al. re: same.
 11/19/2019   RMP     FN        Telephone conferences with Committee counsel re         0.80      1345.00      $1,076.00
                                DIP and upcoming meetings and follow-ups with S.
                                Uhland re same.
 11/19/2019   JWD     FN        Work on issues re DIP approval and emails re same       0.20       850.00          $170.00
 11/19/2019   JWD     FN        Work on draft DIP pleadings and review new term         0.60       850.00          $510.00
                                sheet
 11/19/2019   JEO     FN        Review issues re DIP                                    0.40       895.00          $358.00
 11/20/2019   MSP     FN        Telephone call with Jeffrey W. Dulberg re: DIP          0.10       825.00           $82.50
                                financing.
 11/20/2019   MSP     FN        Telephone conference with Committee counsel,            1.10       825.00          $907.50
                                Richard M. Pachulski, S. Uhland, et al. re: DIP
                                financing, etc.
 11/20/2019   MSP     FN        Telephone conferences (2) with client team re: DIP      1.20       825.00          $990.00
                                financing and other case issues.
 11/20/2019   MSP     FN        Address DIP financing issues and revise term sheet;     2.50       825.00      $2,062.50
                                email exchange with James O?Neill, T. Li, et al. re:
                                same (.20).
 11/20/2019   JWD     FN        Work on DIP pleading                                    0.60       850.00          $510.00
 11/20/2019   JWD     FN        Review issues for DIP                                   0.60       850.00          $510.00
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                                                                                       Hours          Rate         Amount
 11/21/2019   MSP     FN        Email exchange with Richard M. Pachulski, S.            0.10       825.00           $82.50
                                Uhland, et al. re: status of DIP financing
                                discussions, etc.
 11/27/2019   JWD     FN        Review Committee email re financing and email           0.30       850.00          $255.00
                                with client re same

                                                                                       19.40                  $16,457.50

  General Creditors Comm. [B150]
 11/05/2019   JWD     GC        Review committee document request and                   0.40       850.00          $340.00
                                correspondence regarding same
 11/06/2019   MSP     GC        Telephone conference with Committee counsel re:         1.20       825.00          $990.00
                                plan voting, bar date notice, DIP financing, etc.
 11/06/2019   MSP     GC        Email exchange with S. Uhland, et al. re: points to     0.10       825.00           $82.50
                                be raised with Committee.
 11/06/2019   MSP     GC        Email exchange with M. Zhang, et al. re: summary        0.10       825.00           $82.50
                                of call with Committee professionals.
 11/06/2019   MSP     GC        Telephone call with D. Perez re: committee call,        0.10       825.00           $82.50
                                due diligence, data room, etc.
 11/06/2019   MSP     GC        Email exchange with Richard M. Pachulski, Jeffrey       0.10       825.00           $82.50
                                W. Dulberg, et al. re: handling of Committee
                                production request.
 11/06/2019   RMP     GC        Various telephone conferences re Committee              0.40      1345.00          $538.00
                                document requests.
 11/06/2019   JWD     GC        Call with PSZJ and OMM teams regarding                  0.20       850.00          $170.00
                                Committee
 11/06/2019   JWD     GC        Attend call with Committee                              1.20       850.00      $1,020.00
 11/06/2019   JWD     GC        Review and respond to various emails re Committee       0.30       850.00          $255.00
                                requests
 11/06/2019   JWD     GC        Review Committee NDA issue                              0.20       850.00          $170.00
 11/06/2019   JEO     GC        Review initial request for information the committee    0.30       895.00          $268.50
 11/06/2019   JEO     GC        Participate in call with the Committee on open          1.00       895.00          $895.00
                                issues.
 11/07/2019   MSP     GC        Email exchange with D. Perez, M. Zhang, et al. re:      0.10       825.00           $82.50
                                summary of call with Committee.
 11/07/2019   MSP     GC        Email exchange with A. Behlmann, et al. re:             0.10       825.00           $82.50
                                non-disclosure agreement, etc.
 11/07/2019   MSP     GC        Attention to arrangements for all-creditor and          1.90       825.00      $1,567.50
                                Committee meetings; email exchange with L. Sun,
                                S. Uhland, et al. re: same (.20).
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 11/07/2019   MSP     GC        Email exchange with M. Zhang, Richard M.                0.10       825.00           $82.50
                                Pachulski, S. Uhland re: client meeting agenda and
                                timing.
 11/07/2019   MSP     GC        Email exchange with D. Perez re: status of              0.10       825.00           $82.50
                                Committee NDA.
 11/07/2019   MSP     GC        Review and revise communication to creditors re:        0.50       825.00          $412.50
                                all-creditor meeting; email exchange with T. Li, L.
                                Sun, et al. re: same (.10).
 11/07/2019   RMP     GC        Review document request issues and conference           0.60      1345.00          $807.00
                                with J. Dulberg and M. Pagay re same.
 11/07/2019   JWD     GC        Review Committee call summary from OMM                  0.10       850.00           $85.00
 11/07/2019   JWD     GC        Review Committee email correspondence                   0.10       850.00           $85.00
 11/07/2019   JWD     GC        Review Committee call summary                           0.10       850.00           $85.00
 11/08/2019   JWD     GC        Review new Committee counsel correspondence             0.10       850.00           $85.00
 11/09/2019   MSP     GC        Review and revise committee non-disclosure              2.20       825.00      $1,815.00
                                agreement; email exchange with M. Zhang, et al. re:
                                same (.10).
 11/10/2019   MSP     GC        Finalize Committee non-disclosure agreement; email      1.40       825.00      $1,155.00
                                exchange with S. Uhland, et al. re: same.
 11/10/2019   JWD     GC        Review Committee correspondence                         0.10       850.00           $85.00
 11/11/2019   JWD     GC        Review Committee counsel email                          0.10       850.00           $85.00
 11/12/2019   MSP     GC        Telephone conference with Richard M. Pachulski, S.      0.90       825.00          $742.50
                                Uhland, et al. re: Counsel action items, preparation
                                for call with Committee.
 11/12/2019   MSP     GC        Email exchange with A. Behlmann, et al. re: status      0.10       825.00           $82.50
                                of Committee-Debtor NDA.
 11/12/2019   MSP     GC        Address Committee document production matters           2.70       825.00      $2,227.50
                                including compiling and reviewing new documents
                                for data room; email exchange with S. Uhland, D.
                                Perez, et al. re: same (.10).
 11/12/2019   MSP     GC        Address status of non-disclosure agreements; email      1.80       825.00      $1,485.00
                                exchange with R. Jia, et al. re: same (.10).
 11/12/2019   JWD     GC        Call with OMM team regarding various Committee          0.80       850.00          $680.00
                                and SLC issues
 11/13/2019   JWD     GC        Review and respond to emails regarding Committee        0.10       850.00           $85.00
                                call
 11/13/2019   JWD     GC        Attend call with Committee                              0.50       850.00          $425.00
 11/13/2019   JEO     GC        Participate on committee call                           0.40       895.00          $358.00
 11/14/2019   RMP     GC        Review Committee DD requests and issues and             0.60      1345.00          $807.00
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                                                                                          Hours          Rate         Amount
                                e-mails re same.
 11/17/2019   MSP     GC        Email exchange with S. Uhland, Richard M.                  1.00       825.00          $825.00
                                Pachulski, A. Behlmann, et al. re: meeting with
                                Committee professionals (.10); coordinate meeting
                                logistics: re: same.
 11/18/2019   MSP     GC        Email exchange with Richard M. Pachulski, S.               0.20       825.00          $165.00
                                Uhland, M. Zhang, et al. re: meeting agenda,
                                Committee mark-up of DIP term sheet, etc.
 11/19/2019   MSP     GC        Prepare for Committee and creditor meeting                 2.70       825.00      $2,227.50
                                presentations; email exchange with M. Zhang, et al.
                                re: same.
 11/19/2019   RMP     GC        Prepare for upcoming Committee call and 11/22 and          0.90      1345.00      $1,210.50
                                11/25 meetings.
 11/19/2019   JWD     GC        Review and respond to emails re Committee meeting          0.10       850.00           $85.00
 11/19/2019   JWD     GC        Review and revise agenda                                   0.20       850.00          $170.00
 11/19/2019   JWD     GC        Review and respond re issues for GUC meeting.              0.80       850.00          $680.00
 11/20/2019   MSP     GC        Email exchanges with S. Uhland, Jeffrey W.                 1.00       825.00          $825.00
                                Dulberg, T. Li, James O'Neill, et al. re: status of and
                                preparation for Committee meeting/call.
 11/20/2019   MSP     GC        Address materials for meeting preparation                  2.90       825.00      $2,392.50
                                (Committee and creditors); email exchange with M.
                                Zhang, S. Uhland, et al. re: same (.10).
 11/20/2019   MSP     GC        Email exchange with S. Uhland, et al. re:                  0.10       825.00           $82.50
                                Committee-debtor NDA.
 11/20/2019   JWD     GC        Attend to various issues before Committee call and         0.50       850.00          $425.00
                                whether it would occur (.2) including call R
                                Pachulski re same (.3)
 11/20/2019   JWD     GC        Attend call with Committee professionals                   1.10       850.00          $935.00
 11/20/2019   JWD     GC        Follow up call with M Pagay re Committee call              0.10       850.00           $85.00
 11/20/2019   JWD     GC        Attend to issues re Committee meeting and emails re        0.20       850.00          $170.00
                                same
 11/20/2019   JWD     GC        Follow up work on agenda and emails re same re             0.20       850.00          $170.00
                                Committee meeting
 11/20/2019   JWD     GC        Call with client team re Committee issues                  0.60       850.00          $510.00
 11/20/2019   JWD     GC        Call with M Pagay re Committee issues                      0.20       850.00          $170.00
 11/21/2019   MSP     GC        Address non-disclosure agreement issues with both          2.80       825.00      $2,310.00
                                Committee and Faraday, review current state of
                                drafts of same and revise Committee-NDA
                                agreement; email exchange with S. Uhland, A.
                                Behlmann, et al. re: same (.10).
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 11/21/2019   MSP     GC        Review presentations for both Committee and              1.90       825.00      $1,567.50
                                creditors; email exchange with T. Li, et al. re: same
                                (.10).
 11/21/2019   JWD     GC        Review comments to NDA and emails re same                0.40       850.00          $340.00
 11/21/2019   JWD     GC        Follow up emails with team re Committee NDA              0.20       850.00          $170.00
 11/21/2019   JWD     GC        Further emails re NDA with Committee                     0.20       850.00          $170.00
 11/22/2019   MSP     GC        Meeting with Committee, Committee professionals,        12.30       825.00     $10,147.50
                                Faraday Future management and client team,
                                Richard M. Pachulski, Jeffrey W. Dulberg, S.
                                Uhland re: Faraday facility tour and Plan
                                information.
 11/22/2019   RMP     GC        Prepare for and participate in and travel to and from   11.50      1345.00     $15,467.50
                                client and creditors' committee meetings.
 11/22/2019   JWD     GC        Attend Committee meeting and FF update / tour            9.50       850.00      $8,075.00
 11/24/2019   RMP     GC        Review e-mails and presentation for 11/25 meeting.       0.70      1345.00          $941.50
 11/25/2019   JWD     GC        Review presentation for all creditors                    0.40       850.00          $340.00
 11/26/2019   JWD     GC        Emails with committee financial advisor regarding        0.20       850.00          $170.00
                                budget questions
 11/26/2019   JWD     GC        Emails with client team regarding committee              0.30       850.00          $255.00
                                concerns

                                                                                        74.30                  $69,548.00

  Litigation (Non-Bankruptcy)
 11/04/2019   MSP     LN        Email exchange with S. Uhland, W. Pao, et al. re:        0.20       825.00          $165.00
                                O-Film litigation, stay issues.
 11/05/2019   MSP     LN        Email exchange with W. Pao, M. Zhang, et al. re:         0.90       825.00          $742.50
                                letter to SLC re: continuing discovery
                                notwithstanding automatic stay (.10); review and
                                comment on same (.80).
 11/05/2019   JWD     LN        Review issues regarding stay letter regarding SLC        0.20       850.00          $170.00
                                bank subpoena
 11/06/2019   MSP     LN        Email exchange with W. Pao, Jeffrey W. Dulberg,          0.10       825.00           $82.50
                                C. Deng, et al. re: Bank of America subpoena issue.
 11/06/2019   BDD     LN        Email D. Perez re Hans stay letter                       0.10       395.00           $39.50
 11/07/2019   MSP     LN        Email exchange with W. Pao, T. Li, Jeffrey W.            0.40       825.00          $330.00
                                Dulberg, et al. re: SLC subpoena, Bank of America
                                production issue.
 11/07/2019   BDD     LN        Email J. O'Neill re amended notice of stay re            0.10       395.00           $39.50
                                Shanghai Lan Cai Asset Management
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                                                                                        Hours          Rate         Amount
 11/07/2019   BDD     LN        Prepare letter to B of A re notice of stay and confer    0.70       395.00          $276.50
                                with J. Dulberg re same
 11/07/2019   BDD     LN        Email J. O'Neill re B of A stay letter                   0.10       395.00           $39.50
 11/08/2019   MSP     LN        Email exchange with Richard M. Pachulski, S.             0.50       825.00          $412.50
                                Uhland, A. Behlmann, et al. re: response to
                                Committee question re: Plan voting deadline,
                                creditor meetings, etc.
 11/08/2019   MSP     LN        Email exchange with Jeffrey W. Dulberg, et al. re:       0.10       825.00           $82.50
                                Han San Jose matter, case management conference.
 11/08/2019   MSP     LN        Email exchange with W. Pao, Jeffrey W. Dulberg et        0.30       825.00          $247.50
                                al. re: discovery materials received by SLC, etc.
 11/08/2019   RMP     LN        Telephone conferences with J. Dulberg and review         0.60      1345.00          $807.00
                                e-mails re SLC and BofA.
 11/08/2019   JWD     LN        Review and respond to emails re Han litigation           0.10       850.00           $85.00
 11/10/2019   JWD     LN        Review and respond to T Li re stay issues and            0.20       850.00          $170.00
                                review W Pao email re same
 11/11/2019   JWD     LN        Review issues re SLC injunction and emails re same       0.40       850.00          $340.00
 11/12/2019   RMP     LN        Deal with BofA subpoena issues.                          0.40      1345.00          $538.00
 11/18/2019   MSP     LN        Email exchange with W. Pao, Jeffrey W. Dulberg, et       0.10       825.00           $82.50
                                al. re: Protective order issues re: Bank of America.

                                                                                         5.50                   $4,650.00

  Meeting of Creditors [B150]
 11/06/2019   MSP     MC        Telephone conference with A. Gloriosso, Jeffrey W.       0.30       825.00          $247.50
                                Dulberg, et al. re: creditor questions re: status of
                                case, plan, etc.
 11/06/2019   JWD     MC        Call with counsel to Chongqing                           0.30       850.00          $255.00
 11/06/2019   JWD     MC        Various calls and emails relating to ongoing stay        1.80       850.00      $1,530.00
                                violations and prepare correspondence regarding
                                same
 11/08/2019   MSP     MC        Email exchange with Jeffrey W. Dulberg, James            0.30       825.00          $247.50
                                O'Neill, et al. re: creditor question re: tax issues.
 11/08/2019   MSP     MC        Email exchange with R. Jia et al. re: communication      0.20       825.00          $165.00
                                with creditors re: meeting; review same.
 11/08/2019   JEO     MC        Review and revise draft of 341 Notice of                 0.50       895.00          $447.50
                                Commencement of Case
 11/09/2019   MSP     MC        Revise creditor communication re: Faraday                0.30       825.00          $247.50
                                meetings; email exchange with R. Jia et al. re: same
                                (.10).
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 11/11/2019   JEO     MC        Review issues related to 341 meeting and email with       0.50       895.00          $447.50
                                Malhar Pagay re same
 11/11/2019   JEO     MC        updated 341 notice                                        0.40       895.00          $358.00
 11/13/2019   JWD     MC        Review A Glorioso email and call with J O'Neill           0.20       850.00          $170.00
                                regarding same
 11/13/2019   JWD     MC        Call with A Glorioso and J O'Neill regarding status       0.20       850.00          $170.00
                                conference
 11/13/2019   JEO     MC        Review and revise notice of commencement and 341          0.80       895.00          $716.00
                                meeting
 11/13/2019   JEO     MC        Emails to Dave Buchbinder re Notice of                    0.20       895.00          $179.00
                                Commencement
 11/13/2019   JEO     MC        Review Notice of commencement and email to Dave           0.40       895.00          $358.00
                                Buchbinder re same.
 11/19/2019   JWD     MC        Work on creditor open house agenda                        0.40       850.00          $340.00
 11/21/2019   MSP     MC        Telephone conference with W. Pao, James O?Neill,          1.00       825.00          $825.00
                                T. Li et al. re: preparation for meeting of creditors.
 11/21/2019   MSP     MC        Draft preparation outline re: meeting of creditors.       1.80       825.00      $1,485.00
 11/21/2019   JEO     MC        Call with Malhar Pagay and O'Melveny co-counsel           1.00       895.00          $895.00
                                re 341 preparations
 11/23/2019   MSP     MC        Email exchange with S. Uhland, et al. re: meeting         0.10       825.00           $82.50
                                preparation.
 11/24/2019   MSP     MC        Preparation for creditor open house and revise            7.60       825.00      $6,270.00
                                materials for same; email exchange with S. Uhland,
                                D. Perez, Richard M. Pachulski, L. Sun, et al. re:
                                same.
 11/25/2019   MSP     MC        Attend creditor open house and meetings with              9.80       825.00      $8,085.00
                                Richard M. Pachulski, D. Perez, D. Johnson, et al.
 11/25/2019   MSP     MC        Telephone call with Jeffrey W. Dulberg re: results        0.10       825.00           $82.50
                                of all-creditor meeting.
 11/26/2019   MSP     MC        Finalize draft of preparation memorandum.                 1.80       825.00      $1,485.00
 11/29/2019   RMP     MC        Review meeting prep outline and review and                0.70      1345.00          $941.50
                                respond to e-mails re same.
 11/29/2019   JWD     MC        Review memo regarding 341a prep and emails                0.30       850.00          $255.00
                                regarding same
 11/29/2019   JWD     MC        Work on 341a prep                                         0.20       850.00          $170.00
 11/29/2019   JEO     MC        Continued review of 341 prep materials                    0.60       895.00          $537.00
 11/30/2019   MSP     MC        Finalize draft of preparation memorandum.                 1.50       825.00      $1,237.50

                                                                                         33.30                  $28,229.50
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  Plan & Disclosure Stmt. [B320]
 11/01/2019   MSP     PD        Email exchange with Richard M. Pachulski, S.              0.10       825.00           $82.50
                                Uhland, et al. re: proposed case/plan timeline.
 11/01/2019   MSP     PD        Email exchange with James O?Neill, et al. re: SLC         0.10       825.00           $82.50
                                request for extension of Plan voting deadline.
 11/01/2019   MSP     PD        Email exchange with A. Behlmann et al. re: status         0.10       825.00           $82.50
                                of voting deadline.
 11/01/2019   MSP     PD        Email exchange with James O?Neill, Beth Dassa, et         0.10       825.00           $82.50
                                al. re: solicitation motion.
 11/01/2019   RMP     PD        Prepare for and participate on calls re FF Global         1.10      1345.00      $1,479.50
                                issues and follow-up calls re same.
 11/01/2019   JWD     PD        Email with J ONeill re SLC inquiry                        0.10       850.00           $85.00
 11/01/2019   JWD     PD        Review plan for call                                      0.70       850.00          $595.00
 11/01/2019   JEO     PD        Review issues regarding YLC request to confirm            0.60       895.00          $537.00
                                voting deadline
 11/01/2019   BDD     PD        Emails M. Pagay and J. O'Neill re solicitation/DS         0.40       395.00          $158.00
                                Scheduling motion
 11/02/2019   MSP     PD        Email exchange with A. Behlmann, Richard M.               0.20       825.00          $165.00
                                Pachulski, S. Uhland, Jamies O?Neill, et al. re:
                                status of voting deadline.
 11/02/2019   MSP     PD        Review critical dates, docket, solicitation motion,       2.40       825.00      $1,980.00
                                etc., and draft plan and case timeline as requested by
                                client.
 11/02/2019   JEO     PD        Emails with counsel group re status of DS                 0.70       895.00          $626.50
                                Scheduling Motion
 11/03/2019   MSP     PD        Email exchange with James O?Neill, Richard M.             0.10       825.00           $82.50
                                Pachulski, et al. re: disclosure statement hearing.
 11/03/2019   MSP     PD        Email exchange with Richard M. Pachulski, James           2.40       825.00      $1,980.00
                                O'Neill, S. Uhland, et al. re: proposed case and plan
                                timeline; revise same per comments.
 11/03/2019   JWD     PD        Emails re plan hearing timing                             0.10       850.00           $85.00
 11/03/2019   JEO     PD        Review proposed timeline and provide comments.            0.90       895.00          $805.50
 11/04/2019   MSP     PD        Telephone call with M. Zhang re: proposed plan            0.30       825.00          $247.50
                                confirmation timeline.
 11/04/2019   MSP     PD        Email exchange with A. Glorioso, Jeffrey W.               0.10       825.00           $82.50
                                Dulberg, S. Uhland, et al. re: request for extension
                                re: plan voting.
 11/04/2019   MSP     PD        Revise draft of proposed plan and case timeline           0.50       825.00          $412.50
                                (.40); email exchange with D. Perez, James O?Neill,
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                                et al. re: same (.10).
 11/04/2019   RMP     PD        Review timeline issues and telephone conferences           0.60      1345.00          $807.00
                                with M. Pagay and J. Dulberg re same.
 11/05/2019   MSP     PD        Email exchange with D. Perez, et al. re: status of         0.20       825.00          $165.00
                                plan ballots.
 11/05/2019   MSP     PD        Email exchanges with Richard M. Pachulski, M.              1.90       825.00      $1,567.50
                                Zhang, S. Uhland, et al. re: continuance or
                                termination of voting deadline, Committee?s
                                position, etc.
 11/05/2019   RMP     PD        Prepare for and participate on team call re next           1.10      1345.00      $1,479.50
                                steps and follow-up with J. Dulberg re same.
 11/05/2019   RMP     PD        Prepare for and participate on client conference call      1.20      1345.00      $1,614.00
                                re next steps and plan and disclosure statement.
 11/05/2019   RMP     PD        Review Committee document requests and                     0.90      1345.00      $1,210.50
                                telephone conferences re same.
 11/05/2019   JWD     PD        Review committee email correspondence regarding            0.10       850.00           $85.00
                                plan
 11/05/2019   JWD     PD        Call with K& E attorney regarding missing ballot           0.20       850.00          $170.00
                                and deadline and emails regarding same
 11/05/2019   JWD     PD        Review and analyze emails regarding plans status           0.30       850.00          $255.00
                                and client questions
 11/06/2019   MSP     PD        Telephone call with J. Wang, M. Zhang re:                  0.20       825.00          $165.00
                                Committee call, chapter 11 status report/notice of
                                extension etc.
 11/06/2019   MSP     PD        Telephone calls (8) with M. Zhang, L. Sun, et al. re:      1.10       825.00          $907.50
                                filing of chapter 11 status report/notice of voting
                                extension.
 11/06/2019   MSP     PD        Telephone conferences (2: .30; .60) with D. Perez,         0.90       825.00          $742.50
                                et al. re: Chapter 11 status report/notice of extension
                                draft.
 11/06/2019   MSP     PD        Email exchange with Jeffrey W. Dulberg, James O?           0.50       825.00          $412.50
                                Neill, et al. re: extension of voting deadline, etc.
 11/06/2019   MSP     PD        Email exchange with S. Kjontvedt, et al. re: status        0.10       825.00           $82.50
                                of vote tabulation.
 11/06/2019   MSP     PD        Finalize chapter 11 status report/notice of extension      0.90       825.00          $742.50
                                of voting deadline (.70); email exchange with M.
                                Zhang, et al. re: same (.20).
 11/06/2019   MSP     PD        Email exchange with M. Zhang, D. Perez, James O?           3.80       825.00      $3,135.00
                                Neill, et al. re: status of plan voting, decision to
                                suspend or terminate voting, etc. (.30); finalize
                                chapter 11 status report / notice of termination of
                                plan voting for filing (3.50).
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 11/06/2019   RMP     PD        Deal with plan and disclosure statement voting          0.60      1345.00          $807.00
                                deadline issues and various e-mails re same.
 11/06/2019   RMP     PD        Team call re plan and disclosure statement and          1.70      1345.00      $2,286.50
                                follow-up call with Committee professionals re
                                status and then follow up with J. Dulberg and M.
                                Pagay re next steps.
 11/06/2019   JWD     PD        Call with J ONeill regarding status                     0.10       850.00           $85.00
 11/07/2019   MSP     PD        Email exchange with P. Manatakis, James O?Neill,        0.30       825.00          $247.50
                                C. Murray, et al. re: service of status report and
                                notice of termination of voting.
 11/07/2019   MSP     PD        Address dissemination of termination of voting to       0.80       825.00          $660.00
                                creditors served with ballots (.70); email exchange
                                with D. Perez, James O?Neill, et al. re: same (.10).
 11/07/2019   MSP     PD        Review O-Film Global objection to disclosure            0.20       825.00          $165.00
                                statement and plan hearings; email exchange with
                                Richard M. Pachulski, Jeffrey W. Dulberg, et al. re:
                                same.
 11/07/2019   BDD     PD        Email N. Brown re objection to disclosure statement     0.10       395.00           $39.50
                                hearing
 11/08/2019   MSP     PD        Email exchange with James O?Neill, et al. re: US        0.10       825.00           $82.50
                                Trustee request to withdraw solicitation motion.
 11/11/2019   RMP     PD        Prepare for and participate in meeting with Jia         5.60      1345.00      $7,532.00
                                Yueting and team and follow-up telephone
                                conferences re same.
 11/12/2019   MSP     PD        Email exchange with S. Uhland, et al. re: impact of     0.10       825.00           $82.50
                                injunctions until plan confirmation.
 11/13/2019   MSP     PD        Telephone call with M. Zhang re: Disclosure             0.20       825.00          $165.00
                                Statement amendments, etc.
 11/13/2019   MSP     PD        Telephone conference with Committee counsel,            1.20       825.00          $990.00
                                Richard M. Pachulski, S. Uhland, et al. re: plan,
                                payment of administrative expenses, requests for
                                information, etc.
 11/14/2019   MSP     PD        Telephone calls (3) with M. Zhang, James O?Neill        0.50       825.00          $412.50
                                re: Disclosure Statement amendments, etc.
 11/14/2019   MSP     PD        Begin review, analysis and revisions to Amended         3.70       825.00      $3,052.50
                                Disclosure Statement.
 11/14/2019   MSP     PD        Finalize review, analysis and revisions to Amended      3.10       825.00      $2,557.50
                                Disclosure Statement; email exchange with D.
                                Perez, et al. re: same (.10).
 11/14/2019   RMP     PD        Review revised plan and disclosure statement.           0.90      1345.00      $1,210.50
 11/14/2019   JEO     PD        Work on amended disclosure statement                    1.60       895.00      $1,432.00
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                                                                                        Hours          Rate         Amount
 11/15/2019   MSP     PD        Email exchange with J. Wang, D. Perez, James O?          0.10       825.00           $82.50
                                Neill et al. re: Filing of Amended Disclosure
                                Statement.
 11/15/2019   MSP     PD        Review and revise disclosure statement documents         3.80       825.00      $3,135.00
                                for filing, new language, etc.; email exchange with
                                James O?Neill, J. Wang, T. Li, et al re: same (.10).
 11/15/2019   JEO     PD        Finalize Notice of DIsclosure Statement Hearing          1.00       895.00          $895.00
 11/15/2019   JEO     PD        Finalize Amended Disclosure Statement                    1.00       895.00          $895.00
 11/17/2019   MSP     PD        Draft case and plan confirmation timeline; email         1.70       825.00      $1,402.50
                                exchange with Richard M. Pachulski, et al. re:
                                comments on same (.10).
 11/18/2019   RMP     PD        Review timeline issues.                                  0.20      1345.00          $269.00
 11/18/2019   RMP     PD        Review presentation format and issues for 11/22 and      0.80      1345.00      $1,076.00
                                11/25 meetings and telephone conferences re same.
 11/20/2019   MSP     PD        Email exchange with R. Moon re: information              0.20       825.00          $165.00
                                requests for liquidation analysis and other purposes.
 11/20/2019   RMP     PD        Prepare for and participate on conference call with      2.20      1345.00      $2,959.00
                                Committee professionals re case issues and then
                                follow-up with team re next steps and with Yueting
                                Team re same.
 11/20/2019   RMP     PD        Prepare for and participate on Yueting team call in      4.40      1345.00      $5,918.00
                                preparation for upcoming meetings and follow-up
                                with M. Pagay and S. Uhland re same.
 11/21/2019   RMP     PD        Prepare for 11/22 and 11/25 meetings and telephone       1.20      1345.00      $1,614.00
                                conferences re same.
 11/23/2019   RMP     PD        Prepare for and participate on team call.                1.00      1345.00      $1,345.00
 11/25/2019   RMP     PD        Prepare for and participate in creditor and client       7.80      1345.00     $10,491.00
                                meeting.
 11/26/2019   RMP     PD        Review Faraday report.                                   0.40      1345.00          $538.00
 11/27/2019   RMP     PD        Prepare for and participate on team call re tasks,       1.60      1345.00      $2,152.00
                                open issues and next steps and follow-up
                                conferences with J. Dulberg and M. Pagay.

                                                                                        73.20                  $77,937.00

  Retention of Prof. [B160]
 11/04/2019   MSP     RP        Email exchange with S. Uhland, Richard M.                0.10       825.00           $82.50
                                Pachulski, et al. re: retention of CRO.
 11/04/2019   RMP     RP        Deal with Moon retention.                                0.30      1345.00          $403.50
 11/04/2019   JEO     RP        Email with Diana Perez and TJ Li regarding               0.50       895.00          $447.50
      Case 2:19-bk-24804-VZ           Doc 618 Filed 04/16/20 Entered 04/16/20 19:55:49                        Desc
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                                                                                        Hours          Rate         Amount
                                supplemental declarations for retention applications
 11/05/2019   MSP     RP        Email exchange with Jeffrey W. Dulberg, James O?         0.10       825.00           $82.50
                                Neill re: OMM employment application.
 11/05/2019   JWD     RP        Email regarding OMM application status                   0.10       850.00           $85.00
 11/05/2019   JEO     RP        Email with Jeff Dulberg re OMM retention                 0.20       895.00          $179.00
 11/08/2019   MSP     RP        Email exchange with M. Zhang, R. Jia, et al. re:         1.10       825.00          $907.50
                                source of professional retainers (.10); review
                                documentation relating to same.
 11/08/2019   MSP     RP        Email exchange with S. Uhland, Jeffrey W. Dulberg,       0.30       825.00          $247.50
                                et al. re: retention of CRO.
 11/08/2019   JWD     RP        Emails with SLC re retention issues                      0.10       850.00           $85.00
 11/08/2019   JWD     RP        Email with J O'Neill re retention app issues             0.10       850.00           $85.00
 11/08/2019   JWD     RP        Review SLC counsel email re retention issues and         0.50       850.00          $425.00
                                work on same
 11/09/2019   MSP     RP        Email exchange with S. Uhland, Jeffrey W. Dulberg,       0.80       825.00          $660.00
                                Laura Davis Jones, et al. re: status of CRO retention
                                discussions.
 11/09/2019   MSP     RP        Review and revise proposed retention agreement for       1.90       825.00      $1,567.50
                                CRO; email exchange with Richard M. Pachulski, et
                                al. re: same (.10).
 11/09/2019   JWD     RP        Work on issues re CRO retention                          0.30       850.00          $255.00
 11/10/2019   MSP     RP        Email exchange with S. Uhland, et al. re: CRO            0.10       825.00           $82.50
                                retention.
 11/10/2019   MSP     RP        Email exchange with R. Jia, M. Zhang re: Pacific         0.10       825.00           $82.50
                                Technology Holding retainer information.
 11/10/2019   JWD     RP        Review materials re SLC inquiry re PSZJ App.             0.30       850.00          $255.00
 11/11/2019   JWD     RP        Review issues re Committee employment inquiry            0.20       850.00          $170.00
 11/11/2019   JWD     RP        Review and respond to emails re CRO                      0.20       850.00          $170.00
 11/11/2019   JWD     RP        Emails with team re employment app hearing               0.10       850.00           $85.00
 11/12/2019   MSP     RP        Address matters relating to CRO retention and            2.10       825.00      $1,732.50
                                further revise agreement; email exchange with J.
                                Wang, S. Uhland, R. Moon et al. re: same (.10).
 11/12/2019   PEC     RP        Draft Certificate of No Objection Regarding              0.40       395.00          $158.00
                                Debtor's Motion to Retain Epiq as Administrative
                                Advisor (.2); Prepare for filing and service (.2)
 11/12/2019   PEC     RP        Draft Certificate of No Objection Regarding              0.40       395.00          $158.00
                                Debtor's Motion to Retain Epiq as Noticing Agent
                                (.2); Prepare for filing and service (.2)
 11/12/2019   JWD     RP        Emails with J O?Neill and R Pachulski regarding          0.20       850.00          $170.00
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                                                                                      Hours          Rate         Amount
                                SLC inquiry
 11/13/2019   MSP     RP        Address CRO retention issues; email exchange with      1.80       825.00      $1,485.00
                                James O?Neill, et al. re: same (.10).
 11/13/2019   JWD     RP        Review issues regarding retention for CRO and          0.30       850.00          $255.00
                                emails with team regarding same
 11/13/2019   JEO     RP        Review entered orders on Epiq's retention              0.40       895.00          $358.00
 11/13/2019   JEO     RP        Review draft of OMM retention                          0.40       895.00          $358.00
 11/14/2019   JEO     RP        Review and finalize Application/Motion to              0.80       895.00          $716.00
                                Employ/Retain O'Melveny & Myers LLP as Special
                                Corporate, Litigation, and International Counsel
 11/16/2019   MSP     RP        Address final issues re: CRO agreement, including      1.80       825.00      $1,485.00
                                scope of indemnity; email exchange with R. Moon,
                                S. Uhland, et al. re: same (.10).
 11/17/2019   MSP     RP        Telephone call with R. Moon re: Terms of Chief         0.40       825.00          $330.00
                                Restructuring Officer retention.
 11/17/2019   MSP     RP        Email exchange with S. Uhland, et al. re: status of    0.10       825.00           $82.50
                                CRO retention.
 11/17/2019   MSP     RP        Email exchange with R. Jia, R. Moon, et al. re:        0.10       825.00           $82.50
                                executed CRO agreement.
 11/18/2019   MSP     RP        Address CRO retention issues, fully executed           1.10       825.00          $907.50
                                agreement, etc; email exchange with R. Moon, et al.
                                re: same (.10).
 11/18/2019   JEO     RP        Review Robert Moon consultancy agreement for           0.50       895.00          $447.50
                                CRO
 11/18/2019   JEO     RP        Review OMM's responses to UST questions on             0.30       895.00          $268.50
                                retention application
 11/19/2019   MSP     RP        Email exchange with James O?Neill, et al. re: terms    0.10       825.00           $82.50
                                of CRO engagement.
 11/19/2019   JEO     RP        Drafting application to employ Robert Moon as          2.50       895.00      $2,237.50
                                CRO
 11/23/2019   MSP     RP        Review and revise draft of CRO retention motion;       0.50       825.00          $412.50
                                email exchange with James O?Neill, et al. re: same
                                (.10).
 11/24/2019   MSP     RP        Email exchange with R. Moon, James O?Neill et al.      0.20       825.00          $165.00
                                re: CRO retention application.
 11/24/2019   JEO     RP        Review Motion to appoint CRO and revise                0.70       895.00          $626.50
 11/24/2019   JEO     RP        Call with Robert Moon re comments to CRO Motion        0.40       895.00          $358.00
 11/27/2019   PEC     RP        Draft Notice of Motion to Employ CRO (.3);             0.40       395.00          $158.00
                                Prepare for filing and service (.1)
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                                                                                       Hours          Rate         Amount
 11/27/2019   PEC     RP        Draft Notice of Motion to Employ Foreign                0.40       395.00          $158.00
                                Representative (.3); Prepare for filing and service
                                (.1)
 11/27/2019   JEO     RP        Review and finalize /Debtor's Motion for Entry of an    1.20       895.00       $1,074.00
                                Order Authorizing Robert Moon to Act as Foreign
                                Representative Pursuant to Section 1505 of the
                                Bankruptcy Code
 11/27/2019   JEO     RP        Coordinate client review and approval for CRO           0.80       895.00          $716.00
                                Motion
 11/29/2019   JWD     RP        Work on response to SLC request for information re      1.80       850.00       $1,530.00
                                employment issues

                                                                                       27.50                   $22,869.50

  Travel
 11/22/2019   JWD     TR        Travel to Committee meeting                             0.80       850.00          $680.00
 11/22/2019   JWD     TR        Travel from Committee meeting                           1.00       850.00          $850.00

                                                                                        1.80                    $1,530.00

  TOTAL SERVICES FOR THIS MATTER:                                                                            $452,860.00
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 Expenses

 11/01/2019   DC        46353.00002 Advita Charges for 11-01-19                  7.50


 11/01/2019   DC        46353.00002 Advita Charges for 11-01-19                  7.50


 11/01/2019   RE2       SCAN/COPY ( 11 @0.10 PER PG)                             1.10


 11/04/2019   DC        46353.00002 Advita Charges for 11-04-19                  7.50


 11/04/2019   RE        ( 8 @0.20 PER PG)                                        1.60


 11/04/2019   RE        ( 24 @0.20 PER PG)                                       4.80


 11/04/2019   RE        ( 17 @0.20 PER PG)                                       3.40


 11/04/2019   RE2       SCAN/COPY ( 152 @0.10 PER PG)                           15.20


 11/04/2019   RE2       SCAN/COPY ( 10 @0.10 PER PG)                             1.00


 11/04/2019   RE2       SCAN/COPY ( 10 @0.10 PER PG)                             1.00


 11/04/2019   RE2       SCAN/COPY ( 8 @0.10 PER PG)                              0.80


 11/04/2019   RE2       SCAN/COPY ( 5 @0.10 PER PG)                              0.50


 11/05/2019   CC        Conference Call [E105] AT&T Conference Call, MSP        11.76


 11/05/2019   CC        Conference Call [E105] AT&T Conference Call, MSP        20.74


 11/06/2019   RE        ( 6 @0.20 PER PG)                                        1.20


 11/06/2019   RE2       SCAN/COPY ( 6 @0.10 PER PG)                              0.60


 11/06/2019   RE2       SCAN/COPY ( 6 @0.10 PER PG)                              0.60
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 11/07/2019   CC        Conference Call [E105] AT&T Conference Call, MSP         7.80


 11/07/2019   FX        46353.00002 Fax Pages for 11-07-19                       4.25


 11/07/2019   FX        (AGR 21 @1.00 PER PG)                                   21.00


 11/07/2019   RE2       SCAN/COPY ( 16 @0.10 PER PG)                             1.60


 11/07/2019   RE2       SCAN/COPY ( 17 @0.10 PER PG)                             1.70


 11/07/2019   RE2       SCAN/COPY ( 26 @0.10 PER PG)                             2.60


 11/07/2019   RE2       SCAN/COPY ( 12 @0.10 PER PG)                             1.20


 11/07/2019   RE2       SCAN/COPY ( 16 @0.10 PER PG)                             1.60


 11/07/2019   RE2       SCAN/COPY ( 18 @0.10 PER PG)                             1.80


 11/07/2019   RE2       SCAN/COPY ( 10 @0.10 PER PG)                             1.00


 11/07/2019   RE2       SCAN/COPY ( 16 @0.10 PER PG)                             1.60


 11/07/2019   RE2       SCAN/COPY ( 25 @0.10 PER PG)                             2.50


 11/08/2019   RE        ( 29 @0.20 PER PG)                                       5.80


 11/11/2019   RE        ( 242 @0.20 PER PG)                                     48.40


 11/11/2019   RE        ( 10 @0.20 PER PG)                                       2.00


 11/11/2019   RE        ( 1 @0.20 PER PG)                                        0.20


 11/11/2019   RE2       SCAN/COPY ( 28 @0.10 PER PG)                             2.80


 11/11/2019   RE2       SCAN/COPY ( 30 @0.10 PER PG)                             3.00
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 11/11/2019   RE2       SCAN/COPY ( 10 @0.10 PER PG)                             1.00


 11/11/2019   RE2       SCAN/COPY ( 14 @0.10 PER PG)                             1.40


 11/11/2019   RE2       SCAN/COPY ( 28 @0.10 PER PG)                             2.80


 11/11/2019   RE2       SCAN/COPY ( 6 @0.10 PER PG)                              0.60


 11/11/2019   RE2       SCAN/COPY ( 6 @0.10 PER PG)                              0.60


 11/11/2019   RE2       SCAN/COPY ( 24 @0.10 PER PG)                             2.40


 11/11/2019   RE2       SCAN/COPY ( 30 @0.10 PER PG)                             3.00


 11/11/2019   RE2       SCAN/COPY ( 18 @0.10 PER PG)                             1.80


 11/11/2019   RE2       SCAN/COPY ( 14 @0.10 PER PG)                             1.40


 11/11/2019   RE2       SCAN/COPY ( 6 @0.10 PER PG)                              0.60


 11/11/2019   RE2       SCAN/COPY ( 16 @0.10 PER PG)                             1.60


 11/11/2019   RE2       SCAN/COPY ( 6 @0.10 PER PG)                              0.60


 11/11/2019   RE2       SCAN/COPY ( 6 @0.10 PER PG)                              0.60


 11/11/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                              0.40


 11/12/2019   CC        Conference Call [E105] AT&T Conference Call, MSP        11.64


 11/12/2019   DC        46353.00002 Advita Charges for 11-12-19                 30.70


 11/12/2019   RE        ( 51 @0.20 PER PG)                                      10.20


 11/12/2019   RE        ( 51 @0.20 PER PG)                                      10.20
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 11/12/2019   RE2       SCAN/COPY ( 12 @0.10 PER PG)                             1.20


 11/12/2019   RE2       SCAN/COPY ( 36 @0.10 PER PG)                             3.60


 11/12/2019   RE2       SCAN/COPY ( 3 @0.10 PER PG)                              0.30


 11/12/2019   RE2       SCAN/COPY ( 36 @0.10 PER PG)                             3.60


 11/12/2019   RE2       SCAN/COPY ( 3 @0.10 PER PG)                              0.30


 11/12/2019   RE2       SCAN/COPY ( 12 @0.10 PER PG)                             1.20


 11/12/2019   RE2       SCAN/COPY ( 12 @0.10 PER PG)                             1.20


 11/12/2019   RE2       SCAN/COPY ( 20 @0.10 PER PG)                             2.00


 11/12/2019   RE2       SCAN/COPY ( 25 @0.10 PER PG)                             2.50


 11/13/2019   DC        46353.00002 Advita Charges for 11-13-19                 15.00


 11/13/2019   RE        ( 30 @0.20 PER PG)                                       6.00


 11/13/2019   RE        ( 179 @0.20 PER PG)                                     35.80


 11/13/2019   RE        ( 86 @0.20 PER PG)                                      17.20


 11/13/2019   RE        ( 8 @0.20 PER PG)                                        1.60


 11/13/2019   RE        ( 3 @0.20 PER PG)                                        0.60


 11/13/2019   RE        ( 2 @0.20 PER PG)                                        0.40


 11/13/2019   RE        ( 2 @0.20 PER PG)                                        0.40


 11/13/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                              0.40
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 11/13/2019   RE2       SCAN/COPY ( 36 @0.10 PER PG)                            3.60


 11/13/2019   RE2       SCAN/COPY ( 36 @0.10 PER PG)                            3.60


 11/13/2019   RE2       SCAN/COPY ( 10 @0.10 PER PG)                            1.00


 11/13/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                             0.40


 11/13/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                             0.40


 11/13/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                             0.40


 11/13/2019   RE2       SCAN/COPY ( 46 @0.10 PER PG)                            4.60


 11/13/2019   RE2       SCAN/COPY ( 17 @0.10 PER PG)                            1.70


 11/13/2019   RE2       SCAN/COPY ( 46 @0.10 PER PG)                            4.60


 11/13/2019   RE2       SCAN/COPY ( 18 @0.10 PER PG)                            1.80


 11/13/2019   RE2       SCAN/COPY ( 12 @0.10 PER PG)                            1.20


 11/13/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                             0.40


 11/13/2019   RE2       SCAN/COPY ( 16 @0.10 PER PG)                            1.60


 11/13/2019   RE2       SCAN/COPY ( 28 @0.10 PER PG)                            2.80


 11/13/2019   RE2       SCAN/COPY ( 24 @0.10 PER PG)                            2.40


 11/13/2019   RE2       SCAN/COPY ( 22 @0.10 PER PG)                            2.20


 11/13/2019   RE2       SCAN/COPY ( 8 @0.10 PER PG)                             0.80


 11/13/2019   RE2       SCAN/COPY ( 17 @0.10 PER PG)                            1.70
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 11/13/2019   RE2       SCAN/COPY ( 23 @0.10 PER PG)                             2.30


 11/14/2019   LN        46353.00002 Lexis Charges for 11-14-19                  54.58


 11/14/2019   LN        46353.00002 Lexis Charges for 11-14-19                 163.72


 11/14/2019   RE        ( 1 @0.20 PER PG)                                        0.20


 11/14/2019   RE2       SCAN/COPY ( 70 @0.10 PER PG)                             7.00


 11/14/2019   RE2       SCAN/COPY ( 12 @0.10 PER PG)                             1.20


 11/14/2019   RE2       SCAN/COPY ( 532 @0.10 PER PG)                           53.20


 11/14/2019   RE2       SCAN/COPY ( 16 @0.10 PER PG)                             1.60


 11/15/2019   RE        ( 182 @0.20 PER PG)                                     36.40


 11/18/2019   CC        Conference Call [E105] AT&T Conference Call, MSP        12.09


 11/18/2019   RE        ( 673 @0.20 PER PG)                                    134.60


 11/18/2019   RE        ( 336 @0.20 PER PG)                                     67.20


 11/18/2019   RE2       SCAN/COPY ( 5 @0.10 PER PG)                              0.50


 11/18/2019   RE2       SCAN/COPY ( 159 @0.10 PER PG)                           15.90


 11/18/2019   RE2       SCAN/COPY ( 167 @0.10 PER PG)                           16.70


 11/18/2019   RE2       SCAN/COPY ( 2 @0.10 PER PG)                              0.20


 11/18/2019   RE2       SCAN/COPY ( 3 @0.10 PER PG)                              0.30


 11/18/2019   RE2       SCAN/COPY ( 22 @0.10 PER PG)                             2.20
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 11/18/2019   RE2       SCAN/COPY ( 15 @0.10 PER PG)                             1.50


 11/18/2019   RE2       SCAN/COPY ( 14 @0.10 PER PG)                             1.40


 11/19/2019   RE2       SCAN/COPY ( 26 @0.10 PER PG)                             2.60


 11/20/2019   CC        Conference Call [E105] AT&T Conference Call, MSP         9.50


 11/20/2019   CC        Conference Call [E105] AT&T Conference Call, MSP        10.18


 11/20/2019   RE        ( 45 @0.20 PER PG)                                       9.00


 11/26/2019   CL        46353.00002 CourtLink charges for 11-26-19              45.71


 11/26/2019   FE        46353.00002 FedEx Charges for 11-26-19                  28.15


 11/26/2019   LN        46353.00002 Lexis Charges for 11-26-19                  72.77


 11/26/2019   LN        46353.00002 Lexis Charges for 11-26-19                  18.19


 11/26/2019   RE2       SCAN/COPY ( 264 @0.10 PER PG)                           26.40


 11/26/2019   RE2       SCAN/COPY ( 159 @0.10 PER PG)                           15.90


 11/26/2019   RE2       SCAN/COPY ( 27 @0.10 PER PG)                             2.70


 11/27/2019   CC        Conference Call [E105] AT&T Conference Call, MSP        24.88


 11/27/2019   LN        46353.00002 Lexis Charges for 11-27-19                 193.50


 11/27/2019   RE        ( 223 @0.20 PER PG)                                     44.60


 11/27/2019   RE        ( 54 @0.20 PER PG)                                      10.80


 11/27/2019   RE        ( 35 @0.20 PER PG)                                       7.00
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 11/27/2019   RE2       SCAN/COPY ( 26 @0.10 PER PG)                              2.60


 11/27/2019   RE2       SCAN/COPY ( 14 @0.10 PER PG)                              1.40


 11/27/2019   RE2       SCAN/COPY ( 52 @0.10 PER PG)                              5.20


 11/27/2019   RE2       SCAN/COPY ( 26 @0.10 PER PG)                              2.60


 11/27/2019   RE2       SCAN/COPY ( 26 @0.10 PER PG)                              2.60


 11/30/2019   LN        46353.00002 Lexis Charges for 11-30-19                   19.48


 11/30/2019   PAC       Pacer - Court Research                                  331.50

   Total Expenses for this Matter                                          $1,867.74
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                                                REMITTANCE ADVICE

                                    Please inlcude this Remittance with your payment

For current services rendered through:        11/30/2019

Total Fees                                                                                           $452,860.00

Total Expenses                                                                                          1,867.74

Total Due on Current Invoice                                                                         $454,727.74

  Outstanding Balance from prior invoices as of        11/30/2019          (May not include recent payments)

A/R Bill Number           Invoice Date               Fees Billed        Expenses Billed             Balance Due
 123506                  10/31/2019                $201,832.00             $578.90                  $202,410.90

 123983                  10/31/2019                 $40,851.50            $4,502.29                  $45,353.79

             Total Amount Due on Current and Prior Invoices:                                         $702,492.43
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                                         10100 Santa Monica Blvd.
                                                13th Floor
                                          Los Angeles, CA 90067
                                                                     December 31, 2019
Jia Yueting                                                          Invoice 124406
Faraday Future                                                       Client  46353
18455 S. Figueroa Street                                             Matter  00002
Gardena, CA 90248
                                                                             JWD

RE: Post Petition

 _______________________________________________________________________________________

          STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 12/31/2019
                 FEES                                                $468,739.50
                 EXPENSES                                             $19,268.68
                 TOTAL CURRENT CHARGES                               $488,008.18

                 BALANCE FORWARD                                     $702,492.43
                 TOTAL BALANCE DUE                                  $1,190,500.61
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  Summary of Services by Professional
  ID        Name                              Title               Rate       Hours              Amount

 BDD        Dassa, Beth D.                    Paralegal          395.00      10.20         $4,029.00

                                                                             65.90        $58,980.50
 JEO        O'Neill, James E.                 Partner            895.00
                                                                             93.60        $79,560.00
 JWD        Dulberg, Jeffrey W.               Partner            850.00
 LAF        Forrester, Leslie A.              Other              425.00       4.30         $1,827.50

 MSP        Pagay, Malhar S.                  Counsel            825.00     225.60       $186,120.00

 PJJ        Jeffries, Patricia J.             Paralegal          395.00       0.20              $79.00

 RMP        Pachulski, Richard M.             Partner           1345.00      97.80       $131,541.00

 TCF        Flanagan, Tavi C.                 Counsel            695.00       9.50         $6,602.50

                                                                           507.10         $468,739.50
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  Summary of Services by Task Code
  Task Code         Description                                           Hours                       Amount

 BL                 Bankruptcy Litigation [L430]                         219.60                 $202,194.00

 CA                 Case Administration [B110]                            41.00                  $34,287.00

 CO                 Claims Admin/Objections[B310]                          7.50                   $6,591.50

 CP                 Compensation Prof. [B160]                              1.00                       $754.00

 EB                 Employee Benefit/Pension-B220                          0.30                       $252.50

 EC                 Executory Contracts [B185]                             0.10                        $85.00

 FF                 Financial Filings [B110]                              18.10                  $13,503.00

 FN                 Financing [B230]                                      31.70                  $27,299.50

 GC                 General Creditors Comm. [B150]                         8.10                   $6,802.50

 LN                 Litigation (Non-Bankruptcy)                            1.90                   $1,898.50

 MC                 Meeting of Creditors [B150]                          104.10                  $98,648.50

 PD                 Plan & Disclosure Stmt. [B320]                        20.70                  $21,287.50

 RP                 Retention of Prof. [B160]                             14.40                  $12,319.00

 TR                 Travel                                                38.60                  $42,817.00

                                                                              507.10            $468,739.50
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  Summary of Expenses
  Description                                                                                   Amount
Air Fare [E110]                                                                      $10,285.89
Auto Travel Expense [E109]                                                             $1,552.48
Bloomberg                                                                                $60.00
Conference Call [E105]                                                                  $347.65
CourtLink                                                                               $169.02
Delivery/Courier Service                                                                $748.42
Federal Express [E108]                                                                   $78.40

Hotel Expense [E110]                                                                    $598.40
Lexis/Nexis- Legal Research [E                                                          $970.87
Legal Vision Atty Mess Service                                                           $66.40
Pacer - Court Research                                                                  $389.20
Reproduction Expense [E101]                                                             $938.60
Reproduction/ Scan Copy                                                                $1,106.40
Travel Expense [E110]                                                                   $174.95
Transcript [E116]                                                                      $1,782.00

                                                                                           $19,268.68
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                                                                                          Hours           Rate        Amount

  Bankruptcy Litigation [L430]
 12/01/2019   MSP     BL        Email exchange with Tavi C. Flanagan, Jeffrey W.           2.00       825.00       $1,650.00
                                Dulberg regarding opposition to motion to
                                dismiss/transfer venue (.20 ) and review first draft of
                                same.
 12/01/2019   MSP     BL        Email exchange with S. Uhland et al. regarding             0.10       825.00            $82.50
                                Committee third party discovery.
 12/01/2019   JWD     BL        Calls re next steps on opp to motion to dismiss and        0.60       850.00          $510.00
                                emails re same
 12/01/2019   TCF     BL        Research, review and drafting of legal arguments in        5.60       695.00       $3,892.00
                                opposition to motion to dismiss chapter 11 case and
                                transfer venue.
 12/01/2019   TCF     BL        Research, review and drafting of legal arguments in        3.90       695.00       $2,710.50
                                opposition to motion to dismiss chapter 11 case and
                                transfer venue.
 12/02/2019   JWD     BL        Emails and work on notes for opp to dismissal              0.40       850.00          $340.00
 12/02/2019   JWD     BL        Review case law re venue                                   0.70       850.00          $595.00
 12/03/2019   MSP     BL        Email exchange with R. Moon et al. regarding               0.20       825.00          $165.00
                                committee third party discovery.
 12/03/2019   MSP     BL        Email exchange with J. Wang, et al. regarding              0.10       825.00            $82.50
                                parameters for discussion with SQ.
 12/03/2019   MSP     BL        Review documents for inclusion in Committee                1.80       825.00       $1,485.00
                                production data room (1.70); email exchange with
                                D. Perez, T. Li regarding same (.10).
 12/03/2019   RMP     BL        Review response to venue motion and review and             0.60      1345.00          $807.00
                                respond to e-mails re same.
 12/03/2019   JWD     BL        Work on dismissal response                                 0.40       850.00          $340.00
 12/03/2019   JWD     BL        Work on SLC response                                       0.80       850.00          $680.00
 12/03/2019   JWD     BL        Emails re plan and ds updates and SLC response             0.30       850.00          $255.00
 12/03/2019   JWD     BL        Worn on SLC response                                       0.70       850.00          $595.00
 12/04/2019   MSP     BL        Revise opposition to SLC motion to dismiss/transfer        3.50       825.00       $2,887.50
                                venue (3.30); telephone call with Jeffrey W. Dulberg
                                regarding same (.20).
 12/04/2019   MSP     BL        Email exchange with D. Perez, et al. regarding             0.10       825.00            $82.50
                                separate Faraday data room.
 12/04/2019   MSP     BL        Address finalizing new draft of opposition to motion       2.90       825.00       $2,392.50
                                to dismiss/transfer venue (2.70); email exchange
                                with Jeffrey W. Dulberg, R. Jia, M. Zhang, et al.
                                regarding same (.20).
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                                                                                       Hours           Rate        Amount
 12/04/2019   MSP     BL        Email exchange with J. Wang, S. Uhland, et al.          0.30       825.00          $247.50
                                regarding discussions with SQ regarding claim, lien,
                                etc.
 12/04/2019   JWD     BL        Work on opp to dismiss and venue                        2.00       850.00       $1,700.00
 12/04/2019   JWD     BL        Emails with OMM team re opp to motion to dismiss        0.30       850.00          $255.00
 12/04/2019   JWD     BL        Further work on opposition to mtn to                    1.20       850.00       $1,020.00
                                dismiss/transfer venue
 12/04/2019   JWD     BL        Review OMM comments and emails with M Pagay             0.30       850.00          $255.00
                                re same re opp to dismissal
 12/04/2019   JWD     BL        Draft email to W Pao response to comments (.9);         1.50       850.00       $1,275.00
                                call with M Pagay (.3); revise pleading (.3)
 12/04/2019   JEO     BL        Emails with committee re response to SLC motion         0.40       895.00          $358.00
 12/05/2019   MSP     BL        Email exchange with D. Perez, et al. regarding          0.10       825.00            $82.50
                                Faraday-Committee NDA.
 12/05/2019   MSP     BL        Review documents for inclusion in Committee data        1.80       825.00       $1,485.00
                                room (1.70); email exchange with R. Moon
                                regarding same (.10).
 12/05/2019   JWD     BL        Review TIBET JINMEIHUA response to SLC                  0.10       850.00            $85.00
                                motion
 12/05/2019   JWD     BL        Emails with M Pagay and L Forrester re next steps       0.20       850.00          $170.00
                                for opposition
 12/05/2019   JWD     BL        Emails with L Forrester re rewrites to pleading and     0.40       850.00          $340.00
                                additional research issues
 12/05/2019   JWD     BL        Review Nancheng filing and email to team re same        0.20       850.00          $170.00
 12/05/2019   JWD     BL        Emails with team re strategy re motion to dismiss       0.20       850.00          $170.00
 12/05/2019   JWD     BL        Further work on opposition and emails re same           0.30       850.00          $255.00
 12/05/2019   JWD     BL        Review Committee response re motion to dismiss          0.20       850.00          $170.00
                                and emails re same
 12/05/2019   JWD     BL        Analyze issues re potential evidentiary objections      0.20       850.00          $170.00
 12/05/2019   JEO     BL        Review committee response to Motion to Dismiss          0.40       895.00          $358.00
 12/05/2019   JEO     BL        Finalize and file YT's Response to Dismissal Motion     0.80       895.00          $716.00
 12/05/2019   LAF     BL        Legal research re: Chapter 11 debtors with primarily    4.30       425.00       $1,827.50
                                foreign creditors.
 12/07/2019   MSP     BL        Email exchange with D. Perez, A. Behlmann, et al.       0.20       825.00          $165.00
                                regarding status of non-disclosure agreements, etc.
 12/08/2019   MSP     BL        Telephone call with R. Moon regarding status of         0.50       825.00          $412.50
                                committee production, etc.
 12/08/2019   MSP     BL        Email exchange with R. Moon, M. Zhang, R. Jia, J.       0.50       825.00          $412.50
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                                                                                      Hours           Rate        Amount
                                Wang, W. Pao, et al. regarding Committee third
                                party discovery.
 12/08/2019   MSP     BL        Email exchange with M. Zhang, et al. regarding Wei     0.10       825.00            $82.50
                                Gan discovery requests.
 12/08/2019   MSP     BL        Compile information for Committee 3rd party            2.80       825.00       $2,310.00
                                discovery (2.70); email exchange with J. Merkin, et
                                al. regarding same (.10).
 12/09/2019   MSP     BL        Email exchange with J. Wang, D. Perez, et al.          0.10       825.00            $82.50
                                regarding Committee due diligence.
 12/09/2019   RMP     BL        Review e-mails and client telephone conferences re     0.90      1345.00       $1,210.50
                                SLC and telephone conference with SLC counsel re
                                potential plan alternatives.
 12/09/2019   RMP     BL        Review due diligence and plan issues and telephone     1.20      1345.00       $1,614.00
                                conferences with team re same.
 12/09/2019   JWD     BL        Work on responses to SLC follow up                     0.50       850.00          $425.00
 12/09/2019   JWD     BL        Work on issues for document response to SLC            0.60       850.00          $510.00
 12/09/2019   JEO     BL        Attend and participate in due diligence call with      0.90       895.00          $805.50
                                PSZJ and OMM teams and Rob Moon
 12/09/2019   JEO     BL        Review additional documents for UST.                   0.60       895.00          $537.00
 12/10/2019   MSP     BL        Telephone call with D. Perez regarding next steps      0.30       825.00          $247.50
                                regarding Committee document production
                                handling.
 12/10/2019   MSP     BL        Telephone conference with R. Moon and D. Perez         0.50       825.00          $412.50
                                regarding addressing responses to Committee
                                request for production.
 12/10/2019   MSP     BL        Telephone call with J. Wang, S. Uhland, Jeffrey W.     0.70       825.00          $577.50
                                Dulberg, et al. regarding SQ joinder to SLC motion
                                to dismiss/transfer venue, etc.
 12/10/2019   MSP     BL        Email exchange with S. Uhland, J. Wang, et al.         0.10       825.00            $82.50
                                regarding SQ joinder to motion to dismiss/transfer
                                venue.
 12/10/2019   MSP     BL        Email exchange with S. Uhland, et al. regarding        0.10       825.00            $82.50
                                meeting to address Committee information requests.
 12/10/2019   MSP     BL        Attention to issues and client concerns regarding      2.80       825.00       $2,310.00
                                SLC motion to dismiss/transfer venue (2.70); email
                                exchange with D. Perez, M. Zhang, Jeffrey W.
                                Dulberg, et al. regarding same (.10).
 12/10/2019   MSP     BL        Email exchange with R. Moon regarding Limitation       0.50       825.00          $412.50
                                to Committee discovery (.10); review discovery
                                requests regarding same (.40).
 12/10/2019   RMP     BL        Prepare for and participate on client status call.     0.90      1345.00       $1,210.50
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                                                                                        Hours           Rate        Amount
 12/10/2019   JWD     BL        Work on issues for production to SLC                     0.40       850.00          $340.00
 12/10/2019   JWD     BL        Work on responses to Committee and SLC requests          0.80       850.00          $680.00
 12/10/2019   JWD     BL        Review SQ joinder and J Wang emails re same              0.20       850.00          $170.00
 12/10/2019   JWD     BL        Attend call with client re SQ joinder, related issues    0.90       850.00          $765.00
 12/10/2019   JEO     BL        Review documents for transmittal to UST                  0.60       895.00          $537.00
 12/10/2019   JEO     BL        Emails with client re preparations for hearing on        0.60       895.00          $537.00
                                SLC motion
 12/11/2019   MSP     BL        Email exchange with James O?Neill, Jeffrey W.            1.10       825.00          $907.50
                                Dulberg, et al. regarding Indications of creditor
                                support (.10); address handling of same with respect
                                to submission to Delaware court (1.0).
 12/11/2019   MSP     BL        Review updates to due diligence documents and            1.90       825.00       $1,567.50
                                other information provided to Committee (1.80);
                                email exchange with R. Moon, J. Wang, et al.
                                regarding same (.10).
 12/11/2019   MSP     BL        Review Committee objection to motion to                  0.20       825.00          $165.00
                                dismiss/transfer venue; email exchange with J.
                                Wang, M. Zhang, et al.
 12/11/2019   RMP     BL        Deal with motion to dismiss or change venue and          0.70      1345.00          $941.50
                                response thereto and telephone conference with S.
                                Uhland re same.
 12/11/2019   RMP     BL        Prepare for and participate on professional              2.30      1345.00       $3,093.50
                                conference call and then client conference call.
 12/11/2019   JWD     BL        Emails with team regarding issues for motion to          0.30       850.00          $255.00
                                dismiss
 12/11/2019   JWD     BL        Review issues re dismissal / venue and emails with       0.40       850.00          $340.00
                                team (.2); call with Call with counsel to Chongqing
                                re same (.1); follow up email re same (.1)
 12/11/2019   JWD     BL        Review UST objection to venue and emails re same         0.30       850.00          $255.00
 12/11/2019   JWD     BL        Analyze issues UST objections                            0.50       850.00          $425.00
 12/11/2019   JWD     BL        Call with client re various filings and next steps       1.20       850.00       $1,020.00
 12/11/2019   JEO     BL        Emails with PSZJ team to prepare for 12/18 hearing       0.40       895.00          $358.00
 12/11/2019   JEO     BL        Participate in counsel call with OMM to discuss          0.90       895.00          $805.50
                                pending matters and 12/18 hearing
 12/11/2019   JEO     BL        Participate in call with YT team to discuss pending      0.90       895.00          $805.50
                                matters
 12/12/2019   MSP     BL        Review bank statements, other new documents and          1.80       825.00       $1,485.00
                                information for submission to both Committee and
                                U.S. Trustee; email exchange with J. Wang, L. Sun,
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                                                                                       Hours           Rate        Amount
                                R. Moon, R. Jia, et al. regarding same (.20).
 12/12/2019   MSP     BL        Review formal joinders and informal creditor            0.90       825.00          $742.50
                                communications regarding SLC motion to
                                dismiss/transfer venue; email exchange with Jeffrey
                                W. Dulberg, James O?Neill, et al. regarding same
                                (.10).
 12/12/2019   MSP     BL        Address materials needed for 12/18 hearing              1.80       825.00       $1,485.00
                                preparation; email exchange with Richard M.
                                Pachulski, Jeffrey W. Dulberg regarding same (.10).
 12/12/2019   MSP     BL        Attention to witness, evidence and hearing logistics    0.50       825.00          $412.50
                                issues regarding 12/18 hearings; email exchange
                                with Richard M. Pachulski, Jeffrey W. Dulberg,
                                James O?Neill regarding same (.10).
 12/12/2019   MSP     BL        Draft sur-reply regarding OUST response to SLC          2.30       825.00       $1,897.50
                                motion to dismiss/transfer venue.
 12/12/2019   RMP     BL        Review and respond to various e-mails with SLC re       1.30      1345.00       $1,748.50
                                trial protocol and telephone conferences with M.
                                Pagay and conferences with J. Dulberg re same.
 12/12/2019   JWD     BL        Review new joinder to motion to dismiss                 0.10       850.00            $85.00
 12/12/2019   JWD     BL        Follow up emails re new joinder                         0.10       850.00            $85.00
 12/12/2019   JWD     BL        Work on issues for creditors to join opposition         0.30       850.00          $255.00
 12/12/2019   JWD     BL        Review SLC correspondence re hearing                    0.10       850.00            $85.00
 12/12/2019   JWD     BL        Meeting with R Pachulski re issues for hearing          0.10       850.00            $85.00
 12/12/2019   JWD     BL        Work on issues re hearing and emails re same            0.30       850.00          $255.00
 12/12/2019   JWD     BL        Further review and revise reply pleading                0.30       850.00          $255.00
 12/12/2019   JWD     BL        Call with R Pachulski re SLC issues                     0.20       850.00          $170.00
 12/12/2019   JWD     BL        Emails with team re various replies and issues for      0.20       850.00          $170.00
                                same
 12/12/2019   JEO     BL        Review emails from SLC re 12/18 hearing                 0.60       895.00          $537.00
 12/12/2019   JEO     BL        Review documents prior to submission to UST re          0.80       895.00          $716.00
                                341 follow up
 12/12/2019   JEO     BL        Emails and calls with PSZJ team re preparation for      0.90       895.00          $805.50
                                12/18 hearing
 12/12/2019   JEO     BL        Emails with court re status of 12/ 18 hearing           0.30       895.00          $268.50
 12/12/2019   JEO     BL        Review pleadings for 12/18 hearing                      0.50       895.00          $447.50
 12/12/2019   BDD     BL        Research for R. Pachulski (per M. Pagay request) re     2.50       395.00          $987.50
                                motion to dismiss case and responses thereto; confer
                                with G. Downing and N. Brown re same
 12/13/2019   MSP     BL        Telephone call with James O?Neill regarding             0.40       825.00          $330.00
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                                                                                       Hours           Rate        Amount
                                preparation for 12/18 hearings.
 12/13/2019   MSP     BL        Email exchange with Jeffrey W. Dulberg, D. Perez,       0.80       825.00          $660.00
                                et al. regarding Sur-reply regarding OUST response
                                to SLC motion to dismiss/transfer venue and
                                revisions to same (.20); review revised and final
                                version of same.
 12/13/2019   MSP     BL        Address status of continued document production to      2.70       825.00       $2,227.50
                                Committee and U.S. Trustee; email exchange with
                                R. Moon, J. Wang, et al. regarding same (.10).
 12/13/2019   MSP     BL        Review joinders and informal communications             0.80       825.00          $660.00
                                received from creditors regarding SLC motion to
                                dismiss/transfer venue.
 12/13/2019   MSP     BL        Email exchange with D. Perez, et al. regarding          0.50       825.00          $412.50
                                Committee non-disclosure agreement (.10); review
                                revised and final version of same.
 12/13/2019   JWD     BL        Review and revise sur-reply re venue                    0.80       850.00          $680.00
 12/13/2019   JWD     BL        Review and revise sur reply motion                      0.30       850.00          $255.00
 12/13/2019   JWD     BL        Work on responses to creditors looking to support       0.70       850.00          $595.00
                                Debtor re dismissal and call with new counsel re
                                same
 12/13/2019   JWD     BL        Review new joinder to SLC motion                        0.10       850.00            $85.00
 12/13/2019   JWD     BL        Emails with client team re creditor support re          0.20       850.00          $170.00
                                dismissal
 12/13/2019   JWD     BL        Further revise SLC reply                                0.20       850.00          $170.00
 12/13/2019   JWD     BL        Review drafts of reply re OMM and emails re same        0.20       850.00          $170.00
 12/13/2019   JWD     BL        Call with V Roldan re creditor support re SLC           0.20       850.00          $170.00
                                motion
 12/13/2019   JWD     BL        Further calls re coordinating creditors supporting      0.30       850.00          $255.00
                                debtor
 12/13/2019   JWD     BL        Further work on sur-reply re UST response               0.30       850.00          $255.00
 12/13/2019   JEO     BL        Review drafts of replies for 12/18 hearing              0.60       895.00          $537.00
 12/13/2019   JEO     BL        Finalize and file motion for leave to respond to UST    0.80       895.00          $716.00
                                Response to Motion to Dismiss
 12/13/2019   JEO     BL        Work on email and produce documents to UST re:          0.90       895.00          $805.50
                                follow up from 341 meeting
 12/14/2019   MSP     BL        Email exchange with M. Zhang, D. Perez, et al.          0.10       825.00            $82.50
                                regarding designation of produced documents.
 12/14/2019   MSP     BL        Email exchange with S. Uhland, D. Perez, et al.         0.10       825.00            $82.50
                                regarding committee non-disclosure agreement.
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                                                                                        Hours           Rate        Amount
 12/14/2019   RMP     BL        Prepare for 12/18 motion to dismiss hearing.             2.70      1345.00       $3,631.50
 12/15/2019   MSP     BL        Address SLC motion to dismiss/transfer venue             2.80       825.00       $2,310.00
                                hearing presentation and logistics, offering of
                                evidence, status of creditor support, joinders, etc.;
                                email exchange with Richard M. Pachulski, S.
                                Uhland, Jeffrey W. Dulberg, et al. regarding same
                                (.30).
 12/15/2019   RMP     BL        Prepare for 12/18 and review cases.                      2.60      1345.00       $3,497.00
 12/15/2019   RMP     BL        Review and respond to e-mails with SLC's counsel         0.60      1345.00          $807.00
                                re hearing, documents and witnesses.
 12/15/2019   JWD     BL        Review SLC reply                                         0.40       850.00          $340.00
 12/15/2019   JWD     BL        Review new joinders and email with client re same        0.10       850.00            $85.00
 12/15/2019   JWD     BL        Review emails re SLC dispute and research issue re       0.50       850.00          $425.00
                                same
 12/15/2019   JWD     BL        Call with J ONeill re hearing issues                     0.10       850.00            $85.00
 12/15/2019   JWD     BL        Review and revise hearing agenda and emails re           0.20       850.00          $170.00
                                same
 12/15/2019   JWD     BL        Review cases cited in SLC reply                          0.80       850.00          $680.00
 12/15/2019   JEO     BL        Emails with counsel team in preparation for 12/18        0.80       895.00          $716.00
                                hearing on dismissal motion
 12/15/2019   JEO     BL        Review and update 12/18 hearing agenda to counsel        0.60       895.00          $537.00
                                team
 12/15/2019   JEO     BL        Review emails from Kobre Kim re evidentiary              0.60       895.00          $537.00
                                issues for 12/18 hearing
 12/15/2019   JEO     BL        Preparations for 12/18 hearing                           0.60       895.00          $537.00
 12/16/2019   MSP     BL        All hands call with counsel and client team              0.50       825.00          $412.50
                                regarding 12/18 hearings, due diligence status
                                update, etc.
 12/16/2019   MSP     BL        Telephone call with R. Jia, J. Wang regarding            0.20       825.00          $165.00
                                preparation for 12/18 hearings.
 12/16/2019   MSP     BL        Review additional joinders and informal statements       2.60       825.00       $2,145.00
                                regarding SLC motion to dismiss/transfer venue and
                                review basis of claims regarding parties in favor of
                                dismissal; email exchange with J. Wang, James O?
                                Neill, Jeffrey W. Dulberg, M. Zhang, S. He, et al.
                                regarding same (.20).
 12/16/2019   MSP     BL        Finalize preparation of case and other materials for     2.60       825.00       $2,145.00
                                12/18 hearings; email exchange with R. Jia, et al.
                                regarding same (.20).
 12/16/2019   MSP     BL        Review documents for submission to Committee and         2.80       825.00       $2,310.00
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                                                                                       Hours           Rate        Amount
                                U.S. Trustee; email exchange with D. Perez
                                regarding follow-up requests by Committee (.10).
 12/16/2019   RMP     BL        Prepare for and participate on team call re 12/18       0.80      1345.00       $1,076.00
                                hearing.
 12/16/2019   RMP     BL        Prepare for 12/18 hearing.                              2.90      1345.00       $3,900.50
 12/16/2019   RMP     BL        Telephone conference with Cousins re O-Film             0.40      1345.00          $538.00
                                issues.
 12/16/2019   JWD     BL        Review recent DE opinion re venue change                0.40       850.00          $340.00
 12/16/2019   JWD     BL        Review new joinder to Committee opp and email re        0.10       850.00            $85.00
                                same
 12/16/2019   JWD     BL        Emails with J ONeill re hearing issues                  0.10       850.00            $85.00
 12/16/2019   JWD     BL        OC with R Pachulski re SLC dispute                      0.10       850.00            $85.00
 12/16/2019   JWD     BL        Review issues and emails with Epiq re SLC issues        0.20       850.00          $170.00
 12/16/2019   JWD     BL        Work on prep for SLC hearing                            0.70       850.00          $595.00
 12/16/2019   JWD     BL        Call with client team re hearing prep                   0.50       850.00          $425.00
 12/16/2019   JWD     BL        Further office conf with R Pachulski re SLC re prep     0.40       850.00          $340.00
                                and call with J ONeill re same
 12/16/2019   JWD     BL        Work on notes for hearing                               0.30       850.00          $255.00
 12/16/2019   JWD     BL        Review cases in reply pleading                          1.20       850.00       $1,020.00
 12/16/2019   JEO     BL        Review and finalize agenda for 12/18 hearing            0.60       895.00          $537.00
 12/16/2019   JEO     BL        Call with client group re preparation for 12/18         0.80       895.00          $716.00
                                hearing
 12/16/2019   JEO     BL        Email to SLC Delaware counsel re joinders to            0.20       895.00          $179.00
                                dismissal motion
 12/16/2019   JEO     BL        Emails with counsel team re preparation for 12/18       0.60       895.00          $537.00
                                hearing
 12/16/2019   BDD     BL        Research additional cases recited to reply to opp to    0.80       395.00          $316.00
                                motion to dismiss/convert case and emails M. Pagay
                                and S. Lee re same
 12/17/2019   MSP     BL        Prepare for 12/18 hearings regarding SLC motion to      2.00       825.00       $1,650.00
                                dismiss/transfer venue, Moon CRO retention, et al.
 12/17/2019   MSP     BL        Continuing preparations for 12/18 hearing regarding     0.90       825.00          $742.50
                                SLC motion to dismiss/transfer venue, including
                                contact from creditors in support of debtor, etc.;
                                email exchange with J. Wang, James O?Neill, et al.
                                regarding same (.20).
 12/17/2019   MSP     BL        Review US Trustee motion to appoint trustee; email      1.20       825.00          $990.00
                                exchange with S. Uhland, Richard M. Pachulski, J.
                                Wang, Jeffrey W. Dulberg, et al. regarding impact of
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                                                                                        Hours           Rate        Amount
                                same (.80).
 12/17/2019   RMP     BL        Prepare for dismissal hearing.                           6.30      1345.00       $8,473.50
 12/17/2019   RMP     BL        Meeting with S. Uhland, J. O'Neill, M. Pagay re          2.20      1345.00       $2,959.00
                                venue hearing and preparation for same.
 12/17/2019   JWD     BL        Call with J O?Neill regarding preparation for            0.10       850.00            $85.00
                                hearing
 12/17/2019   JWD     BL        Review additional joinders and prepare colleagues        2.00       850.00       $1,700.00
                                for argument regarding various issues regarding
                                same
 12/17/2019   JWD     BL        Call with J. Wang regarding hearing prep                 0.10       850.00            $85.00
 12/17/2019   JWD     BL        Review motion to appoint Trustee and various             0.70       850.00          $595.00
                                emails regarding same
 12/17/2019   JWD     BL        Review and respond to various emails regarding new       0.60       850.00          $510.00
                                joinders and communications from debtor team
 12/17/2019   JEO     BL        Preparations for hearing on motion to                    4.00       895.00       $3,580.00
                                dismiss/transfer venue
 12/17/2019   JEO     BL        Meeting with PSZJ and OMM teams to continue to           2.00       895.00       $1,790.00
                                prepare for hearing on motion to dismiss/transfer
                                venue.
 12/17/2019   JEO     BL        Review and organize creditor letters in opposition to    1.40       895.00       $1,253.00
                                SLC Motion; draft translation declaration
 12/17/2019   JEO     BL        Review UST Motion to Appoint Chapter 11 Trustee          0.80       895.00          $716.00
 12/17/2019   JEO     BL        Emails with client group re UST Motion to Appoint        0.40       895.00          $358.00
                                Trustee
 12/17/2019   BDD     BL        Prepare chart re SLC support for                         1.10       395.00          $434.50
                                dismissal/conversion v. Debtor/Committee support
                                against dismissal/conversion and emails R.
                                Pachulski, M. Pagay and J. Dulberg re same
 12/18/2019   MSP     BL        Office meeting with Richard M. Pachulski, S.             6.00       825.00       $4,950.00
                                Uhland, et al. regarding and appear at hearings
                                regarding motion to dismiss/transfer venue, etc.
 12/18/2019   MSP     BL        Email exchange with Jeffrey W. Dulberg regarding         0.20       825.00          $165.00
                                statement regarding results of 12/18 hearings;
                                review and comment on same.
 12/18/2019   RMP     BL        Prepare for and participate on Yueting related           6.40      1345.00       $8,608.00
                                motion to dismiss before the Court.
 12/18/2019   JWD     BL        Attend telephonic hearing to dismiss or transfer         4.80       850.00       $4,080.00
                                venue
 12/18/2019   JWD     BL        Follow up calls and emails with client team and          1.60       850.00       $1,360.00
                                others
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                                                                                          Hours           Rate        Amount
 12/18/2019   JWD     BL        Review entered order regarding dismissal and venue         0.20       850.00          $170.00
                                and emails with team regarding same
 12/18/2019   JWD     BL        Call with Tavi Flanagan regarding hearing outcome          0.20       850.00          $170.00
                                and next steps
 12/18/2019   JWD     BL        Review and revise press release                            0.80       850.00          $680.00
 12/18/2019   JEO     BL        Prepare for hearing on dismissal/transfer of venue         2.00       895.00       $1,790.00
 12/18/2019   JEO     BL        Attend hearing on motion to transfer venue                 5.00       895.00       $4,475.00
 12/18/2019   JEO     BL        Follow up emails with client and counsel group re          1.20       895.00       $1,074.00
                                outcome of hearing and next steps.
 12/19/2019   MSP     BL        Email exchange with J. Wang, Richard M.                    1.30       825.00       $1,072.50
                                Pachulski, Jeffrey W. Dulberg, et al. regarding
                                Statement regarding 12/18 hearings, status of due
                                diligence and transfer, etc. (1.00); further review and
                                revise statement (.30).
 12/19/2019   MSP     BL        Email exchange with D. Perez et al. regarding              0.10       825.00            $82.50
                                Committee NDAs.
 12/19/2019   RMP     BL        Telephone conferences with Anderson re case issues         0.40      1345.00          $538.00
                                after transfer.
 12/19/2019   RMP     BL        Prepare for and participate on professional client         2.40      1345.00       $3,228.00
                                pre-call and then client team call re transfer, etc.
 12/19/2019   JWD     BL        Work with J Wang re press release revisions and            0.50       850.00          $425.00
                                phone call re same
 12/19/2019   JWD     BL        Further work with J Wang re press release and revise       0.30       850.00          $255.00
                                same
 12/19/2019   JWD     BL        Review and take notes re motion to appoint trustee         0.60       850.00          $510.00
 12/19/2019   JWD     BL        Call with J Wang re issues from hearing re venue           0.20       850.00          $170.00
                                and dismissal
 12/19/2019   JWD     BL        Review and respond to client team and OMM emails           0.80       850.00          $680.00
                                re responding to press issues and UST
 12/19/2019   JEO     BL        Follow up with Delaware Court clerk re transfer of         0.30       895.00          $268.50
                                case to CDCA
 12/19/2019   JEO     BL        Emails with Jeff Dulberg and Malhar Pagay re status        0.40       895.00          $358.00
                                of case and case transfer
 12/19/2019   JEO     BL        Review case docket                                         0.20       895.00          $179.00
 12/19/2019   JEO     BL        Review emails with counsel team re communication           0.30       895.00          $268.50
                                plan
 12/19/2019   JEO     BL        Email update with Jeff Dulberg and Malhar Pagay re         0.20       895.00          $179.00
                                case transfer to Central District of California
 12/20/2019   MSP     BL        Email exchange with W. Pao, L. Han, et al.                 0.20       825.00          $165.00
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                                                                                        Hours           Rate        Amount
                                regarding statements and impact of ruling on SLC
                                motion, etc.
 12/20/2019   MSP     BL        Review transcript of ruling regarding SLC motion;        0.50       825.00          $412.50
                                email exchange with James O?Neill, et al. regarding
                                same (.10).
 12/20/2019   MSP     BL        Address client issue regarding creditor                  0.90       825.00          $742.50
                                communications regarding impact of case transfer;
                                email exchange with Richard M. Pachulski, Jeffrey
                                W. Dulberg, M. Zhang, et al. regarding same (.10).
 12/20/2019   RMP     BL        Review various articles re transfer and conference       1.60      1345.00       $2,152.00
                                call with team re next steps.
 12/20/2019   JWD     BL        Call with OMM and PSZJ team re next steps and            1.10       850.00          $935.00
                                financing
 12/20/2019   JEO     BL        Review hearing transcript from 12/18 hearing and         0.60       895.00          $537.00
                                circulate to counsel team
 12/21/2019   MSP     BL        Email exchange with S. Uhland, Jeffrey W. Dulberg,       0.10       825.00            $82.50
                                et al. re: public response to ruling on SLC motion to
                                dismiss.
 12/23/2019   MSP     BL        Email exchange with Richard M. Pachulski, J.             0.10       825.00            $82.50
                                Wang, et al. re: Committee request for third-party
                                interviews.
 12/23/2019   MSP     BL        Email exchange with J. Wang, Jeffrey W. Dulberg et       0.30       825.00          $247.50
                                al. regarding public statement after SLC motion to
                                dismiss ruling.
 12/23/2019   RMP     BL        Review and respond to committee, client and M.           1.60      1345.00       $2,152.00
                                Pagay re due diligence issues for the Committee and
                                telephone conferences and e-mails re same.
 12/23/2019   JWD     BL        Respond to RK email re UST trustee motion issues         0.60       850.00          $510.00
 12/24/2019   MSP     BL        Telephone call with Richard M. Pachulski, S.             0.50       825.00          $412.50
                                Uhland, et al. regarding Committee discovery, plan
                                timeline, etc.
 12/24/2019   MSP     BL        Email exchange with Richard M. Pachulski, et al.         0.10       825.00            $82.50
                                regarding Committee request for call to discuss due
                                diligence.
 12/24/2019   MSP     BL        Review and analysis of new discharge deadline            0.60       825.00          $495.00
                                automatically set by court entry; email exchange
                                with Jeffrey W. Dulberg, et al. regarding same (.10).
 12/24/2019   RMP     BL        Telephone conferences with Wang and with                 0.70      1345.00          $941.50
                                Committee counsel re Committee due diligence
                                issues.
 12/24/2019   JWD     BL        Call with OMM and PSZJ team regarding case               0.50       850.00          $425.00
                                agenda
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                                                                                     Hours           Rate        Amount
 12/24/2019   JWD     BL        Review Code regarding 341a deadlines                  0.20       850.00          $170.00
 12/24/2019   JEO     BL        Review and comment on proposed case timeline          0.30       895.00          $268.50
 12/25/2019   MSP     BL        Telephone conference with J. Wang, M. Zhang, R.       1.50       825.00       $1,237.50
                                Moon, D. Perez regarding Committee 3rd party
                                information requests, etc.
 12/25/2019   MSP     BL        Address issues relating to 3rd party witness          2.10       825.00       $1,732.50
                                interviews and logistics; email exchange with J.
                                Wang, Richard M. Pachulski, et al. regarding same
                                (.10).
 12/25/2019   JWD     BL        Review M Pagay mark up to creditor                    0.40       850.00          $340.00
                                communication
 12/26/2019   MSP     BL        Telephone conference with Richard M. Pachulski,       0.20       825.00          $165.00
                                Jeffrey W. Dulberg, D. Perez regarding Committee
                                request for 3rd party information, interviews.
 12/26/2019   MSP     BL        Telephone conference with M. Kaplan, A.               0.60       825.00          $495.00
                                Behlmann, B. Waldie, Richard M. Pachulski, Jeffrey
                                W. Dulberg, et al. regarding Committee request for
                                3rd party information.
 12/26/2019   MSP     BL        Review and analysis of X. Ma transaction in           0.80       825.00          $660.00
                                response to Committee due diligence.
 12/26/2019   MSP     BL        Email exchange with X. Ma regarding Investigation     0.20       825.00          $165.00
                                of transaction.
 12/26/2019   MSP     BL        Review and analysis of documents already              2.20       825.00       $1,815.00
                                produced, due diligence tracking and additional
                                items needed to address Committee due diligence
                                requests; email exchange with J. Wang, et al.
                                regarding same (.20).
 12/26/2019   MSP     BL        Follow-up with S. Uhland, Richard M. Pachulski, et    2.20       825.00       $1,815.00
                                al. regarding Next steps regarding Committee due
                                diligence and review documents regarding same.
 12/26/2019   MSP     BL        Email exchange with Richard M. Pachulski, B.          0.10       825.00            $82.50
                                Kruse, et al. regarding Committee third party
                                witness interviews.
 12/26/2019   RMP     BL        Prepare for and participate on YT investigation       1.30      1345.00       $1,748.50
                                conference call with Committee professionals and
                                follow-up with M. Pagay re same.
 12/26/2019   RMP     BL        Follow-up conference call re Committee issues.        0.60      1345.00          $807.00
 12/27/2019   RMP     BL        Telephone conferences and e-mails with client         0.60      1345.00          $807.00
                                representatives re due diligence issues.
 12/27/2019   JWD     BL        Review issues and work on PR response re trustee      1.60       850.00       $1,360.00
                                motion
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                                                                                        Hours            Rate        Amount
 12/28/2019   MSP     BL        Telephone call with M. Zhang regarding Committee          0.80       825.00          $660.00
                                due diligence, interviews, etc.
 12/29/2019   JWD     BL        Review M Pagay email re debtor team issues                0.10       850.00            $85.00
 12/29/2019   JWD     BL        Work on informal response re UST motion                   0.60       850.00          $510.00
 12/30/2019   RMP     BL        Review case status and telephone conference with          0.60      1345.00          $807.00
                                M. Pagay re same.
 12/30/2019   JWD     BL        Draft emails re various issue for debt team counsel       0.40       850.00          $340.00
                                and PT work
 12/30/2019   JWD     BL        Call with R Itkin re working for debt team                0.20       850.00          $170.00
 12/31/2019   JEO     BL        Review case deadlines and critical dates                  0.40       895.00          $358.00

                                                                                        219.60                  $202,194.00

  Case Administration [B110]
 12/01/2019   MSP     CA        Email exchange with S. Uhland, Richard M.                 0.10       825.00            $82.50
                                Pachulski, et al. regarding Counsel discussion.
 12/01/2019   JWD     CA        Emails re next client call and agenda                     0.10       850.00            $85.00
 12/04/2019   MSP     CA        Email exchange with JO, et al. regarding Chinese          0.20       825.00          $165.00
                                publication of bar date notice.
 12/06/2019   JWD     CA        Work on response to WSJ inquiry                           1.20       850.00       $1,020.00
 12/06/2019   JWD     CA        Further work on responding to press inquiries             0.70       850.00          $595.00
 12/07/2019   MSP     CA        Email exchange with W. Pao, Jeffrey W. Dulberg, et        0.10       825.00            $82.50
                                al. regarding counsel discussion regarding case
                                status.
 12/09/2019   MSP     CA        Email exchange with D. Perez, James O?Neill, et al.       0.20       825.00          $165.00
                                regarding proposed plan confirmation and case
                                timeline.
 12/09/2019   JWD     CA        Review and respond to emails re PBGC inquiry              0.10       850.00            $85.00
 12/10/2019   JWD     CA        Review client task list and emails regarding same         0.30       850.00          $255.00
 12/11/2019   MSP     CA        Telephone call with Richard M. Pachulski, S.              1.00       825.00          $825.00
                                Uhland, et al. regarding case issues, preparation for
                                client call, etc.
 12/11/2019   MSP     CA        All hands call with client team and counsel               1.30       825.00       $1,072.50
                                regarding case status, work-in-process and action
                                items.
 12/11/2019   JWD     CA        Call with OMM and PSZJ team re various issues for         1.00       850.00          $850.00
                                coordination
 12/12/2019   MSP     CA        Email exchange with Richard M. Pachulski, James           0.20       825.00          $165.00
                                O?Neill, et al. regarding call from court regarding
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                                                                                          Hours           Rate        Amount
                                12/18 hearings.
 12/14/2019   MSP     CA        Email exchange with S. Uhland, W. Pao, et al.              0.20       825.00          $165.00
                                regarding calls to discuss 12/18 hearing preparation,
                                etc.
 12/15/2019   MSP     CA        Email exchange with Richard M. Pachulski, Jeffrey          0.80       825.00          $660.00
                                W. Dulberg, J. Wang et al. regarding counsel and
                                client calls in light of upcoming 12/18 hearings
                                (.20); address logistics of same.
 12/16/2019   MSP     CA        Email exchange with James O?Neill, et al. regarding        0.10       825.00            $82.50
                                amended agenda notice for 12/18 hearings.
 12/16/2019   JWD     CA        Review scheduling order                                    0.10       850.00            $85.00
 12/16/2019   JEO     CA        Finalize hearing agenda for 12/18 hearing                  0.80       895.00          $716.00
 12/19/2019   MSP     CA        Telephone call with Richard M. Pachulski, S.               1.10       825.00          $907.50
                                Uhland, et al. regarding status of case transfer, items
                                for discussion with client, etc.
 12/19/2019   MSP     CA        Client group and counsel call regarding next steps         1.90       825.00       $1,567.50
                                after case venue transfer, etc.
 12/19/2019   MSP     CA        Address administrative and other transition matters        1.80       825.00       $1,485.00
                                relating to case transfer; email exchange with Jeffrey
                                W. Dulberg, et al. regarding same (.20).
 12/19/2019   MSP     CA        Review outstanding and new matters arising from            2.00       825.00       $1,650.00
                                transfer of case and prepare agenda for discussion.
 12/19/2019   JWD     CA        Meet with R Pachulski and attend to issues re case         0.20       850.00          $170.00
                                transfer
 12/19/2019   JWD     CA        Work on various issues re case transition to CA            0.70       850.00          $595.00
 12/19/2019   JWD     CA        Call with attorney team re case status                     1.00       850.00          $850.00
 12/19/2019   JWD     CA        Attend call with client team re case transition and        1.90       850.00       $1,615.00
                                related issues
 12/19/2019   BDD     CA        Email J. Dulberg re critical dates                         0.10       395.00            $39.50
 12/19/2019   BDD     CA        Email N. Brown re transfer of case to CDCA                 0.10       395.00            $39.50
 12/19/2019   BDD     CA        Email P. Cuniff re critical dates                          0.10       395.00            $39.50
 12/20/2019   MSP     CA        Telephone call with Richard M. Pachulski, Jeffrey          1.00       825.00          $825.00
                                W. Dulberg, S. Uhland, W. Pao, L. Han regarding
                                case status update, discussion with Committee, court
                                setting of status conference, etc.
 12/20/2019   MSP     CA        Review status conference order and analysis                1.50       825.00       $1,237.50
                                regarding addressing all components required and
                                updating case status; email exchange with
                                Committee counsel, Richard M. Pachulski, Jeffrey
                                W. Dulberg, S. Uhland, et al. regarding same (.10).
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 12/20/2019   MSP     CA        Email exchange with J. Wang, et al. regarding           0.80       825.00          $660.00
                                Addressing new U.S. Trustee office requirements
                                (.10) and review and address same.
 12/20/2019   JWD     CA        Further work on transition to CDCA and emails re        0.30       850.00          $255.00
                                same
 12/20/2019   JWD     CA        Review various articles re case status and emails re    0.50       850.00          $425.00
                                same
 12/20/2019   BDD     CA        Email M. DesJardien re critical dates                   0.10       395.00            $39.50
 12/20/2019   BDD     CA        Email J. Dulberg re critical dates                      0.10       395.00            $39.50
 12/20/2019   BDD     CA        Email N. Brown re ECF notifications                     0.10       395.00            $39.50
 12/20/2019   BDD     CA        Email J. Dulberg re transfer of calendaring matters     0.10       395.00            $39.50
 12/21/2019   MSP     CA        Review and analysis of case and plan confirmation       2.40       825.00       $1,980.00
                                matters in light of case transfer and new district
                                requirements and procedures and draft new case and
                                plan timeline.
 12/22/2019   MSP     CA        Email exchange with J. Wang, Richard M.                 0.30       825.00          $247.50
                                Pachulski, et al. re: Case and plan timeline, work
                                plan for week of 12/23, etc.
 12/23/2019   MSP     CA        Email exchange with D. Law re: case transition          0.10       825.00            $82.50
                                issues after transfer.
 12/24/2019   MSP     CA        Email exchanges with J. Wang, et al. regarding          1.50       825.00       $1,237.50
                                Creditor communication regarding case status (.50);
                                review and revise same.
 12/24/2019   JWD     CA        Emails with team members regarding various case         0.30       850.00          $255.00
                                issues
 12/24/2019   JWD     CA        Review venue transfer blurb for website                 0.10       850.00            $85.00
 12/24/2019   JWD     CA        WIP call with client team                               0.40       850.00          $340.00
 12/24/2019   JEO     CA        Email with Malhar Pagay re case transfer and Epiq       0.20       895.00          $179.00
                                website
 12/24/2019   JEO     CA        Follow up email to Epiq re case transfer and            0.40       895.00          $358.00
                                updating case website
 12/24/2019   JEO     CA        Review and comment on proposed language for             0.40       895.00          $358.00
                                Epiq website
 12/25/2019   MSP     CA        Email exchange with J. Wang, et al. regarding           0.50       825.00          $412.50
                                communications with all creditors regarding new
                                case status, etc. (.10); review and further comment
                                on same.
 12/26/2019   MSP     CA        Telephone conference with Richard M. Pachulski,         0.50       825.00          $412.50
                                Jeffrey W. Dulberg regarding Call with U.S.
                                Trustee?s office regarding transfer of case.
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                                                                                       Hours           Rate        Amount
 12/26/2019   MSP     CA        Email exchange with D. Law, K. Morrison, Richard        0.20       825.00          $165.00
                                M. Pachulski regarding Presentation of case to LA
                                UST office.
 12/26/2019   MSP     CA        Substantially revise creditor information statement     1.10       825.00          $907.50
                                regarding case status; email exchange with J. Wang
                                regarding same (.10).
 12/26/2019   JWD     CA        Call with PSZJ team re UST update                       0.30       850.00          $255.00
 12/26/2019   JWD     CA        Emails with M Pagay re UST meeting                      0.20       850.00          $170.00
 12/27/2019   MSP     CA        Telephone conference with D. Law, K. Morrison, G.       0.70       825.00          $577.50
                                Baddin regarding transition of case from Delaware,
                                OUST requirements, etc.
 12/28/2019   JWD     CA        Review email from M Pagay re case update (.1);          0.20       850.00          $170.00
                                draft response re DIP call (.1)
 12/28/2019   JWD     CA        Review dual language status report and emails from      1.10       850.00          $935.00
                                team re same (.6); review updated PR piece and
                                emails re same (.5)
 12/29/2019   MSP     CA        Email exchange with J. Wang regarding updated           0.10       825.00            $82.50
                                case status for creditors.
 12/30/2019   MSP     CA        Telephone call with Richard M. Pachulski, S.            1.00       825.00          $825.00
                                Uhland, et al. regarding case status updates, etc.
 12/30/2019   MSP     CA        All hands call regarding work-in-process, pending       0.90       825.00          $742.50
                                case tasks, etc.
 12/30/2019   MSP     CA        Revise and provide additional comments regarding        1.30       825.00       $1,072.50
                                creditor communication; email exchange with J.
                                Wang et al. re same (.10).
 12/30/2019   JWD     CA        Call with counsel team re update                        1.00       850.00          $850.00
 12/30/2019   JWD     CA        Call with client team                                   0.80       850.00          $680.00
 12/31/2019   RMP     CA        Telephone conferences with J. Dulberg and S.            0.60      1345.00          $807.00
                                Uhland re upcoming interviews.
 12/31/2019   JWD     CA        Review various emails re responding to 341a doc         0.50       850.00          $425.00
                                issues for UST etc

                                                                                       41.00                   $34,287.00

  Claims Admin/Objections[B310]
 12/02/2019   MSP     CO        Email exchange with D. Perez, S. Persichilli, M.        0.30       825.00          $247.50
                                Zhang, et al. regarding Publication of bar date
                                notice.
 12/02/2019   MSP     CO        Email exchange with S. Persichilli, D. Perez, et al.    0.10       825.00            $82.50
                                re bar date notice FAQs.
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                                                                                        Hours           Rate        Amount
 12/02/2019   MSP     CO        Review Success Pyramid transaction and related           0.70       825.00          $577.50
                                issues (.60); email exchange with Richard M.
                                Pachulski, W. Pao, et al. regarding same (.10).
 12/04/2019   MSP     CO        Email exchange with James O?Neill, et al. regarding      0.10       825.00            $82.50
                                publication and other notice issues.
 12/04/2019   JEO     CO        Review publication issues re bar date motion             0.60       895.00          $537.00
 12/04/2019   JEO     CO        Emails with client group re bar date issues              0.40       895.00          $358.00
 12/07/2019   MSP     CO        Email exchange with Richard M. Pachulski, J.             1.60       825.00       $1,320.00
                                Wang, M. Zhang, W. Pao, et al. regarding SLC
                                claim treatment discussion, offsets (.40); review
                                documents regarding offset (1.20).
 12/07/2019   MSP     CO        Review Smart King appraisals for purposes of             0.40       825.00          $330.00
                                providing to U.S. Trustee and Committee (.30);
                                email exchange with S. Uhland, et al. regarding
                                same (.10).
 12/08/2019   MSP     CO        Email exchange with Richard M. Pachulski, J. Wang        0.10       825.00            $82.50
                                et al. regarding discussion with SLC regarding
                                potential resolution.
 12/10/2019   RMP     CO        Telephone conference with S. Cousin re claim             0.30      1345.00          $403.50
                                issues.
 12/10/2019   RMP     CO        Telephone conference with SLC counsel re claim           0.40      1345.00          $538.00
                                issues and telephone conference with client re SLC
                                issues.
 12/11/2019   MSP     CO        Address bar date notice issues (.90); email exchange     1.00       825.00          $825.00
                                with C. Murray, James O?Neill, et al. regarding
                                same (.10).
 12/13/2019   MSP     CO        Email exchange with D. Perez, M. Zhang, et al.           0.10       825.00            $82.50
                                regarding Bar date notice.
 12/17/2019   BDD     CO        Review creditor claim and email J. Dulberg re same       0.10       395.00            $39.50
 12/19/2019   MSP     CO        Email exchange with James O?Neill, et al. regarding      0.10       825.00            $82.50
                                Bar date notice publication.
 12/19/2019   MSP     CO        Email exchange with Beth Dassa, et al. regarding         0.10       825.00            $82.50
                                former counsel inquiry regarding prosecuting claim.
 12/19/2019   BDD     CO        Research bar date info and email Greenberg Traurig       0.10       395.00            $39.50
                                and M. Pagay re same
 12/23/2019   MSP     CO        Email exchange with James O?Neill, et al. re:            0.10       825.00            $82.50
                                publication of bar date notice.
 12/23/2019   JEO     CO        Follow up with Epiq re publication of bar date notice    0.20       895.00          $179.00
 12/23/2019   JEO     CO        Email to counsel team re bar date publication            0.30       895.00          $268.50
 12/24/2019   MSP     CO        Email exchange with James O?Neill, M. Zhang, et          0.10       825.00            $82.50
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                                                                                      Hours           Rate        Amount
                                al. regarding Publication of bar date notice.
 12/24/2019   JEO     CO        Email to client re publication of bar date             0.30       895.00          $268.50

                                                                                       7.50                    $6,591.50

  Compensation Prof. [B160]
 12/12/2019   JWD     CP        Review and revise monthly bills re UST categories      0.20       850.00          $170.00
                                and write downs
 12/13/2019   MSP     CP        Review billing revised by Jeffrey W. Dulberg; email    0.20       825.00          $165.00
                                exchange with Jeffrey W. Dulberg regarding same
                                (.10).
 12/13/2019   JWD     CP        Review and code bill re tasks                          0.40       850.00          $340.00
 12/13/2019   BDD     CP        Review invoices and confer with J. Dulberg re same     0.20       395.00            $79.00

                                                                                       1.00                       $754.00

  Employee Benefit/Pension-B220
 12/02/2019   MSP     EB        Email exchange with Jeffrey W. Dulberg, R. Jia, M.     0.10       825.00            $82.50
                                Zhang, S. Uhland regarding PBGC request regarding
                                pension plan.
 12/02/2019   JWD     EB        Emails with PBGC and client re pension plan            0.20       850.00          $170.00
                                inquiry

                                                                                       0.30                       $252.50

  Executory Contracts [B185]
 12/09/2019   JWD     EC        Review deadline re 365 and emails re same              0.10       850.00            $85.00

                                                                                       0.10                         $85.00

  Financial Filings [B110]
 12/04/2019   JEO     FF        update monthly operating report                        0.40       895.00          $358.00
 12/05/2019   JEO     FF        Review draft of MOR and forward to UST for             0.50       895.00          $447.50
                                review
 12/05/2019   JEO     FF        Review materials for 2015.3 report                     1.60       895.00       $1,432.00
 12/11/2019   MSP     FF        Email exchange with James O?Neill regarding            0.10       825.00            $82.50
                                waiting for US Trustee analyst comments on draft
                                Monthly Operating Report.
 12/20/2019   JEO     FF        Compile documents for UST in Central District          2.10       895.00       $1,879.50
 12/22/2019   JWD     FF        Emails re UST compliance                               0.20       850.00          $170.00
 12/23/2019   MSP     FF        Email exchange with James O?Neill, Beth Dassa re:      0.20       825.00          $165.00
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                                                                                    Hours           Rate        Amount
                                draft Monthly Operating Report.
 12/23/2019   JWD     FF        Review MOR draft for filing                          0.10       850.00            $85.00
 12/23/2019   JEO     FF        Review information for submission to CA US           0.40       895.00          $358.00
                                Trustee
 12/23/2019   JEO     FF        Work on 2015 report                                  0.80       895.00          $716.00
 12/26/2019   MSP     FF        Review and address transition of supplemental        1.60       825.00       $1,320.00
                                documents provided to Delaware UST to LA UST;
                                email exchange with Beth Dassa, James O?Neill
                                regarding same (.20).
 12/26/2019   MSP     FF        Email exchange with Beth Dassa regarding draft       0.10       825.00            $82.50
                                Monthly Operating Report.
 12/26/2019   BDD     FF        Email M. Pagay re UST compliance                     0.10       395.00            $39.50
 12/26/2019   BDD     FF        Email M. Pagay re supplemental documents for US      0.10       395.00            $39.50
                                Trustee
 12/26/2019   BDD     FF        Work on October MOR per CDCA requirements and        0.80       395.00          $316.00
                                emails M. Pagay and J. O'Neill re same
 12/27/2019   MSP     FF        Email exchange with James O?Neill, Beth Dassa        0.10       825.00            $82.50
                                regarding draft monthly operating report.
 12/27/2019   JEO     FF        Review IDI documents, MOR and 2015.3 reporting       0.70       895.00          $626.50
                                materials and email to Beth Dassa
 12/27/2019   BDD     FF        Participate on call with US Trustee re compliance    0.70       395.00          $276.50
                                issues
 12/27/2019   BDD     FF        Email J. O'Neill re supplemental compliance          0.10       395.00            $39.50
                                documents for US Trustee
 12/27/2019   BDD     FF        Email J. O'Neill re zip drive                        0.10       395.00            $39.50
 12/27/2019   BDD     FF        Research 7 day package information re compliance     0.20       395.00            $79.00
                                and email M. Pagay re same
 12/27/2019   BDD     FF        Email M. Pagay re real property questionnaires       0.10       395.00            $39.50
 12/28/2019   BDD     FF        Review supplemental documents for US Trustee,        1.60       395.00          $632.00
                                prepare index re same and email M. Pagay re same
 12/30/2019   MSP     FF        Email exchange with Beth Dassa, R. Jia, J. Wang,     3.40       825.00       $2,805.00
                                M. Zhang, et al. regarding compilation of binder
                                containing supplemental documents requested by
                                Delaware UST (.30); review compiled documents
                                and address redaction and other issues regarding
                                same.
 12/30/2019   BDD     FF        Email M. Pagay re supplemental documents for US      0.10       395.00            $39.50
                                Trustee
 12/30/2019   BDD     FF        Emails G. Downing, N. Brown and S. Lee re            0.30       395.00          $118.50
                                supplemental documents/binder for US Trustee
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                                                                                       Hours           Rate        Amount
 12/30/2019   BDD     FF        Emails M. Pagay re supplemental documents for           0.20       395.00            $79.00
                                U.S. Trustee
 12/31/2019   MSP     FF        Email exchange with M. Zhang, et al regarding           0.10       825.00            $82.50
                                answer to question asked originally by Delaware
                                UST regarding other former affiliate entities.
 12/31/2019   MSP     FF        Finalize review and compilation of supplemental         1.30       825.00       $1,072.50
                                documents to be provided to the Office of the United
                                States Trustee; email exchange with K. Morrison et
                                al. regarding same (.10).

                                                                                       18.10                   $13,503.00

  Financing [B230]
 12/01/2019   MSP     FN        Review and analysis of PTH-debtor financing; email      2.60       825.00       $2,145.00
                                exchange with M. Zhang, R. Jia regarding same
                                (.10).
 12/02/2019   MSP     FN        Email exchange with R. Jia, Richard M. Pachulski,       0.20       825.00          $165.00
                                Jeffrey W. Dulberg et al. regarding Committee
                                payment information and source of funds.
 12/02/2019   MSP     FN        Email exchange with R. Jia, Jeffrey W. Dulberg, et      0.10       825.00            $82.50
                                al. regarding Source of funding for committee
                                professionals.
 12/02/2019   JWD     FN        Emails re payment to Committee re retainer              0.20       850.00          $170.00
 12/07/2019   MSP     FN        Email exchanges with S. Uhland, T. Li, Jeffrey W.       2.60       825.00       $2,145.00
                                Dulberg, James O?Neill, et al. regarding DIP loan
                                term sheet, loan terms, etc. and review and finalize
                                terms of same.
 12/07/2019   JWD     FN        Multiple emails and calls with M Pagay and team re      0.70       850.00          $595.00
                                DIP lending
 12/07/2019   JWD     FN        Work on term sheet and email to Committee               0.80       850.00          $680.00
 12/07/2019   JEO     FN        Emails with PSZJ team re DIP financing                  0.60       895.00          $537.00
 12/08/2019   JWD     FN        Calls with M Pagay and review DIP issues                0.20       850.00          $170.00
 12/08/2019   JWD     FN        Work on DIP internal sign off                           0.50       850.00          $425.00
 12/09/2019   MSP     FN        Email exchange with S. Uhland, et al. regarding DIP     0.20       825.00          $165.00
                                Loan terms and amount.
 12/09/2019   JWD     FN        Work on issues re financing                             0.30       850.00          $255.00
 12/09/2019   JWD     FN        Work on issues re PTH borrowing                         0.20       850.00          $170.00
 12/10/2019   JWD     FN        Work on DIP financing pleadings                         1.20       850.00       $1,020.00
 12/10/2019   JWD     FN        Call with J O'Neill re financing                        0.20       850.00          $170.00
 12/10/2019   JWD     FN        Work on loan agreement                                  1.70       850.00       $1,445.00
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                                                                                       Hours           Rate        Amount
 12/11/2019   JWD     FN        Work on note for DIP                                    0.50       850.00          $425.00
 12/12/2019   MSP     FN        Compile information to address client case              1.50       825.00       $1,237.50
                                budgeting questions; email exchange with R. Jia, et
                                al. regarding same (.10).
 12/15/2019   JWD     FN        Work on DIP financing motion and order docs             1.70       850.00       $1,445.00
 12/15/2019   JWD     FN        Continue draft of DIP financing pleading                0.80       850.00          $680.00
 12/16/2019   MSP     FN        Email exchange with Jeffrey W. Dulberg, et al.          0.10       825.00            $82.50
                                regarding initial draft of DIP financing motion.
 12/16/2019   JWD     FN        Work on financing docs                                  0.70       850.00          $595.00
 12/17/2019   MSP     FN        Email exchange with S. Uhland, et al. regarding DIP     0.10       825.00            $82.50
                                motion.
 12/17/2019   MSP     FN        Email exchange with Jeffrey W. Dulberg, A.              0.30       825.00          $247.50
                                Behlmann, et al. regarding revised DIP motion (.10);
                                review same.
 12/17/2019   JWD     FN        Draft emails regarding DIP financing                    0.20       850.00          $170.00
 12/17/2019   JWD     FN        Call with O?Melveny team regarding DIP financing        0.50       850.00          $425.00
 12/17/2019   JWD     FN        Work on DIP financing pleadings                         2.80       850.00       $2,380.00
 12/17/2019   JWD     FN        Review and revise draft DIP motion and order            1.30       850.00       $1,105.00
 12/18/2019   PJJ     FN        Email from/to Jeff Dulberg regarding interim DIP        0.20       395.00            $79.00
                                order.
 12/19/2019   JWD     FN        Work on draft DIP order                                 0.70       850.00          $595.00
 12/20/2019   MSP     FN        Email exchange with A. Behlmann, J. Merkin et al.       0.50       825.00          $412.50
                                regarding DIP status, Committee payment amount
                                etc.
 12/20/2019   RMP     FN        Deal with Committee requests and telephone              1.30      1345.00       $1,748.50
                                conferences with team re same.
 12/20/2019   JWD     FN        Review and respond to client group email re             0.20       850.00          $170.00
                                financing
 12/20/2019   JWD     FN        Work on new pleadings re financing                      0.50       850.00          $425.00
 12/24/2019   MSP     FN        Email exchange with S. Uhland regarding DIP note.       0.10       825.00            $82.50
 12/24/2019   JWD     FN        Review and revise DIP Note                              1.30       850.00       $1,105.00
 12/26/2019   MSP     FN        Email exchange with S. Uhland, L. Han, M. Zhang,        0.10       825.00            $82.50
                                et al. regarding revised DIP note.
 12/26/2019   MSP     FN        Email exchange with M. Zhang, Jeffrey W. Dulberg        0.10       825.00            $82.50
                                et al. regarding revised DIP note.
 12/26/2019   JWD     FN        Review M Zhang comments to DIP note and emails          0.50       850.00          $425.00
                                re same
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                                                                                     Hours           Rate        Amount
 12/26/2019   JWD     FN        Work on new version of note and various emails re     0.60       850.00          $510.00
                                same
 12/27/2019   MSP     FN        Telephone conference with Jeffrey W. Dulberg, et      0.50       825.00          $412.50
                                al. regarding DIP financing.
 12/27/2019   JWD     FN        Review new draft of dip note                          0.30       850.00          $255.00
 12/27/2019   JWD     FN        Prepare for and attend call re DIP financing and      1.70       850.00       $1,445.00
                                work on revisions to chart for same
 12/30/2019   JWD     FN        Call with D Meadows re PT issues                      0.20       850.00          $170.00
 12/30/2019   JWD     FN        Call with M Lei re PT status                          0.10       850.00            $85.00

                                                                                     31.70                   $27,299.50

  General Creditors Comm. [B150]
 12/03/2019   JWD     GC        Review and respond to Committee email re third        0.20       850.00          $170.00
                                party discovery and email client re same
 12/04/2019   JWD     GC        Emails re wire to Committee trust and email           0.40       850.00          $340.00
                                inquiries re same
 12/04/2019   JWD     GC        Further emails re Committee funding                   0.20       850.00          $170.00
 12/04/2019   JWD     GC        Review and revise data room cover sheet               0.20       850.00          $170.00
 12/04/2019   JWD     GC        Review OV balance sheet                               0.20       850.00          $170.00
 12/04/2019   JWD     GC        Review Faraday release letter                         0.10       850.00            $85.00
 12/11/2019   MSP     GC        Email exchange with A. Behlmann, D. Perez, et al.     0.50       825.00          $412.50
                                regarding Committee non-disclosure agreements
                                (.10); review mark-up regarding same (.40).
 12/12/2019   MSP     GC        Telephone conference with Committee counsel, S.       2.60       825.00       $2,145.00
                                Uhland, D. Perez, Richard M. Pachulski, et al.
                                regarding Committee inquiries regarding related
                                party transactions, discovery, plan schedule, etc.
 12/12/2019   JWD     GC        Attend call with Creditors Committee re updates on    2.50       850.00       $2,125.00
                                all issues
 12/23/2019   JWD     GC        Review emails re Committee update and schedule        0.20       850.00          $170.00
 12/26/2019   MSP     GC        Email exchange with A. Behlmann, J. Wang              0.10       825.00            $82.50
                                regarding Committee counsel contact for individual
                                creditor inquiries.
 12/26/2019   JWD     GC        Call with Committee re discovery                      0.60       850.00          $510.00
 12/26/2019   JWD     GC        Call with PSZJ team re Committee discovery            0.20       850.00          $170.00
 12/27/2019   MSP     GC        Email exchange with Richard M. Pachulski, J.          0.10       825.00            $82.50
                                Wang, et al. regarding Committee member contact
                                with Faraday financing sources.
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                                                                                         8.10                   $6,802.50

  Litigation (Non-Bankruptcy)
 12/09/2019   MSP     LN        Email exchange with W. Pao regarding Jinan               0.10       825.00           $82.50
                                litigation status.
 12/16/2019   BDD     LN        Research re O'Film v. YT and email M. Pagay re           0.10       395.00           $39.50
                                same
 12/31/2019   MSP     LN        Review Vizio v. LeEco pleadings regarding                0.60       825.00          $495.00
                                enforcement of settlement; email exchange with J.
                                Wang regarding same (.10).
 12/31/2019   RMP     LN        Review Vizio pleadings and various telephone             0.70      1345.00          $941.50
                                conferences re same.
 12/31/2019   JWD     LN        Review communication from J Wang re Vizio action         0.40       850.00          $340.00

                                                                                         1.90                   $1,898.50

  Meeting of Creditors [B150]
 12/01/2019   MSP     MC        Email exchange with W. Pao, et al. regarding 341(a)      0.10       825.00           $82.50
                                meeting preparation.
 12/01/2019   MSP     MC        Review documents regarding witness preparation for       2.50       825.00      $2,062.50
                                341(a) meeting.
 12/02/2019   MSP     MC        Continue review of documents regarding witness           2.50       825.00      $2,062.50
                                preparation for 341(a) meeting.
 12/02/2019   MSP     MC        Finalize 341(a) meeting preparation materials (2.50),    2.80       825.00      $2,310.00
                                and email exchange with W. Pao, Richard M.
                                Pachulski, et al. regarding same (.30).
 12/02/2019   RMP     MC        Prepare for 341 preparation and various telephone        1.40      1345.00      $1,883.00
                                conferences and e-mails re same.
 12/03/2019   MSP     MC        Meeting with client and team, Richard M. Pachulski,      9.50       825.00      $7,837.50
                                W. Pao regarding 341(a) meeting preparation.
 12/03/2019   MSP     MC        Address 341(a) further preparation arrangements,         2.20       825.00      $1,815.00
                                including compilation of preparation materials and
                                second preparation session (2.10); email exchange
                                with JO et al. regarding same (.10).
 12/03/2019   RMP     MC        Prepare for and participate on preparation of client's   5.90      1345.00      $7,935.50
                                341(a) meeting.
 12/03/2019   JWD     MC        Review 341a meeting notes and emails re same             0.30       850.00          $255.00
 12/04/2019   MSP     MC        Travel to Wilmington for 341(a) meeting                  9.30       825.00      $7,672.50
                                preparation.
 12/04/2019   MSP     MC        Email exchange with W. Pao, et al. regarding             0.10       825.00           $82.50
                                arrangements for 341(a) meeting preparation
                                session.
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                                                                                       Hours           Rate        Amount
 12/04/2019   RMP     MC        Prepare for Jia Yueting 341(a) exam.                    2.80      1345.00       $3,766.00
 12/04/2019   JEO     MC        Preparations for meeting of creditors                   0.80       895.00          $716.00
 12/05/2019   MSP     MC        Meeting with client team, Richard M. Pachulski,        10.50       825.00       $8,662.50
                                James O?Neill, S. Uhland, T. Li, W. Pao, et al.
                                regarding preparation for 341(a) meeting of
                                creditors; revise and finalize opposition to SLC
                                motion to dismiss/transfer venue (2.80).
 12/05/2019   MSP     MC        Email exchange with Richard M. Pachulski, et al.        0.20       825.00          $165.00
                                regarding Logistics for 341(a) meeting preparation,
                                etc.
 12/05/2019   RMP     MC        Prepare for and participate in preparation with         8.40      1345.00      $11,298.00
                                Yueting for his 341 exam.
 12/05/2019   JEO     MC        Prepare for 341 meeting                                 4.40       895.00       $3,938.00
 12/05/2019   JEO     MC        Email to UST Dave Buchbinder re 341 meeting             0.20       895.00          $179.00
 12/06/2019   MSP     MC        Attend section 341(a) meeting of creditors.             4.50       825.00       $3,712.50
 12/06/2019   MSP     MC        Return travel to Los Angeles after section 341(a)      10.50       825.00       $8,662.50
                                meeting of creditors.
 12/06/2019   RMP     MC        Prepare for and attend Yueting 341 exam.                4.20      1345.00       $5,649.00
 12/06/2019   JWD     MC        Review emails re 341a outcome                           0.20       850.00          $170.00
 12/06/2019   JEO     MC        Prepare for and attend 341 meeting                      5.00       895.00       $4,475.00
 12/07/2019   MSP     MC        Telephone call with Jeffrey W. Dulberg regarding        0.30       825.00          $247.50
                                follow-up items after section 341(a) meeting of
                                creditors.
 12/07/2019   MSP     MC        Email exchange with Richard M. Pachulski, Jeffrey       0.20       825.00          $165.00
                                W. Dulberg, James O?Neill, et al. regarding 341(a)
                                transcript.
 12/09/2019   MSP     MC        Email exchange with James O?Neill, et al. re US         0.10       825.00            $82.50
                                Trustee follow up items.
 12/09/2019   MSP     MC        Address US Trustee supplemental document                2.20       825.00       $1,815.00
                                requests and Committee due diligence (2.10); email
                                exchange with R. Jia, J. Wang, et al. regarding same
                                (.10).
 12/10/2019   MSP     MC        Attention to and review documents potentially           2.50       825.00       $2,062.50
                                responsive to US Trustee supplemental requests
                                (2.40); email exchange with D. Perez, et al.
                                regarding same (.10).
 12/11/2019   MSP     MC        Review recording of meeting transcript (3.30); email    3.40       825.00       $2,805.00
                                exchange with James O?Neill, et al. regarding same
                                (.10).
 12/11/2019   MSP     MC        Address issues regarding and review documents           2.30       825.00       $1,897.50
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                                                                                        Hours            Rate        Amount
                                compiled in response to US Trustee follow-up
                                request; email exchange with R. Jia, D. Perez, et al.
                                (.10) and telephone conference with J. Wang and R.
                                Jia regarding same (.30).
 12/11/2019   JEO     MC        Review documents for submission to UST pursuant           2.70       895.00       $2,416.50
                                to request at 341 meeting
 12/12/2019   JWD     MC        Review 341a transcript                                    0.80       850.00          $680.00
 12/15/2019   MSP     MC        Review additional documents for submission to U.S.        0.80       825.00          $660.00
                                Trustee in response to follow-up request; email
                                exchange with R. Jia, James O?Neill et al. regarding
                                same (.10).
 12/24/2019   JWD     MC        Review 341a notice and emails regarding same              0.30       850.00          $255.00
 12/24/2019   JWD     MC        Review and respond to J. Wang emails regarding            0.20       850.00          $170.00
                                creditor communications

                                                                                        104.10                   $98,648.50

  Plan & Disclosure Stmt. [B320]
 12/03/2019   MSP     PD        Email exchange with D. Perez, James O?Neill, et al.       0.40       825.00          $330.00
                                regarding plan confirmation timeline (.10); review
                                and comment on same (.30).
 12/03/2019   MSP     PD        Final review of and revisions to draft solicitation       2.10       825.00       $1,732.50
                                motion, proposed forms of notice, ballot, etc. (2.0);
                                email exchange with M. Zhang, R. Jia, J. Wang, et
                                al. regarding same (.10).
 12/03/2019   JWD     PD        Review plan conf timeline and emails re same              0.20       850.00          $170.00
 12/04/2019   MSP     PD        Email exchange with T. Li, et al. regarding Chinese       0.10       825.00            $82.50
                                translation of disclosure statement.
 12/04/2019   JWD     PD        Review and draft emails re plan solicitation motion       0.30       850.00          $255.00
 12/04/2019   JEO     PD        Finalize solicitation motion                              0.70       895.00          $626.50
 12/04/2019   JEO     PD        Review and comment on solicitation motion                 0.90       895.00          $805.50
 12/09/2019   JWD     PD        Review and revise case timeline and plan dates chart      0.20       850.00          $170.00
 12/10/2019   RMP     PD        Prepare for and participate on Committee counsel          0.90      1345.00       $1,210.50
                                call and follow-up calls re same.
 12/10/2019   JWD     PD        Review Committee plan corr                                0.20       850.00          $170.00
 12/11/2019   MSP     PD        Attention to translation issues and email exchange        0.30       825.00          $247.50
                                with James O?Neill, et al. regarding same.
 12/11/2019   MSP     PD        Email exchange with D. Perez et al. regarding             1.90       825.00       $1,567.50
                                comments on plan confirmation and case timeline
                                (.10); revise same (1.80).
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                                                                                         Hours           Rate        Amount
 12/11/2019   RMP     PD        Review and edit timeline and conference with M.           0.40      1345.00          $538.00
                                Pagay re same.
 12/12/2019   MSP     PD        Email exchange with S. Uhland, A. Behlmann, et al.        0.10       825.00            $82.50
                                regarding comments on plan.
 12/12/2019   MSP     PD        Email exchange with J. Prol, et al. regarding creditor    0.10       825.00            $82.50
                                questions regarding disclosure statement status.
 12/12/2019   MSP     PD        Email exchange with L. Sun, D. Perez, et al.              0.10       825.00            $82.50
                                regarding plan confirmation and case timeline.
 12/12/2019   RMP     PD        Prepare for and participate on Committee call and         2.40      1345.00       $3,228.00
                                follow-up calls re DIP, plan and dismissal motion.
 12/13/2019   MSP     PD        Email exchange with Richard M. Pachulski, et al.          0.20       825.00          $165.00
                                regarding continuance of disclosure statement
                                hearing and review notice regarding same.
 12/13/2019   JWD     PD        Review SLC placeholder objection and email with           0.20       850.00          $170.00
                                client re same
 12/13/2019   JWD     PD        Review and revise notice of cont dis stmt hearing         0.20       850.00          $170.00
                                and emails re same
 12/13/2019   JEO     PD        Draft notice of continued DS hearing                      0.40       895.00          $358.00
 12/13/2019   JEO     PD        Review emails with the committee re DS hearing            0.30       895.00          $268.50
 12/14/2019   MSP     PD        Email exchange with Richard M. Pachulski, et al.          0.50       825.00          $412.50
                                regarding case and plan confirmation timeline (.10);
                                revise same.
 12/15/2019   MSP     PD        Email exchange with James O?Neill, D. Perez, et al.       0.10       825.00            $82.50
                                regarding hearing agenda for 12/18 matters,
                                handling of disclosure statement.
 12/15/2019   MSP     PD        Email exchange with D. Perez, et al. regarding            0.10       825.00            $82.50
                                revised trust term sheet.
 12/16/2019   MSP     PD        Email exchange with Richard M. Pachulski, et al.          0.10       825.00            $82.50
                                regarding plan voting information.
 12/17/2019   MSP     PD        Email exchange with J. Wang, et al. regarding             0.10       825.00            $82.50
                                translation of plan documents.
 12/19/2019   MSP     PD        Email exchange with J. Merkin, et al. regarding           0.10       825.00            $82.50
                                impact on plan and case timeline.
 12/22/2019   RMP     PD        Review and respond to team e-mails re next steps.         0.80      1345.00       $1,076.00
 12/23/2019   MSP     PD        Revise case and plan timeline; email exchange with        1.40       825.00       $1,155.00
                                Richard M. Pachulski, Jeffrey W. Dulberg et al. re:
                                same (.10).
 12/24/2019   MSP     PD        Email exchange with James O?Neill, Jeffrey W.             0.50       825.00          $412.50
                                Dulberg et al. regarding case and Plan Confirmation
                                Timeline comments and modifications (.10);
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                                                                                         Hours           Rate        Amount
                                complete same.
 12/26/2019   MSP     PD        Email exchange with D. Perez, et al. regarding plan       0.20       825.00          $165.00
                                and case timeline.
 12/26/2019   RMP     PD        Telephone conference with M. Pagay and J. Dulberg         0.20      1345.00          $269.00
                                re UST issues.
 12/26/2019   JWD     PD        Emails with R Saunders re safety section of DS            0.30       850.00          $255.00
 12/29/2019   MSP     PD        Email exchanges with Richard M. Pachulski, Jeffrey        0.50       825.00          $412.50
                                W. Dulberg, D. Perez, et al. regarding abbreviated
                                plan schedule, accelerated confirmation time frame,
                                etc.
 12/29/2019   JWD     PD        Emails with team re plan conf schedule                    0.20       850.00          $170.00
 12/30/2019   RMP     PD        Prepare for and participate on Plan and Professional      2.40      1345.00       $3,228.00
                                call and then client team call re various case issues.
 12/31/2019   RMP     PD        Review appraisal issues and telephone conferences         0.60      1345.00          $807.00
                                re same.

                                                                                         20.70                   $21,287.50

  Retention of Prof. [B160]
 12/01/2019   MSP     RP        Email exchange with J. Wang, et al. regarding             0.10       825.00            $82.50
                                Foreign Representative motion.
 12/02/2019   MSP     RP        Review SLC objection to OMM retention; email              0.20       825.00          $165.00
                                exchange with Jeffrey W. Dulberg, et al. regarding
                                same.
 12/02/2019   MSP     RP        Email exchange with Richard M. Pachulski, James           0.40       825.00          $330.00
                                O'Neill et al. regarding retention issues, UST
                                comments on OMM retention (.10); review and
                                address retention issues regarding same (.30).
 12/02/2019   JWD     RP        Review opp to OMM employment and emails re                0.40       850.00          $340.00
                                same
 12/04/2019   JWD     RP        Review Committee employment apps                          0.30       850.00          $255.00
 12/11/2019   MSP     RP        Review SLC objections to PSZ&J employment,                1.30       825.00       $1,072.50
                                Moon and foreign representative and points raised
                                therein (1.20); email exchange with Jeffrey W.
                                Dulberg, et al. regarding same (.10).
 12/11/2019   RMP     RP        Review DIP and retention issues.                          0.40      1345.00          $538.00
 12/11/2019   JWD     RP        Review SLC objection to PSZJ and emails regarding         0.70       850.00          $595.00
                                same
 12/11/2019   JWD     RP        Review UST objection to Moon and others                   0.20       850.00          $170.00
 12/11/2019   JWD     RP        Review SLC objection to Moon and foreign rep              0.20       850.00          $170.00
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                                                                                         Hours           Rate        Amount
 12/12/2019   MSP     RP        Email exchange with Jeffrey W. Dulberg, James O?          1.10       825.00          $907.50
                                Neill regarding preparation of replies regarding
                                retention applications, foreign representative motion,
                                etc. (.10), and discussion of issues needed to address
                                points in oppositions.
 12/12/2019   MSP     RP        Draft reply regarding objection to PSZ&J                  1.20       825.00          $990.00
                                employment application; email exchange with James
                                O?Neill, Jeffrey W. Dulberg, et al. regarding same
                                (.10).
 12/12/2019   MSP     RP        Email exchange with D. Perez, et al. regarding            0.60       825.00          $495.00
                                replies regarding OMM retention and foreign
                                representative motions (.10); review same.
 12/12/2019   JWD     RP        Review and revise reply re SLC objection to PSZJ          0.40       850.00          $340.00
 12/12/2019   JWD     RP        Review draft replies regarding OMM obj and estate         0.40       850.00          $340.00
                                reps and emails regarding same.
 12/12/2019   JEO     RP        Initial drafting of Reply to objection of PSZJ            0.70       895.00          $626.50
                                retention
 12/12/2019   BDD     RP        Research CRO motions and email M. Pagay re same           0.20       395.00            $79.00
 12/13/2019   MSP     RP        Attention to revised drafts of debtor?s responses to      1.90       825.00       $1,567.50
                                retention objections; email exchange with D. Perez,
                                James O?Neill, Jeffrey W. Dulberg, et al. regarding
                                same (.20).
 12/13/2019   MSP     RP        Email exchange with James O?Neill, et al. regarding       0.20       825.00          $165.00
                                discussions with OUST regarding Moon retention as
                                financial advisor.
 12/13/2019   JEO     RP        Emails with UST re CRO retention                          0.20       895.00          $179.00
 12/13/2019   JEO     RP        Finalize reply to objection to OMM retention.             0.40       895.00          $358.00
 12/13/2019   JEO     RP        Finalize Reply to Objection to PSZJ retention             0.50       895.00          $447.50
 12/16/2019   MSP     RP        Email exchange with R. Moon, James O?Neill                0.50       825.00          $412.50
                                regarding change of CRO retention to financial
                                advisor as discussed with U.S. Trustee (.10); review
                                order markup for submission to US Trustee.
 12/16/2019   JEO     RP        Call with Robert Moon re retention issues                 0.40       895.00          $358.00
 12/16/2019   JEO     RP        Review and revise Robert Moon retention order             0.80       895.00          $716.00
 12/16/2019   JEO     RP        Emails with Malhar Pagay re Robert Moon retention         0.60       895.00          $537.00
                                issues
 12/17/2019   MSP     RP        Email exchange with D. Buchbinder, James O?Neill,         0.10       825.00            $82.50
                                et al. regarding markup of Moon retention order to
                                change to section 327, per U.S. Trustee suggestion.

                                                                                         14.40                   $12,319.00
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                                                                                     Hours           Rate        Amount

  Travel
 12/04/2019   RMP     TR        Travel to 341(a) exam.                                4.70      1345.00        $6,321.50
 12/06/2019   RMP     TR        Travel back to Los Angeles.                           7.30      1345.00        $9,818.50
 12/17/2019   MSP     TR        Travel to Delaware for hearings regarding SLC         8.80       825.00        $7,260.00
                                motion to dismiss, retention applications, etc.
 12/17/2019   RMP     TR        Nonworking travel to Delaware.                        2.40      1345.00        $3,228.00
 12/18/2019   MSP     TR        Return travel to Los Angeles for hearing regarding    8.70       825.00        $7,177.50
                                SLC motion to dismiss, etc.
 12/18/2019   RMP     TR        Return to Los Angeles.                                6.70      1345.00        $9,011.50

                                                                                     38.60                    $42,817.00

  TOTAL SERVICES FOR THIS MATTER:                                                                           $468,739.50
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 Expenses

 11/22/2019   AT        Auto Travel Expense [E109] KLS Worldwide Transportation     180.00
                        Services, Inv. 11602536695, From PSZ&J LA office to
                        18455 Figueroa St. Gardena Ca, RMP


 11/22/2019   AT        Auto Travel Expense [E109] KLS Worldwide                    180.00
                        Transportation Services, Inv. 11602536695, From 18455
                        Figueroa St. Gardena Ca to PSZ&J LA office, RMP


 11/22/2019   AT        Auto Travel Expense [E109] KLS Worldwide Transportation     359.98
                        Services, Inv. 11602536695, From 18455 Figueroa St.
                        Gardena Ca to PSZ&J LA office, RMP


 11/25/2019   AT        Auto Travel Expense [E109] KLS Worldwide Transportation     832.50
                        Services, Inv. 11602536695, From 18455 Figueroa St.
                        Gardena Ca to Residence, RMP


 12/01/2019   LN        46353.00002 Lexis Charges for 12-01-19                      254.68


 12/02/2019   RE        ( 175 @0.20 PER PG)                                          35.00


 12/04/2019   AF        Air Fare [E110] American Airlines, Tkt. 0017477492064,    2,506.45
                        From LAX to PHL to LAX, RMP (Less than full fare coach)


 12/04/2019   AF        Air Fare [E110] American Airlines, Tkt. 0017477492054,    2,766.45
                        From LAX to PHL to LAX, MSP (Less than full fare coach)


 12/04/2019   FE        46353.00002 FedEx Charges for 12-04-19                       35.76


 12/04/2019   LN        46353.00002 Lexis Charges for 12-04-19                      548.92


 12/04/2019   TE        Travel Expense [E110] Travel Agency Fees, RMP                50.00


 12/04/2019   TE        Travel Expense [E110] Travel Agency Fees, MSP                50.00


 12/05/2019   BB        46353.00002 Bloomberg Charges for 12-05-19                   30.00


 12/05/2019   BB        46353.00002 Bloomberg Charges for 12-05-19                   30.00
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 12/05/2019   DC        46353.00002 Advita Charges for 12-05-19                291.00


 12/05/2019   DC        46353.00002 Advita Charges for 12-05-19                101.75


 12/05/2019   LN        46353.00002 Lexis Charges for 12-05-19                  71.13


 12/05/2019   RE        ( 30 @0.20 PER PG)                                       6.00


 12/05/2019   RE        ( 10 @0.20 PER PG)                                       2.00


 12/05/2019   RE        ( 20 @0.20 PER PG)                                       4.00


 12/05/2019   RE        ( 5 @0.20 PER PG)                                        1.00


 12/05/2019   RE        ( 10 @0.20 PER PG)                                       2.00


 12/05/2019   RE        ( 95 @0.20 PER PG)                                      19.00


 12/05/2019   RE2       SCAN/COPY ( 32 @0.10 PER PG)                             3.20


 12/05/2019   RE2       SCAN/COPY ( 32 @0.10 PER PG)                             3.20


 12/05/2019   RE2       SCAN/COPY ( 32 @0.10 PER PG)                             3.20


 12/05/2019   RE2       SCAN/COPY ( 32 @0.10 PER PG)                             3.20


 12/05/2019   RE2       SCAN/COPY ( 1 @0.10 PER PG)                              0.10


 12/05/2019   RE2       SCAN/COPY ( 2 @0.10 PER PG)                              0.20


 12/05/2019   RE2       SCAN/COPY ( 1 @0.10 PER PG)                              0.10


 12/05/2019   RE2       SCAN/COPY ( 62 @0.10 PER PG)                             6.20


 12/05/2019   RE2       SCAN/COPY ( 126 @0.10 PER PG)                           12.60
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 12/05/2019   RE2       SCAN/COPY ( 1 @0.10 PER PG)                             0.10


 12/05/2019   RE2       SCAN/COPY ( 348 @0.10 PER PG)                          34.80


 12/05/2019   RE2       SCAN/COPY ( 1764 @0.10 PER PG)                        176.40


 12/05/2019   RE2       SCAN/COPY ( 2 @0.10 PER PG)                             0.20


 12/05/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                             0.40


 12/05/2019   RE2       SCAN/COPY ( 71 @0.10 PER PG)                            7.10


 12/05/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                             0.40


 12/05/2019   RE2       SCAN/COPY ( 1 @0.10 PER PG)                             0.10


 12/05/2019   RE2       SCAN/COPY ( 1 @0.10 PER PG)                             0.10


 12/05/2019   RE2       SCAN/COPY ( 1 @0.10 PER PG)                             0.10


 12/05/2019   RE2       SCAN/COPY ( 32 @0.10 PER PG)                            3.20


 12/05/2019   RE2       SCAN/COPY ( 2 @0.10 PER PG)                             0.20


 12/05/2019   RE2       SCAN/COPY ( 19 @0.10 PER PG)                            1.90


 12/05/2019   RE2       SCAN/COPY ( 2 @0.10 PER PG)                             0.20


 12/05/2019   RE2       SCAN/COPY ( 2 @0.10 PER PG)                             0.20


 12/05/2019   RE2       SCAN/COPY ( 32 @0.10 PER PG)                            3.20


 12/05/2019   RE2       SCAN/COPY ( 32 @0.10 PER PG)                            3.20


 12/05/2019   RE2       SCAN/COPY ( 62 @0.10 PER PG)                            6.20
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 12/05/2019   RE2       SCAN/COPY ( 32 @0.10 PER PG)                                  3.20


 12/05/2019   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                   0.10


 12/05/2019   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                   0.10


 12/05/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                   0.40


 12/05/2019   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                   0.10


 12/05/2019   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                   0.20


 12/05/2019   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                   0.10


 12/05/2019   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                   0.20


 12/05/2019   RE2       SCAN/COPY ( 32 @0.10 PER PG)                                  3.20


 12/05/2019   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                   0.30


 12/05/2019   TE        Travel Expense [E110] Agent Fee, MSP (itinerary change)      24.95


 12/06/2019   DC        46353.00002 Advita Charges for 12-06-19                      37.50


 12/06/2019   RE        ( 123 @0.20 PER PG)                                          24.60


 12/06/2019   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                   0.80


 12/06/2019   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                   0.80


 12/06/2019   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                   0.20


 12/06/2019   RE2       SCAN/COPY ( 7 @0.10 PER PG)                                   0.70


 12/06/2019   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                   0.80
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 12/06/2019   RE2       SCAN/COPY ( 7 @0.10 PER PG)                              0.70


 12/06/2019   RE2       SCAN/COPY ( 7 @0.10 PER PG)                              0.70


 12/06/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                              0.40


 12/06/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                              0.40


 12/06/2019   RE2       SCAN/COPY ( 2 @0.10 PER PG)                              0.20


 12/06/2019   RE2       SCAN/COPY ( 2 @0.10 PER PG)                              0.20


 12/06/2019   RE2       SCAN/COPY ( 8 @0.10 PER PG)                              0.80


 12/06/2019   RE2       SCAN/COPY ( 7 @0.10 PER PG)                              0.70


 12/06/2019   RE2       SCAN/COPY ( 5 @0.10 PER PG)                              0.50


 12/06/2019   RE2       SCAN/COPY ( 5 @0.10 PER PG)                              0.50


 12/06/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                              0.40


 12/06/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                              0.40


 12/06/2019   RE2       SCAN/COPY ( 5 @0.10 PER PG)                              0.50


 12/06/2019   RE2       SCAN/COPY ( 5 @0.10 PER PG)                              0.50


 12/06/2019   RE2       SCAN/COPY ( 8 @0.10 PER PG)                              0.80


 12/06/2019   TR        Transcript [E116] eScriber, Inv. 295305, PEC           822.80


 12/07/2019   HT        Hotel Expense [E110] Hotel DuPont, 2 nights, RMP       598.40


 12/09/2019   RE2       SCAN/COPY ( 19 @0.10 PER PG)                             1.90
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 12/10/2019   DC        46353.00002 Advita Charges for 12-10-19                    100.79


 12/11/2019   CC        Conference Call [E105] AT&T Conference Call, MSP            74.84


 12/11/2019   RE        ( 59 @0.20 PER PG)                                          11.80


 12/11/2019   RE2       SCAN/COPY ( 14 @0.10 PER PG)                                 1.40


 12/11/2019   RE2       SCAN/COPY ( 21 @0.10 PER PG)                                 2.10


 12/12/2019   AF        Air Fare [E110] American Airlines, Tkt. 0017483091065,   2,506.45
                        From LAX to PHL, RMP (Less than full fare coach)


 12/12/2019   LN        46353.00002 Lexis Charges for 12-12-19                      96.14


 12/12/2019   RE        ( 42 @0.20 PER PG)                                           8.40


 12/12/2019   RE        ( 658 @0.20 PER PG)                                        131.60


 12/12/2019   RE        ( 1 @0.20 PER PG)                                            0.20


 12/12/2019   RE        ( 746 @0.20 PER PG)                                        149.20


 12/12/2019   RE        ( 272 @0.20 PER PG)                                         54.40


 12/12/2019   RE        ( 24 @0.20 PER PG)                                           4.80


 12/12/2019   RE        ( 424 @0.20 PER PG)                                         84.80


 12/12/2019   RE        ( 2 @0.20 PER PG)                                            0.40


 12/12/2019   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                  0.10


 12/12/2019   RE2       SCAN/COPY ( 10 @0.10 PER PG)                                 1.00


 12/12/2019   RE2       SCAN/COPY ( 10 @0.10 PER PG)                                 1.00
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 12/12/2019   RE2       SCAN/COPY ( 10 @0.10 PER PG)                            1.00


 12/12/2019   RE2       SCAN/COPY ( 10 @0.10 PER PG)                            1.00


 12/12/2019   RE2       SCAN/COPY ( 10 @0.10 PER PG)                            1.00


 12/12/2019   RE2       SCAN/COPY ( 11 @0.10 PER PG)                            1.10


 12/12/2019   RE2       SCAN/COPY ( 11 @0.10 PER PG)                            1.10


 12/12/2019   RE2       SCAN/COPY ( 11 @0.10 PER PG)                            1.10


 12/12/2019   RE2       SCAN/COPY ( 11 @0.10 PER PG)                            1.10


 12/12/2019   RE2       SCAN/COPY ( 11 @0.10 PER PG)                            1.10


 12/12/2019   RE2       SCAN/COPY ( 11 @0.10 PER PG)                            1.10


 12/12/2019   RE2       SCAN/COPY ( 11 @0.10 PER PG)                            1.10


 12/12/2019   RE2       SCAN/COPY ( 12 @0.10 PER PG)                            1.20


 12/12/2019   RE2       SCAN/COPY ( 12 @0.10 PER PG)                            1.20


 12/12/2019   RE2       SCAN/COPY ( 13 @0.10 PER PG)                            1.30


 12/12/2019   RE2       SCAN/COPY ( 13 @0.10 PER PG)                            1.30


 12/12/2019   RE2       SCAN/COPY ( 13 @0.10 PER PG)                            1.30


 12/12/2019   RE2       SCAN/COPY ( 14 @0.10 PER PG)                            1.40


 12/12/2019   RE2       SCAN/COPY ( 14 @0.10 PER PG)                            1.40


 12/12/2019   RE2       SCAN/COPY ( 14 @0.10 PER PG)                            1.40
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 12/12/2019   RE2       SCAN/COPY ( 14 @0.10 PER PG)                            1.40


 12/12/2019   RE2       SCAN/COPY ( 15 @0.10 PER PG)                            1.50


 12/12/2019   RE2       SCAN/COPY ( 15 @0.10 PER PG)                            1.50


 12/12/2019   RE2       SCAN/COPY ( 15 @0.10 PER PG)                            1.50


 12/12/2019   RE2       SCAN/COPY ( 15 @0.10 PER PG)                            1.50


 12/12/2019   RE2       SCAN/COPY ( 15 @0.10 PER PG)                            1.50


 12/12/2019   RE2       SCAN/COPY ( 15 @0.10 PER PG)                            1.50


 12/12/2019   RE2       SCAN/COPY ( 159 @0.10 PER PG)                          15.90


 12/12/2019   RE2       SCAN/COPY ( 16 @0.10 PER PG)                            1.60


 12/12/2019   RE2       SCAN/COPY ( 16 @0.10 PER PG)                            1.60


 12/12/2019   RE2       SCAN/COPY ( 16 @0.10 PER PG)                            1.60


 12/12/2019   RE2       SCAN/COPY ( 16 @0.10 PER PG)                            1.60


 12/12/2019   RE2       SCAN/COPY ( 167 @0.10 PER PG)                          16.70


 12/12/2019   RE2       SCAN/COPY ( 18 @0.10 PER PG)                            1.80


 12/12/2019   RE2       SCAN/COPY ( 18 @0.10 PER PG)                            1.80


 12/12/2019   RE2       SCAN/COPY ( 19 @0.10 PER PG)                            1.90


 12/12/2019   RE2       SCAN/COPY ( 19 @0.10 PER PG)                            1.90


 12/12/2019   RE2       SCAN/COPY ( 19 @0.10 PER PG)                            1.90
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 12/12/2019   RE2       SCAN/COPY ( 2 @0.10 PER PG)                             0.20


 12/12/2019   RE2       SCAN/COPY ( 2 @0.10 PER PG)                             0.20


 12/12/2019   RE2       SCAN/COPY ( 2 @0.10 PER PG)                             0.20


 12/12/2019   RE2       SCAN/COPY ( 2 @0.10 PER PG)                             0.20


 12/12/2019   RE2       SCAN/COPY ( 2 @0.10 PER PG)                             0.20


 12/12/2019   RE2       SCAN/COPY ( 20 @0.10 PER PG)                            2.00


 12/12/2019   RE2       SCAN/COPY ( 21 @0.10 PER PG)                            2.10


 12/12/2019   RE2       SCAN/COPY ( 21 @0.10 PER PG)                            2.10


 12/12/2019   RE2       SCAN/COPY ( 21 @0.10 PER PG)                            2.10


 12/12/2019   RE2       SCAN/COPY ( 21 @0.10 PER PG)                            2.10


 12/12/2019   RE2       SCAN/COPY ( 21 @0.10 PER PG)                            2.10


 12/12/2019   RE2       SCAN/COPY ( 21 @0.10 PER PG)                            2.10


 12/12/2019   RE2       SCAN/COPY ( 22 @0.10 PER PG)                            2.20


 12/12/2019   RE2       SCAN/COPY ( 23 @0.10 PER PG)                            2.30


 12/12/2019   RE2       SCAN/COPY ( 24 @0.10 PER PG)                            2.40


 12/12/2019   RE2       SCAN/COPY ( 25 @0.10 PER PG)                            2.50


 12/12/2019   RE2       SCAN/COPY ( 25 @0.10 PER PG)                            2.50


 12/12/2019   RE2       SCAN/COPY ( 25 @0.10 PER PG)                            2.50
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 12/12/2019   RE2       SCAN/COPY ( 25 @0.10 PER PG)                            2.50


 12/12/2019   RE2       SCAN/COPY ( 26 @0.10 PER PG)                            2.60


 12/12/2019   RE2       SCAN/COPY ( 264 @0.10 PER PG)                          26.40


 12/12/2019   RE2       SCAN/COPY ( 27 @0.10 PER PG)                            2.70


 12/12/2019   RE2       SCAN/COPY ( 275 @0.10 PER PG)                          27.50


 12/12/2019   RE2       SCAN/COPY ( 28 @0.10 PER PG)                            2.80


 12/12/2019   RE2       SCAN/COPY ( 298 @0.10 PER PG)                          29.80


 12/12/2019   RE2       SCAN/COPY ( 3 @0.10 PER PG)                             0.30


 12/12/2019   RE2       SCAN/COPY ( 3 @0.10 PER PG)                             0.30


 12/12/2019   RE2       SCAN/COPY ( 3 @0.10 PER PG)                             0.30


 12/12/2019   RE2       SCAN/COPY ( 32 @0.10 PER PG)                            3.20


 12/12/2019   RE2       SCAN/COPY ( 33 @0.10 PER PG)                            3.30


 12/12/2019   RE2       SCAN/COPY ( 37 @0.10 PER PG)                            3.70


 12/12/2019   RE2       SCAN/COPY ( 38 @0.10 PER PG)                            3.80


 12/12/2019   RE2       SCAN/COPY ( 39 @0.10 PER PG)                            3.90


 12/12/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                             0.40


 12/12/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                             0.40


 12/12/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                             0.40
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 12/12/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                             0.40


 12/12/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                             0.40


 12/12/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                             0.40


 12/12/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                             0.40


 12/12/2019   RE2       SCAN/COPY ( 5 @0.10 PER PG)                             0.50


 12/12/2019   RE2       SCAN/COPY ( 5 @0.10 PER PG)                             0.50


 12/12/2019   RE2       SCAN/COPY ( 5 @0.10 PER PG)                             0.50


 12/12/2019   RE2       SCAN/COPY ( 5 @0.10 PER PG)                             0.50


 12/12/2019   RE2       SCAN/COPY ( 5 @0.10 PER PG)                             0.50


 12/12/2019   RE2       SCAN/COPY ( 6 @0.10 PER PG)                             0.60


 12/12/2019   RE2       SCAN/COPY ( 6 @0.10 PER PG)                             0.60


 12/12/2019   RE2       SCAN/COPY ( 6 @0.10 PER PG)                             0.60


 12/12/2019   RE2       SCAN/COPY ( 61 @0.10 PER PG)                            6.10


 12/12/2019   RE2       SCAN/COPY ( 7 @0.10 PER PG)                             0.70


 12/12/2019   RE2       SCAN/COPY ( 7 @0.10 PER PG)                             0.70


 12/12/2019   RE2       SCAN/COPY ( 7 @0.10 PER PG)                             0.70


 12/12/2019   RE2       SCAN/COPY ( 7 @0.10 PER PG)                             0.70


 12/12/2019   RE2       SCAN/COPY ( 7 @0.10 PER PG)                             0.70
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 12/12/2019   RE2       SCAN/COPY ( 7 @0.10 PER PG)                             0.70


 12/12/2019   RE2       SCAN/COPY ( 8 @0.10 PER PG)                             0.80


 12/12/2019   RE2       SCAN/COPY ( 8 @0.10 PER PG)                             0.80


 12/12/2019   RE2       SCAN/COPY ( 9 @0.10 PER PG)                             0.90


 12/12/2019   RE2       SCAN/COPY ( 9 @0.10 PER PG)                             0.90


 12/12/2019   RE2       SCAN/COPY ( 9 @0.10 PER PG)                             0.90


 12/12/2019   RE2       SCAN/COPY ( 9 @0.10 PER PG)                             0.90


 12/12/2019   RE2       SCAN/COPY ( 9 @0.10 PER PG)                             0.90


 12/12/2019   RE2       SCAN/COPY ( 9 @0.10 PER PG)                             0.90


 12/12/2019   RE2       SCAN/COPY ( 9 @0.10 PER PG)                             0.90


 12/12/2019   RE2       SCAN/COPY ( 9 @0.10 PER PG)                             0.90


 12/12/2019   RE2       SCAN/COPY ( 14 @0.10 PER PG)                            1.40


 12/12/2019   RE2       SCAN/COPY ( 6 @0.10 PER PG)                             0.60


 12/12/2019   RE2       SCAN/COPY ( 74 @0.10 PER PG)                            7.40


 12/12/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                             0.40


 12/12/2019   RE2       SCAN/COPY ( 6 @0.10 PER PG)                             0.60


 12/12/2019   RE2       SCAN/COPY ( 8 @0.10 PER PG)                             0.80


 12/12/2019   RE2       SCAN/COPY ( 38 @0.10 PER PG)                            3.80
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 12/12/2019   RE2       SCAN/COPY ( 30 @0.10 PER PG)                            3.00


 12/12/2019   RE2       SCAN/COPY ( 2 @0.10 PER PG)                             0.20


 12/12/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                             0.40


 12/12/2019   RE2       SCAN/COPY ( 10 @0.10 PER PG)                            1.00


 12/12/2019   RE2       SCAN/COPY ( 10 @0.10 PER PG)                            1.00


 12/12/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                             0.40


 12/12/2019   RE2       SCAN/COPY ( 8 @0.10 PER PG)                             0.80


 12/12/2019   RE2       SCAN/COPY ( 18 @0.10 PER PG)                            1.80


 12/12/2019   RE2       SCAN/COPY ( 22 @0.10 PER PG)                            2.20


 12/12/2019   RE2       SCAN/COPY ( 20 @0.10 PER PG)                            2.00


 12/12/2019   RE2       SCAN/COPY ( 8 @0.10 PER PG)                             0.80


 12/12/2019   RE2       SCAN/COPY ( 6 @0.10 PER PG)                             0.60


 12/12/2019   RE2       SCAN/COPY ( 10 @0.10 PER PG)                            1.00


 12/12/2019   RE2       SCAN/COPY ( 46 @0.10 PER PG)                            4.60


 12/12/2019   RE2       SCAN/COPY ( 6 @0.10 PER PG)                             0.60


 12/12/2019   RE2       SCAN/COPY ( 26 @0.10 PER PG)                            2.60


 12/12/2019   RE2       SCAN/COPY ( 314 @0.10 PER PG)                          31.40


 12/12/2019   RE2       SCAN/COPY ( 6 @0.10 PER PG)                             0.60
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 12/12/2019   RE2       SCAN/COPY ( 18 @0.10 PER PG)                            1.80


 12/12/2019   RE2       SCAN/COPY ( 8 @0.10 PER PG)                             0.80


 12/12/2019   RE2       SCAN/COPY ( 10 @0.10 PER PG)                            1.00


 12/12/2019   RE2       SCAN/COPY ( 26 @0.10 PER PG)                            2.60


 12/12/2019   RE2       SCAN/COPY ( 138 @0.10 PER PG)                          13.80


 12/12/2019   RE2       SCAN/COPY ( 86 @0.10 PER PG)                            8.60


 12/12/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                             0.40


 12/12/2019   RE2       SCAN/COPY ( 10 @0.10 PER PG)                            1.00


 12/12/2019   RE2       SCAN/COPY ( 12 @0.10 PER PG)                            1.20


 12/12/2019   RE2       SCAN/COPY ( 8 @0.10 PER PG)                             0.80


 12/12/2019   RE2       SCAN/COPY ( 28 @0.10 PER PG)                            2.80


 12/12/2019   RE2       SCAN/COPY ( 44 @0.10 PER PG)                            4.40


 12/12/2019   RE2       SCAN/COPY ( 34 @0.10 PER PG)                            3.40


 12/12/2019   RE2       SCAN/COPY ( 20 @0.10 PER PG)                            2.00


 12/12/2019   RE2       SCAN/COPY ( 48 @0.10 PER PG)                            4.80


 12/12/2019   RE2       SCAN/COPY ( 66 @0.10 PER PG)                            6.60


 12/12/2019   RE2       SCAN/COPY ( 16 @0.10 PER PG)                            1.60


 12/12/2019   RE2       SCAN/COPY ( 24 @0.10 PER PG)                            2.40
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 12/12/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                             0.40


 12/12/2019   RE2       SCAN/COPY ( 8 @0.10 PER PG)                             0.80


 12/12/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                             0.40


 12/12/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                             0.40


 12/12/2019   RE2       SCAN/COPY ( 28 @0.10 PER PG)                            2.80


 12/12/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                             0.40


 12/12/2019   RE2       SCAN/COPY ( 334 @0.10 PER PG)                          33.40


 12/12/2019   RE2       SCAN/COPY ( 6 @0.10 PER PG)                             0.60


 12/12/2019   RE2       SCAN/COPY ( 24 @0.10 PER PG)                            2.40


 12/12/2019   RE2       SCAN/COPY ( 16 @0.10 PER PG)                            1.60


 12/12/2019   RE2       SCAN/COPY ( 12 @0.10 PER PG)                            1.20


 12/12/2019   RE2       SCAN/COPY ( 18 @0.10 PER PG)                            1.80


 12/12/2019   RE2       SCAN/COPY ( 12 @0.10 PER PG)                            1.20


 12/12/2019   RE2       SCAN/COPY ( 40 @0.10 PER PG)                            4.00


 12/12/2019   RE2       SCAN/COPY ( 6 @0.10 PER PG)                             0.60


 12/12/2019   RE2       SCAN/COPY ( 6 @0.10 PER PG)                             0.60


 12/12/2019   RE2       SCAN/COPY ( 8 @0.10 PER PG)                             0.80


 12/12/2019   RE2       SCAN/COPY ( 6 @0.10 PER PG)                             0.60
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 12/12/2019   RE2       SCAN/COPY ( 64 @0.10 PER PG)                                  6.40


 12/12/2019   RE2       SCAN/COPY ( 18 @0.10 PER PG)                                  1.80


 12/12/2019   RE2       SCAN/COPY ( 10 @0.10 PER PG)                                  1.00


 12/12/2019   RE2       SCAN/COPY ( 18 @0.10 PER PG)                                  1.80


 12/12/2019   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                   0.60


 12/12/2019   RE2       SCAN/COPY ( 28 @0.10 PER PG)                                  2.80


 12/12/2019   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                   0.80


 12/12/2019   RE2       SCAN/COPY ( 18 @0.10 PER PG)                                  1.80


 12/12/2019   RE2       SCAN/COPY ( 34 @0.10 PER PG)                                  3.40


 12/12/2019   RE2       SCAN/COPY ( 222 @0.10 PER PG)                                22.20


 12/12/2019   RE2       SCAN/COPY ( 116 @0.10 PER PG)                                11.60


 12/12/2019   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                   0.20


 12/12/2019   TE        Travel Expense [E110] Travel Agency Fees, RMP                50.00


 12/13/2019   AF        Air Fare [E110] american Airlines, Tkt. 00174830910586,   2,506.54
                        from LAX to PHL, PHL to LAX, MSP


 12/13/2019   RE        ( 2 @0.20 PER PG)                                             0.40


 12/13/2019   RE        ( 8 @0.20 PER PG)                                             1.60


 12/13/2019   RE        ( 28 @0.20 PER PG)                                            5.60


 12/13/2019   RE        ( 8 @0.20 PER PG)                                             1.60
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 12/13/2019   RE        ( 62 @0.20 PER PG)                                     12.40


 12/13/2019   RE        ( 59 @0.20 PER PG)                                     11.80


 12/13/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                             0.40


 12/13/2019   RE2       SCAN/COPY ( 10 @0.10 PER PG)                            1.00


 12/13/2019   RE2       SCAN/COPY ( 20 @0.10 PER PG)                            2.00


 12/13/2019   RE2       SCAN/COPY ( 18 @0.10 PER PG)                            1.80


 12/13/2019   RE2       SCAN/COPY ( 2 @0.10 PER PG)                             0.20


 12/13/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                             0.40


 12/13/2019   RE2       SCAN/COPY ( 8 @0.10 PER PG)                             0.80


 12/13/2019   RE2       SCAN/COPY ( 32 @0.10 PER PG)                            3.20


 12/13/2019   RE2       SCAN/COPY ( 10 @0.10 PER PG)                            1.00


 12/15/2019   RE2       SCAN/COPY ( 15 @0.10 PER PG)                            1.50


 12/15/2019   RE2       SCAN/COPY ( 15 @0.10 PER PG)                            1.50


 12/15/2019   RE2       SCAN/COPY ( 15 @0.10 PER PG)                            1.50


 12/15/2019   RE2       SCAN/COPY ( 15 @0.10 PER PG)                            1.50


 12/15/2019   RE2       SCAN/COPY ( 15 @0.10 PER PG)                            1.50


 12/15/2019   RE2       SCAN/COPY ( 17 @0.10 PER PG)                            1.70


 12/15/2019   RE2       SCAN/COPY ( 17 @0.10 PER PG)                            1.70
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 12/15/2019   RE2       SCAN/COPY ( 17 @0.10 PER PG)                            1.70


 12/15/2019   RE2       SCAN/COPY ( 193 @0.10 PER PG)                          19.30


 12/15/2019   RE2       SCAN/COPY ( 193 @0.10 PER PG)                          19.30


 12/15/2019   RE2       SCAN/COPY ( 193 @0.10 PER PG)                          19.30


 12/15/2019   RE2       SCAN/COPY ( 2 @0.10 PER PG)                             0.20


 12/15/2019   RE2       SCAN/COPY ( 2 @0.10 PER PG)                             0.20


 12/15/2019   RE2       SCAN/COPY ( 2 @0.10 PER PG)                             0.20


 12/15/2019   RE2       SCAN/COPY ( 2 @0.10 PER PG)                             0.20


 12/15/2019   RE2       SCAN/COPY ( 2 @0.10 PER PG)                             0.20


 12/15/2019   RE2       SCAN/COPY ( 2 @0.10 PER PG)                             0.20


 12/15/2019   RE2       SCAN/COPY ( 2 @0.10 PER PG)                             0.20


 12/15/2019   RE2       SCAN/COPY ( 21 @0.10 PER PG)                            2.10


 12/15/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                             0.40


 12/15/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                             0.40


 12/15/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                             0.40


 12/15/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                             0.40


 12/15/2019   RE2       SCAN/COPY ( 5 @0.10 PER PG)                             0.50


 12/15/2019   RE2       SCAN/COPY ( 5 @0.10 PER PG)                             0.50
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 12/15/2019   RE2       SCAN/COPY ( 5 @0.10 PER PG)                              0.50


 12/15/2019   RE2       SCAN/COPY ( 5 @0.10 PER PG)                              0.50


 12/15/2019   RE2       SCAN/COPY ( 9 @0.10 PER PG)                              0.90


 12/15/2019   RE2       SCAN/COPY ( 9 @0.10 PER PG)                              0.90


 12/16/2019   CC        Conference Call [E105] AT&T Conference Call, MSP        17.32


 12/16/2019   CL        46353.00002 CourtLink charges for 12-16-19             169.02


 12/16/2019   FE        46353.00002 FedEx Charges for 12-16-19                  42.64


 12/16/2019   RE        ( 4 @0.20 PER PG)                                        0.80


 12/16/2019   RE        ( 9 @0.20 PER PG)                                        1.80


 12/16/2019   RE        ( 216 @0.20 PER PG)                                     43.20


 12/16/2019   RE        ( 13 @0.20 PER PG)                                       2.60


 12/16/2019   RE        ( 4 @0.20 PER PG)                                        0.80


 12/16/2019   RE        ( 20 @0.20 PER PG)                                       4.00


 12/16/2019   RE2       SCAN/COPY ( 10 @0.10 PER PG)                             1.00


 12/16/2019   RE2       SCAN/COPY ( 11 @0.10 PER PG)                             1.10


 12/16/2019   RE2       SCAN/COPY ( 12 @0.10 PER PG)                             1.20


 12/16/2019   RE2       SCAN/COPY ( 12 @0.10 PER PG)                             1.20


 12/16/2019   RE2       SCAN/COPY ( 13 @0.10 PER PG)                             1.30
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 12/16/2019   RE2       SCAN/COPY ( 15 @0.10 PER PG)                            1.50


 12/16/2019   RE2       SCAN/COPY ( 19 @0.10 PER PG)                            1.90


 12/16/2019   RE2       SCAN/COPY ( 19 @0.10 PER PG)                            1.90


 12/16/2019   RE2       SCAN/COPY ( 2 @0.10 PER PG)                             0.20


 12/16/2019   RE2       SCAN/COPY ( 21 @0.10 PER PG)                            2.10


 12/16/2019   RE2       SCAN/COPY ( 24 @0.10 PER PG)                            2.40


 12/16/2019   RE2       SCAN/COPY ( 25 @0.10 PER PG)                            2.50


 12/16/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                             0.40


 12/16/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                             0.40


 12/16/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                             0.40


 12/16/2019   RE2       SCAN/COPY ( 40 @0.10 PER PG)                            4.00


 12/16/2019   RE2       SCAN/COPY ( 41 @0.10 PER PG)                            4.10


 12/16/2019   RE2       SCAN/COPY ( 6 @0.10 PER PG)                             0.60


 12/16/2019   RE2       SCAN/COPY ( 7 @0.10 PER PG)                             0.70


 12/16/2019   RE2       SCAN/COPY ( 2 @0.10 PER PG)                             0.20


 12/16/2019   RE2       SCAN/COPY ( 5 @0.10 PER PG)                             0.50


 12/16/2019   RE2       SCAN/COPY ( 2 @0.10 PER PG)                             0.20


 12/16/2019   RE2       SCAN/COPY ( 2 @0.10 PER PG)                             0.20
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 12/16/2019   RE2       SCAN/COPY ( 5 @0.10 PER PG)                             0.50


 12/16/2019   RE2       SCAN/COPY ( 2 @0.10 PER PG)                             0.20


 12/16/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                             0.40


 12/16/2019   RE2       SCAN/COPY ( 2 @0.10 PER PG)                             0.20


 12/16/2019   RE2       SCAN/COPY ( 8 @0.10 PER PG)                             0.80


 12/16/2019   RE2       SCAN/COPY ( 8 @0.10 PER PG)                             0.80


 12/16/2019   RE2       SCAN/COPY ( 10 @0.10 PER PG)                            1.00


 12/16/2019   RE2       SCAN/COPY ( 139 @0.10 PER PG)                          13.90


 12/16/2019   RE2       SCAN/COPY ( 20 @0.10 PER PG)                            2.00


 12/16/2019   RE2       SCAN/COPY ( 2 @0.10 PER PG)                             0.20


 12/16/2019   RE2       SCAN/COPY ( 19 @0.10 PER PG)                            1.90


 12/16/2019   RE2       SCAN/COPY ( 6 @0.10 PER PG)                             0.60


 12/17/2019   RE        ( 22 @0.20 PER PG)                                      4.40


 12/17/2019   RE        ( 14 @0.20 PER PG)                                      2.80


 12/17/2019   RE        ( 60 @0.20 PER PG)                                     12.00


 12/17/2019   RE        ( 28 @0.20 PER PG)                                      5.60


 12/17/2019   RE        ( 55 @0.20 PER PG)                                     11.00


 12/17/2019   RE2       SCAN/COPY ( 14 @0.10 PER PG)                            1.40
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 12/17/2019   RE2       SCAN/COPY ( 22 @0.10 PER PG)                             2.20


 12/17/2019   RE2       SCAN/COPY ( 11 @0.10 PER PG)                             1.10


 12/17/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                              0.40


 12/17/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                              0.40


 12/17/2019   RE2       SCAN/COPY ( 11 @0.10 PER PG)                             1.10


 12/17/2019   RE2       SCAN/COPY ( 14 @0.10 PER PG)                             1.40


 12/17/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                              0.40


 12/17/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                              0.40


 12/17/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                              0.40


 12/17/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                              0.40


 12/17/2019   RE2       SCAN/COPY ( 2 @0.10 PER PG)                              0.20


 12/18/2019   DC        46353.00002 Advita Charges for 12-18-19                153.00


 12/18/2019   RE        ( 209 @0.20 PER PG)                                     41.80


 12/18/2019   RE        ( 51 @0.20 PER PG)                                      10.20


 12/18/2019   RE        ( 26 @0.20 PER PG)                                       5.20


 12/18/2019   RE2       SCAN/COPY ( 48 @0.10 PER PG)                             4.80


 12/18/2019   RE2       SCAN/COPY ( 3 @0.10 PER PG)                              0.30


 12/18/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                              0.40
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 12/18/2019   RE2       SCAN/COPY ( 3 @0.10 PER PG)                              0.30


 12/18/2019   RE2       SCAN/COPY ( 11 @0.10 PER PG)                             1.10


 12/18/2019   RE2       SCAN/COPY ( 38 @0.10 PER PG)                             3.80


 12/18/2019   RE2       SCAN/COPY ( 29 @0.10 PER PG)                             2.90


 12/18/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                              0.40


 12/18/2019   TR        Transcript [E116] eScribers, Inv. 297146, PEC          959.20


 12/19/2019   CC        Conference Call [E105] AT&T Conference Call, MSP        65.61


 12/19/2019   CC        Conference Call [E105] AT&T Conference Call, RMP        56.33


 12/19/2019   DC        46353.00002 Advita Charges for 12-19-19                 64.38


 12/19/2019   RE        ( 81 @0.20 PER PG)                                      16.20


 12/19/2019   RE        ( 1 @0.20 PER PG)                                        0.20


 12/19/2019   RE        ( 12 @0.20 PER PG)                                       2.40


 12/20/2019   CC        Conference Call [E105] AT&T Conference Call, MSP        12.82


 12/20/2019   RE2       SCAN/COPY ( 27 @0.10 PER PG)                             2.70


 12/20/2019   RE2       SCAN/COPY ( 178 @0.10 PER PG)                           17.80


 12/23/2019   RE2       SCAN/COPY ( 5 @0.10 PER PG)                              0.50


 12/23/2019   RE2       SCAN/COPY ( 5 @0.10 PER PG)                              0.50


 12/23/2019   RE2       SCAN/COPY ( 5 @0.10 PER PG)                              0.50
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 12/23/2019   RE2       SCAN/COPY ( 11 @0.10 PER PG)                            1.10


 12/23/2019   RE2       SCAN/COPY ( 1 @0.10 PER PG)                             0.10


 12/23/2019   RE2       SCAN/COPY ( 5 @0.10 PER PG)                             0.50


 12/23/2019   RE2       SCAN/COPY ( 6 @0.10 PER PG)                             0.60


 12/23/2019   RE2       SCAN/COPY ( 5 @0.10 PER PG)                             0.50


 12/23/2019   RE2       SCAN/COPY ( 11 @0.10 PER PG)                            1.10


 12/23/2019   RE2       SCAN/COPY ( 19 @0.10 PER PG)                            1.90


 12/23/2019   RE2       SCAN/COPY ( 5 @0.10 PER PG)                             0.50


 12/23/2019   RE2       SCAN/COPY ( 5 @0.10 PER PG)                             0.50


 12/23/2019   RE2       SCAN/COPY ( 6 @0.10 PER PG)                             0.60


 12/23/2019   RE2       SCAN/COPY ( 1 @0.10 PER PG)                             0.10


 12/23/2019   RE2       SCAN/COPY ( 7 @0.10 PER PG)                             0.70


 12/23/2019   RE2       SCAN/COPY ( 8 @0.10 PER PG)                             0.80


 12/23/2019   RE2       SCAN/COPY ( 12 @0.10 PER PG)                            1.20


 12/23/2019   RE2       SCAN/COPY ( 8 @0.10 PER PG)                             0.80


 12/24/2019   CC        Conference Call [E105] AT&T Conference Call, MSP        7.22


 12/24/2019   CC        Conference Call [E105] AT&T Conference Call, MSP        4.97


 12/25/2019   CC        Conference Call [E105] AT&T Conference Call, MSP       42.91
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 12/26/2019   CC        Conference Call [E105] AT&T Conference Call, MSP               1.64


 12/26/2019   CC        Conference Call [E105] AT&T Conference Call, MSP               0.42


 12/26/2019   CC        Conference Call [E105] AT&T Conference Call, MSP               1.39


 12/27/2019   CC        Conference Call [E105] AT&T Conference Call, JWD               9.58


 12/27/2019   RE2       SCAN/COPY ( 17 @0.10 PER PG)                                   1.70


 12/27/2019   RE2       SCAN/COPY ( 14 @0.10 PER PG)                                   1.40


 12/27/2019   RE2       SCAN/COPY ( 27 @0.10 PER PG)                                   2.70


 12/30/2019   CC        Conference Call [E105] AT&T Conference Call, MSP              52.60


 12/31/2019   LV        Legal Vision Atty/Mess. Service- Inv. 07310, Delivery to      66.40
                        UST, N. Brown


 12/31/2019   PAC       Pacer - Court Research                                       389.20


 12/31/2019   RE        ( 427 @0.20 PER PG)                                           85.40


 12/31/2019   RE        ( 104 @0.20 PER PG)                                           20.80


 12/31/2019   RE        ( 76 @0.20 PER PG)                                            15.20


 12/31/2019   RE        ( 14 @0.20 PER PG)                                             2.80


 12/31/2019   RE        ( 173 @0.20 PER PG)                                           34.60


 12/31/2019   RE        ( 57 @0.20 PER PG)                                            11.40


 12/31/2019   RE        ( 74 @0.20 PER PG)                                            14.80


 12/31/2019   RE        ( 80 @0.20 PER PG)                                            16.00
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 12/31/2019   RE2       SCAN/COPY ( 1 @0.10 PER PG)                             0.10


 12/31/2019   RE2       SCAN/COPY ( 1 @0.10 PER PG)                             0.10


 12/31/2019   RE2       SCAN/COPY ( 1 @0.10 PER PG)                             0.10


 12/31/2019   RE2       SCAN/COPY ( 1 @0.10 PER PG)                             0.10


 12/31/2019   RE2       SCAN/COPY ( 1 @0.10 PER PG)                             0.10


 12/31/2019   RE2       SCAN/COPY ( 1 @0.10 PER PG)                             0.10


 12/31/2019   RE2       SCAN/COPY ( 1 @0.10 PER PG)                             0.10


 12/31/2019   RE2       SCAN/COPY ( 1 @0.10 PER PG)                             0.10


 12/31/2019   RE2       SCAN/COPY ( 14 @0.10 PER PG)                            1.40


 12/31/2019   RE2       SCAN/COPY ( 14 @0.10 PER PG)                            1.40


 12/31/2019   RE2       SCAN/COPY ( 15 @0.10 PER PG)                            1.50


 12/31/2019   RE2       SCAN/COPY ( 16 @0.10 PER PG)                            1.60


 12/31/2019   RE2       SCAN/COPY ( 24 @0.10 PER PG)                            2.40


 12/31/2019   RE2       SCAN/COPY ( 27 @0.10 PER PG)                            2.70


 12/31/2019   RE2       SCAN/COPY ( 30 @0.10 PER PG)                            3.00


 12/31/2019   RE2       SCAN/COPY ( 347 @0.10 PER PG)                          34.70


 12/31/2019   RE2       SCAN/COPY ( 347 @0.10 PER PG)                          34.70


 12/31/2019   RE2       SCAN/COPY ( 39 @0.10 PER PG)                            3.90
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 12/31/2019   RE2       SCAN/COPY ( 47 @0.10 PER PG)                             4.70


 12/31/2019   RE2       SCAN/COPY ( 6 @0.10 PER PG)                              0.60


 12/31/2019   RE2       SCAN/COPY ( 69 @0.10 PER PG)                             6.90


 12/31/2019   RE2       SCAN/COPY ( 80 @0.10 PER PG)                             8.00


 12/31/2019   RE2       SCAN/COPY ( 88 @0.10 PER PG)                             8.80

   Total Expenses for this Matter                                        $19,268.68
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                                                REMITTANCE ADVICE

                                    Please inlcude this Remittance with your payment

For current services rendered through:        12/31/2019

Total Fees                                                                                           $468,739.50

Total Expenses                                                                                         19,268.68

Total Due on Current Invoice                                                                         $488,008.18

  Outstanding Balance from prior invoices as of        12/31/2019          (May not include recent payments)

A/R Bill Number           Invoice Date               Fees Billed        Expenses Billed             Balance Due
 123506                  10/31/2019                $201,832.00             $578.90                  $202,410.90

 123983                  10/31/2019                 $40,851.50            $4,502.29                   $45,353.79

 123984                  11/30/2019                $452,860.00            $1,867.74                 $454,727.74

             Total Amount Due on Current and Prior Invoices:                                       $1,190,500.61
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                              Pachulski Stang Ziehl & Jones LLP
                                         10100 Santa Monica Blvd.
                                                13th Floor
                                          Los Angeles, CA 90067
                                                                     January 31, 2020
Jia Yueting                                                          Invoice 124408
Faraday Future                                                       Client   46353
18455 S. Figueroa Street                                             Matter   00002
Gardena, CA 90248
                                                                              JWD

RE: Post Petition

 _______________________________________________________________________________________

          STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 01/31/2020
                 FEES                                                $510,010.00
                 EXPENSES                                              $7,836.93
                 TOTAL CURRENT CHARGES                               $517,846.93

                 BALANCE FORWARD                                    $1,190,500.61
                 TOTAL BALANCE DUE                                  $1,708,347.54
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  Summary of Services by Professional
  ID        Name                              Title               Rate       Hours               Amount

 BDD        Dassa, Beth D.                    Paralegal          425.00      69.50         $29,537.50

 JEO        O'Neill, James E.                 Partner            925.00      11.50         $10,637.50

                                                                            139.00        $124,405.00
 JWD        Dulberg, Jeffrey W.               Partner            895.00
                                                                              7.80             $3,510.00
 LAF        Forrester, Leslie A.              Other              450.00
                                                                            249.80        $218,575.00
 MSP        Pagay, Malhar S.                  Counsel            875.00
                                                                              0.40              $170.00
 PJJ        Jeffries, Patricia J.             Paralegal          425.00
 RMP        Pachulski, Richard M.             Partner           1445.00      73.00        $105,485.00

 TCF        Flanagan, Tavi C.                 Counsel            725.00      24.40         $17,690.00

                                                                           575.40          $510,010.00
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  Summary of Services by Task Code
  Task Code         Description                                           Hours                        Amount

 AA                 Asset Analysis/Recovery[B120]                          0.10                         $87.50

 BL                 Bankruptcy Litigation [L430]                         254.00                  $234,795.00

 CA                 Case Administration [B110]                            56.00                      $46,525.00

 CO                 Claims Admin/Objections[B310]                         38.10                      $29,414.50

 CP                 Compensation Prof. [B160]                              4.60                       $2,566.00

 FF                 Financial Filings [B110]                              21.10                      $11,988.50

 FN                 Financing [B230]                                      30.10                      $20,639.50

 GC                 General Creditors Comm. [B150]                        30.90                      $27,637.50

 HE                 Hearing                                                4.40                       $6,358.00

 LN                 Litigation (Non-Bankruptcy)                            6.60                       $4,924.00

 MC                 Meeting of Creditors [B150]                            6.10                       $5,922.50

 PD                 Plan & Disclosure Stmt. [B320]                       113.00                  $111,622.00

 RP                 Retention of Prof. [B160]                             10.40                       $7,530.00

                                                                              575.40             $510,010.00
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  Summary of Expenses
  Description                                                                                    Amount
Auto Travel Expense [E109]                                                                $84.27
Bloomberg                                                                                $240.00
Working Meals [E111]                                                                   $3,039.57
CourtLink                                                                                $184.80
Federal Express [E108]                                                                   $141.77
Filing Fee [E112]                                                                        $400.00
Lexis/Nexis- Legal Research [E                                                           $141.98

Legal Vision Atty Mess Service                                                           $838.37
Pacer - Court Research                                                                   $628.80
Postage [E108]                                                                           $282.77
Reproduction Expense [E101]                                                              $833.20
Reproduction/ Scan Copy                                                                  $905.90
Travel Expense [E110]                                                                    $115.50

                                                                                               $7,836.93
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                                                                                       Hours           Rate        Amount

  Asset Analysis/Recovery[B120]
 01/21/2020   MSP     AA        Email exchange with R. Jia re: follow-up                0.10        875.00           $87.50
                                Committee information requests re: Ocean View,
                                Success Pyramid, etc.

                                                                                        0.10                         $87.50

  Bankruptcy Litigation [L430]
 01/01/2020   MSP     BL        Email exchange with J. Wang, M. Zhang, Richard          0.50        875.00         $437.50
                                M. Pachulski, et al. re: preparation for witness
                                interviews, independent counsel, etc.
 01/01/2020   MSP     BL        Email exchange with M. Zhang, et al. re:                0.10        875.00           $87.50
                                representation of individual Committee witnesses.
 01/02/2020   MSP     BL        Telephone conference with L. Wang Ekvall, Jeffrey       0.60        875.00         $525.00
                                W. Dulberg re: introduction to case, Committee
                                interviews.
 01/02/2020   MSP     BL        Email exchanges with S. Uhland, Richard M.              2.90        875.00        $2,537.50
                                Pachulski, J. Wang, M. Kaplan, A. Behlmann, C.
                                Deng, L. Wang Ekvall, M. Aydt, et al. re:
                                Committee interviews (1.90) and address
                                arrangements re: same.
 01/02/2020   MSP     BL        Email exchange with Richard M. Pachulski, B.            0.10        875.00           $87.50
                                Kruse et al. re: timing of Committee interview.
 01/02/2020   MSP     BL        Email exchange with D. Perez, et al. re: Committee      0.10        875.00           $87.50
                                non-disclosure agreement.
 01/02/2020   MSP     BL        Prepare materials and questions for Committee           2.50        875.00        $2,187.50
                                interview preparation sessions.
 01/02/2020   RMP     BL        Prepare responses to e-mails re 1/6 and 1/7             0.60      1445.00          $867.00
                                interviews.
 01/02/2020   RMP     BL        Various telephone conferences and preparation for       1.20      1445.00         $1,734.00
                                interviews.
 01/02/2020   JWD     BL        Call with counsel for various interviewees re           0.60        895.00         $537.00
                                Committee investigation
 01/03/2020   MSP     BL        Prepare materials and questions for Committee           2.50        875.00        $2,187.50
                                interview preparation sessions.
 01/03/2020   MSP     BL        Office meeting with G. Gao, S. Chu, et al. re:          4.70        875.00        $4,112.50
                                Committee interviews.
 01/03/2020   MSP     BL        Address Committee interview preparation planning;       0.50        875.00         $437.50
                                email exchange with Richard M. Pachulski, et al. re:
                                same (.10).
 01/03/2020   MSP     BL        Review Delaware U.S. Trustee documents to be            0.90        875.00         $787.50
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                                                                                        Hours           Rate        Amount
                                uploaded for Committee; email exchange with D.
                                Perez, Beth Dassa, et al. re: same (.10).
 01/03/2020   MSP     BL        Address logistics and planning for Committee             2.60        875.00        $2,275.00
                                interviews of third-party witnesses.
 01/03/2020   RMP     BL        Prepare for and participate on conference call re        0.70      1445.00         $1,011.50
                                Committee interviews and follow-up with M. Pagay
                                re same.
 01/03/2020   RMP     BL        Conferences with M. Pagay and J. Dulberg re              0.60      1445.00          $867.00
                                interview preparation and telephone conference with
                                Committee counsel re same.
 01/03/2020   JWD     BL        Review notes and meet with counsel re interviews         0.70        895.00         $626.50
 01/04/2020   MSP     BL        Email exchanges with Jeffrey W. Dulberg, L. Wang         3.10        875.00        $2,712.50
                                Ekvall, M. Zhang, et al. re: Committee interview
                                preparation of C. Breitfeld, etc. and attention to
                                logistics and preparation information re: same
                                (1.70).
 01/05/2020   MSP     BL        Prepare for and conduct witness preparation sessions     5.30        875.00        $4,637.50
                                with S. Uhland, Jeffrey W. Dulberg, L. Wang
                                Ekvall, R. Marticello, et al.
 01/05/2020   MSP     BL        Email exchange with J. Liang re: documents for           0.10        875.00           $87.50
                                preparation for S. Chu Committee interview.
 01/05/2020   MSP     BL        Attention to logistics and preparation for witness       0.90        875.00         $787.50
                                preparation sessions for Committee interviews.
 01/05/2020   MSP     BL        Prepare for Committee interviews after preparation       3.20        875.00        $2,800.00
                                sessions; email exchange with J. Liang, R.
                                Marticello, et al.
 01/05/2020   MSP     BL        Email exchange with S. Uhland, Richard M.                0.60        875.00         $525.00
                                Pachulski, S. Chu, G. Gao, J. Wang, R. Soref et al.
                                re: confirming arrangements for Committee
                                interview.
 01/05/2020   RMP     BL        Review and respond to Committee e-mails re               0.60      1445.00          $867.00
                                witness interviews.
 01/05/2020   JWD     BL        Review notes from interview prep and review items        0.50        895.00         $447.50
                                for next meeting
 01/06/2020   MSP     BL        Meeting with A. Behlmann, M. Kaplan, Richard M.          9.30        875.00        $8,137.50
                                Pachulski, Jeffrey W. Dulberg, S. Uhland, et al. re:
                                Committee interviews of S. Chu, G. Gao, J. Wang
                                and discussion re: Committee revisions to plan term
                                sheet.
 01/06/2020   MSP     BL        Telephone call with J. Liang re: S. Chu Committee        0.20        875.00         $175.00
                                interview.
 01/06/2020   MSP     BL        Attention to arrangements and logistics for next day?    1.40        875.00        $1,225.00
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                                                                                       Hours           Rate        Amount
                                s Committee witness interviews; email exchange
                                with Richard M. Pachulski, Jeffrey W. Dulberg, S.
                                Uhland, et al. re: same (.20).
 01/06/2020   RMP     BL        Prepare for and participate on interviews with Jerry    5.30      1445.00         $7,658.50
                                Wane and S. Chu.
 01/06/2020   JWD     BL        Emails regarding removal deadline and status report     0.20        895.00         $179.00
 01/06/2020   JWD     BL        Emails regarding removal motion                         0.10        895.00           $89.50
 01/06/2020   JEO     BL        Emails with Malhar Pagay re pending matters             0.30        925.00         $277.50
 01/07/2020   MSP     BL        Attend Committee witness interviews of L. Bossert,     11.20        875.00        $9,800.00
                                C. Deng, C. Breitfeldt, B. Kruse.
 01/07/2020   MSP     BL        Attention to and email exchanges (.80) with J.          1.80        875.00        $1,575.00
                                Wang, M. Kaplan, Richard M. Pachulski, S. Uhland,
                                et al. re: meeting and logistics before Committee
                                witness interviews.
 01/07/2020   MSP     BL        Email exchange with R. Jia, J. Wang, et al. re:         0.10        875.00           $87.50
                                Committee questions about cash flow.
 01/07/2020   RMP     BL        Various conferences with Team re interviews and         3.30      1445.00         $4,768.50
                                meetings with Yueting and team re next steps and
                                trust terms.
 01/07/2020   JWD     BL        Attend Lian Bossert committee interview                 0.80        895.00         $716.00
 01/08/2020   MSP     BL        Email exchange with J. Wang, R. Jia, R. Moon, M.        1.30        875.00        $1,137.50
                                Greenberg, et al. re: financial information, cash
                                forecast requested by Committee (.30); review same.
 01/08/2020   JEO     BL        Emails with Beth Dasa re comments to removal            0.30        925.00         $277.50
                                extension motion
 01/08/2020   JEO     BL        Review and provide comments to draft of removal         0.40        925.00         $370.00
                                extension motion
 01/08/2020   BDD     BL        Further revisions to removal notice/motion and          0.20        425.00           $85.00
                                email J. O'Neill re same
 01/08/2020   BDD     BL        Email J. O'neill re order on removal motion             0.10        425.00           $42.50
 01/08/2020   BDD     BL        Email J. Dulberg and M. Pagay re revised removal        0.10        425.00           $42.50
                                motion
 01/08/2020   BDD     BL        Email J. Dulberg re motion to appoint trustee           0.10        425.00           $42.50
 01/08/2020   BDD     BL        Work on bullet points per J. Dulberg request re         0.50        425.00         $212.50
                                motion to convert case and email J. Dulberg re same
 01/09/2020   MSP     BL        Address planning for Committee deposition of            1.60        875.00        $1,400.00
                                debtor next week and email exchange with M.
                                Kaplan, J. Wang, W. Pao re: same (.20).
 01/09/2020   MSP     BL        Telephone call with M. Kaplan re: arrangements for      0.20        875.00         $175.00
                                debtor deposition.
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                                                                                           Hours           Rate        Amount
 01/09/2020   MSP     BL        Attention to additional disclosures requested by            0.70        875.00         $612.50
                                Committee financial advisors; email exchange with
                                D. Perez, M. Zhang, et al. re: same (.10).
 01/09/2020   MSP     BL        Email exchange with J. Wang, Jeffrey W. Dulberg,            0.40        875.00         $350.00
                                R. Jia, D. Perez, et al. re: informal response to U.S.
                                Trustee motion to appoint trustee as requested
                                during meeting.
 01/09/2020   JWD     BL        Meeting with M. Pagay and R. Pachulski and call             0.40        895.00         $358.00
                                with A Behlmann regarding term sheet
 01/09/2020   JWD     BL        Call with Richard Pachulski regarding lien                  0.50        895.00         $447.50
                                avoidance, respond to Jerry Wang email regarding
                                same and emails with M Pagay regarding same
 01/09/2020   JWD     BL        Meet with Richard Pachulski and emails regarding            0.20        895.00         $179.00
                                SLC and SQ avoidance actions
 01/09/2020   JWD     BL        Email to client team regarding next steps with SLC          0.10        895.00           $89.50
                                and 341a
 01/09/2020   JWD     BL        Review removal motion and draft emails regarding            0.20        895.00         $179.00
                                same to client and paralegal
 01/09/2020   JWD     BL        Prepare and revise chart regarding UST to do list           0.20        895.00         $179.00
 01/09/2020   JWD     BL        Work on bullet points for UST response and several          4.80        895.00        $4,296.00
                                iterations for client comments regarding trustee
                                motion
 01/10/2020   MSP     BL        Telephone call with W. Pao re: preparation for              0.30        875.00         $262.50
                                client deposition.
 01/10/2020   MSP     BL        Email exchange with R. Newman, R. Moon, et al re:           0.10        875.00           $87.50
                                Faraday financial information.
 01/10/2020   MSP     BL        Email exchange with S. Uhland, W. Pao, Richard M.           0.30        875.00         $262.50
                                Pachulski, et al. re: preparation for client deposition,
                                scheduling with Committee for next week.
 01/10/2020   MSP     BL        Begin compilation and review of documents needed            3.10        875.00        $2,712.50
                                to prepare client for deposition; email exchange with
                                D. Perez, T. Li re: same (.10).
 01/10/2020   RMP     BL        Review correspondence to UST and conference call            0.90      1445.00         $1,300.50
                                re Committee issues.
 01/10/2020   JWD     BL        Multiple calls with debtor team re motion for filing        0.20        895.00         $179.00
 01/10/2020   JWD     BL        Work on various issues related to completing motion         1.20        895.00        $1,074.00
                                and declaration in support
 01/10/2020   JWD     BL        Work on responses to UST                                    1.60        895.00        $1,432.00
 01/10/2020   JWD     BL        Emails with client team and OMM re declarations             0.20        895.00         $179.00
                                and issues for CDCA evidence compliance for
                                motions
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                                                                                        Hours           Rate        Amount

 01/10/2020   JWD     BL        Review removal motion notice                             0.10        895.00           $89.50
 01/10/2020   JWD     BL        Emails with debtor team re declaration for motion        0.10        895.00           $89.50
 01/10/2020   JWD     BL        Further emails re declaration and review/revise          0.60        895.00         $537.00
                                removal motion
 01/10/2020   JWD     BL        Review and revise removal deadline extension mtn         0.30        895.00         $268.50
 01/10/2020   JEO     BL        Emails with Beth Dassa and Jeff Dulberg re               0.70        925.00         $647.50
                                revisions to removal motion
 01/10/2020   JEO     BL        Finalize removal motion and forward to clients to        0.90        925.00         $832.50
                                review
 01/10/2020   JEO     BL        Emails with Beth Dassa re filing requirements for        0.30        925.00         $277.50
                                removal extension motion
 01/10/2020   JEO     BL        Review and revise removal extension motion               0.50        925.00         $462.50
 01/10/2020   JEO     BL        Email to committee counsel re filing of removal          0.20        925.00         $185.00
                                extension motion
 01/10/2020   JEO     BL        Emails with client team re removal extension motion      0.30        925.00         $277.50
 01/10/2020   BDD     BL        Preparation of Dec of R. Moon ISO motion re              0.90        425.00         $382.50
                                removal deadline and email N. Brown re same
 01/10/2020   BDD     BL        Email J. Dulberg, M. Pagay and J. O'Neill re notice      0.10        425.00           $42.50
                                of removal
 01/10/2020   BDD     BL        Address service issues re removal motion/notice;         0.20        425.00           $85.00
                                confer with Epiq, J. Dulberg and N. Brown re same
 01/10/2020   BDD     BL        Email N. Brown re removal notice                         0.10        425.00           $42.50
 01/10/2020   BDD     BL        Email J. Dulberg and M. Pagay re finalized removal       0.10        425.00           $42.50
                                motion/notice for filing/service
 01/11/2020   MSP     BL        Telephone call with J. Wang re: preparation for          0.10        875.00           $87.50
                                client deposition.
 01/11/2020   MSP     BL        Email exchange with S. Uhland, et al. re: deposition     0.10        875.00           $87.50
                                preparation schedule.
 01/11/2020   MSP     BL        Email exchange with W. Pao re: notes from                0.20        875.00         $175.00
                                Committee witness interviews, preparation schedule.
 01/12/2020   MSP     BL        Telephone call with Jeff W. Dulberg re: avoidance        0.20        875.00         $175.00
                                actions against SLC, SQ.
 01/12/2020   MSP     BL        Address SLC, SQ liens and preparation of avoidance       1.90        875.00        $1,662.50
                                actions, client questions re: same; email exchange
                                with Jeff W. Dulberg, Tavi C. Flanagan, M. Zhang,
                                J. Wang, et al. re: same (.20).
 01/12/2020   MSP     BL        Draft letter to Committee counsel re: information re:    2.80        875.00        $2,450.00
                                Committee member counsel on board of potentially
                                competing company.
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                                                                                       Hours           Rate        Amount
 01/13/2020   MSP     BL        Telephone calls (3) with J. Wang re: avoidance          0.50        875.00         $437.50
                                actions, Committee member with conflict, etc.
 01/13/2020   MSP     BL        Telephone call with M. Kaplan re: logistics and         0.10        875.00           $87.50
                                confidentiality terms of client deposition.
 01/13/2020   MSP     BL        Telephone call with R. Jia re: additional               0.20        875.00         $175.00
                                documentation requested by Committee.
 01/13/2020   MSP     BL        Email exchange with Richard M. Pachulski, et al. re:    0.10        875.00           $87.50
                                client questions re: avoidance actions against SLC,
                                SQ.
 01/13/2020   MSP     BL        Address Committee requests for additional               2.70        875.00        $2,362.50
                                information; email exchange with J. Wang, et al. re:
                                same.
 01/13/2020   MSP     BL        Email exchange with S. Uhland, D. Perez, J. Wang        0.10        875.00           $87.50
                                re: draft letter to Committee counsel re: member
                                with conflict.
 01/13/2020   MSP     BL        Revise, incorporate special counsel comments and        0.70        875.00         $612.50
                                finalize letter to Committee counsel re: member
                                with conflict.
 01/13/2020   MSP     BL        Continue compilation of materials and develop           3.10        875.00        $2,712.50
                                questions re: client deposition preparation.
 01/13/2020   RMP     BL        Review SQ correspondence and conference with J.         0.30      1445.00          $433.50
                                Dulberg re same.
 01/14/2020   MSP     BL        Telephone calls (2: .10; .30) with J. Wang re:          0.40        875.00         $350.00
                                Committee deposition preparation.
 01/14/2020   MSP     BL        Telephone call with M. Zhang re: Committee              0.30        875.00         $262.50
                                deposition preparation.
 01/14/2020   MSP     BL        Telephone call with M. Kaplan re: Committee             0.20        875.00         $175.00
                                deposition preparation.
 01/14/2020   MSP     BL        Telephone call with R. Jia re: follow-up information    0.20        875.00         $175.00
                                relating to Ocean View.
 01/14/2020   MSP     BL        Email exchange with Tavi C. Flanagan, Jeff W.           0.10        875.00           $87.50
                                Dulberg re: status of SQ and SLC ORAP liens.
 01/14/2020   MSP     BL        Email exchange with J. Wang, et al. re: Committee       0.10        875.00           $87.50
                                request for debtor representation re: flow of funds.
 01/14/2020   MSP     BL        Continue to prepare materials and questions for         2.90        875.00        $2,537.50
                                client preparation for Committee deposition.
 01/14/2020   MSP     BL        Email exchange with R. Jia, et al. re: bank             0.70        875.00         $612.50
                                statements (.10); review same.
 01/14/2020   MSP     BL        Attention to bank account information for debtor and    1.80        875.00        $1,575.00
                                insiders; email exchange with R. Jia re: same (.10).
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                                                                                           Hours           Rate        Amount
 01/14/2020   RMP     BL        Prepare for and participate on counsel conference           0.90      1445.00         $1,300.50
                                call.
 01/14/2020   RMP     BL        Review accounts and documents to be provided to             0.80      1445.00         $1,156.00
                                Committee.
 01/14/2020   JWD     BL        Work on UST issues                                          0.30        895.00         $268.50
 01/14/2020   JWD     BL        Office conference with Malhar Pagay regarding               0.20        895.00         $179.00
                                declaration on debt restructuring team
 01/14/2020   JWD     BL        Review prep for Debtor meeting                              0.60        895.00         $537.00
 01/14/2020   JWD     BL        Review new version of YT declaration regarding              0.20        895.00         $179.00
                                restructuring team
 01/14/2020   JWD     BL        Draft declaration regarding debt restructuring team         1.50        895.00        $1,342.50
                                regarding issue for motion to appoint Trustee
 01/15/2020   MSP     BL        Telephone call with J. Liang re: Committee request          0.10        875.00           $87.50
                                for additional information re: Ocean View.
 01/15/2020   MSP     BL        Prepare for client session re: Committee deposition.        1.40        875.00        $1,225.00
 01/15/2020   MSP     BL        Office meeting with Y. Jia, Richard M. Pachulski, S.       11.00        875.00        $9,625.00
                                Uhland, J. Wang, Jeff W. Dulberg et al. re:
                                preparation for client deposition, plan timeline and
                                other case issues.
 01/15/2020   MSP     BL        Telephone calls (2) with M. Kaplan re: parameters           0.30        875.00         $262.50
                                for confidentiality of deposition, term sheet, etc.
 01/15/2020   MSP     BL        Address client deposition preparation and                   0.50        875.00         $437.50
                                Committee professionals? meeting at Faraday
                                logistics and arrangements; email exchange with M.
                                Kaplan, J. Wang, et al. re: same (.10).
 01/15/2020   RMP     BL        Meeting with client and follow-up meetings re               2.40      1445.00         $3,468.00
                                committee issues.
 01/15/2020   RMP     BL        Review SLC response to status report and                    0.30      1445.00          $433.50
                                conference with J. Dulberg re same.
 01/15/2020   JWD     BL        Review SLC filing and work with debtor team to              0.60        895.00         $537.00
                                understand same
 01/15/2020   JWD     BL        Work on bullet points from press response regarding         0.40        895.00         $358.00
                                SLC filing
 01/15/2020   JWD     BL        Attend client depo prep                                     5.50        895.00        $4,922.50
 01/15/2020   JWD     BL        Strategize with debtor and team regarding SLC,              1.00        895.00         $895.00
                                plan, various case issues
 01/15/2020   BDD     BL        Email PSZJ team re SLC response to Debtor's status          0.10        425.00           $42.50
                                report
 01/16/2020   MSP     BL        Meeting at client office with Y. Jia, W. Pao, et al. re:   11.30        875.00        $9,887.50
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                                deposition preparation, etc.
 01/16/2020   MSP     BL        Telephone call with M. Kaplan re: deposition            0.10        875.00           $87.50
                                logistics, confidentiality parameters, etc.
 01/16/2020   MSP     BL        Attention to final arrangements for first day of        2.10        875.00        $1,837.50
                                Committee deposition.
 01/16/2020   RMP     BL        Telephone conferences with J. Dulberg and SLC           0.70      1445.00         $1,011.50
                                counsel re case issues and follow-up with J.
                                Dulberg.
 01/16/2020   JWD     BL        Call with R Pachulski regarding case status, depo       0.70        895.00         $626.50
                                wrap up etc.
 01/16/2020   JWD     BL        Attend Debtor depo prep                                 8.50        895.00        $7,607.50
 01/16/2020   JWD     BL        Review preliminary injunction and draft email           0.10        895.00           $89.50
                                regarding same
 01/16/2020   JWD     BL        Call with SLC counsel regarding various matters         0.90        895.00         $805.50
 01/16/2020   JWD     BL        Emails regarding SLC call set up                        0.10        895.00           $89.50
 01/16/2020   JWD     BL        Attend meeting with OMM and client team                 1.00        895.00         $895.00
                                regarding update
 01/16/2020   JWD     BL        Call with R Pachulski regarding SLC                     0.10        895.00           $89.50
 01/16/2020   BDD     BL        Email PSZJ team re UST's withdrawal of motion to        0.10        425.00           $42.50
                                appt. ch. 11 trustee.
 01/17/2020   MSP     BL        Attend deposition of client and meetings with client   11.00        875.00        $9,625.00
                                team re: preparation for next day of deposition.
 01/17/2020   MSP     BL        Telephone call with M. Kaplan re: confidentiality       0.80        875.00         $700.00
                                governing deposition, etc (.10); review and revise
                                draft agreement re: same.
 01/17/2020   MSP     BL        Email exchange with Richard M. Pachulski, Jeffrey       1.20        875.00        $1,050.00
                                W. Dulberg, Beth Dassa, et al. re: claims filed by
                                putative secured creditors SLC, SQ and review
                                same.
 01/17/2020   MSP     BL        Attention to requested follow-up information and        0.90        875.00         $787.50
                                documents re: Ocean View; email exchange with
                                M. Zhang, et al. re: same.
 01/17/2020   RMP     BL        Various telephone conferences re YT deposition and      0.90      1445.00         $1,300.50
                                extent of same.
 01/17/2020   RMP     BL        Conferences with team re YT deposition and              1.10      1445.00         $1,589.50
                                conference with UST re same.
 01/17/2020   JWD     BL        Emails with team re strategy for SLC issues             0.40        895.00         $358.00
 01/17/2020   JWD     BL        Comment to deposition NDA and emails re same            0.20        895.00         $179.00
 01/17/2020   JWD     BL        Attend Debtor deposition                                9.00        895.00        $8,055.00
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                                                                                       Hours           Rate        Amount
 01/18/2020   MSP     BL        Attend deposition of client, meeting with A.           11.00        875.00        $9,625.00
                                Behlmann, M. Kaplan, et al. re: plan negotiations.
 01/19/2020   MSP     BL        Email exchange with Richard M. Pachulski, Jeffrey       0.90        875.00         $787.50
                                W. Dulberg re: results of Committee deposition.
 01/19/2020   MSP     BL        Email exchange with M. Kaplan, Richard M.               0.20        875.00         $175.00
                                Pachulski, et al. re: follow-up items for Committee
                                from deposition.
 01/19/2020   MSP     BL        Address and begin compilation of Committee              1.90        875.00        $1,662.50
                                follow-up information requests including S. Chu
                                records; email exchange with W. Pao, S. Uhland, D.
                                Perez, R. Jia, J. Wang, et al. re: same (.20).
 01/19/2020   JWD     BL        Call with R Pachulski re various ch 11 matters          0.40        895.00         $358.00
 01/20/2020   MSP     BL        Telephone conferences (2) with S. Uhland, M.            1.00        875.00         $875.00
                                Kaplan et al. re: additional documents and
                                follow-up re: Ocean View.
 01/20/2020   MSP     BL        Telephone call with M. Kaplan re: Committee             0.10        875.00           $87.50
                                follow-up requests.
 01/20/2020   MSP     BL        Telephone call with J. Wang re: Committee               0.10        875.00           $87.50
                                follow-up requests.
 01/20/2020   MSP     BL        Attention to deposition transcript issues.              0.80        875.00         $700.00
 01/20/2020   MSP     BL        Attention to Committee requests re: Success             4.90        875.00        $4,287.50
                                Pyramid documentation and information, including
                                review and analysis of cash inflows and outflows on
                                bank records, loan and sale documents, etc.; email
                                exchange with S. Uhland, J. Wang, R. Jia, et al. re:
                                same (.30).
 01/20/2020   RMP     BL        Review various e-mails and telephone conferences        0.90      1445.00         $1,300.50
                                with team re Committee discovery requests.
 01/20/2020   RMP     BL        Review YT transcript.                                   0.40      1445.00          $578.00
 01/20/2020   JWD     BL        Attend call re document with OMM                        0.40        895.00         $358.00
 01/21/2020   MSP     BL        Telephone call with M. Kaplan re: follow-up             0.20        875.00         $175.00
                                Committee information requests re: Ocean View,
                                Success Pyramid, etc.
 01/21/2020   MSP     BL        Telephone call with J. Wang re: follow-up               0.10        875.00           $87.50
                                Committee information requests re: Ocean View,
                                Success Pyramid, etc.
 01/21/2020   MSP     BL        Attention to follow-up Committee information            3.70        875.00        $3,237.50
                                requests re: Ocean View, Success Pyramid, etc.
 01/21/2020   MSP     BL        Email exchange with Jeffrey W. Dulberg, Tavi C.         0.10        875.00           $87.50
                                Flanagan re: avoidance action complaints against
                                SQ and SLC.
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                                                                                         Hours           Rate        Amount
 01/22/2020   MSP     BL        Address issues re: confidential transcripts of client     0.90        875.00         $787.50
                                deposition sessions.
 01/22/2020   MSP     BL        Email exchange with M. Kaplan, et al. re: follow-up       0.10        875.00           $87.50
                                Committee information requests re: Ocean View,
                                Success Pyramid, etc.
 01/23/2020   MSP     BL        Attention to arranging court-ordered mediation and        2.80        875.00        $2,450.00
                                order re: same; email exchange with Richard M.
                                Pachulski, R. Soref, et al. re: same (.20).
 01/23/2020   MSP     BL        Draft order re: mediation; email exchange with            0.50        875.00         $437.50
                                Richard M. Pachulski, Jeffrey W. Dulberg et al. re:
                                same (.10).
 01/23/2020   MSP     BL        Email exchange with Jeffrey W. Dulberg et al. re:         0.10        875.00           $87.50
                                draft preference complaints against SQ and SLC.
 01/24/2020   MSP     BL        Telephone call with M. Kaplan re: follow-up               0.20        875.00         $175.00
                                Committee information requests re: Ocean View,
                                Success Pyramid, etc.
 01/24/2020   MSP     BL        Attention to mediation order, logistics and planning;     2.10        875.00        $1,837.50
                                email exchange with R. Soref, S. Uhland, Richard
                                M. Pachulski, et al. re: same (.10).
 01/24/2020   MSP     BL        Revise and circulate mediation order to J. Moe, D.        0.80        875.00         $700.00
                                Saval, Richard M. Pachulski, R. Soref, E. Schnabel,
                                et al.
 01/24/2020   MSP     BL        Address circulation of confidential deposition            0.50        875.00         $437.50
                                transcript.
 01/24/2020   RMP     BL        Telephone conferences with Committee counsel and          0.60      1445.00          $867.00
                                clients re various mediator options.
 01/24/2020   RMP     BL        Review and respond to e-mails re mediator issues          0.60      1445.00          $867.00
                                and review proposed order.
 01/25/2020   MSP     BL        Email exchange with Richard M. Pachulski, J. Prol,        0.20        875.00         $175.00
                                D. Saval, et al. re: mediation.
 01/26/2020   JWD     BL        Review comments filed to removal ext motion and           0.30        895.00         $268.50
                                emails regarding same
 01/27/2020   MSP     BL        Email exchange with Jeffrey W. Dulberg, J. Wang,          0.30        875.00         $262.50
                                M. Zhang, et al. re: avoidance actions against SQ
                                and SLC.
 01/27/2020   MSP     BL        Email exchange with J. Moe, et al. re: draft order re:    0.10        875.00           $87.50
                                mediation.
 01/27/2020   MSP     BL        Attention to mediation logistics; email exchange          0.30        875.00         $262.50
                                with Richard M. Pachulski, R. Soref, A. Behlmann,
                                et al. re: same (.10).
 01/27/2020   RMP     BL        Review SLC and SQ letters and complaints and              0.60      1445.00          $867.00
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                                                                                       Hours           Rate       Amount
                                conference with J. Dulberg re same.
 01/27/2020   BDD     BL        Email J. Dulberg re removal motion                      0.10        425.00           $42.50
 01/28/2020   MSP     BL        Telephone call with M. Kaplan re: follow up             0.10        875.00           $87.50
                                document requests, transcript of deposition.
 01/28/2020   MSP     BL        Email exchange with R. Soref, Richard M.                0.30        875.00        $262.50
                                Pachulski, Jeffrey W. Dulberg, S. Uhland, D. Saval,
                                et al. re: identifying available mediator, etc.
 01/28/2020   JWD     BL        Work on issues re mediation planning                    0.40        895.00        $358.00
 01/28/2020   JWD     BL        Further work on mediation scheduling, mediator          0.80        895.00        $716.00
                                selection
 01/28/2020   JWD     BL        Calls with R Soref re mediation planning                0.20        895.00        $179.00
 01/28/2020   JWD     BL        Call with B Dassa re removal order                      0.10        895.00           $89.50
 01/28/2020   BDD     BL        Email J. Dulberg re Order/Dec of Non Opp re             0.10        425.00           $42.50
                                removal motion
 01/28/2020   BDD     BL        Prepare Order/Declaration of Non-Opp re removal         0.80        425.00        $340.00
                                deadline and emails to/conference with J. Dulberg re
                                same
 01/28/2020   BDD     BL        Email M. Pagay re order on removal motion               0.10        425.00           $42.50
 01/28/2020   BDD     BL        Email J. Dulberg re revised order/dec non opp re        0.10        425.00           $42.50
                                removal motion
 01/28/2020   BDD     BL        Email N. Brown re dec non opp/order re removal          0.10        425.00           $42.50
                                motion
 01/28/2020   BDD     BL        Email N. Brown re revised email service list re Dec     0.10        425.00           $42.50
                                of non opp re removal motion
 01/29/2020   MSP     BL        Telephone call with M. Kaplan re: mediation             0.30        875.00        $262.50
                                logistics.
 01/29/2020   MSP     BL        Telephone call with J. Wang re: exhibits for            0.30        875.00        $262.50
                                mediation position statement.
 01/29/2020   MSP     BL        Telephone call with D. Perez re: mediation position     0.30        875.00        $262.50
                                statement.
 01/29/2020   MSP     BL        Email exchange with Jeffrey W. Dulberg, D. Saval,       0.10        875.00           $87.50
                                et al. re: providing materials to mediator as
                                requested.
 01/29/2020   MSP     BL        Attention to mediation materials, briefs, planning,     1.10        875.00        $962.50
                                cost splitting and logistics; email exchange with R.
                                Soref, Richard M. Pachulski, et al. re: same.
 01/29/2020   JWD     BL        Review and respond to various emails regarding          0.30        895.00        $268.50
                                mediation briefing
 01/29/2020   JWD     BL        Further work on mediation issues and briefing           0.70        895.00        $626.50
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                                                                                       Hours           Rate        Amount
 01/30/2020   MSP     BL        Telephone call with J. Moe re: attendance by            0.10        875.00           $87.50
                                principal at mediation.
 01/30/2020   MSP     BL        Telephone call with M. Kaplan re: mediation             0.10        875.00           $87.50
                                statement and exhibits.
 01/30/2020   MSP     BL        Telephone call with Tavi C. Flanagan re: SLC            0.10        875.00           $87.50
                                mediation position statement.
 01/30/2020   MSP     BL        Telephone call with Beth Dassa re: documents            0.20        875.00         $175.00
                                needed for mediation.
 01/30/2020   MSP     BL        Telephone call with R. Jia re: Ocean View/Success       0.10        875.00           $87.50
                                Pyramid documents and issues for mediation
                                discussion.
 01/30/2020   MSP     BL        Attention to mediation logistics and planning; email    1.50        875.00        $1,312.50
                                exchange with R. Soref, H. Adams, J. Moe et al. re:
                                same (.20).
 01/30/2020   MSP     BL        Revise mediation order per Richard M. Pachulski         0.10        875.00           $87.50
                                comments.
 01/30/2020   JWD     BL        Emails with J Wang re Committee and press issues        0.30        895.00         $268.50
 01/30/2020   JWD     BL        Work on issues for mediations and DS objections         1.40        895.00        $1,253.00
 01/30/2020   BDD     BL        Email M. DesJardient re 2/4 and 2/7 mediation           0.10        425.00           $42.50
 01/30/2020   TCF     BL        Review and analysis of and research regarding           2.80        725.00        $2,030.00
                                injunction; communications with respect thereto.
 01/31/2020   MSP     BL        Telephone conference with P. Buenger, L. Harrison,      0.60        875.00         $525.00
                                Richard M. Pachulski, et al. re: Liuhuan Shan
                                nondischargeability action, case status, etc.
 01/31/2020   MSP     BL        Telephone call with D. Perez re: mediation position     0.10        875.00           $87.50
                                statement.
 01/31/2020   MSP     BL        Telephone call with Tavi C. Flanagan re: SLC            0.10        875.00           $87.50
                                mediation position statement.
 01/31/2020   MSP     BL        Email exchange with Tavi C. Flanagan re:                0.10        875.00           $87.50
                                mediation statement insert re: SLC secured claim.
 01/31/2020   MSP     BL        Email exchange with Jeffrey W. Dulberg, J. Wang,        0.10        875.00           $87.50
                                M. Zhang re: SQ proposal to address lien.
 01/31/2020   MSP     BL        Email exchange with D. Perez, et al. re: Ocean          0.10        875.00           $87.50
                                View money flow information requested by
                                Committee.
 01/31/2020   MSP     BL        Email exchange with Richard M. Pachulski, et al. re:    0.20        875.00         $175.00
                                implications of China travel ban on attendance of
                                principals at mediation, mediation order, etc.
 01/31/2020   MSP     BL        Compile, review, revise and finalize omnibus            3.80        875.00        $3,325.00
                                mediation position statement; email exchange with
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                                                                                        Hours            Rate        Amount
                                M. Goldberg, D. Perez, J. Wang et al. re: same (.20).
 01/31/2020   RMP     BL        Review SLC and SQ preference and related issues           0.60      1445.00          $867.00
                                and conference with J. Dulberg re same.
 01/31/2020   TCF     BL        Review and analysis of and drafting of mediation          1.60        725.00        $1,160.00
                                statement regarding lien avoidance; communications
                                with respect thereto.

                                                                                        254.00                  $234,795.00

  Case Administration [B110]
 01/01/2020   MSP     CA        Review debtor expenses for production to U.S.             1.60        875.00        $1,400.00
                                Trustee.
 01/02/2020   MSP     CA        Email exchange with Richard M. Pachulski, et al. re:      0.10        875.00           $87.50
                                meeting with U.S. Trustee.
 01/02/2020   MSP     CA        Email exchange with Beth Dassa re: payment of             0.10        875.00           $87.50
                                living expenses.
 01/03/2020   MSP     CA        Email exchange with Beth Dassa re: draft chapter          0.10        875.00           $87.50
                                11 status report.
 01/03/2020   JWD     CA        Emails regarding status report preparation                0.20        895.00         $179.00
 01/03/2020   BDD     CA        Prepare draft status report and email M. Pagay and J.     1.40        425.00         $595.00
                                Dulberg re same
 01/05/2020   BDD     CA        Email M. Pagay re ch. 11 status report                    0.10        425.00           $42.50
 01/05/2020   BDD     CA        Email M. Pagay re exhibit to status report                0.10        425.00           $42.50
 01/06/2020   MSP     CA        Revise case status report.                                3.40        875.00        $2,975.00
 01/06/2020   MSP     CA        Email exchange with Beth Dassa, James O?Neill, et         0.10        875.00           $87.50
                                al. re: critical dates and deadlines.
 01/06/2020   JWD     CA        Review and revise ch 11 status report                     0.20        895.00         $179.00
 01/06/2020   JWD     CA        Emails regarding status report                            0.10        895.00           $89.50
 01/06/2020   BDD     CA        Email J. Dulberg re ch. 11 status report                  0.10        425.00           $42.50
 01/06/2020   BDD     CA        Email M. Pagay re motion to extend removal                0.10        425.00           $42.50
                                deadline
 01/06/2020   BDD     CA        Revisions to status report and email J. Dulberg re        0.20        425.00           $85.00
                                same
 01/06/2020   BDD     CA        Email J. O'Neill re critical dates                        0.10        425.00           $42.50
 01/06/2020   BDD     CA        Preparation of exhibit (fee budget) for status report     0.50        425.00         $212.50
                                and email M. Pagay re same
 01/06/2020   BDD     CA        Revisions/additions to fee budget exhibit per M.          0.40        425.00         $170.00
                                Pagay comments
 01/06/2020   BDD     CA        Further revisions to status report and email M. Pagay     0.20        425.00           $85.00
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                                                                                       Hours           Rate        Amount
                                re same
 01/06/2020   BDD     CA        Email M. Pagay re status report                         0.10        425.00           $42.50
 01/07/2020   MSP     CA        Email exchange with K. Morrison re: open                0.10        875.00           $87.50
                                administrative issues.
 01/07/2020   JWD     CA        Work on budget issue for case status report             0.20        895.00         $179.00
 01/07/2020   JWD     CA        Review email from UST re various issues and             0.10        895.00           $89.50
                                meeting and respond to same
 01/07/2020   JWD     CA        Work on prof budget per Court order                     0.30        895.00         $268.50
 01/07/2020   BDD     CA        Email N. Deleon re critical dates                       0.10        425.00           $42.50
 01/07/2020   BDD     CA        Email M. Desjardien re removal extension motion         0.10        425.00           $42.50
 01/07/2020   BDD     CA        Review supp declaration to PSZJ retention               0.20        425.00           $85.00
                                application re compliance with large case fee
                                guidelines and email M. Pagay re same
 01/07/2020   BDD     CA        Preparation of motion to extend removal deadline        1.30        425.00         $552.50
 01/07/2020   BDD     CA        Email N. Brown re motion to extend removal              0.10        425.00           $42.50
                                deadline
 01/07/2020   BDD     CA        Email M. Pagay re motion to extend removal              0.10        425.00           $42.50
                                deadline
 01/07/2020   BDD     CA        Email J. O'Neill re motion to extend removal            0.10        425.00           $42.50
                                deadline
 01/07/2020   BDD     CA        Preparation of notice re motion to extend removal       0.40        425.00         $170.00
                                deadline
 01/07/2020   BDD     CA        Revisions to motion re removal deadline per J.          0.30        425.00         $127.50
                                O'Neill comments and email J. O'Neill re same
 01/07/2020   BDD     CA        Email M. Pagay re org chart                             0.10        425.00           $42.50
 01/07/2020   BDD     CA        Email M. Pagay re documents uploaded for                0.10        425.00           $42.50
                                Committee
 01/08/2020   MSP     CA        Meeting with J. Sturtevant, D. Law, K. Morrison,        3.00        875.00        $2,625.00
                                Richard M. Pachulski, Jeffrey W. Dulberg et al. re:
                                introduction to case, U.S. Trustee compliance issues
                                (including travel to/from).
 01/08/2020   MSP     CA        Revise draft of case status report, incorporating       3.80        875.00        $3,325.00
                                OMM and other comments.
 01/08/2020   MSP     CA        Email exchange with S. Uhland, D. Perez, Jeffrey        0.80        875.00         $700.00
                                W. Dulberg, Beth Dassa, et al. re: information for
                                and review and revise status report.
 01/08/2020   RMP     CA        Prepare for and participate in meeting with UST re      3.30      1445.00         $4,768.50
                                transfer issues and travel to and from.
 01/08/2020   JWD     CA        Review status report revisions and emails re same       0.20        895.00         $179.00
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                                                                                           Hours           Rate        Amount
 01/08/2020   JWD     CA        Further emails re fee budget for report                     0.10        895.00           $89.50
 01/08/2020   JWD     CA        Review and revise status report                             1.00        895.00         $895.00
 01/08/2020   JWD     CA        Call with D Perez re issues for OMM re UST asks             0.20        895.00         $179.00
 01/08/2020   JWD     CA        Travel to and attend meeting with UST re case               2.70        895.00        $2,416.50
                                update
 01/08/2020   JWD     CA        Email with B Dassa re fee budget                            0.10        895.00           $89.50
 01/08/2020   BDD     CA        Email J. Dulberg re 2020 rate                               0.10        425.00           $42.50
 01/08/2020   BDD     CA        Email M. Pagay re status report                             0.10        425.00           $42.50
 01/09/2020   MSP     CA        Email exchange with D. Perez, Jeffrey W. Dulberg,           0.10        875.00           $87.50
                                et al. re: status of materials needed for status report.
 01/09/2020   MSP     CA        Email exchange with J. Wang, S. Uhland, Jeffrey W.          0.20        875.00         $175.00
                                Dulberg, M. Zhang, et al. re: final solicitation of
                                comments on case status report.
 01/09/2020   MSP     CA        Incorporate client and special counsel comments and         2.80        875.00        $2,450.00
                                fee budget information and finalize case status
                                report.
 01/09/2020   MSP     CA        Telephone call with Jeffrey W. Dulberg re: status of        0.10        875.00           $87.50
                                case status report.
 01/09/2020   RMP     CA        Review status conference statement and telephone            0.80      1445.00         $1,156.00
                                conferences re same.
 01/09/2020   RMP     CA        Conference with M. Pagay re UST issues.                     0.30      1445.00          $433.50
 01/09/2020   JWD     CA        Review and revise status report                             0.30        895.00         $268.50
 01/09/2020   BDD     CA        Email M. Pagay re status report                             0.10        425.00           $42.50
 01/09/2020   BDD     CA        Review docket and update critical dates memo re             0.70        425.00         $297.50
                                same (.60); email M. DesJardien re same (.10)
 01/09/2020   BDD     CA        Email J. Dulberg re status report                           0.10        425.00           $42.50
 01/09/2020   BDD     CA        Email D. Perez re status report and OMM fee budget          0.10        425.00           $42.50
 01/09/2020   BDD     CA        Email M. Brown and S. Lee re status report to be            0.10        425.00           $42.50
                                filed today
 01/09/2020   BDD     CA        Review court order re service instructions and email        0.20        425.00           $85.00
                                N. Brown re same
 01/09/2020   BDD     CA        Email M. Pagay re filing/serving of status report           0.10        425.00           $42.50
 01/09/2020   BDD     CA        Email N. Brown re exhibits to status report                 0.10        425.00           $42.50
 01/09/2020   BDD     CA        Email J. Dulberg re tasks update                            0.10        425.00           $42.50
 01/09/2020   BDD     CA        Email J. Dulberg re motion to extend removal                0.10        425.00           $42.50
                                deadline
 01/10/2020   MSP     CA        Review U.S. Trustee requested tasks chart; email            0.20        875.00         $175.00
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                                                                                      Hours           Rate       Amount
                                exchange with Beth Dassa, Jeffrey W. Dulberg re:
                                same.
 01/10/2020   MSP     CA        Attention to service issues re: case status report;    0.30        875.00        $262.50
                                email exchange with Beth Dassa, et al. re: same
                                (.10).
 01/10/2020   MSP     CA        Email exchange with Jeffrey W. Dulberg, K.             0.10        875.00           $87.50
                                Morrison, et al. re: informal response to U.S.
                                Trustee motion to appoint a trustee.
 01/10/2020   JWD     CA        Review and revise task list re UST issues              0.20        895.00        $179.00
 01/10/2020   JWD     CA        Call with B Dassa re case admin                        0.10        895.00           $89.50
 01/10/2020   BDD     CA        Email M. Pagay re bank statements sent to US           0.10        425.00           $42.50
                                Trustee
 01/10/2020   BDD     CA        Update tasks chart and email J. Dulberg and M.         0.40        425.00        $170.00
                                Pagay re same
 01/10/2020   BDD     CA        Further revisions to removal motion per J. Dulberg     0.80        425.00        $340.00
                                and J. O'Neill comments and email J. Dulberg, J.
                                O'Neill and M. Pagay re same
 01/10/2020   BDD     CA        Email J. Dulberg re case tasks chart update            0.10        425.00           $42.50
 01/11/2020   BDD     CA        Email J. O'Neill re blank fee budget form              0.10        425.00           $42.50
 01/11/2020   BDD     CA        Email Epiq re service of removal motion/notice         0.10        425.00           $42.50
 01/13/2020   MSP     CA        Email exchange with K. Morrison, et al. re: pending    0.20        875.00        $175.00
                                administrative issues, Monthly Operating Report
                                drafts, etc.
 01/13/2020   JWD     CA        Emails with team regarding budget issues for Epiq      0.10        895.00           $89.50
 01/13/2020   BDD     CA        Email J. Dulberg and M. Pagay re Motion to             0.10        425.00           $42.50
                                Remove State Court Actions
 01/13/2020   BDD     CA        Work on misc. service issues (in connection with       0.60        425.00        $255.00
                                venue transfer from DE to CDCA)
 01/13/2020   BDD     CA        Email Epiq team re service of various pleadings        0.10        425.00           $42.50
 01/14/2020   MSP     CA        Telephone call with Richard M. Pachulski, S.           0.70        875.00        $612.50
                                Uhland, Jeff W. Dulberg, et al. re: case status and
                                action items.
 01/14/2020   BDD     CA        Email J. O'Neill re critical dates memo                0.10        425.00           $42.50
 01/15/2020   JWD     CA        Review new draft of YT dec regarding restructuring     0.20        895.00        $179.00
                                team
 01/16/2020   JWD     CA        Emails with Epiq re CDCA issues                        0.20        895.00        $179.00
 01/16/2020   BDD     CA        Email T. Flanigan re district court filings            0.10        425.00           $42.50
 01/16/2020   BDD     CA        Review docket and update critical dates memo and       0.60        425.00        $255.00
                                email PSZJ team re same
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                                                                                          Hours           Rate        Amount
 01/17/2020   BDD     CA        Attend to misc. calendaring matters                        0.20        425.00           $85.00
 01/17/2020   BDD     CA        Address service issues with Epiq and N. Brown              0.30        425.00         $127.50
 01/19/2020   BDD     CA        Email J. Dulberg re notice of rate increase                0.10        425.00           $42.50
 01/21/2020   MSP     CA        Address client team attendance at and logistics re:        1.00        875.00         $875.00
                                case status conference; email exchange with Richard
                                M. Pachulski, Jeffrey W. Dulberg re: same (.20).
 01/21/2020   JWD     CA        Review court calendar for status conference                0.10        895.00           $89.50
 01/21/2020   BDD     CA        Attend to calendaring matters                              0.10        425.00           $42.50
 01/22/2020   MSP     CA        Address schedule amendments; email exchange with           0.50        875.00         $437.50
                                L. Sun, et al. re: same (.10).
 01/22/2020   RMP     CA        Prepare for status conference.                             1.70      1445.00         $2,456.50
 01/22/2020   BDD     CA        Email P. Jeffries re potential filings this week           0.10        425.00           $42.50
 01/23/2020   MSP     CA        Appear at case status conference.                          3.80        875.00        $3,325.00
 01/23/2020   JWD     CA        Review and revise status conference order                  0.30        895.00         $268.50
 01/23/2020   JWD     CA        Attend ch 11 status conference                             4.50        895.00        $4,027.50
 01/23/2020   JWD     CA        Further review and revise status conference order          0.10        895.00           $89.50
 01/23/2020   BDD     CA        Email J. Dulberg re NEF service of documents               0.10        425.00           $42.50
 01/23/2020   BDD     CA        Email M. Pagay re filing/service issues                    0.10        425.00           $42.50
 01/26/2020   MSP     CA        Email exchange with J. Wang, Beth Dassa re:                0.10        875.00           $87.50
                                amending schedules to include Liu claim.
 01/28/2020   BDD     CA        Email M. Pagay re filing proofs of service                 0.10        425.00           $42.50
 01/28/2020   BDD     CA        Confer with/email S. Persichelli re filing of proofs of    0.20        425.00           $85.00
                                service4
 01/28/2020   BDD     CA        Email M. Pagay re service issues                           0.10        425.00           $42.50
 01/29/2020   JWD     CA        Emails with B Dassa and OMM regarding pro hac              0.30        895.00         $268.50
                                and notices of appearance and call with B Dassa
 01/29/2020   BDD     CA        Research pro hac vice requirements for CDCA and            0.20        425.00           $85.00
                                email J. Dulberg re same
 01/29/2020   BDD     CA        Email T. Li re D. Perez pro hac vice application           0.10        425.00           $42.50
 01/30/2020   BDD     CA        Attend to misc. calendaring matters                        0.10        425.00           $42.50
 01/30/2020   BDD     CA        Confer with M. Pagay and update task chart re same         0.30        425.00         $127.50
 01/30/2020   BDD     CA        Email J. Dulberg re tasks chart                            0.10        425.00           $42.50
 01/30/2020   BDD     CA        Email N. Brown re D. Perez pro hac vice application        0.10        425.00           $42.50
 01/31/2020   JWD     CA        Respond to further inquiries from press                    0.20        895.00         $179.00
 01/31/2020   JWD     CA        Work with client re response to WSJ inquiry and            0.90        895.00         $805.50
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                                                                                        Hours           Rate         Amount
                                article including multiple emails and calls re same
 01/31/2020   BDD     CA        Email N. Brown re order on D. Perez pro hac vice         0.10        425.00           $42.50
                                application
 01/31/2020   BDD     CA        Email TJ Li re entered order on D. Perez pro hac         0.10        425.00           $42.50
                                vice application

                                                                                        56.00                      $46,525.00

  Claims Admin/Objections[B310]
 01/09/2020   JEO     CO        Review email from Epiq re English publication of         0.20        925.00          $185.00
                                bar date summary and respond.
 01/09/2020   TCF     CO        Correspondence with J. Dulberg regarding                 0.10        725.00           $72.50
                                preference complaints.
 01/10/2020   MSP     CO        Email exchange with S. Uhland, T. Li, Jeffrey W.         0.10        875.00           $87.50
                                Dulberg et al. re: creditor proof of claim confusion.
 01/10/2020   JWD     CO        Review and respond to emails re change to claim          0.20        895.00          $179.00
                                form for new venue
 01/10/2020   TCF     CO        Review and analysis of issues regarding preference       0.30        725.00          $217.50
                                complaints.
 01/13/2020   JWD     CO        Attention to issues regarding avoidance actions and      0.60        895.00          $537.00
                                prepetition liens
 01/13/2020   TCF     CO        Review and analysis of materials and documents           0.60        725.00          $435.00
                                regarding preference complaints.
 01/14/2020   TCF     CO        Review and analysis of documents and pleadings           2.20        725.00        $1,595.00
                                regarding preference complaints.
 01/15/2020   JWD     CO        Review email from V Roldan and email with J O?           0.10        895.00           $89.50
                                Neill regarding issue with claim filing
 01/15/2020   JEO     CO        Email to Epiq re issues with claim filing process        0.40        925.00          $370.00
 01/15/2020   JEO     CO        Email with Vince Roldan re claim filing issues with      0.30        925.00          $277.50
                                Epiq website
 01/15/2020   TCF     CO        Review and analysis and research regarding               0.50        725.00          $362.50
                                preference complaints.
 01/16/2020   JWD     CO        Call with T Flanagan regarding lien avoidance            0.10        895.00           $89.50
                                complaints
 01/16/2020   JWD     CO        Call with H Camhi regarding proof of claim               0.10        895.00           $89.50
 01/16/2020   JWD     CO        Review H Camhi email and respond to same                 0.10        895.00           $89.50
 01/16/2020   TCF     CO        Communications with J. Dulberg regarding                 0.20        725.00          $145.00
                                preference complaints.
 01/16/2020   TCF     CO        Review and analysis of documents and research            3.60        725.00        $2,610.00
                                regarding preference complaints.
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                                                                                     Hours           Rate        Amount
 01/17/2020   RMP     CO        Review SQ proof of claim and conference with J.       0.40      1445.00          $578.00
                                Dulberg re same.
 01/17/2020   JWD     CO        Emails with B Dassa re claims docket review and       0.40        895.00         $358.00
                                emails with PSZJ team re SQ claim and review same
 01/17/2020   BDD     CO        Email PSZJ team re SQ proof of claim                  0.10        425.00           $42.50
 01/17/2020   BDD     CO        Email J. Dulberg re Jinan Rui Si Le Enterprise Mgt    0.10        425.00           $42.50
                                Consulting POC
 01/18/2020   TCF     CO        Review and analysis of issues regarding preference    0.80        725.00         $580.00
                                issues; communications with J. Dulberg regarding
                                same.
 01/18/2020   TCF     CO        Research regarding dispositive motions preference     1.80        725.00        $1,305.00
                                actions.
 01/18/2020   TCF     CO        Review and analysis of issues regarding preference    2.80        725.00        $2,030.00
                                complaints; drafting regarding same.
 01/18/2020   TCF     CO        Drafting of motion for summary judgment regarding     3.40        725.00        $2,465.00
                                preference compalint (SQ).
 01/18/2020   TCF     CO        Review and analysis of issues regarding preference    0.40        725.00         $290.00
                                complaints.
 01/21/2020   JWD     CO        Work on avoidance action complaints and review        1.20        895.00        $1,074.00
                                same and motion for summary judgment
 01/21/2020   TCF     CO        Revisions to preference complaints and motion for     0.80        725.00         $580.00
                                summary judgment (SQ and SLC); communications
                                with respect thereto.
 01/21/2020   TCF     CO        Drafting of motion for summary judgment regarding     1.40        725.00        $1,015.00
                                preference complaint (SQ); revisions to complaint
                                and motion.
 01/22/2020   BDD     CO        Email M. Pagay and J. O'Neill re summary of claims    0.10        425.00           $42.50
                                filed
 01/22/2020   BDD     CO        Email Epiq re summary of filed claims                 0.10        425.00           $42.50
 01/22/2020   BDD     CO        Email M. Pagay and J. O'Neill re dollar               0.10        425.00           $42.50
                                amount/number filed claims
 01/22/2020   BDD     CO        Review Epiq claims chart vs. court docketed claims    0.20        425.00           $85.00
                                and email C. Murray re same
 01/22/2020   BDD     CO        Email M. Pagay re SQ and Jinan Rui proofs of claim    0.10        425.00           $42.50
 01/23/2020   JWD     CO        Review proofs of claim and issues for avoidance       0.40        895.00         $358.00
                                actions
 01/23/2020   JWD     CO        Review and revise avoidance action complaint and      0.80        895.00         $716.00
                                draft emails regarding same
 01/23/2020   BDD     CO        Email J. Dulberg re SLC proof of claim                0.10        425.00           $42.50
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                                                                                       Hours           Rate        Amount
 01/23/2020   BDD     CO        Email Epiq team re SLC proof of claim                   0.10        425.00           $42.50
 01/23/2020   BDD     CO        Email J. Dulberg re filed proofs of claim to date       0.10        425.00           $42.50
 01/23/2020   BDD     CO        Email S. Persichilli re SLC proof of claim              0.10        425.00           $42.50
 01/24/2020   MSP     CO        Email exchange with Jeffrey W. Dulberg, Tavi C.         0.10        875.00           $87.50
                                Flanagan re: SLC proof of claim.
 01/24/2020   RMP     CO        Review SLC POC and telephone conference with J.         0.20      1445.00          $289.00
                                Dulberg re same.
 01/24/2020   JWD     CO        Emails with T Flanagan regarding avoidance action       0.20        895.00         $179.00
                                complaints
 01/24/2020   JWD     CO        Call with R Moon regarding SQ complaint and notes       0.80        895.00         $716.00
                                re same and revise complaints
 01/24/2020   JWD     CO        Review and revise avoidance complaint                   0.60        895.00         $537.00
 01/24/2020   BDD     CO        Confer with J. Dulberg and Epiq re SLC proof of         0.50        425.00         $212.50
                                claim, and monitor re same
 01/24/2020   BDD     CO        Email T. Flanagan re SLC proof of claim                 0.10        425.00           $42.50
 01/24/2020   BDD     CO        Email PSZJ team re SLC filed proof of claim             0.10        425.00           $42.50
 01/24/2020   TCF     CO        Revisions to preference complaints (SQ and SLC);        1.10        725.00         $797.50
                                various communications with respect thereto.
 01/25/2020   JWD     CO        Work on SLC complaint                                   0.60        895.00         $537.00
 01/26/2020   JWD     CO        Work on avoidance action msj's                          0.70        895.00         $626.50
 01/27/2020   JWD     CO        Respond to client comments and work on                  2.50        895.00        $2,237.50
                                completion of complaints and correspondence re
                                SLC and SQ preferences
 01/27/2020   BDD     CO        Email Epiq re filed POCs                                0.10        425.00           $42.50
 01/27/2020   BDD     CO        Review proofs of claim filed and email M. Pagay re      0.30        425.00         $127.50
                                same
 01/27/2020   BDD     CO        Email Epiq re claims chart                              0.10        425.00           $42.50
 01/27/2020   BDD     CO        Email J. Dulberg re claims analysis                     0.10        425.00           $42.50
 01/28/2020   BDD     CO        Email M. Pagay re Vizio proof of claim                  0.10        425.00           $42.50
 01/29/2020   JEO     CO        Email to Beth Dassa re affidavit of publication for     0.20        925.00         $185.00
                                bar date notice
 01/29/2020   BDD     CO        Analysis of proofs of claim filed by Shan and email     1.00        425.00         $425.00
                                J. Dulberg re same
 01/29/2020   BDD     CO        Prepare Notice of Publication of Bar Date and email     0.30        425.00         $127.50
                                J. O'neill re same
 01/30/2020   MSP     CO        Email exchange with James O?Neill, Beth Dassa et        0.10        875.00           $87.50
                                al. re: affidavit of publication of bar date notice.
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                                                                                      Hours           Rate         Amount
 01/30/2020   JWD     CO        Call with J Moe re re SQ stip                          0.10        895.00           $89.50
 01/30/2020   JWD     CO        Emails with J Moe and client re SQ                     0.40        895.00          $358.00
 01/30/2020   JEO     CO        Email to Beth Dassa to follow up on filing issues      0.20        925.00          $185.00
                                with Affidavit of Publication
 01/30/2020   BDD     CO        Revisions to affidavit re publication and emails J.    0.20        425.00           $85.00
                                O'Neill and M. Pagay re same
 01/30/2020   BDD     CO        Email N. Brown re affidavit of publication of bar      0.10        425.00           $42.50
                                notice
 01/31/2020   MSP     CO        Email exchange with M. Zhang, Jeffrey W. Dulberg       0.20        875.00          $175.00
                                et al. re: claim for legal services bill.
 01/31/2020   RMP     CO        Prepare for and participate on conference call with    0.60      1445.00           $867.00
                                creditor.
 01/31/2020   JWD     CO        Work on settlement with SQ re lien avoidance incl      0.70        895.00          $626.50
                                client emails and research re same
 01/31/2020   JWD     CO        Further work on issues for SQ stip                     0.30        895.00          $268.50

                                                                                      38.10                      $29,414.50

  Compensation Prof. [B160]
 01/06/2020   JWD     CP        Work on budgeting and bill review                      0.40        895.00          $358.00
 01/07/2020   JWD     CP        Review and revise billing and work on budgeting        0.30        895.00          $268.50
 01/10/2020   JWD     CP        Emails with OMM re notice of rate change               0.10        895.00           $89.50
 01/14/2020   JWD     CP        Office conference regarding bill status                0.10        895.00           $89.50
 01/14/2020   JWD     CP        Review and revise bill and review budget               0.40        895.00          $358.00
 01/15/2020   BDD     CP        Review and address PSZJ post-petition fees and         2.60        425.00        $1,105.00
                                confer with J. Dulberg and R. Rothman re same
 01/27/2020   BDD     CP        Email R. Moon re filed proofs of claim                 0.10        425.00           $42.50
 01/28/2020   BDD     CP        Address issues with A & B re non-testifying experts    0.50        425.00          $212.50
                                and nature of work/amounts sought
 01/30/2020   BDD     CP        Confer with M. English and email re Arch & Beam        0.10        425.00           $42.50
                                fee application

                                                                                       4.60                       $2,566.00

  Financial Filings [B110]
 01/02/2020   BDD     FF        Address issues re supplemental documents to be         0.50        425.00          $212.50
                                produced to US Trustee and emails M. Pagay re
                                same
 01/03/2020   MSP     FF        Email exchange with Beth Dassa re: October             0.10        875.00           $87.50
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                                                                                      Hours           Rate        Amount
                                monthly operating draft for U.S. Trustee review.
 01/03/2020   BDD     FF        Emails D. Perez re documents sent to U.S. Trustee      0.20        425.00           $85.00
 01/03/2020   BDD     FF        Revisions to October MOR and email M. Pagay re         0.30        425.00         $127.50
                                same
 01/06/2020   BDD     FF        Email M. Pagay re amending schedules                   0.10        425.00           $42.50
 01/07/2020   MSP     FF        Email exchange with Beth Dassa re: October             0.10        875.00           $87.50
                                Monthly Operating Report draft for U.S. Trustee
                                review.
 01/07/2020   BDD     FF        Email M. Pagay re October MOR                          0.10        425.00           $42.50
 01/07/2020   BDD     FF        Revisions to MOR per UST comments and email M.         0.20        425.00           $85.00
                                Pagay re same
 01/09/2020   JWD     FF        Emails with M Pagay and B Dassa regarding UST          0.20        895.00         $179.00
                                issues
 01/09/2020   BDD     FF        Further revisions to Oct MOR and start draft of Nov    0.50        425.00         $212.50
                                MOR (.40); email M. Pagay re same (.10)
 01/09/2020   BDD     FF        Work with Malhar re supp filing to be submit to        0.60        425.00         $255.00
                                UST and submit to UST's office
 01/13/2020   MSP     FF        Telephone calls (2) with Beth Dassa re: Monthly        0.40        875.00         $350.00
                                Operating Reports.
 01/13/2020   MSP     FF        Review and comment on October and November             2.50        875.00        $2,187.50
                                Monthly Operating Reports; email exchange with R.
                                Jia, Beth Dassa, et al. re: same (.20).
 01/13/2020   BDD     FF        Emails to and calls with M. Pagay re Oct/Nov/Dec       2.80        425.00        $1,190.00
                                MORs (.60); revisions to Oct/Nov MORs (.50);
                                preparation of December MOR (.60); emails RK re
                                Oct/Nov/Dec MORs (.30)
 01/14/2020   MSP     FF        Email exchange with G. Baddin, et al. re: U.S.         0.10        875.00           $87.50
                                Trustee comments on draft Monthly Operating
                                Reports.
 01/14/2020   MSP     FF        Attention to U.S. Trustee comments on Monthly          0.30        875.00         $262.50
                                Operating Reports; email exchange with Beth Dassa,
                                R. Jia re: same (.10).
 01/14/2020   MSP     FF        Email exchange with R. Jia, Beth Dassa, et al. re:     2.20        875.00        $1,925.00
                                finalizing Monthly Operating Reports.
 01/14/2020   BDD     FF        Revisions to MOR and emails M. Pagay and RK re         0.30        425.00         $127.50
                                same
 01/14/2020   BDD     FF        Emails to/conference with M. Pagay re revised          0.30        425.00         $127.50
                                MORs
 01/14/2020   BDD     FF        Email RK re quarterly fee payment information          0.10        425.00           $42.50
 01/14/2020   BDD     FF        Confer with M. Kulick re filing of monthly             0.60        425.00         $255.00
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                                                                                     Hours           Rate         Amount
                                operating reports (Oct/Nov/Dec)
 01/19/2020   MSP     FF        Email exchange with R. Moon, R. Jia, et al. re:       0.10        875.00           $87.50
                                Monthly Operating Report completion.
 01/21/2020   MSP     FF        Email exchange with Beth Dassa re: schedule           0.50        875.00          $437.50
                                amendments (.20); review documents re: (same).
 01/21/2020   JWD     FF        Review and respond to emails from PT counsel          0.10        895.00           $89.50
 01/21/2020   BDD     FF        Work on amending schedules and confer with M.         2.30        425.00          $977.50
                                Pagay re same
 01/21/2020   BDD     FF        Email N. Brown re Schedules/SOFAs                     0.10        425.00           $42.50
 01/22/2020   BDD     FF        Preparation of Amended Schedules/SOFAs and            2.60        425.00        $1,105.00
                                confer with M. Pagay and N. Brown re same
 01/23/2020   PJJ     FF        Review amended schedules (.2); Telephone call with    0.40        425.00          $170.00
                                N. Brown re service protocols of same (.2).
 01/23/2020   BDD     FF        Email N. Brown re amending schedules/SOFAs            0.10        425.00           $42.50
 01/23/2020   BDD     FF        Email M. Pagay re amended schedules/SOFAs             0.10        425.00           $42.50
 01/28/2020   MSP     FF        Email exchange with Beth Dassa re: status of          0.10        875.00           $87.50
                                schedule amendments.
 01/28/2020   BDD     FF        Review and make additional changes to                 2.20        425.00          $935.00
                                Schedules/SOFAs and email M. Pagay re same

                                                                                     21.10                      $11,988.50

  Financing [B230]
 01/04/2020   MSP     FN        Email exchange with M. Parks, et al. re: revised      0.10        875.00           $87.50
                                DIP note.
 01/05/2020   JWD     FN        Review new draft of DIP note and emails regarding     0.50        895.00          $447.50
                                same
 01/07/2020   JWD     FN        Meeting with Pacific counsel re DIP terms             0.50        895.00          $447.50
 01/07/2020   JWD     FN        Review issues and draft emails re financing           0.30        895.00          $268.50
 01/07/2020   JWD     FN        Review and respond to emails re PTH negotiations      0.20        895.00          $179.00
 01/08/2020   JWD     FN        Emails to J Oneill re DIP financing research (.1);    0.40        895.00          $358.00
                                work on response to D Meadows and email re same
                                (.3)
 01/08/2020   JWD     FN        Follow up email with D Meadows re DIP financing       0.10        895.00           $89.50
 01/08/2020   JEO     FN        Continued research of DIP precedent                   0.60        925.00          $555.00
 01/08/2020   JEO     FN        Research DIP issues                                   1.00        925.00          $925.00
 01/08/2020   LAF     FN        Legal research re: DIP loan from insider.             1.30        450.00          $585.00
 01/08/2020   BDD     FN        Revisions to fee budget per J. Dulberg                0.80        425.00          $340.00
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                                                                                        Hours           Rate        Amount
                                additions/comments
 01/08/2020   BDD     FN        Email J. Dulberg re fee budget                           0.10        425.00           $42.50
 01/08/2020   BDD     FN        Email J. Dulberg re fee budget                           0.10        425.00           $42.50
 01/08/2020   BDD     FN        Further revisions to fee budget and email J. Dulberg     0.20        425.00           $85.00
                                re same
 01/08/2020   BDD     FN        Email D. Perez re OMM fee budget form                    0.10        425.00           $42.50
 01/09/2020   MSP     FN        Email exchange with J. Wang, S. Uhland, Jeffrey W.       0.10        875.00           $87.50
                                Dulberg, et al. re: Pacific Technology terms of DIP
                                loan.
 01/09/2020   JWD     FN        Emails with D Perez regarding financing                  0.10        895.00           $89.50
 01/09/2020   JWD     FN        Review follow up emails from David Meadows and           0.30        895.00         $268.50
                                respond to same
 01/09/2020   JWD     FN        Emails with D. Meadows regarding financing and           0.20        895.00         $179.00
                                review issues on same
 01/09/2020   JWD     FN        Review research conducted regarding insider DIP          0.70        895.00         $626.50
 01/09/2020   JWD     FN        Review mark up from D. Meadows                           0.20        895.00         $179.00
 01/09/2020   BDD     FN        Email M. Pagay re fee budget                             0.10        425.00           $42.50
 01/09/2020   BDD     FN        Email M. Pagay re PSZJ fee budget (revised)              0.10        425.00           $42.50
 01/11/2020   JWD     FN        Attend call with PT counsel regarding DIP financing      0.50        895.00         $447.50
 01/11/2020   JWD     FN        Emails regarding DIP financing call                      0.30        895.00         $268.50
 01/13/2020   JWD     FN        Review and respond to various emails regarding           0.40        895.00         $358.00
                                term sheet and dip financing
 01/13/2020   JWD     FN        Review and respond to further emails regarding           0.20        895.00         $179.00
                                financing
 01/14/2020   JWD     FN        Review new versions of loan agt and issues for filing    0.40        895.00         $358.00
 01/14/2020   JWD     FN        Work on various dip pleadings for CDCA                   2.00        895.00        $1,790.00
 01/15/2020   JWD     FN        Review new turn of DIP note                              0.20        895.00         $179.00
 01/15/2020   LAF     FN        Legal research re: Prepetition injunction of             3.00        450.00        $1,350.00
                                judgment.
 01/16/2020   JWD     FN        Calls with D Meadows regarding DIP issues                0.20        895.00         $179.00
 01/16/2020   LAF     FN        Legal research re: Prepetition preliminary injunction    2.50        450.00        $1,125.00
                                of judgment.
 01/16/2020   BDD     FN        Call with J. Dulberg re DIP financing motion             0.20        425.00           $85.00
 01/17/2020   JWD     FN        Review new issues re dip note and respond to emails      0.20        895.00         $179.00
                                re same
 01/17/2020   BDD     FN        Email J. Dulberg re DIP financing motion                 0.10        425.00           $42.50
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                                                                                     Hours           Rate         Amount
 01/18/2020   MSP     FN        Email exchange with S. Uhland, et al. re: DIP         0.10        875.00           $87.50
                                financing budget.
 01/19/2020   BDD     FN        Work on DIP Financing Motion and email J.             4.00        425.00        $1,700.00
                                Dulberg re same
 01/19/2020   BDD     FN        Prepare Statement Re DIP Financing (LBR 4001-2)       0.30        425.00          $127.50
                                and email J. Dulberg re same
 01/20/2020   MSP     FN        Email exchange with Jeffrey W. Dulberg, et al. re:    0.10        875.00           $87.50
                                DIP financing status.
 01/20/2020   JWD     FN        Call with PT counsel and OMM re financing             0.40        895.00          $358.00
 01/20/2020   JWD     FN        Work on DIP financing pleadings                       1.70        895.00        $1,521.50
 01/21/2020   JWD     FN        Calls with lender counsel and work on pleading        0.60        895.00          $537.00
 01/21/2020   JWD     FN        Review new version of note and emails regarding       0.40        895.00          $358.00
                                same
 01/22/2020   JWD     FN        Meeting with PT counsel re DIP loan                   0.50        895.00          $447.50
 01/22/2020   LAF     FN        Legal research re: Section 524(a)(3).                 1.00        450.00          $450.00
 01/24/2020   JWD     FN        Call with counsel to Pacific technology               0.50        895.00          $447.50
 01/28/2020   MSP     FN        Email exchange with Jeffrey W. Dulberg et al. re:     0.10        875.00           $87.50
                                revised DIP motion draft.
 01/28/2020   JWD     FN        Work on DIP motion and emails re same                 1.20        895.00        $1,074.00
 01/29/2020   JWD     FN        Attend call re DIP financing update                   0.40        895.00          $358.00
 01/29/2020   JWD     FN        Review issues for DIP motion                          0.20        895.00          $179.00
 01/29/2020   JWD     FN        Review new DIP note                                   0.30        895.00          $268.50

                                                                                     30.10                      $20,639.50

  General Creditors Comm. [B150]
 01/02/2020   JWD     GC        Work on preparation for interviews and emails         1.50        895.00        $1,342.50
                                regarding same
 01/03/2020   JWD     GC        Review and respond to emails regarding committee      0.20        895.00          $179.00
                                interviews
 01/03/2020   JWD     GC        Prepare for interview prep                            0.70        895.00          $626.50
 01/03/2020   JWD     GC        Work on interview prep                                4.00        895.00        $3,580.00
 01/03/2020   JWD     GC        Attend call with committee regarding interviews       0.60        895.00          $537.00
 01/05/2020   JWD     GC        Attend interviewee prep session                       5.00        895.00        $4,475.00
 01/06/2020   JWD     GC        Attend meetings and related party interviews with     6.00        895.00        $5,370.00
                                committee
 01/07/2020   JWD     GC        Attend interviews with C Deng, FF execs               4.50        895.00        $4,027.50
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                                                                                       Hours           Rate         Amount
 01/07/2020   JWD     GC        Attend meeting with Committee counsel                   4.50        895.00        $4,027.50
 01/12/2020   MSP     GC        Address case administration issues and additional       0.90        875.00          $787.50
                                information requests from Committee; email
                                exchange with S. Uhland, D. Perez, J. Wang, et al.
                                re: same (.10).
 01/13/2020   JWD     GC        Review correspondence to committee                      0.10        895.00           $89.50
 01/25/2020   JWD     GC        Attend call with committee regarding case status        1.10        895.00          $984.50
 01/28/2020   JWD     GC        Follow up calls with client team and PSZJ team re       0.20        895.00          $179.00
                                committee call
 01/28/2020   JWD     GC        Attend call with Committee counsel                      1.00        895.00          $895.00
 01/30/2020   JWD     GC        Attend call with Committee re various issues            0.40        895.00          $358.00
 01/30/2020   JWD     GC        Call with M Pagay re Committee issues                   0.20        895.00          $179.00

                                                                                       30.90                      $27,637.50

  Hearing
 01/23/2020   RMP     HE        Prepare for, travel to and from and attend status       4.40      1445.00         $6,358.00
                                conference hearing.

                                                                                        4.40                       $6,358.00

  Litigation (Non-Bankruptcy)
 01/05/2020   MSP     LN        Email exchange with Beth Dassa re: preparation of       0.10        875.00           $87.50
                                motion to extend removal deadline.
 01/06/2020   MSP     LN        Email exchange with James O?Neill, et al. re:           0.10        875.00           $87.50
                                removal deadline extension motion.
 01/09/2020   MSP     LN        Email exchange with James O?Neill re: motion to         0.10        875.00           $87.50
                                extend removal deadline.
 01/10/2020   MSP     LN        Telephone call with J. Wang re: removal extension       0.20        875.00          $175.00
                                motion, preview of deposition preparation schedule.
 01/10/2020   MSP     LN        Telephone calls (2) with Beth Dassa re: removal         0.20        875.00          $175.00
                                extension motion.
 01/10/2020   MSP     LN        Email exchange with JO, Jeffrey W. Dulberg, Beth        0.40        875.00          $350.00
                                Dassa, et al. re: motion to extend removal deadline,
                                further revisions thereto.
 01/10/2020   MSP     LN        Attention to removal deadline extension motion for      3.30        875.00        $2,887.50
                                filing and supporting declaration re: same; email
                                exchange with JO, J. Wang, Jeffrey W. Dulberg, et
                                al. re: same (.30).
 01/10/2020   JWD     LN        Emails re removal deadline and support                  0.20        895.00          $179.00
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                                                                                       Hours           Rate        Amount
 01/14/2020   BDD     LN        Review district court cases/dockets and email T.        0.50        425.00         $212.50
                                Flanigan re same
 01/16/2020   BDD     LN        Review district court dockets and email T. Flanigan     0.20        425.00           $85.00
                                pleadings re same
 01/16/2020   BDD     LN        Email N. Brown re district court filings                0.10        425.00           $42.50
 01/27/2020   MSP     LN        Email exchange with Jeffrey W. Dulberg, et al. re:      0.10        875.00           $87.50
                                response to removal extension motion.
 01/29/2020   BDD     LN        Attend to calendaring issues re mediation and email     0.20        425.00           $85.00
                                J. Dulberg re same
 01/29/2020   BDD     LN        Work on coordinating documents for mediation and        0.40        425.00         $170.00
                                email Judge Goldberg's assistant (Heidi) M. Pagay
                                and J. Dulberg re same
 01/29/2020   BDD     LN        Email M. DesJardien re 2/7 mediation                    0.10        425.00           $42.50
 01/29/2020   BDD     LN        Email H. Adams re 2/7 mediation                         0.10        425.00           $42.50
 01/30/2020   BDD     LN        Email H. Adams re 2/7 mediation                         0.10        425.00           $42.50
 01/30/2020   BDD     LN        Email Judge Goldberg re docs requested for              0.10        425.00           $42.50
                                mediation
 01/30/2020   BDD     LN        Email J. Dulberg and M. Pagay re mediation              0.10        425.00           $42.50
                                Position Statement

                                                                                        6.60                      $4,924.00

  Meeting of Creditors [B150]
 01/08/2020   JWD     MC        Review UST filing re 341a                               0.10        895.00           $89.50
 01/09/2020   MSP     MC        Email exchange with K. Morrison, Richard M.             0.40        875.00         $350.00
                                Pachulski, Jeffrey W. Dulberg, A. Behlmann, et al.
                                re: continued 341(a) meeting.
 01/09/2020   MSP     MC        Telephone call with A. Behlmann re: continue            0.20        875.00         $175.00
                                341(a) meeting.
 01/09/2020   MSP     MC        Email exchange with S. He, James O?Neill, et al. re:    0.30        875.00         $262.50
                                review of 341(a) transcript at request of U.S.
                                Trustee.
 01/09/2020   JWD     MC        Call with Malhar Pagay regarding 341 issues             0.10        895.00           $89.50
 01/10/2020   MSP     MC        Email exchange with S. He re: review of 341(a)          0.10        875.00           $87.50
                                meeting recording and transcript.
 01/10/2020   RMP     MC        Review 341 transcript.                                  1.10      1445.00         $1,589.50
 01/13/2020   JWD     MC        Emails with various creditors regarding case status     0.20        895.00         $179.00
                                and inquiries
 01/15/2020   JWD     MC        Email with team regarding creditor contact              0.10        895.00           $89.50
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                                                                                        Hours           Rate        Amount
                                regarding 341a
 01/15/2020   JWD     MC        Call with J O?Neill regarding 341a and continued         0.20        895.00         $179.00
                                meeting
 01/15/2020   JEO     MC        Email with Jeff Dulberg re 341 meeting                   0.20        925.00         $185.00
 01/15/2020   JEO     MC        Review transcript of 341 meeting and follow up call      0.40        925.00         $370.00
                                with Jeff Dulberg
 01/16/2020   MSP     MC        Email exchange with A. Behlmann, M. Kaplan et al.        0.10        875.00           $87.50
                                re: continued 341(a) meeting.
 01/18/2020   MSP     MC        Email exchange with X. Zhang, et al. re: corrections     0.10        875.00           $87.50
                                to 341(a) meeting transcript for U.S. Trustee.
 01/19/2020   MSP     MC        Email exchange with X. Zhang, et al. re: corrections     0.10        875.00           $87.50
                                to 341(a) meeting transcript for U.S. Trustee.
 01/21/2020   MSP     MC        Telephone call with S. He re: 341(a) transcript          0.20        875.00         $175.00
                                corrections.
 01/21/2020   JWD     MC        Review docket and calendar and emails regarding          0.20        895.00         $179.00
                                notice for new 341a and call with Beth Dassa
                                regarding same
 01/21/2020   BDD     MC        Address issues re continued 341(a) meeting of            0.10        425.00           $42.50
                                creditors and email UST re same
 01/22/2020   MSP     MC        Review amendments and corrections to 341(a)              1.80        875.00        $1,575.00
                                meeting transcript.
 01/22/2020   BDD     MC        Email J. Dulberg and M. Pagay re 341(a) meeting of       0.10        425.00           $42.50
                                creditors

                                                                                         6.10                      $5,922.50

  Plan & Disclosure Stmt. [B320]
 01/02/2020   MSP     PD        Email exchange with D. Perez, Jeffrey W. Dulberg,        0.70        875.00         $612.50
                                et al. re: disclosure statement proposed timeline.
 01/02/2020   JWD     PD        Review and respond to emails regarding solicitation      0.20        895.00         $179.00
                                motion
 01/02/2020   JWD     PD        Review files and review sample solicitation motions      0.30        895.00         $268.50
 01/02/2020   BDD     PD        Emails J. Dulberg re solicitation motion                 0.20        425.00           $85.00
 01/02/2020   BDD     PD        Email J. Dulberg re plan solicitation motion             0.10        425.00           $42.50
 01/03/2020   MSP     PD        Email exchange with D. Perez, et al. re: proposed        0.10        875.00           $87.50
                                plan timeline.
 01/03/2020   MSP     PD        Email exchange with D. Perez, et al. re: solicitation    0.10        875.00           $87.50
                                motion.
 01/03/2020   RMP     PD        Review solicitation motion and telephone                 0.60      1445.00          $867.00
                                conferences re same.
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                                                                                       Hours           Rate        Amount
 01/03/2020   JWD     PD        Review and respond to emails regarding plan             0.20        895.00         $179.00
                                solicitation motion
 01/05/2020   MSP     PD        Email exchange with M. Zhang, et al. re: plan           0.10        875.00           $87.50
                                timetable.
 01/05/2020   JWD     PD        Review and revise solicitation motion and exhibits      0.40        895.00         $358.00
 01/06/2020   MSP     PD        Email exchange with D. Perez, M. Zhang, Jeffrey         0.20        875.00         $175.00
                                W. Dulberg, et al. re: solicitation motion.
 01/06/2020   RMP     PD        Review revised trust term sheet prepared by             1.60      1445.00         $2,312.00
                                committee and all-hands meeting re same.
 01/06/2020   JWD     PD        Review and revise solicitation motion                   0.70        895.00         $626.50
 01/06/2020   JWD     PD        Meeting with committee counsel regarding plan           1.50        895.00        $1,342.50
                                term sheet
 01/06/2020   JWD     PD        Further emails regarding solicitation motion            0.30        895.00         $268.50
 01/06/2020   JEO     PD        Review emails regarding solicitation motion and         0.30        925.00         $277.50
                                changes to timeline
 01/06/2020   JEO     PD        Email to Epiq re service of solicitation motion         0.20        925.00         $185.00
 01/06/2020   JEO     PD        Email and call with Beth Dassa re filing and service    0.30        925.00         $277.50
                                of solicitation motion
 01/06/2020   BDD     PD        Email J. Dulberg re notice to solicitation motion       0.10        425.00           $42.50
 01/06/2020   BDD     PD        Review solicitation motion and email J. Dulberg re      0.30        425.00         $127.50
                                same
 01/06/2020   BDD     PD        Revisions to solicitation motion re compliance with     0.70        425.00         $297.50
                                CDCA rules and additional revisions
 01/06/2020   BDD     PD        Emails (numerous) J. Dulberg and M. Pagay re            0.30        425.00         $127.50
                                filing of solicitation motion
 01/06/2020   BDD     PD        Email J. O'Neill re service of solictation motion       0.10        425.00           $42.50
 01/06/2020   BDD     PD        Email R. Moon re solicitation motion                    0.10        425.00           $42.50
 01/06/2020   BDD     PD        Email M. Pagay re TJ Li inquiry re amended              0.10        425.00           $42.50
                                solicitation motion
 01/07/2020   MSP     PD        Meeting with A. Behlmann, M. Kaplan, Richard M.         4.80        875.00        $4,200.00
                                Pachulski, Jeffrey W. Dulberg, S. Uhland, M.
                                Zhang, J. Wang re: negotiations re: plan provisions,
                                case next steps, etc.
 01/07/2020   RMP     PD        Meeting with Committee and team to negotiate term       3.90      1445.00         $5,635.50
                                sheet and follow-up discussions re same.
 01/07/2020   BDD     PD        Email M. Pagay re amended solicitation motion           0.10        425.00           $42.50
 01/07/2020   BDD     PD        Email M. Pagay re S. Uhland inquiry re amended          0.10        425.00           $42.50
                                solicitation motion
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                                                                                       Hours           Rate        Amount
 01/07/2020   BDD     PD        Email M. Pagay re revised solicitation motion and       0.10        425.00           $42.50
                                redline
 01/07/2020   BDD     PD        Email D. Perez re amended solicitation motion           0.10        425.00           $42.50
 01/07/2020   BDD     PD        Email TJ Li re amended solicitation motion              0.10        425.00           $42.50
 01/08/2020   MSP     PD        Email exchange with J. Wang, M. Zhang, et al. re:       0.30        875.00         $262.50
                                plan timeline and deadlines.
 01/09/2020   MSP     PD        Email exchange with S. Uhland, J. Wang et al. re:       0.10        875.00           $87.50
                                revised Plan Term Sheet.
 01/09/2020   MSP     PD        Email exchange with D. Perez, et al. re: preparation    0.10        875.00           $87.50
                                of amended solicitation motion.
 01/09/2020   MSP     PD        Email exchange with M. Zhang, et al. re: revised        0.10        875.00           $87.50
                                term sheet.
 01/09/2020   RMP     PD        Telephone conferences and e-mail re Committee           0.60      1445.00          $867.00
                                issues and scheduling.
 01/12/2020   MSP     PD        Email exchange with J. Wang, et al. re: comments        0.10        875.00           $87.50
                                on Plan Term Sheet.
 01/13/2020   MSP     PD        Telephone call with D. Perez re: Plan term sheet        0.20        875.00         $175.00
                                and other case issues.
 01/13/2020   MSP     PD        Telephone conference with S. Uhland, R. Moon,           1.40        875.00        $1,225.00
                                Richard M. Pachulski, et al. re: revised plan term
                                sheet.
 01/13/2020   MSP     PD        Email exchange with Richard M. Pachulski, D.            0.10        875.00           $87.50
                                Perez, et al. re: revised plan term sheet.
 01/13/2020   MSP     PD        Email exchange with D. Perez, A. Behlmann, M.           0.30        875.00         $262.50
                                Zhang, et al. re: revised plan term sheet.
 01/13/2020   RMP     PD        Prepare for and participate on term sheet call and      1.60      1445.00         $2,312.00
                                follow-up calls re same.
 01/13/2020   RMP     PD        Review revised term sheet and telephone                 0.70      1445.00         $1,011.50
                                conferences re same.
 01/13/2020   JWD     PD        Review plan term sheet                                  0.20        895.00         $179.00
 01/13/2020   JWD     PD        Attend plan call and follow up regarding same           1.30        895.00        $1,163.50
 01/14/2020   MSP     PD        Email exchange with A. Behlmann, D. Perez, et al.       0.10        875.00           $87.50
                                re: revised term sheet.
 01/15/2020   MSP     PD        Email exchange with S. Uhland, Richard M.               0.10        875.00           $87.50
                                Pachulski, et al. re: Committee position on term
                                sheet.
 01/15/2020   JWD     PD        Review draft of solicitation motion                     0.20        895.00         $179.00
 01/16/2020   MSP     PD        Email exchange with Jeffrey W. Dulberg, et al. re:      0.10        875.00           $87.50
                                solicitation procedures motion.
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                                                                                       Hours           Rate        Amount
 01/16/2020   RMP     PD        Review solicitation motion and conference with J.       0.30      1445.00          $433.50
                                Dulberg re same.
 01/16/2020   BDD     PD        Work on solicitation motion, service issues, confer     2.40        425.00        $1,020.00
                                with J. Dulberg, OMM and N. Brown re same
 01/17/2020   BDD     PD        Email C. Murray re service of solicitation motion       0.10        425.00           $42.50
 01/18/2020   RMP     PD        Meetings with client and with committee                 3.90      1445.00         $5,635.50
                                professionals to negotiate trust term sheet.
 01/19/2020   MSP     PD        Email exchange with Richard M. Pachulski, Beth          0.20        875.00         $175.00
                                Dassa, et al. re: solicitation motion, hearing on
                                motion.
 01/19/2020   BDD     PD        Email J. Dulberg re hearing on plan solicitation        0.10        425.00           $42.50
                                motion
 01/19/2020   BDD     PD        Email M. Pagay re plan solicitation motion              0.10        425.00           $42.50
 01/20/2020   BDD     PD        Email J. Dulberg and M. Pagay re hearing on plan        0.10        425.00           $42.50
                                solicitation motion
 01/21/2020   MSP     PD        Telephone conference with D. Perez, et al. re:          0.90        875.00         $787.50
                                revised term sheet, etc.
 01/21/2020   MSP     PD        Address meeting preparation and logistics re:           1.80        875.00        $1,575.00
                                Committee discussion re: term sheet; email
                                exchange with Richard M. Pachulski, A. Behlmann,
                                et al. re: same (.20).
 01/21/2020   MSP     PD        Email exchange with Richard M. Pachulsi, Jeffrey        0.10        875.00           $87.50
                                W. Dulberg, et al. re: term sheet discussion.
 01/21/2020   RMP     PD        Prepare for and participate on Trust term sheet call    2.30      1445.00         $3,323.50
                                and follow-up calls with client.
 01/21/2020   JWD     PD        Review additional plan term sheet emails and issues     0.30        895.00         $268.50
 01/21/2020   JWD     PD        Review plan term sheet draft and meeting with R.        0.50        895.00         $447.50
                                Pachulski regarding same
 01/21/2020   BDD     PD        Prepare Notice of Hearing re plan solicitation          0.30        425.00         $127.50
                                motion and emails M. Pagay and N. Brown re same
 01/21/2020   BDD     PD        Call with Epiq re service of hearing notice re plan     0.10        425.00           $42.50
                                solicitation
 01/21/2020   BDD     PD        Email Epiq re service of pleading                       0.10        425.00           $42.50
 01/22/2020   MSP     PD        Prepare for office meeting with Committee counsel       1.00        875.00         $875.00
                                re: plan term sheet.
 01/22/2020   MSP     PD        Office meeting with Richard M. Pachulski, S.            8.00        875.00        $7,000.00
                                Uhland, J. Prol, A. Behlmann, J. Wang, et al. re:
                                negotiation of Plan Term Sheet.
 01/22/2020   MSP     PD        Email exchange with D. Perez, J. Wang, S. Uhland,       0.30        875.00         $262.50
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                                                                                       Hours           Rate        Amount
                                et al. re: discussion re: term sheet revisions.
 01/22/2020   RMP     PD        Prepare for and participate on term sheet               4.60      1445.00         $6,647.00
                                negotiations with Committee and follow-ups with
                                client re same.
 01/22/2020   JWD     PD        Work on research re 9th circuit and CDCA issues         0.40        895.00         $358.00
 01/22/2020   JWD     PD        Respond to creditor inquiry re disclosure statement     0.10        895.00           $89.50
 01/22/2020   JWD     PD        Further meeting with Committee re plan                  2.00        895.00        $1,790.00
 01/22/2020   JWD     PD        Attend negotiation with Committee and client team       5.00        895.00        $4,475.00
                                meeting
 01/22/2020   BDD     PD        Email J. Dulberg re response to solicitation motion     0.10        425.00           $42.50
 01/22/2020   BDD     PD        Research info re plan and disclosure statements per     0.60        425.00         $255.00
                                TJ Li request (.40); emails J. Dulberg re same (.20)
 01/23/2020   MSP     PD        Email exchange with D. Perez, A. Behlmann, T. Li,       0.20        875.00         $175.00
                                et al. re: additional client comments to term sheet,
                                finalizing new turn of document for Committee
                                review.
 01/23/2020   MSP     PD        Review U.S. Trustee objection to disclosure             0.30        875.00         $262.50
                                statement; email exchange with Jeffrey W. Dulberg,
                                et al. re: same (.10).
 01/23/2020   RMP     PD        Meetings with client and Committee re results of        1.90      1445.00         $2,745.50
                                status conference and discussions re term sheet and
                                mediation issues.
 01/23/2020   RMP     PD        Review and comment on revised term sheet.               0.60      1445.00          $867.00
 01/23/2020   JWD     PD        Review UST objection to DS and email regarding          0.10        895.00           $89.50
                                same
 01/23/2020   BDD     PD        Email J. Dulberg re hearing on solicitation motion      0.10        425.00           $42.50
 01/23/2020   BDD     PD        Email PSZJ team re objection to amended disclosure      0.10        425.00           $42.50
                                statement filed by US Trustee
 01/24/2020   RMP     PD        Review revised DS and telephone conference with         0.80      1445.00         $1,156.00
                                S. Uhland re same.
 01/25/2020   MSP     PD        Telephone conference with S. Uhland, et al. re: Plan    1.10        875.00         $962.50
                                term sheet.
 01/25/2020   MSP     PD        Email exchange with Richard M. Pachulski, S.            0.10        875.00           $87.50
                                Uhland, et al. re: revision to term sheet.
 01/25/2020   MSP     PD        Email exchange with J. Wang, Richard M.                 1.40        875.00        $1,225.00
                                Pachulski, T. Li, M. Zhang, et al. re: disclosure
                                statement comments.
 01/26/2020   MSP     PD        Prepare for potential filing of amended disclosure      1.30        875.00        $1,137.50
                                statement.
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                                                                                       Hours           Rate        Amount
 01/26/2020   MSP     PD        Telephone calls (2) with Beth Dassa re: filing of       0.20        875.00         $175.00
                                amended disclosure statement.
 01/26/2020   MSP     PD        Email exchange with T. Li, D. Perez, Richard M.         5.60        875.00        $4,900.00
                                Pachulski, Beth Dassa, Jeffrey W. Dulberg, J.
                                Wang, R. Jia, S. Uhland, et al. re: finalizing
                                amended disclosure statement for filing (.90),
                                confirming accurate debt amounts, etc.; attention to
                                preparing for filing clean and blackline versions of
                                amended disclosure statement and plan.
 01/26/2020   MSP     PD        Email exchange with Richard M. Pachulski, S.            0.10        875.00           $87.50
                                Uhland, et al. re: decision to delay filing amended
                                disclosure statement and plan.
 01/26/2020   MSP     PD        Email exchange with R. Moon, S. Uhland et al. re:       0.10        875.00           $87.50
                                claims tracking for liquidation analysis.
 01/26/2020   BDD     PD        Attend to issues re filing amended plan and             1.00        425.00         $425.00
                                disclosure statement on 1/26
 01/27/2020   MSP     PD        Review, revise and finalize amended plan and            6.10        875.00        $5,337.50
                                disclosure statement, various notices for filing.
 01/27/2020   MSP     PD        Telephone calls (3) with Beth Dassa re: filing of       0.40        875.00         $350.00
                                amended plan and disclosure statement.
 01/27/2020   MSP     PD        Email exchange with Richard M. Pachulski, S.            0.20        875.00         $175.00
                                Uhland, J. Wang re: Committee comments on
                                revised term sheet.
 01/27/2020   RMP     PD        Prepare for and participate on call with Committee      1.30      1445.00         $1,878.50
                                professionals re mediation and plan and follow-up
                                with J. Dulberg re next steps.
 01/27/2020   RMP     PD        Review objection to disclosure statement by UST         0.60      1445.00          $867.00
                                and telephone conference with S. Uhland and client
                                re same.
 01/27/2020   JWD     PD        Review and respond to emails re plan related filings    0.30        895.00         $268.50
 01/27/2020   JWD     PD        Review plan and DS redline                              0.80        895.00         $716.00
 01/27/2020   BDD     PD        Email J. Dulberg re revised disclosure statement        0.10        425.00           $42.50
 01/27/2020   BDD     PD        Prepare notices of blacklines re 1st amended plan &     0.50        425.00         $212.50
                                2nd amended DS and emails M. Pagay re same
 01/27/2020   BDD     PD        Preparation of Notice of Filing 1st amended Plan &      0.40        425.00         $170.00
                                2nd amended DS and email M. Pagay re same
 01/27/2020   BDD     PD        Emails Epiq re service of 1st amended plan & 2nd        0.20        425.00           $85.00
                                amended DS
 01/27/2020   BDD     PD        Work on Plan & Disclosure statement and confer          8.00        425.00        $3,400.00
                                with M. Pagay and N. Deleon re same
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                                                                                       Hours           Rate        Amount
 01/28/2020   MSP     PD        Telephone conferences (2) with S. Uhland, Richard       1.10        875.00         $962.50
                                M. Pachulski, et al. re: Plan Term Sheet, other case
                                issues.
 01/28/2020   MSP     PD        Telephone call with Beth Dassa re: service of           0.10        875.00           $87.50
                                amended plan and disclosure statement.
 01/28/2020   MSP     PD        Email exchange with Richard M. Pachulski, A.            0.10        875.00           $87.50
                                Behlmann, et al. re: Status of Committee reaction to
                                term sheet.
 01/28/2020   MSP     PD        Email exchange with Beth Dassa, et al. re: service      0.10        875.00           $87.50
                                of amended disclosure statement and plan.
 01/28/2020   RMP     PD        Review revised plan and disclosure statement and        1.10      1445.00         $1,589.50
                                telephone conferences with team re same.
 01/28/2020   RMP     PD        Prepare for and participate on call with Committee      1.90      1445.00         $2,745.50
                                re term sheet and follow-up with team and
                                committee re same.
 01/28/2020   RMP     PD        Deal with mediation issues and mediator selection.      0.70      1445.00         $1,011.50
 01/28/2020   JWD     PD        Respond to client inquiries re plan filing              0.10        895.00           $89.50
 01/28/2020   BDD     PD        Email N. Deleon re filed Plan & DS                      0.10        425.00           $42.50
 01/28/2020   BDD     PD        Email N. Brown re filed pleadings                       0.10        425.00           $42.50
 01/28/2020   BDD     PD        Email N. Brown re dockets 260-264                       0.10        425.00           $42.50
 01/28/2020   BDD     PD        Email Epiq re service of pleadings                      0.10        425.00           $42.50
 01/28/2020   BDD     PD        Email M. Pagay re 1/27 filed pleadings                  0.10        425.00           $42.50
 01/28/2020   BDD     PD        Email C. Murray re service of plan & DS                 0.10        425.00           $42.50
 01/29/2020   RMP     PD        Review liquidation analysis and telephone               1.30      1445.00         $1,878.50
                                conferences with client and S. Uhland and
                                conference with J. Dulberg re same.
 01/29/2020   RMP     PD        Various telephone conferences and e-mails re            1.40      1445.00         $2,023.00
                                mediation issues and telephone conferences with
                                Committee counsel re same.
 01/29/2020   JWD     PD        Review and comment to liq analysis                      0.30        895.00         $268.50
 01/29/2020   JWD     PD        Review email from creditor re motion to dismiss and     0.20        895.00         $179.00
                                mediation and conf with R Pachulski re same
 01/29/2020   BDD     PD        Email J. Dulberg re request for Plan & DS from          0.10        425.00           $42.50
                                Judge Goldberg
 01/29/2020   BDD     PD        Email Epiq re filed proof of service re Plan & DS       0.10        425.00           $42.50
 01/29/2020   BDD     PD        Email M. Kulick re package for mediation to be sent     0.10        425.00           $42.50
                                to Judge Goldberg
 01/30/2020   MSP     PD        Telephone conference with S. Uhland, et al. re: Plan    0.40        875.00         $350.00
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                                                                                        Hours            Rate        Amount
                                Term Sheet.
 01/30/2020   MSP     PD        Email exchange with A. Behlmann, et al. re:               0.10        875.00           $87.50
                                extension to object to disclosure statement.
 01/30/2020   MSP     PD        Review SLC objection to disclosure statement and          0.20        875.00         $175.00
                                supporting declaration.
 01/30/2020   MSP     PD        Email exchange with P. Buenger, Richard M.                0.20        875.00         $175.00
                                Pachulski et al. re: : Liuhuan Shan inquiry re: case
                                and plan status.
 01/30/2020   MSP     PD        Review Committee reservation of rights re:                0.10        875.00           $87.50
                                disclosure statement.
 01/30/2020   MSP     PD        Review Chongqing objection to disclosure                  0.30        875.00         $262.50
                                statement; email exchange with Richard M.
                                Pachulski, J. Wang, et al. re: same (.10).
 01/30/2020   RMP     PD        Prepare for and participate on conference call with       1.40      1445.00         $2,023.00
                                Committee professionals re term sheet and
                                follow-up calls.
 01/30/2020   RMP     PD        Review liquidation analysis issues.                       0.40      1445.00          $578.00
 01/30/2020   RMP     PD        Review SLC objection to disclosure statement and          0.20      1445.00          $289.00
                                conference with J. Dulberg re same.
 01/30/2020   RMP     PD        Review Schnabel's objection and conference call           0.80      1445.00         $1,156.00
                                with client re same.
 01/30/2020   JWD     PD        Review SLC DS opp                                         0.20        895.00         $179.00
 01/30/2020   JWD     PD        Call with T Flanagan re DS objection reply                0.10        895.00           $89.50
 01/30/2020   JWD     PD        Review Chongquing objection and UCC ROR and               0.60        895.00         $537.00
                                various emails re same
 01/30/2020   JWD     PD        Review liq analysis draft                                 0.30        895.00         $268.50
 01/30/2020   BDD     PD        Emails PSZJ team re objections filed to Motion to         0.20        425.00           $85.00
                                Approve Disclosure Statement
 01/31/2020   RMP     PD        Telephone conferences with Committee counsel and          1.40      1445.00         $2,023.00
                                client and team re upcoming mediations and review
                                mediation brief.
 01/31/2020   JWD     PD        Attend call with Luihan Shan counsel and email re         0.60        895.00         $537.00
                                same

                                                                                        113.00                  $111,622.00

  Retention of Prof. [B160]
 01/02/2020   MSP     RP        Address potential employment issues arising from          0.80        875.00         $700.00
                                transfer of venue; email exchange with Richard M.
                                Pachulski, Jeffrey W. Dulberg, et al. re: same (.10).
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                                                                                      Hours           Rate       Amount
 01/11/2020   MSP     RP        Email exchange with James O?Neill, Beth Dassa re:      0.10        875.00           $87.50
                                Moon retention and fee budgets.
 01/13/2020   MSP     RP        Email exchange with James O?Neill, R. Moon, et al.     0.10        875.00           $87.50
                                re: preparation of amended PQBDN employment
                                application.
 01/13/2020   JWD     RP        Call with M Pagay and work on supplements to           0.50        895.00        $447.50
                                applications
 01/13/2020   JWD     RP        Review email from UST regarding app status             0.10        895.00           $89.50
 01/13/2020   JEO     RP        Email with Epiq re budget needed for professional      0.30        925.00        $277.50
                                serves for 327 retention
 01/13/2020   JEO     RP        Emails with Robert Moon regarding retention issues     0.40        925.00        $370.00
                                and budget
 01/13/2020   BDD     RP        Work on Decl of J. Yang re Debtor's personal           0.40        425.00        $170.00
                                assistants and email J. Dulberg re same
 01/14/2020   MSP     RP        Email exchange with J. Dulberg, et al. re: draft       0.10        875.00           $87.50
                                declaration re: debtor staff.
 01/14/2020   MSP     RP        Telephone call with K. Morrison re: declaration re:    0.10        875.00           $87.50
                                debtor?s staff.
 01/14/2020   MSP     RP        Email exchange with James O?Neill and R. Moon          0.10        875.00           $87.50
                                re: PQBDN employment budget.
 01/14/2020   MSP     RP        Revise draft declaration re: debtor?s staff; email     0.50        875.00        $437.50
                                exchange with S. Uhland, et al. re: same (.10).
 01/14/2020   JEO     RP        Emails with Robert Moon re retention issues            0.30        925.00        $277.50
 01/14/2020   BDD     RP        Email J. Dulberg re Dec of J. Wang re YT               0.10        425.00           $42.50
                                professionals
 01/14/2020   BDD     RP        Revisions to Decl of J. Wang re YT personal            0.20        425.00           $85.00
                                assistants and email J. Dulberg and M. Pagay re
                                same
 01/14/2020   BDD     RP        Prepare supplement to PSZJ's retention application     0.80        425.00        $340.00
                                and emails J. Dulberg and N. Brown re same
 01/15/2020   JWD     RP        Work on PSZJ supplement for UST                        0.40        895.00        $358.00
 01/16/2020   MSP     RP        Telephone call with K. Morrison re: declaration re:    0.10        875.00           $87.50
                                debtor?s staff, etc.
 01/22/2020   BDD     RP        Revisions to Motion/Declaration to Retain Robert       1.80        425.00        $765.00
                                Moon as CRO (1.3); preparation of Notice of Filing
                                of Motion to Retain Robert Moon as CRO (.40);
                                email J. O'Neill re revised pleadings (.10)
 01/23/2020   MSP     RP        Email exchange with James O?Neill re: Amended          0.10        875.00           $87.50
                                Moon employment application.
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 01/23/2020   JEO     RP        Review and update PQBDN retention motion and          0.60        925.00         $555.00
                                circulate to Malhar Pagay
 01/27/2020   JEO     RP        Review amended retention app for Robert Moon          1.10        925.00        $1,017.50
                                under 327
 01/29/2020   MSP     RP        Email exchange with Jeffrey W. Dulberg, et al. re:    0.10        875.00           $87.50
                                hearings re: employment applications.
 01/30/2020   MSP     RP        Email exchange with K. Morrison re: CRO               0.10        875.00           $87.50
                                employment application.
 01/30/2020   BDD     RP        Preparation of Notice of Hearing on retention         0.60        425.00         $255.00
                                applications (.40); email N. Brown re same (.10);
                                email M. Pagay re same (.10)
 01/31/2020   JEO     RP        Further edits on motion to retain PQBDN Robert        0.60        925.00         $555.00
                                Moon (327)

                                                                                     10.40                      $7,530.00

  TOTAL SERVICES FOR THIS MATTER:                                                                           $510,010.00
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 Expenses

 01/03/2020   BM        Business Meal [E111] Clementine, Inv.170866, JWD             341.56


 01/03/2020   RE2       SCAN/COPY ( 30 @0.10 PER PG)                                    3.00


 01/05/2020   BM        Business Meal [E111] Coffee Bean, working meal, JWD           42.78


 01/05/2020   RE2       SCAN/COPY ( 54 @0.10 PER PG)                                    5.40


 01/05/2020   RE2       SCAN/COPY ( 94 @0.10 PER PG)                                    9.40


 01/06/2020   RE2       SCAN/COPY ( 15 @0.10 PER PG)                                    1.50


 01/06/2020   RE2       SCAN/COPY ( 378 @0.10 PER PG)                                 37.80


 01/06/2020   RE2       SCAN/COPY ( 954 @0.10 PER PG)                                 95.40


 01/06/2020   RE2       SCAN/COPY ( 33 @0.10 PER PG)                                    3.30


 01/06/2020   RE2       SCAN/COPY ( 1044 @0.10 PER PG)                               104.40


 01/06/2020   RE2       SCAN/COPY ( 216 @0.10 PER PG)                                 21.60


 01/06/2020   RE2       SCAN/COPY ( 63 @0.10 PER PG)                                    6.30


 01/07/2020   BM        Business Meal [E111] Clementine, working meal, RMP           275.02


 01/07/2020   BM        Business Meal [E111] Piccolo Paradiso, Inv. PP10720-001,    1,007.40
                        Luncheon, RMP/MSP/JWD


 01/08/2020   AT        Auto Travel Expense [E109] Mileage 10.1 miles (x2             11.62
                        @$0.575) MSP


 01/08/2020   BB        46353.00002 Bloomberg Charges for 01-08-20                    30.00
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 01/08/2020   BB        46353.00002 Bloomberg Charges for 01-08-20                     30.00


 01/08/2020   BB        46353.00002 Bloomberg Charges for 01-08-20                     30.00


 01/08/2020   BB        46353.00002 Bloomberg Charges for 01-08-20                     30.00


 01/08/2020   FE        46353.00002 FedEx Charges for 01-08-20                         70.18


 01/08/2020   LN        46353.00002 Lexis Charges for 01-08-20                         11.79


 01/08/2020   TE        Travel Expense [E110] LAZ Parking, JWD                         35.00


 01/08/2020   TE        Travel Expense [E110] Parking, (US Trustee's office), MSP      35.00


 01/09/2020   PO        46353.00002 :Postage Charges for 01-09-20                     166.94


 01/09/2020   RE        ( 1610 @0.20 PER PG)                                          322.00


 01/09/2020   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                     1.20


 01/09/2020   RE2       SCAN/COPY ( 140 @0.10 PER PG)                                  14.00


 01/09/2020   RE2       SCAN/COPY ( 22 @0.10 PER PG)                                     2.20


 01/09/2020   RE2       SCAN/COPY ( 14 @0.10 PER PG)                                     1.40


 01/09/2020   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                     1.20


 01/09/2020   RE2       SCAN/COPY ( 35 @0.10 PER PG)                                     3.50


 01/10/2020   LV        Legal Vision Atty/Mess. Service- Inv. 07376 LA Bankruptcy      97.50
                        Court NHB


 01/10/2020   RE2       SCAN/COPY ( 35 @0.10 PER PG)                                     3.50


 01/10/2020   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                     1.20
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 01/10/2020   RE2       SCAN/COPY ( 16 @0.10 PER PG)                                     1.60


 01/13/2020   LV        Legal Vision Atty/Mess. Service- Inv. 07377 LA Bankruptcy      97.50
                        Court NHB


 01/13/2020   RE2       SCAN/COPY ( 19 @0.10 PER PG)                                     1.90


 01/13/2020   RE2       SCAN/COPY ( 35 @0.10 PER PG)                                     3.50


 01/13/2020   RE2       SCAN/COPY ( 19 @0.10 PER PG)                                     1.90


 01/14/2020   LV        Legal Vision Atty/Mess. Service- Inv. 07384 LA Bankruptcy      65.00
                        Court NHB


 01/14/2020   PO        46353.00002 :Postage Charges for 01-14-20                        0.50


 01/14/2020   PO        46353.00002 :Postage Charges for 01-14-20                      64.72


 01/14/2020   RE        ( 630 @0.20 PER PG)                                           126.00


 01/14/2020   RE        ( 665 @0.20 PER PG)                                           133.00


 01/14/2020   RE        ( 700 @0.20 PER PG)                                           140.00


 01/14/2020   RE2       SCAN/COPY ( 32 @0.10 PER PG)                                     3.20


 01/15/2020   BB        46353.00002 Bloomberg Charges for 01-15-20                     30.00


 01/15/2020   BB        46353.00002 Bloomberg Charges for 01-15-20                     30.00


 01/15/2020   BB        46353.00002 Bloomberg Charges for 01-15-20                     30.00


 01/15/2020   BB        46353.00002 Bloomberg Charges for 01-15-20                     30.00


 01/15/2020   BM        Business Meal [E111] Clementine, Inv. 171138, Business        353.75
                        Meal, RMP
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 01/15/2020   BM        Business Meal [E111] Clementine, Inv. 171134, Business     292.25
                        Meal, RMP


 01/15/2020   RE2       SCAN/COPY ( 24 @0.10 PER PG)                                  2.40


 01/15/2020   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                  1.20


 01/15/2020   RE2       SCAN/COPY ( 13 @0.10 PER PG)                                  1.30


 01/15/2020   RE2       SCAN/COPY ( 49 @0.10 PER PG)                                  4.90


 01/15/2020   RE2       SCAN/COPY ( 32 @0.10 PER PG)                                  3.20


 01/15/2020   RE2       SCAN/COPY ( 138 @0.10 PER PG)                               13.80


 01/15/2020   RE2       SCAN/COPY ( 254 @0.10 PER PG)                               25.40


 01/15/2020   RE2       SCAN/COPY ( 90 @0.10 PER PG)                                  9.00


 01/15/2020   RE2       SCAN/COPY ( 51 @0.10 PER PG)                                  5.10


 01/15/2020   RE2       SCAN/COPY ( 43 @0.10 PER PG)                                  4.30


 01/15/2020   RE2       SCAN/COPY ( 39 @0.10 PER PG)                                  3.90


 01/15/2020   RE2       SCAN/COPY ( 35 @0.10 PER PG)                                  3.50


 01/15/2020   RE2       SCAN/COPY ( 46 @0.10 PER PG)                                  4.60


 01/15/2020   RE2       SCAN/COPY ( 18 @0.10 PER PG)                                  1.80


 01/16/2020   AT        Auto Travel Expense [E109] Mileage 20.8 miles (x2           23.92
                        @$0.575) MSP


 01/16/2020   BM        Business Meal [E111] Alonti Catering, workin meal, MSP     191.37
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 01/16/2020   RE        ( 1 @0.20 PER PG)                                                0.20


 01/16/2020   RE2       SCAN/COPY ( 63 @0.10 PER PG)                                     6.30


 01/16/2020   RE2       SCAN/COPY ( 93 @0.10 PER PG)                                     9.30


 01/16/2020   RE2       SCAN/COPY ( 39 @0.10 PER PG)                                     3.90


 01/16/2020   RE2       SCAN/COPY ( 59 @0.10 PER PG)                                     5.90


 01/16/2020   RE2       SCAN/COPY ( 61 @0.10 PER PG)                                     6.10


 01/16/2020   RE2       SCAN/COPY ( 63 @0.10 PER PG)                                     6.30


 01/16/2020   TE        Travel Expense [E110] Parking ( Mediator), MSP                 22.75


 01/17/2020   BM        Business Meal [E111] The Nosh, working meal, MSP              140.05


 01/17/2020   LN        46353.00002 Lexis Charges for 01-17-20                         83.02


 01/17/2020   LV        Legal Vision Atty/Mess. Service- Inv. 50571 LA Bankruptcy      97.50
                        Court NHB


 01/17/2020   LV        Legal Vision Atty/Mess. Service- Inv. 50572 The Nosh           25.87
                        Delivery P.Ash


 01/17/2020   RE2       SCAN/COPY ( 16 @0.10 PER PG)                                     1.60


 01/17/2020   RE2       SCAN/COPY ( 18 @0.10 PER PG)                                     1.80


 01/17/2020   RE2       SCAN/COPY ( 504 @0.10 PER PG)                                  50.40


 01/17/2020   RE2       SCAN/COPY ( 27 @0.10 PER PG)                                     2.70


 01/17/2020   RE2       SCAN/COPY ( 18 @0.10 PER PG)                                     1.80
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 01/17/2020   RE2       SCAN/COPY ( 126 @0.10 PER PG)                                  12.60


 01/17/2020   RE2       SCAN/COPY ( 252 @0.10 PER PG)                                  25.20


 01/21/2020   BM        Business Meal [E111] Alonti Catering, Inv. 1689502,           262.82
                        Business Meal, RMP


 01/21/2020   RE2       SCAN/COPY ( 63 @0.10 PER PG)                                     6.30


 01/21/2020   RE2       SCAN/COPY ( 126 @0.10 PER PG)                                  12.60


 01/21/2020   RE2       SCAN/COPY ( 35 @0.10 PER PG)                                     3.50


 01/21/2020   RE2       SCAN/COPY ( 13 @0.10 PER PG)                                     1.30


 01/21/2020   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                     1.20


 01/22/2020   BM        Business Meal [E111] The Nosh, working meal, MSP              132.57


 01/22/2020   LN        46353.00002 Lexis Charges for 01-22-20                         11.79


 01/22/2020   LV        Legal Vision Atty/Mess. Service- Inv. 50597 LA Bankruptcy      97.50
                        Court NHB


 01/22/2020   RE2       SCAN/COPY ( 13 @0.10 PER PG)                                     1.30


 01/22/2020   RE2       SCAN/COPY ( 102 @0.10 PER PG)                                  10.20


 01/22/2020   RE2       SCAN/COPY ( 17 @0.10 PER PG)                                     1.70


 01/22/2020   RE2       SCAN/COPY ( 13 @0.10 PER PG)                                     1.30


 01/22/2020   RE2       SCAN/COPY ( 44 @0.10 PER PG)                                     4.40


 01/22/2020   RE2       SCAN/COPY ( 119 @0.10 PER PG)                                  11.90
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 01/22/2020   RE2       SCAN/COPY ( 13 @0.10 PER PG)                                    1.30


 01/22/2020   RE2       SCAN/COPY ( 24 @0.10 PER PG)                                    2.40


 01/22/2020   RE2       SCAN/COPY ( 21 @0.10 PER PG)                                    2.10


 01/22/2020   RE2       SCAN/COPY ( 35 @0.10 PER PG)                                    3.50


 01/22/2020   RE2       SCAN/COPY ( 140 @0.10 PER PG)                                 14.00


 01/22/2020   RE2       SCAN/COPY ( 122 @0.10 PER PG)                                 12.20


 01/22/2020   RE2       SCAN/COPY ( 126 @0.10 PER PG)                                 12.60


 01/22/2020   RE2       SCAN/COPY ( 43 @0.10 PER PG)                                    4.30


 01/22/2020   RE2       SCAN/COPY ( 13 @0.10 PER PG)                                    1.30


 01/22/2020   RE2       SCAN/COPY ( 114 @0.10 PER PG)                                 11.40


 01/22/2020   RE2       SCAN/COPY ( 133 @0.10 PER PG)                                 13.30


 01/22/2020   RE2       SCAN/COPY ( 140 @0.10 PER PG)                                 14.00


 01/22/2020   RE2       SCAN/COPY ( 21 @0.10 PER PG)                                    2.10


 01/22/2020   RE2       SCAN/COPY ( 21 @0.10 PER PG)                                    2.10


 01/22/2020   RE2       SCAN/COPY ( 29 @0.10 PER PG)                                    2.90


 01/23/2020   AT        Auto Travel Expense [E109] Uber Transportation Services,      35.62
                        JWD


 01/23/2020   AT        Auto Travel Expense [E109]Mileage 11.4 miles (x2              13.11
                        @$0.575) MSP
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 01/23/2020   TE        Travel Expense [E110]Parking ( Mediator), MSP                  22.75


 01/24/2020   RE2       SCAN/COPY ( 95 @0.10 PER PG)                                     9.50


 01/24/2020   RE2       SCAN/COPY ( 99 @0.10 PER PG)                                     9.90


 01/27/2020   FE        46353.00002 FedEx Charges for 01-27-20                         46.11


 01/27/2020   FE        46353.00002 FedEx Charges for 01-27-20                         25.48


 01/27/2020   RE2       SCAN/COPY ( 99 @0.10 PER PG)                                     9.90


 01/27/2020   RE2       SCAN/COPY ( 47 @0.10 PER PG)                                     4.70


 01/27/2020   RE2       SCAN/COPY ( 98 @0.10 PER PG)                                     9.80


 01/27/2020   RE2       SCAN/COPY ( 73 @0.10 PER PG)                                     7.30


 01/27/2020   RE2       SCAN/COPY ( 81 @0.10 PER PG)                                     8.10


 01/28/2020   LV        Legal Vision Atty/Mess. Service- Inv. 50612 LA Bankruptcy      97.50
                        Court MSP


 01/28/2020   RE2       SCAN/COPY ( 264 @0.10 PER PG)                                  26.40


 01/28/2020   RE2       SCAN/COPY ( 60 @0.10 PER PG)                                     6.00


 01/28/2020   RE2       SCAN/COPY ( 75 @0.10 PER PG)                                     7.50


 01/28/2020   RE2       SCAN/COPY ( 108 @0.10 PER PG)                                  10.80


 01/28/2020   RE2       SCAN/COPY ( 29 @0.10 PER PG)                                     2.90


 01/28/2020   RE2       SCAN/COPY ( 25 @0.10 PER PG)                                     2.50


 01/28/2020   RE2       SCAN/COPY ( 29 @0.10 PER PG)                                     2.90
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 01/28/2020   RE2       SCAN/COPY ( 25 @0.10 PER PG)                                       2.50


 01/29/2020   FF        Filing Fee [E112] Filing Fee to file Pro Hac Vice               400.00
                        Application for Diana Perez' (attny at O'Melveny), N. Brown


 01/29/2020   LV        Legal Vision Atty/Mess. Service- Inv. 50617 LA Bankruptcy        97.50
                        NHB


 01/29/2020   RE2       SCAN/COPY ( 108 @0.10 PER PG)                                    10.80


 01/29/2020   RE2       SCAN/COPY ( 264 @0.10 PER PG)                                    26.40


 01/29/2020   RE2       SCAN/COPY ( 264 @0.10 PER PG)                                    26.40


 01/29/2020   RE2       SCAN/COPY ( 75 @0.10 PER PG)                                       7.50


 01/29/2020   RE2       SCAN/COPY ( 60 @0.10 PER PG)                                       6.00


 01/30/2020   LN        46353.00002 Lexis Charges for 01-30-20                           35.38


 01/30/2020   LV        Legal Vision Atty/Mess. Service- Inv. 50619 LA District          65.00
                        Court NHB


 01/30/2020   PO        46353.00002 :Postage Charges for 01-30-20                        23.98


 01/30/2020   PO        46353.00002 :Postage Charges for 01-30-20                        24.63


 01/30/2020   PO        46353.00002 :Postage Charges for 01-30-20                          2.00


 01/30/2020   RE        ( 288 @0.20 PER PG)                                              57.60


 01/30/2020   RE        ( 272 @0.20 PER PG)                                              54.40


 01/30/2020   RE2       SCAN/COPY ( 25 @0.10 PER PG)                                       2.50


 01/30/2020   RE2       SCAN/COPY ( 16 @0.10 PER PG)                                       1.60
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 01/30/2020   RE2       SCAN/COPY ( 21 @0.10 PER PG)                                       2.10


 01/31/2020   CL        46353.00002 CourtLink charges for 01-31-20                       184.80


 01/31/2020   LV        Legal Vision Atty/Mess. Service- Inv. 50622 LA Bankruptcy         97.50
                        NHB


 01/31/2020   PAC       Pacer - Court Research                                           628.80

   Total Expenses for this Matter                                                   $7,836.93
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                                                REMITTANCE ADVICE

                                    Please inlcude this Remittance with your payment

For current services rendered through:        01/31/2020

Total Fees                                                                                            $510,010.00

Total Expenses                                                                                           7,836.93

Total Due on Current Invoice                                                                          $517,846.93

  Outstanding Balance from prior invoices as of        01/31/2020          (May not include recent payments)

A/R Bill Number           Invoice Date               Fees Billed        Expenses Billed              Balance Due
 123506                  10/31/2019                $201,832.00             $578.90                   $202,410.90

 123983                  10/31/2019                 $40,851.50            $4,502.29                    $45,353.79

 123984                  11/30/2019                $452,860.00            $1,867.74                  $454,727.74

 124406                  12/31/2019                $468,739.50           $19,268.68                  $488,008.18

             Total Amount Due on Current and Prior Invoices:                                        $1,708,347.54
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                              Pachulski Stang Ziehl & Jones LLP
                                         10100 Santa Monica Blvd.
                                                13th Floor
                                          Los Angeles, CA 90067
                                                                     February 29, 2020
Jia Yueting                                                          Invoice 124655
Faraday Future                                                       Client   46353
18455 S. Figueroa Street                                             Matter   00002
Gardena, CA 90248
                                                                              JWD

RE: Post Petition

 _______________________________________________________________________________________

          STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 02/29/2020
                 FEES                                                $417,867.50
                 EXPENSES                                             $24,412.02
                 TOTAL CURRENT CHARGES                               $442,279.52

                 BALANCE FORWARD                                    $1,708,347.54
                 TOTAL BALANCE DUE                                  $2,150,627.06
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  Summary of Services by Professional
  ID        Name                              Title               Rate       Hours              Amount

 BDD        Dassa, Beth D.                    Paralegal          425.00      70.20         $29,835.00

 JEO        O'Neill, James E.                 Partner            925.00      18.40         $17,020.00

                                                                             98.40         $88,068.00
 JWD        Dulberg, Jeffrey W.               Partner            895.00
                                                                              0.50              $225.00
 LAF        Forrester, Leslie A.              Other              450.00
                                                                            184.50        $161,437.50
 MSP        Pagay, Malhar S.                  Counsel            875.00
 RMP        Pachulski, Richard M.             Partner           1445.00      74.60        $107,797.00

 TCF        Flanagan, Tavi C.                 Counsel            725.00      18.60         $13,485.00

                                                                           465.20          $417,867.50
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  Summary of Services by Task Code
  Task Code         Description                                           Hours                        Amount

 AA                 Asset Analysis/Recovery[B120]                          0.90                        $803.50

 BL                 Bankruptcy Litigation [L430]                          72.50                   $63,461.50

 CA                 Case Administration [B110]                            11.10                       $7,879.50

 CO                 Claims Admin/Objections[B310]                         10.60                       $9,042.00

 CP                 Compensation Prof. [B160]                              2.00                       $1,660.00

 EC                 Executory Contracts [B185]                            13.10                       $8,447.50

 FF                 Financial Filings [B110]                              29.40                   $16,590.00

 FN                 Financing [B230]                                      71.00                   $69,525.00

 GC                 General Creditors Comm. [B150]                         2.20                       $1,969.00

 MC                 Meeting of Creditors [B150]                           11.20                       $9,714.00

 PD                 Plan & Disclosure Stmt. [B320]                       173.50                  $173,855.00

 RP                 Retention of Prof. [B160]                             67.70                   $54,920.50

                                                                              465.20             $417,867.50
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  Summary of Expenses
  Description                                                                                   Amount
Attorney Service [E107]                                                                $7,700.00
Auto Travel Expense [E109]                                                             $3,046.71
Working Meals [E111]                                                                   $3,131.78
Conference Call [E105]                                                                   $133.84
CourtLink                                                                                 $58.66
Delivery/Courier Service                                                                  $64.50
Federal Express [E108]                                                                   $275.06

Guest Parking [E124]                                                                     $224.00
Lexis/Nexis- Legal Research [E                                                           $267.32
Legal Vision Atty Mess Service                                                           $747.50
Outside Services                                                                       $6,980.00
Pacer - Court Research                                                                   $465.70
Postage [E108]                                                                            $85.45
Reproduction Expense [E101]                                                              $345.60
Reproduction/ Scan Copy                                                                  $841.90
Travel Expense [E110]                                                                     $44.00

                                                                                            $24,412.02
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                                                                                         Hours           Rate         Amount

  Asset Analysis/Recovery[B120]
 02/05/2020   MSP     AA        Email exchange with J. Wang, et al. regarding             0.10        875.00           $87.50
                                Ocean View money flow information.
 02/06/2020   JWD     AA        Work on SQ stipulation                                    0.50        895.00          $447.50
 02/11/2020   JWD     AA        Emails with John Moe and team regarding                   0.20        895.00          $179.00
 02/17/2020   JWD     AA        Call with R. Pachulski regarding SLC                      0.10        895.00           $89.50

                                                                                          0.90                        $803.50

  Bankruptcy Litigation [L430]
 02/01/2020   JWD     BL        Review mediation briefs                                   1.20        895.00         $1,074.00
 02/02/2020   JWD     BL        Call with mediator                                        0.80        895.00          $716.00
 02/02/2020   JWD     BL        Review various issues regarding plan and                  0.50        895.00          $447.50
                                negotiations and mediation issues
 02/03/2020   MSP     BL        Telephone calls (3: .40; .60; .30) with M. Zhang,         1.30        875.00         $1,137.50
                                client, et al. regarding nondischargeability deadline,
                                extension, et al.
 02/03/2020   MSP     BL        Email exchange with P. Buenger, Richard M.                0.20        875.00          $175.00
                                Pachulski, et al. regarding Extension of
                                nondischargeability deadline regarding Liuhuan
                                Shan.
 02/03/2020   RMP     BL        Telephone conferences and e-mails re                      0.60      1445.00           $867.00
                                non-dischargeability deadline.
 02/03/2020   RMP     BL        Prepare for upcoming mediations.                          0.80      1445.00          $1,156.00
 02/03/2020   JWD     BL        Review email from creditor counsel re mediation           0.10        895.00           $89.50
 02/03/2020   JWD     BL        Review removal order                                      0.10        895.00           $89.50
 02/03/2020   JWD     BL        Call with B Dassa re mediation statement                  0.10        895.00           $89.50
 02/03/2020   BDD     BL        Preparation of Stip/Order Extending Deadline for L.       1.10        425.00          $467.50
                                Shan to file a Complaint and email M. Pagay re
                                same
 02/04/2020   MSP     BL        Finalize stipulation with Liuhuan Shan regarding          0.90        875.00          $787.50
                                nondischargeability; email exchange with P.
                                Buenger et al. regarding same (.10).
 02/04/2020   JWD     BL        Review and respond to emails regarding mediation          0.30        895.00          $268.50
 02/04/2020   JWD     BL        Review Liu complaint and emails regarding same            0.20        895.00          $179.00
 02/04/2020   JWD     BL        Attend client meeting prior to mediation                  1.30        895.00         $1,163.50
 02/04/2020   JWD     BL        Attend mediation regarding Committee                      7.50        895.00         $6,712.50
 02/04/2020   BDD     BL        Email R. Pachulski, J. Dulberg and M. Pagay re            0.10        425.00           $42.50
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                                                                                        Hours           Rate         Amount
                                Non-Dischargeability complaint filed by Hong Liu
 02/04/2020   BDD     BL        Confer with M. Pagay re YT depo transcript and           0.80        425.00          $340.00
                                review transcript re same (.60); preparation of chart
                                for YT re corrections to be made to depo transcript
                                and email M. Pagay re same (.20)
 02/05/2020   MSP     BL        Telephone call with J. Wang regarding Ocean View         0.10        875.00           $87.50
                                money flow, etc.
 02/05/2020   MSP     BL        Telephone calls (2: .30; .10) with M Kaplan              0.40        875.00          $350.00
                                regarding Ocean View money flow.
 02/05/2020   MSP     BL        Telephone call with R. Jia regarding Ocean View          0.20        875.00          $175.00
                                money flow.
 02/05/2020   MSP     BL        Telephone call with Jeffrey W. Dulberg regarding         0.10        875.00           $87.50
                                Nondishargeability action.
 02/05/2020   MSP     BL        Email exchange with J. Wang, Jeffrey W. Dulberg,         0.10        875.00           $87.50
                                et al. regarding nondischargeability actions.
 02/05/2020   MSP     BL        Email exchange with J. Wang, M. Zhang, et al.            0.30        875.00          $262.50
                                regarding Henry Liu nondischargeability action.
 02/05/2020   MSP     BL        Email exchange with R. Jia, J. Wang et al. regarding     0.10        875.00           $87.50
                                Ocean View money flow, disclosure statement
                                hearing, etc.
 02/05/2020   MSP     BL        Email exchange with Jeffrey W. Dulberg, J. Wang,         0.10        875.00           $87.50
                                et al. regarding news story regarding
                                nondischargeabiliy complaint.
 02/06/2020   JWD     BL        Attend global mediation and meeting with client          9.50        895.00         $8,502.50
                                team
 02/07/2020   RMP     BL        Telephone conference with Yueting creditor re            0.40      1445.00           $578.00
                                litigation and plan.
 02/07/2020   JWD     BL        Call with Lihuan Shan counsel and colleagues             0.60        895.00          $537.00
 02/08/2020   MSP     BL        Draft summary of Liu litigation and claim per client     1.90        875.00         $1,662.50
                                request; email exchange with M. Zhang et al.
                                regarding same (.10).
 02/09/2020   MSP     BL        Email exchange with Richard M. Pachulski, Jeffrey        1.30        875.00         $1,137.50
                                W. Dulberg regarding handling of Liu litigation and
                                brief research regarding same,
 02/10/2020   MSP     BL        Address review and handling of corrections to client     1.40        875.00         $1,225.00
                                deposition transcripts; office meeting with Beth
                                Dassa (.20) and email exchange with S. He, et al. re:
                                same (.10).
 02/10/2020   RMP     BL        Review Hong Liu issues.                                  0.30      1445.00           $433.50
 02/10/2020   JWD     BL        Review comments to NDA from Chongqing counsel            0.20        895.00          $179.00
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                                                                                       Hours           Rate         Amount
 02/11/2020   RMP     BL        Review Hong Liu issues and telephone conferences        0.60      1445.00           $867.00
                                re same and review e-mails re same.
 02/12/2020   MSP     BL        Email exchange with S. He, et al. regarding             0.10        875.00           $87.50
                                corrections to client deposition transcripts.
 02/12/2020   BDD     BL        Revisions to Stip resolving SQ claim and                1.00        425.00          $425.00
                                preparation of order re same (.90); email J. Dulberg
                                re same (.10)
 02/12/2020   BDD     BL        Emails to/conf with N. DeLeon re SQ stip and order      0.20        425.00           $85.00
 02/12/2020   BDD     BL        Email Epiq re service of SQ Stipulation                 0.10        425.00           $42.50
 02/13/2020   MSP     BL        Revise and finalize stipulation extending Luihuan       0.50        875.00          $437.50
                                Shan time to file nondischargeability complaint;
                                email exchange with P. Buenger regarding same
                                (.10).
 02/14/2020   MSP     BL        Email exchange with Richard M. Pachulski, Jeffrey       0.10        875.00           $87.50
                                W. Dulberg, et al. regarding handling of Liu
                                litigation.
 02/14/2020   BDD     BL        Email M. Pagay re 2nd stip/order re extending Rule      0.10        425.00           $42.50
                                4007(c) deadline
 02/14/2020   BDD     BL        Email M. Pagay and S. Lee re service of Shan            0.10        425.00           $42.50
                                stipulation
 02/15/2020   MSP     BL        Email exchange with L. Wang Ekvall, M. Zhang, et        0.10        875.00           $87.50
                                al. regarding Handling of Liu litigation.
 02/18/2020   MSP     BL        Finalize corrections to client deposition; email        2.70        875.00         $2,362.50
                                exchange with Beth Dassa, S. He, et al. regarding
                                same (.10).
 02/18/2020   RMP     BL        Review SLC orders and review and respond to             0.60      1445.00           $867.00
                                e-mails re same.
 02/18/2020   BDD     BL        Email J. Dulberg & M. Pagay re order entered on         0.10        425.00           $42.50
                                Stipulation re SQ claim
 02/18/2020   BDD     BL        Work on YT depo corrections and confer with/email       0.40        425.00          $170.00
                                M. Pagay re same
 02/19/2020   MSP     BL        Telephone call with M. Zhang regarding handling of      0.10        875.00           $87.50
                                Liu litigation.
 02/19/2020   MSP     BL        Telephone call with W. Pao regarding handling of        0.10        875.00           $87.50
                                Liu litigation.
 02/19/2020   MSP     BL        Email exchange with Richard M. Pachulski, et al.        0.10        875.00           $87.50
                                regarding handling of Liu litigation.
 02/19/2020   RMP     BL        Review BVI issues.                                      0.40      1445.00           $578.00
 02/19/2020   BDD     BL        Email Epiq re service of documents                      0.10        425.00           $42.50
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                                                                                        Hours           Rate         Amount
 02/19/2020   BDD     BL        Email PSZJ team re entered Order Approving 2nd           0.10        425.00           $42.50
                                Stip to Extend Rule 4007(c) deadline as to Liuhuan
                                Shan
 02/20/2020   RMP     BL        Telephone conference with Saval re status.               0.40      1445.00           $578.00
 02/20/2020   RMP     BL        Review SLC stipulation and conference with J.            0.40      1445.00           $578.00
                                Dulberg re same.
 02/21/2020   MSP     BL        Review second motion by SLC to dismiss case and          0.90        875.00          $787.50
                                related pleadings; email exchange with Richard M.
                                Pachulski, Jeffrey W. Dulberg, Beth Dassa, et al.
                                regarding same (.10)
 02/21/2020   MSP     BL        Email exchange with Richard M. Pachulski, D.             0.10        875.00           $87.50
                                Saval, et al. regarding stipulation to move dismissal
                                hearing to 3/19.
 02/21/2020   RMP     BL        Review SLC filed motion to dismiss and conference        1.10      1445.00          $1,589.50
                                with J. Dulberg and telephone conferences with M.
                                Pagay re same.
 02/21/2020   JWD     BL        Review SLC motion to dismiss and emails regarding        0.90        895.00          $805.50
                                same
 02/21/2020   JWD     BL        Review and revise stipulation to continue hearing        0.60        895.00          $537.00
                                date on motion to dismiss and emails with client and
                                SLC
 02/21/2020   JWD     BL        Emails to R Soref and SLC regarding continuance of       0.10        895.00           $89.50
                                dismissal motion
 02/21/2020   JWD     BL        Emails regarding potential continuance of dismissal      0.20        895.00          $179.00
                                motion
 02/21/2020   JWD     BL        Call with committee counsel regarding motion to          0.10        895.00           $89.50
                                dismiss
 02/21/2020   BDD     BL        Email PSZJ team re Motion to Dismiss, filed by           0.10        425.00           $42.50
                                SLC
 02/21/2020   BDD     BL        Emails PSZJ team re documents filed in support of        0.20        425.00           $85.00
                                Motion to Dismiss, filed by SLC
 02/21/2020   BDD     BL        Prepare Stipulation/Order to move hearing on             0.80        425.00          $340.00
                                dismissal motion and emails to/call with J. Dulberg
                                re same
 02/21/2020   BDD     BL        Email J. Dulberg re Motion to Dismiss                    0.10        425.00           $42.50
 02/21/2020   BDD     BL        Email N. Brown re Stipulation to Continue Motion         0.10        425.00           $42.50
                                to Dismiss
 02/21/2020   BDD     BL        Revisions to Motion to Dismiss per J. Dulberg            0.10        425.00           $42.50
                                comments
 02/21/2020   BDD     BL        Email J. Dulberg re stips to be filed on 2/24            0.10        425.00           $42.50
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                                                                                        Hours           Rate         Amount
 02/22/2020   JWD     BL        Work on issues for response regarding dismissal          0.60        895.00          $537.00
                                motion
 02/24/2020   JWD     BL        Conference with R Pachulski re motion to dismiss         0.20        895.00          $179.00
 02/24/2020   JWD     BL        Emails with SLC counsel regarding stipulations           0.10        895.00           $89.50
 02/24/2020   JWD     BL        Review and respond to client inquiry re Ocean View       0.30        895.00          $268.50
                                and call with M Pagay regarding same
 02/24/2020   BDD     BL        Email J. Dulberg re Stip to Continue hearing on          0.10        425.00           $42.50
                                Motion to Dismiss
 02/24/2020   BDD     BL        Email J. Dulberg re hearing on dismissal motion          0.10        425.00           $42.50
 02/24/2020   BDD     BL        Email J. Dulberg re stips to be filed today              0.10        425.00           $42.50
 02/24/2020   BDD     BL        Email J. Dulberg re orders on Stips to be filed today    0.10        425.00           $42.50
 02/24/2020   BDD     BL        Review SLC court order and email M. Pagay re             0.10        425.00           $42.50
                                same
 02/25/2020   JWD     BL        Review entered order re motion for dismissal             0.20        895.00          $179.00
                                continuance and emails re same and objection
                                deadline
 02/25/2020   BDD     BL        Email J. Dulberg re entered order on SLC's motion        0.10        425.00           $42.50
                                to dismiss
 02/26/2020   JWD     BL        Meeting with R Pachulski re motion to dismiss            0.20        895.00          $179.00
 02/26/2020   JWD     BL        Research issue motion to dismiss                         1.20        895.00         $1,074.00
 02/27/2020   MSP     BL        Telephone call with James O?Neill regarding              0.10        875.00           $87.50
                                declaration in support of opposition to SLC motion
                                to dismiss.
 02/27/2020   MSP     BL        Telephone call with SJK regarding evidentiary            0.10        875.00           $87.50
                                objections regarding opposition to SLC motion to
                                dismiss.
 02/27/2020   MSP     BL        Telephone call with Jeffrey W. Dulberg regarding         0.20        875.00          $175.00
                                SLC motion to dismiss.
 02/27/2020   JWD     BL        Meet with R Pachulski and M Pagay re motion to           0.20        895.00          $179.00
                                dismiss
 02/27/2020   JEO     BL        Call with Malhar Pagay re declaration needed for         0.40        925.00          $370.00
                                opposition to motion to dismiss.
 02/27/2020   BDD     BL        Prepare draft of evidentiary objections re D. Chu        1.10        425.00          $467.50
                                declaration ISO motion to dismiss case and emails
                                M. Pagay re same
 02/28/2020   MSP     BL        Telephone call with James O?Neill re: declaration in     0.10        875.00           $87.50
                                support of opposition to SLC motion to dismiss.
 02/28/2020   MSP     BL        Address supporting evidence and additional legal         3.10        875.00         $2,712.50
                                research needed for opposition to SLC motion to
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                                                                                       Hours           Rate         Amount
                                dismiss; email exchange with JO re: same (.10).
 02/28/2020   JEO     BL        Research corporate documents in connection with         0.90        925.00          $832.50
                                Declaration for Opposition to Motion to Dismiss
 02/28/2020   JEO     BL        Review scheduled and statements and claims              0.70        925.00          $647.50
                                register in connection with declaration for
                                opposition to motion to dismiss
 02/28/2020   JEO     BL        Drafting declaration for Opposition to Motion to        2.60        925.00         $2,405.00
                                Dismiss
 02/29/2020   MSP     BL        Draft evidentiary objections, motion to strike and      2.80        875.00         $2,450.00
                                opposition to SLC?s second motion to dismiss;
                                email exchange with Jeffrey W. Dulberg, Beth
                                Dassa re: same.
 02/29/2020   MSP     BL        Continue draft of opposition to SLC motion to           5.80        875.00         $5,075.00
                                dismiss and incorporate new fact discussion;
                                additional legal research re: same.
 02/29/2020   JWD     BL        Emails w M Pagay re motion to dismiss and work on       0.80        895.00          $716.00
                                fact section
 02/29/2020   BDD     BL        Confer with M. Pagay and prep case chronology in        1.40        425.00          $595.00
                                connection with opp to motion to dismiss case (1.3);
                                email M. Pagay re same (.10)

                                                                                       72.50                   $63,461.50

  Case Administration [B110]
 02/03/2020   BDD     CA        Email Epiq team re service issues                       0.10        425.00           $42.50
 02/05/2020   JWD     CA        Further work on press responses                         0.60        895.00          $537.00
 02/05/2020   JWD     CA        Work on issues re BB and WSJ press inquiries re         0.30        895.00          $268.50
                                Liu complaint
 02/05/2020   BDD     CA        Update critical dates memo and email PSZJ team re       0.60        425.00          $255.00
                                same
 02/05/2020   BDD     CA        Attend to misc. calendaring matters with M. Des         0.10        425.00           $42.50
                                Jardien
 02/07/2020   MSP     CA        Email exchange with C. Murray, Beth Dassa, et al.       0.20        875.00          $175.00
                                regarding administrative filing issues.
 02/07/2020   JWD     CA        Review press stories, emails with WSJ, emails with      0.40        895.00          $358.00
                                client team re press stories
 02/07/2020   JWD     CA        Work on response to new Bloomberg Law inquiry           0.50        895.00          $447.50
 02/07/2020   BDD     CA        Email Epiq re additional service issues                 0.10        425.00           $42.50
 02/07/2020   BDD     CA        Attend to misc. calendaring matters                     0.10        425.00           $42.50
 02/08/2020   JWD     CA        Rev emails and call with Jerry Wang regarding press     0.20        895.00          $179.00
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                                                                                       Hours           Rate         Amount
 02/10/2020   JWD     CA        Attend call with other professionals regarding case     0.80        895.00          $716.00
                                status and plan
 02/10/2020   BDD     CA        Emails TJ Li and M. Pagay re OMM dataroom               0.20        425.00           $85.00
 02/12/2020   MSP     CA        Address pleading filing and timing issues resulting     0.90        875.00          $787.50
                                from CM/ECF maintenance and down-time on filing
                                deadline date; email exchange with Jeffrey W.
                                Dulberg, James O?Neill, Beth Dassa, et al. regarding
                                same (.10).
 02/13/2020   MSP     CA        Email exchange with Jeffrey W. Dulberg, Beth            0.60        875.00          $525.00
                                Dassa regarding critical dates and review same.
 02/13/2020   BDD     CA        Email Epiq re additional service issues                 0.10        425.00           $42.50
 02/13/2020   BDD     CA        Update critical dates memo and attend to misc.          0.80        425.00          $340.00
                                calendaring matters re same (.70); email M. Des
                                Jardien re same (.10)
 02/14/2020   BDD     CA        Attend to misc. calendaring matters with M.             0.10        425.00           $42.50
                                DesJardien
 02/20/2020   BDD     CA        Review docket re critical dates and update critical     0.80        425.00          $340.00
                                dates memo re same (.70); email J. Dulberg and M.
                                Pagay re same (.10)
 02/20/2020   BDD     CA        Work on 2015.3 report and emails M. Pagay re same       0.80        425.00          $340.00
 02/21/2020   BDD     CA        Email M. Pagay re 2015.3 report                         0.10        425.00           $42.50
 02/24/2020   JWD     CA        Respond to press inquiry from Bloomberg                 0.20        895.00          $179.00
 02/24/2020   BDD     CA        Attend to misc. calendaring matters                     0.10        425.00           $42.50
 02/25/2020   BDD     CA        Attend to misc. calendaring matters                     0.10        425.00           $42.50
 02/26/2020   BDD     CA        Email M. Pagay re dec of YT re his professionals        0.10        425.00           $42.50
 02/27/2020   JWD     CA        Review and revise public announcement regarding         0.60        895.00          $537.00
                                plan term sheet
 02/28/2020   JWD     CA        Review draft press release and emails re same           0.20        895.00          $179.00
 02/28/2020   JWD     CA        Further work on press release issues                    0.50        895.00          $447.50
 02/28/2020   JWD     CA        Meet with R Pachulski re deal announcement              0.10        895.00           $89.50
 02/28/2020   JWD     CA        Further work on press release                           0.20        895.00          $179.00
 02/28/2020   JWD     CA        Further work with Committee and client on               0.50        895.00          $447.50
                                announcement
 02/28/2020   BDD     CA        Attend to misc. calendaring matters                     0.10        425.00           $42.50

                                                                                       11.10                       $7,879.50
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                                                                                          Hours           Rate         Amount

  Claims Admin/Objections[B310]
 02/03/2020   MSP     CO        Email exchange with P. Buenger, et al. regarding           0.10        875.00           $87.50
                                Luihuan Shan claims.
 02/03/2020   BDD     CO        Email M. Pagay re Liuhuan Shan claim                       0.10        425.00           $42.50
 02/04/2020   MSP     CO        Email exchange with P. Buenger, et al. regarding           0.10        875.00           $87.50
                                Luihuan Shan nondischargeability extension
                                stipulation.
 02/04/2020   MSP     CO        Email exchange with D. Martinez regarding                  0.10        875.00           $87.50
                                pre-petition fee claim.
 02/04/2020   BDD     CO        Email Epiq team re all scheduled claims                    0.10        425.00           $42.50
 02/04/2020   BDD     CO        Email R. Moon re scheduled claims                          0.10        425.00           $42.50
 02/05/2020   JWD     CO        Work on SQ stip and emails re same                         0.40        895.00          $358.00
 02/07/2020   MSP     CO        Telephone conference with L. Harrison, P. Buenger,         0.60        875.00          $525.00
                                Richard M. Pachulski, et al. regarding Liuhuan Han
                                claims and potential nondischargeability action.
 02/10/2020   MSP     CO        Email exchange with Richard M. Pachulski, J.               0.10        875.00           $87.50
                                Wang, P. Buenger, et al. re: actions relating to
                                claimant.
 02/10/2020   JWD     CO        Review emails regarding Lihuan Shen issues                 0.10        895.00           $89.50
 02/11/2020   MSP     CO        Telephone calls (2: .10; .30) with M. Zhang re:            0.40        875.00          $350.00
                                claims asserted by Liuhuan Shan, 365(d)(4) motion.
 02/11/2020   MSP     CO        Email exchange with P. Buenger, Richard M.                 0.10        875.00           $87.50
                                Pachulski, M. Zhang, R. Jia et al. re: client action
                                relating to claimant, guarantor of client debt, etc.
 02/11/2020   MSP     CO        Review and analysis of Liuhuan Shan claims per             1.80        875.00         $1,575.00
                                client request.
 02/12/2020   JWD     CO        Work on SQ stip and order completion                       0.50        895.00          $447.50
 02/12/2020   JWD     CO        Review and revise SQ stip                                  0.20        895.00          $179.00
 02/13/2020   MSP     CO        Email exchange with T. Li, J. Wang, et al. regarding       0.20        875.00          $175.00
                                list of materials provided to Committee
                                professionals in effort to address potential resolution
                                with creditor SQ.
 02/13/2020   RMP     CO        Review and respond to e-mails re Liu claims.               0.30      1445.00           $433.50
 02/13/2020   BDD     CO        Confer with Epiq re updated claims register (.10);         0.20        425.00           $85.00
                                emails D. Perez re same (.10)
 02/13/2020   BDD     CO        Email Epiq re claims analysis                              0.10        425.00           $42.50
 02/13/2020   BDD     CO        Email D Perez re reconciliation of scheduled claims        0.10        425.00           $42.50
                                v. filed claims
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                                                                                       Hours           Rate         Amount
 02/15/2020   MSP     CO        Email exchange with Richard M. Pachulski, D.            0.10        875.00           $87.50
                                Perez, J. Wang, et al. regarding review of documents
                                to be provided to creditor as part of settlement.
 02/18/2020   MSP     CO        Email exchange with R. Jia, et al. regarding IRS        0.20        875.00          $175.00
                                correspondence regarding certain tax years.
 02/19/2020   JWD     CO        Review entered order re SQ and email with J Moe re      0.20        895.00          $179.00
                                same
 02/19/2020   BDD     CO        Review updated claims register and email J. Dulberg     0.20        425.00           $85.00
                                and M. Pagay re same
 02/20/2020   JWD     CO        Meet with R Pachulski and prep SLC stip                 1.00        895.00          $895.00
 02/20/2020   JWD     CO        Further work on SLC stip                                0.40        895.00          $358.00
 02/20/2020   BDD     CO        Being prep of Stipulation/Order re SLC claim and        0.30        425.00          $127.50
                                email J. Dulberg re same
 02/21/2020   MSP     CO        Email exchange with Jeffrey W. Dulberg, M. Zhang,       0.10        875.00           $87.50
                                J. Wang et al. regarding SLC stipulations.
 02/21/2020   RMP     CO        Review claims analysis and telephone conference         0.40      1445.00           $578.00
                                with M. Pagay re same.
 02/21/2020   JWD     CO        Review order regarding SLC claim stipulation and        0.10        895.00           $89.50
                                draft email to counsel regarding same
 02/21/2020   JWD     CO        Email to SLC counsel regarding stipulation to revise    0.10        895.00           $89.50
                                claim
 02/21/2020   JWD     CO        Review and revise stipulation regarding SLC claim       0.80        895.00          $716.00
                                and emails with client regarding same
 02/24/2020   JWD     CO        Review markup to SLC claim classification               0.20        895.00          $179.00
                                stipulation and emails regarding same
 02/24/2020   JWD     CO        Work on revisions to SLC claim stipulation and call     0.30        895.00          $268.50
                                with B Dassa regarding same
 02/24/2020   BDD     CO        Email J. Dulberg re stip resolving SLC claim            0.10        425.00           $42.50
 02/24/2020   BDD     CO        Confer with N. Brown re Stip resolving SLC claim        0.10        425.00           $42.50
 02/25/2020   JWD     CO        Review entered order re SLC claim class                 0.10        895.00           $89.50
 02/25/2020   BDD     CO        Email PSZJ team re entered order resolving SLC          0.10        425.00           $42.50
                                claim
 02/25/2020   BDD     CO        Email J. Dulberg re filed stip resolving SLC claim      0.10        425.00           $42.50

                                                                                       10.60                       $9,042.00

  Compensation Prof. [B160]
 02/03/2020   BDD     CP        Email N. Brown re YT engagement agreement               0.10        425.00           $42.50
 02/03/2020   BDD     CP        Email M. Pagay re YT engagement letter                  0.10        425.00           $42.50
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                                                                                        Hours           Rate         Amount
 02/09/2020   MSP     CP        Email exchange with Richard M. Pachulski, Jeffrey        0.20        875.00          $175.00
                                W. Dulberg et al. regarding professional fee timing
                                and procedures motion.
 02/10/2020   MSP     CP        Email exchange with S. Uhland, Beth Dassa, D.            1.10        875.00          $962.50
                                Perez, et al. re: fee timing and relationship to DIP
                                funding, interim compensation etc.
 02/20/2020   MSP     CP        Email exchange with Beth Dassa, et al. regarding         0.10        875.00           $87.50
                                interim compensation procedures motion.
 02/21/2020   MSP     CP        Email exchange with Richard M. Pachulski, D.             0.10        875.00           $87.50
                                Saval, et al. regarding stipulation to move dismissal
                                hearing to 3/19.
 02/24/2020   MSP     CP        Email exchange with Richard M. Pachulski, Jeffrey        0.30        875.00          $262.50
                                W. Dulberg, et al. regarding Interim compensation
                                procedures.

                                                                                         2.00                       $1,660.00

  Executory Contracts [B185]
 02/06/2020   BDD     EC        Begin working on Motion to Extend Time to                0.70        425.00          $297.50
                                Assume/Reject Real Property leases and email M.
                                Pagay and J. O'Neill re same
 02/10/2020   MSP     EC        Telephone call with Beth Dassa re: motion to extend      0.10        875.00           $87.50
                                365(d)(4) deadline.
 02/10/2020   MSP     EC        Email exchanges with James O?Neill, Beth Dassa,          2.60        875.00         $2,275.00
                                T. Li, et al. re: and attention to extension of
                                365(d)(4) assumption/rejection deadline, access to
                                lease documentation, preparation of motion, etc.
 02/10/2020   MSP     EC        Review and revise draft motion to extend 365(d)(4)       1.10        875.00          $962.50
                                deadline; email exchange with James O?Neill and
                                Beth Dassa re: same (.10).
 02/10/2020   JEO     EC        Review and revise draft of 365 extension                 1.20        925.00         $1,110.00
 02/10/2020   BDD     EC        Email J. O'Neill re 365(d) extension motion              0.10        425.00           $42.50
 02/10/2020   BDD     EC        Call with M. Pagay re Marguerite Drive leases            0.10        425.00           $42.50
 02/10/2020   BDD     EC        Work on 365(d)(4) motion and emails J. O'Neill and       2.90        425.00         $1,232.50
                                M. Pagay re same
 02/11/2020   MSP     EC        Telephone calls (3) with Beth Dassa re: motion to        0.30        875.00          $262.50
                                extend 365(d)(4) deadline.
 02/11/2020   JWD     EC        Call with Mia Zhang regarding 365                        0.10        895.00           $89.50
 02/11/2020   JWD     EC        Follow up emails regarding 365D                          0.20        895.00          $179.00
 02/11/2020   JEO     EC        Review comments to 365 extension motion                  0.20        925.00          $185.00
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                                                                                      Hours           Rate         Amount
 02/11/2020   JEO     EC        Emails with Beth Dassa and Malhar Pagay re             0.20        925.00          $185.00
                                finalizing 365 extension motion
 02/11/2020   BDD     EC        Revisions to Motion to Extend Time to                  0.80        425.00          $340.00
                                Assume/Reject leases and emails to M. Pagay and
                                N. Brown re same
 02/11/2020   BDD     EC        Email M. Zhang re Motion to Extend Time to             0.10        425.00           $42.50
                                Assume/Reject leases
 02/11/2020   BDD     EC        Email J. O'Neill re 365(d)(4) extension motion         0.10        425.00           $42.50
 02/11/2020   BDD     EC        Email N. Brown re Warm Time and Ocean View             0.10        425.00           $42.50
                                Drive leases
 02/11/2020   BDD     EC        Email M. Pagay re 365(d)(4) extension motion           0.10        425.00           $42.50
 02/11/2020   BDD     EC        Further revisions to 365(d)(4) extension motion and    0.50        425.00          $212.50
                                emails M. Pagay and N. Brown re same
 02/13/2020   BDD     EC        Prepare 2nd Stip and Order Extending Rule 4007(c)      0.60        425.00          $255.00
                                deadline as to Shan and emails M. Pagay re same
 02/26/2020   BDD     EC        Email J. Dulberg re order on 365d motion               0.10        425.00           $42.50
 02/27/2020   JWD     EC        Review and revise 365d order                           0.10        895.00           $89.50
 02/27/2020   BDD     EC        Prepare order/dec of non opp re 365d4 motion and       0.60        425.00          $255.00
                                emails J. Dulberg and N. Brown re same
 02/28/2020   JWD     EC        Review entered 365 order                               0.10        895.00           $89.50
 02/28/2020   BDD     EC        Email J. Dulberg and M. Pagay re entered order on      0.10        425.00           $42.50
                                365d4 motion

                                                                                      13.10                       $8,447.50

  Financial Filings [B110]
 02/06/2020   BDD     FF        Confer with M. Pagay and N. Brown re revised           2.80        425.00         $1,190.00
                                schedules; work on further revisions to
                                Schedules/SOFAs; emails to/call with P. Jeffries re
                                blacklining of amended schedules; work with N.
                                Brown on comparing original vs. amended
                                schedules; emails M. Pagay re amended
                                schedules/SOFAs
 02/07/2020   BDD     FF        Email M. Pagay re amended schedules                    0.10        425.00           $42.50
 02/11/2020   BDD     FF        Email M. Pagay re January MOR                          0.10        425.00           $42.50
 02/11/2020   BDD     FF        Prepare template MOR for January and email R.K.        0.30        425.00          $127.50
                                re same
 02/13/2020   MSP     FF        Email exchange with R. Moon, et al. regarding          0.10        875.00           $87.50
                                Monthly Operating Report.
 02/13/2020   BDD     FF        Review January MOR and email M. Pagay re same          0.30        425.00          $127.50
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                                                                                        Hours           Rate         Amount
 02/13/2020   BDD     FF        Email RK re January MOR                                  0.10        425.00           $42.50
 02/14/2020   MSP     FF        Email exchange with R. Jia, et al. regarding Monthly     0.80        875.00          $700.00
                                Operating Report (.10); revise and finalize same.
 02/14/2020   MSP     FF        Finalize PSZJ, OMM, PQBDN, Monthly Operating             3.30        875.00         $2,887.50
                                Report and other materials for counsel review and
                                filing.
 02/14/2020   BDD     FF        Further revisions to January MOR and email M.            0.20        425.00           $85.00
                                Pagay re same
 02/14/2020   BDD     FF        Email N. Brown re January MOR                            0.10        425.00           $42.50
 02/14/2020   BDD     FF        Email RK and R. Moon re January MOR                      0.10        425.00           $42.50
 02/14/2020   BDD     FF        Email N. Brown re January bank statements                0.10        425.00           $42.50
 02/14/2020   BDD     FF        Further revisions to January MOR and email M.            0.20        425.00           $85.00
                                Pagay re same
 02/14/2020   BDD     FF        Email M. Pagay re revisions to January MOR               0.10        425.00           $42.50
 02/14/2020   BDD     FF        Email S. Lee re January MOR                              0.10        425.00           $42.50
 02/14/2020   BDD     FF        Email RK re finalized January MOR                        0.10        425.00           $42.50
 02/14/2020   BDD     FF        Email M. Pagay re Monday filings                         0.10        425.00           $42.50
 02/16/2020   MSP     FF        Email exchange with Jeffrey W. Dulberg regarding         0.10        875.00           $87.50
                                Monthly Operating Report.
 02/17/2020   BDD     FF        Work on Jan. MOR and correspond with M. Pagay            0.40        425.00          $170.00
                                and N. Brown in preparation for filing
 02/19/2020   MSP     FF        Email exchange with G. Baddin regarding                  0.10        875.00           $87.50
                                attachment to monthly operating report.
 02/19/2020   BDD     FF        Email M. Pagay re amended schedules                      0.10        425.00           $42.50
 02/20/2020   MSP     FF        Review draft of amended schedules; email exchange        0.70        875.00          $612.50
                                with Beth Dassa, L. Sun, et al. regarding same (.10).
 02/20/2020   BDD     FF        Continue working on amended schedules per M.             1.80        425.00          $765.00
                                Pagay comments
 02/20/2020   BDD     FF        Email M. Pagay re amended schedules                      0.10        425.00           $42.50
 02/24/2020   BDD     FF        Work on amended schedules                                0.20        425.00           $85.00
 02/24/2020   BDD     FF        Email M. Pagay re consulting agreements                  0.10        425.00           $42.50
 02/25/2020   BDD     FF        Review Schedule B and email J. Dulberg re same           0.10        425.00           $42.50
 02/25/2020   BDD     FF        Email L. Sun re amended schedules/SOFAs                  0.10        425.00           $42.50
 02/25/2020   BDD     FF        Work on amended schedules and emails M. Pagay re         3.10        425.00         $1,317.50
                                same
 02/25/2020   BDD     FF        Multiple emails to/calls with L. Sun re amended          0.80        425.00          $340.00
                                schedules
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                                                                                       Hours           Rate         Amount
 02/26/2020   MSP     FF        Attention to potential filing of amendments to          2.40        875.00         $2,100.00
                                schedules; email exchange with L. Sun (.20) and
                                telephone conference with Beth Dassa, et al.
                                regarding same (.30).
 02/26/2020   MSP     FF        Telephone calls (4: .10; .20; .20; .10) with Beth       0.60        875.00          $525.00
                                Dassa regarding Amendments to schedules.
 02/26/2020   MSP     FF        Telephone calls (3) with L. Sun regarding Amended       0.20        875.00          $175.00
                                schedules.
 02/26/2020   MSP     FF        Telephone calls (2) with Beth Dassa regarding           0.30        875.00          $262.50
                                potential filing of amendments to schedules.
 02/26/2020   BDD     FF        Continue working on amended schedules/SOFAs             7.90        425.00         $3,357.50
                                and mutliple emails to/conferences with M. Pagay
                                and L. Sun re same
 02/26/2020   BDD     FF        Confer with/emails to N. Brown re amended               0.20        425.00           $85.00
                                Schedules/SOFAs
 02/27/2020   MSP     FF        Telephone calls (2) with Beth Dassa regarding           0.20        875.00          $175.00
                                amendment to schedules.
 02/27/2020   MSP     FF        Telephone call with R. Jia regarding Amendment to       0.10        875.00           $87.50
                                schedules.
 02/27/2020   MSP     FF        Telephone calls (2) with L. Sun regarding               0.20        875.00          $175.00
                                amendment to schedules.
 02/27/2020   BDD     FF        Further revisions to schedules and emails L. Sun and    0.60        425.00          $255.00
                                M. Pagay re same

                                                                                       29.40                   $16,590.00

  Financing [B230]
 02/03/2020   JWD     FN        Work on dip chart per local rule and emails re          0.80        895.00          $716.00
                                motion and review current mark up of note
 02/05/2020   MSP     FN        Email exchange with A. Behlmann, T. Li, et al.          0.80        875.00          $700.00
                                regarding status of DIP financing, revised term
                                sheet, etc.
 02/05/2020   RMP     FN        Review and respond to Committee professional            0.70      1445.00          $1,011.50
                                e-mails re DIP and term sheet.
 02/05/2020   JWD     FN        Review new DIP Note                                     0.40        895.00          $358.00
 02/06/2020   JWD     FN        Work on DIP financing pleadings                         2.00        895.00         $1,790.00
 02/06/2020   BDD     FN        Assist with edits to and finalizing DIP motion and      2.50        425.00         $1,062.50
                                emails to/conferences with J. Dulberg re same;
                                emails R. Moon re same
 02/06/2020   BDD     FN        Email J. O'Neill re DIP Financing Motion                0.10        425.00           $42.50
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 02/06/2020   BDD     FN        Revisions to Statement re Cash Collateral and email    0.20        425.00           $85.00
                                J. Dulberg re same
 02/07/2020   MSP     FN        Address revisions to budget, review most recent        2.80        875.00         $2,450.00
                                versions of plan and solicitation motion to derive
                                cost timeline regarding same; email exchange with
                                Richard M. Pachulski, et al. regarding same (.10).
 02/07/2020   RMP     FN        Conference call with team re DIP issues and            0.70      1445.00          $1,011.50
                                follow-up with Pao re same.
 02/07/2020   RMP     FN        Telephone conferences with Kaplan and Behlmann         0.40      1445.00           $578.00
                                re DIP.
 02/07/2020   JWD     FN        Review budget and emails re same                       0.20        895.00          $179.00
 02/07/2020   BDD     FN        Revisions to DIP Budget per M. Pagay comments          0.50        425.00          $212.50
                                and email M. Pagay re same
 02/08/2020   MSP     FN        Email exchange with S. Uhland, Richard M.              0.10        875.00           $87.50
                                Pachulski, et al. regarding DIP funding.
 02/08/2020   JWD     FN        Emails regarding financing                             0.20        895.00          $179.00
 02/10/2020   MSP     FN        Email exchange with Richard M. Pachulski, D.           0.30        875.00          $262.50
                                Meadows, et al. re: dispute with committee over
                                DIP financing.
 02/10/2020   RMP     FN        Various telephone conferences with S. Uhland,          1.30      1445.00          $1,878.50
                                Meadows, Client and Committee professionals re
                                DIP issues.
 02/10/2020   JWD     FN        Respond to emails regarding DIP hearing                0.10        895.00           $89.50
 02/10/2020   JWD     FN        Review and respond to emails regarding DIP status      0.10        895.00           $89.50
 02/10/2020   BDD     FN        Email R. Moon re DIP motion                            0.10        425.00           $42.50
 02/10/2020   BDD     FN        Email J. Dulberg re DIP motion                         0.10        425.00           $42.50
 02/11/2020   RMP     FN        Telephone conferences with S. Uhland and               0.60      1445.00           $867.00
                                conference with J. Dulberg re DIP and alternatives.
 02/11/2020   RMP     FN        Telephone conferences with client representatives      0.80      1445.00          $1,156.00
                                and discussions with Committee professionals re
                                DIP issues.
 02/11/2020   JWD     FN        Review and respond to various emails regarding         0.80        895.00          $716.00
                                financing and work on same
 02/11/2020   BDD     FN        Email J. Dulberg re DIP Motion                         0.10        425.00           $42.50
 02/12/2020   MSP     FN        Attend meeting with D. Meadows, Richard M.             1.40        875.00         $1,225.00
                                Pachulski, Jeffrey W. Dulberg, J. Wang, R. Jia
                                regarding DIP financing issues and meet with R. Jia
                                regarding additional information needed from client
                                team regarding disclosure statement.
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 02/12/2020   RMP     FN        Telephone conferences and meet with Meadows re         0.60      1445.00           $867.00
                                DIP.
 02/12/2020   RMP     FN        Prepare for and participate in meeting with Yueting    2.30      1445.00          $3,323.50
                                team re DIP issues and telephone conferences with
                                Committee counsel re same.
 02/12/2020   JWD     FN        Meeting re financing issues with PT and debtor reps    2.60        895.00         $2,327.00
 02/13/2020   MSP     FN        Email exchange with Richard M. Pachulski, J.           0.10        875.00           $87.50
                                Wang, et al. regarding Committee DIP proposal.
 02/13/2020   RMP     FN        Prepare for and participate on DIP calls with          0.90      1445.00          $1,300.50
                                Committee and then with team.
 02/14/2020   RMP     FN        Review and respond to e-mails re DIP and SQ            0.80      1445.00          $1,156.00
                                requests and conference with J. Dulberg re same.
 02/16/2020   MSP     FN        Email exchange with J. Wang, Richard M.                0.10        875.00           $87.50
                                Pachulski, et al. regarding Committee response to
                                DIP proposal.
 02/17/2020   RMP     FN        Various telephone conferences re DIP issues and        0.80      1445.00          $1,156.00
                                negotiations with Committee.
 02/18/2020   MSP     FN        Email exchange with RMP, J. Wang, et al. regarding     0.10        875.00           $87.50
                                status of DIP proposal.
 02/18/2020   JWD     FN        Review financing issues and emails with D              0.50        895.00          $447.50
                                Meadows re same
 02/19/2020   MSP     FN        Email exchange with Richard M. Pachulski, J.           0.10        875.00           $87.50
                                Wang, et al. regarding status of DIP proposal.
 02/19/2020   RMP     FN        Various telephone conferences and e-mails re DIP       0.90      1445.00          $1,300.50
                                issues.
 02/20/2020   MSP     FN        Email exchange with J. Wang, et al. regarding          0.10        875.00           $87.50
                                Committee DIP proposal.
 02/20/2020   RMP     FN        Continue dealing with DIP issues with Committee        0.90      1445.00          $1,300.50
                                and client.
 02/20/2020   JWD     FN        Review financing update emails and meet with R         0.20        895.00          $179.00
                                Pachulski re same
 02/20/2020   JWD     FN        Work on financing issues                               0.60        895.00          $537.00
 02/21/2020   MSP     FN        Email exchange with S. Uhland, Richard M.              0.30        875.00          $262.50
                                Pachulski, Jeffrey W. Dulberg, A. Behlmann, et al.
                                regarding DIP motion and order.
 02/21/2020   RMP     FN        Prepare for and participate on DIP team call.          0.60      1445.00           $867.00
 02/21/2020   JWD     FN        Emails regarding financing and prof budget issue       0.20        895.00          $179.00
 02/21/2020   JWD     FN        Conference with R. Pachulski regarding financing       0.40        895.00          $358.00
                                and emails with team regarding same
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                                                                                      Hours           Rate         Amount
 02/22/2020   MSP     FN        Email exchange with S. Uhland, et al. regarding DIP    0.10        875.00           $87.50
                                motion and budget.
 02/23/2020   JWD     FN        Emails with OMM regarding DIP term sheet               0.20        895.00          $179.00
 02/23/2020   JWD     FN        Emails with PT counsel                                 0.30        895.00          $268.50
 02/23/2020   JWD     FN        Review DIP term sheet and issues regarding same        0.60        895.00          $537.00
 02/24/2020   MSP     FN        Email exchange with Jeffrey W. Dulberg, S. Uhland,     0.10        875.00           $87.50
                                et al. regarding DIP motion mark-up.
 02/24/2020   MSP     FN        Email exchange with Jeffrey W. Dulberg, Richard        0.30        875.00          $262.50
                                M. Pachulski, et al. regarding potential financing
                                motion.
 02/24/2020   RMP     FN        Review DIP motion and issues and telephone             0.70      1445.00          $1,011.50
                                conference with S. Uhland re same and conference
                                with J. Dulberg re same.
 02/24/2020   JWD     FN        Work on DIP pleadings, declarations, order             2.80        895.00         $2,506.00
 02/24/2020   JWD     FN        Review DIP motion mark up                              0.50        895.00          $447.50
 02/24/2020   JWD     FN        Work on new declarations and synthesis of new          2.00        895.00         $1,790.00
                                facts in DIP motion
 02/24/2020   JWD     FN        Call with Mia Zhang regarding Faraday financing        0.20        895.00          $179.00
                                and emails with team regarding same
 02/24/2020   JWD     FN        Call with D Meadows regarding financing                0.10        895.00           $89.50
 02/25/2020   MSP     FN        Telephone conference with D. Meadows, M. Zhang,        0.60        875.00          $525.00
                                Jeffrey W. Dulberg, et al. regarding DIP Note.
 02/25/2020   MSP     FN        Email exchange with S. Uhland, D. Perez, Jeffrey       0.20        875.00          $175.00
                                W. Dulberg regarding comments on DIP motion.
 02/25/2020   RMP     FN        Prepare for and participate on DIP call.               0.40      1445.00           $578.00
 02/25/2020   JWD     FN        Work on various issues re DIP financing                1.50        895.00         $1,342.50
 02/25/2020   JWD     FN        Call with B Dassa re DIP financing                     0.10        895.00           $89.50
 02/25/2020   JWD     FN        Attend call re plan term sheet and DIP financing       1.30        895.00         $1,163.50
 02/25/2020   JWD     FN        Turn next draft of DIP motion                          0.80        895.00          $716.00
 02/25/2020   JWD     FN        Work on notices and chart for DIP motion and           2.00        895.00         $1,790.00
                                review updates and revisions from D Meadows
 02/25/2020   JWD     FN        Turn next draft of DIP motion                          0.80        895.00          $716.00
 02/25/2020   JWD     FN        Review and revise DIP pleadings                        1.50        895.00         $1,342.50
 02/26/2020   RMP     FN        Review and revise DIP motion and conference with       0.60      1445.00           $867.00
                                J. Dulberg re same.
 02/26/2020   RMP     FN        Review DIP declaration issues and conferences re       0.60      1445.00           $867.00
                                same.
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                                                                                      Hours           Rate         Amount
 02/26/2020   JWD     FN        Review and respond to various emails regarding         0.40        895.00          $358.00
                                good faith and dip motion
 02/26/2020   JWD     FN        Call with R Moon and follow call with him re           0.40        895.00          $358.00
                                declaration
 02/26/2020   JWD     FN        Multiple emails with counsel to PT                     0.50        895.00          $447.50
 02/26/2020   JWD     FN        Work on DIP financing                                  3.80        895.00         $3,401.00
 02/26/2020   JWD     FN        Call with T Li re financing                            0.20        895.00          $179.00
 02/26/2020   JWD     FN        Call with R Soref re financing                         0.10        895.00           $89.50
 02/26/2020   JWD     FN        Calls with client team re financing issues             0.30        895.00          $268.50
 02/27/2020   RMP     FN        Continue work on DIP and telephone conferences re      0.60      1445.00           $867.00
                                same.
 02/27/2020   RMP     FN        Review DIP note, motion and e-mails re same.           0.30      1445.00           $433.50
 02/27/2020   JWD     FN        Review and revise DIP local rule form and emails re    0.20        895.00          $179.00
                                same
 02/27/2020   JWD     FN        Work on support documents for financing motion         1.60        895.00         $1,432.00
 02/27/2020   JWD     FN        Work on completion of dip motion, dip order, dip       8.50        895.00         $7,607.50
                                note, local rule statement, numerous revisions to
                                same and oversee filing
 02/27/2020   BDD     FN        Work on DIP Motion and related pleadings and           2.70        425.00         $1,147.50
                                emails/conferences with J. Dulberg and N. Brown re
                                same
 02/27/2020   BDD     FN        Email Epiq re service of DIP motion                    0.10        425.00           $42.50
 02/27/2020   BDD     FN        Email J. Dulberg re filed DIP motion                   0.10        425.00           $42.50
 02/28/2020   RMP     FN        Review and respond to various e-mails re DIP and       1.20      1445.00          $1,734.00
                                term sheet press release and 341 exam issues and
                                telephone conference with M. Pagay re same.
 02/28/2020   JWD     FN        Emails with M Pagay re notice issue                    0.10        895.00           $89.50
 02/28/2020   JWD     FN        Respond to J Wang email re wire instructions for       0.10        895.00           $89.50
                                DIP payment
 02/29/2020   JWD     FN        Draft emails re wire for 1st dip distribution and      0.30        895.00          $268.50
                                review schedule for all

                                                                                      71.00                   $69,525.00

  General Creditors Comm. [B150]
 02/10/2020   JWD     GC        Work on issues re Committee discussion                 0.60        895.00          $537.00
 02/26/2020   JWD     GC        Call with Committee (.9) and prep re same (.2)         1.10        895.00          $984.50
 02/27/2020   JWD     GC        Review and respond to various emails regarding         0.50        895.00          $447.50
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                                                                                       Hours           Rate         Amount
                                committee investigation and 341a meeting

                                                                                        2.20                       $1,969.00

  Meeting of Creditors [B150]
 02/26/2020   MSP     MC        Meeting with client and team to prepare for             4.30        875.00         $3,762.50
                                continued 341(a) meeting of creditors (including
                                travel to/from).
 02/27/2020   MSP     MC        Telephone call with K. Morrison regarding               0.20        875.00          $175.00
                                procedures for continued 341(a) meeting.
 02/27/2020   MSP     MC        Telephone call with W. Pao regarding continued          0.10        875.00           $87.50
                                341(a) meeting.
 02/27/2020   MSP     MC        Telephone call with M. Kaplan regarding Continued       0.10        875.00           $87.50
                                341(a) meeting.
 02/27/2020   MSP     MC        Prepare for continued meeting of creditors.             2.50        875.00         $2,187.50
 02/28/2020   MSP     MC        Telephone calls (2) with M. Kaplan re: Committee        0.20        875.00          $175.00
                                questions at meeting of creditors.
 02/28/2020   MSP     MC        Attend and defend client at meeting of creditors.       3.30        875.00         $2,887.50
 02/28/2020   MSP     MC        Email exchange with Beth Dassa re: recording of         0.10        875.00           $87.50
                                continued 341(a) meeting.
 02/28/2020   JWD     MC        Emails with M Pagay re 341(a) and review                0.10        895.00           $89.50
                                Committee emails re same
 02/28/2020   JWD     MC        Conf with M Pagay re 341a and review email re           0.10        895.00           $89.50
                                same
 02/28/2020   BDD     MC        Emails M. Pagay and N. Brown re 341a hearing            0.20        425.00           $85.00
                                (2/28)

                                                                                       11.20                       $9,714.00

  Plan & Disclosure Stmt. [B320]
 02/01/2020   MSP     PD        Address court-ordered mediation logistics and           3.90        875.00         $3,412.50
                                arrangements, confidentiality issues; email exchange
                                with S. Uhland, D. Perez, Richard M. Pachulski, M.
                                Goldberg, D. Saval, J. Zhang, et al. regarding same
                                (.90).
 02/01/2020   MSP     PD        Email exchange with A. Behlmann, D. Perez, et al.       0.10        875.00           $87.50
                                regarding term sheet comments.
 02/02/2020   MSP     PD        Telephone conference with M. Goldberg et al.            0.90        875.00          $787.50
                                regarding parameters and issues for court-ordered
                                mediation.
 02/02/2020   MSP     PD        Email exchange with D. Perez, S. Uhland, et al.         0.10        875.00           $87.50
                                regarding term sheet.
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                                                                                     Hours           Rate         Amount
 02/02/2020   RMP     PD        Review Committee's revisions to term sheet and        1.10      1445.00          $1,589.50
                                conference call with team re same.
 02/02/2020   RMP     PD        Prepare for and participate on Mediator call.         0.70      1445.00          $1,011.50
 02/03/2020   MSP     PD        Email exchange with M. Zhang, E. Schnabel, J.         0.70        875.00          $612.50
                                Wang, Richard M. Pachulski, et al regarding
                                Chongqing Strategic objection, position taken by
                                limited partner.
 02/03/2020   MSP     PD        Email exchange with H. Adams regarding mediation      0.10        875.00           $87.50
                                confidentiality.
 02/03/2020   MSP     PD        Prepare materials and address arrangements for        2.90        875.00         $2,537.50
                                court-ordered mediation; email exchange with S.
                                Uhland, Richard M. Pachulski, Jeffrey W. Dulberg,
                                et al. regarding same (.10).
 02/04/2020   MSP     PD        Telephone call with Jeffrey W. Dulberg regarding      0.10        875.00           $87.50
                                preparation for 2/6 hearing regarding solicitation
                                motion in light of tentative.
 02/04/2020   MSP     PD        Attend court-ordered mediation with Committee and     9.50        875.00         $8,312.50
                                compile and draft final Ocean View money flow as
                                requested by Committee.
 02/04/2020   MSP     PD        Email exchange with T. Li regarding revised plan      0.10        875.00           $87.50
                                term sheet.
 02/04/2020   MSP     PD        Email exchange with S. Uhland, T. Li, J. Wang,        1.60        875.00         $1,400.00
                                Jeffrey W. Dulberg, et al. regarding pre-mediation
                                meeting regarding plan term sheet, etc.; address
                                arrangements regarding and attend same (1.00).
 02/04/2020   MSP     PD        Email exchange with J. Wang, et al regarding          0.10        875.00           $87.50
                                comments on revised plan term sheet.
 02/04/2020   RMP     PD        Prepare for, travel to and from, and attend           8.20      1445.00      $11,849.00
                                pre-mediation meeting and committee/debtor
                                mediation.
 02/05/2020   MSP     PD        Telephone call with law clerk regarding hearing       0.10        875.00           $87.50
                                regarding solicitation motion.
 02/05/2020   MSP     PD        Telephone call with D. Perez regarding Mediation      0.10        875.00           $87.50
                                statement.
 02/05/2020   MSP     PD        Telephone call with H. Adams regarding Mediation.     0.10        875.00           $87.50
 02/05/2020   MSP     PD        Telephone call with A. Behlmann regarding meeting     0.20        875.00          $175.00
                                regarding plan term sheet.
 02/05/2020   MSP     PD        Attention to coordinating meeting with Committee      1.80        875.00         $1,575.00
                                regarding negotiating plan term sheet; email
                                exchange with T. Li, Richard M. Pachulski, et al.
                                regarding same (.10).
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                                                                                      Hours           Rate         Amount
 02/05/2020   MSP     PD        Email exchange with Richard M. Pachulski, M.           0.30        875.00          $262.50
                                Shinderman, et al. regarding Chongqing Strategic
                                limited partner conflict.
 02/05/2020   MSP     PD        Email exchange with E. Schnabel, Richard M.            1.90        875.00         $1,662.50
                                Pachulski, J. Wang, A. Glorioso, et al. regarding
                                Impact of Chongqing Strategic objection.
 02/05/2020   MSP     PD        Email exchange with Jeffrey W. Dulberg, Richard        0.10        875.00           $87.50
                                M. Pachulski regarding Judge?s tentative regarding
                                2/6 hearing.
 02/05/2020   MSP     PD        Email exchange with Richard M. Pachulski, Jeffrey      0.20        875.00          $175.00
                                W. Dulberg, et al. regarding hearing regarding
                                solicitation motion.
 02/05/2020   MSP     PD        Attention to preparation for hearing regarding         0.90        875.00          $787.50
                                solicitation motion; email exchange with Jeffrey W.
                                Dulberg, Richard M. Pachulski, J. Wang, et al.
                                regarding same (.10).
 02/05/2020   MSP     PD        Address evidence regarding negative effect of          2.10        875.00         $1,837.50
                                bankruptcy on FF; email exchange with J. Wang
                                regarding same (.10).
 02/05/2020   MSP     PD        Email exchange with Richard M. Pachulski, P.           0.10        875.00           $87.50
                                Buenger, et al. regarding Creditor participation at
                                disclosure statement hearing.
 02/05/2020   RMP     PD        Various telephone conferences and conferences with     3.70      1445.00          $5,346.50
                                J. Dulberg, S. Uhland, Committee counsel,
                                Schnabel, team, M. Pagay and DM re mediation and
                                disclosure statement options.
 02/05/2020   JWD     PD        Work on DS hearing issues and prep                     0.60        895.00          $537.00
 02/05/2020   JWD     PD        Call with PT counsel re hearing update                 0.50        895.00          $447.50
 02/05/2020   JWD     PD        Call with Randye Soref re DS hearing                   0.20        895.00          $179.00
 02/05/2020   JWD     PD        Call with E Schnabel re hearing                        0.20        895.00          $179.00
 02/05/2020   JWD     PD        Follow up emails with team re DS hearing               0.30        895.00          $268.50
 02/05/2020   JWD     PD        Meeting with R Pachulski re DS issues and hearing      0.20        895.00          $179.00
 02/05/2020   JWD     PD        Further work on DS approval process including          1.70        895.00         $1,521.50
                                dozens of emails and follow up calls with E
                                Schnabel and Committee
 02/05/2020   JWD     PD        Analysis of various issues for hearing                 0.70        895.00          $626.50
 02/05/2020   JWD     PD        Call with Pacific technologies counsel regarding       0.40        895.00          $358.00
                                disclosure statement hearing
 02/05/2020   JWD     PD        Call with Richard Pachulski regarding disclosure       0.20        895.00          $179.00
                                statement hearing
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                                                                                       Hours           Rate         Amount
 02/05/2020   JWD     PD        Call with Jerry Wang regarding status of DS hearing     0.20        895.00          $179.00
 02/05/2020   JWD     PD        Prepare for hearing                                     0.60        895.00          $537.00
 02/05/2020   JWD     PD        Review and respond to E Schnabel emails and work        0.70        895.00          $626.50
                                on issues re DS approval
 02/05/2020   JWD     PD        Emails re DS hearing                                    0.30        895.00          $268.50
 02/06/2020   MSP     PD        Telephone call with Jeffrey W. Dulberg regarding        0.10        875.00           $87.50
                                hearing regarding disclosure statement.
 02/06/2020   MSP     PD        Attend all day court-ordered mediation with            14.40        875.00     $12,600.00
                                Committee, SLC, SQ regarding plan, etc.
 02/06/2020   RMP     PD        Prepare for, travel to and from and participate in     14.30      1445.00      $20,663.50
                                all-hands mediation (including negotiations over
                                Trust term sheet during mediation) and client
                                meeting after mediation.
 02/06/2020   JWD     PD        Prep for hearing and various emails and calls           0.70        895.00          $626.50
                                regarding same
 02/06/2020   JWD     PD        Attend disclosure statement hearing                     2.20        895.00         $1,969.00
 02/06/2020   BDD     PD        Email R. Pachulski, J. Dulberg and M. Pagay re          0.10        425.00           $42.50
                                order denying motion to approve 2nd amended DS
                                and findings of fact re same
 02/06/2020   BDD     PD        Review entered order re 2nd amended disclosure          0.20        425.00           $85.00
                                statement and attend to misc. calendaring matters re
                                same
 02/07/2020   MSP     PD        Email exchange with Richard M. Pachulski, J.            0.70        875.00          $612.50
                                Wang, et al. regarding release of information
                                regarding plan and financing status.
 02/07/2020   MSP     PD        Review and analysis of plan and disclosure              2.60        875.00         $2,275.00
                                statement objections regarding issues for further
                                research and disclosure per judge?s comments;
                                email exchange with Tavi C. Flanagan regarding
                                same (.10).
 02/07/2020   MSP     PD        Email exchange with S. Uhland, T. Li, et al.            0.10        875.00           $87.50
                                regarding revised term sheet.
 02/07/2020   MSP     PD        Email exchange with D. Perez regarding call to          0.10        875.00           $87.50
                                discuss handling of disclosure statement objections.
 02/07/2020   RMP     PD        Review revised term sheet and conference call re        0.90      1445.00          $1,300.50
                                same and follow-up with Committee re same.
 02/07/2020   TCF     PD        Communication with M. Pagay regarding                   0.10        725.00           $72.50
                                plan/disclosure statement research.
 02/07/2020   TCF     PD        Review and analysis of issues regarding                 0.20        725.00          $145.00
                                plan/disclosure statement research.
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                                                                                        Hours           Rate         Amount
 02/08/2020   MSP     PD        Email exchange with D. Perez regarding judge?s           0.10        875.00           $87.50
                                issues and objections regarding disclosure statement.
 02/09/2020   MSP     PD        Telephone call with D. Perez regarding Judge?s           0.80        875.00          $700.00
                                issues and objections regarding disclosure statement.
 02/09/2020   MSP     PD        Email exchange with D. Perez regarding Judge?s           0.10        875.00           $87.50
                                issues and objections regarding disclosure statement.
 02/09/2020   MSP     PD        Email exchange with S. Uhland, J. Wang, M. Zhang,        0.20        875.00          $175.00
                                et al. regarding revised term sheet.
 02/09/2020   MSP     PD        Email exchange with Richard M. Pachulski, Jeffrey        0.10        875.00           $87.50
                                W. Dulberg, et al. regarding update regarding
                                disclosure statement tasks, counsel and group calls.
 02/09/2020   MSP     PD        Email exchange with M. Kaplan, J. Wang, M.               1.30        875.00         $1,137.50
                                Zhang, Richard M. Pachulski, et al. regarding
                                revised term sheet and review of same, Committee
                                parallel DIP issues, etc.
 02/09/2020   MSP     PD        Email exchange with J. Wang, S. Uhland, et al.           0.10        875.00           $87.50
                                regarding Swift Talent counsel questions.
 02/09/2020   JWD     PD        Review chart regarding DS issues                         0.20        895.00          $179.00
 02/09/2020   TCF     PD        Review and analysis of issues and research               1.00        725.00          $725.00
                                regarding plan/disclosure statement issues.
 02/10/2020   MSP     PD        Telephone conference with S. Uhland, Richard M.          0.80        875.00          $700.00
                                Pachulski, etc. re: disclosure statement and plan
                                tasks, etc.
 02/10/2020   MSP     PD        Email exchange with T. Li, et al. regarding revised      0.10        875.00           $87.50
                                plan timeline.
 02/10/2020   RMP     PD        Prepare for and participate on team call re              0.90      1445.00          $1,300.50
                                upcoming steps re plan and coordinate with M.
                                Pagay and J. Dulberg re same.
 02/10/2020   RMP     PD        Review analysis of required disclosure statement         0.60      1445.00           $867.00
                                changes.
 02/10/2020   JWD     PD        Email with Chongqing counsel regarding DS                0.10        895.00           $89.50
                                hearing
 02/10/2020   JWD     PD        Further emails with team and other counsel re DS         0.30        895.00          $268.50
                                issues
 02/10/2020   TCF     PD        Research regarding plan/disclosure statement issues.     4.50        725.00         $3,262.50
 02/11/2020   MSP     PD        Email exchange with D. Perez, et al. re: Chongqing       0.10        875.00           $87.50
                                Strategic non-disclosure agreement, etc.
 02/11/2020   TCF     PD        Research regarding plan/disclosure statement issues.     2.50        725.00         $1,812.50
 02/12/2020   MSP     PD        Email exchange with Tavi C. Flanagan regarding           0.10        875.00           $87.50
                                early discharge research.
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                                                                                        Hours           Rate         Amount
 02/12/2020   MSP     PD        Email exchange with J. Wang, M. Zhang, et al.            0.10        875.00           $87.50
                                regarding information needed from client team
                                regarding disclosure statement.
 02/12/2020   JWD     PD        Follow up issues re term sheet                           0.60        895.00          $537.00
 02/12/2020   TCF     PD        Research and drafting regarding plan/disclosure          3.40        725.00         $2,465.00
                                statement issues; communications to M. Pagay
                                regarding same.
 02/13/2020   MSP     PD        Address issues relating to shortening time on            2.30        875.00         $2,012.50
                                disclosure statement hearing; email exchange with
                                Richard M. Pachulski, Jeffrey W. Dulberg, et al.
                                regarding same (.10).
 02/13/2020   MSP     PD        Email exchange with D. Perez, Beth Dassa et al.          0.10        875.00           $87.50
                                regarding claims information for liquidation
                                analysis.
 02/13/2020   MSP     PD        Email exchange with P. Buenger, Richard M.               0.10        875.00           $87.50
                                Pachulski, et al. regarding status of amended
                                disclosure statement.
 02/13/2020   JWD     PD        Call with E Schnabel re DS and follow up emails w/       0.50        895.00          $447.50
                                team re same
 02/13/2020   LAF     PD        Legal research re: Individual chapter 11 cases in CD     0.50        450.00          $225.00
                                Cal.
 02/13/2020   BDD     PD        Prepare order on OST re renewed solicitation motion      0.30        425.00          $127.50
                                and emails M. Pagay and N. Brown re same
 02/13/2020   TCF     PD        Research and drafting regarding plan/disclosure          6.80        725.00         $4,930.00
                                statement issues; memo and insert to disclosure
                                statement and communications to M. Pagay
                                regarding same.
 02/13/2020   TCF     PD        Research and drafting regarding plan/disclosure          0.10        725.00           $72.50
                                statement issues; memo and insert to disclosure
                                statement and communications to M. Pagay
                                regarding same.
 02/15/2020   MSP     PD        Email exchange with M. Zhang, R. Jia, et al.             0.10        875.00           $87.50
                                regarding client response to open disclosure
                                statement items.
 02/15/2020   MSP     PD        Address missing information items per judge?s            2.80        875.00         $2,450.00
                                comments on disclosure statement.
 02/17/2020   MSP     PD        Email exchange with S. Uhland, D. Saval, D. Xu, J.       0.20        875.00          $175.00
                                Wang, et al. regarding SLC BVI orders/injunctions.
 02/17/2020   RMP     PD        Review BVI issues and e-mails re same and                0.70      1445.00          $1,011.50
                                pleadings re same.
 02/18/2020   MSP     PD        Email exchange with S. Uhland, T. Li, et al.             0.20        875.00          $175.00
                                regarding revisions to disclosure statement sections.
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                                                                                         Hours           Rate         Amount
 02/18/2020   MSP     PD        Email exchange with M. Zhang, et al. regarding            0.10        875.00           $87.50
                                need for additional details regarding divorce
                                proceedings.
 02/18/2020   MSP     PD        Additional legal research regarding early discharge       2.80        875.00         $2,450.00
                                issues; email exchange with D. Perez regarding
                                same (.10).
 02/18/2020   MSP     PD        Email exchange with J. Wang, S. Uhland, et al.            0.10        875.00           $87.50
                                regarding status of BVI injunctions.
 02/18/2020   RMP     PD        Various telephone conferences with Behlman, Saval,        1.90      1445.00          $2,745.50
                                Moe and team re DIP, plan and disclosure statement.
 02/19/2020   MSP     PD        Telephone conference with S. Uhland, M. Zhang, J.         0.50        875.00          $437.50
                                Wang, R. Jia, Richard M. Pachulski, et al. regarding
                                plan questions.
 02/19/2020   MSP     PD        Email exchange with D. Perez regarding status of          0.10        875.00           $87.50
                                updates to disclosure statement.
 02/19/2020   MSP     PD        Email exchange with J. Wang, et al. regarding             0.40        875.00          $350.00
                                Information from FF regarding the company?s
                                relationship to YT?s restructuring, including
                                examples of same.
 02/19/2020   MSP     PD        Additional legal research regarding individual debtor     2.80        875.00         $2,450.00
                                issues noted by judge in comments.
 02/19/2020   RMP     PD        Prepare for and participate on call with team             0.80      1445.00          $1,156.00
                                regarding plan issues.
 02/19/2020   RMP     PD        Review DS issues and telephone conferences with           1.40      1445.00          $2,023.00
                                team re same.
 02/20/2020   MSP     PD        Email exchange with D. Meadows, Richard M.                0.10        875.00           $87.50
                                Pachulski, et al. regarding Creditor inquiry regarding
                                status of disclosure statement and plan.
 02/20/2020   MSP     PD        Additional legal research regarding individual            2.50        875.00         $2,187.50
                                debtor issues noted by judge in comments and begin
                                revision to disclosure statement section.
 02/20/2020   MSP     PD        Email exchange with K. Adonis et al. regarding SLC        0.10        875.00           $87.50
                                BVI injunction status.
 02/21/2020   MSP     PD        Telephone call with D. Law regarding U.S. Trustee         0.10        875.00           $87.50
                                position regarding shortened time on solicitation
                                motion hearing.
 02/21/2020   MSP     PD        Address information needed from FF regarding              2.60        875.00         $2,275.00
                                financial interrelationship with YT, etc.; email
                                exchange with J. Wang, C. Hsieh, et al. regarding
                                same (.10).
 02/21/2020   MSP     PD        Email exchange with Richard M. Pachulski, J.              0.10        875.00           $87.50
                                Wang, et al. regarding Committee revisions to term
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                                                                                      Hours           Rate         Amount
                                sheet.
 02/21/2020   RMP     PD        Telephone conference with Behlmann re term sheet       0.80      1445.00          $1,156.00
                                and review committee revised term sheet.
 02/21/2020   JWD     PD        Review and respond to email from A Glorioso            0.10        895.00           $89.50
                                regarding Disclosure Statement
 02/21/2020   JWD     PD        Work on issues for disclosure statement approval       0.90        895.00          $805.50
 02/22/2020   MSP     PD        Telephone conference with Richard M. Pachulski, J.     1.00        875.00          $875.00
                                Wang, S. Uhland, et al. regarding Plan term sheet.
 02/22/2020   MSP     PD        Email exchange with Richard M. Pachulski, J.           0.50        875.00          $437.50
                                Wang, S. Uhland, M. Kaplan, et al. regarding Plan
                                term sheet, response to comments.
 02/22/2020   MSP     PD        Email exchange with C. Hsieh et al. regarding          0.10        875.00           $87.50
                                interrelationship between FF and YT financial
                                restructuring.
 02/22/2020   MSP     PD        Continue legal research regarding individual debtor    1.70        875.00         $1,487.50
                                issues noted in judge?s comments.
 02/22/2020   RMP     PD        Review revised term sheet, DIP motion and client       1.60      1445.00          $2,312.00
                                conference call re status.
 02/23/2020   MSP     PD        Email exchange with S. Uhland, A. Behlmann, et al.     0.10        875.00           $87.50
                                regarding Committee position on term sheet.
 02/23/2020   RMP     PD        Review liquidation analysis and telephone              0.80      1445.00          $1,156.00
                                conference with Moon re same.
 02/23/2020   JWD     PD        Review issues for motion for order shortening time     0.50        895.00          $447.50
 02/24/2020   MSP     PD        Telephone calls (2) with M. Zhang regarding            0.20        875.00          $175.00
                                Committee expression of support for plan.
 02/24/2020   MSP     PD        Attention to revised plan and Aydt declaration in      1.30        875.00         $1,137.50
                                support of DIP and plan; email exchange with
                                Richard M. Pachulski, S. Uhland, et al. regarding
                                same (.20).
 02/24/2020   MSP     PD        Finalize disclosure statement sections regarding       3.10        875.00         $2,712.50
                                early discharge and use of personal earnings
                                regarding plan; email exchange with D. Perez
                                regarding same (.10).
 02/24/2020   MSP     PD        Email exchange with Richard M. Pachulski et al.        0.10        875.00           $87.50
                                regarding Committee expression of support for plan,
                                etc.
 02/24/2020   RMP     PD        Review plan and term sheet modifications and           0.80      1445.00          $1,156.00
                                telephone conference with S. Uhland re same.
 02/25/2020   MSP     PD        Telephone call with L. Sun regarding Committee         0.10        875.00           $87.50
                                expression of support for plan.
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                                                                                       Hours           Rate         Amount
 02/25/2020   MSP     PD        Email exchanges with J. Wang, M. Kaplan, D.             0.30        875.00          $262.50
                                Perez, et al. regarding changes to term sheet.
 02/25/2020   RMP     PD        Review revised term sheet and telephone conference      0.60      1445.00           $867.00
                                with DP re same.
 02/25/2020   JWD     PD        Review plan term sheet                                  0.40        895.00          $358.00
 02/26/2020   MSP     PD        Telephone call with D. Perez regarding term sheet       0.10        875.00           $87.50
                                changes and issues.
 02/26/2020   MSP     PD        Telephone calls (2) with M. Kaplan regarding            0.10        875.00           $87.50
                                changes to term sheet.
 02/26/2020   MSP     PD        Telephone call with M. Zhang regarding Committee        0.10        875.00           $87.50
                                support for plan.
 02/26/2020   MSP     PD        Telephone conference with A. Behlmann, Richard          0.50        875.00          $437.50
                                M. Pachulski, S. Uhland, et al. regarding Plan term
                                sheet.
 02/26/2020   MSP     PD        Revise draft of Aydt declaration to support motion      1.90        875.00         $1,662.50
                                for order shortening time regarding solicitation
                                motion; email exchange with Jeffrey W. Dulberg, et
                                al. regarding same (.10).
 02/26/2020   RMP     PD        Prepare for and participate on term sheet conference    1.10      1445.00          $1,589.50
                                call and review and respond to revisions.
 02/26/2020   RMP     PD        Review multiple revisions to term sheet and             1.30      1445.00          $1,878.50
                                follow-up calls re same.
 02/26/2020   JWD     PD        Call with R. Pachulski regarding plan term sheet        0.20        895.00          $179.00
 02/27/2020   MSP     PD        Email exchange with Richard M. Pachulski, M.            0.90        875.00          $787.50
                                Zhang, J. Wang, Jeffrey W. Dulberg, et al. regarding
                                Committee announcement of support for plan.
 02/27/2020   RMP     PD        Review PR piece and telephone conferences with          0.80      1445.00          $1,156.00
                                Behlmann and client re same and review and
                                respond to E-mails re same.
 02/27/2020   RMP     PD        Review revised draft plan, disclosure statement and     2.40      1445.00          $3,468.00
                                term sheet and conference calls re same.
 02/27/2020   JWD     PD        Review modified Aydt declaration for motion to          0.20        895.00          $179.00
                                shorten and emails regarding same
 02/27/2020   BDD     PD        Call with M. Pagay re Amended Plan & DS and             0.10        425.00           $42.50
                                related documents
 02/28/2020   MSP     PD        Telephone calls (2) with D. Perez re: status of plan    0.20        875.00          $175.00
                                filing.
 02/28/2020   MSP     PD        Telephone calls (2: .10; .30) with Beth Dassa re:       0.40        875.00          $350.00
                                status of plan filing.
 02/28/2020   MSP     PD        Telephone calls (2) with J. Wang re: information        0.20        875.00          $175.00
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                                                                                      Hours           Rate         Amount
                                needed from FF re: motion for order shortening
                                time.
 02/28/2020   MSP     PD        Draft supporting declarations for motion for order     1.80        875.00         $1,575.00
                                shortening time re: solicitation motion.
 02/28/2020   MSP     PD        Email exchange with D. Perez, et al. re: additional    0.20        875.00          $175.00
                                information needed for disclosure statement.
 02/28/2020   MSP     PD        Email exchange with Richard M. Pachulski, A.           0.30        875.00          $262.50
                                Behlmann, M. Zhang, et al. re: term sheet.
 02/28/2020   MSP     PD        Email exchange with M. Zhang, Jeffrey W. Dulberg,      0.10        875.00           $87.50
                                et al. re: announcement of negotiated plan.
 02/28/2020   MSP     PD        Email exchange with M. Aydt re: declaration in         0.10        875.00           $87.50
                                support of motion for order shortening time.
 02/28/2020   MSP     PD        Prepare declarations, motion for order shortening      4.20        875.00         $3,675.00
                                time and other materials for potential filing of
                                amended disclosure statement, plan, solicitation
                                motion, supporting declarations, etc.
 02/28/2020   RMP     PD        Review solicitation motion and various telephone       0.80      1445.00          $1,156.00
                                conferences and e-mails re same.
 02/28/2020   JWD     PD        Work on DS and OST motion issues                       0.40        895.00          $358.00
 02/28/2020   JWD     PD        Emails and calls re plan filing and timing             0.20        895.00          $179.00
 02/28/2020   BDD     PD        Emails to/conferences with M. Pagay re Amended         1.20        425.00          $510.00
                                Plan & DS and related pleadings
 02/28/2020   BDD     PD        Emails to/calls with M. Kulick re Amended Plan &       0.30        425.00          $127.50
                                DS and related filings and timing re same
 02/28/2020   BDD     PD        Email Epiq re service this evening                     0.10        425.00           $42.50
 02/28/2020   BDD     PD        Email J. Dulberg re Dec ISO App for OST re             0.10        425.00           $42.50
                                Solicitation Motion, DS
 02/28/2020   BDD     PD        Email M. Kulick re R. Pachulski Dec re App for         0.10        425.00           $42.50
                                OST re Solicitation Motion, DS
 02/28/2020   BDD     PD        Email D. Perez re Amended Disclosure Statement         0.10        425.00           $42.50
 02/28/2020   BDD     PD        Prepare Decl of YT ISO 3rd Amended Disclosure          0.80        425.00          $340.00
                                Statement and email M. Pagay re same
 02/28/2020   BDD     PD        Email M. Pagay re timing of filings                    0.10        425.00           $42.50
 02/29/2020   MSP     PD        Email exchange with M. Zhang, et al. re: changes to    0.10        875.00           $87.50
                                Smart King organization.
 02/29/2020   MSP     PD        Revise declaration of client and incorporate           2.70        875.00         $2,362.50
                                information items needed in support of disclosure
                                statement; email exchange with D. Perez and T. Li
                                re: same (.10).
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                                                                                        173.50                  $173,855.00

  Retention of Prof. [B160]
 02/02/2020   MSP     RP        Draft supplemental declaration of Richard M.              1.40        875.00         $1,225.00
                                Pachulski regarding PSZJ employment.
 02/02/2020   MSP     RP        Email exchange with R. Moon, James O?Neill et al.         0.10        875.00           $87.50
                                regarding Moon retention, fee budgets.
 02/03/2020   MSP     RP        Email exchange with R. Moon, James O?Neill et al.         0.30        875.00          $262.50
                                regarding Moon retention, fee budgets, revised
                                versions of same.
 02/03/2020   MSP     RP        Address supplemental documents needed for                 0.90        875.00          $787.50
                                re-calendaring of employment applications (.70);
                                email exchange with D. Perez, et al. regarding same
                                (.10).
 02/03/2020   JWD     RP        Call with B Dassa re notices                              0.10        895.00           $89.50
 02/03/2020   JEO     RP        Email to Robert Moon with sample budgets for              0.30        925.00          $277.50
                                retention
 02/03/2020   JEO     RP        Further edits on application to retain PQBDN              0.90        925.00          $832.50
 02/03/2020   BDD     RP        Email M. Pagay re PQBDN conflicts list                    0.10        425.00           $42.50
 02/04/2020   MSP     RP        Review, revise and finalize PQBDN amended                 2.50        875.00         $2,187.50
                                employment motion, extension stipulation, etc.;
                                email exchange with James O?Neill, et al. regarding
                                same (.10).
 02/04/2020   MSP     RP        Attention to employment-related court filings; email      1.30        875.00         $1,137.50
                                exchange with Beth Dassa, et al. regarding same
                                (.10).
 02/04/2020   MSP     RP        Finalize employment-related filings and stipulation       1.70        875.00         $1,487.50
                                regarding Liuhuan Shan nondischargability
                                deadline; email exchange with Beth Dassa, ND
                                regarding same (.20).
 02/04/2020   JWD     RP        Review and revise Pachulski declaration                   0.10        895.00           $89.50
 02/04/2020   JEO     RP        Finalize retention application for PQBDN (327)            1.60        925.00         $1,480.00
 02/04/2020   BDD     RP        Assist with Amended PQBDN retention application,          6.50        425.00         $2,762.50
                                Supplemental Declarations of R. Pachulski and
                                O'Melveny re duplication of services/retainer issues,
                                Notice of Hearing on Employment Applications,
                                Stip/Order re extension of Rule 4007(c) deadline re
                                L. Shan and multiple emails to/conferences with M.
                                Pagay, J. O'Neill, J. Dulberg, R. Moon, N. Deleon
                                and N. Brown re same
 02/04/2020   BDD     RP        Email Epiq team re tonight's filings                      0.10        425.00           $42.50
 02/05/2020   BDD     RP        Email Epiq team re service of pleadings filed on 2/4      0.10        425.00           $42.50
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 02/05/2020   BDD     RP        Email Epiq team re filing of proof of service re        0.10        425.00           $42.50
                                pleadings filed on 2/4
 02/06/2020   JEO     RP        Review issues re PQBND retention                        0.50        925.00         $462.50
 02/07/2020   MSP     RP        Review U.S. Trustee opposition to PQBDN                 0.30        875.00         $262.50
                                employment; email exchange with James O?Neill
                                regarding addressing same (.10).
 02/07/2020   JWD     RP        Review objection to Moon app and emails re same         0.20        895.00         $179.00
 02/07/2020   JEO     RP        Review UST Objection to Robert Moon retention           0.20        925.00         $185.00
 02/07/2020   JEO     RP        Emails with Malhar Pagay re Robert Moon retention       0.20        925.00         $185.00
 02/07/2020   BDD     RP        Email R. Pachulski, J. Dulberg and M. Pagay re          0.10        425.00           $42.50
                                opposition to employ PQBDN, filed by US Trustee
 02/07/2020   BDD     RP        Email J. O'Neill re Opp to Employ PQBDN, filed by       0.10        425.00           $42.50
                                US Trustee
 02/10/2020   JEO     RP        Email to Robert Moon re UST objection to retention      0.60        925.00         $555.00
                                application
 02/11/2020   JEO     RP        further revisions on 365 motion                         0.60        925.00         $555.00
 02/12/2020   MSP     RP        Email exchange with Richard M. Pachulski, S.            0.20        875.00         $175.00
                                Uhland, Jeffrey W. Dulberg et al. re: SLC
                                reservation of rights re: professionals? employment.
 02/12/2020   MSP     RP        Email exchange with James O?Neill, et al. regarding     0.20        875.00         $175.00
                                clarifications to Moon employment to respond to
                                issues raised by U.S. Trustee.
 02/12/2020   MSP     RP        Email exchange with James O?Neill regarding reply       0.10        875.00           $87.50
                                to U.S. Trustee response regarding PQBDN
                                employment.
 02/12/2020   RMP     RP        Telephone conferences with S. Uhland and review         0.60      1445.00          $867.00
                                and respond to e-mails re retention of professional
                                and SLC's position re same.
 02/12/2020   JWD     RP        Review and respond to emails regarding                  0.30        895.00         $268.50
                                employment for OMM and PSZJ and SLC issues
                                (.2); follow up email with SLC counsel and discuss
                                with R Pachulski (.1)
 02/12/2020   JWD     RP        Emails with SLC counsel re employment issues and        0.20        895.00         $179.00
                                email with team re same
 02/12/2020   JEO     RP        Review YT response to UST Objection to retention        0.40        925.00         $370.00
                                of PQBDN and revised proposed order and email to
                                PSZJ team for review
 02/12/2020   BDD     RP        Email M. Pagay re Dec No Opp and Order re PSZJ          0.10        425.00           $42.50
                                retention
 02/12/2020   BDD     RP        Emails M. Pagay and J. O'Neill re order on amended      0.30        425.00         $127.50
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                                application to employ PQBDN
 02/12/2020   BDD     RP        Email J. Dulberg re Orders/Decs re PSZJ and OMM       0.10        425.00           $42.50
                                retention applications
 02/13/2020   MSP     RP        Email exchange with Beth Dassa regarding OMM          0.10        875.00           $87.50
                                and PSZ&J employment orders.
 02/13/2020   MSP     RP        Address submissions regarding no opposition to        2.80        875.00         $2,450.00
                                OMM and PSZ&J employment; email exchanges
                                with D. Perez, Beth Dassa et al. regarding same
                                (.20).
 02/13/2020   MSP     RP        Finalize PQBDN reply and proposed order; email        0.50        875.00          $437.50
                                exchange with James O?Neill et al. regarding same
                                (.10).
 02/13/2020   MSP     RP        Email exchange with D. Law, James O'Neill et al.      2.10        875.00         $1,837.50
                                regarding U.S. Trustee perspective on revisions to
                                PQBDN employment terms (.20); address same.
 02/13/2020   JWD     RP        Review and revise retention orders                    0.30        895.00          $268.50
 02/13/2020   JEO     RP        Review draft order retaining PQBND as financial       0.40        925.00          $370.00
                                advisor
 02/13/2020   JEO     RP        Review additional comments from UST re PQBDN          0.40        925.00          $370.00
                                retention and respond to PSZJ team
 02/13/2020   BDD     RP        Email J. O'Neill re order on PQBDN retention          0.10        425.00           $42.50
 02/13/2020   BDD     RP        Email J. Dulberg re Dec No Opp and Orders on          0.10        425.00           $42.50
                                PSZJ and OMM retention
 02/13/2020   BDD     RP        Preparation of Dec of Non Opps and Orders on PSZJ     1.70        425.00          $722.50
                                retention and numerous calls with/emails M. Pagay
                                re same
 02/13/2020   BDD     RP        Email J. Dulberg re Orders on PSZJ and OMM            0.10        425.00           $42.50
                                retention applications
 02/13/2020   BDD     RP        Email M. Pagay re issues with Dec of No Opps for      0.10        425.00           $42.50
                                PSZJ and OMM retention
 02/13/2020   BDD     RP        Work on order on PQBDN amended employment             0.70        425.00          $297.50
                                application and email M. Pagay and J. O'Neill re
                                same
 02/14/2020   MSP     RP        Telephone call with James O?Neill regarding           0.10        875.00           $87.50
                                modifications to PQBDN employment.
 02/14/2020   MSP     RP        Telephone call and email exchange with D. Law         0.20        875.00          $175.00
                                regarding modifications to PQBDN employment.
 02/14/2020   MSP     RP        Telephone call with Beth Dassa regarding              0.20        875.00          $175.00
                                modifications to PQBDN employment.
 02/14/2020   MSP     RP        Email exchange with D. Perez, D. Saval, et al.        0.10        875.00           $87.50
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                                regarding comments regarding submission regarding
                                no objection to PSZJ, OMM employment
                                applications.
 02/14/2020   RMP     RP        Review and respond to e-mails re OMM and PSZJ           0.40      1445.00           $578.00
                                employment applications and review applications.
 02/14/2020   JEO     RP        Email to Malhar Pagay re UST comments to                0.20        925.00          $185.00
                                PQBND retention
 02/14/2020   JEO     RP        Further work on PQBND retention application             0.70        925.00          $647.50
 02/14/2020   BDD     RP        Further revisions to Dec of Non Opp and orders on       0.50        425.00          $212.50
                                PSZJ and OMM retention (.30); emails M. Pagay re
                                same (.20)
 02/14/2020   BDD     RP        Email N. Brown re Orders on PSZJ and OMM                0.10        425.00           $42.50
                                retention applications
 02/14/2020   BDD     RP        Further revisions to PQBDN order and emails M.          0.30        425.00          $127.50
                                Pagay re same
 02/14/2020   BDD     RP        Email M. Pagay re redline of PQBDN reply and            0.10        425.00           $42.50
                                order
 02/15/2020   MSP     RP        Email exchange with D. Xu, Richard M. Pachulski,        0.30        875.00          $262.50
                                Beth Dassa et al. regarding revisions to OMM and
                                PSZJ submissions regarding employment subject to
                                reservation of rights.
 02/15/2020   BDD     RP        Email M. Pagay re further revisions to order re PSZJ    0.10        425.00           $42.50
                                and OMM retention
 02/17/2020   MSP     RP        Telephone call with Beth Dassa regarding items for      0.10        875.00           $87.50
                                filing before deadline.
 02/17/2020   MSP     RP        Email exchange with Beth Dassa, JO, et al.              0.10        875.00           $87.50
                                regarding finalizing PQBDN employment and
                                foreign representative orders for lodging, etc.
 02/17/2020   MSP     RP        Finalize Reply regarding PQBDN employment and           5.20        875.00         $4,550.00
                                proposed order, declaration and proposed order
                                regarding OMM employment and SLC reservation
                                of rights, declaration and proposed order regarding
                                PSZJ employment and SLC reservation of rights and
                                Monthly Operating Report, for filing; email
                                exchanges with JO, Beth Dassa, et al. regarding
                                same (.30).
 02/17/2020   JEO     RP        Work on changes to PQBDN order per UST request          0.60        925.00          $555.00
 02/17/2020   BDD     RP        Work on reply to opposition to PQBDN employment         0.70        425.00          $297.50
                                and confer with M. Pagay and N. Brown re same
 02/17/2020   BDD     RP        Work on Decs of Non Opp re PSZJ and OMM and             0.60        425.00          $255.00
                                confer with M. Pagay and N. Brown re same
 02/18/2020   MSP     RP        Email exchange with K. Morrison and D. Law              0.10        875.00           $87.50
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                                                                                         Hours           Rate         Amount
                                regarding U.S. Trustee position regarding PQBDN
                                modified employment.
 02/18/2020   BDD     RP        Email Epiq team re service of pleadings                   0.10        425.00           $42.50
 02/19/2020   BDD     RP        Address filing issues and prepare amended                 0.70        425.00          $297.50
                                declarations re no oppositions to PSZJ & OMM
                                retention applications (.50): emails to/confer with N.
                                Brown re same (.20)
 02/21/2020   MSP     RP        Email exchange with Richard M. Pachulski, Jeffrey         0.50        875.00          $437.50
                                W. Dulberg, Beth Dassa, et al. regarding Judge?s
                                tentatives regarding professional retentions,
                                potential formal withdrawal of SLC objections, etc.;
                                review same.
 02/21/2020   JWD     RP        Analyze various issues for hearing and emails with        0.50        895.00          $447.50
                                colleagues regarding same
 02/21/2020   JEO     RP        Emails with PSZJ team and Robert Moon re court's          0.60        925.00          $555.00
                                tentative rulings on Foreign Representative Motion
                                and Amended Motion for Financial Advisor
 02/21/2020   BDD     RP        Work on binder for 2/25 hearing and emails N.             0.80        425.00          $340.00
                                Brown re same
 02/21/2020   BDD     RP        Review and email M. Pagay and J. O'Neill Tuesday's        0.10        425.00           $42.50
                                tentatives
 02/21/2020   BDD     RP        Email R. Pachulski re hearing binder for Tuesday          0.10        425.00           $42.50
 02/22/2020   MSP     RP        Email exchange with W. Pao, et al. regarding copies       0.10        875.00           $87.50
                                of OMM billing to address potential inquiries.
 02/23/2020   MSP     RP        Address revisions requested by judge in order to          1.00        875.00          $875.00
                                approve PQBDN retention and foreign
                                representative motion; email exchange with JO and
                                Beth Dassa regarding same (.10).
 02/23/2020   JWD     RP        Review binder for hearing                                 0.20        895.00          $179.00
 02/23/2020   JEO     RP        Prepare Declaration for Robert Moon in support of         1.20        925.00         $1,110.00
                                Motion to Appoint Foreign Representative and
                                revised order in accordance with Court's tentative
                                ruling
 02/23/2020   JEO     RP        Prepare revised order on Amended Motion to Retain         0.80        925.00          $740.00
                                PQBND as Financial Advisor in accordance with
                                Court's tentative ruling
 02/23/2020   JEO     RP        Emails with Robert Moon re Foreign representative         0.30        925.00          $277.50
                                motion and revised order and declaration
 02/23/2020   BDD     RP        Email J. O'Neill re order denying original PQBDN          0.10        425.00           $42.50
                                employment motion
 02/23/2020   BDD     RP        Email J. O'Neill re revised order on amended              0.10        425.00           $42.50
                                PQBDN motion
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 02/24/2020   MSP     RP        Telephone call with law clerk regarding tentative       0.10        875.00           $87.50
                                rulings regarding professional retentions.
 02/24/2020   MSP     RP        Finalize issues relating to judge?s modifications to    1.80        875.00         $1,575.00
                                PQBDN and foreign representation motions; email
                                exchange with BDD, et al. regarding same (.20).
 02/24/2020   MSP     RP        Compile preparation materials for hearings              1.80        875.00         $1,575.00
                                regarding professional retentions; email exchange
                                with Richard M. Pachulski and Beth Dassa
                                regarding same (.10).
 02/24/2020   RMP     RP        Prepare for the employment application hearings and     1.60      1445.00          $2,312.00
                                telephone conferences with S. Uhland re same.
 02/24/2020   JWD     RP        Conf with R Pachulski re retention hearing              0.10        895.00           $89.50
 02/24/2020   JWD     RP        Call with R Soref re retention hearing                  0.10        895.00           $89.50
 02/24/2020   JEO     RP        Review and update docs for declaration in support of    0.40        925.00          $370.00
                                foreign representative motion
 02/24/2020   JEO     RP        Calls and emails with PSZJ team re PQBND                0.60        925.00          $555.00
                                retention order
 02/24/2020   JEO     RP        Calls with Robert Moon to finalize Foreign              0.30        925.00          $277.50
                                Representative order
 02/24/2020   JEO     RP        Review final form of PQBDN retention order              0.20        925.00          $185.00
 02/24/2020   JEO     RP        Call with Beth Dassa to finalize retention documents    0.20        925.00          $185.00
 02/24/2020   BDD     RP        Revisions to PQBDN employment order and email           0.20        425.00           $85.00
                                J. O'Neill re same
 02/24/2020   BDD     RP        Email J. O'Neill re PQBDN retention application         0.10        425.00           $42.50
 02/24/2020   BDD     RP        Email M. Pagay re PQBDN retention application           0.10        425.00           $42.50
 02/24/2020   BDD     RP        Confer with M. Pagay, J. O'Neill and N. Brown re        0.80        425.00          $340.00
                                PQBDN retention application and coordinate filing
                                re same
 02/24/2020   BDD     RP        Email R. Moon and J. O'Neill re foreign rep motion      0.10        425.00           $42.50
 02/24/2020   BDD     RP        Confer with N. Brown re foreign rep                     0.20        425.00           $85.00
                                motion/dec/order
 02/24/2020   BDD     RP        Email M. Pagay re foreign rep declaration               0.10        425.00           $42.50
 02/24/2020   BDD     RP        Revisions to foreign rep declaration and email M.       0.20        425.00           $85.00
                                Pagay re same
 02/24/2020   BDD     RP        Further revisions to foreign rep motion/declaration     0.10        425.00           $42.50
                                and email M. Pagay re same
 02/24/2020   BDD     RP        Preparation of order denying original PQBDN             0.30        425.00          $127.50
                                retention application and email M. Pagay re same
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                                                                                        Hours           Rate         Amount
 02/24/2020   BDD     RP        Email Epiq re service of foreign rep motion              0.10        425.00           $42.50
 02/24/2020   BDD     RP        Revisions to PQBDN new retention application and         0.20        425.00           $85.00
                                email J. O'Neill re same
 02/24/2020   BDD     RP        Additional revisions to foreign rep order and email      0.20        425.00           $85.00
                                M. Pagay re same
 02/24/2020   BDD     RP        Email M. Pagay re entered order on foreign rep           0.10        425.00           $42.50
                                (Moon) retention
 02/24/2020   BDD     RP        Further prep of hearing binder re 2/25 hearings and      0.20        425.00           $85.00
                                emails M. Pagay re same
 02/25/2020   MSP     RP        Telephone calls (3) with Beth Dassa regarding            0.30        875.00          $262.50
                                results of hearing on professional retentions, status
                                of plan and other issues.
 02/25/2020   MSP     RP        Email exchange with S. Uhland, Richard M.                0.20        875.00          $175.00
                                Pachulski, et al. regarding OMM fee information,
                                PSZJ rates, etc.
 02/25/2020   MSP     RP        Attend hearings regarding PSZJ and OMM retention         2.90        875.00         $2,537.50
                                applications (including travel to/from).
 02/25/2020   MSP     RP        Email exchange with Beth Dassa regarding Orders          0.10        875.00           $87.50
                                approving retentions.
 02/25/2020   RMP     RP        Prepare for, travel to and from and attend               2.80      1445.00          $4,046.00
                                employment application hearing.
 02/25/2020   JWD     RP        Call with R Pachulski re emp app hearing                 0.10        895.00           $89.50
 02/25/2020   JWD     RP        Review entered orders re employment and foreign          0.20        895.00          $179.00
                                rep and emails re same
 02/25/2020   JWD     RP        Review entered orders re OMM and PSZJ empl               0.10        895.00           $89.50
 02/25/2020   BDD     RP        Email PSZJ team re order approving amended               0.10        425.00           $42.50
                                PQBDN retention application

                                                                                        67.70                    $54,920.50

  TOTAL SERVICES FOR THIS MATTER:                                                                              $417,867.50
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 Expenses

 10/03/2019   BM        Business Meal [E111] California Pizza Kitchen, working       36.64
                        meal, BDD


 10/04/2019   CC        Conference Call [E105] AT&T Conference Call, JWD               6.84


 10/07/2019   BM        Business Meal [E111] California Pizza Kitchen, working       21.93
                        meal, BDD


 10/07/2019   BM        Business Meal [E111] Chef Ming's, working meal, BDD          34.14


 10/08/2019   CC        Conference Call [E105] AT&T Conference Call, JWD             14.54


 12/03/2019   RE        ( 55 @0.20 PER PG)                                           11.00


 12/04/2019   AT        Auto Travel Expense [E109] KLS Transportation Services,     382.50
                        Inv. 14533242409, from Residence to LAX, RMP


 12/04/2019   AT        Auto Travel Expense [E109] KLS Transportation Services,     138.24
                        Inv. 14533242409, from Residence to LAX, MSP


 12/04/2019   AT        Auto Travel Expense [E109] KLS Transportation Services,     278.98
                        Inv. 14533242409, from PHL to Hotel, MSP


 12/04/2019   AT        Auto Travel Expense [E109] KLS Transportation Services,     278.98
                        Inv. 14533242409, from PHL to Hotel Dupont, MSP


 12/05/2019   RE2       SCAN/COPY ( 14 @0.10 PER PG)                                   1.40


 12/05/2019   RE2       SCAN/COPY ( 11 @0.10 PER PG)                                   1.10


 12/05/2019   RE2       SCAN/COPY ( 68 @0.10 PER PG)                                   6.80


 12/05/2019   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                    0.10


 12/05/2019   RE2       SCAN/COPY ( 33 @0.10 PER PG)                                   3.30
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 12/05/2019   RE2       SCAN/COPY ( 32 @0.10 PER PG)                                   3.20


 12/06/2019   AT        Auto Travel Expense [E109] KLS Transportation Services,     260.98
                        Inv. 14533242409, from PSZJ DE to PHL, MSP


 12/06/2019   AT        Auto Travel Expense [E109] KLS Transportation Services,     260.98
                        Inv. 14533242409, from PSZJ DE to PHL, RMP


 12/06/2019   AT        Auto Travel Expense [E109] KLS Transportation Services,     158.24
                        Inv. 14533242409, from LAX to Residence, RMP


 12/06/2019   AT        Auto Travel Expense [E109] KLS Transportation Services,     158.24
                        Inv. 14533242409, from LAX to Residence, MSP


 12/06/2019   BM        Business Meal [E111] La Fia, Working Meal, JEO              670.40


 12/06/2019   RE2       SCAN/COPY ( 15 @0.10 PER PG)                                   1.50


 12/09/2019   DC        46353.00001 Advita Charges for 12-09-19                      15.00


 12/09/2019   RE        ( 1 @0.20 PER PG)                                              0.20


 12/09/2019   RE        ( 25 @0.20 PER PG)                                             5.00


 12/09/2019   RE2       SCAN/COPY ( 11 @0.10 PER PG)                                   1.10


 12/10/2019   RE        ( 17 @0.20 PER PG)                                             3.40


 12/11/2019   DC        46353.00001 Advita Charges for 12-11-19                      27.00


 12/11/2019   RE        ( 1 @0.20 PER PG)                                              0.20


 12/11/2019   RE        ( 50 @0.20 PER PG)                                           10.00


 12/11/2019   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                    0.80


 12/11/2019   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                    0.80
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 12/11/2019   RE2       SCAN/COPY ( 17 @0.10 PER PG)                              1.70


 12/11/2019   RE2       SCAN/COPY ( 16 @0.10 PER PG)                              1.60


 12/11/2019   RE2       SCAN/COPY ( 16 @0.10 PER PG)                              1.60


 12/11/2019   RE2       SCAN/COPY ( 18 @0.10 PER PG)                              1.80


 12/16/2019   DC        46353.00001 Advita Charges for 12-16-19                   7.50


 12/16/2019   RE        ( 2 @0.20 PER PG)                                         0.40


 12/16/2019   RE        ( 169 @0.20 PER PG)                                     33.80


 12/16/2019   RE        ( 32 @0.20 PER PG)                                        6.40


 12/16/2019   RE        ( 22 @0.20 PER PG)                                        4.40


 12/16/2019   RE2       SCAN/COPY ( 5 @0.10 PER PG)                               0.50


 12/16/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                               0.40


 12/16/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                               0.40


 12/16/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                               0.40


 12/16/2019   RE2       SCAN/COPY ( 5 @0.10 PER PG)                               0.50


 12/16/2019   RE2       SCAN/COPY ( 2 @0.10 PER PG)                               0.20


 12/16/2019   RE2       SCAN/COPY ( 17 @0.10 PER PG)                              1.70


 12/16/2019   RE2       SCAN/COPY ( 20 @0.10 PER PG)                              2.00


 12/16/2019   RE2       SCAN/COPY ( 8 @0.10 PER PG)                               0.80
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 12/16/2019   RE2       SCAN/COPY ( 10 @0.10 PER PG)                                   1.00


 12/16/2019   RE2       SCAN/COPY ( 139 @0.10 PER PG)                                13.90


 12/16/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                    0.40


 12/16/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                    0.40


 12/16/2019   RE2       SCAN/COPY ( 19 @0.10 PER PG)                                   1.90


 12/16/2019   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                    0.60


 12/16/2019   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                    0.20


 12/16/2019   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                    0.80


 12/16/2019   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                    0.80


 12/16/2019   RE2       SCAN/COPY ( 17 @0.10 PER PG)                                   1.70


 12/17/2019   AT        Auto Travel Expense [E109] KLS Transportation Services,      69.12
                        Inv. 14816468070, from Residence to LAX, MSP


 12/17/2019   AT        Auto Travel Expense [E109] KLS Transportation Services,     138.24
                        Inv. 14816468070, from Residence to LAX, RMP


 12/17/2019   AT        Auto Travel Expense [E109] KLS Transportation Services,     197.48
                        Inv. 14816468070, from PHL to Hotel, RMP


 12/17/2019   DC        46353.00001 Advita Charges for 12-17-19                        7.50


 12/17/2019   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                    0.10


 12/17/2019   RE2       SCAN/COPY ( 11 @0.10 PER PG)                                   1.10


 12/17/2019   RE2       SCAN/COPY ( 37 @0.10 PER PG)                                   3.70
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 12/17/2019   RE2       SCAN/COPY ( 48 @0.10 PER PG)                                   4.80


 12/17/2019   RE2       SCAN/COPY ( 11 @0.10 PER PG)                                   1.10


 12/17/2019   RE2       SCAN/COPY ( 72 @0.10 PER PG)                                   7.20


 12/17/2019   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                    0.10


 12/17/2019   RE2       SCAN/COPY ( 11 @0.10 PER PG)                                   1.10


 12/17/2019   RE2       SCAN/COPY ( 11 @0.10 PER PG)                                   1.10


 12/17/2019   RE2       SCAN/COPY ( 13 @0.10 PER PG)                                   1.30


 12/17/2019   RE2       SCAN/COPY ( 9 @0.10 PER PG)                                    0.90


 12/17/2019   RE2       SCAN/COPY ( 11 @0.10 PER PG)                                   1.10


 12/18/2019   AT        Auto Travel Expense [E109] KLS Transportation Services,     159.48
                        Inv. 14816468070, from PSZJ DE to PHL, RMP


 12/18/2019   AT        Auto Travel Expense [E109] KLS Transportation Services,     159.48
                        Inv. 14816468070, from PSZJ DE to PHL, RMP


 12/18/2019   AT        Auto Travel Expense [E109] KLS Transportation Services,     158.24
                        Inv. 14816468070, from LAX to Residence, MSP


 12/18/2019   BM        Business Meal [E111] La Fia, Working Meal, JEO              392.40


 12/18/2019   DC        46353.00001 Advita Charges for 12-18-19                        7.50


 12/18/2019   FE        46353.00001 FedEx Charges for 12-18-19                       80.85


 12/18/2019   FE        46353.00001 FedEx Charges for 12-18-19                       73.42


 12/18/2019   FE        46353.00001 FedEx Charges for 12-18-19                       73.42
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 12/18/2019   FE        46353.00001 FedEx Charges for 12-18-19                 32.09


 12/18/2019   RE        ( 20 @0.20 PER PG)                                       4.00


 12/18/2019   RE        ( 10 @0.20 PER PG)                                       2.00


 12/18/2019   RE2       SCAN/COPY ( 165 @0.10 PER PG)                          16.50


 12/18/2019   RE2       SCAN/COPY ( 21 @0.10 PER PG)                             2.10


 12/18/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                              0.40


 12/18/2019   RE2       SCAN/COPY ( 16 @0.10 PER PG)                             1.60


 12/18/2019   RE2       SCAN/COPY ( 30 @0.10 PER PG)                             3.00


 12/18/2019   RE2       SCAN/COPY ( 30 @0.10 PER PG)                             3.00


 12/18/2019   RE2       SCAN/COPY ( 210 @0.10 PER PG)                          21.00


 12/18/2019   RE2       SCAN/COPY ( 3 @0.10 PER PG)                              0.30


 12/18/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                              0.40


 12/18/2019   RE2       SCAN/COPY ( 11 @0.10 PER PG)                             1.10


 12/18/2019   RE2       SCAN/COPY ( 38 @0.10 PER PG)                             3.80


 12/18/2019   RE2       SCAN/COPY ( 3 @0.10 PER PG)                              0.30


 12/18/2019   RE2       SCAN/COPY ( 210 @0.10 PER PG)                          21.00


 12/18/2019   RE2       SCAN/COPY ( 29 @0.10 PER PG)                             2.90


 12/20/2019   RE2       SCAN/COPY ( 178 @0.10 PER PG)                          17.80
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 12/23/2019   RE        ( 11 @0.20 PER PG)                                       2.20


 01/02/2020   CC        Conference Call [E105] AT&T Conference Call, MSP         8.84


 01/03/2020   CC        Conference Call [E105] AT&T Conference Call, MSP         3.75


 01/03/2020   CC        Conference Call [E105] AT&T Conference Call, MSP       12.76


 01/03/2020   CC        Conference Call [E105] AT&T Conference Call, RMP       16.01


 01/03/2020   RE        ( 110 @0.20 PER PG)                                    22.00


 01/03/2020   RE        ( 2 @0.20 PER PG)                                        0.40


 01/03/2020   RE        ( 1 @0.20 PER PG)                                        0.20


 01/03/2020   RE        ( 1 @0.20 PER PG)                                        0.20


 01/03/2020   RE        ( 2 @0.20 PER PG)                                        0.40


 01/03/2020   RE        ( 2 @0.20 PER PG)                                        0.40


 01/03/2020   RE        ( 10 @0.20 PER PG)                                       2.00


 01/03/2020   RE        ( 2 @0.20 PER PG)                                        0.40


 01/03/2020   RE        ( 10 @0.20 PER PG)                                       2.00


 01/03/2020   RE        ( 1 @0.20 PER PG)                                        0.20


 01/03/2020   RE        ( 37 @0.20 PER PG)                                       7.40


 01/03/2020   RE        ( 1 @0.20 PER PG)                                        0.20


 01/03/2020   RE        ( 37 @0.20 PER PG)                                       7.40
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 01/05/2020   CC        Conference Call [E105] AT&T Conference Call, MSP                 0.87


 01/06/2020   RE2       SCAN/COPY ( 636 @0.10 PER PG)                                  63.60


 01/06/2020   RE2       SCAN/COPY ( 318 @0.10 PER PG)                                  31.80


 01/06/2020   RE2       SCAN/COPY ( 72 @0.10 PER PG)                                     7.20


 01/06/2020   RE2       SCAN/COPY ( 1044 @0.10 PER PG)                                104.40


 01/06/2020   RE2       SCAN/COPY ( 126 @0.10 PER PG)                                  12.60


 01/06/2020   RE2       SCAN/COPY ( 144 @0.10 PER PG)                                  14.40


 01/06/2020   RE2       SCAN/COPY ( 252 @0.10 PER PG)                                  25.20


 01/07/2020   BM        Business Meal [E111] Piccolo Paradiso, Inv. PP010720-001,    1,007.40
                        JWD/RMP/MSP


 01/10/2020   PO        46353.00001 :Postage Charges for 01-10-20                        1.45


 01/11/2020   CC        Conference Call [E105] AT&T Conference Call, EAW                 3.95


 01/13/2020   RE2       SCAN/COPY ( 21 @0.10 PER PG)                                     2.10


 01/13/2020   RE2       SCAN/COPY ( 35 @0.10 PER PG)                                     3.50


 01/14/2020   CC        Conference Call [E105] AT&T Conference Call, MSP                 7.49


 01/14/2020   RE2       SCAN/COPY ( 19 @0.10 PER PG)                                     1.90


 01/14/2020   RE2       SCAN/COPY ( 20 @0.10 PER PG)                                     2.00


 01/14/2020   RE2       SCAN/COPY ( 19 @0.10 PER PG)                                     1.90


 01/14/2020   RE2       SCAN/COPY ( 18 @0.10 PER PG)                                     1.80
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 01/14/2020   RE2       SCAN/COPY ( 18 @0.10 PER PG)                                     1.80


 01/15/2020   GP        Guest Parking [E124] 10100 Santa Monica Blvd., MSP             32.00


 01/15/2020   LV        Legal Vision Atty/Mess. Service- Inv. 07412 LA Bankruptcy      65.00
                        Court BDD


 01/16/2020   BM        Business Meal [E111] Grubhub, Panini Kabob, Worknig            30.11
                        Meal, B. Dassa


 01/16/2020   CC        Conference Call [E105] AT&T Conference Call, JWD               10.28


 01/17/2020   GP        Guest Parking [E124] 10100 Santa Monica Blvd., MSP            192.00


 01/21/2020   RE2       SCAN/COPY ( 29 @0.10 PER PG)                                     2.90


 01/22/2020   BM        Business Meal [E111] Piccolo Paradiso, Inv. PP021220-001,     816.87
                        MSP/RMP


 01/22/2020   CC        Conference Call [E105] AT&T Conference Call, MSP                 7.67


 01/23/2020   AT        Auto Travel Expense [E109] KLS Worldwide Transportation       224.99
                        Services, Inv. 16347614266 From Residence to 255 East
                        Temple St. , JWD


 01/27/2020   BM        Business Meal [E111] Grubhub, California Pizza Kitchen,        28.50
                        Working Meal, B. Dassa


 01/27/2020   CC        Conference Call [E105] AT&T Conference Call, RMP               18.57


 01/28/2020   CC        Conference Call [E105] AT&T Conference Call, JWD                 1.61


 01/29/2020   FE        46353.00002 FedEx Charges for 01-29-20                         15.28


 01/30/2020   BM        Business Meal [E111] Grubhub, California Chicken Cafe,         33.58
                        Working Meal, B. Dassa


 01/30/2020   CL        46353.00001 CourtLink charges for 01-30-20                     31.64
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 01/31/2020   AS        Attorney Service [E107] Judicate West, Inv.498167, MSP      7,700.00


 02/02/2020   CC        Conference Call [E105] AT&T Conference Call, MSP              10.98


 02/03/2020   OS        Judicate West, MSP                                          6,980.00


 02/03/2020   RE2       SCAN/COPY ( 24 @0.10 PER PG)                                    2.40


 02/03/2020   RE2       SCAN/COPY ( 20 @0.10 PER PG)                                    2.00


 02/03/2020   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                    1.20


 02/03/2020   RE2       SCAN/COPY ( 528 @0.10 PER PG)                                 52.80


 02/03/2020   RE2       SCAN/COPY ( 216 @0.10 PER PG)                                 21.60


 02/03/2020   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                     0.80


 02/03/2020   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                    1.20


 02/03/2020   RE2       SCAN/COPY ( 318 @0.10 PER PG)                                 31.80


 02/03/2020   RE2       SCAN/COPY ( 150 @0.10 PER PG)                                 15.00


 02/03/2020   RE2       SCAN/COPY ( 120 @0.10 PER PG)                                 12.00


 02/03/2020   RE2       SCAN/COPY ( 50 @0.10 PER PG)                                    5.00


 02/03/2020   RE2       SCAN/COPY ( 28 @0.10 PER PG)                                    2.80


 02/03/2020   RE2       SCAN/COPY ( 14 @0.10 PER PG)                                    1.40


 02/04/2020   AT        Auto Travel Expense [E109]Mileage 9.8 miles (x2 @$0.575)      11.27
                        MSP


 02/04/2020   RE2       SCAN/COPY ( 14 @0.10 PER PG)                                    1.40
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 02/04/2020   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                        1.20


 02/04/2020   RE2       SCAN/COPY ( 14 @0.10 PER PG)                                        1.40


 02/04/2020   RE2       SCAN/COPY ( 14 @0.10 PER PG)                                        1.40


 02/04/2020   RE2       SCAN/COPY ( 22 @0.10 PER PG)                                        2.20


 02/04/2020   RE2       SCAN/COPY ( 31 @0.10 PER PG)                                        3.10


 02/04/2020   RE2       SCAN/COPY ( 31 @0.10 PER PG)                                        3.10


 02/04/2020   RE2       SCAN/COPY ( 31 @0.10 PER PG)                                        3.10


 02/04/2020   RE2       SCAN/COPY ( 46 @0.10 PER PG)                                        4.60


 02/04/2020   RE2       SCAN/COPY ( 44 @0.10 PER PG)                                        4.40


 02/04/2020   RE2       SCAN/COPY ( 14 @0.10 PER PG)                                        1.40


 02/04/2020   RE2       SCAN/COPY ( 31 @0.10 PER PG)                                        3.10


 02/04/2020   RE2       SCAN/COPY ( 46 @0.10 PER PG)                                        4.60


 02/04/2020   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                        1.20


 02/04/2020   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                        1.20


 02/04/2020   TE        Travel Expense [E110] Parking ( Court), MSP                         5.00


 02/05/2020   LV        Legal Vision Atty/Mess. Service- Inv. 50639, delivery to Los      65.00
                        Angeles Bankruptcy Court, MSP


 02/06/2020   AT        Auto Travel Expense [E109] Mileage 9.8 miles (x2                  11.27
                        @$0.575) MSP
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 02/06/2020   CC        Conference Call [E105] AT&T Conference Call, MSP                    2.85


 02/06/2020   RE        ( 125 @0.20 PER PG)                                               25.00


 02/06/2020   TE        Travel Expense [E110] Joes Auto Park, Parking Fee. JWD            30.00


 02/07/2020   TE        Travel Expense [E110] Civic Center Parking Fee, JWD                 9.00


 02/10/2020   LN        46353.00002 Lexis Charges for 02-10-20                           160.39


 02/10/2020   RE2       SCAN/COPY ( 14 @0.10 PER PG)                                        1.40


 02/11/2020   LN        46353.00002 Lexis Charges for 02-11-20                            13.13


 02/11/2020   RE2       SCAN/COPY ( 11 @0.10 PER PG)                                        1.10


 02/11/2020   RE2       SCAN/COPY ( 11 @0.10 PER PG)                                        1.10


 02/11/2020   RE2       SCAN/COPY ( 11 @0.10 PER PG)                                        1.10


 02/11/2020   RE2       SCAN/COPY ( 11 @0.10 PER PG)                                        1.10


 02/11/2020   RE2       SCAN/COPY ( 11 @0.10 PER PG)                                        1.10


 02/12/2020   LN        46353.00002 Lexis Charges for 02-12-20                            27.20


 02/12/2020   LV        Legal Vision Atty/Mess. Service- Inv. 50667, delivery to Los      65.00
                        Angeles Bankruptcy Court, MSP


 02/12/2020   LV        Legal Vision Atty/Mess. Service- Inv. 50668, delivery to Los      65.00
                        Angeles Bankruptcy Court, JWD


 02/12/2020   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                        1.20


 02/13/2020   LN        46353.00002 Lexis Charges for 02-13-20                            66.60
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 02/13/2020   RE2       SCAN/COPY ( 15 @0.10 PER PG)                                        1.50


 02/13/2020   RE2       SCAN/COPY ( 21 @0.10 PER PG)                                        2.10


 02/14/2020   LV        Legal Vision Atty/Mess. Service- Inv. 50688, delivery to Los      97.50
                        Angeles Bankruptcy Court, MSP


 02/14/2020   RE        ( 918 @0.20 PER PG)                                              183.60


 02/14/2020   RE        ( 27 @0.20 PER PG)                                                  5.40


 02/14/2020   RE2       SCAN/COPY ( 14 @0.10 PER PG)                                        1.40


 02/14/2020   RE2       SCAN/COPY ( 17 @0.10 PER PG)                                        1.70


 02/17/2020   RE2       SCAN/COPY ( 13 @0.10 PER PG)                                        1.30


 02/17/2020   RE2       SCAN/COPY ( 19 @0.10 PER PG)                                        1.90


 02/17/2020   RE2       SCAN/COPY ( 39 @0.10 PER PG)                                        3.90


 02/17/2020   RE2       SCAN/COPY ( 11 @0.10 PER PG)                                        1.10


 02/17/2020   RE2       SCAN/COPY ( 52 @0.10 PER PG)                                        5.20


 02/19/2020   LV        Legal Vision Atty/Mess. Service- Inv. 50718, delivery to          65.00
                        Los Angeles Bankruptcy Court, JVR


 02/19/2020   RE2       SCAN/COPY ( 52 @0.10 PER PG)                                        5.20


 02/19/2020   RE2       SCAN/COPY ( 39 @0.10 PER PG)                                        3.90


 02/20/2020   CC        Conference Call [E105] AT&T Conference Call, RMP                    6.83


 02/20/2020   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                         0.30
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 02/20/2020   RE2       SCAN/COPY ( 11 @0.10 PER PG)                             1.10


 02/20/2020   RE2       SCAN/COPY ( 3 @0.10 PER PG)                              0.30


 02/20/2020   RE2       SCAN/COPY ( 1 @0.10 PER PG)                              0.10


 02/20/2020   RE2       SCAN/COPY ( 1 @0.10 PER PG)                              0.10


 02/20/2020   RE2       SCAN/COPY ( 1 @0.10 PER PG)                              0.10


 02/20/2020   RE2       SCAN/COPY ( 1 @0.10 PER PG)                              0.10


 02/20/2020   RE2       SCAN/COPY ( 2 @0.10 PER PG)                              0.20


 02/20/2020   RE2       SCAN/COPY ( 1 @0.10 PER PG)                              0.10


 02/20/2020   RE2       SCAN/COPY ( 1 @0.10 PER PG)                              0.10


 02/20/2020   RE2       SCAN/COPY ( 2 @0.10 PER PG)                              0.20


 02/20/2020   RE2       SCAN/COPY ( 4 @0.10 PER PG)                              0.40


 02/20/2020   RE2       SCAN/COPY ( 1 @0.10 PER PG)                              0.10


 02/20/2020   RE2       SCAN/COPY ( 1 @0.10 PER PG)                              0.10


 02/20/2020   RE2       SCAN/COPY ( 1 @0.10 PER PG)                              0.10


 02/20/2020   RE2       SCAN/COPY ( 19 @0.10 PER PG)                             1.90


 02/20/2020   RE2       SCAN/COPY ( 1 @0.10 PER PG)                              0.10


 02/20/2020   RE2       SCAN/COPY ( 1 @0.10 PER PG)                              0.10


 02/20/2020   RE2       SCAN/COPY ( 3 @0.10 PER PG)                              0.30
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 02/20/2020   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                     0.10


 02/21/2020   RE2       SCAN/COPY ( 13 @0.10 PER PG)                                    1.30


 02/21/2020   RE2       SCAN/COPY ( 10 @0.10 PER PG)                                    1.00


 02/21/2020   RE2       SCAN/COPY ( 25 @0.10 PER PG)                                    2.50


 02/21/2020   RE2       SCAN/COPY ( 5 @0.10 PER PG)                                     0.50


 02/21/2020   RE2       SCAN/COPY ( 21 @0.10 PER PG)                                    2.10


 02/21/2020   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                     0.30


 02/21/2020   RE2       SCAN/COPY ( 5 @0.10 PER PG)                                     0.50


 02/21/2020   RE2       SCAN/COPY ( 44 @0.10 PER PG)                                    4.40


 02/21/2020   RE2       SCAN/COPY ( 33 @0.10 PER PG)                                    3.30


 02/21/2020   RE2       SCAN/COPY ( 46 @0.10 PER PG)                                    4.60


 02/21/2020   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                     0.30


 02/21/2020   RE2       SCAN/COPY ( 21 @0.10 PER PG)                                    2.10


 02/21/2020   RE2       SCAN/COPY ( 7 @0.10 PER PG)                                     0.70


 02/21/2020   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                     0.80


 02/21/2020   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                     0.20


 02/24/2020   LV        Legal Vision Atty/Mess. Service- Inv. 50719, delivery to      97.50
                        Los Angeles Bankruptcy Court, NB


 02/24/2020   RE2       SCAN/COPY ( 29 @0.10 PER PG)                                    2.90
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 02/24/2020   RE2       SCAN/COPY ( 15 @0.10 PER PG)                                    1.50


 02/24/2020   RE2       SCAN/COPY ( 21 @0.10 PER PG)                                    2.10


 02/24/2020   RE2       SCAN/COPY ( 29 @0.10 PER PG)                                    2.90


 02/24/2020   RE2       SCAN/COPY ( 29 @0.10 PER PG)                                    2.90


 02/24/2020   RE2       SCAN/COPY ( 29 @0.10 PER PG)                                    2.90


 02/24/2020   RE2       SCAN/COPY ( 29 @0.10 PER PG)                                    2.90


 02/25/2020   LV        Legal Vision Atty/Mess. Service- Inv. 50731, delivery to      65.00
                        Los Angeles Bankruptcy Court, NB


 02/25/2020   RE        ( 27 @0.20 PER PG)                                              5.40


 02/25/2020   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                     0.30


 02/25/2020   RE2       SCAN/COPY ( 124 @0.10 PER PG)                                 12.40


 02/25/2020   RE2       SCAN/COPY ( 35 @0.10 PER PG)                                    3.50


 02/25/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                     0.60


 02/25/2020   RE2       SCAN/COPY ( 31 @0.10 PER PG)                                    3.10


 02/25/2020   RE2       SCAN/COPY ( 178 @0.10 PER PG)                                 17.80


 02/25/2020   RE2       SCAN/COPY ( 33 @0.10 PER PG)                                    3.30


 02/25/2020   RE2       SCAN/COPY ( 35 @0.10 PER PG)                                    3.50


 02/25/2020   RE2       SCAN/COPY ( 35 @0.10 PER PG)                                    3.50


 02/25/2020   RE2       SCAN/COPY ( 34 @0.10 PER PG)                                    3.40
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 02/25/2020   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                     0.20


 02/25/2020   RE2       SCAN/COPY ( 117 @0.10 PER PG)                                 11.70


 02/25/2020   RE2       SCAN/COPY ( 31 @0.10 PER PG)                                    3.10


 02/26/2020   BM        Business Meal [E111]Panini Kabob Grill, BDD                   22.37


 02/26/2020   PO        46353.00002 :Postage Charges for 02-26-20                     84.00


 02/26/2020   RE2       SCAN/COPY ( 11 @0.10 PER PG)                                    1.10


 02/26/2020   RE2       SCAN/COPY ( 21 @0.10 PER PG)                                    2.10


 02/26/2020   RE2       SCAN/COPY ( 36 @0.10 PER PG)                                    3.60


 02/26/2020   RE2       SCAN/COPY ( 11 @0.10 PER PG)                                    1.10


 02/27/2020   CL        46353.00002 CourtLink charges for 02-27-20                    27.02


 02/27/2020   RE2       SCAN/COPY ( 36 @0.10 PER PG)                                    3.60


 02/27/2020   RE2       SCAN/COPY ( 24 @0.10 PER PG)                                    2.40


 02/27/2020   RE2       SCAN/COPY ( 11 @0.10 PER PG)                                    1.10


 02/27/2020   RE2       SCAN/COPY ( 11 @0.10 PER PG)                                    1.10


 02/27/2020   RE2       SCAN/COPY ( 24 @0.10 PER PG)                                    2.40


 02/27/2020   RE2       SCAN/COPY ( 105 @0.10 PER PG)                                 10.50


 02/28/2020   LV        Legal Vision Atty/Mess. Service- Inv. 50696, delivery to      65.00
                        Los Angeles Bankruptcy Court, NB


 02/28/2020   LV        Legal Vision Atty/Mess. Service- Inv. 50657, delivery to      97.50
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                        Los Angeles Bankruptcy Court, NB


 02/28/2020   RE2       SCAN/COPY ( 32 @0.10 PER PG)                                 3.20


 02/28/2020   RE2       SCAN/COPY ( 156 @0.10 PER PG)                               15.60


 02/28/2020   RE2       SCAN/COPY ( 31 @0.10 PER PG)                                 3.10


 02/29/2020   BM        Business Meal [E111] Chef Mings, working meal, BDD          37.44


 02/29/2020   PAC       Pacer - Court Research                                     465.70

   Total Expenses for this Matter                                            $24,412.02
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                                                REMITTANCE ADVICE

                                    Please inlcude this Remittance with your payment

For current services rendered through:        02/29/2020

Total Fees                                                                                            $417,867.50

Total Expenses                                                                                          24,412.02

Total Due on Current Invoice                                                                          $442,279.52

  Outstanding Balance from prior invoices as of        02/29/2020          (May not include recent payments)

A/R Bill Number           Invoice Date               Fees Billed        Expenses Billed              Balance Due
 123506                  10/31/2019                $201,832.00             $578.90                   $202,410.90

 123983                  10/31/2019                 $40,851.50            $4,502.29                   $45,353.79

 123984                  11/30/2019                $452,860.00            $1,867.74                  $454,727.74

 124406                  12/31/2019                $468,739.50           $19,268.68                  $488,008.18

 124408                  01/31/2020                $510,010.00            $7,836.93                  $517,846.93

             Total Amount Due on Current and Prior Invoices:                                        $2,150,627.06
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                              Pachulski Stang Ziehl & Jones LLP
                                         10100 Santa Monica Blvd.
                                                13th Floor
                                          Los Angeles, CA 90067
                                                                     March 31, 2020
Jia Yueting                                                          Invoice 124692
Faraday Future                                                       Client   46353
18455 S. Figueroa Street                                             Matter   00002
Gardena, CA 90248
                                                                              JWD

RE: Post Petition

 _______________________________________________________________________________________

          STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 03/31/2020
                 FEES                                                $434,309.50
                 EXPENSES                                              $3,849.82
                 TOTAL CURRENT CHARGES                               $438,159.32

                 BALANCE FORWARD                                    $2,150,627.06
                 TOTAL BALANCE DUE                                  $2,588,786.38
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  Summary of Services by Professional
  ID        Name                              Title               Rate       Hours              Amount

 BDD        Dassa, Beth D.                    Paralegal          425.00      91.50           $38,887.50

 GSG        Greenwood, Gail S.                Counsel            825.00       1.40            $1,155.00

 JEO        O'Neill, James E.                 Partner            925.00      10.80            $9,990.00

 JWD        Dulberg, Jeffrey W.               Partner            895.00      98.10           $87,799.50

 KHB        Brown, Kenneth H.                 Partner            995.00       1.30            $1,293.50

 LAF        Forrester, Leslie A.              Other              450.00       6.70            $3,015.00

 MSP        Pagay, Malhar S.                  Counsel            875.00     194.00       $169,750.00

 RMP        Pachulski, Richard M.             Partner           1445.00      81.70       $118,056.50

 SJK        Kahn, Steven J.                   Counsel           1025.00       2.00            $2,050.00

 VAN        Newmark, Victoria A.              Counsel            925.00       2.50            $2,312.50

                                                                           490.00            $434,309.50
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  Summary of Services by Task Code
  Task Code         Description                                           Hours                       Amount

 AA                 Asset Analysis/Recovery[B120]                          2.20                      $1,925.00

 BL                 Bankruptcy Litigation [L430]                         134.80                    $128,848.00

 CA                 Case Administration [B110]                            16.20                     $12,801.00

 CO                 Claims Admin/Objections[B310]                         82.80                     $77,367.00

 CP                 Compensation Prof. [B160]                              4.70                      $3,307.50

 FF                 Financial Filings [B110]                              24.80                     $14,905.00

 FN                 Financing [B230]                                      49.30                     $49,684.50

 LN                 Litigation (Non-Bankruptcy)                            2.80                      $2,506.00

 MC                 Meeting of Creditors [B150]                            0.10                        $89.50

 PD                 Plan & Disclosure Stmt. [B320]                       162.30                    $135,849.50

 RP                 Retention of Prof. [B160]                             10.00                      $7,026.50

                                                                         490.00                    $434,309.50
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  Summary of Expenses
  Description                                                                                    Amount
Bloomberg                                                                               $102.00
CourtLink                                                                                    $5.87
Federal Express [E108]                                                                   $72.51
Filing Fee [E112]                                                                        $62.00
Lexis/Nexis- Legal Research [E                                                          $354.44
Legal Vision Atty Mess Service                                                          $715.00
Pacer - Court Research                                                                  $388.90
Postage [E108]                                                                           $10.95
Reproduction Expense [E101]                                                             $510.60
Reproduction/ Scan Copy                                                                $1,250.30
Transcript [E116]                                                                       $377.25

                                                                                       $3,849.82
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                                                                                      Hours           Rate      Amount

  Asset Analysis/Recovery[B120]
 03/08/2020   MSP     AA        Review and analysis of West Coast valuation issue;     2.20       875.00       $1,925.00
                                email exchange with R. Jia, et al. re same (.10).

                                                                                       2.20                    $1,925.00

  Bankruptcy Litigation [L430]
 03/01/2020   MSP     BL        Finalize draft of evidentiary objections regarding     1.80       875.00       $1,575.00
                                opposition to SLC motion to dismiss; email
                                exchange with Steve J. Kahn regarding same (.10).

 03/01/2020   MSP     BL        Email exchange with Beth Dassa regarding case          0.10       875.00            $87.50
                                chronology for opposition to SLC motion to dismiss.

 03/01/2020   MSP     BL        Email exchange with James O’Neill regarding            0.10       875.00            $87.50
                                declaration in support of opposition to SLC motion
                                to dismiss.

 03/01/2020   MSP     BL        Continue draft of opposition to SLC motion to          2.70       875.00       $2,362.50
                                dismiss and related documents.

 03/01/2020   JWD     BL        Work on opposition to motion to dismiss                2.00       895.00       $1,790.00

 03/01/2020   SJK     BL        Review pertinent pleadings and exhibits and draft      1.90      1025.00       $1,947.50
                                evidentiary objections; Research authentication of
                                translations and augment objections.

 03/01/2020   SJK     BL        Memoranda to and from Malhar S. Pagay regarding        0.10      1025.00        $102.50
                                same.

 03/01/2020   JEO     BL        Review and update YT's Declaration in Support of       0.60       925.00        $555.00
                                Opposition to Motion to Dismiss

 03/01/2020   JEO     BL        Draft Request for Judicial Notice re Opposition to     0.40       925.00        $370.00
                                Motion to Dismiss

 03/01/2020   BDD     BL        Work on opp to motion to dismiss case and emails       0.70       425.00        $297.50
                                M. Pagay re same

 03/02/2020   LAF     BL        Research re: Opposition to motions to dismiss case.    0.50       450.00        $225.00

 03/02/2020   MSP     BL        Email exchange with L. Ekvall regarding potential      0.10       875.00            $87.50
                                nondischargeability issue.

 03/02/2020   MSP     BL        Finalize draft of opposition to SLC motion to          4.30       875.00       $3,762.50
                                dismiss case; email exchange with Richard M.
                                Pachulski, et al. regarding same (.10).

 03/02/2020   JWD     BL        Work on opp re motion to dismiss                       0.80       895.00        $716.00
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                                                                                        Hours           Rate      Amount

 03/02/2020   JEO     BL        Review Opposition to Motion to Dismiss and               4.60       925.00       $4,255.00
                                revisions on related Declaration in Support of
                                Opposition

 03/02/2020   JEO     BL        Review corporate documents needed for opposition         0.70       925.00        $647.50
                                to motion to dismiss

 03/02/2020   BDD     BL        Research re oppositions to motion to dismiss and         0.50       425.00        $212.50
                                emails to/conference with M. Pagay re same

 03/02/2020   BDD     BL        Email L. Forrester re opposition to motion to dismiss    0.10       425.00            $42.50
                                ch. 11 case

 03/03/2020   LAF     BL        Citecheck and edit memo re dismissal.                    2.80       450.00       $1,260.00

 03/03/2020   LAF     BL        Legal research re: Transfer of venue compare to          0.80       450.00        $360.00
                                dismissal.

 03/03/2020   LAF     BL        Legal research re: Choice of law.                        0.50       450.00        $225.00

 03/03/2020   MSP     BL        Review and revise draft of opposition to SLC             5.70       875.00       $4,987.50
                                motion to dismiss per comments and address
                                additional legal research regarding same; email
                                exchanges with Richard M. Pachulski, Jeffrey W.
                                Dulberg, Leslie Ann Forrester, D. Perez, et al.
                                regarding same (.30).

 03/03/2020   MSP     BL        Email exchange with M. Zhang, Richard M.                 0.80       875.00        $700.00
                                Pachulski, Jeffrey W. Dulberg, et al. regarding
                                Creditors interested in joining opposition to
                                dismissal (.20); attention to same.

 03/03/2020   MSP     BL        Email exchanges with James O’Neill, Beth Dassa,          2.30       875.00       $2,012.50
                                M. Zhang, J. Wang, R. Jia et al. regarding Revisions
                                to declaration in support of opposition to SLC
                                motion to dismiss and exhibits regarding same (.20);
                                revise and finalize same.

 03/03/2020   MSP     BL        Review Committee opposition to SLC motion to             0.10       875.00            $87.50
                                dismiss.

 03/03/2020   MSP     BL        Telephone call with M. Kaplan regarding status of        0.10       875.00            $87.50
                                Committee position regarding SLC motion to
                                dismiss, financing, etc.

 03/03/2020   MSP     BL        Finalize for filing: opposition to SLC motion to         2.20       875.00       $1,925.00
                                dismiss, evidentiary objections, declaration and
                                request for judicial notice regarding same.

 03/03/2020   RMP     BL        Review opposition to SLC motion to dismiss, edit         1.90      1445.00       $2,745.50
                                same, conferences with M. Pagay re same and
                                review 12/18 transcript.
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                                                                                         Hours           Rate      Amount

 03/03/2020   JWD     BL        Review opp to motion to dismiss                           0.80       895.00        $716.00

 03/03/2020   JWD     BL        Work on issues for joining creditors and counsel          0.20       895.00        $179.00
                                regarding motion to dismiss

 03/03/2020   JWD     BL        Work on issues for response to motion to dismiss          1.80       895.00       $1,611.00

 03/03/2020   JWD     BL        Coordinate with client regarding joining creditors        0.80       895.00        $716.00
                                and multiple calls with potential counsel regarding
                                same

 03/03/2020   JWD     BL        Work on various issues related to dismiss opposition      0.40       895.00        $358.00
                                and call with Epiq regarding same

 03/03/2020   JWD     BL        Review committee opposition to dismissal motion           0.10       895.00            $89.50

 03/03/2020   JEO     BL        Revisions on declaration in support of opposition to      2.40       925.00       $2,220.00
                                SLC motion to dismiss

 03/03/2020   JEO     BL        Work on translator declaration and request for            0.90       925.00        $832.50
                                judicial notice regarding Declaration in support of
                                Opposition to Motion to Dismiss

 03/03/2020   BDD     BL        Email J. O'Neill re opposition to SLC motion to           0.10       425.00            $42.50
                                dismiss and related pleadings

 03/03/2020   BDD     BL        Emails to/conferences with M. Pagay re opposition         0.60       425.00        $255.00
                                to motion to dismiss

 03/03/2020   BDD     BL        Work on opposition to motion to dismiss, YT               3.80       425.00       $1,615.00
                                Declaration in support of motion to dismiss, request
                                for judicial notice, evidentiary objections and emails
                                to/conferences with/calls to M. Pagay, J. O'Neill, N.
                                Brown, M. Kulick, and S. Lee re same,

 03/03/2020   BDD     BL        Confer wit Epiq re service of pleadings filed today       0.20       425.00            $85.00

 03/03/2020   BDD     BL        Email PSZJ team re C'tee opposition to SLC Motion         0.10       425.00            $42.50
                                to Dismiss

 03/04/2020   MSP     BL        Email exchange with Richard M. Pachulski, Jeffrey         1.50       875.00       $1,312.50
                                W. Dulberg, Debra I. Grassgreen regarding
                                Nondischargeability representation, authorities
                                regarding fee responsibility; review authorities
                                regarding same.

 03/04/2020   MSP     BL        Email exchange with Jeffrey W. Dulberg, et al.            0.40       875.00        $350.00
                                regarding Creditors interested in joining opposition
                                to SLC motion to dismiss.

 03/04/2020   BDD     BL        Email L. Forrester re opp to motion to dismiss case       0.10       425.00            $42.50

 03/05/2020   MSP     BL        Email exchange with Richard M. Pachulski, Jeffrey         0.20       875.00        $175.00
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                                                                                        Hours           Rate      Amount
                                W. Dulberg, et al. regarding Joinders by creditors to
                                opposition to SLC motion to dismiss.
 03/05/2020   MSP     BL        Email exchange with R. Marticello, Jeffrey W.            0.30       875.00        $262.50
                                Dulberg, et al. regarding motion to dismiss H. Liu
                                nondischargeability action (.10); review same.

 03/05/2020   MSP     BL        Email exchange with Jeffrey W. Dulberg, et al.           0.20       875.00        $175.00
                                regarding Nondischargeability action fees.

 03/05/2020   RMP     BL        Review SLC issues and opposition to DIP and              0.70      1445.00       $1,011.50
                                telephone conference with S. Uhland and client re
                                SLC issues.

 03/05/2020   RMP     BL        Review Swift issues and conference with J. Dulberg       0.30      1445.00        $433.50
                                re same.

 03/05/2020   JWD     BL        Call with M Zhang re creditors opposing dismissal        0.20       895.00        $179.00

 03/06/2020   MSP     BL        Email exchange with Jeffrey W. Dulberg, R.               0.20       875.00        $175.00
                                Marticello, et al. regarding Comments on motion to
                                dismiss H. Liu nondischargeability action.

 03/06/2020   JWD     BL        Emails re new decs of telephonic service and             0.30       895.00        $268.50
                                consider issues re secureds

 03/07/2020   MSP     BL        Email exchange with R. Marticello, Jeffrey W.            0.10       875.00            $87.50
                                Dulberg, et al. regarding revised motion to dismiss
                                H. Liu nondischargeability action.

 03/09/2020   MSP     BL        Email exchange with R. Marticello, et al. regarding      0.20       875.00        $175.00
                                motion to dismiss H. Liu nondischargeability action.

 03/10/2020   MSP     BL        Review joinders filed regarding debtor and               0.10       875.00            $87.50
                                committee oppositions to SLC motion to dismiss.

 03/10/2020   MSP     BL        Review and analyze SLC reply regarding motion to         1.10       875.00        $962.50
                                dismiss; email exchange with Beth Dassa, Richard
                                M. Pachulski, et al. regarding case law used in same
                                (.10).

 03/10/2020   RMP     BL        Review SLC motion to dismiss reply and team calls        0.90      1445.00       $1,300.50
                                re same.

 03/10/2020   JWD     BL        Review joinders to opp to motion to dismiss              0.20       895.00        $179.00

 03/10/2020   JWD     BL        Work with R Pachulski re prep for next hearing           0.30       895.00        $268.50

 03/10/2020   JWD     BL        Review SLC reply re dismissal and conf with R            0.50       895.00        $447.50
                                Pachulski re same

 03/10/2020   JWD     BL        Review SLC evidentiary reply and draft notes for         0.30       895.00        $268.50
                                hearing
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 03/10/2020   JWD     BL        Work on prep for hearing                                  0.50       895.00        $447.50

 03/10/2020   BDD     BL        Research pleadings filed re original and subsequent       0.60       425.00        $255.00
                                dismissal motions filed by Shanghai Lan Cai Asset
                                Management and emails to/calls with J. Dulberg re
                                same

 03/10/2020   BDD     BL        Emails J. Dulberg re Motions to Dismiss filed by          0.10       425.00            $42.50
                                SLC

 03/10/2020   BDD     BL        Email M. Pagay re cross checking of reply table of        0.10       425.00            $42.50
                                authorities filed by SLC to see if new cases were
                                included

 03/11/2020   MSP     BL        Review SLC response to evidentiary                        0.10       875.00            $87.50
                                objections/motion to strike.

 03/11/2020   MSP     BL        Review joinders to opposition to SLC motion to            0.10       875.00            $87.50
                                dismiss.

 03/11/2020   MSP     BL        Analysis of creditor support for or against dismissal,    1.10       875.00        $962.50
                                filed joinders; email exchange with Richard M.
                                Pachulski, Jeffrey W. Dulberg, Beth Dassa regarding
                                same (.10).

 03/11/2020   JWD     BL        Review 2nd joinder and draft/review emails re same        0.50       895.00        $447.50
                                and use at hearing

 03/11/2020   JWD     BL        Review evidentiary reply                                  0.20       895.00        $179.00

 03/11/2020   JWD     BL        Review committee joinder                                  0.10       895.00            $89.50

 03/11/2020   BDD     BL        Email PSZJ team re opposition to motion to strike         0.10       425.00            $42.50
                                filed by Shanghai Lan Cai Asset Management

 03/11/2020   BDD     BL        Review authorities in new motion to dismiss,              1.70       425.00        $722.50
                                opposition and reply and compare with authorities
                                filed in prior motion and opposition documents

 03/12/2020   JWD     BL        Work on DIP and DS replies                                3.20       895.00       $2,864.00

 03/12/2020   BDD     BL        Email N. Brown re authorities in new motion to            0.10       425.00            $42.50
                                dismiss, opposition and reply and compare with
                                authorities filed in prior motion and opposition
                                documents

 03/13/2020   MSP     BL        Email exchange with D. Saval, et al. regarding oral       0.10       875.00            $87.50
                                argument of SLC motion to dismiss.

 03/13/2020   RMP     BL        Review of disclosure statement, motion to dismiss         3.80      1445.00       $5,491.00
                                and DIP pleadings and prepare for 3/19 hearings.

 03/14/2020   MSP     BL        Email exchange with S. Uhland, et al. regarding oral      0.10       875.00            $87.50
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                                argument of SLC motion to dismiss.
 03/14/2020   RMP     BL        Begin reviewing cases and preparing for motion to        3.70      1445.00       $5,346.50
                                dismiss hearing.

 03/15/2020   MSP     BL        Email exchange with Richard M. Pachulski, Jeffrey        0.50       875.00        $437.50
                                W. Dulberg regarding dismissal motion hearing
                                logistics.

 03/15/2020   MSP     BL        Review joinder filed by numerous creditors in            0.40       875.00        $350.00
                                support of opposition to SLC motion to dismiss;
                                email exchange with Richard M. Pachulski, Jeffrey
                                W. Dulberg, et al. regarding same (.10).

 03/15/2020   RMP     BL        Continue preparing for motion to dismiss hearing.        3.90      1445.00       $5,635.50

 03/16/2020   MSP     BL        Telephone call with law clerk regarding options for      0.20       875.00        $175.00
                                remote participation in hearing regarding SLC
                                motion to dismiss, etc.

 03/16/2020   MSP     BL        Telephone calls (2) with M. Kaplan regarding             0.20       875.00        $175.00
                                Committee position and argument regarding SLC
                                motion to dismiss.

 03/16/2020   MSP     BL        Attention to and email exchanges with Richard M.         1.20       875.00       $1,050.00
                                Pachulski, Jeffrey W. Dulberg, D. Perez, et al.
                                regarding appearances at hearing on SLC motion to
                                dismiss, court procedures in light of COVID-19.

 03/16/2020   MSP     BL        Attention to materials needed for preparation for        0.90       875.00        $787.50
                                3/19 hearings re SLC motion to dismiss and other
                                matters.

 03/16/2020   MSP     BL        Email exchange with P. Buenger, Richard M.               0.50       875.00        $437.50
                                Pachulski, Jeffrey W. Dulberg, Beth Dassa regarding
                                further extension of nondischargeability deadline for
                                Liuhuan Shan and stipulation regarding same.

 03/16/2020   RMP     BL        Continue preparing for motion to dismiss hearing.        4.60      1445.00       $6,647.00

 03/16/2020   JWD     BL        Work on numerous issues for hearing and prep             2.30       895.00       $2,058.50

 03/16/2020   JWD     BL        Review P Buenger email re 523 action and emails re       0.20       895.00        $179.00
                                same

 03/16/2020   BDD     BL        Review and assemble cases re Motion to Dismiss           4.30       425.00       $1,827.50
                                and emails to R. Pachulski, M. Pagay, M. Kulick
                                and N. Brown re same

 03/17/2020   RMP     BL        Continue reviewing cases and prepare for dismissal       3.80      1445.00       $5,491.00
                                motion.

 03/17/2020   MSP     BL        Telephone call with M. Zhang regarding logistics for     0.20       875.00        $175.00
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                                hearing on 3/19 regarding SLC motion to dismiss,
                                etc.
 03/17/2020   MSP     BL        Telephone call with Richard M. Pachulski regarding         0.10       875.00            $87.50
                                logistics for hearing regarding SLC motion to
                                dismiss, etc.

 03/17/2020   MSP     BL        Email exchange with M. Zhang, Richard M.                   0.40       875.00        $350.00
                                Pachulski, et al. regarding Arrangements for hearing
                                on SLC motion to dismiss and other matters,
                                attendance in light of COVID-19 issues, etc.

 03/17/2020   MSP     BL        Finalize draft of stipulation and order further            0.30       875.00        $262.50
                                extending Liuhuan Shan deadline to file
                                nondischargeability action; email exchange with P.
                                Buenger, et al. regarding same (.10).

 03/17/2020   JWD     BL        Calls with client team and emails re same and with         0.40       895.00        $358.00
                                PSZJ team re hearing

 03/17/2020   JWD     BL        Preparation for hearing regarding Motion to Dismiss        2.00       895.00       $1,790.00
                                and DIP financing

 03/17/2020   BDD     BL        Email M. Pagay re 3rd Shan Stip (re                        0.10       425.00            $42.50
                                dischargeability)

 03/18/2020   MSP     BL        Telephone call with J. Wang regarding appearance           0.10       875.00            $87.50
                                at hearing regarding SLC motion to dismiss.

 03/18/2020   MSP     BL        Telephone call with law clerk regarding court              0.20       875.00        $175.00
                                permission for client to attend telephonically in light
                                of COVID-19.

 03/18/2020   MSP     BL        Telephone call with M. Zhang regarding appearance          0.10       875.00            $87.50
                                at hearing regarding SLC motion to dismiss.

 03/18/2020   MSP     BL        Telephone call with Richard M. Pachulski regarding         0.10       875.00            $87.50
                                appearance at hearing regarding SLC motion to
                                dismiss.

 03/18/2020   MSP     BL        Email exchange with P. Buenger, et al. regarding           0.50       875.00        $437.50
                                revised stipulation regarding nondischargeability
                                deadline regarding Liuhuan Shan; finalize for filing.

 03/18/2020   MSP     BL        Email exchange with S. Uhland, D. Perez, Richard           0.20       875.00        $175.00
                                M. Pachulski et al. regarding appearance at hearing
                                regarding SLC motion to dismiss.

 03/18/2020   MSP     BL        Attention to hearing preparation and appearance            3.10       875.00       $2,712.50
                                logistics regarding SLC motion to dismiss and other
                                matters set for hearing; email exchange with Richard
                                M. Pachulski, Jeffrey W. Dulberg, T. Li, et al.
                                regarding same (.20).
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 03/18/2020   MSP     BL        Email exchange with Richard M. Pachulski, Jeffrey      0.30       875.00        $262.50
                                W. Dulberg, Beth Dassa regarding creditors in favor
                                of denying dismissal, newly-filed joinders, etc.

 03/18/2020   RMP     BL        Prepare for motion to dismiss hearing, including       3.30      1445.00       $4,768.50
                                reviewing additional cases, Delaware transcript and
                                prepare presentation.

 03/18/2020   JWD     BL        Call with Richard Pachulski regarding hearing          0.20       895.00        $179.00

 03/18/2020   JWD     BL        Review materials for hearing                           1.50       895.00       $1,342.50

 03/18/2020   JWD     BL        Calls with client reps re hearing                      0.40       895.00        $358.00

 03/19/2020   MSP     BL        Appear at hearings regarding SLC motion to             4.00       875.00       $3,500.00
                                dismiss, case status conference, DIP financing
                                motion, plan solicitation procedures motion.

 03/19/2020   MSP     BL        Telephone calls (2) with Beth Dassa regarding          0.20       875.00        $175.00
                                Orders needed regarding today’s hearings.

 03/19/2020   MSP     BL        Telephone call with M. Kaplan regarding results of     0.10       875.00            $87.50
                                hearing regarding SLC motion to dismiss, etc.

 03/19/2020   MSP     BL        Telephone calls (4) with Beth Dassa regarding          0.40       875.00        $350.00
                                Orders needed regarding today’s hearings.

 03/19/2020   MSP     BL        Review, revise and finalize order denying SLC          0.60       875.00        $525.00
                                motion to dismiss.

 03/19/2020   RMP     BL        Prepare for, travel to and from, and participate in    4.90      1445.00       $7,080.50
                                motion to dismiss, DIP motion, and DS hearing.

 03/19/2020   JWD     BL        Review and revise various hearing orders               0.50       895.00        $447.50

 03/19/2020   JWD     BL        Review new joinder to motion to dismiss                0.10       895.00            $89.50

 03/19/2020   JWD     BL        Review more joinders to motion to dismiss and          0.40       895.00        $358.00
                                emails with team re same

 03/19/2020   JWD     BL        Travel to/from and attend hearing on dismissal,        5.60       895.00       $5,012.00
                                disclosure statement and financing

 03/19/2020   JWD     BL        Review and revise order denying dismissal              0.20       895.00        $179.00

 03/19/2020   BDD     BL        Email PSZJ team re additional joinder to Motion to     0.10       425.00            $42.50
                                Dismiss filed by creditors

 03/19/2020   BDD     BL        Prepare order denying Motion to Dismiss and emails     1.10       425.00        $467.50
                                J. Dulberg and M. Pagay re same

 03/19/2020   BDD     BL        Attend to prep of Order denying motion to dismiss      0.50       425.00        $212.50
                                and confer with J. Dulberg, M. Pagay and N. Deleon
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                                                                                         Hours            Rate        Amount
                                re same
 03/20/2020   MSP     BL        Email exchange with R. Marticello, et al. regarding        0.50       875.00          $437.50
                                potential resolution of Henry Liu claim and
                                nondischargeability action.

 03/20/2020   RMP     BL        Telephone conference with JW re SLC discussion             0.60      1445.00          $867.00
                                and follow-up with S. Uhland re same.

 03/20/2020   JWD     BL        Research re 3018 issue                                     1.20       895.00         $1,074.00

 03/20/2020   JWD     BL        Review entered order re MTD                                0.10       895.00            $89.50

 03/20/2020   JWD     BL        Emails with mediator and others re update                  0.30       895.00          $268.50

 03/20/2020   BDD     BL        Prepare chart for client re relevant dates relating to     0.40       425.00          $170.00
                                adversary proceeding (Liu v. Jia)

 03/20/2020   BDD     BL        Email PSZJ team re entered order on Order denying          0.10       425.00            $42.50
                                motion to dismiss case, filed by SLC

 03/23/2020   MSP     BL        Email exchange with M. Zhang, et al. re: transcript        0.10       875.00            $87.50
                                of 3/19 proceedings.

 03/23/2020   MSP     BL        Email exchange with R. Marticello, et al. re: draft        0.10       875.00            $87.50
                                settlement template re: H. Liu litigation.

 03/24/2020   JWD     BL        Monitor issues re non-dischargeability case                0.20       895.00          $179.00

 03/25/2020   JWD     BL        Review motion default judgment and emails re same          0.20       895.00          $179.00

 03/31/2020   MSP     BL        Email exchange with A. Behlmann, et al. re: H. Liu         0.10       875.00            $87.50
                                claim and litigation.

                                                                                         134.80                    $128,848.00

  Case Administration [B110]
 03/01/2020   BDD     CA        Email M. Pagay re 2015.3 report                            0.10       425.00            $42.50

 03/02/2020   BDD     CA        Email M. Kulick re filed notices of appearance             0.10       425.00            $42.50

 03/03/2020   BDD     CA        Email Epiq re website issues and confer with J.            0.10       425.00            $42.50
                                Dulberg re same

 03/04/2020   MSP     CA        Attention to logistics regarding all hands discussion      0.60       875.00          $525.00
                                regarding current case status.

 03/04/2020   JWD     CA        Review agenda for call and draft emails regarding          0.20       895.00          $179.00
                                same

 03/04/2020   JWD     CA        Call with client team regarding next steps                 1.50       895.00         $1,342.50

 03/04/2020   BDD     CA        Update critical dates memo and email M. DesJardien         0.50       425.00          $212.50
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                                                                                       Hours           Rate      Amount
                                re same
 03/04/2020   BDD     CA        Email J. Dulberg and M. Pagay re updated critical       0.10       425.00            $42.50
                                dates

 03/10/2020   BDD     CA        Email J. O'Neill and J. Lucas re ECF notifications      0.10       425.00            $42.50

 03/11/2020   JWD     CA        Email with B Dassa re decs to file re notice            0.10       895.00            $89.50

 03/14/2020   JWD     CA        Review and respond to emails re scheduling and          0.50       895.00        $447.50
                                hearing

 03/16/2020   JWD     CA        Emails with Committee counsel and team re hearing       0.20       895.00        $179.00
                                issues

 03/16/2020   JWD     CA        Work on various issues re hearing attendance for all    0.80       895.00        $716.00
                                parties and emails re same

 03/18/2020   JWD     CA        Email with David Meadows regarding hearing              0.10       895.00            $89.50

 03/18/2020   JWD     CA        Emails with S Uhland regarding plan motion and          0.20       895.00        $179.00
                                related issues

 03/18/2020   JWD     CA        Email with V Sahn regarding hearing                     0.10       895.00            $89.50

 03/18/2020   JWD     CA        Work on statement for public release after hearing      1.70       895.00       $1,521.50

 03/19/2020   MSP     CA        Email exchange with R. Soref, Jeffrey W. Dulberg,       0.10       875.00            $87.50
                                et al. regarding Order vacating status conference.

 03/19/2020   JWD     CA        Further work on press release                           0.60       895.00        $537.00

 03/19/2020   JWD     CA        Work on press release following disclosure              0.30       895.00        $268.50
                                statement approval

 03/19/2020   JWD     CA        WIP list review                                         0.20       895.00        $179.00

 03/19/2020   BDD     CA        Emails J. Dulberg and M. Pagay re court operations      0.20       425.00            $85.00

 03/20/2020   MSP     CA        Email exchange with Beth Dassa regarding critical       0.20       875.00        $175.00
                                case and plan deadlines.

 03/20/2020   JWD     CA        Respond to inquiry from press re case status            0.30       895.00        $268.50

 03/20/2020   JWD     CA        Call with counsel team re case update                   0.80       895.00        $716.00

 03/20/2020   JWD     CA        Call with client re case update                         1.10       895.00        $984.50

 03/20/2020   JWD     CA        Review calendar entries and work on updates re          0.20       895.00        $179.00
                                same

 03/20/2020   BDD     CA        Update critical dates memo and multiple calls           2.80       425.00       $1,190.00
                                with/emails to J. Dulberg, M. Pagay, and M.
                                DesJardien re same
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 03/23/2020   MSP     CA        Telephone call with Beth Dassa re: critical case and     0.10       875.00            $87.50
                                plan dates.

 03/23/2020   MSP     CA        Review and provide revisions for critical plan and       0.80       875.00         $700.00
                                case dates; email exchange with Jeffrey W. Dulberg,
                                Beth Dassa re: same (.10)

 03/23/2020   MSP     CA        Email exchange with R. Soref, Jeffrey W. Dulberg         0.10       875.00            $87.50
                                re: vacation of case status conference.

 03/23/2020   RMP     CA        Review and respond to e-mails re PR issues.              0.40      1445.00         $578.00

 03/23/2020   JWD     CA        Review and revise case task list                         0.20       895.00         $179.00

 03/23/2020   JWD     CA        Review and revise case task list                         0.20       895.00         $179.00

 03/24/2020   JWD     CA        Respond to press inquiries                               0.40       895.00         $358.00

 03/31/2020   JWD     CA        Review WSJ story                                         0.20       895.00         $179.00

                                                                                        16.20                    $12,801.00

  Claims Admin/Objections[B310]
 03/03/2020   MSP     CO        Telephone call from law clerk regarding Court            0.30       875.00         $262.50
                                access to proofs of claim (.10); email exchange with
                                Richard M. Pachulski, Jeffrey W. Dulberg, et al.
                                regarding same.

 03/03/2020   JWD     CO        Jan bill and code review                                 0.20       895.00         $179.00

 03/04/2020   MSP     CO        Email exchange with R. Jia, T. Li, et al. regarding      1.50       875.00        $1,312.50
                                spreadsheet regarding potential objections to claims,
                                claims agent register and analysis of same.

 03/04/2020   MSP     CO        Review and analysis of claims register, voting list      2.80       875.00        $2,450.00
                                and client spreadsheet.

 03/04/2020   RMP     CO        Review claim spreadsheet and analyze claims.             0.60      1445.00         $867.00

 03/04/2020   BDD     CO        Address website and claims issues with Epiq (.40);       0.50       425.00         $212.50
                                emails J. Dulberg and M. Pagay re same (.10)

 03/04/2020   BDD     CO        Email TJ Li re updated claims register                   0.10       425.00            $42.50

 03/05/2020   MSP     CO        Email exchange with T. Li, L. Sun, et al. regarding      0.20       875.00         $175.00
                                China Secured Claims.

 03/05/2020   MSP     CO        Address claims and noticing agent website offline        1.70       875.00        $1,487.50
                                status due to hacking attack, missing claims in
                                database list; email exchange with Jeffrey W.
                                Dulberg, S. Persichilli, R. Jia, Beth Dassa, K.
                                Mailloux, et al. regarding same (.10).
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 03/05/2020   RMP     CO        Review claims issues and conferences with M.           0.90      1445.00       $1,300.50
                                Pagay re same.

 03/05/2020   BDD     CO        Emails Epiq re filed proofs of claim                   0.20       425.00            $85.00

 03/05/2020   BDD     CO        Confer with and emails to M. Pagay re filed proofs     0.20       425.00            $85.00
                                of claim

 03/06/2020   MSP     CO        Address claims and noticing agent website offline      1.60       875.00       $1,400.00
                                status due to hacking attack, missing claims in
                                database list; email exchange with D. Perez, Beth
                                Dassa, K. Mailloux et al. regarding same (.10).

 03/06/2020   RMP     CO        Review Liu issues and review and respond to            0.30      1445.00        $433.50
                                e-mails re same.

 03/06/2020   RMP     CO        Conference with M. Pagay and review and respond        0.70      1445.00       $1,011.50
                                to e-mails re proofs of claim.

 03/08/2020   RMP     CO        Review and respond to various e-mails re schedule      0.60      1445.00        $867.00
                                amendments.

 03/09/2020   MSP     CO        Email exchange with J. Wang, et al. regarding          0.40       875.00        $350.00
                                claims analysis.

 03/09/2020   MSP     CO        Email exchange with T. Li, et al. regarding review     0.20       875.00        $175.00
                                of proofs of claim.

 03/09/2020   MSP     CO        Email exchange with D. Perez, Beth Dassa, J. Wang,     0.30       875.00        $262.50
                                K. Mailloux et al. regarding uploading of claims to
                                alternate database for analysis, review of same.

 03/09/2020   RMP     CO        Review claims analysis and conference call re best     1.20      1445.00       $1,734.00
                                options to deal with claims process.

 03/09/2020   BDD     CO        Email B. Gallerie at Epiq re all filed claims          0.10       425.00            $42.50

 03/09/2020   BDD     CO        Review all claims sent by Epiq and emial D. Perez      0.50       425.00        $212.50
                                re same

 03/09/2020   BDD     CO        Email B. Gallerie re all claims to be uploaded to      0.10       425.00            $42.50
                                court's claims register

 03/10/2020   JWD     CO        Work on claims review issues and emails re same        0.60       895.00        $537.00

 03/10/2020   BDD     CO        Email S. Persichelli re updated claims register        0.10       425.00            $42.50

 03/11/2020   BDD     CO        Research claim filed by Shenzhen LeTv M&A Fund         0.50       425.00        $212.50
                                and emails R. Pachulski, J. Dulberg and M. Pagay re
                                same (.40); call with M. Pagay re same (.10)

 03/12/2020   MSP     CO        Email exchange with P. Buenger et al. regarding        2.80       875.00       $2,450.00
                                explanation and supporting documentation regarding
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                                claims of Liuhuan Han (.10); begin review and
                                analysis of same.
 03/12/2020   RMP     CO        Review Shan/Liu exhibits and telephone conference      0.70      1445.00       $1,011.50
                                with M. Pagay re same.

 03/13/2020   MSP     CO        Continue review and analysis of supporting             3.10       875.00       $2,712.50
                                materials regarding Liuhuan Shan claims and begin
                                analysis of potential bases for objection.

 03/14/2020   MSP     CO        Continue review and analysis of supporting             3.10       875.00       $2,712.50
                                materials regarding Liuhuan Shan claims and begin
                                analysis of potential bases for objection.

 03/15/2020   MSP     CO        Continue review and analysis of supporting             2.50       875.00       $2,187.50
                                materials regarding Liuhuan Shan claims and begin
                                analysis of potential bases for objection.

 03/16/2020   RMP     CO        Review and respond to e-mails re Hong Liu claim.       0.40      1445.00        $578.00

 03/16/2020   BDD     CO        Email T. Li re updated claims register                 0.10       425.00            $42.50

 03/18/2020   MSP     CO        Email exchange with S. Uhland, Jeffrey W. Dulberg,     1.10       875.00        $962.50
                                L. Sun, Beth Dassa, et al. regarding claims
                                objections and temporary allowance for voting
                                purposes and review solicitation and plan documents
                                regarding same.

 03/18/2020   RMP     CO        Review claims issues.                                  0.40      1445.00        $578.00

 03/18/2020   BDD     CO        Email S. Pershichelli re update claims register        0.10       425.00            $42.50

 03/18/2020   BDD     CO        Email R. Moon re updated claims register               0.10       425.00            $42.50

 03/21/2020   MSP     CO        Email exchange with J. Wang, L. Sun et al. re:         0.60       875.00        $525.00
                                Evergrande claim.

 03/21/2020   JWD     CO        Review emails re Evergrande claim                      0.20       895.00        $179.00

 03/22/2020   MSP     CO        Email exchange with J. Wang, V. Sekhon, et al. re:     0.20       875.00        $175.00
                                Evergrande claim (.10); review and revise
                                communication with same.

 03/23/2020   MSP     CO        Address currency exchange issue, including research    1.50       875.00       $1,312.50
                                of various publications of same, for purposes of
                                calculation of allowed claim as of petition date;
                                email exchange with R. Jia, et al. re: same (.20).

 03/23/2020   MSP     CO        Email exchange with L. Sun, S. Uhland, et al. re:      0.50       875.00        $437.50
                                claims analysis (.10); review and analysis of same.

 03/23/2020   RMP     CO        Review and respond to issues re exchange rate and      0.70      1445.00       $1,011.50
                                claims issues and telephone conference with M.
                                Pagay re same.
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 03/25/2020   MSP     CO        Telephone conference with D. Perez, Jeffrey W.            0.90       875.00        $787.50
                                Dulberg, et al. re: Claims objections.

 03/25/2020   MSP     CO        Address claims slated for potential objection for         2.80       875.00       $2,450.00
                                voting purposes, including review of proofs of
                                claim; email exchange with D. Perez, T. Li, et al. re:
                                same (.10).

 03/25/2020   MSP     CO        Email exchange with Richard M. Pachulski, M.              0.20       875.00        $175.00
                                Zhang, et al. re: Wen claims.

 03/25/2020   RMP     CO        Review claims analysis, team call re same and             1.30      1445.00       $1,878.50
                                follow-up with M. Pagay and J. Dulberg re claim
                                next steps.

 03/25/2020   RMP     CO        Review Wen issues and telephone conference with           0.60      1445.00        $867.00
                                M. Pagay re same.

 03/25/2020   JWD     CO        Attend call re claim objections                           0.70       895.00        $626.50

 03/25/2020   JWD     CO        Analyze claims chart (.2); Review and respond to          0.70       895.00        $626.50
                                various emails re objections

 03/25/2020   JWD     CO        Review claims update and emails re same                   0.30       895.00        $268.50

 03/25/2020   JWD     CO        Review new claims chart and emails re same                0.30       895.00        $268.50

 03/26/2020   MSP     CO        Telephone calls (2) with Beth Dassa re: categories of     0.20       875.00        $175.00
                                claims objections.

 03/26/2020   MSP     CO        Email exchange with Beth Dassa re: claims                 0.10       875.00            $87.50
                                objections.

 03/26/2020   MSP     CO        Email exchange with P. Buenger et al. re: status of       0.10       875.00            $87.50
                                claims analysis and review.

 03/26/2020   MSP     CO        Review and analysis of claims slated for objection;       3.70       875.00       $3,237.50
                                email exchange with D. Perez, M. Zhang, Richard
                                M. Pachulski, et al. re: same (.20).

 03/26/2020   RMP     CO        Review Wen and Tianjin claim issues and telephone         0.70      1445.00       $1,011.50
                                conference with M. Pagay re same.

 03/26/2020   RMP     CO        Review and respond to e-mails re Henry Liu claim.         0.30      1445.00        $433.50

 03/27/2020   MSP     CO        Continue research re: appropriate exchange rate for       3.80       875.00       $3,325.00
                                use re: section 502 allowance purposes, lack of
                                published data from Federal Reserve on petition date
                                and other issues; email exchange with R. Jia, Leslie
                                Ann Forrester, Beth Dassa, et al. re: questions re:
                                same (.20).

 03/28/2020   MSP     CO        Email exchange with D. Perez, L. Sun, et al. re:          0.10       875.00            $87.50
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                                claims analysis update.
 03/28/2020   MSP     CO        Email exchange with T. Li, L. Sun, et al. re: bases       0.10       875.00            $87.50
                                for claims objection.

 03/29/2020   MSP     CO        Begin drafting and revising objections to claims          3.20       875.00       $2,800.00
                                templates.

 03/29/2020   JWD     CO        Review claim objection chart and emails re same           0.30       895.00        $268.50

 03/30/2020   LAF     CO        Legal research re: Exchange rates & claims.               0.80       450.00        $360.00

 03/30/2020   MSP     CO        Telephone conference with D. Perez, T. Li, et al. re:     0.60       875.00        $525.00
                                claims objections.

 03/30/2020   MSP     CO        Telephone call with W Pao re: potential alter ego         0.10       875.00            $87.50
                                claim objections.

 03/30/2020   MSP     CO        Telephone calls (4: .10; .10; .10; .30; .20) with Beth    0.80       875.00        $700.00
                                Dassa re: completion of claims objection templates,
                                plan-related filings, etc.

 03/30/2020   MSP     CO        Telephone call with Leslie Ann Forrester re:              0.10       875.00            $87.50
                                research needed to support certain claims objection
                                bases.

 03/30/2020   MSP     CO        Telephone call with D. Perez re: filing of plan           0.10       875.00            $87.50
                                notice and other package documents.

 03/30/2020   MSP     CO        Telephone calls (2) with D. Perez re: claims              0.20       875.00        $175.00
                                objections.

 03/30/2020   MSP     CO        Review, research and analysis re: claims objections       4.80       875.00       $4,200.00
                                based on alter ego, VIZIO, O-Film and Han’s
                                dockets and pleadings; email exchange with W. Pao
                                re: same (.10).

 03/30/2020   MSP     CO        Review latest analysis re: potential claims               2.70       875.00       $2,362.50
                                objections and claim documentation; email exchange
                                with D. Perez, T. Li re: same.

 03/30/2020   MSP     CO        Email exchange with P. Buenger, et al. re: client         0.10       875.00            $87.50
                                discussion re: potential resolution (Liuhuan Shan).

 03/30/2020   MSP     CO        Email exchange with M. Zhang, L. Sun, D. Perez, et        2.70       875.00       $2,362.50
                                al. re: conclusion after analysis re: claims for which
                                objections should be filed (.40); follow-up research
                                in response to client response to same.

 03/30/2020   RMP     CO        Review and analyze claims analysis and e-mails            1.60      1445.00       $2,312.00
                                with team and telephone conferences with M. Pagay
                                and J. Dulberg re next steps re claim issues and
                                voting.
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 03/30/2020   JWD     CO        Work on claim objections                                 1.30       895.00        $1,163.50

 03/30/2020   JWD     CO        Review Wei Gan claim and emails re same                  0.20       895.00         $179.00

 03/30/2020   JWD     CO        Review claims chart and emails re same                   0.30       895.00         $268.50

 03/30/2020   BDD     CO        Email S. Persichelli re updated claims register          0.10       425.00            $42.50

 03/31/2020   KHB     CO        Emails with Malhar Pagay re estate's alter ego           1.30       995.00        $1,293.50
                                claims and standing issues and review authority and
                                complaints re same.

 03/31/2020   GSG     CO        Emails to / from M. Pagay and K. Brown re alter ego      1.40       825.00        $1,155.00
                                claims; review state court complaints.

 03/31/2020   MSP     CO        Telephone conference with D. Perez, T. Li, et al. re:    1.10       875.00         $962.50
                                claims objections.

 03/31/2020   MSP     CO        Telephone call with W. Pao re: Alter ego claims          0.10       875.00            $87.50
                                objections.

 03/31/2020   MSP     CO        Telephone call with Beth Dassa re: claims objection      0.70       875.00         $612.50
                                templates.

 03/31/2020   MSP     CO        Telephone call with Beth Dassa re: additional claims     0.30       875.00         $262.50
                                objection templates needed, etc.

 03/31/2020   MSP     CO        Email exchange with W. Pao, et al. re: alter             0.20       875.00         $175.00
                                ego-based claim objections.

 03/31/2020   MSP     CO        Finalize research re: objections to alter ego claims;    2.80       875.00        $2,450.00
                                email exchange with Ken H. Brown, GSG, et al. re:
                                same (.20).

 03/31/2020   MSP     CO        Email exchange with Beth Dassa re: claims                2.80       875.00        $2,450.00
                                objection templates; review and revise same.

 03/31/2020   JWD     CO        Work on claims objection issues and review issues        0.70       895.00         $626.50
                                re same

                                                                                        82.80                    $77,367.00

  Compensation Prof. [B160]
 03/01/2020   JWD     CP        Review and revise postpetition bills regarding UST       0.30       895.00         $268.50
                                codes and write downs

 03/02/2020   JWD     CP        Work on issues re time code and billing                  0.30       895.00         $268.50

 03/03/2020   MSP     CP        Email exchange with Jeffrey W. Dulberg, Richard          0.10       875.00            $87.50
                                M. Pachulski, et al. regarding review of billing.

 03/03/2020   BDD     CP        Email J. Dulberg re Jan. fees                            0.10       425.00            $42.50
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 03/19/2020   MSP     CP        Email exchange with Jeffrey W. Dulberg, et al.          0.10       875.00            $87.50
                                regarding fee application notice and process.

 03/19/2020   JWD     CP        Various emails regarding interim fee application and    0.30       895.00        $268.50
                                45 day notice

 03/19/2020   BDD     CP        Email J. Dulberg re hearing on interim fee              0.10       425.00            $42.50
                                applications

 03/19/2020   BDD     CP        Review Judge's calendar re hearing dates for fee        0.70       425.00        $297.50
                                applications (.10); Prepare 45 day notice re hearing
                                on interim fee applications (.50); emails J. Dulberg
                                re same (.10)

 03/20/2020   JWD     CP        Emails re 45 day notice and review same                 0.20       895.00        $179.00

 03/20/2020   BDD     CP        Confer with/emails to J. Dulberg and N. Brown re        0.50       425.00        $212.50
                                45 day notice (re setting of hearing on interim fee
                                applications)

 03/24/2020   MSP     CP        Email exchange with Jeffrey W. Dulberg re: PSZJ         0.10       875.00            $87.50
                                fee application.

 03/24/2020   JWD     CP        Initial fee app work                                    0.40       895.00        $358.00

 03/24/2020   BDD     CP        Email S. Pershsicelli re Epiq fee application           0.10       425.00            $42.50

 03/24/2020   BDD     CP        Call with J. Dulberg re fee applications                0.10       425.00            $42.50

 03/25/2020   BDD     CP        Email OMM team re 1st interim fee applications          0.10       425.00            $42.50

 03/25/2020   BDD     CP        Email R. Moon re first interim fee applications         0.10       425.00            $42.50

 03/25/2020   BDD     CP        Confer with J. Dulberg re 1st interim fee               0.10       425.00            $42.50
                                applications

 03/26/2020   JWD     CP        Emails with R Saunders re A Gerten inquiries            0.20       895.00        $179.00

 03/30/2020   JWD     CP        Work on fee app issues                                  0.80       895.00        $716.00

                                                                                        4.70                    $3,307.50

  Financial Filings [B110]
 03/02/2020   BDD     FF        Email M. DesJardien re amended schedules                0.10       425.00            $42.50

 03/02/2020   BDD     FF        Email J. Dulberg re amended schedules                   0.10       425.00            $42.50

 03/03/2020   BDD     FF        Confer with M. Pagay re amended schedules               0.10       425.00            $42.50

 03/05/2020   BDD     FF        Email L. Sun re Amended Schedules/SOFAs                 0.10       425.00            $42.50

 03/05/2020   BDD     FF        Confer with M. Pagay re Amended                         3.30       425.00       $1,402.50
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                                Schedules/SOFAs and further revisions re same
                                (2.8); emails N. Brown re same (.20)
 03/06/2020   MSP     FF        Email exchange with Beth Dassa regarding                  0.20       875.00        $175.00
                                Amended schedules.

 03/06/2020   MSP     FF        Review and analysis of potential amendments to            1.80       875.00       $1,575.00
                                schedules, including potential valuation and
                                receivable issues; email exchange with R. Jia, M.
                                Zhang, et al. regarding same (.10).

 03/06/2020   BDD     FF        Continue working on Amended Schedules &                   4.00       425.00       $1,700.00
                                SOFAs; multiple emails to/calls with M. Pagay and
                                N. Brown re same

 03/06/2020   BDD     FF        Email M. Pagay re Amended Schedules, SOFAs,               0.10       425.00            $42.50
                                and cover sheets

 03/07/2020   MSP     FF        Email exchange with R. Jia, S. Uhland, et al.             0.20       875.00        $175.00
                                regarding potential amendments to schedules,
                                including potential valuation and receivable issues.

 03/08/2020   MSP     FF        Email exchange with M. Zhang, et al. regarding            1.10       875.00        $962.50
                                potential amendments to schedules, including
                                potential valuation and receivable issues.

 03/08/2020   MSP     FF        Telephone call with M. Zhang regarding potential          0.10       875.00            $87.50
                                receivable issue.

 03/09/2020   MSP     FF        Email exchange with R. Jia, et al. regarding potential    0.20       875.00        $175.00
                                amendment regarding asset value.

 03/09/2020   MSP     FF        Review and analysis of draft of amended schedules;        2.40       875.00       $2,100.00
                                email exchange with Beth Dassa, L. Sun, R. Jia
                                regarding same (.10).

 03/09/2020   MSP     FF        Review and comment on revised amended schedules           1.30       875.00       $1,137.50
                                and statement of financial affairs; email exchange
                                with Beth Dassa regarding same (.10).

 03/09/2020   MSP     FF        Final review of amended schedules and statement of        1.10       875.00        $962.50
                                financial affairs for filing; email exchange with L.
                                Sun, Beth Dassa, et al. regarding same (.10).

 03/09/2020   BDD     FF        Finalize Amended schedules/sofas and multiple             4.30       425.00       $1,827.50
                                emails to/calls with M. Pagay, L. Sun and N. Brown
                                re same

 03/09/2020   BDD     FF        Prepare Notice of Filing of Amended Schedules and         0.40       425.00        $170.00
                                emails M. Pagay and N. Brown re same

 03/10/2020   BDD     FF        Email M. Pagay re service of amended                      0.10       425.00            $42.50
                                schedules/SOFAs
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 03/10/2020   BDD     FF        Work on service lists for amended schedules and       1.00       425.00         $425.00
                                emails to/calls with Epiq and N. Brown re same

 03/12/2020   MSP     FF        Email exchange with R. Jia, Beth Dassa regarding      0.10       875.00            $87.50
                                Monthly Operating Report.

 03/12/2020   BDD     FF        Email M. Pagay re February MOR                        0.10       425.00            $42.50

 03/12/2020   BDD     FF        Email RK re Feb. MOR                                  0.10       425.00            $42.50

 03/13/2020   MSP     FF        Email exchange with Beth Dassa, R. Jia, R. Moon       0.20       875.00         $175.00
                                regarding monthly operating report information.

 03/13/2020   BDD     FF        Work on Feb. MOR and emails to/call with M.           0.80       425.00         $340.00
                                Pagay re same

 03/13/2020   BDD     FF        Email RK re Feb. MOR                                  0.10       425.00            $42.50

 03/15/2020   MSP     FF        Revise monthly operating report; email exchange       0.60       875.00         $525.00
                                with R. Jia, et al. regarding same (.10).

 03/16/2020   MSP     FF        Telephone calls (2) with Beth Dassa regarding         0.20       875.00         $175.00
                                monthly operating report, etc.

 03/16/2020   MSP     FF        Email exchange with Beth Dassa regarding Monthly      0.10       875.00            $87.50
                                Operating Report.

 03/16/2020   MSP     FF        Email exchange with D. Perez, R. Jia, et al.          0.10       875.00            $87.50
                                regarding amended schedules information.

 03/16/2020   BDD     FF        Email M. Pagay re Feb. MOR                            0.10       425.00            $42.50

 03/16/2020   BDD     FF        Further revisions to Feb. MOR and emails M. Pagay     0.20       425.00            $85.00
                                re same

 03/16/2020   BDD     FF        Email R. Jia re finalized Feb. MOR                    0.10       425.00            $42.50

                                                                                     24.80                    $14,905.00

  Financing [B230]
 03/02/2020   RMP     FN        Conferences with J. Dulberg and telephone             0.40      1445.00         $578.00
                                conference with S. Uhland re DIP issues.

 03/02/2020   JWD     FN        Emails re receipt of next advance                     0.10       895.00            $89.50

 03/03/2020   MSP     FN        Email exchange with P. Buenger, Richard M.            0.10       875.00            $87.50
                                Pachulski, Jeffrey W. Dulberg, et al. regarding
                                Liuhuan Shan position and questions regarding DIP
                                motion.

 03/03/2020   MSP     FN        Email exchange with J. Wang, Richard M.               0.10       875.00            $87.50
                                Pachulski, et al. regarding Liuhuan Shan questions
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                                                                                     Hours           Rate      Amount
                                regarding financing motion.
 03/03/2020   RMP     FN        Review Liu related e-mail re financing motion and     0.40      1445.00        $578.00
                                conference with J. Dulberg re same.

 03/03/2020   JWD     FN        Review and respond to P Buenger email regarding       0.60       895.00        $537.00
                                DIP motion

 03/03/2020   JWD     FN        Follow up emails with OMM and client regarding L      0.20       895.00        $179.00
                                Shan inquiry

 03/04/2020   JWD     FN        Work on issues related to financing                   0.70       895.00        $626.50

 03/04/2020   JWD     FN        Review case law and issues for insider                1.20       895.00       $1,074.00

 03/05/2020   MSP     FN        Email exchange with J. Wang, et al. regarding         0.20       875.00        $175.00
                                financing motion, supporting declaration regarding
                                alternatives.

 03/05/2020   MSP     FN        Review SLC objection to financing motion.             0.20       875.00        $175.00

 03/05/2020   JWD     FN        Analyze issues re DIP motion approval                 0.40       895.00        $358.00

 03/05/2020   JWD     FN        Call with A Behlmann re DIP issues                    0.20       895.00        $179.00

 03/05/2020   JWD     FN        Work on DIP reply and other issues                    0.30       895.00        $268.50

 03/05/2020   JWD     FN        Review SLC DIP opp and notes re same                  0.70       895.00        $626.50

 03/05/2020   JWD     FN        Call with PT counsel re dip issues                    0.40       895.00        $358.00

 03/05/2020   BDD     FN        Email PSZJ team re SLC objection to DIP motion        0.10       425.00            $42.50

 03/06/2020   RMP     FN        Review and respond to e-mails and telephone           0.60      1445.00        $867.00
                                conference with Meadows re argument and DIP
                                conflicts with minute order.

 03/09/2020   MSP     FN        Email exchange with D. Meadows, et al. regarding      0.20       875.00        $175.00
                                SLC objection to DIP financing.

 03/09/2020   RMP     FN        Review and respond to e-mails re DIP and              0.60      1445.00        $867.00
                                conference with J. Dulberg and telephone
                                conference with Meadows re same.

 03/09/2020   JWD     FN        Work on DIP reply                                     6.00       895.00       $5,370.00

 03/10/2020   MSP     FN        Email exchange with Jeffrey W. Dulberg et al.         0.10       875.00            $87.50
                                regarding draft reply to SLC objection to DIP
                                financing.

 03/10/2020   RMP     FN        Review debtor's reply to SLC objection to DIP and     0.60      1445.00        $867.00
                                conference with J. Dulberg re same.

 03/10/2020   JWD     FN        Work on DIP reply                                     4.00       895.00       $3,580.00
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 03/10/2020   JWD     FN        Review David Meadows comments to reply and               0.40       895.00        $358.00
                                emails regarding same

 03/11/2020   MSP     FN        Email exchange with D. Meadows, Jeffrey W.               0.20       875.00        $175.00
                                Dulberg, et al. regarding revised DIP financing
                                motion.

 03/11/2020   RMP     FN        Review DIP issues and response and follow-up on          0.60      1445.00        $867.00
                                cases.

 03/11/2020   JWD     FN        Work on research issues for DIP reply and emails         0.70       895.00        $626.50
                                with V Newmark re same and call with her re same

 03/11/2020   JWD     FN        Work on revision to DIP reply                            0.70       895.00        $626.50

 03/11/2020   JWD     FN        Review and respond to emails regarding DIP reply         0.20       895.00        $179.00

 03/11/2020   JWD     FN        Review and revise DIP reply                              0.70       895.00        $626.50

 03/12/2020   VAN     FN        Research and analysis regarding SLC objection to         2.50       925.00       $2,312.50
                                DIP loan.

 03/12/2020   MSP     FN        Email exchange with Jeffrey W. Dulberg, et al.           0.10       875.00            $87.50
                                regarding revised reply regarding DIP motion.

 03/12/2020   RMP     FN        Review revised DIP reply to SLC objection and            0.60      1445.00        $867.00
                                conference with J. Dulberg re same.

 03/12/2020   JWD     FN        Further review and revise dip reply and emails           2.00       895.00       $1,790.00
                                regarding same.

 03/12/2020   BDD     FN        Call with J. Dulberg re DIP reply                        0.10       425.00            $42.50

 03/12/2020   BDD     FN        Email M. Pagay and N. Deleon re DIP reply                0.10       425.00            $42.50

 03/12/2020   BDD     FN        Email Epiq re service of pleadings today (DIP reply      0.10       425.00            $42.50
                                and DS Supplement)

 03/13/2020   BDD     FN        Email Epiq team re 3/12 service of pleadings (DIP        0.10       425.00            $42.50
                                reply and Supp to DS)

 03/16/2020   RMP     FN        Begin preparing for DIP motion.                          1.30      1445.00       $1,878.50

 03/16/2020   JWD     FN        Emails with DIP lender counsel re hearing                0.20       895.00        $179.00

 03/17/2020   MSP     FN        Email exchange with A. Behlmann, M. Kaplan,              0.50       875.00        $437.50
                                Jeffrey W. Dulberg et al. regarding financial advisor
                                declaration in support of DIP.

 03/17/2020   RMP     FN        Prepare for DIP hearing and conference with J.           1.40      1445.00       $2,023.00
                                Dulberg re same.

 03/17/2020   JWD     FN        Emails with Committee counsel re DIP financing           0.20       895.00        $179.00
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                                                                                        Hours           Rate      Amount
                                and hearing
 03/18/2020   RMP     FN        Continue preparing for DIP motion.                       0.90      1445.00       $1,300.50

 03/18/2020   JWD     FN        Review DIP pleadings for hearing                         1.20       895.00       $1,074.00

 03/19/2020   JWD     FN        Emails with client and team re follow up for DIP         0.20       895.00        $179.00

 03/19/2020   JWD     FN        Call with David Meadows regarding DIP order              0.10       895.00            $89.50

 03/19/2020   JWD     FN        Review and revise financing order and emails with        0.70       895.00        $626.50
                                various parties to complete same

 03/19/2020   BDD     FN        Prepare order re DIP financing and emails PSZJ and       0.70       425.00        $297.50
                                OMM team re same

 03/19/2020   BDD     FN        Attend to prep re filing/serving DIP order and confer    0.70       425.00        $297.50
                                with J. Dulberg and N. Deleon re same

 03/20/2020   JWD     FN        Review entered DIP order and draft email to client       0.40       895.00        $358.00
                                re PT due dates

 03/20/2020   BDD     FN        Email PSZJ team re entered DIP financing order           0.10       425.00            $42.50

 03/20/2020   BDD     FN        Call with J. Dulberg re DIP financing payments           0.10       425.00            $42.50

 03/21/2020   JWD     FN        Emails with PT counsel                                   0.20       895.00        $179.00

 03/26/2020   JWD     FN        Email to PT re loan update                               0.10       895.00            $89.50

 03/27/2020   MSP     FN        Telephone conference with Jeffrey W. Dulberg, D,         0.80       875.00        $700.00
                                D. Perez, et al. re: financing status.

 03/27/2020   MSP     FN        Email exchanges with Jeffrey W. Dulberg, Richard         0.90       875.00        $787.50
                                M. Pachulski, et al. re: DIP status, lack of payment
                                and impact on Committee participation in plan
                                solicitation, etc.

 03/27/2020   RMP     FN        Review and respond to several e-mails about DIP          1.30      1445.00       $1,878.50
                                issues and various telephone conferences with J.
                                Dulberg re same.

 03/27/2020   RMP     FN        Prepare for and participate on counsel call re DIP.      0.60      1445.00        $867.00

 03/27/2020   RMP     FN        Prepare for and participate on conference call with      0.60      1445.00        $867.00
                                Committee counsel re DIP and Committee letter.

 03/27/2020   JWD     FN        Review and respond to emails re PT missed payment        1.50       895.00       $1,342.50
                                and numerous contacts with PT and client team re
                                same

 03/27/2020   JWD     FN        Call re financing with OMM team                          0.80       895.00        $716.00

 03/27/2020   JWD     FN        Call with R Pachulski and emails re same                 0.10       895.00            $89.50
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 03/27/2020   JWD     FN        Call with J Wang (.1); calls with D Meadows (.2);       0.70       895.00         $626.50
                                emails re issues with PT payment (.4)

 03/28/2020   RMP     FN        Review and respond to various OMM and client            1.20      1445.00        $1,734.00
                                e-mails re committee issues, DIP and exit financing.

 03/28/2020   JWD     FN        Review and respond to various emails re PT default      1.20       895.00        $1,074.00

 03/29/2020   MSP     FN        Email exchange with Richard M. Pachulski, J.            0.10       875.00            $87.50
                                Wang, et al. re: results of discussion with
                                Committee re: breach of DIP commitments etc.

 03/29/2020   RMP     FN        Review and respond to e-mails from client re DIP        0.80      1445.00        $1,156.00
                                and Committee letter and telephone conference with
                                Committee counsel re same.

 03/29/2020   JWD     FN        Emails re DIP issues                                    0.40       895.00         $358.00

 03/29/2020   JWD     FN        Various calls and emails re issues with revised DIP     1.20       895.00        $1,074.00
                                payment schedule

 03/29/2020   JWD     FN        Review emails re exit financing                         0.20       895.00         $179.00

 03/29/2020   JWD     FN        Emails with B Dassa re new DIP calendar                 0.10       895.00            $89.50

 03/30/2020   MSP     FN        Email exchange with Richard M. Pachulski, J. Wang       0.10       875.00            $87.50
                                et al. re: Committee DIP arrangement.

 03/30/2020   JWD     FN        Emails re new DIP payment schedule                      0.20       895.00         $179.00

                                                                                       49.30                    $49,684.50

  Litigation (Non-Bankruptcy)
 03/03/2020   JWD     LN        Review and respond to emails regarding                  0.40       895.00         $358.00
                                nondischargeability action and call with Lei Lei
                                Wang Ekvall regarding same

 03/03/2020   JWD     LN        Review caselaw regarding nondischargeability and        0.80       895.00         $716.00
                                compensation from the estate

 03/04/2020   JWD     LN        Work on issues regarding potential special counsel      0.70       895.00         $626.50
                                for nondischargeability action

 03/06/2020   JWD     LN        Review and revise motion to dismiss re Liu              0.40       895.00         $358.00
                                complaint

 03/07/2020   JWD     LN        Review final draft of Liu motion to dismiss             0.30       895.00         $268.50

 03/31/2020   JWD     LN        Review correspondence regarding potential               0.20       895.00         $179.00
                                settlement

                                                                                        2.80                     $2,506.00
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  Meeting of Creditors [B150]
 03/26/2020   JWD     MC        Email with J Wang re canceled exam                      0.10       895.00          $89.50

                                                                                        0.10                       $89.50

  Plan & Disclosure Stmt. [B320]
 03/01/2020   MSP     PD        Email exchange with D. Perez, Richard M.                0.40       875.00        $350.00
                                Pachulski, Beth Dassa, M. Zhang, T. Li, R. Jia et al.
                                regarding revised disclosure statement, filing
                                logistics.

 03/01/2020   MSP     PD        Finalize draft of application for order shortening      3.40       875.00       $2,975.00
                                time and supporting declarations regarding
                                solicitation motion and disclosure statement; email
                                exchange with S. Uhland, Richard M. Pachulski, et
                                al. regarding same (.10).

 03/01/2020   MSP     PD        Attention to ancillary documents, logistics and other   2.80       875.00       $2,450.00
                                matters relating to potential filing of amended
                                disclosure statement.

 03/01/2020   MSP     PD        Email exchange with D. Perez, Richard M.                0.50       875.00        $437.50
                                Pachulski, Beth Dassa et al. regarding filing timing
                                of amended disclosure statement and related
                                documents.

 03/01/2020   RMP     PD        Review revised plan and disclosure statement,           1.90      1445.00       $2,745.50
                                comments re same and telephone conferences with
                                filing issues and review chart with changes.

 03/01/2020   RMP     PD        Review motion to shorten time and telephone             0.40      1445.00        $578.00
                                conference with J. Dulberg re same.

 03/01/2020   JWD     PD        Review emails regarding plan filing status and          0.40       895.00        $358.00
                                staffing issues

 03/01/2020   BDD     PD        Email M. Pagay re today's filings                       0.10       425.00          $42.50

 03/01/2020   BDD     PD        Email M. Pagay re tonight's filings                     0.10       425.00          $42.50

 03/01/2020   BDD     PD        Work on YT Declaration ISO 3rd Amended                  1.20       425.00        $510.00
                                Disclosure Statement and emails M. Pagay re same

 03/02/2020   MSP     PD        Email exchange with A. Behlmann, S. Uhland et al.       0.20       875.00        $175.00
                                regarding Smart King name change, etc.

 03/02/2020   MSP     PD        Review and address potential revisions to submitted     6.90       875.00       $6,037.50
                                versions of Plan, Disclosure Statement and
                                Solicitation Motion and draft of Application for
                                Order Shortening Time, debtor and Faraday
                                declarations regarding same; email exchanges with
                                D. Perez, Beth Dassa, J. Wang, M. Zhang, S.
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                                Uhland, C. Murray, et al. regarding same (.60).
 03/02/2020   MSP     PD        Telephone call with law clerk regarding application     0.10       875.00            $87.50
                                for order shortening time regarding solicitation
                                motion.

 03/02/2020   MSP     PD        Address compliance with court’s requirements            2.00       875.00       $1,750.00
                                regarding order shortening time regarding
                                solicitation motion; email exchange with D. Perez,
                                Richard M. Pachulski, Jeffrey W. Dulberg, et al.
                                (.30).

 03/02/2020   MSP     PD        Address client team comments and proposed               3.10       875.00       $2,712.50
                                revisions on disclosure statement declaration; email
                                exchange with M. Zhang, James O’Neill, R. Jia, D.
                                Perez, et al. regardingsame (.30); telephone
                                conferences with M. Zhang, R. Jia, D. Perez (.50)
                                regarding same.

 03/02/2020   RMP     PD        Review revised plan and disclosure statement and        1.20      1445.00       $1,734.00
                                telephone conferences re same.

 03/02/2020   RMP     PD        Review solicitation motion and telephone                0.90      1445.00       $1,300.50
                                conferences with team re next steps.

 03/02/2020   RMP     PD        Review Gaina secured claim issues and e-mails re        0.30      1445.00        $433.50
                                same.

 03/02/2020   JWD     PD        Emails re motion to shorten time and plan filing        0.20       895.00        $179.00

 03/02/2020   JWD     PD        Review OST and work on coordination of notice to        0.40       895.00        $358.00
                                key creditors

 03/02/2020   JWD     PD        Review notice of DS hearing and emails re same          0.20       895.00        $179.00

 03/02/2020   JWD     PD        Call with B Dassa re OST notice                         0.10       895.00            $89.50

 03/02/2020   JWD     PD        Work on issues re notifying Chinese creditors           0.20       895.00        $179.00

 03/02/2020   JWD     PD        Review client inquiry re discharge issue and dec        0.20       895.00        $179.00

 03/02/2020   BDD     PD        Work on Third Amended Disclosure Statement and          6.80       425.00       $2,890.00
                                YT's Declaration in support thereof, 2nd Amended
                                Plan, Renewed Plan Solicitation Motion and Exhibit
                                F to motion, App for Order Shortening Time and
                                declarations of R. Pachulski, J. Dulberg and M.
                                Pagay re same; Order Shortening Time, blacklines
                                of Third Amended Disclosure Statement and 2nd
                                Amended Plan; confer with M. Pagay and N. Brown
                                re same

 03/02/2020   BDD     PD        Confer with Epiq re service of pleadings and service    0.30       425.00        $127.50
                                issues
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 03/02/2020   BDD     PD        Email PSZJ team re shortened hearing on                  0.10       425.00            $42.50
                                solicitation motion

 03/02/2020   BDD     PD        Confer with J. Dulberg re OST and notice to be           0.90       425.00        $382.50
                                given (.20) Give telephonic notice to numerous
                                parties per OST entered by the court and emails J.
                                Dulberg and M. Pagay re same (.70)

 03/02/2020   BDD     PD        Prepare Notice of Hearing on solicitation motion and     0.50       425.00        $212.50
                                emails J. Dulberg and M. Pagay re same

 03/03/2020   RMP     PD        Telephone conferences with Committee counsel re          0.40      1445.00        $578.00
                                trustee for Trust.

 03/03/2020   JWD     PD        Respond to emails regarding translation question         0.10       895.00            $89.50

 03/03/2020   BDD     PD        Email M. Pagay re YT Declaration ISO 3rd                 0.10       425.00            $42.50
                                Amended DS

 03/03/2020   BDD     PD        Email N. Brown re pleadings to be delivered to           0.10       425.00            $42.50
                                chambers

 03/03/2020   BDD     PD        Confer with M. Pagay and N. Brown re hearing on          0.50       425.00        $212.50
                                solicitation motion and service of pleadings re same

 03/03/2020   BDD     PD        Revisions to Notice of Hearing on renewed                0.50       425.00        $212.50
                                solicitation motion and confer with M. Pagay and N.
                                Brown re same

 03/03/2020   BDD     PD        Electronic service of pleadings per OST                  0.10       425.00            $42.50

 03/04/2020   MSP     PD        All hands “catch up” call regarding Plan status, etc.    0.80       875.00        $700.00

 03/04/2020   MSP     PD        Email exchange with S. He, D. Perez, et al.              0.20       875.00        $175.00
                                regarding Native versions of plan pleadings for
                                translation.

 03/04/2020   RMP     PD        Various telephone conferences re committee               0.80      1445.00       $1,156.00
                                selection as trustee.

 03/04/2020   RMP     PD        Prepare for and participate on Yeuting team catch-up     0.80      1445.00       $1,156.00
                                call and follow-up with J. Dulberg re same.

 03/04/2020   RMP     PD        Follow-up conference call re next steps.                 1.10      1445.00       $1,589.50

 03/04/2020   BDD     PD        Research re motion for temporary allowance for           0.50       425.00        $212.50
                                voting purposes and emails L. Forrester re same

 03/04/2020   BDD     PD        Emails M. Pagay re motion for temporary allowance        0.10       425.00            $42.50
                                for voting purposes

 03/04/2020   BDD     PD        Emails M. Pagay re motion for temporary allowance        0.10       425.00            $42.50
                                for voting purposes
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 03/05/2020   RMP     PD        Conference call with team re plan issues.                0.60      1445.00        $867.00

 03/05/2020   MSP     PD        Email exchange with Jeffrey W. Dulberg, T. Li et al.     0.30       875.00        $262.50
                                regarding Notice to China Secured Creditors.

 03/05/2020   JWD     PD        Emails re service on secureds re OST                     0.20       895.00        $179.00

 03/06/2020   MSP     PD        Email exchange with P. Buenger, Jeffrey W.               0.20       875.00        $175.00
                                Dulberg, et al. regarding Liuhuan Shan review and
                                position regarding plan, disclosure statements and
                                other filings, request for claims supporting
                                documentation, meeting with client representative.

 03/06/2020   MSP     PD        Email exchange with Jeffrey W. Dulberg, et al.           0.20       875.00        $175.00
                                regarding Notice to China Secured Creditors.

 03/06/2020   MSP     PD        Email exchange with D. Perez, Jeffrey W. Dulberg,        0.80       875.00        $700.00
                                S. He et al. regarding Translation of disclosure
                                statement, TransPerfect certification process, etc.

 03/10/2020   MSP     PD        Email exchange with S. Uhland, D. Perez, et al.          0.10       875.00            $87.50
                                regarding claim objections, allowance for voting
                                purposes, etc.

 03/10/2020   MSP     PD        Email exchange with Richard M. Pachulski, J.             0.10       875.00            $87.50
                                Wang, et al. regarding Chongqing Electric potential
                                resolution of disclosure statement objections.

 03/10/2020   MSP     PD        Email exchange with J. Wang, Richard M.                  0.20       875.00        $175.00
                                Pachulski, Jeffrey W. Dulberg, S. Uhland, et al.
                                regarding extension for Swift to consider disclosure
                                statement.

 03/10/2020   MSP     PD        Email exchange with R. Moon, Jeffrey W. Dulberg,         0.10       875.00            $87.50
                                et al. regarding hearings on disclosure statement and
                                other matters on March 19.

 03/10/2020   MSP     PD        Email exchange with D. Perez, L. Sun, et al.             0.10       875.00            $87.50
                                regarding proposed plan timeline.

 03/10/2020   MSP     PD        Email exchange with Beth Dassa regarding proofs of       0.10       875.00            $87.50
                                service regarding China Secured Creditors, etc.

 03/10/2020   RMP     PD        Telephone conferences with creditors re disclosure       0.70      1445.00       $1,011.50
                                statement.

 03/10/2020   RMP     PD        Review SLC opposition to disclosure statement and        0.60      1445.00        $867.00
                                review SLC prior filings re same.

 03/10/2020   RMP     PD        Deal with trust's trustee issue and telephone            0.80      1445.00       $1,156.00
                                conferences re same and telephone conference with
                                Committee counsel re same.
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 03/10/2020   JWD     PD        Review and respond to emails regarding potential           0.20       895.00        $179.00
                                objections

 03/10/2020   BDD     PD        Prepare B. Dassa declaration per OST and email M.          1.10       425.00        $467.50
                                Pagay re same

 03/10/2020   BDD     PD        Emails PSZJ team re pleadings filed today in               0.20       425.00            $85.00
                                connection with 3/19 hearing

 03/10/2020   BDD     PD        Preparation of T. Li Declaration per OST                   0.90       425.00        $382.50
                                requirement (re notice of 3/19 hearing served on
                                Chinese creditors) (.70); emails to/calls with T. Li re
                                same (.20)

 03/10/2020   BDD     PD        Emails N. Brown re B. Dassa and T. Li declarations         0.20       425.00            $85.00

 03/10/2020   BDD     PD        Email M. Pagay re T. Li declaration                        0.10       425.00            $42.50

 03/11/2020   MSP     PD        Review draft work-in-process chart for plan and            0.10       875.00            $87.50
                                case.

 03/11/2020   MSP     PD        Email exchange with S. He regarding TransPerfect           0.20       875.00        $175.00
                                plan-related certification.

 03/11/2020   MSP     PD        Email exchange with T. Li, et al. regarding Plan           0.20       875.00        $175.00
                                Supplement regarding identify of Creditor Trustee.

 03/11/2020   MSP     PD        Review and revise proofs of service regarding China        0.30       875.00        $262.50
                                Secured Creditors; email exchange with Beth Dassa
                                regarding same (.10).

 03/11/2020   MSP     PD        Review objections to approval of disclosure                0.60       875.00        $525.00
                                statement and email exchanges with Jeffrey W.
                                Dulberg, D. Perez, Richard M. Pachulski, et al.
                                regarding same.

 03/11/2020   MSP     PD        Email exchange with T. Li, et al. regarding proposed       0.20       875.00        $175.00
                                responses to disclosure statement objections.

 03/11/2020   RMP     PD        Review disclosure statement supplement and                 0.30      1445.00        $433.50
                                telephone conference with S. Uhland re same.

 03/11/2020   RMP     PD        Review objection to disclosure statement by SLC            0.60      1445.00        $867.00
                                and consider needed changes to disclosure statement
                                and telephone conference with S. Uhland re same.

 03/11/2020   JWD     PD        Review SLC and Swift DS objections and emails re           0.40       895.00        $358.00
                                same

 03/11/2020   JWD     PD        Office conf with R Pachulski re DS objections              0.20       895.00        $179.00

 03/11/2020   JWD     PD        Review Han limited DS objection and email re same          0.20       895.00        $179.00
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 03/11/2020   JWD     PD        Emails with client team re plan responses                  0.10       895.00            $89.50

 03/11/2020   JWD     PD        Work on issues for hearing re joinders                     0.30       895.00        $268.50

 03/11/2020   JWD     PD        Emails re additional filings re plan                       0.30       895.00        $268.50

 03/11/2020   BDD     PD        Revisions to and coordination of filing of B. Dassa        1.10       425.00        $467.50
                                and T. Li Declarations and emails to/calls with M.
                                Pagay and N. Brown re same

 03/11/2020   BDD     PD        Email T. Li re finalized Declaration                       0.10       425.00            $42.50

 03/11/2020   BDD     PD        Email J. Dulberg re B. Dassa and T. Li declarations        0.10       425.00            $42.50

 03/11/2020   BDD     PD        Review claims filed by creditors represented by            2.10       425.00        $892.50
                                Winthrop and Sulmeyer and prepare chart re same,
                                comparing with scheduled claims; multiple emails
                                R. Pachulski, J. Dulberg, M. Pagay and OMM team
                                re same

 03/11/2020   BDD     PD        Email N. Brown re filed declarations of B. Dassa           0.10       425.00            $42.50
                                and T. Li

 03/11/2020   BDD     PD        Emails PSZJ team re pleadings filed today in               0.20       425.00            $85.00
                                connection with 3/19 hearing

 03/11/2020   BDD     PD        Review all pleadings filed in connection with 3/19         0.20       425.00            $85.00
                                hearing and email J. Dulberg and OMM team re
                                same

 03/12/2020   MSP     PD        Email exchange with D. Perez, et al. regarding             0.10       875.00            $87.50
                                responses to disclosure statement objections.

 03/12/2020   MSP     PD        Email exchange with T. Li, Jeffrey W. Dulberg, et          1.10       875.00        $962.50
                                al. regarding Plan Supplement regarding identity of
                                Creditor Trustee (.20); review, revise and finalize for
                                filing (.50); address plan-related document filing and
                                service logistics.

 03/12/2020   MSP     PD        Draft TransPerfect translation process certification       1.20       875.00       $1,050.00
                                regarding disclosure statement and plan documents;
                                email exchange with S. He regarding same (.10).

 03/12/2020   JWD     PD        Review TJ Li summary of DS responses and email             0.20       895.00        $179.00
                                regarding same.

 03/12/2020   BDD     PD        Emails M. Pagay and N. Deleon re filing of DS              0.10       425.00            $42.50
                                Supplement

 03/13/2020   MSP     PD        Email exchange with S. He regarding TransPerfect           0.10       875.00            $87.50
                                plan document translation certification.

 03/13/2020   JWD     PD        Review Meadows emails regarding dismissal issues           0.20       895.00        $179.00
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 03/15/2020   MSP     PD        Email exchange with S. He regarding TransPerfect        0.10       875.00            $87.50
                                certification of translation.

 03/15/2020   MSP     PD        Email exchange with D. Perez, Richard M.                1.10       875.00        $962.50
                                Pachulski, Beth Dassa, et al. regarding planning for
                                filing of reply, further amended disclosure
                                statement, etc.

 03/15/2020   MSP     PD        Review and revise proposed reply regarding              0.80       875.00        $700.00
                                disclosure statement objections; email exchange
                                with T. Li et al. regarding same (.10).

 03/15/2020   JWD     PD        Work on additional issues re reply                      0.70       895.00        $626.50

 03/15/2020   JWD     PD        Review draft reply re DS and emails re same             0.60       895.00        $537.00

 03/15/2020   JWD     PD        Calls with M Zhang re issues with joinder, review       0.50       895.00        $447.50
                                same, emails re same with V Sahn

 03/15/2020   JWD     PD        Review and respond to R Pachulski emails re DS          0.20       895.00        $179.00
                                and hearing

 03/15/2020   JWD     PD        Review and respond to emails re hearing prep and        0.80       895.00        $716.00
                                DS reply and work on same

 03/15/2020   JWD     PD        Call with R Pachulski re hearing                        0.10       895.00            $89.50

 03/16/2020   MSP     PD        Telephone call with M. Zhang regarding reply to         0.10       875.00            $87.50
                                disclosure statement objections, etc.

 03/16/2020   MSP     PD        Address client approval of and finalizing for filing    1.80       875.00       $1,575.00
                                reply to objections to approval of Disclosure
                                Statement; email exchanges with Richard M.
                                Pachulski, M. Zhang, Beth Dassa, T. Li, et al.
                                regarding same (.20).

 03/16/2020   MSP     PD        Prepare for filing of amended disclosure statement,     2.90       875.00       $2,537.50
                                plan and blackline versions of both; email exchange
                                with D. Perez, C. Murray, et al. regarding Status of
                                finalizing and client approval (.20).

 03/16/2020   MSP     PD        Review court’s tentative ruling on disclosure           2.90       875.00       $2,537.50
                                statement, attention to action plan for amending
                                disclosure statement and other documents to respond
                                to judge’s comments, and email exchange with
                                Richard M. Pachulski, Jeffrey W. Dulberg, D. Perez,
                                J. Wang, M. Zhang, et al. regarding same.

 03/16/2020   RMP     PD        Review revised plan and disclosure statement and        1.10      1445.00       $1,589.50
                                telephone conferences re same.

 03/16/2020   RMP     PD        Review disclosure statement tentative and telephone     1.20      1445.00       $1,734.00
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                                conferences and e-mails with team re same.
 03/16/2020   JWD     PD        Call with WSJ reporter re hearing and follow up re      0.30       895.00        $268.50
                                same

 03/16/2020   JWD     PD        Review joinder re DS and emails re same                 0.20       895.00        $179.00

 03/16/2020   JWD     PD        Call with R Pachulski re hearing                        0.20       895.00        $179.00

 03/16/2020   JWD     PD        Review DS tentative and follow up emails re same        0.40       895.00        $358.00

 03/16/2020   JWD     PD        Review reply filing and issues re further amended       0.60       895.00        $537.00
                                DS

 03/16/2020   BDD     PD        Address issues re filing/serving of amended Plan &      2.80       425.00       $1,190.00
                                Disclosure Statement documents and multiple
                                conferences with/emails to M. Pagay, M. Kulick,
                                OMM team, and Epiq re same

 03/16/2020   BDD     PD        Review tentatives for 3/19 hearing                      0.10       425.00            $42.50

 03/17/2020   MSP     PD        All hands conference call regarding status of plan      0.80       875.00        $700.00
                                and disclosure statement.

 03/17/2020   MSP     PD        Telephone calls (2) with Beth Dassa regarding filing    0.20       875.00        $175.00
                                of amended disclosure statement and plan.

 03/17/2020   MSP     PD        Telephone call with D. Perez regarding status of        0.10       875.00            $87.50
                                amended disclosure statement and plan.

 03/17/2020   MSP     PD        Telephone calls (2) with Beth Dassa regarding filing    0.30       875.00        $262.50
                                logistics regarding amended disclosure statement
                                and plan.

 03/17/2020   MSP     PD        Email exchange with T. Li, L. Sun, et al. regarding     0.10       875.00            $87.50
                                claims information in disclosure statement.

 03/17/2020   MSP     PD        Email exchange with J. Wang, D. Perez, et al.           0.10       875.00            $87.50
                                regarding action items for filing amended disclosure
                                statement.

 03/17/2020   MSP     PD        Review, comment on and prepare for filing amended       4.90       875.00       $4,287.50
                                plan, disclosure statements, summary of changes
                                chart, etc., and email exchanges with D. Perez,
                                Richard M. Pachulski, S. Uhland, R. Jia, Beth Dassa,
                                et al. regarding same.

 03/17/2020   MSP     PD        Email exchange with L. Sun, et al. regarding            0.20       875.00        $175.00
                                question regarding voting amounts.

 03/17/2020   RMP     PD        Prepare for and participate on team call re plan and    2.20      1445.00       $3,179.00
                                disclosure statement issues.

 03/17/2020   JWD     PD        Call re DS update with client                           0.80       895.00        $716.00
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 03/17/2020   JWD     PD        Review and respond to various issues regarding plan         1.50       895.00       $1,342.50

 03/17/2020   BDD     PD        Attend to filing/serving 4th Amended Disclosure             2.90       425.00       $1,232.50
                                Statement and 3rd Amended Plan and multiple
                                emails/calls with M. Pagay and N. De Leon; emails
                                OMM group re same

 03/18/2020   MSP     PD        Email exchange with S. He, Richard M. Pachulski,            0.40       875.00        $350.00
                                et al. regarding TransPerfect certification regarding
                                plan materials, translation timing of all materials.

 03/18/2020   MSP     PD        Email exchange with M. Zhang, Jeffrey W. Dulberg,           0.30       875.00        $262.50
                                Richard M. Pachulski, et al. regarding draft press
                                release regarding disclosure statement approval;
                                review same.

 03/18/2020   RMP     PD        Prepare for disclosure statement hearing and review         1.90      1445.00       $2,745.50
                                objections and disclosure statement changes.

 03/19/2020   MSP     PD        Telephone call with D. Perez regarding change in            0.10       875.00            $87.50
                                plan confirmation hearing date.

 03/19/2020   MSP     PD        Telephone call from law clerk regarding change in           0.10       875.00            $87.50
                                plan confirmation hearing date.

 03/19/2020   MSP     PD        Review, revise and email M. Zhang, et al. regarding         0.90       875.00        $787.50
                                Press release regarding approval of disclosure
                                statement.

 03/19/2020   MSP     PD        Attention to finalizing disclosure statement approval       4.80       875.00       $4,200.00
                                and other orders based on today’s rulings; email
                                exchange with Jeffrey W. Dulberg, Beth Dassa, D.
                                Perez, et al. regarding same (.20).

 03/19/2020   MSP     PD        Email exchange with Jeffrey W. Dulberg, Beth                0.30       875.00        $262.50
                                Dassa, et al. regarding future logistical issues arising
                                from COVID-19, etc.

 03/19/2020   JWD     PD        Review and comment to order regarding disclosure            0.30       895.00        $268.50
                                stmt

 03/19/2020   BDD     PD        Email J. Dulberg re hearing on Motion to Approve            0.10       425.00            $42.50
                                Disclosure Statement

 03/19/2020   BDD     PD        Email PSZJ team re Winthrop joinder                         0.10       425.00            $42.50

 03/19/2020   BDD     PD        Review joinder of Woo creditor and prepare chart re         0.30       425.00        $127.50
                                schedules v. filed claim (.20); email PSZJ team re
                                same (.10)

 03/19/2020   BDD     PD        Coordinate obtaining audio/written transcript from          0.50       425.00        $212.50
                                today's hearing and emails PSJZ team re same
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 03/19/2020   BDD     PD        Confer with J. Dulberg and M. Pagay re order             0.50       425.00        $212.50
                                approving 4th Amended Disclosure Statement

 03/19/2020   BDD     PD        Attend to prep of filing/serving order on 4th            0.50       425.00        $212.50
                                Amended Disclosure Statement and emails to/calls
                                with M. Pagay and N. Deleon re same

 03/19/2020   BDD     PD        Attend to issues re blacklining order on 4th amended     0.30       425.00        $127.50
                                disclosure statement

 03/20/2020   MSP     PD        Telephone conference with Richard M. Pachulski, S.       0.80       875.00        $700.00
                                Uhland, et al. regarding Plan, case and financing
                                status.

 03/20/2020   MSP     PD        All hands call with client team regarding Plan, case     1.20       875.00       $1,050.00
                                and financing status.

 03/20/2020   MSP     PD        Telephone calls (3:,10; .10; .20) with Beth Dassa        0.40       875.00        $350.00
                                regarding Plan notice and service of plan package.

 03/20/2020   MSP     PD        Telephone call with D. Perez regarding Plan notice.      0.10       875.00            $87.50

 03/20/2020   MSP     PD        Email exchange with Jeffrey W. Dulberg, Beth             1.10       875.00        $962.50
                                Dassa et al. regarding Plan and other calendaring
                                issues (.10); review and finalize master case and
                                client timelines for plan and case process moving
                                forward.

 03/20/2020   MSP     PD        Review and revise draft of plan confirmation notice;     0.80       875.00        $700.00
                                email exchange with Richard M. Pachulski, S.
                                Uhland, Beth Dassa, et al. regarding same (.10).

 03/20/2020   RMP     PD        Prepare for and participate on counsel call and then     2.30      1445.00       $3,323.50
                                with client re next steps and thereafter follow-up
                                calls re same.

 03/20/2020   JWD     PD        Review entered plan order and emails re same             0.20       895.00        $179.00

 03/20/2020   BDD     PD        Work on Notice of Plan Confirmation hearing and          0.80       425.00        $340.00
                                emails to/calls with M. Pagay re same

 03/20/2020   BDD     PD        Update timeline for client re relevant dates relating    0.80       425.00        $340.00
                                to Plan & Disclosure Statement (.70); confer with
                                M. Pagay re same (.10)

 03/20/2020   BDD     PD        Attend to issues re obtaining 3/19 written and audio     0.20       425.00            $85.00
                                transcript

 03/20/2020   BDD     PD        Email PSZJ team re entered order on 4th Amended          0.10       425.00            $42.50
                                Disclosure Statement

 03/22/2020   MSP     PD        Email exchange with S. He, R. Beall, et al. re:          0.10       875.00            $87.50
                                TransPerfect certification of translation of plan
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                                documents.
 03/22/2020   MSP     PD        Email exchange with S. He, M. Zhang, D. Perez, et        0.10       875.00            $87.50
                                al. re: questions re: plan voting process.

 03/23/2020   MSP     PD        Email exchange with Richard M. Pachulski, D.             0.60       875.00        $525.00
                                Perez, Jeffrey W. Dulberg, et al. re: Plan voting
                                process questions.

 03/23/2020   MSP     PD        Email exchange with S. He, R. Beall, et al. re:          0.90       875.00        $787.50
                                TransPerfect certification of translation of plan
                                documents (.10); review and revise declaration re:
                                same.

 03/23/2020   MSP     PD        Email exchange with T. Li, JeffreyW. Dulberg, et al.     0.10       875.00            $87.50
                                re: Notice of Non-voting status.

 03/23/2020   MSP     PD        Attention to client group plan and other questions;      0.70       875.00        $612.50
                                email exchange with Richard M. Pachuski, D. Perez,
                                et al. re: same (.10).

 03/23/2020   MSP     PD        Review follow-up client questions re: plan and           0.50       875.00        $437.50
                                other matters; email exchange with Jeffrey W.
                                Dulberg, D. Perez, M. Zhang, et al. re: same (.10).

 03/23/2020   RMP     PD        Review voting issues and respond to e-mails re           0.60      1445.00        $867.00
                                same.

 03/23/2020   RMP     PD        Review Mia issues and respond to same.                   0.30      1445.00        $433.50

 03/23/2020   RMP     PD        Review timeline and e-mail M. Pagay re same.             0.20      1445.00        $289.00

 03/23/2020   JWD     PD        Emails and research re 3018                              0.50       895.00        $447.50

 03/23/2020   JWD     PD        Respond to various issues for client regarding plan      0.40       895.00        $358.00

 03/23/2020   JWD     PD        Emails and research re 3018 issues and claims            1.50       895.00       $1,342.50

 03/23/2020   JWD     PD        Respond to various issues for client regarding plan.     0.60       895.00        $537.00

 03/23/2020   BDD     PD        Revisions to critical dates memo and client memos        0.80       425.00        $340.00
                                re pertinent dates (.70); emails J. Dulberg and M.
                                Pagay re same (.10)

 03/23/2020   BDD     PD        Further revisions to timeline for client and email M.    0.30       425.00        $127.50
                                Pagay re same

 03/24/2020   MSP     PD        Email exchange with D. Perez, et al. re: Plan            0.20       875.00        $175.00
                                timeline, claims-related deadlines, etc.

 03/24/2020   MSP     PD        Revise and finalize plan and case timeline; email        0.50       875.00        $437.50
                                exchange with M. Zhang, J. Wang, R. Jia, et al. re:
                                same (.10).
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 03/24/2020   MSP     PD        Email exchange with Richard M. Pachulski, D.              0.10       875.00            $87.50
                                Perez, et al. re: testimony needed for plan
                                confirmation.

 03/24/2020   MSP     PD        Email exchange with R. Beall re: Language in              0.50       875.00        $437.50
                                TransPerfect certification re: translation of plan
                                documents.

 03/24/2020   MSP     PD        Email exchange with D. Perez, M. Zhang, et al. re:        0.10       875.00            $87.50
                                form of ballot.

 03/24/2020   RMP     PD        Review claims analysis and telephone M. Pagay re          0.90      1445.00       $1,300.50
                                voting-related issues.

 03/24/2020   RMP     PD        Review ballot and e-mails re same.                        0.30      1445.00        $433.50

 03/25/2020   MSP     PD        Telephone call with S. He re: translation certificate     0.10       875.00            $87.50
                                and status of translations.

 03/25/2020   MSP     PD        Email exchange with Beth Dassa re: solicitation           0.10       875.00            $87.50
                                package service.

 03/25/2020   MSP     PD        Email exchange with D. Perez, et al. re: claims           0.10       875.00            $87.50
                                information for voting.

 03/25/2020   BDD     PD        Confer with Epiq and M. Pagay re plan mailings            0.80       425.00        $340.00

 03/26/2020   MSP     PD        Email exchange with D. Perez, S. He et al. re: Key        0.10       875.00            $87.50
                                China Business Individual terms.

 03/26/2020   MSP     PD        Review and revise notices and other documents in          4.30       875.00       $3,762.50
                                plan package for solicitation service; email exchange
                                with T. Li, D. Perez, S. He.

 03/26/2020   MSP     PD        Address revisions to case web page re: plan               1.30       875.00       $1,137.50
                                materials email exchange with S. Kjontvedt, et al. re:
                                same (.10).

 03/26/2020   RMP     PD        Telephone conference with Committee counsel re            0.40      1445.00        $578.00
                                supporting letter and presentation issues.

 03/26/2020   JWD     PD        Work on various issues re solicitation and updates to     0.60       895.00        $537.00
                                Epiq page

 03/26/2020   JEO     PD        Review precedent for objections to claims for voting      0.60       925.00        $555.00
                                purposes

 03/26/2020   BDD     PD        Research and confer with M. Pagay re objection to         3.50       425.00       $1,487.50
                                claim for voting purposes only and prepare template
                                objection re same

 03/27/2020   MSP     PD        Telephone call with S. He re: translation issues.         0.20       875.00        $175.00
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 03/27/2020   MSP     PD        Address claims information for voting rolls; email        1.70       875.00       $1,487.50
                                exchange with D. Perez, L. Sun, et al. re: same
                                (.10).

 03/27/2020   RMP     PD        Deal with feasibility issues and e-mails re same.         0.40      1445.00        $578.00

 03/27/2020   RMP     PD        Prepare e-mail to client and respond to client e-mails    0.40      1445.00        $578.00
                                re Committee issues.

 03/27/2020   JWD     PD        Emails re plan notice                                     0.10       895.00            $89.50

 03/27/2020   JEO     PD        review precedent for objections to claims                 0.60       925.00        $555.00

 03/27/2020   BDD     PD        Legal research re RMB exchange rate and emails M.         1.00       425.00        $425.00
                                Pagay re same

 03/27/2020   BDD     PD        Email J. O'Neill re objection for temporary               0.10       425.00            $42.50
                                disallowance of claims (for voting purposes)

 03/28/2020   MSP     PD        Email exchange with D. Perez, et al. re: online plan      0.20       875.00        $175.00
                                voting and e-ballots.

 03/29/2020   MSP     PD        Review and analysis of claims reviewed by client          3.30       875.00       $2,887.50
                                and slated for potential objection and correlation
                                with voting report; email exchange with S.
                                Kjontvedt, D. Perez, T. Li, et al. re: same (.30).

 03/29/2020   RMP     PD        Review and respond to e-mails re voting issues.           0.30      1445.00        $433.50

 03/29/2020   RMP     PD        Review Committee correspondence and respond               0.20      1445.00        $289.00
                                with comments.

 03/29/2020   JWD     PD        Review Committee support letter and emails re same        0.20       895.00        $179.00

 03/29/2020   JWD     PD        Review voting class report form and emails re same        0.10       895.00            $89.50

 03/30/2020   MSP     PD        Email exchange with S. Kjontvedt, et al. re:              0.10       875.00            $87.50
                                completion of solicitation mailing.

 03/30/2020   JWD     PD        Review and respond to emails regarding objections         0.30       895.00        $268.50
                                for voting purposes

 03/30/2020   BDD     PD        Call with M. Pagay re temporary objection to claims       0.10       425.00            $42.50
                                for plan voting purposes

 03/30/2020   BDD     PD        Call with M. Pagay and OMM team re objection to           0.60       425.00        $255.00
                                claims for voting purposes

 03/30/2020   BDD     PD        Work on claim objections for voting purposes and          6.60       425.00       $2,805.00
                                multiple emails to/conferences with M. Pagay re
                                same

 03/31/2020   MSP     PD        Email exchange with D. Perez, Jeffrey W. Dulberg,         0.20       875.00        $175.00
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                                                                                         Hours            Rate        Amount
                                et al. re: Creditor Q&A session.
 03/31/2020   MSP     PD        Email exchange with S. Kjontvedt, D. Perez et al. re:      0.50       875.00          $437.50
                                solicitation mailing, questions re: items served, etc.

 03/31/2020   RMP     PD        Telephone conferences with S. Uhland and J.                0.60      1445.00          $867.00
                                Dulberg and M. Pagay re creditor Q&A presentation
                                and issues.

 03/31/2020   RMP     PD        Review revised claims analysis for voting and              1.30      1445.00         $1,878.50
                                conference calls re same.

 03/31/2020   JWD     PD        Review further emails regarding plan issues                0.30       895.00          $268.50

 03/31/2020   JWD     PD        Review issues re claim voting and emails re same           0.30       895.00          $268.50

 03/31/2020   JWD     PD        Emails re creditor meeting re plan                         0.20       895.00          $179.00

 03/31/2020   BDD     PD        Call with M. Pagay re claim objections                     0.80       425.00          $340.00

 03/31/2020   BDD     PD        Prepare template objection for alter ego claims and        1.20       425.00          $510.00
                                emails M. Pagay and N. Brown re same

 03/31/2020   BDD     PD        Email Epiq re service of solicitation materials            0.10       425.00            $42.50

 03/31/2020   BDD     PD        Work on Notices of Objections to Claims and confer         0.80       425.00          $340.00
                                with N. Brown re same

 03/31/2020   BDD     PD        Further revisions to omni objection re duplicate           0.50       425.00          $212.50
                                claims and emails N. Brown re same

 03/31/2020   BDD     PD        Email Epiq re service of claim objections                  0.10       425.00            $42.50

 03/31/2020   BDD     PD        Prepare objection to claim of Cog Tengdun                  0.80       425.00          $340.00
                                Investment and email M. Pagay re same

 03/31/2020   BDD     PD        Email S. Persichelli re claims website                     0.10       425.00            $42.50

 03/31/2020   BDD     PD        Emails Epiq re additional claims needed re                 0.10       425.00            $42.50
                                preparation of claim objections (for voting purposes
                                only)

 03/31/2020   BDD     PD        Further revisions to 3 claim objections per                0.70       425.00          $297.50
                                conferences with M. Pagay

                                                                                         162.30                    $135,849.50

  Retention of Prof. [B160]
 03/04/2020   LAF     RP        Legal research re: Fees for nondishargeability in          1.30       450.00          $585.00
                                individual chapter 11.

 03/04/2020   JWD     RP        Review case law re nondischargeability counsel             0.60       895.00          $537.00
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                                                                                       Hours           Rate      Amount

 03/10/2020   JWD     RP        Review and respond to emails re retention issues        0.20       895.00        $179.00

 03/11/2020   MSP     RP        Email exchange with M. Zhang, T. Li, Jeffrey W.         0.30       875.00        $262.50
                                Dulberg, Beth Dassa, et al. regarding potential need
                                for retention applications for divorce and BVI
                                counsel, retainer agreements needed.

 03/11/2020   BDD     RP        Email J. Dulberg and M. Pagay re additional             0.10       425.00            $42.50
                                retention applications to prepare

 03/12/2020   MSP     RP        Email exchange with S. Uhland, J. Wang, Beth            0.20       875.00        $175.00
                                Dassa, et al. regarding retention of BVI and other
                                counsel.

 03/12/2020   BDD     RP        Email M. Pagay re preparation of retention              0.10       425.00            $42.50
                                application for Debtor tax consultant

 03/23/2020   MSP     RP        Email exchange with M. Zhang, et al. re: Retention      0.10       875.00            $87.50
                                terms of debtor’s divorce counsel.

 03/23/2020   MSP     RP        Email exchange with L. Wang Ekvall, M. Zhang, et        0.80       875.00        $700.00
                                al. re: contents and service of employment
                                application.

 03/23/2020   JWD     RP        Work on issues related to nondischargeability action    0.60       895.00        $537.00
                                counsel and review application and local rules

 03/23/2020   JWD     RP        Work on issues related to nondischargeability action    0.60       895.00        $537.00
                                counsel and review application and local rules

 03/24/2020   MSP     RP        Telephone calls (2) with Beth Dassa re: potential       0.20       875.00        $175.00
                                additional professionals for retention.

 03/24/2020   MSP     RP        Review and email exchange with Beth Dassa re:           0.90       875.00        $787.50
                                information needed for potential employment
                                applications re: divorce counsel, BVI counsel.

 03/24/2020   JWD     RP        Review filed app re Wang-Ekvall                         0.20       895.00        $179.00

 03/24/2020   BDD     RP        Email M. Pagay re exhibit to tax accountant             0.10       425.00            $42.50
                                retention application

 03/24/2020   BDD     RP        Email PSZJ team re retention application filed by L.    0.10       425.00            $42.50
                                Ekvall re H. Liu representation in adversary matter

 03/24/2020   BDD     RP        Preparation of Application to Retain Chen &             1.40       425.00        $595.00
                                Associates as accountants and Dec of M. Chen re
                                same (1.3); email M. Pagay re same (.10)

 03/25/2020   MSP     RP        Email exchange with D. Perez, et al. re: payments       0.10       875.00            $87.50
                                due to Epiq.

 03/25/2020   MSP     RP        Email exchange with Beth Dassa re: Chen retention       0.10       875.00            $87.50
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                                terms.
 03/25/2020   MSP     RP        Address retention issues re: potential additional     1.10       875.00          $962.50
                                professionals; email exchange with Beth Dassa, M.
                                Zhang, et al. re: same (.10).

 03/25/2020   BDD     RP        Update conflicts list chart for additional            0.50       425.00          $212.50
                                professionals to be retained and email M. Pagay re
                                esame

 03/25/2020   BDD     RP        Email M. Pagay re Application to Employ Chen &        0.10       425.00            $42.50
                                Associates as accountants

 03/25/2020   BDD     RP        Begin reviewing information and call with M. Pagay    0.20       425.00            $85.00
                                re application to employ divorce counsel

 03/31/2020   BDD     RP        Email M. Pagay re application to retain YT divorce    0.10       425.00            $42.50
                                counsel

                                                                                     10.00                     $7,026.50

  TOTAL SERVICES FOR THIS MATTER:                                                                           $434,309.50
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 Expenses
 02/28/2020   FE         46353.00002 FedEx Charges for 02-28-20                         10.18
 03/02/2020   FE         46353.00002 FedEx Charges for 03-02-20                         11.28
 03/02/2020   LN         46353.00002 Lexis Charges for 03-02-20                         64.47
 03/02/2020   LV         Legal Vision Atty/Mess. Service- - Inv. 50758 delivery to      97.50
                         Los Angeles Bankruptcy Court, NB
 03/02/2020   RE         ( 1 @0.20 PER PG)                                               0.20
 03/02/2020   RE2        SCAN/COPY ( 15 @0.10 PER PG)                                    1.50
 03/02/2020   RE2        SCAN/COPY ( 85 @0.10 PER PG)                                    8.50
 03/02/2020   RE2        SCAN/COPY ( 105 @0.10 PER PG)                                  10.50
 03/02/2020   RE2        SCAN/COPY ( 314 @0.10 PER PG)                                  31.40
 03/02/2020   RE2        SCAN/COPY ( 183 @0.10 PER PG)                                  18.30
 03/02/2020   RE2        SCAN/COPY ( 96 @0.10 PER PG)                                    9.60
 03/02/2020   RE2        SCAN/COPY ( 314 @0.10 PER PG)                                  31.40
 03/02/2020   RE2        SCAN/COPY ( 183 @0.10 PER PG)                                  18.30
 03/02/2020   RE2        SCAN/COPY ( 13 @0.10 PER PG)                                    1.30
 03/02/2020   RE2        SCAN/COPY ( 85 @0.10 PER PG)                                    8.50
 03/02/2020   RE2        SCAN/COPY ( 96 @0.10 PER PG)                                    9.60
 03/02/2020   RE2        SCAN/COPY ( 314 @0.10 PER PG)                                  31.40
 03/02/2020   RE2        SCAN/COPY ( 67 @0.10 PER PG)                                    6.70
 03/02/2020   RE2        SCAN/COPY ( 69 @0.10 PER PG)                                    6.90
 03/02/2020   RE2        SCAN/COPY ( 3 @0.10 PER PG)                                     0.30
 03/02/2020   RE2        SCAN/COPY ( 221 @0.10 PER PG)                                  22.10
 03/02/2020   RE2        SCAN/COPY ( 314 @0.10 PER PG)                                  31.40
 03/02/2020   RE2        SCAN/COPY ( 13 @0.10 PER PG)                                    1.30
 03/02/2020   RE2        SCAN/COPY ( 13 @0.10 PER PG)                                    1.30
 03/02/2020   RE2        SCAN/COPY ( 13 @0.10 PER PG)                                    1.30
 03/02/2020   RE2        SCAN/COPY ( 183 @0.10 PER PG)                                  18.30
 03/02/2020   RE2        SCAN/COPY ( 15 @0.10 PER PG)                                    1.50
 03/02/2020   RE2        SCAN/COPY ( 21 @0.10 PER PG)                                    2.10
 03/02/2020   RE2        SCAN/COPY ( 47 @0.10 PER PG)                                    4.70
 03/02/2020   RE2        SCAN/COPY ( 22 @0.10 PER PG)                                    2.20
 03/03/2020   LN         46353.00002 Lexis Charges for 03-03-20                        125.82
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 03/03/2020   LV         Legal Vision Atty/Mess. Service - Inv. 50761, delivery to      65.00
                         Los Angeles Bankruptcy Court, NB
 03/03/2020   LV         Legal Vision Atty/Mess. Service- Inv. 50762, delivery to       97.50
                         Los Angeles Bankruptcy Court, MSP
 03/03/2020   LV         Legal Vision Atty/Mess. Service- Inv. 50763, delivery to       97.50
                         Los Angeles Bankruptcy Court, NB
 03/03/2020   RE2        SCAN/COPY ( 10 @0.10 PER PG)                                    1.00
 03/03/2020   RE2        SCAN/COPY ( 314 @0.10 PER PG)                                  31.40
 03/03/2020   RE2        SCAN/COPY ( 4 @0.10 PER PG)                                     0.40
 03/03/2020   RE2        SCAN/COPY ( 85 @0.10 PER PG)                                    8.50
 03/03/2020   RE2        SCAN/COPY ( 13 @0.10 PER PG)                                    1.30
 03/03/2020   RE2        SCAN/COPY ( 183 @0.10 PER PG)                                  18.30
 03/03/2020   RE2        SCAN/COPY ( 10 @0.10 PER PG)                                    1.00
 03/03/2020   RE2        SCAN/COPY ( 130 @0.10 PER PG)                                  13.00
 03/03/2020   RE2        SCAN/COPY ( 69 @0.10 PER PG)                                    6.90
 03/03/2020   RE2        SCAN/COPY ( 85 @0.10 PER PG)                                    8.50
 03/03/2020   RE2        SCAN/COPY ( 96 @0.10 PER PG)                                    9.60
 03/03/2020   RE2        SCAN/COPY ( 20 @0.10 PER PG)                                    2.00
 03/03/2020   RE2        SCAN/COPY ( 34 @0.10 PER PG)                                    3.40
 03/03/2020   RE2        SCAN/COPY ( 84 @0.10 PER PG)                                    8.40
 03/03/2020   RE2        SCAN/COPY ( 13 @0.10 PER PG)                                    1.30
 03/03/2020   RE2        SCAN/COPY ( 28 @0.10 PER PG)                                    2.80
 03/03/2020   RE2        SCAN/COPY ( 116 @0.10 PER PG)                                  11.60
 03/03/2020   RE2        SCAN/COPY ( 22 @0.10 PER PG)                                    2.20
 03/03/2020   RE2        SCAN/COPY ( 21 @0.10 PER PG)                                    2.10
 03/03/2020   RE2        SCAN/COPY ( 22 @0.10 PER PG)                                    2.20
 03/04/2020   LV         Legal Vision Atty/Mess. Service- Inv. 50764, delivery to       97.50
                         Los Angeles Bankruptcy Court, MSP
 03/05/2020   RE         ( 4 @0.20 PER PG)                                               0.80
 03/06/2020   RE         ( 34 @0.20 PER PG)                                              6.80
 03/06/2020   RE2        SCAN/COPY ( 2 @0.10 PER PG)                                     0.20
 03/06/2020   RE2        SCAN/COPY ( 6 @0.10 PER PG)                                     0.60
 03/06/2020   RE2        SCAN/COPY ( 4 @0.10 PER PG)                                     0.40
 03/06/2020   RE2        SCAN/COPY ( 2 @0.10 PER PG)                                     0.20
 03/06/2020   RE2        SCAN/COPY ( 1 @0.10 PER PG)                                     0.10
 03/06/2020   RE2        SCAN/COPY ( 2 @0.10 PER PG)                                     0.20
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 03/06/2020   RE2        SCAN/COPY ( 2 @0.10 PER PG)                                     0.20
 03/06/2020   RE2        SCAN/COPY ( 1 @0.10 PER PG)                                     0.10
 03/06/2020   RE2        SCAN/COPY ( 33 @0.10 PER PG)                                    3.30
 03/06/2020   RE2        SCAN/COPY ( 3 @0.10 PER PG)                                     0.30
 03/06/2020   RE2        SCAN/COPY ( 1 @0.10 PER PG)                                     0.10
 03/06/2020   RE2        SCAN/COPY ( 9 @0.10 PER PG)                                     0.90
 03/06/2020   RE2        SCAN/COPY ( 1 @0.10 PER PG)                                     0.10
 03/09/2020   FF         Filing Fee [E112] Fee to file Amended Schedule D and/or        31.00
                         E/F, N. Brown
 03/09/2020   LN         46353.00002 Lexis Charges for 03-09-20                          9.15
 03/09/2020   RE2        SCAN/COPY ( 31 @0.10 PER PG)                                    3.10
 03/09/2020   RE2        SCAN/COPY ( 31 @0.10 PER PG)                                    3.10
 03/09/2020   RE2        SCAN/COPY ( 36 @0.10 PER PG)                                    3.60
 03/09/2020   RE2        SCAN/COPY ( 36 @0.10 PER PG)                                    3.60
 03/09/2020   RE2        SCAN/COPY ( 35 @0.10 PER PG)                                    3.50
 03/09/2020   RE2        SCAN/COPY ( 31 @0.10 PER PG)                                    3.10
 03/09/2020   RE2        SCAN/COPY ( 31 @0.10 PER PG)                                    3.10
 03/09/2020   RE2        SCAN/COPY ( 31 @0.10 PER PG)                                    3.10
 03/09/2020   RE2        SCAN/COPY ( 31 @0.10 PER PG)                                    3.10
 03/09/2020   RE2        SCAN/COPY ( 31 @0.10 PER PG)                                    3.10
 03/09/2020   RE2        SCAN/COPY ( 31 @0.10 PER PG)                                    3.10
 03/09/2020   RE2        SCAN/COPY ( 36 @0.10 PER PG)                                    3.60
 03/09/2020   RE2        SCAN/COPY ( 36 @0.10 PER PG)                                    3.60
 03/09/2020   RE2        SCAN/COPY ( 35 @0.10 PER PG)                                    3.50
 03/10/2020   LV         Legal Vision Atty/Mess. Service - Inv. 50801, delivery to      97.50
                         Los Angeles Bankruptcy Court, NB
 03/10/2020   RE         ( 1 @0.20 PER PG)                                               0.20
 03/10/2020   RE         ( 1174 @0.20 PER PG)                                          234.80
 03/10/2020   RE         ( 5 @0.20 PER PG)                                               1.00
 03/10/2020   RE         ( 240 @0.20 PER PG)                                            48.00
 03/10/2020   RE         ( 2 @0.20 PER PG)                                               0.40
 03/10/2020   RE         ( 36 @0.20 PER PG)                                              7.20
 03/10/2020   RE         ( 372 @0.20 PER PG)                                            74.40
 03/10/2020   RE         ( 5 @0.20 PER PG)                                               1.00
 03/10/2020   RE         ( 628 @0.20 PER PG)                                           125.60
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 03/10/2020   RE         ( 1 @0.20 PER PG)                                              0.20
 03/10/2020   RE2        SCAN/COPY ( 102 @0.10 PER PG)                                 10.20
 03/10/2020   RE2        SCAN/COPY ( 314 @0.10 PER PG)                                 31.40
 03/10/2020   RE2        SCAN/COPY ( 18 @0.10 PER PG)                                   1.80
 03/10/2020   RE2        SCAN/COPY ( 30 @0.10 PER PG)                                   3.00
 03/10/2020   RE2        SCAN/COPY ( 11 @0.10 PER PG)                                   1.10
 03/10/2020   RE2        SCAN/COPY ( 390 @0.10 PER PG)                                 39.00
 03/10/2020   RE2        SCAN/COPY ( 13 @0.10 PER PG)                                   1.30
 03/10/2020   RE2        SCAN/COPY ( 69 @0.10 PER PG)                                   6.90
 03/10/2020   RE2        SCAN/COPY ( 96 @0.10 PER PG)                                   9.60
 03/10/2020   RE2        SCAN/COPY ( 85 @0.10 PER PG)                                   8.50
 03/10/2020   RE2        SCAN/COPY ( 117 @0.10 PER PG)                                 11.70
 03/10/2020   RE2        SCAN/COPY ( 105 @0.10 PER PG)                                 10.50
 03/10/2020   RE2        SCAN/COPY ( 16 @0.10 PER PG)                                   1.60
 03/10/2020   RE2        SCAN/COPY ( 534 @0.10 PER PG)                                 53.40
 03/10/2020   RE2        SCAN/COPY ( 18 @0.10 PER PG)                                   1.80
 03/10/2020   RE2        SCAN/COPY ( 252 @0.10 PER PG)                                 25.20
 03/10/2020   RE2        SCAN/COPY ( 39 @0.10 PER PG)                                   3.90
 03/10/2020   RE2        SCAN/COPY ( 183 @0.10 PER PG)                                 18.30
 03/10/2020   RE2        SCAN/COPY ( 96 @0.10 PER PG)                                   9.60
 03/10/2020   RE2        SCAN/COPY ( 31 @0.10 PER PG)                                   3.10
 03/10/2020   RE2        SCAN/COPY ( 31 @0.10 PER PG)                                   3.10
 03/10/2020   RE2        SCAN/COPY ( 54 @0.10 PER PG)                                   5.40
 03/11/2020   LV         Legal Vision Atty/Mess. Service- Inv. 50810, delivery to      97.50
                         Los Angeles Bankruptcy Court, NB
 03/11/2020   RE2        SCAN/COPY ( 18 @0.10 PER PG)                                   1.80
 03/11/2020   RE2        SCAN/COPY ( 34 @0.10 PER PG)                                   3.40
 03/11/2020   RE2        SCAN/COPY ( 172 @0.10 PER PG)                                 17.20
 03/11/2020   RE2        SCAN/COPY ( 24 @0.10 PER PG)                                   2.40
 03/11/2020   RE2        SCAN/COPY ( 31 @0.10 PER PG)                                   3.10
 03/11/2020   RE2        SCAN/COPY ( 8 @0.10 PER PG)                                    0.80
 03/11/2020   RE2        SCAN/COPY ( 20 @0.10 PER PG)                                   2.00
 03/12/2020   FE         46353.00002 FedEx Charges for 03-12-20                        25.30
 03/12/2020   FE         46353.00002 FedEx Charges for 03-12-20                        15.81
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 03/12/2020   LN         46353.00002 Lexis Charges for 03-12-20                          8.77
 03/12/2020   LV         Legal Vision Atty/Mess. Service - Inv. 50811, delivery to      65.00
                         Los Angeles Bankruptcy Court, JWD
 03/12/2020   RE2        SCAN/COPY ( 12 @0.10 PER PG)                                    1.20
 03/12/2020   RE2        SCAN/COPY ( 105 @0.10 PER PG)                                  10.50
 03/12/2020   RE2        SCAN/COPY ( 11 @0.10 PER PG)                                    1.10
 03/12/2020   RE2        SCAN/COPY ( 12 @0.10 PER PG)                                    1.20
 03/12/2020   RE2        SCAN/COPY ( 36 @0.10 PER PG)                                    3.60
 03/12/2020   RE2        SCAN/COPY ( 12 @0.10 PER PG)                                    1.20
 03/12/2020   RE2        SCAN/COPY ( 24 @0.10 PER PG)                                    2.40
 03/12/2020   RE2        SCAN/COPY ( 36 @0.10 PER PG)                                    3.60
 03/12/2020   RE2        SCAN/COPY ( 16 @0.10 PER PG)                                    1.60
 03/12/2020   TR         Transcript [E116] Huseby Global Litigation, NB                377.25
 03/13/2020   RE         ( 34 @0.20 PER PG)                                              6.80
 03/13/2020   RE2        SCAN/COPY ( 15 @0.10 PER PG)                                    1.50
 03/13/2020   RE2        SCAN/COPY ( 20 @0.10 PER PG)                                    2.00
 03/13/2020   RE2        SCAN/COPY ( 13 @0.10 PER PG)                                    1.30
 03/13/2020   RE2        SCAN/COPY ( 8 @0.10 PER PG)                                     0.80
 03/13/2020   RE2        SCAN/COPY ( 14 @0.10 PER PG)                                    1.40
 03/13/2020   RE2        SCAN/COPY ( 25 @0.10 PER PG)                                    2.50
 03/16/2020   LN         46353.00002 Lexis Charges for 03-16-20                        100.47
 03/16/2020   RE         ( 16 @0.20 PER PG)                                              3.20
 03/16/2020   RE2        SCAN/COPY ( 15 @0.10 PER PG)                                    1.50
 03/16/2020   RE2        SCAN/COPY ( 15 @0.10 PER PG)                                    1.50
 03/16/2020   RE2        SCAN/COPY ( 15 @0.10 PER PG)                                    1.50
 03/16/2020   RE2        SCAN/COPY ( 17 @0.10 PER PG)                                    1.70
 03/16/2020   RE2        SCAN/COPY ( 24 @0.10 PER PG)                                    2.40
 03/16/2020   RE2        SCAN/COPY ( 18 @0.10 PER PG)                                    1.80
 03/16/2020   RE2        SCAN/COPY ( 22 @0.10 PER PG)                                    2.20
 03/16/2020   RE2        SCAN/COPY ( 11 @0.10 PER PG)                                    1.10
 03/16/2020   RE2        SCAN/COPY ( 19 @0.10 PER PG)                                    1.90
 03/16/2020   RE2        SCAN/COPY ( 21 @0.10 PER PG)                                    2.10
 03/16/2020   RE2        SCAN/COPY ( 18 @0.10 PER PG)                                    1.80
 03/16/2020   RE2        SCAN/COPY ( 19 @0.10 PER PG)                                    1.90
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 03/17/2020   RE2        SCAN/COPY ( 87 @0.10 PER PG)                                    8.70
 03/17/2020   RE2        SCAN/COPY ( 529 @0.10 PER PG)                                  52.90
 03/17/2020   RE2        SCAN/COPY ( 95 @0.10 PER PG)                                    9.50
 03/17/2020   RE2        SCAN/COPY ( 86 @0.10 PER PG)                                    8.60
 03/17/2020   RE2        SCAN/COPY ( 87 @0.10 PER PG)                                    8.70
 03/17/2020   RE2        SCAN/COPY ( 318 @0.10 PER PG)                                  31.80
 03/17/2020   RE2        SCAN/COPY ( 87 @0.10 PER PG)                                    8.70
 03/17/2020   RE2        SCAN/COPY ( 95 @0.10 PER PG)                                    9.50
 03/17/2020   RE2        SCAN/COPY ( 317 @0.10 PER PG)                                  31.70
 03/17/2020   RE2        SCAN/COPY ( 318 @0.10 PER PG)                                  31.80
 03/17/2020   RE2        SCAN/COPY ( 12 @0.10 PER PG)                                    1.20
 03/17/2020   RE2        SCAN/COPY ( 529 @0.10 PER PG)                                  52.90
 03/18/2020   RE2        SCAN/COPY ( 95 @0.10 PER PG)                                    9.50
 03/18/2020   RE2        SCAN/COPY ( 318 @0.10 PER PG)                                  31.80
 03/18/2020   RE2        SCAN/COPY ( 87 @0.10 PER PG)                                    8.70
 03/18/2020   RE2        SCAN/COPY ( 87 @0.10 PER PG)                                    8.70
 03/18/2020   RE2        SCAN/COPY ( 529 @0.10 PER PG)                                  52.90
 03/18/2020   RE2        SCAN/COPY ( 13 @0.10 PER PG)                                    1.30
 03/18/2020   RE2        SCAN/COPY ( 24 @0.10 PER PG)                                    2.40
 03/19/2020   FF         Filing Fee [E112] USBC Central District of California, R.      31.00
                         Mori
 03/19/2020   LN         46353.00002 Lexis Charges for 03-19-20                          9.15
 03/19/2020   RE2        SCAN/COPY ( 12 @0.10 PER PG)                                    1.20
 03/19/2020   RE2        SCAN/COPY ( 12 @0.10 PER PG)                                    1.20
 03/19/2020   RE2        SCAN/COPY ( 12 @0.10 PER PG)                                    1.20
 03/19/2020   RE2        SCAN/COPY ( 18 @0.10 PER PG)                                    1.80
 03/20/2020   FE         46353.00002 FedEx Charges for 03-20-20                          9.94
 03/26/2020   CL         46353.00002 CourtLink charges for 03-26-20                      5.87
 03/26/2020   LN         46353.00002 Lexis Charges for 03-26-20                          9.15
 03/27/2020   LN         46353.00002 Lexis Charges for 03-27-20                          9.15
 03/30/2020   BB         46353.00002 Bloomberg Charges for 03-30-20                      0.50
 03/30/2020   BB         46353.00002 Bloomberg Charges for 03-30-20                     30.00
 03/30/2020   BB         46353.00002 Bloomberg Charges for 03-30-20                     30.00
 03/30/2020   BB         46353.00002 Bloomberg Charges for 03-30-20                     30.00
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Pachulski Stang Ziehl & Jones LLP                                             Page:    50
Jia Yueting                                                                   Invoice 124692
46353 - 00002                                                                 March 31, 2020

 03/30/2020   BB         46353.00002 Bloomberg Charges for 03-30-20               11.50
 03/30/2020   LN         46353.00002 Lexis Charges for 03-30-20                   18.31
 03/30/2020   RE2        SCAN/COPY ( 560 @0.10 PER PG)                            56.00
 03/31/2020   PAC        Pacer - Court Research                                  388.90
 03/31/2020   PO         46353.00002 :Postage Charges for 03-31-20                10.95

   Total Expenses for this Matter                                           $3,849.82
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Pachulski Stang Ziehl & Jones LLP                                                         Page:    51
Jia Yueting                                                                               Invoice 124692
46353 - 00002                                                                             March 31, 2020


                                                REMITTANCE ADVICE

                                    Please include this Remittance with your payment

For current services rendered through:        03/31/2020

Total Fees                                                                                           $434,309.50

Total Expenses                                                                                             3,849.82

Total Due on Current Invoice                                                                         $438,159.32

  Outstanding Balance from prior invoices as of        03/31/2020          (May not include recent payments)

A/R Bill Number           Invoice Date               Fees Billed        Expenses Billed             Balance Due
 123506                   10/31/2019               $201,832.00             $578.90                   $202,410.90

 123983                   10/31/2019                $40,851.50            $4,502.29                   $45,353.79

 123984                   11/30/2019               $452,860.00            $1,867.74                  $454,727.74

 124406                   12/31/2019               $468,739.50          $19,268.68                   $488,008.18

 124408                   01/31/2020               $510,010.00            $7,836.93                  $517,846.93

 124655                   02/29/2020               $417,867.50          $24,412.02                   $442,279.52

             Total Amount Due on Current and Prior Invoices:                                       $2,588,786.38
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                                         PROOF OF SERVICE OF DOCUMENT
 I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                           10100 Santa Monica Boulevard, 13th Floor, Los Angeles, CA 90067

  A true and correct copy of the foregoing document entitled (specify): FIRST INTERIM APPLICATION OF
  PACHULSKI STANG ZIEHL & JONES LLP FOR APPROVAL OF COMPENSATION AND
  REIMBURSEMENT OF EXPENSES; DECLARATION OF JEFFREY W. DULBERG IN SUPPORT
  THEREOF will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-
  2(d); and (b) in the manner stated below:

 1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
 Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 April 16, 2020, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
 following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:


                                                                                          Service information continued on attached page

 2. SERVED BY UNITED STATES MAIL:
 On (date) April 16, 2020, I served the following persons and/or entities at the last known addresses in this bankruptcy case
 or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
 class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge
 will be completed no later than 24 hours after the document is filed.

     VIA U.S. MAIL
     United States Bankruptcy Court
     Central District of California
     Attn: Hon. Vincent Zurzolo
     Edward R. Roybal Federal Bldg./Courthouse
     255 East Temple Street, Suite 1360
     Los Angeles, CA 90012

                                                                                          Service information continued on attached page

 3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method for
 each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) April 16, 2020, I served the
 following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such
 service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that
 personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.



                                                                                          Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 April 16, 2020               Nancy H. Brown                                                  /s/ Nancy H. Brown
 Date                         Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
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SERVICE INFORMATION FOR CASE NO. 2:19-bk-24804-VZ
1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF)

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        Jerrold L Bregman ecf@bg.law, jbregman@bg.law
        Jeffrey W Dulberg jdulberg@pszjlaw.com
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        Benjamin Taylor btaylor@taylorlawfirmpc.com
        United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
        Felix T Woo fwoo@ftwlawgroup.com, admin@ftwlawgroup.com
        Claire K Wu ckwu@sulmeyerlaw.com, mviramontes@sulmeyerlaw.com;ckwu@ecf.courtdrive.com;ckwu@ecf.inforuptcy.com
        Emily Young pacerteam@gardencitygroup.com, rjacobs@ecf.epiqsystems.com;ECFInbox@epiqsystems.com
        David B Zolkin dzolkin@ztlegal.com, maraki@ztlegal.com,sfritz@ztlegal.com



3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL

BY EMAIL:

L. Katherine Good: kgood@potteranderson.com
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Suzanne Uhland: suhland@omm.com
Diana Perez: dperez@omm.com
TJ Li: tli@omm.com
Kelly L Morrison on behalf of U.S. Trustee U.S. Trustee kelly.l.morrison@usdoj.gov




    This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
June 2012                                                                            F 9013-3.1.PROOF.SERVICE
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